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          Incident Number:   105758592                                           Houston Forensic Science Center

 Forensic Case Number:       2010-11899 (5)                                      Report Date:       November 03, 2015

   Item 3.1 was compared to the following DNA profiles previously reported by Orchid Cellmark in Report
   HP07- 0014, dated November 27, 2007:

   HP07- 0014-01: Cigar
   HP07- 0014-02: Vaginal swabs from                  (sperm fraction)
   HP07- 0014-07: Panties: crotch - rec rom                   (sperm fraction)
RESULTS AND INTERPRETATIONS:
The DNA was extracted and amplified using polymerase chain reaction (PCR) . The following STR loci were
analyzed: D8S1179, D21S11, D7S820, CSF1PO, D3S1358, TH01, D13S317, D16S539, D2S1338, D19S433
vWA , TPOX, D18S51, D5S818, and FGA , along with the sex determining marker Amelogenin.

 HP07- 0014-01 (Cigar)
 A full, single- source male DNA profile was obtained from this item. OBEL CRUZ-GARCIA cannot be excluded
 as a possible contributor to the DNA profile obtained from this item. The probability that a randomly chosen
 unrelated individual would be included as a possible contributor to this DNA profile is approximately 1 in 6.0
 quintillion for Caucasians, 1 in 700 quintillion for African Americans, and 1 in 100 quintillion for Southwest
 Hispanics.

 HP07- 0014-02 (Vaginal swabs from                     (sperm fraction))
 A mixture of DNA from at least three individuals, at least one of whom is male, was obtained from this item.
 No conclusions will be made given the excessive number of contributors to this DNA mixture .

 HP07- 0014-07 (Panties: crotch - red from                     ( sperm fraction))
 A mixture of DNA from at least two individuals, at least one of whom is male, was obtained from this item.
 OBEL CRUZ-GARCIA cannot be excluded as a possible contributor to the major component of this DNA
 mixture. The probability that a randomly chosen unrelated individual would be included as a possible
 contributor to the major component of this DNA mixture is approximately 1 in 6.0 quintillion for Caucasians, 1
 in 700 quintillion for African Americans, and 1 in 100 quintillion for Southwest Hispanics. No conclusions will
 be made regarding the minor component of this DNA mixture due to insufficient data.

 Item 3.1 (Portion of known buccal swabs - Obel Cruz-Garcia)
 A full, single- source male DNA profile was obtained from this item.

DISPOSITION:
All DNA extracts and any remaining portions are being retained in the laboratory. Any other items will be returned
to the submitting agency.



     y.   h1M >

 Robin Guidry
 Supervisor - Forensic Biology
 Assigned Analyst
                                              The prosecutor and defense counsel may obtain additional
documents related to this case by submitting a request to TrlaQe@ HoustonForensicSdence. org . Requests
should state the requestor’s connection to the case and include full contact information.




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CD               Forensic Case Number:                  2010-11899 (5)                                                          Report Date:            November 03, 2015

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                 Garcia                                                                                                                                                                                j       i



              SF=Sperm Fraction; EF=Epithelial Fraction ,                                                                                                                                              G
               NR = No interpretable result ; ( ) = Minor allele; A = Allele below stochastic threshold
                                                                                                                                                                                                       O
              ~ = Allele below stochastic threshold , but suitable for statistics, assuming single-source                                                                                              e
              INC = Inconclusive/activity that could not be confirmed as real or artifactual                                                                                                           3
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                EXHIBIT 12




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                      Dear Cleric   A




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              writing to request a copy el; my docket r&cqrd * X am planning to
              mount a collateral challenge baaed on my continued inoompetenco
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              undeniable incompetence to accept a guilty plea, and thus,
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                EXHIBIT 13




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                                   UNITED STATES DISTRICT COURT                                                        45S
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                                         HOUSTON DIVISION                    iisr.fiII DISTRICT
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         UNITED STATES OF AMERICA                 §
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         VS.                                      §      CR-H-98-12
                                                  §
         CARMELO MARTINEZ                         §

                               MOTION FOR PSYCHIATRIC EXAMINATION

         TO THE HONORABLE JUDGE OF SAID COURT:

                 COMES NOW, J.C. CASTILLO, Attorney for Defendant, and respectfully moves

         the court to order the Harris County Sheriffs Office to allow Dr. Fred Fason to examine

         Defendant, Carmelo Martinez.

                 Attorney for Defendant has reason to believe that a psychiatric examination is

         necessary to determine if Defendant is competent.

                 Arrangements have been made for Dr. Fason to see Defendant in the Harris                  «18
                                                                                                           S-aSaf




         County Jail.

                 WHEREFORE PREMISES CONSIDERED, Movant respectfully prays that the

         Harris County Sheriffs Office be ordered to allow Dr. Fason to conduct the

         examination.


                                                  Respectfully submitted,




                                                  J.C. CASTILLO
                                                  909 Hannin, Suite 1500
                                                  Houston, Texas 77010
                                                  (713)655-1515 Fax (713)655-0314
                                                  SBN: 03986500 Fed Id. 911




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                                    CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing wfis delivered to the Assistant United
      States Attorney in charge of this case on the 3%  Jhav    of  CL                      ,
      1998.


                                               J.C. CASTILLO




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      UNITED STATES OF AMERICA                       §
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                                                     §
      y.                                             §          CRNO. H-98-12
                                                     §
      CARMELO MARTINEZ                               §

                                                  ORDER

               Pending before the Court is the motion of Carmelo Martinez to be examined in the

      Harris County Jail by a psychiatrist, Dr. Fred Fason, to determine his mental competence.

      The United States does not oppose the examination, but does not waive its right to have

      Martinez examined by its own psychiatrist. The motion states that arrangements have been

       made to have Martinez examined by Dr. Fason in the Harris County Jail. The Court has not

       been made aware of the nature of the arrangements and can only assume that the Harris

       County Jail authorities have agreed to co-operate with Dr. Fason, Martinez, and Counsel to

       provide a place and adequate security for such an examination within the confines of the jail.
                                                                                                                                                        ;




       If these are the particulars of the “arrangements,” then it is hereby                                                                            :



                                                                                                                                                        i



               ORDERED that defendant Carmelo Martinez be examined by Dr. Fred Fason at the

       Harris County Jail.

               Signed at Houston, Texas, this 3rd day of July, 1998.




                                                             Melinda Harmon
                                                                               |^r
                                                         United States District Judge
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                EXHIBIT 15




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                Memorandum



            To
                                       -                 -
                       SAC, HOUSTON (7 HO-34256) (GC 1) (P )        Date   2 / 9 /93        &
            From       SA ERIC L, JOHNSON

            Subject;   UNSUBS;
                       KIDNAPPING;
                                      -   VICTIM ( DECEASED);
                       00: HOUSTON


                  The purpose of this memorandum is to furnish the
        present status of this case * On 2 /8 /93 , SA GABE MALDONADO, San
        Juan Division, Dominican Republic Liaison Agent , advised that the
        Dominican Republic Officials would not be willing to extradite
        OBEL JULIAN CRUZ-GARCIA, aka CHICO, from the Dominican Republic
        (DR) to the United States, since GARCIA is a DR citizen. SA
        MALDONADO did state that if the local charge against GARCIA was
        murder and the UFAP was for murder, DR would consider and most
        likely extradite GARCIA,   SA MALDONADO further advised that INS
        stops are in place for Puerto Rico and local officials in DR have
        been advised of the outstanding warrant against GARCIA.

                    Also on 2 / 8/93, J.C, CASTILLO, telephone number
        712 / 655-1515, who is the attorney for ANGBLITA RODRIGUEZ, advised
        that in December 1992, RODRIGUEZ telephonically contacted him
        from Santa Domingo, Dominican Republic. RODRIGUEZ stated that
        she would not be able to attend her scheduled court hearing (a
        few days later ) due to a family illness. CASTILLO informed
        RODRIGUEZ that her bail would most likely be forfeited and a
        warrant for her arrest was also likely if she did not attend the
        hearing. On the hearing date, RODRIGUEZ did not appear, but the
        Judge post -poned the trial until May 6, 1993. CASTILLO has not
        heard from RODRIGUEZ since her initial call in December and
        assumes RODRIGUEZ believes a warrant for failure to appear was
        issued for her arrest     . RODRIGUEZ is the common law wife of
        GARCIA and is currently residing with RODRIGUEZ in the Dominican
        Republic at her mother * e house.
                  On 2 / 9 /92, Houston Police Department Homicide
        Detective, BILL STEPHENS advised that DMA test conducted on the
        specimens taken from DIANE GARCIA the morning of sexual assault
        and kidnapping was determined to be from three or four unknown
        males. At this time, HPD have not identified any other suspect
        outside of OBEL JULIAN CRUZ GARCIA.-
        3   Houston (S) - 7 — HO-34256) (1
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                EXHIBIT 16




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                      NOT TO BE CONNECTED WITH THE ABDUCTION                  .                                            b6
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                             THROUGH INVESTIGATIONS CONDUCT BY THE HOUSTON POLICE
                   DEPARTMENT AND THE HOUSTON FBI IT IS BELIEVED THAT OBEL JULIAN
                   CRUZ -GARCIA , AKA CHICO , IS BEHIND THE KIDNAPPING                        OR KNOWS THE
                      IDENTITIES OF THE INDIVIDUALS WHO COMMITTED THE KIDNAPPING                        .
                                                                                 *


                                                                                           THROUGH
                      IN ! ERVIEWS IT WAS DETERMINED THAT
                                                                                                                           b6
                                                                                                                           b7C
                   BECAUSE OF THIS , IT IS BELIEVED THAT CHICO TQQK




                             THE SECOND THEORY ,              INVOLVES A DRUG RIP- OFF COMMITTED BY
                   CH I CO                                                                                                       b6
                                                                                                                                 b7C
                                                                      APPROXIMATELY FIVE MONTHS AGO .




                           SINCE THE KIDNAPPING , CHICO S WHEREABOUTS HAVE BEEN
                                                       ’
                UNKNOWN AND ON 10 / 8 / 92 CHICO FAILED TO APPEAR FOR A PENDING




                                                                                                                     000929
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                EXHIBIT 17




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             FM FBI HOUSTON (7 HO 34256) (P)
*            TO DIRECTOR FBI/PRIORITY/
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             BT
             UNCLAS
             CITE:       // 3290//


             SUBJECT:        UNSUB(S);                          -   VICTIM (DECEASED);
             KIDNAPPING ; 00:        HOUSTON.

                      RE HOUSTON TEL TO BUREAU , ET AL, DATED 10/1/92.
                      FOR INFORMATION OF BUREAU AND SAN ANTONIO, ON THE MORNING
             OF 10/ 5/92, VICTIM WAS FOUND DEAD IN A BAYTOWN , TEXAS CREEK.

             BAYTOWN IS LOCATED JUST OUTSIDE OF HOUSTON , TEXAS. THE BODY
             WAS FOUND BY A MAN WHO HAD BEEN CRAB FISHING IN THE CREEK. IT

             APPEARED THAT THE BODY HAD BEEN AT THE LOCATION FOR A MINIMUM
             OF TEN DAYS, BUT MAY HAVE BEEN ABANDONED AT THE SITE SHORTLY
             AFTER ABDUCTION.        DUE TO THE DEGRADED CONDITION OF THE E CjDY ,
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               FOX DATE & TIME OF ACCEPTANCE:
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       '

        CAUSE OF DEATH COULD NOT BE DETERMINED ( DO NOT RELEASE

        INFORMATION ABOUT UNCERTAIN CAUSE OF DEATH ).
               ON 10 / 11/92 , WHILE THE VICTIM WAS STILL MISSING , A MAN

        WHO IDENTIFIED HIMSELF AS               TELEPHONICALLY CONTACT                      b6
                                                                                            b7C



        ADVISED THAT HE KNEW THE PEOPLE WHO KIDNAPPED                  AND
        STATED THAT THE PEOPLE WANTED $30, 000.00 BEFORE 10/ 30/92.

               BOASTED ABOUT HAVING BETTER CONTACTS THAN THE FBI AND THE
        HOUSTON POLICE DEPARTMENT ( HPD).             ALSO INQUIRED

        EXTENSIVELY ABOUT WHAT INFORMATION HAD BEEN FURNISHED TO THE
        FBI AND HPD ABOUT THE KIDNAPPING.              TOLD            TO HAVE

                 CONTACT HIM AT TELEPHONE NUMBER                    AND ADDED
        THAT HE KNEW            TELEPHONE WOULD BE TAPPED.
               LATER THAT EVENING ,         TELEPHONICALLY CONTACTED                        b6
                                                                                            b7C
                                                                                            b 7E
                                                                  VoiS—
                                         ONCE AGAIN           -BOLSTERED   ABOUT

        HAVING BETTER CONTACTS INTO THE KIDNAPPERS, ALTHOUGH HE DID
        NOT MENTION THE $ 30, 000.00 RANSOM DEMAND.              PRESSED
        ABOUT INFORMATION THAT WAS TOLD TO THE FBI AND ENDED THE

        CONVERSATION




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                3 HO 7 HO 34256 UNCLAS

        BY STATING THAT HE WOULD GET BACK TO THEM.                DETECTIVE
                       CHARACTERIZED THE CALL AS BEING A HOAX.
                                                                                                   b6
                                                                                                   b7C
                                       DETERMINED THAT                                             b7D




               INVESTIGATION AT HOUSTON DETERMINED THAT TELEPHONE NUMBER
                                WAS SUBSCRIBED TO
                                                            ON                     WAS
        CONTACTED                     ADVISED   THATf        IS
                      IS                                                           WEEK
        OF 10/11/92                     WAS LIVING VC                   ON THE            x/
        NIGHT OF 10/11/92 ,                     ADVISED THAT                                     b6
                                                                                               'b7C
                                                                                               V b7D

        STOPPED BY TO SEE                        WHILE INSIDE THE APARTMENT,
                      ASKED THE TWO IF THEY HAD HEARD ABOUT THE CHILD WHO
        WAS MISSING          THEY REPLIED,  " "  YES    .
                           ^THEN WALKED OUTSIDE.
                                RETURNED TO THE APARTMENT ALONE AND PLACED A
        TELEPHONE CALL.                    OVERHEARD              SAYING ,   "DO   YOU
        KNOW ABOUT THAT DEAL WITH                                       THEN




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        REQUESTED $ 30, 000 AND THEN LOWERED THE REQUEST TO $ 20, 000.00.

        LATER , AFTER               HUNG UP THE TELEPHONE, THE TELEPHONE RANG
                                                                                      b6
                          ANSWERED THE PHONE. A FEMALE IDENTIFIED HERSELF AS
                                                                                      b7C
                                                                                      b 7D
                                                           HANDED THE TELEPHONE
        TO                 AFTER           ENDED THIS CONVERSATION, HE BECAME
        VERY DEPRESSED.                                BEGAN ARGUING BECAUSE
                      DID NOT APPROVE OF           MAKING THESE CALLS FROM

                       RESIDENCE.            ORDERED              OUT OF HIS

        APARTMENT AND CALLED THE POLICE TO HAVE HIM REMOVED.
               SINCE THIS INCIDENT                HAS HAD SHORT CONVERSATIONS
        WITH                  ON THE TELEPHONE AND HAS TOLD HIM THAT HE WAS

                                        DOES NOT BELIEVE                 KNOWS
        ANYTHING ABOUT THE SUBJECTS WHO KIDNAPPED THE VICTIM.              HE
        BELIEVES                           AT HIS HOUSE ON 10/ 11/92 WERE
        PROBABLY                                     ON

        TELEPHONICALLY CONTACTED                           TOLD           THAT
        THE FBI WANTED TO SPEAK WITH HIM.                   ADVISED THAT HE WAS
                            AND COULD BE REACHED AT TELEPHONE NUMBER


                                                                                             b6
                                                                                             b7C
                                                                                             b 7D




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                                                                                            b6
                                                                                            b7C
                                                                                            b7D




               NO SUBJECTS HAVE BEEN IDENTIFIED IN THIS MATTER.            FBI
        HOUSTON AND HPD ARE CURRENTLY ATTEMPTING TO LOCATE ONE

        SUSPECT, OBEL JULIAN CRUZ-GARCIA , AKA , CHICO. CRUZ-GARCIA IS

        MOST LIKELY IN PUERTO RICO AT THIS TIME. LEADS HAVE BEEN SENT

        TO THE SAN JUAN DIVISION                                   lu/vr^ .
                                                   IS HISPANIC MALE                         b6
                                                                                            b7C




                                                         DETERMINE ADDRESS TO
        TELEPHONE NUMBER                      LOCATE AND INTERVIEW
                                                                                          b7C
                      CONCERNING HIS KNOWLEDGE OF THE KIDNAPPING OF                       b7D

        CAPTIONED VICTIM.       LEAD SHOULD BE CONDUCTED AS SOON AS




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                                                                                        b6
        POSSIBLE.                        ADVISED THAT                                   b7C
                                                                                        b7D



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                EXHIBIT 18




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    SUBJECT:       UNSUB(S);                    VICTIM (DECEASED);
    KIDNAPPING; OO:            HOUSTON.
            REFERENCE HOUSTON TELETYPE TO                         DATED DECEMBER                              b7D

    2, '1992.

            FOR INFORMATION OF THE HOUSTON OFFICE

            DATE OF BIRTH                          WAS CONTACTED ON

                               DENIED ANY INVOLVEMENT IN THE KIDNAPPING AND                            b6
                                                                                                       b7C
    SUBSEQUENT DEATH OF                                      STATED HE WAS                             b7D

    DEEPLY CONCERNED ABOUT THE YOUNG BOY AND DISCUSSED THE MATTER
    WITH                                                  WHO AT THE TIME WAS




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       " TWO      DE FBl]      |0002
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                                       CLAS                                                              b7D




    INFORMED                   THAT                                                                    b6
                                                                                                       b7C
                          PROVIDED              WITH THE PHONE NUMBER WHICH                            b7D

                 SUBSEQUENTLY CONTACTED AND WAS ABLE TO SPEAK TO

                                               PRIOR TO PLACING THE PHONE
    CALL,                TALKED WITH AN ACQUAINTANCE                   WHO TOLD

                 TO TELL                   IF SHE KNEW WHERE THE BOY WAS HE
    COULD GO IN AND GET HIM BACK FOR TEN THOUSAND DOLLARS.

                 RELAYED THAT INFORMATION TO
                 ALSO STATED THAT              HAD TOLD HIM


    FURTHER IDENTIFIED                 AS BEING


            AN AIRTEL WITH THE FD-302 INTERVIEW OF                      WILL                             b6
                                                                                                         b7C
    FOLLOW.                                                                                              b7D

    BT
    #0002




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                EXHIBIT 19




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                                CITY OF HOUSTON
                                  INTER CORRESPONDENCE
                                          OFFICE

   TO:
         Jim Bolding                         FROM:   W.I. Stephens,               Sergeant
         Crime Lab
VIA: I.O. Franks, Lieutenant                        DATE:
                                                               January 6 1993
     Homicide Division
                                                               Request foi   MP -
                                                    SUBJECT:
                                                                  the
                                                                         ^             Case

         On September. 30, 1992, several suspects allegedly broke into an
         apartment occuoiecMa    t    Rodriguez, Diana Garcia, and her seven
         year old son,
         Dian            ^   ^           According to Diana and Arturo, one
         suspect pisto wnippe Arturo while another sexually assaulted
                 Following the beating and sexual assault, the suspects took
                                                                                             ,




           ^
             ^^
         tn abauction,
                       an lef th scene. Approximately a month following
         Lake near Baytown.^ ^^          decomposed body was found in Goose

         Diana and Arturo have been untruthful throughout the investigation
         with regard to the events inside the apartment and the identity of
         the suspects. A rape kit was obtained on Diana Garcia, and the
         blood of several possible suspects has been submitted during the
         course of the investigation. As per our conversation on January 5,
         1993 where we were informed of the two possible hits concerning
         suspect Mello and Rodriguez and the presence of additional material
         indicating that there is an unknown suspect, we request that an
             -
         AMP FLP test be conducted on the pertinent samples obtained during
         this investigation.
         We intend to take Diana Garcia to the Grand Jury and will use the
                                                   .
         DNA evidence when she is questioned We are in hopes we will learn
         the truth concerning th notUre an identity of the suspects who
         abducted and murdered        ^             ^
                                                   We will then use this
         evidence in the prosecution of the suspects.



                                                                 UJU .                       IP
                                                                 W.I. Stephens, Sergeant
                                                                 Homicide Division




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                EXHIBIT 20




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                 IN THE 337 TH JUDICIAL DISTRICT COURT
                         HARRIS COUNTY, TEXAS

                                     AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §                Writ No.
                            §                Trial Court Case No:
                            §               1384794
                            §
                Applicant . §                CAPITAL CASE
                            §
                            §
                            §


              SUBSEQUENT APPLICATION FOR
         POST-CONVICTION WRIT OF HABEAS CORPUS
                 EXHIBITS 21 THROUGH 30
                                     Jeremy Schepers (Texas 24084578)
                                     Supervisor , Capital Habeas Unit
                                     David Currie (TX 24084240)
                                     Naomi Fenwick (TX 24107764)
                                     Assistant Federal Public Defender
                                     Office of the Federal Public Defender
                                     Northern District of Texas
                                     525 S. Griffin St ., Ste . 629
                                     Dallas, Texas 75202
                                     jere my _schepers@fd .or g
                                     (214) 767 - 2746
                                     (214) 767 - 2886 (fax)

                                     Counsel for Obel Cruz -Garcia



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                EXHIBIT 21




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                                     AFFIDAVIT OF CESAR AMADO RIOS

        I, Cesar Amado Rios, state and declare as follows:

             I . My name is Cesar Amado Rios          ,       I have known Obel Cruz-- Card a since
                    around 1990 or so. We got to know each other through mutual friends. I
                    have alwavs known Obel hv his nickname, Chico.
                    At the time that                  was kidnapped, I knew Chico well. 1 had
                    lived with him and his wife, Angelita, when they lived in an apartment
                    called the Willow Creek Apartments. I lived there for a year or two around
                    1992. 1 also knew Diana Garcia and Arturo Rodriguez and Diana's son ,


            3. Around the time                 was kidnapped, Chico was having an ongoing
                    sexual relationship with Diana. Other people knew about it as well. On the
                    day         was kidnapped, Chico was over at Diana’s apartment earlier in
                    the day.
                    I remember I saw Chico that morning , the day it all happened. Later that
                                 .




                    night, Chico called me and asked me to go to Diana ’s house. This happened
                    before the kidnapping occurred. Chico told me to go get some stuff out of a
                    safe and take it to a motel off of 225. When I got back to the apartment, the
                    cops were there. Diana told me later that the kidnapping happened right
                    after 1 left, because she thought it was me at the door, like I had walked out
                                                                     .




                    and was trying to coming hack inside.
            5. I heard that the people who did this ransacked Diana and Arturo’s
                    apartment , like they were looking for something           That’s why I never
                    understood why people thought Chico was involved. He knew I had already
                '
                    gone over and moved the stuff from the safe, so if it were him he would not
                    have had any reason to look for something else.


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            6. Chico had a big heart and was a good friend to me. He was close to my
               parents and would do anything to help them out. He was really respectful
                 and treated us like family. He bought me mv first car. it was a 1983 Buick
                 Regal that he gave me as a gift.
            7. I was shot three times with a twelve gauge shotgun in 1991. I was shot in
               the ami and the hack. 1 called Diana, and Diana called Chico. Diana came
                 to pick me up at my friend ' s place where I had run after 1 got shot, Diana
                 drove me to the hospital and Chico met us at the hospital The first hospital
                 said they had to amputate my arm, hut: Chico said no. We ended up going
                 to Southeast Memorial Hospital , and they said they could save my arm . But
                 I did not have insurance. Chico said he would take care of it. He put down
                 the title of his ear and went and got some money, and he told the hospital to
                 operate.
            8. After           was kidnapped, I was interviewed by some detectives from
                  the Houston Police Department . 1 remember talking to one person on the
                  defense team briefly , but 1 never spoke with them again after that I w'as
                                           .
                                                                                         ,




                  around and would have been happy to help Chico. I was available to testify
                  during Chico' s trial in July 2013, Had I been interviewed bv Chico’s
                                                                                     V




                  defense team, I would have told them everything that I have stated in this
                  affidavit and would have testified to the same had I been called as a witness.




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                 9. I have read and reviewed this three- page affidavit .


                I declare under penalty of perjury under the laws of the State of Texas that the
                foregoing is true and correct to the best of my knowledge and that this affidavit
                was executed on              * 2015 in      ST,     ml, Houston , Texas.




                                                               Cesar Amado Rios




            Subscribed and sworn to before me on                       osbiS. 2oi 5.
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                EXHIBIT 22




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                            AFFIDAVIT OF JOSE MARTIN VALDEZ

        I, Jose Martin Valdez, state and declare as follows:

           1 . My name is Jose “Joe” Valdez, I have known Obel Cruz-Garcia since
               around 1989. I have always known Obel by his nickname, Chico ,
           2. I was the first one in my family to meet Chico. I met him through another
               friend when we all went out to eat. That first time we hung out, we just
               really got along. After that we started hanging out often. I would say we
               hung out almost every day. After I got locked up, Chico started talking to
               my brother Cesar.
                 y




           3. In the years leading up to the kidnapping of                [, 1 was friends
               with Diana Garcia and Arturo Rodriguez. I actually knew them before I
               met Chico. We lived in the same apartment complex for a while. Cesar and
               I would go over there sometimes and Diana would cook for us. She’d make
               us breakfast, lunch, and dinner sometimes. I did not know Chico at this
               time. I met him later.
           4. Diana and I would have sex together sometimes.        When I first started
               messing around with Diana, she was with Arturo. What happened was that
               she caught him messing around with another woman. She came to me and
               wanted to have sex, so we did . After that, we would have sex any chance
               we got, though it was hard because Arturo was around sometimes. Diana
               and I would often have sex, even though she was with Arturo ,       To   my
                                                                                         it.*




               knowledge, Diana was also messing around with other guys, including
               Chico, I was not surprised that she was messing around with other guys. I
               found out about Chico and Diana messing around from my family. The
               time period that Chico and Diana were having sex was around the same
               time         was kidnapped.


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              5. Chico was a good friend to me and my family. Back in those days, we
                  would not like to bring our friends around our family, but Chico was
                 different. He would come around. He treated               my   mom and dad with the
                 utmost respect. I remember he would come over and tell my parents, “Let’s
                 go out to eat somewhere nice.” He would take them out to eat at these nice
                 restaurants. He would buy them gifts for Christmas. He treated my parents
                 like they were his parents. He was really good to them and very respectful .
                 He would tell us to be respectful to them . Whenever I was in prison, Chico
                  would send me money for commissary'. He was generous like that with
                 everyone, I believe he paid for Diana and Arturo’s phone ,
              6. After          was kidnapped, I was interviewed by some detectives from
                 the Houston Police Department, but I was never contacted or interviewed by                 /




                 anyone on Chico’s defense team .               Had I been interviewed hv Chico’s
                 defense team , I would have told them everything that I have stated in this
                 affidavit and would have testified if thev had asked me to be a witness.
              7. I have read and reviewed this two-page affidavit.


              I declare under penalty of perjury under the laws of the State of Texas that the
              foregoing is true and correct to the best of my knowledge and that this affidavit
                                                       *
              was executed onQi.w Jh , 2015 in
                                   .   y Ay
                                                                      V Houston, Texas.




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                                                /*   rise Martin Valdez                   V’- '
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         Subscribed and sworn to before me on                          , 2015.
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                EXHIBIT 23




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                             AFFIDAVIT OF HECTOR SAAVEDRA

       I, Hector Saavedra, state and declare as follows:

          1. My name is Hector Saavedra. I was bom                             I am thirty-
              seven years old. I currently work at Pioneer Waste Services, I have been
              working there for about three years.
                                        ,




          2. I knew Ohel Craz-Garcia through my brother, Cesar Rios. I first met Obel
              in or around 1990 when I was about thirteen years old. My brother and 1
              always called Obel by bis nickname, “ 11100.” 1 knew Obel well when I
              was thirteen to fifteen years old.
          3. When I was about fourteen years old, in 1991, my brother Cesar got shot in
              the arm. I was asleep when it happened because I had school the next day,
              Ohel was not with Cesar when he got shot, but. he came with us when we
              took him to the hospital. At the first hospital we went to, they told us that
              they probably would have to amputate Cesar’s arm. Obel was shocked and
              told us that we needed to go to a different hospital for a second opinion.
              Cesar and I both told Obel that, either way, we did not have the money to
              pay for Cesar’s treatment, Obel told us not to worry about it. We went to
              another hospital, Memorial Hermann Southeast Hospital , off of Scarsdale
              Boulevard, where they were able to treat Cesar without needing to
              amputate. As he promised, Obel paid for Cesar’s treatment and hospital
              bills. it was not even that he had that much money lying around - I
              remember Obel saying that he would sell one of his cars, if he had to, to pay
              for Cesar’s medical bills. He just treated us like family . I remember seeing
              all this firsthand, as a child , in the hospital,
          4. Obel was really good about helping out with our parents. For example,
              sometimes when Obel would go to the grocery store, he would pick up milk


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              and food to drop off with my family. It was a way of showing respect for
              our parents because we were so close, like family, in the same way that my
              family would bring food when we would go to visit our relatives in Mexico.
              Obel was like a family member. He would come over and eat with us. He
              was very respectful and very supportive of me and my family.
          5. Ohel also seemed to take a personal interest in me and my wellbeing, like a
             little brother. He would ask me about school and football, I know he didn’t
              have family here, so 1 think we were like his family while he was here,
              Obel would always tell me to study, and he stressed how important it: was
                      .




              for me to pay attention and do well in school , When I got a report card ,
              Obel would want to see it to make sure I had good grades. If I earned good
              grades, Obel would reward me with pocket-money or a gift. If I ever
              needed anything for school, like clothes or books, Obel would make sure to
              get it for me. Overall, 1 just knew Obel to be a great and generous person.
              He never asked for anything in return for all the good deeds he did for me
              and my family .
          6. Also around this time, I knew of Diana Garcia, her boyfriend Arturo, and
             her son       . I knew that Diana was sleeping with my brother, Joe, and
              also that she was sleeping with Obel . Diana would come see Joe at the
              house where I lived, and I knew they were sleeping together. When Joe
              went to jail, 1 knew that Diana and Obel were together.
          7. No one from ObeFs defense team ever contacted me to ask me about Obel.
             If they had, I gladly would have told them everything I know about what a
              good guy Obel was. I happily would have testified at trial, had I been
              asked .
          8. I have read and reviewed this three-page affidavit.



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          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit

                                       ^
          was executed onCLv;uT~ 1 2015 in                         Houston, Texas,
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                                                                        7-
                                                                       x,.



                                              Hector Sevaadra




       Subscribed and sworn to before me on                 , 2015.




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       Notary Public, State of Texas
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           585698          CHICO
           616109          ANGELITA RODRIGUEZ    WIFE OF CHICO..MAIN PLAYER
           432474          LEONARDO GERMAN...COUSIN OF CHICO
           651879          CANDIDO LEBRON     FLUNKY OF CHICO
           210560          DIANA GARCIA
           403348          ARTURO RODRIGUEZ    BOYFRIEND OF DIANA..
           616100          JOSE NORBERTO-GOMEZ...COMPL IN ANOTHER DOPE RIP
           524429          JOSE VALDEZ...UNK
           630331          JAVIER GALINDO...BURGLAR FROM PASADENA PD AND ATF

AS OF THIS DATE THERE HAS ONLY BEEN ONE RAP ON THE PRINTS AND THAT RAP WAS TO
ARTURO RODRIGUEZ OFF OF PAPERWORK FROM THE PURSE. WE WILL CONTINUED TO ADD
NAMES TO THE LIST FOR COMPARISON PURPOSES. INV HERNANDEZ ALSO GOT
ELIMINATION PRINTS FROM SOME OF THE FAMILY MEMBERS OF DIANA GARCIA. SEE THE
SUPPLEMENT BY INV HERNANDEZ FOR THE NAMES OF THE FAMILY MEMBERS.

WE HAVE ALSO OBTAINED BLOOD SAMPLES FROM SEVERAL MALES TO BE COMPARED WITH
THE RAPE KIT OBTAINED FROM DIANA GARCIA.

THE BLOOD THAT HAS BEEN SUBMITTED AS OF THIS DATE IS THAT OF:
           ARTURO RODRIGUEZ                     BOYFRIEND OF DIANA
           LEONARDO GERMAN.                     ASSOCIATE OF DIANA AND ARTURO AND BOYFRIEND OF
                                                LINDA SHRADE
           BIENVENIDO MELO                      DOPE DEALER THAT SELLS FOR CHICO
           JAVIER GALINDO                       BURGLAR WHO WAS ARRESTED
           CANDIDO LEBRON                       FLUNKY OF CHICO...ARRESTED AT CHICO ’S APARTMENT
           JAVIER GALINDO                       BURGLAR FROM PASADENA PD


WE WILL ADD TO THIS LIST AS THE INVESTIGATION CONTINUES. SPOKE WITH DEE
WALLACE OF THE CRIME LAB ON NOVEMBER 6TH AND SHE SAID THAT SHE SENT THE SEMEN
FROM THE RAPE KIT AND THE BLOOD SAMPLES TO BE COMPARED VIA DNA.

ONE OF THE CLUES WE OBTAINED IN THIS CASE CAME FROM THE ATF AND PASADENA PD
IN REFERENCE TO TWO BURGLARS. THOMAS THOMS AND JAVIER GALINDO ARE BURGLARS
THAT WERE UNDER INVESTIGATION BY A TASK FORCE INCLUDING ATF, PASADENA, AND
THE TACT TEAM FROM MAGNOLIA SUBSTATION. TO MAKE A LONG STORY SHORT, WE
CHECKED OUT THOMS AND GALINDO AND FEEL THAT THEY ARE NOT INVOLVED IN THE
ABDUCTION MURDER. HOWEVER, THOMS AND HIS GIRLFRIEND TRACY PRESSLY, GOT SOME                     .
COCAINE FROM DIANA GARCIA ON THE NIGHT        WAS ABDUCTED. ACCORDING TO
PRESSLY DIANA FRONTED AN EIGHT BALL TO THOMS AND HE SAID THAT HE WOULD LIKE
TO GO BACK AND RIP HER OFF ONE DAY. THOMS IS A WHITE MALE WITH TATOOS ALL
OVER HIM. GALINDO IS HISPANIC BUT IS NOT VERY DARK. GALINDO WAS INTERVIEWED
EXTENSIVELY AND THOMS WAS UNDER ADVISEMENT OF AN ATTORNEY. IT IS OUR BELIEF
THAT THEY ARE NOT INVOLVED IN THE ABDUCTION MURDER AN THAT THEY WERE
BURGLARIZING A HOUSE IN LIVINGSTON ON THE NIGHT        DISAPPEARED.

PRESSLY CONTRADICTS DIANA GARCIA IN THAT GARCIA CLAIMS TO HAVE NOT BEEN
SEEING DOPE ON THE NIGHT OF THIS INCIDENT. PRESSLY DESCRIBES THE
TEL.
   -..SACTION THAT OCCURRED BETWEEN DIANA AND THOMS AND PRESSLY SAID THAT SHE
USED PART OF THE COCAINE THOMS GOT FROM DIANA. PRESSLY ’ S STORY IS
CORROBORATED BY ANITA DORR, THE RELATIVE THAT WAS OVER AT ARTURO AND DIANA'S
UNTIL APPROXIMATELY 9:00PM ON THE NIGHT        WAS TAKEN. THOMS WAS IN A
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BLUE TRUCK AND WAS DESCRIBED IN DETAIL BY DORRS. DIANA ALSO ADMITS SELLING
TO THOMS ON A REGULAR BASIS BUT CLAIMS TO HAVE NOT SOLD TO HIM ON THE NIGHT
OF /“MS INCIDENT.

WE ALSO HAD DIANA GARCIA AND ARTURO RODRIGUEZ TAKE POLYGRAPHS. WHEN THEY
TOOK THE POLYGRAPHS AT THE HOUSTON POLICE DEPARTMENT, ARTURO FAILED AND DIANA
GARCIA SHOWED DECEPTION. THEY WERE POLYGRAPHED FOR A SECOND TIME AT THE FBI.
IN THOSE POLYGRAPHS DIANA GARCIA WAS DEEMED TRUTHFUL ABOUT HER KNOWLEDGE
CONCERNING THIS ABDUCTION AND ARTURO STILL SHOWED SOME DECEPTION.
WE HAVE BEEN WORKING IN CONJUNCTION WITH THE FBI ON THIS INVESTIGATION. WE
HAVE BEEN ATTEMPTING TO LOCATE CHICO FROM DAY ONE.   HE HAD A COURT DATE SET
FOR A POSSESSION CASE AND HE FAILED TO SHOW UP FOR THIS SCHEDULED COURT DATE.
A WARRANT WAS ISSUED FOR CHICO    OBEL GARCIA    AND HE IS PRESENTLY WANTED.
ANGELITA GARCIA ALSO HAS A POSSESSION CASE IN THE SAME COURT AS CHICO. SHE
WAS AROUND FOR COURT AND ON ONE OCCASION WE FOLLOWED HER FROM THE MOTEL ON
HIGHWAY 225 TO THE HARRIS COUNTY COURTHOUSE. SEE THE SUPPLEMENT BY SWAIM FOR
THE ACTIONS AROUND THE MOTEL PRIOR TO THE MOVING SURVEILLANCE. THE FBI
CONTINUED THE SURVEILLANCE ON ANGELITA ONCE SHE ARRIVED AT COURT AND SHE WAS
EVENTUALLY FOLLOWED TO AN ADDRESS ON WESTOVER. ANGELITA STAYED AT THIS
LOCATION FOR A SHORT TIME AND THEN LEFT.

WE EVENTUALLY WENT TO THE LOCATION ON WESTOVER     7523    THERE WAS A GOLD
COLORED DELTA 88...LICENSE HWG 83C PARKED BEHIND THE APARTMENT. THIS VEHICLE
WAS FOUND TO BELONG TO CHICO AND ANGELITA. WE, STEPHENS, SHIRLEY, WENDELL,
AND AGENTS FROM THE FBI, JOHNSON, TAMMY, AND TWO UCS.... WENT TO THE
     ^
AP/ MENT AND LEARNED THAT IT WAS OCCUPIED BY LINDA HERNANDEZ AND FRED
FERKER. HERNANDEZ STATED SHE MET FERRER SEVERAL MONTHS AGO AND HE WAS THE
PERSON WHO WAS ASSOCIATED WITH CHICO AD ANGELITA. WE FELT THAT FERRER KNEW
MORE THAT HE INDICATED AND BROUGHT HIM TO THE HOMICIDE OFFICE FOR AN
ADDITIONAL INTERVIEW. HE DID NOT SPEAK ENGLISH AND HE WAS INTERVIEWED BY
STEPHENS AND INV. AVILA. FERRER DENIED ANY INVOLVEMENT IN ABDUCTING
GARCIA. HE STATED THAT HE DID SELL DOPE FOR CHICO BUT THAT HE HAD NOT SEEN
CHICO FOR SOME TIME.

WE LATER LEARNED FROM LINDA HERNANDEZ THAT ON THE NIGHT THAT
DISAPPEARED, CHICO CALLED FERRER FROM BAYTOWN AND SAID THAT HE NEEDED THE
OLDSMOBILE. SHE ADDED THAT THE CAR BELONGS TO CHICO AND ANGELITA BUT THAT HE
WAS LETTING FERRER DRIVE THE CAR. HERNANDEZ STATED THAT FERRER REFUSED TO GO
AND GET CHICO BUT HE TOLD CHICO THAT HE COULD HAVE THE CAR IF HE CAME AND GOT
IT. ACCORDING TO HERNANDEZ, THE CALLS CAME IN AROUND MIDNIGHT OR SHORTLY
THEREAFTER. SHE ADDED THAT AROUND 1:00AM TO 2:00AM CHICO AND RUDY CAME TO
THE APARTMENT ON WESTOVER. SHE STATED THAT CHICO WAS CALM BUT THAT RUDY WAS
VERY, VERY NERVOUS. HERNANDEZ SAID THAT THEY STAYED FOR A SHORT TIME AND
THEN RUDY AND CHICO LEFT IN THE OLDSMOBILE. SHE ALSO SAID THAT RUDY BROUGHT
THE CAR BACK THE NEXT DAY OR SO. SHE SAID THAT SHE HEARD FERRER TALKING TO
CHICO ON THE PHONE AND THAT FERRER TOLD HER THAT CHICO TOLD HIM THAT CHICO
WAS LEAVING THE COUNTRY FOR A WHILE. WHEN FERRER ASKED CHICO WHY HE WAS
LEAVING, CHICO TOLD FERRER THAT HE WOULD TELL HIM WHEN HE RETURNED.

WH  ^WE GOT FERRER TO THE OFFICE WE LEARNED THAT HIS REAL NAME WAS BIENVENIDO
MELu, DOB             WE ALSO LEARNED THAT HE WAS WANTED ON A PROBATION
VIOLATION FOR DELIVERY UNDER THAT NAME...HE WAS PLACED IN JAIL UNDER THAT
OUTSTANDING WARRANT. HE WAS ALSO REINTERVIEWED AT A LATER DATE BY INV
HERNANDEZ AND SGT ALONZO. SEE THEIR SUPPLEMENT FOR DETAILS...
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N O V E M B E R                                5 T H                           BODY DISCOVERED
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TH. JOMPL'S BODY WAS DISCOVERED IN BAYTOWN ON NOVERMBER 5 TH. WE WENT TO THE
MORGUE AND OBSERVED THE BODY    OR WHAT WAS LEFT OF IT. IT SHOULD BE NOTED
THAT IT APPEARED THAT THE BODY HAD BEEN IN THE WATER FOR A LONG TIME. DR.
PARUNGAO STATED THAT HIS OPINION WAS THAT THE BODY WAS IN THE WATER FOR 10
PLUS DAYS. SEE THE SUPPLEMENT BY ELLIOTT FOR DETAILS OF THE DISCOVERY OF THE
BODY.

FOLLOWING THE DISCOVERY OF THE COMPL ’ S BODY, WE SET OUT TO FIND RUDY AND
ANGELITA AGAIN. SINCE CHICO IS STILL ON THE RUN AND WE HAVE BEEN UNABLE TO
INTERVIEW HIM, RUDY AND ANGELITA ARE THE NEXT BEST THING. EARLIER IN THE
INVESTIGATION WHEN ANGELITA WAS LOCATED SHE HAD A NOTE PINNED TO HER SHIRT
WHICH AUTOMATICALLY INVOKED HER 5TH AND 6TH AMENDMENT RIGHTS BY HER ATTORNEY,
J.C. CASTILLO. SHE WAS LATER INTERVIEWED IN THE PRESENCE OF HER ATTORNEY, J.
C. CASTILLO. SEE THE SUPPLEMENT BY ALONZO AND HERNANDEZ FOR DETAILS.

WE FOUND THAT RUDY WAS IN THE COUNTY JAIL. HE WAS INTERVIEWED AGAIN BY INV
HERNANDEZ AND ALONZO AND AGAIN MAINTAINED THAT HE KNEW NOTHING ABOUT THE
MURDER. HE ADDED THAT AS FAR AS HE KNEW CHICO WAS IN AERO PIERDRA PUERTO
RICO.

THERE HAS BEEN TALK OF A "RIP OFF" WHERE CHICO, RUDY, ANGELITA, DIANA,
ARTURO, AND CESAR GOT A LARGE SUM OF MONEY. RUDY WAS ASKED ABOUT THIS RIP
OFF IN THE EVENT THAT IT TIED INTO THE ABDUCTION AND MURDER OF
HEV*_«9NFIRMED THAT IT OCCURRED, HOWEVER, HE HAD LITTLE INFORMATION TO ADD.
AG < N, SEE THE SUPPLEMENT BY HERNANDEZ AND ALONZO. RUDY DOESN 'T SPEAK
ENGLISH.

DUE TO THE FACT THAT WE KNOW THAT CHICO AND ANGELITA HAVE TIES TO
PASADENA....THEY STAYED AT THE PASADENA MOTOR INN LOCATED AT 225 AND THE
BELTWAY     WE ATTEMPTED TO CHECK THE PHONE LOGS FROM THE MOTEL TO SEE IF
THERE WAS A CALL PLACED TO LINDA HERNANDEZ'S HOUSE ON THE NIGHT
DISAPPEARED. AS NOTED EARLIER, HERNANDEZ STATED THAT CHICO CALLED FROM
BAYTOWN ON THE NIGHT OF THIS INCIDENT AND ASKED TO USE THE CAR. SWAIM AND
BROWN WENT TO THE MOTEL AND LEARNED THERE HAD BEEN NO LONG DISTANCE CALLS
PLACED FROM THE MOTEL ROOM BY CHICO OR ANGELITA. WE ALSO CHECKED TO SEE IF
THERE WAS A CAB TAKEN TO THE LOCATION ON WESTOVER AND LEARNED THAT THE
DEPARTURE LOCATION IS MANDATORY FOR SUCH A CHECK. SINCE WE HAD NO ADDRESS IN
BAYTOWN THIS WAS NOT DONE.

WE THEN SET OUT TO FIND ANGELITA AGAIN. SGT ELLIOTT LEARNED THE BONDING
COMPANY THAT MADE BOND ON ANGELITA AND WENT TO THIS COMPANY AND OBTAINED A
COPY OF THE APPLICATION. IT SHOULD BE NOTED THAT IN NOVEMBER OF 1991,
ANGELITA LISTED HER ADDRESS AS                                  A COPY OF
THIS APPLICATION IS ATTACHED TO THE CASE FILE.

WE ALSO LEARNED THAT THERE WAS ANOTHER CASE INVOLVING A DOPE RIP OFF IN THE
SAME AREA OF TOWN AS THIS INCIDENT. IN THIS SECOND INCIDENT, TWO MALES WERE
KITTED AND THE SUSPECTS WERE SUPPOSED TO BE JAMAICAN. WE CALLED DIANA BACK
        .
TO .. GAIN GO OVER THE ACCENT THAT SHE SAID THE SUSPECTS USED WHEN THEY WERE IN
THE APARTMENT. SHE CLAIMS THAT THE SUSPECTS WERE NOT AMERICAN BLACKS, NOT
MEXICAN, AND NOT CHICANO.     SHE SAID THAT THE ACCENT WAS DEFINITELY HISPANIC
BUT WAS LIKE SOMEONE FROM PUERTO RICO OR COLUMBIA. THERE IS ONE SUSPECT
ARRESTED IN THIS JAMAICAN CASE AND SEVERAL OTHERS IDENTIFIED. OBTAINED000959
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HPD NUMBERS OF THE IDENTIFIED SUSPECTS AND SENT THEM TO SALDIVAR IN LATENT
PRINTS. THE HPD NUMBERS ARE :651078Z ( THOMAS ), 651096 ( NELSON ),
53   8 ( SIMON ).
   ^
CALLED CRIME STOPPERS AND TALKED TO SGT GILBERT. SGT GILBERT WAS ASKED IF
THE REWARD IN THIS CASE COULD BE ENHANCED DUE TO THE AGE OF THE COMPL AND THE
NATURE OF THE CRIME. GILBERT CALLED SOME OF THE BOARD MEMBERS FOR CRIME
STOPPERS AND RAN THE IDEA PAST THEM. HE THEN CALLED BACK AND SAID THAT THEY
WOULD ASK FOR $ 5000 DURING A SPECIAL MEETING ON TUESDAY. HE WILL LET US
KNOW.

CALLED MEDIA RELATIONS AND SET UP A NEWS CONFERENCE FOR TUESDAY AFTERNOON.
THIS WILL BE TO ANNOUNCE THE REWARD AND TO PUBLICIZE THE CASE ONE MORE TIME
IN HOPES THAT THE MONSTERS THAT KILLED THIS SMALL CHILD WILL TALK OR WILL
HAVE TOLD SOMEONE WHO WILL BE PROMPTED TO CALL.
GOT A CALL FROM A FEMALE WHO REFUSED TO GIVE HER NAME. SHE SAID THAT SHE IS
CLOSE TO THE FAMILY AND WANTED US TO KNOW THE FOLLOWING INFORMATION.
 SHE STATED THAT DIANA AND ARTURO WERE SELLING DRUGS FROM THE APARTMENT UP
UNTIL THE NIGHT OF THIS INCIDENT. THE CALLER ADDED THAT THE DAY           WAS
TAKEN, DIANA AND ARTURO HAD TAKEN THE DOPE AND THE MONEY OUT OF THE APARTMENT
BECAUSE THEY WERE AFRAID THAT THEY WERE ABOUT TO BE BUSTED BY SOME PEOPLE
THEY SUSPECTED AS POLICE WHO HAD BEEN SITTING ACROSS THE STREET FROM THE
APARTMENTS. IT SHOULD BE NOTED THAT WE LEARNED THAT THE MAJOR OFFENDER'S
UNIT WAS WATCHING A "FENCE" LOCATED ON THE NEXT STREET OVER AND HAD BEEN
DOING SO FOR APPROXIMATELY A WEEK. THE CALLER SAID THAT DIANA'S COUSIN NAMED
RUr WENT AND WROTE DOWN THE LICENSE PLATE NUMBER TO ONE OF THE VEHICLES
       ^
OCL . PIED BY THE SUSPECTED NARCOTICS OFFICERS. THE CALLER ALSO SAID THAT
RUBEN STAYS IN THE APARTMENTS ON WINFREE WHERE DIANA AND ARTURO USED TO LIVE.
IT SHOULD BE NOTED THAT THE DIRECTIONS THE CALLER GAVE TO RUBEN'S APARTMENT
LEAD TO THE APARTMENT OCCUPIED BY LINDA SHRADE. THIS IS ALSO THE SAME
APARTMENT WHERE WE LOCATED LEONARDO GERMAN....
I ASKED THE CALLER HOW MUCH DOPE DIANA AND ARTURO WOULD SELL. SHE STATED
THAT THEY SOLD MOSTLY 20S IN POWDER FORM. SHE ALSO SAID THEY WOULD
OFTENTIMES TAKE PROPERTY AS WELL AS MONEY.

DURING THE EARLY STAGES OF THIS INVESTIGATION WE LEARNED ABOUT THE
SURVEILLANCE CONDUCTED BY MAJOR OFFENDERS. WE INITIALLY TALKED TO SGTS SITZ
AND THOMAS AS THEY WERE ON THE SURVEILLANCE PARKED BY BARNETT STADIUM. WE
ALSO LEARNED THAT THE INVESTIGATION WAS HEADED BY SGT CULLAR AND I TALKED TO
HIM BRIEFLY. AFTER THE DISCOVERY OF THE BODY, I CALLED CULLAR BACK AND
REINTERVIEWED HIM CONCERNING THE INFORMATION HE NOTED AS HE WAS ON
SURVEILLANCE.

CULLAR STATED THAT HE WAS ON THE SURVEILLANCE ON THE NIGHT OF THIS INCIDENT,
9-30-92. HE ADDED THAT AROUND 10:30 TO 11:00PM HE MOVED HIS SURVEILLANCE
FROM THE PARKING AREA OF BARNETT STADIUM TO A LOCATION ON THE GULF FREEWAY
SERVICE ROAD. HE ALSO SAID THAT PRIOR TO MOVING HIS SURVEILLANCE, HE NOTED
A SMALL VAN, EITHER A FORD AEROSTAR OR A CHEVY ASTRO VAN, PARKED OVER BY THE
AP/ MENTS ( WHERE DIANA AND ARTURO LIVE) ON FAIRWAY. ACCORDING TO CULLAR, THE
    ^
VAN WAS PARKED HEADED TOWARD BROAD STREET ON THE APARTMENT SIDE OF THE
STREET.   HE ADDED HAT HE CAN 'T BE SURE OF THE EXACT TIME THE VAN WAS PARKED
AT THE APARTMENTS, BUT HE THINKS IT WAS AROUND 9:30PM TO 10:30PM. SGT CULLAR
DESCRIBED THE VAN AS SILVER AND MAROON BUT HE COULD BE WRONG. HE ALSO STATED
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THAT HE DID NOT NOTICE THE OCCUPANTS OF THE VAN.

AS *S> SGT CULLAR IF THERE WERE ANY VEHICLES THAT PULLED ALONGSIDE OF HIM
     ^
WHi^E HE WAS ON SURVEILLANCE. HE STATED THAT HE DOES NOT REMEMBER ANY AND HE
THINKS THIS WOULD HAVE GOTTEN HIS ATTENTION ENOUGH FOR HIM TO MOVE. HE ALSO
SAID THAT HE DID NOT FLASH HIS LIGHTS AT ANYONE THAT NIGHT. THIS WOULD
INDICATE THAT THE VEHICLE OBSERVED BY ISABEL MARTINEZ WAS PROBABLY THE
SUSPECT VEHICLE. AS NOTED IN HIS STATEMENT THERE WAS A TALL BLACK MALE
STANDING BY THE VAN AND A SMALLER CAR.

WE THEN WENT AND INTERVIEWED A C.I. WITH WHOM WE SPOKE EARLIER.                                                                                                          SEE THE
SUPPLEMENT BY SGT SWAIM FOR DETAILS.


FOLLOWING THE INTERVIEW WE WENT TO BAYTOWN TO SEE THE AREA WHERE THE BODY WAS
FOUND. WE NOTED THERE WAS AN APARTMENT COMPLEX LOCATED SEVERAL HUNDRED YARDS
FROM THE WATER. WHEN WE RETURNED TO THE OFFICE WE GOT WITH ELLIOTT AND
LEARNED THAT THE OFFICER THAT SUPPOSEDLY HAS SECURITY FOR THE COMPLEX IS
NAMED ROGER CLIFFORD. CALLED THE NUMBER OBTAINED BY ELLIOTT AND TALKED WITH
THE MANAGER OF THE COMPLEX, KELLY     .422-3214        HM #..427-0123
KELLY WAS ASKED IF THERE WERE ANY COLUMBIAN OR  PUERTO  RICAN PEOPLE LIVING AT
THE COMPLEX. SHE SAID THAT SHE WAS NOT FAMILIAR WITH ANY BUT THAT SHE WOULD
CHECK HER FILES. THEN ASKED HER IF THERE WERE ANY OCCUPANTS THAT DROVE A
MINI VAN. AT FIRST SHE SAID THAT SHE DIDN'T KNOW OF ANY, THEN SHE CALLED
BACK A SHORT TIME LATER AND SAID THAT THERE IS ONE THAT FREQUENTS THE
APARTMENT LATE AT NIGHT. SHE ALSO SAID THAT THERE IS AN APARTMENT ON THE
BA
     ^
     SIDE OF THE COMPLEX THAT THE VAN SEEMS TO VISIT, AND THIS APARTMENT IS
OCCUPIED BY SEVERAL HISPANIC MALES. WE WILL GO TO BAYTOWN AND MEET WITH
KELLY AND GET THE INFORMATION ON THESE MALES....




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                EXHIBIT 25




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                BOND : 0 0 0 0 0 0 0 0 No.  118191001010                     SPN :  01134368                                          £
 The State of Texas                                                           In the        District Court
                                                                                       2 6 2 th
 VS .                                                                         County Criminal Court at Law No.
         CRUZ - GARCIA , OBEL                           , Defendant           Harris County, Texas
                                     ,   DOB                                   INS : FID                PFG : K


              PROBABLE CAUSE FOR FURTHER DETENTION & STATUTORY WARNINGS BY MAGISTRATE
      Today , the above named defendant , charged with    CAPITAL MURDER                     , appeared before
 the undersigned authority , (the Court)          in person.    by video teleconference . ST

                                     All statements in bold should be addressed to defendant.       ^
 Do/tfcou request appointment of counsel? (check one)
  /NO. The defendant did not request appointment of counsel .
   YES. The defendant requested appointment of counsel . The Court ORDERS th iffice of Pre-Trial Services (PTS) to
   immediately assist defendant in preparing a request for appointment of
   the judge of the court in which die case is pending within 24 hours.
                                                                             counsel
                                                                           .' S shall forward defendant' s request to

                                                                    T2
 If you are not a United States citizen, you may be entitled to hav    notify your country ' s consular
 representative here in the United States. Do you want us to notif; your country's consular officials? (check one)

GTYES. What country?                                     . If you       a citizen of a country that requires us to notify
 youi>country 's consular representative, we shall notify thema         on as possible.
  /                NOTIFICATION. CLERK, NOTIFY                                             (Country) CONSULATE.
^If MANDATORY
    you are a foreign national, please provide the following information:
                                                                         r
 Mr . /Ms:                                _                  U
 (father ' s name {surname}/ mother 's maiden name / first/hame)                        Date of birth (mm/dd/yy)

 Place of birth

 Passport number                          Date of passport issuance             Place of passport issuance


 This proceeding was interpreted by :                                  a   cr i                         (Print name of interpreter)

                                                                   ORDER
    The Court FINDS probable              for further detention DOES NOT EXIST. Accordingly , in this case , the Court ORDERS the
    law enforcement agency/ofj :er having custody of the defendant, to immediately release the defendant from custody .
  ' The Court FINDS PRi            E CAUSE for further detention EXISTS. The Court set and/or reviewed the defendant ' s bond ,
    and in clear and unambiguous language , the Court 1 ) advised defendant of his rights as enumerated in Article 15.17 of the
    Texas Code of Criminal Procedure and 2) provided him with information required by law . Accordingly , The Court ORDERS
    defendant committed to the custody of the Sheriff of Harris County , Texas . Defendant shall remain in the Sheriff ' s custody
    upfil he posts bail in this cause , or until further orders by the Court .
  HBail is set at $                            Personal Bond is:      APPROVED                    DISAPPROVED                dREFERRED

      02 / 12/ 2010       lo An
 DATE/ TIME (Print)                                        JUDGE PRESSING/ HEARING OFFICER
  N.RCV3001.P                                                                                                                    Rev.08/24/05



                         Ice    Detainer                                                                 RECORDER'S MEMORANDUM
                                                                                                                          000963
                                                                                                         This instrument is of poor qualify
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                  -4 ;17
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                                                                                       Case Number: 1181910
                                                                                                   Court: 262
               Fax Sheet to Notify Consulate/Embassy of Arrests/Detentions

              Date: 2 / 12 / 2010


                      To:           Email: notlfyhouston@sre.gob.mx (Consulate of Mexfco only)
                                    713-271-3201, Consulate of Mexico, Houston TX
                                         , DOMINICA Embassy, Washington DC
                                         , Consulate of
                                    (phone)              (Country)


                     From: Griffith                                               /
                     Harris County District Clerk, Detention Court
                     Address: 1201 Franklin, Houston TX 77002
                     Telephone: 713-755-1048
                                                                              ^
                     Fax: 713-368-3912

              Subject: Notification of the Arrest/Dete                   f a National of your Country

                     We arrested/detained the following foreign national, whom we understand to be a
                     national or your country, on, 02/1172010.

                                      -
                     Mr./Ms. Cruz Garcia Obel/
                              (On Mexican Con;     ;   fathers surname, mothers maiden name, surname, first name)
                     Date of bi
                     Place of birth:
                                              ican Consulate: municipal, state, country)
                     Passport number:
                     Case number
                                  ^
                     Charge:Capital Murder
                     Detainee:
                     Court      her:
                     Co       te:
                     |
                      ^   ^
                     E t bf passport issuance:
                     Place of passport issuance:

              To arrange for consular access, please call the Harris County Sheriffs Office Detention
              Supervisor at 713-755-8961 between the hours of 8:00 a.m. and 5:00p.m. Please refer to
              the defendant’s name and this SPN # 01134368 when you call.

              Comments:

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                                                Embassy of the

                                                FEB 122010
                                                                                               Case Number: 11SI 91 Q
                             Commonwealth of Dominica
                                                                      Court: 262
                  Fax Sheet to Notify Consuiate/Embassy of Arrests/Detentions

                Date: 2/12/2010

                       To:     D Email: notifvhoustea@are.gob.nMc (Consulate of                             nnkl
                                           - -
                                     713 271 3201, Consulate of Mexico, Houston
                               ISI                                         >
                                            . Consulate o:
                                     (phone)                  (Country)


                       From: Griffith                                          [     o
                                                                                      <
                                                                                          ft
                       Harris County District Clerk, Detention Court
                       Address: 1201 Franklin, Houston TX 7700

                                - --
                       Telephone: 713 755 1048
                       Fax: 713 368 3912
                                                  -
                                                                     /
                                                                               ^^
                Subject: Notification of the Arrest/Detention of a National of your Country

                       W« arrested/detained the followingforcign national, whom we understand to be a
                       national or your country, on, 02/1172010.
                                                             w

                                       -
                       Mr./ Ms. Cruz Garcia (
                               (On Mexican Coi              fathers surname, mothers maiden name, surname, first name)
                       Datf ' of birtHU
                       Place of birth:
                                           (O         loan Consulate: municipal, state, country)
                       Passport number:' ,
                       Case number
                               __
                       Chmge:C pital IVft
                               ^
                       Detsinee:
                       Court Numl er:
                       Court Date:
                       Date of passport issuance: ,
                       Pla C:
                            ' of passport issuance:
                          '
                To arrange lor consular access, please call the Harris County Sheriffs Office Detention
                                  - -                                               ..
                Supervisor at 713 755 8961 between the hours of 8:00 a m and 5:00p.m. Please refer to
                the defendant's name and this SPN # 01134368 when you call.

                Comments:

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                EXHIBIT 26




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                            AFFIDAVIT OF SANDRA L-. BABCOCK

            I, Sandra Babcock, state and declare as follows:
        1 . My name is Sandra Babcock.          I am a Clinical Professor at Cornell
            University Law School, where I teach a legal clinic on international human
            rights, I am an attorney licensed to practice In the states of Texas and
            Minnesota, the United States Court of Appeals for the Fifth Circuit, and the
            United States Supreme Court. I received my J.D from Harvard Law School
                                                                ,



            in 1991 .
        7   A substantial part of my teaching and scholarship is devoted to the study of
            the application of international norms in U.S, death penalty cases. I have
            taught courses on international law and the death penalty at Northwestern
            Law School and at Tulane University' Law School’s summer program in
            Amsterdam . I am the founder and director of Death Penalty Worldwide, a
            publicly available database that tracks developments in the laws and practice
            of capital punishment in ninety-three countries and territories around the
            world, available at www.deathpenaltyworldwide.org, I have also published
            several articles regarding the intersection of human rights norms and the
            death penalty, including The Mandatory Death Penalty in Malawi: The
            Unrealized Promise of Kafantaye.nL with Ellen Wight, in Peter Hodgkinson
            and. Kerry' Ann Akers, THE LIBRARY        OF   ESSAYS   QN   CAPITAL PUNISHMENT
            (Ashgate 2014); The Limits of International Law : Efforts to Enforce Ridings
            of the International Court of Justice in U. S. Death Penalty Cases, 62
            SYRACUSE L, REV. 183 ( 2012); International Standards on the Death
            Penalty, 28 THOMAS M. COOLEY L. REV , 103 (2011); Human Rights
            Advocacy in United States Capital Cases, in THE CONTEMPORARY HUMAN
            RIGHTS MOVEMENT IN THE UNITED STATES (2007); The Global Debate on


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            the Death Penalty, in American Bar Association, Human Rights (Spring
            2007): The Growing Influence of International Tribunals, Foreign
            Governments and Human Rights Perspectives in United States Death
            Penalty Cases, in Center for Capital Punishment Studies, Occasional Papers
                                                  .




            VGL 2 (August 2005); The. Role of International Law in United States Death
            Penalty Cases, 15 Leiden I. Inti Law (2002); and L ’application du droit
                                                                 -
            international dans les executions capitals am Etats Unis: de la thiorie d la
            pratique, in La peine capitate et le droit international des droits de I’homme,
            Universite Pantheon-Assas (Paris II) (2003).
        3. I have been licensed to practice law in Texas since 1992, I worked at the
            Texas Resource Center, a non-profit organization established to defend
            individuals facing the death penalty in that state, from 1991 to 1995, In
           1992, 1 became the first attorney in the United States to challenge the state5 s
            failure to comply with Article 36 of the Vienna Convention on Consular
            Relations (“Vienna Convention”)* in a capital case out of Angelina County.
                                                      .




            Texas ( Faulder v. Johnson ). Later that year, I raised a Vienna Convention
            claim in a Harris Comity case involving Mexican national Ricardo Aldape
           Guerra. After leaving the Resource Center, I continued to serve as counsel
                                   :



           in numerous death penalty cases in Texas, most of which involved foreign
           nationals facing the death penalty . I litigated Vienna Convention claims in
           the Fifth Circuit Court of Appeals, the U.S. Supreme Court, the Inter-
           American Commission on Human Rights, and the Inter-American Court on
           Human Rights. From 2000 to 2006, I was the Director of the Mexican
           Capital Legal Assistance Program (MCLAP), a program established by the
           Mexican Foreign Ministry to defend the rights of Mexican nationals facing
                                       '




           capital punishment in the United States. I represented Mexico before the
           International Court of Justice in Avena and Other Mexican Nationals (Mex.

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            v. US .). 2004 I.C.J. 12 (Mar. 31), involving violations of the Vienna
            Convention in the cases of 51 Mexican nationals sentenced to death in the
            United States.
        4. Since 1992, 1 have personally represented at least 10 foreign nationals facing
                                                          .




           the death penalty in the United States, including the petitioner in Medellin v.
            Texas , 552 U.S. 491 (2008). I have consulted: with attorneys representing
            foreign nationals facing the death penalty in at least one hundred cases. I
           have been invited to speak at multiple national conferences and training
           seminars for capital defense attorneys regarding the representation of foreign
           nationals facing the death penalty . I estimate that I have given at least thirty
            lectures on this topic over the last twenty years, I have also trained consular
           officials from Europe and Mexico regarding best practices in consular
           assistance. I have argued cases involving violations of Article 36 of the
           Vienna Convention in the Texas Court of Criminal Appeals as well as the
           Supreme Courts of California, Minnesota, Nevada, and New Mexico. I have
           testified as an expert on the application of the Vienna Convention in death
           penalty cases in the state courts of California, Oklahoma and Georgia.
        5. My C ,V, is attached to this affidavit.
        6. I have been asked by current post-conviction counsel for Obd Cruz Garcia,
           the Office of Capital Writs (OCW ). to review various documents relating to
           Mr, Cruz Garcia’s capital murder prosecution in the 337th District Court of
           Harris County, Texas. Specifically, counsel has asked roe to render an
           opinion on the prevailing standard of care in Texas in 2011-2013 for capital
           trial counsel representing a non-national client.
        7. The list of materials I have reviewed includes: (1) Supplemental police
           report authored by E.S , Mehl on October 8, 2008; (2) Order by the 262nd
           District Court dated February 2, 2010 finding probable cause to detain Mr,

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            Cruz Garcia: (3) Notice to Defendant of State’s Intent to Use Extraneous
            Offenses and Prior Conviction; and (4) a copy of Mr. Cruz Garda’s passport
            issued by the Dominican Republic.
        8. In my opinion, and based on my review of the records provided , counsel
           knew that their client was from the Dominican Republic, Under the ABA
           Guidelines for the Appointment and Performance of Defense Counsel in
           Death Penalty' Cases and prevailing Texas practice, competent defense
           counsel would have notified Mr. Cruz Garcia of his rights under Article 36
           of the Vienna Convention After obtaining Mr. Cruz Garcia’s consent, they
                                     ,



           would have notified consular officials of his detention and sought assistance
            from the consulate. If Mr. Cruz Garcia’s trial counsel failed to take these
           actions, that failure was objectively unreasonable.


           Evidence of Mr, Cruz Garda’s Foreign Nationality
        9, Several documents confirm Mr. Cruz Garcia’s foreign nationality, and all of
           these would have been available to counsel well before the start of Mr. Craz
                                                                     nd
           Garda’s capital murder trial. On Febrary 12, 2010, the 262 District Court
           of Harris County issued an Order finding probable cause to detain Mr. Cruz
           Garda      The Order indicates that Mr. Cruz Garda is a foreign national,
           although it incorrectly identifies him as a national of Dominica a       —
           Caribbean island in the Lesser Antilles. The order also indicates that Mr,

                                                —
           Cruz Garcia required an interpreter another indicia of foreign nationality.
           A supplemental police report drafted by Officer E.S. Mehl on October 8,
           2008 identifies Mr, Cruz Garda as a national of the Dominican Republic.
           Finally , on June 19, 2013, the prosecution filed a Notice to Defendant of
           State’s Intent to Use Extraneous Offenses and Prior Conviction , This notice
           indicates that u[t]he defendant is a citizen of the Dominican Republic- who

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            entered the United States as well as the Commonwealth of Puerto Rico on
            multiple occasions since the late 1980s illegally and remained in both
            locations for periods of time as an undocumented alien , ”


            Standard of Practice in Texas Capital Cases Involving Foreign
            Nationals
         10. The starting point for any inquiry into the reasonableness and quality of
            legal representation in a capital case is the American Bar Association ’s
            “Guidelines for the Appointment and Performance of Defense Counsel in
           Death Penalty Cases.” The United States Supreme Court has observed that   '




           the ABA Guidelines establish the “prevailing norms of practice” that serve
           to measure counsel ’s performance. Wiggins v Smith, 539 U.S, 510, 522-24
           (2003) (finding counsel ineffective for failing to investigate defendant’s
            background ). The 2003 ABA Guidelines specifically address counsel s         "'




            obligations when representing a foreign national client facing the death
           penalty . Guideline 10.6 unequivocally states that counsel should advise a
            foreign national client of her right to communicate with consular officials.
           Guideline 10.6 further advises - counsel to seek and obtain a foreign national
           client’s consent to contact consular officials, and to follow through by
           informing the consular office of her client’s detention. Guideline 10.6 reads:


                      GUIDELINE 10,6 ADDITIONAL OBLIGATIONS OF
                      COUNSEL REPRESENTING A FOREIGN NATIONAL

                  A, Counsel at every' stage of the case should make appropriate
                     efforts to determine whether any foreign country might
                     consider the client to be one of its nationals.




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                  B. Unless predecessor counsel has already done so* counsel
                      representing a foreign national should:

                      1 . immediately advise the client of his or her right to
                      communicate with the relevant consular office; and

                      2. obtain the consent of the client to contact the consular office.
                      After obtaining consent, counsel should immediately contact
                      the client’s consular office and inform it of the client’s
                      detention or arrest.

                            a Counsel who is unable to obtain consent should
                              ,

                                  exercise his or her best professional judgment under
                                  the circumstances.

           1 Lin 2006, the Texas State Bar adopted Guideline 10.6 (B) in its Guidelines     .


                                                                                                &
               for Death Penalty Representation (“SHOT Guidelines”)                     .           SHOT
               Guideline 10.3 reads as follows:
                  GUIDELINE 10,3 Additional                   Obligations      of   .   Counsel
                  Representing a Foreign National

                  A. Counsel at ever)' stage of the case should make appropriate
                  efforts to determine whether any foreign country might consider
                  the client to be one of its nationals.

                  B. Counsel representing a foreign national should:

                  1 , Immediately determine if the client's ability to communicate
                  with counsel, in English, is sufficient to allow counsel and the
                                                               ,




                  client to adequately communicate. Counsel must recognize that                      ,



                  some foreign nationals speak in dialects of which counsel may he
                  unfamiliar, resulting in unintended miscornmunication .



            The Texas Court of Criminal Appeals has cited the SBQT Guidelines in assessing the
           prevailing standard of practice in Texas. See , e,g,s Ex parte, VanAlstym , 239 S.W,3d
                                           '




           815, 822 (Tex. Grim, App, 2007); Ex Parte Medina, 361 S.W, 3d 633 (Tex. Crsm . App.
           2011 ) .

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                  2. If there are any language conflicts, counsel should immediately
                  request the court to appoint an appropriate interpreter to assist the
                  defense in all stages of the proceeding, or counsel may request
                  permission to withdraw due to language problems. It is highly
                  recommended that both lead and associate counsel have adequate
                  communication with the defendant, rather than just one of counsel.

                  3. Immediately advise the client of his or her right to communicate
                  with the relevant consular office; and

                  4. Obtain the consent of the client to contact the consular office,
                  After obtaining consent, counsel should immediately contact the
                  client's consular office and inform it of the client's detention or
                  arrest. Counsel who is unable to obtain consent should exercise
                  his or her best professional judgment under the circumstances.

           12. The duties outlined in the ABA and SBOT guidelines stem from Article
               36 of the Vienna Convention on Consular Relations            ,   Article 36(b)
               imposes an obligation on state authorities to advise a detained foreign
               national of his right to have the consulate notified of his detention.
               Article 36 (a) and ( b) further provide that detained foreign nationals have
               the right to communicate with consular officials. Article 36 (c) of the
               Vienna Convention on Consular Relations confers rights on consular
               officers to visit their nationals and arrange for their legal representation,
           13.The rights set forth in Article 36. and counsel s corresponding duties
                                                                    5




               under the ABA and SBOT Guidelines, are no mere formality . The
               Commentary to Guideline 10.6 offers a useful explanation of the range of
               services that consular officials can provide:
                  As a practical matter, consuls are empowered to arrange for their
                  nationals' legal representation and to provide a wide range of
                  other services. These include, to name a few. enlisting the
                  diplomatic assistance of their country to communicate with the
                  State Department and international and domestic tribunals (e.g ,,
                  through amicus briefs), assisting in investigations abroad,

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                  providing culturally appropriate resources to explain the American
                  legal system, and arranging for contact with families and other
                  supportive individuals. As a legal matter, a breach of the
                  obligations of the Vienna Convention or a bilateral consular
                  convention may well give rise to a claim on behalf of the client.
                                                                       .




            American Bar Association, Standards for the Appointment and Performance
            of Defense Counsel in Death Penalty Cases, February, 2003 ( footnotes
            omitted).
        14,Consular involvement can literally make the difference between life and
                                      —
            death in capital cases even those involving highly aggravated crimes.
           Accordingly , the Commentary to the ABA Guidelines observes that
            “[ejnlisiiog the consulate’s support after obtaining the client’s consent to do
           so should therefore be viewed by counsel as an important element in
            defending a foreign national at any stage of a death penalty case, ” Both the
                                            '




           ABA and SBOT Guidelines highlight the importance of eounsePs duties           in

           this regard by insisting that counsel should immediately notify her client of
           the right to consular notification and communication, and should
           immediately notify the consulate once the client’s consent has been obtained.
        15.The assistance provided by consular officials varies from case to case. I
           have been involved in at least two dozen eases in which consular officials
           have interceded with prosecutors prior to trial to persuade them not to seek
           the death penalty . In most of these cases, the prosecution decided to waive
           the death penalty' in exchange for a guilty plea. In other cases, consular
           officials have been instrumental in obtaining mitigating evidence from the
           national’s home country that has a decisive impact on the penalty phase
           defense    ,   Consular officials have also recruited legal counsel to represent
           foreign nationals facing the death penalty' where trial counsel lacks the
           requisite experience or competence to defend a capital case.

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         l 6.Numerous courts have recognized the significance of consular assistance m
                                   ,



            capital prosecutions and have found trial attorneys ineffective for failing to
            inform foreign national clients of their consular rights. More than a decade
            ago, the Oklahoma Court of Criminal Appeals acknowledged the
            “significance and importance of consular assistance in the case of a
                                             5'




            Mexican national, and declared:
                  It is evident from the record before this Court that the Government
                  of Mexico would have intervened in the ease, assisted with
                  Petitioner's defense, and provided resources to ensure that he
                  received a fair trial and sentencing hearing... We believe trial
                  counsel, as well as representatives of the State who had contact
                  with Petitioner prior to trial and knew he was a citizen of Mexico,
                  failed in their duties to inform Petitioner of his right to contact his
                  consulate.

           Valdez v. State, 46 P.3d 703, 710 (Okfa, Grim, App. 2002). In 2007, the
           Oklahoma Court of Criminal Appeals found trial counsel ineffective tor
           failing to present mitigating evidence that they could have obtained with the
           assistance of lawyers working with the Mexican consulate.                 Marquez
           Burrota v. State, 157 P.3d 749, 766 n.20 (Okla. Grim . App. 2007)     ,



        17.As the above discussion makes clear, Mr, Cruz Garda’s defense team should
           have been aware of their obligations to advise him of his right to seek
           consular assistance.        They should likewise have been aware of their
                                                             ,




           corresponding obligation to advise the consulate of his detention, It seems
           highly likely that Mr. Cruz Garcia would have consented, given that he
           requested that his consulate be notified of his detention during his probable
           cause hearing on February 12, 2010, By August 2011, when trial counsel
           was appointed to represent Mr. Cruz Garda, it was standard practice for
           Texas capital defense attorneys to seek the assistance of consular officials
           when representing a foreign national.

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         18. In 2008, the U.S. Court of Appeals for the Seventh Circuit found trial
            counsel had rendered deficient performance by failing to notify his foreign
            national client of his consular rights and by failing to raise the issue in court.
            Osagiede v. United States, 543 F. 3d 399 (7* Cir. 2008). In. support of its
            conclusion, the court cited Illinois state guidelines that had adopted language
            similar to SHOT Guideline 10.3, and held that “[prevailing norms of
            practice as reflected in American Bar Association standards and the like ...
            are guides to determining what is reasonable.” Id at 411 (citing Strickland
            v. Washington , 466 U.S. 668 (1984)), It noted that Vienna Convention
            claims had been the subject of litigation in several high profile eases leading
                                                            2
            to widespread local and national media coverage. Id. The court concluded
            that [i]n this climate, we believe that Illinois criminal defense attorneys
                   i£




            representing a foreign national in 2003 should have known to advise their
           clients of the right to consular access and to raise the issue with the presiding
            judge.35 Id
        19 Jt is inconceivable that a Texas capital defense lawyer in 2011 could be
            unaware of his obligations to facilitate a foreign national client’s exercise of
                                .



                                       .
           his consular rights Whether counsel’s failure to fulfill their duties derived
            from ignorance or inattentiveness matters little; in either case, their
           performance fell well below an objective standard of reasonableness when
           measured against prevailing professional norms.
        20.1 have read and reviewed this eleven -page affidavit


                                 Texas. See, e.g., Bill Meats, Mexican National Executed in Texas ,
           * The same - is true - in
           CNN, July 7 , 2011 ; Allen Turner and Rosanna Ruiz, Medellin Executedfor Rape ,
           Murder of Houston Teem, HOUST, CHRON., Aug. 5, 2008; Ginger Thompson, An
           Execution in Texas Strains Ties With Mexico -and Others. N.Y. TIMES, August 16, 2002,
                                                       '




           at A6;’ Appeals Court Clears Way for Canadian’s Execution in Texas, CNN, Dec, 10,
           1998.

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            I declare under penalty of perjury under the laws of the State of New York                      ,




            that the foregoing is true and correct to the best of my knowledge and that
                                                              4'***
            this affidavit was executed on the                              August, 2015 in Ithaca, New
            York   ,


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                                                                                 7*
                                                                            /
                                                                            /X
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                                                                          /r
                                                                1/ Sandra L. Babcock
                                                                 //



            Subscribed and sworn before me this. 195Y 6



            2015, in Ithaca, New York.   .




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                                       SANDRA L. BABCOCK
                                          Cornell Law School
                                         148 Myron Taylor Hall
                                           Ithaca, NY 14853
                                           Tel . 607-255-5278
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                                             March 18, 2015


  TEACHING            Clinical Professor, Cornell Law School                                  2014-present
                      Teach clinical courses on international human rights . Supervise students on wide
                      variety of human rights projects, including litigation before international tribunals,
                      advocacy before UN bodies, prisoners’ rights work in Malawi, capital defense work
                      in the United States, and human rights advocacy in a variety of other countries.
                      Represent Mexican nationals facing execution and advise the Government of
                      Mexico regarding the defense of Mexican nationals on death row within the United
                      States.

                      Fulbright-Toqueville Distinguished Chair, Universite de Caen                Fall 2014
                      First clinical professor awarded the top Fulbright fellowship in France, for a project
                      involving the comparative study of clinical legal education in France and the
                      United States .      Taught international human rights clinic and seminar on
                      international gender rights to French masters students . Gave series of lectures on
                      human rights and clinical education .

                      Clinical Professor, Center for International Human Rights , Northwestern
                      University Law School                                                   2006-2014
                      Taught clinical course on human rights advocacy as well as doctrinal classes in the
                      field of human rights. Recipient of Dean’ s Teaching Award .

                      Tulane Law School/University of Amsterdam                               2004-2012
                      Amsterdam, The Netherlands
                      Taught courses on international women’ s rights and international law and the death
                      penalty

                      University of Addis Ababa, Ethiopia                                       Dec. 2008
                      Taught course on gender and international human rights


  EXPERIENCE          Reprieve (London)                                                Sept - Dec. 2012
                      Senior Fellow
                      Consultant to international team of lawyers providing legal assistance to prisoners
                      facing the death penalty .

                      Mexican Capital Legal Assistance Program                            2000-2006
                      Director
                      Directed a national program funded by Mexico to assist Mexican nationals facing
                      capital punishment in the United States. Advised the Mexican Foreign Ministry

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                      and Mexican consular officers in the U. S . , supervised the work of 14 attorneys,
                      consulted with trial and post-conviction attorneys, experts and investigators, met
                      with diplomats and consular officials, organized training seminars for consular
                      officials and defense attorneys, negotiated with prosecutors, and represented the
                      Government of Mexico in state and federal courts around the United States.
                      Counsel for the Government of Mexico in litigation on behalf of 54 Mexican
                      nationals before the International Court of Justice in Avena And Other Mexican
                      Nationals (Mex. v. U.S.) .

                      Hennepin County Public Defender                                      1995-1999
                      Minneapolis, MN
                      Assistant Public Defender
                      Trial lawyer . Represented criminal defendants in state court facing felony and
                      misdemeanor charges.

                      Texas Capital Resource Center                                            1991-1995
                      Austin, TX
                      Supervising Attorney
                      Litigated capital cases in state and federal habeas corpus proceedings. Represented
                      four foreign nationals under sentence of death; conducted investigation in Mexico,
                      Vietnam, and Canada; and worked closely with government officials to enlist their
                      support of foreign citizens on death row. Wrote briefs, habeas corpus petitions, and
                      petitions for writ of certiorari, often under the pressure of an imminent execution
                      date. Conducted evidentiary hearings, investigated guilt and punishment phases of
                      capital cases, and argued before the United States Court of Appeals for the Fifth
                      Circuit.

  EDUCATION           Harvard Law School , J .D., June 1991
                            CIVIL RIGHTS/CIVIL LIBERTIES LAW REVIEW, Executive Editor
                            Harvard Human Rights Program

                      Johns Hopkins University, B . A. in International Relations, June 1986
                            Phi Beta Kappa
                            Harry S . Truman Fellow
                            Watson Fellow

                      Bologna Center, Johns Hopkins School of Advanced International Studies ,
                      1984-1985

  HONORS AND          Awarded the Cesare Beccaria medal by the International Society of Social Defense
  AWARDS              and Humane Criminal Policy for my commitment to the defense of individuals
                      facing the death penalty, Dec. 2009

                      Awarded THQ Aguila Azteca by the Government of Mexico, May 2003, for legal
                      assistance provided to Mexico and Mexican nationals facing the death penalty in
                      the United States. The Aguila Azteca is the highest honor bestowed by the
                      Government of Mexico upon citizens of foreign countries .

                      Minnesota Association of Criminal Defense Lawyers, Outstanding Legal
                      Achievement Award, February 25, 2006.


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                      Outstanding Legal Service Award, National Coalition to Abolish the Death
                      Penalty, October 2004 .

                      Access to Justice Award, Minnesota Hispanic Bar Association, October 23, 2003 .

                      Volunteer Award, Minnesota Advocates for Human Rights, June 2004 .

                      1997 “Public Defender of the Year,” Hennepin County Public Defender’ s Office.

                      Recognized as one of the outstanding criminal defense lawyers in the State of
                      Minnesota by Minnesota Law and Politics magazine for five consecutive years .

  PUBLICATIONS        Le droit international et la peine de mort: Dans le flou entre la theorie et la
                      pratique , in « Vers l ’interdiction absolue de la peine de mort : perspectives
                      philosophiques et juridiques », Ecole Normale Superieure, France (forthcoming
                      2015).

                      Death Penalty Worldwide , http : // www . deat. hpenaltyworldwide . org/ index -cihr . cfm .
                      The death penalty worldwide project includes a comprehensive database on the
                      laws and practices of 90 countries and two territories that continue to apply the
                      death penalty . It represents the first attempt by any academic institution to compile
                      this information and make it available to the public. Three years of research went
                      into the project, which also includes information on various topics of international
                      law and the death penalty . Financial support for the database was received from
                      the European Union, through the World Coalition Against the Death Penalty, as
                      well as the Proteus Action League. The database was launched in Strasbourg at the
                      Council of Europe on April 14, 2010, and is continually updated .

                      The Mandatory Death Penalty in Malawi: The Unrealized Promise of Kafantayeni ,
                      with Ellen Wight, in Peter Hodgkinson and Kerry Ann Akers, THE LIBRARY OF
                      ESSAYS ON CAPITAL PUNISHMENT (Ashgate 2013 ) .

                      The Limits of International Law : Efforts to Enforce Rulings of the International
                      Court of Justice in U.S. Death Penalty Cases , 62 SYRACUSE L . REV. 183 (2012) .

                      International Standards on the Death Penalty , 28 THOMAS M . COOLEY L . REV . 103
                      (2011).

                      Human Rights Advocacy in United States Capital Cases , in THE CONTEMPORARY
                      HUMAN RIGHTS MOVEMENT IN THE UNITED STATES (2007) .

                      The Global Debate on the Death Penalty, in AMERICAN BAR ASSOCIATION , HUMAN
                      RIGHTS , Spring 2007 .

                      The Growing Influence of International Tribunals, Foreign Governments and
                      Human Rights Perspectives in United States Death Penalty Cases, in CENTER FOR
                      CAPITAL PUNISHMENT STUDIES, OCCASIONAL PAPERS vol . 2 (August 2005 ) .

                      The Role of International Law in United States Death Penalty Cases , 15 LEIDEN J .
                      INT L LAW (2002) .


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                        L ’application du droit international dans les executions capitals aux Etats-Unis:
                        de la theorie a la pratique , in LA PEINE CAPITALE ET LE DROIT INTERNATIONAL DES
                        DROITS DE L ’HOMME, Universite Pantheon-Assas (Paris II) (2003)(in English with
                        introduction in French ).

                        Co-author, Namibia: Constructive Engagement and the Southern Africa Peace
                        Accords, 2 HARV. HUM. RTS. J . 149 (1989).

  GRANTS
  RECEIVED:             February 2013 : Received grant in the amount of $4,000 from the Northwestern
                        Program of African Studies to research laws and practices of African states that
                        retain the death penalty .

                        September 2010-August 2012 : Received three annual grants in the amount of
                        $10, 000 (each) from the Proteus Action League for research relating to the Death
                        Penalty Worldwide database.

                        May 2012 : Obtained a 3-year grant from the European Union in the amount of
                        $100, 000 for ongoing research associated with the Death Penalty Worldwide
                        database.

                        September 2011 : Received $4, 000 from the French Embassy for ongoing research
                        associated with the Death Penalty Worldwide database and translation of database
                        into French

                        2010 : European Union funded an independent researcher to assist me in completing
                        the Death Penalty Worldwide database in the amount of 50, 400 euros

  LANGUAGES             Proficient in French and Spanish, conversational Italian and German

  RECENT LECTURES AND PRESENTATIONS (not a complete list):

  Speaker, “ Foreign Nationals Facing Capital Punishment,” Expert meeting organized by the UN High
  Commissioner on Human Rights, Geneva, Switzerland, June 16, 2015 .

  Moderator, “Framing the Issues—Women, Prison, and Gender-Based Violence,” 2015 Women and
  Justice Conference, Washington, D. C . , April 15, 2015 .

  Panelist, “Human Rights in Western Sahara : The Right to Self-Determination,” United Nations, Geneva,
  March 10, 2015 .
                                  r

  Speaker, “ La peine de mort aux Etats-Unis,” University of Tours, Tours, France, December 4, 2014 .

  Speaker, “Pourquoi la peine de mort survit-elle en Amerique ? Etats-Unis v Mexiquef Association
  France-Ameriques, Paris, France, December 2, 2014 .

  Leqon Inaugurate, “ Cliniques juridiques, Fenseignement du droit et acces a la justice,” Inaugural lecture
  as Fulbright-Toqueville chair at Universite de Caen, Basse-Normandie, November 19, 2014 .

  Guest lecture, “ Les cliniques juridiques aux Etats-Unis,” University of Paris-Nanterre, Paris, France,
  October 20, 2014 .

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  Speaker, “ Politique, morale et legalite de la peine de mort au XXIeme siecle,” Caen Memorial (World
  War II Museum ), Caen, France, October 8, 2014 .

  Speaker, “ Global Politics, Morality, and the Declining Use of the Death Penalty,” Illinois Wesleyan
  University, Feb . 6, 2014 .

  Speaker, “Fair Trial and Due Process Guarantees in the Use of the Death Penalty,” Expert Seminar on
  Moving Away from the Death Penalty in Southeast Asia, Seminar with Southeast Asian Governments
  organized by the UN High Commissioner on Human Rights, Bangkok, Oct. 22-23, 2013 .

  Speaker, “La necessite de reviser les guaranties des roits des personnes passibles de la peine de mort,”
  (delivered in French), EcoleNormale Superieure, Paris, Oct. 18, 2013 .

  Speaker and Chair, “ Legal Representation in Capital Cases,” Fifth World Congress Against the Death
  Penalty, Madrid, June 14, 2013 .

  Closing speaker, “ Contra las penas crueles e inhumanas y la pena de muerte,” Real Academia de Bellas
  Artes, Madrid, June 11, 2013 .

  “Reflexions    sur la peine de mort,” Speech delivered at the French Ministry of Foreign Affairs, Quai
  d ’ Orsay , Paris, on the occasion of World Day Against the Death Penalty, Oct . 9, 2012.

  “Methods of Execution as Cruel, Inhuman or Degrading Treatment or Punishment,” Presentation given at
  expert meeting with UN Special Rapporteurs on Torture and on Extrajudicial, Summary and Arbitrary
  Executions, June 26, 2012, Harvard Law School, Cambridge, MA.

  “ The Death Penalty Worldwide : Prospects for Reform and Abolition,” Cornell Law School, April 13,
  2012 .

  Speaker, “Le droit a la vie et la fourniture de substances letales,” and “ Les resistances a la abolition de la
  peine capital”, at workshop hosted by the College de France, Paris, entitled “ La protection international
  du droit a la vie: Mobiliser le systeme penal ? ”, Nov . 18, 2011.

  Speaker, “Estrategias de litigio en casos de pena de muerte,” Congreso Sobre Abolicion Universal de la
  Pena de Muerte y Otros Tratos o Penas Cureles, Inhumanos o Degradantes, Law Faculty of the University
  of Buenos Aires, Sept. 21, 2011.

  Speaker, “ Cross-Examination and Other Litigation Strategies in the U. S . Criminal Justice System,”
  Defensoria General de la Nacion, Buenos Aires, Sept. 20, 2011.

  Panelist, L’iniezioine letale e la pena di morte,” Hands off Cain, Rome, Italy, Dec. 3, 2010 .

  Speaker, “Reflecciones sobre la pena de muerte,” Academic Network Against the Death Penalty, Madrid,
  Spain, Oct. 4, 2010 .

  Speaker, “Reflections on the Death Penalty,” 16th International Seminar of the Brazilian Institute of
  Criminal Sciences, Sao Paulo, Brazil, Aug. 26, 2010 .

  Panelist, “ Abolition of the Death Penalty,” 16th International Seminar of the Brazilian Institute of
  Criminal Sciences, Sao Paulo, Brazil, Aug. 27, 2010 .

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  Panelist, “ Author Meets Reader The Next Frontier: National Development, Political change, and the
  Death Penalty in Asia,” Law and Society Association, Chicago, May 28, 2010 .

  Panelist, “ Innovative Models and Solutions : Reducing Prison Overcrowding through Paralegals and
  Other Programmes,” United Nations Office on Drugs and Crime 12th Quinquennial Congress, Salvador,
  Brazil, Apr. 15, 2010 .

  Moderator, “Privatization of Prisons : Global Trends and the Growing Debate,” United Nations Office on
  Drugs and Crime 12th Quinquennial Congress, Salvador, Brazil, Apr. 14, 2010 .

  Panelist, “Death Penalty : Abolition or Moratorium,” United Nations Office on Drugs and Crime 12th
  Quinquennial Congress, Salvador, Brazil, Apr. 13, 2010 .

  Panelist, “Promoting Abolition Through Academic Research and Collaboration,” World Congress
  Against the Death Penalty, Geneva, Switzerland, Feb . 25, 2010 .

  Panelist, “ Conditions and Limits for International Legal Cooperation Regarding the Death Penalty,”
  Conference sponsored by the Centro de Estudios Politicos y Constitucionales, Madrid, Spain, Dec. 11,
  2010 (Presentation given in Spanish).

  Speaker, “ International Legal Standards and the Death Penalty” and “ Challenges in the Application of the
  Death Penalty : The U. S . Experience,” at seminar sponsored by the Moroccan Ministry of Justice and the
  Centre for Capital Punishment Studies, Rabat, Morocco, Oct. 5-7, 2009.

  Panelist, “Unfinished Business: Human Rights Treaties and the Obama Administration,” panel organized
  by the Journal of International Human Rights, Feb . 3, 2009.

  Panelist, “ International Policy in the Obama Administration,” panel organized by Amnesty International
  and the International Law Society, Jan . 23, 2009.

  Panelist : “Retos para el Derecho Internacional post-Medellin y retos para el Estado Mexicano en espera
  de proximas ejecuciones,” Universidad Iberoamericana, October 30, 2008, Mexico City, Mexico.

  Presentation for Military Commissions Lawyers on “International Human Rights Law and the Military
  Commissions Act,” American Civil Liberties Union, September 29, 2008, New York, NY

  Panelist, “Relevance of the Use of the Inter-American System for the Protection of Human Rights”, at
  Conference entitled “ The United States and the Inter-American Human Rights System, organized by
  Columbia University Law School and the Center for Justice and International Law, New York, NY, April
  7, 2008

  Panelist, “ The Quest for International Justice,” at A Celebration of Public Interest, Harvard Law School,
  March 13-15, 2008.

  Speaker, “ Client to Cause: locating our work, identifying the tensions, pedagogic opportunities and
  goals,” Annual Human Rights Clinicians Conference, March 1, 2008.

  Yale Law School, September 20, 2006, “Enforcing International Law in U. S . Death Penalty Cases: From
  The Hague to Houston .”


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  Keynote Speaker, Amnesty International Human Rights Awards Dinner, University of St. Thomas School
  of Law, April 19, 2006.

  “ La Pena de Muerte en Estados Unidos,” Mexican Foreign Ministry, Instituto Matias Romero, lectures
  given to students in diplomatic academy in 2001, 2002, 2004, and 2005, Mexico City, Mexico.

  “ International Standards on the Death Penalty,” at the International Leadership Conference on the Death
  Penalty in Tokyo, Japan, Dec. 7, 2005 .

  Keynote Speaker, NAACP Legal Defense Fund Annual Conference for Capital Defense Lawyers, Airlie,
  Virginia, July 23, 2004 .

  Ford Foundation : “ Close to Home: Human Rights and Social Justice Advocacy in the United States,”
  Panelist, “Human Rights and U. S . Law,” June 21, 2004, New York, New York .

  University of Westminster School of Law, London, October 14, 2003, “ The Growing Influence of
  International Tribunals, Foreign Governments and Human Rights Perspectives in United States Death
  Penalty Cases. ”

  Avocats San Frontieres, “Del Proceso penal inquisitivo hacia el acusatorio,” Bogota, Colombia, August 4,
  2003 .

  Canadian Department of Foreign Affairs, “ Transcending Barriers: 25th Anniversary of International
  Transfer of Offenders Program,” Presentation on Prisoner Exchange Treaties, Ottawa, Canada, May 23,
  2003 .




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                                        TO WHOM IT MAY CONCERN



          The Vienna Convention of April 24, 1963, on Consular Relations, made available the
                                              .


          provision, for foreign citizens accused or arrested, of notifying the consular authorities of their
          country of origin, with the sole purpose of guaranteeing such foreign national the protection of
          their rights, proper legal representation and the opportunity to contact family members who
          can participate in the judicial procedures and aid in the investigations; the consular agents can
          also work with the defendants lawyers to locate witnesses or records in the Dominican
                                                                       ,


          Republic, The above mentioned Vienna Convention also allows the Consulate to send
          documents and letters to the court, and to be present in court, to support the foreign national
          and to protect the rights of the defendant,

          in the case of Mr. Ohel Cruz-Gareia, this office has no records whatsoever of a. consular
          notification of Mr, Cruz-Gareia* s arrest, in accordance to Vienna Convention stipulations. If
          Mr, Cruz-Gareia would have contacted our offices and requested our help, this consulate
          general would have provided Mr. Cruz-Gareia with whatever partial or total assistance it
                                                                           ,




          could, at that moment, as stated above.
          According to our experience, consular intervention can make the difference in a legal
          procedure. There are many examples of eases to prove the big difference such assistance can
          make in the fate of a person accused of committing a crime.

          The present is issued upon the interested parties’ request, for purposes deemed appropriate, in
          the city of New York, United States of America, on the Thirteenth (13*) day of the month of
          August in the year Two Thousand Fifteen (2015),
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            Consulado General de Im R.epuMiea Dominiecaia en New York
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                                              A QUIEN PUEDA MTERESAR:



          La Conveneibn de Viena del 24 de abril del 1963 sobre Relaciones Consulares dispone el
          proeedimiento a seguir cuaado irn naelonal de un pais extranjero es- detenido o arresiado y la
          obligatoriedad de notiftcar a las autoridades consulares del pais de origen de ese arresto o
          detencion, esto eon el \inico objetivo de que ese naeional reeiba la proteccion y la asesoria
          legal correspondiente, a saber; respeto a sus derechos, represenlacion legal aetiva. contactar
          ios familiares del aeusado para que participen en los proceditnientos judieiales y en 3a
          investigaeion del caso; ios agentes eonsulares tarnbien pueden trabajar con los abogados del
                                          .




          aeusado para locaiizar regxstros u otros testigos en la Republics Dominieana; enviar
          doeumentos y cartas a la corte, e ineluso ©star fisieamente- present© en la corte en apoyo del
          eiudadano, eon el objetivo de proteger los dereebos del aeusado.

          En . e! ease del sebor Obel Cmz-Garda, no existen registros en esta oficina de la notifieacidn
                                                                       -
          consular de la detencion del seftor Craz Garcia, en cumplimiento de lo dispuesto en la
                                                             -
          Convencidn de Viena. Si el Sr. Cruz Garda hubiera eontaetado nuestra oficina y pedido
          ayuda, esta oficina hubiera proporcionado una parte o la totalidad de la ayuda que se
          meneiono anteriormente, en la medida possible en ese momento ,
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          Es nuestra experieneia que la interveneion consular paede liaeer una diferencia en el
          proeedimiento legal , Son machos los ejemplos de easos para demostrar la gran ventaja que
          nuestra asisteneia puede haeer en el destine de una persona aeusada de un crimen.

          La presente certitleaeion es expedida a peticibn de parte interesada. en la ciudad de New
          York, Condado y Estado del mismo nombre, Estados Unidos de America, a los trece (13) dias
          del agosto del ano dosmil quince (2015).
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                 TEXAS FORENSIC
                 SCIENCE COMMISSION
                 Justice Through Science
                 1700 North Congress Ave. , Suite 445
                 Austin , Texas 78701



       August 21, 2015


              Members of the Texas Criminal Justice Community:

              This letter provides notification to the community regarding an issue of potential concern
       to judges, criminal prosecutors, criminal defense lawyers, victims and defendants in the Texas
       criminal justice system. The concerns involve the interpretation of DNA results where multiple
       contributors may be present, commonly referred to as DNA mixture interpretation. The attached
       document details the origin and scope of the concerns.

               While the Commission assesses the issues described in the attached document, we
       recommend any prosecutor, defendant or defense attorney with a currently pending case
       involving a DNA mixture in which the results could impact the conviction consider requesting
       confirmation that Combined Probability of Inclusion/Exclusion (referred to as “CPI” or “CPE”)
       was calculated by the laboratory using current and proper mixture interpretation protocols. If the
       laboratory is unable to confirm the use of currently accepted protocols for the results provided,
                                                -
       counsel should consider requesting a re calculation of CPI /CPE.

            The extent to which any closed criminal cases may require re-analysis will be a subject of
       Commission review and subsequent notification to the stakeholder community.

              If you have any questions regarding these issues, please contact the Commission’s
                                             - -
       general counsel, Lynn Garcia, at 512 936 0649 or lynn.garcia@fsc.texas.gov.


                                                           Sincerely,
                                                                  # #




                                                           Vincent J.MrDi Maio, M.
                                                           Presiding Officer




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                   Unintended Catalyst: the Effects of 1999 and 2001 FBI STR Population Data
                     Corrections on an Evaluation of DNA Mixture Interpretation in Texas

               1. FBI Data Corrections: What Do They Mean?

            In May 2015, the Federal Bureau of Investigation (“FBI” ) notified all CODIS laboratories it
    had identified minor discrepancies in its 1999 and 2001 STR Population Database. Laboratories across
    the country have used this database since 1999 to calculate DNA match statistics in criminal cases and
    other types of human identification . The FBI attributed the discrepancies to two main causes: (a)
    human error, typically due to manual data editing and recording; and (b) technological limitations (e.g
    insufficient resolution for distinguishing microvariants using polyacrylamide gel electrophoresis), both
    of which were known limitations of the technology . The FBI has provided corrected allele frequency
    data to all CODIS laboratories .

           In May and June 2015, Texas laboratories notified stakeholders (including prosecutors, the
    criminal defense bar and the Texas Forensic Science Commission) that the FBI allele frequency data
    discrepancies were corrected . The immediate and obvious question for the criminal justice community
    was whether these discrepancies could have impacted the outcome of any criminal cases. The widely
    accepted consensus among forensic DNA experts is the database corrections have no impact on the
    threshold question of whether a victim or defendant was included or excluded in any result. The next
    questions were whether and to what extent the probabilities associated with any particular inclusion
    changed because of the database errors.

            The FBI conducted empirical testing to assess the statistical impact of the corrected data. This
    testing concluded the difference between profile probabilities using the original data and the corrected
    data is less than a two-fold difference in a full and partial profile. Testing performed by Texas
    laboratories also supports the conclusion the difference is less than two-fold . For example, in an
    assessment performed by one Texas laboratory, the maximum factor was determined to be 1.2 fold . In
    other words, after recalculating cases using the amended data, the case with the most substantially
    affected Combined Probability of Inclusion/Exclusion (“ CPI” )1 statistical calculation (evaluated for a
    mixed sample) changed from a 1 in 260,900, 000 expression of probability to a 1 in 225,300, 000
    expression of probability .

          Amended allele frequency tables are publicly available for anyone to compare the calculations
    made using the previously published data and the amended allele frequencies, though expert assistance
    may be required to ensure effective use of the tables.

               2. The Impact of FBI Database Errors on DNA Mixture Interpretation Using CPI

           As part of their ongoing commitment to accuracy, integrity and transparency, many Texas
    laboratories offered to issue amended reports to any stakeholder requesting a report using the corrected
    FBI allele frequency data. Some prosecutors have submitted such requests to laboratories, particularly
    for pending criminal cases. As expected, the FBI corrected data have not had an impact exceeding the

      The Combined Probability of Inclusion/Exclusion is commonly referred to as either “ CPI” or “ CPE.” They are referred to
    jointly in this document as “ CPI” for ease of reference.
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    two-fold difference discussed above. However, because analysts must issue signed amended reports
    with the new corrected data, they may only issue such reports if they believe the analyses and
    conclusions in the report comply with laboratory standard operating procedures . For cases involving
    DNA mixtures, many laboratories have changed their interpretation protocols and related procedures
    using CPF To reiterate, changes in mixture interpretation protocols are unrelated to the FBI allele
    frequency data corrections discussed above. However, when issuing new reports requested because of
    the FBI data corrections, the laboratory’ s use of current mixture protocols may lead to different results
    if the laboratory had a different protocol in place when the report was originally issued . Changes in
    mixture interpretation have occurred primarily over the last 5-10 years and were prompted by several
    factors, including but not limited to mixture interpretation guidance issued in 2010 by the Scientific
    Working Group on DNA Analysis (“ SWGDAM” ).

             The forensic DNA community has been aware of substantial variance in mixture interpretation
    among laboratories since at least 2005 when the National Institute of Standards and Technology
    (“NIST” ) first described the issue in an international study called MIX05 . Though NIST did not
    expressly flag which interpretation approaches were considered scientifically acceptable and which
    were not as a result of the study, it has made significant efforts to improve the integrity and reliability
    of DNA mixture interpretation through various national training initiatives. These efforts have
    ultimately worked their way into revised standard operating procedures at laboratories, including
    laboratories in Texas . Based on the MIX05 study, we know there is variation among laboratories in
    Texas and nationwide, including differences in standards for calculation of CPI that could be
    considered scientifically acceptable. However, we also know based on a recent audit of the
    Department of Forensic Sciences (“ DFS” ) in Washington, DC that some of the “variation” simply does
    not fall within the range of scientifically acceptable interpretation . This finding does not mean
    laboratories or individual analysts did anything wrong intentionally or even knew the approaches fell
    outside the bounds of scientific acceptability, but rather the community has progressed over time in its
    ability to understand and implement this complex area of DNA interpretation appropriately .

            While in many cases the changed protocols may have no effect, it is also possible changes to
    results may be considered material by the criminal justice system, either in terms of revisions to the
    population statistics associated with the case or to the determination of inclusion, exclusion or an
    inconclusive result. The potential range of interpretive issues has yet to be assessed, but the potential
    impact on criminal cases raises concerns for both scientists and lawyers. We therefore recommend any
    prosecutor, defendant or defense attorney with a currently pending case involving a DNA mixture in
    which the results could impact the conviction consider requesting confirmation that CPI was calculated
    by the laboratory using current and proper mixture interpretation protocols. If the laboratory is unable
    to confirm the use of currently accepted protocols for the results provided, counsel should consider
    requesting a re-analysis of CPI.

            The Texas Forensic Science Commission is currently in the process of assembling a panel of
    experts and criminal justice stakeholders to determine what guidance and support may be provided to
    assist Texas laboratories in addressing the challenging area of DNA mixture interpretation . In
    particular, a distinction must be made between acceptable variance in laboratory interpretation policies
    and protocols and those approaches that do not meet scientifically acceptable standards . An emphasis
    on statewide collaboration and stakeholder involvement will be critical if Texas is to continue to lead
    the nation in tackling challenging forensic problems such as those inherent in DNA mixture
    interpretation .



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PROGRESS REPORT
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                               8 ~ 2S - 6 S                   TUESDAY

       ALONSO . WENT TO 5519 EAST HOUSTON AND TALKED WITH GILBERT OONSALLS
                                                                                                                                              |ADDRESS
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ORAL INTERVIEW WITH GILBERT GONZALES , T,/ M 23 , OOJ
                                                   |
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MR . GONZALES KNEW A CONVICT IN PRISON NAMED ALEX. SHEPHERD WHO ’TOLD HIM ABOUT BE -
ING INVOLVED IN A MURDER COMMITTED BY A CUBAN NAMED “ JAIME    ANOTHER INDIVIDUAL
NAMED !lSHORTY " WAS ALSO PRESENT THE MURDER ACTUALLY TOOK PLACE IN A VAN OWNED
                                                              ,


BY ALEX - WHO THEY MURDERED AND WHERE THEY DUMPED THE BODY , MR . GON EA liES DID                                                                                                             .        .

NOT KNOW . IT TOOK PLACE SOMETIME BEFORE FEBRUARY SINCE THAT WAS WHEN ALEX
TALKED ABOUT THE MURDER .

I SHOWED MR . GONZALES SEVERAL X . D . PHOTOS INCLUDING ONE OF THE COMPLAINANT
AND ALFONSO FAUBTXNO CERVANTES AKA " SHORTY * , MR , GONZALES RECOGNIZED TDK
PICTURE OF SHORTY IMMEDIATELY . HE SAID SHORTY , A DOPE DEALER , WAS ALWAYS
AROUND THE NEIGHBORHOOD . THE LAST TIME HE BAD SEEN HIM HE WAS DRIVING A
WHITE LTD WITH A PAIR OF HANDCUFFS ON THE REAR VIEW MIRROR .

THE CUBAN . JAIME , USHD TO LIVE SOMEWHERE BEHIND K MART OFF OF THE GULF FREEWAY
THE FIRST PART OF THE YEAR . MR , GONZALES HAD NOT SEEN HIM RECENTLY ,

MR . GONZALES ALSO TOLD ME ABOUT SHORTY SHOOTING A GUY NAMED “ LEO  LEO ALSO
A SMALL TIME DOPE DEALER LIVED IN THE EAST END . HE TOO WAS AROUND USUALLY
DRIVING A LIGHT BLUE 1980 CADILLAC .

    MR . GONZALES HAD NO OTHER INFORMATION
                                         !
    END OF ORAL INTERVIEW WITH GILBERT GONZALES * * *




      OGRESS REPORT             8 - 31 - 89•
                                                              THURSDAY


    RE . GONZALES RELIEVED A MESSAGE THAT JOHNNY LOPES , WHO IS IN THE KARRIS
    COUNTY JAIL , HAD SOME INFORMATION IN REGARDS TO THE MURDER OF THIS COMPLAINANT ,
                           '




    GONZALES AND I   /   ALONZO , WENT TO THE HARRIS COUNTY SAX U AND INTERVIEWED LOPEZ


    ORAL INTERVIEW WITH JOHNNY AMOS LOPEZ , L / M 2 7 -, - DOB
    HOME ADDRESS
                                                                                                                                                                SSN           flMHMHNfc
    MR.. LOPEZ TALKED ABOUT BEING THL LEST FRIEND OF TUB COMPLAINANT                                                                                                                    FLOP NS W AS
    A HHALLR FOR "SHORTI " UNTIL THEY NAD A FALLING 001r> .. HUBS FLORES                                                                                                                WAS WORKING FOP
    SNOTTY , SHORTY ALWAYS FAD A PLACE POP HIM TO STAY AND CLOTHES TO                                                                                                                   WEAR   LOPEZ
    TALKED ABOUT ROW FT,ORES WAS ONLY A KID TRYING TO MAKE A LIVING                                                                                                                     HE WAS SAD




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FLORES RELATED AN INC ELECT TV LOPFE , WHERE SHORTY HAD TOES HIM UP WITH SOME WIHB
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      m APARTMENT NKAR BRISCOE ELEMENTARY SCHOOL WHERE THEY LIVED AT ONE TIME ,                                                                                                       .

     ORES HAD MANAGED TO GET HIS LEGS UNTIED AND LEAPED OUT A SECOND STORY WINDOW
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, t'OM THAT APARTMENT    SHORTY LOOKED FOR HIM FOR ABOUT A MONTH UNTIL FLORES           ,


WAS FOUND DEAD      FLORES HAD RIPPED A HALF OUNCE OF COCAINE TILAT BELONGED TO
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SHORTY      DURING THE MONTH FLORES WAS BIDING FROM SHORTY , LOPES SAID HE WOULD
                                      ,                                                                                                                                                                                                                .   .

COME AROUND NEVER STAYING IN ONE PARTICULAR PLACE. SEVERAL TIMES SHORTY
CAUGHT UP WITH FLORES WHO MANAGED TO GET AWAY      ONE PARTICULAR INCIDENT                                                                                                        i



LOPEZ RECALLED SHORTY TELLING SOME PEOPLE IN A BEER JOINT THAT IF THEY SAW
FLORES TO HAVE HIM REPORT TO HIM .

LOPEZ SAID HE DID NOT WANT TO HAVE ANYTHING TO DO WITH SHORTY .                                                                                                                                                                                                HE SEEMED THE
TYPED THAT COULD NOT BE TRUSTED.

LOPEZ DTD NOT HAVE ANY MORE INFORMATION ,


END OF ORAL INTERVIEW .
CASE DISPOSITION (MARK ONLY ONE CATEGORY) ANY SUSPECTS MUST BE LISTED ON PAGE 9
""
  ARRESTED AND CHARGED IN THIS CASE ( INCLUDES JUVENILES ARRESTED AND REFERRED)                                                            .


  ARRESTED AND CHARGED IN OTHER CASES (BUT NOT THIS CASS)
  EXCEPTIONAL CLEARANCES       MUST HAVE THE FOLLOWING CONDITIONS IN NARRATIVE ;
      IDENTITY OF OFFENDER IS ESTABLISHED , AND ENOUGH INFORMATION EXISTS TO
      SUPPORT AN ARREST , CHARGE , AND PROSECUTIONf AND EXACT LOCATION OF THE
      OFFENDER IS KNOWN , AND THERE IS HOME REASON BEYOND LAW ENFORCEMENT CONTROL
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      LACK OF PROSECUTION BY COMPLAINANT     ORAL CONFESSION WITH MINIMAL EVIDENCE
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    offense - MURDER
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                                  Declaration of Elizabeth Ramos
                I, Elizabeth Ramos, declare the following to be true and correct.
           1.      In 1989, 1 lived with my mother in an apartment building on Broadway Street
                   in Houston, Texas. While we lived there, I spent time with a man I called
                   “ Oben.” I have recently been shown a photo of Oben and am told the man’s
                   name is Obel Cruz-Garcia.
           2.      I met Oben at the apartment complex where we both lived, on Broadway
                   Street. Oben shared an apartment with his wife. I believe another man
                   sometimes stayed at the apartment with them. I have been shown a photo of
                   that man and recognize him as Oben’s friend, Rudy.
           3.      I was involved in a sexual relationship with Oben for about three or four
                   weeks. We usually met at Oben’s apartment. I knew he was married and
                   believe his wife did not know about our relationship. I was aware that Oben
                   and his friend Rudy sold cocaine, but I never learned details about their
                   business. Back then I used cocaine and sometimes I got it from Oben.
                   I no longer use drugs.
           4.      I stopped seeing Oben after a few weeks. I did not want a serious relationship
                   with anyone, and especially not a married man. Oben did not pursue me or try
                   to keep me in his life. Our relationship had been very casual, and it ended on
                   friendly terms. Around the time I ended our relationship, I moved out of my
                   mother’s apartment and into the home of my cousin. I do not think I ever saw
                   Oben after this. I did not know he was convicted of murder or that he is
                   in prison.
           5.      I was recently contacted and asked questions about my time with Oben. I have
                   been told that Oben’s friend, Rudy, testified that Oben killed a man named
                   Saul Flores and that the reason he killed Flores was because Flores was trying
                   to court me. I was told that Rudy testified that I called Oben from my
                   apartment (which would have been my mother’s apartment at the time) to tell
                   him that Flores was trying to start a relationship with me. Rudy then said that
                   Oben and others came to my apartment after I called and picked up Flores and
                   took him someplace else. I was also told that Rudy testified that Oben and
                   others killed Flores because of this, and then later placed his body in
                   a dumpster.




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           6.    None of this is true. I do not remember a young man named Saul Flores. I do
                 not even recognize his name. I was never “courted ” by this man. I did not call
                 Oben and tell him that Flores was trying to start a relationship with me. He did
                                      —              —
                 not pick up this man or any man at my apartment under the circumstances
                 described by Rudy.
           7.    If the story were true, I am sure that I would remember a man being murdered
                 because he wanted to court me. I certainly would have remembered if several
                 men and Oben arrived at my mother’s apartment where I was living at the time
                 and removed another man interested in “some type of love relationship” with
                 me. The events described by Rudy regarding the murder of Saul Flores simply
                 did not happen .
           8.    Before this month, I was never contacted about Oben or about Saul Flores, In
                 2013, 1 lived In Houston and was available to discuss these events. I would
                 have testified, if needed, regarding the events described in this Declaration.
              I declare, under penalty of perjury, that the foregoing is true and correct and is
       based on my personal knowledge. This Declaration is signed on October j 2018, in
       Harris County, Texas.



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                                                 Elizabeth Ramos




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                 IN THE 337 TH JUDICIAL DISTRICT COURT
                         HARRIS COUNTY, TEXAS

                                     AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §                Writ No.
                            §                Trial Court Case No:
                            §               1384794
                            §
                Applicant . §                CAPITAL CASE
                            §
                            §
                            §


              SUBSEQUENT APPLICATION FOR
         POST-CONVICTION WRIT OF HABEAS CORPUS
                 EXHIBITS 31 THROUGH 40
                                     Jeremy Schepers (Texas 24084578)
                                     Supervisor , Capital Habeas Unit
                                     David Currie (TX 24084240)
                                     Naomi Fenwick (TX 24107764)
                                     Assistant Federal Public Defender
                                     Office of the Federal Public Defender
                                     Northern District of Texas
                                     525 S. Griffin St ., Ste . 629
                                     Dallas, Texas 75202
                                     jere my _schepers@fd .or g
                                     (214) 767 - 2746
                                     (214) 767 - 2886 (fax)

                                     Counsel for Obel Cruz -Garcia



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                EXHIBIT 31




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                           AFFIDAVIT OF MICHAEL CASARETTO

      I, Michael Casaretto, state and declare as follows:

          1.   My name is Michael Casaretto. I have been barred as an attorney in the
               State of Texas since 2011. My bar number is 24071019 . I operate a solo
               practice handling civil and criminal matters. My practice is based out of
               Brenham, Texas, but I regularly work in Houston and Harris County. I am
               also the president of the local state bar association in Waller County.
          2.   On the morning of July 16, 2013, I was at the Harris County Criminal
               Courthouse to make an appearance in a new criminal case . I arrived in the
               basement and began taking an elevator upstairs. As other people joined the
               elevator, I noticed two men come in on my side . Both men wore juror
               badges. One of the men appeared to be in his late-twenties or early-
               thirties. The other man appeared to be in his mid-fifties or early-sixties. In
               addition to myself and the two jurors, there were several other people in
               the elevator . However, despite the other people, I could clearly see and
               hear the two jurors.
          3.   As they got on the elevator, I could hear the two jurors speaking to each
               other .   They continued their conversation while we rode the elevator
               together . In listening to their conversation, it was clear to me that they
               were discussing the case for which they were jurors. Because I did not
               know anything about the case, I could not tell what exactly the two men
               were talking about . However, it was clear from their comments that they
               were speaking about the case itself . It seemed they were talking about the
               testimony of a witness they had heard—both the content of the testimony
               and how they felt about the evidence .




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          4.   I was immediately troubled by the possibility that two jurors were
               discussing an ongoing case publicly and outside the presence of the other
               jurors. I made note of the badges they were wearing, which indicated what
               court and judge they were assigned to . After checking in with my court, I
               went to the jurors’ courtroom and asked to speak with the judge .
          5.   I met with Judge Renee Magee in her chambers. I told the judge about
               what I had seen and heard in the elevator . I explained to her that, as an
               officer of the court, I felt it necessary to report to her conduct that appeared
               to me to reach the level of juror misconduct . I described both men to the
               judge, including what they were wearing . I no longer remember those
               details, but at the time I did . I also stated that I was willing to speak to the
               attorneys for the State and defense about what I had witnessed if they had
               questions.
          6.   After speaking with the judge I believed that I had fulfilled my duty to
               report the incident, and I left the courtroom . I was never contacted by the
               judge, the State, or the defense attorneys after that .
          7.   I had never reported juror misconduct prior to this event, and I have not
               done so since . I only did so in this case, because I believed I witnessed an
               obvious violation of the jurors’ obligations during trial .        This should
               indicate what a big deal I felt it was at the time . I felt obliged to say
               something because the juror misconduct seemed so blatant .
          8.   In April 2015, I was contacted by a post-conviction investigator with the
               Office of Capital Writs. The investigator explained to me that the case
               described above was the capital murder trial of his client, Obel Cruz-
               Garcia. I was shocked to learn that these were jurors serving on a capital
               trial . In addition, I was surprised to learn that there was no motion for a
               mistrial by the defense and that the judge did not remove the jurors.

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                  9.   I would have willingly spoken to Cruz-Garcia’s defense attorneys about
                       this incident had they contacted me . As someone who has practiced as a
                       defense attorney, I know that the rule prohibiting jurors from discussing a
                       case before all the evidence has been submitted is extremely important .
                  10 . I have reviewed the portion of Cruz-Garcia’s trial transcript in which the
                       judge recounted our conversation for the record . In addition, she provided
                       my name and phone number to both the State and defense counsel . In
                       2013, that was my correct phone number . As described above, however, I
                       was not contacted about this incident by anyone involved in the case until
                       April 2015 .
                  11 . I have read and reviewed this three-page affidavit .

                  I declare under penalty of perjury under the laws of the State of Texas that the
                  foregoing is true and correct to the best of my knowledge and that this affidavit
                  was executed on August 27 , 2015 in Brenham, Washington County, Texas.

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          Subscribed and sworn to before me on August 27 , 2015 .
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                EXHIBIT 32




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                            AFFIDAVIT OF SHARON ALEXANDER

       I, Sharon Alexander, state and declare as follows:

           1.   My name is Sharon Alexander, I served as an alternate juror for the capital
                murder trial of Obel Cruz-Garcia in July 2013 ,          I sat through the
                presentation of both the guilt/innocenee phase and the punishment phase of
                trial ,
          2.    I have had some prior experience sitting on a jury, but it was not a criminal
                case. It was a civil case. It was about someone who had taken money
                from his company and used it for a vacation. So that experience did not
                really impact my role on the Cruz-Garcia jury.
          3,    During the trial, I did not read anything in the news about the case because
                we were told we were not supposed to. I do remember the case from when
                it happened , though, back in the ‘90s , I remember when they found the
                child’s body. I remember hack then thinking it had to do with drugs. I
                wondered why it took so long for the case to come to court.
          4,    Although I did not sit in the actual deliberations, we would talk as a jury
                about the case and what was going on, some during the trial and some after
                the trial was over, We would talk during breaks, when we were in the jury
                room waiting. I do not remember anyone talking about the case outside of
                the jury room, though.
          5.    I remember learning from the other jurors that one of the jurors in
                particular was having a hard time voting for the death penalty. That was
                one of the things we talked about during the trial when we were together.
                The rest of the jurors had to work really hard to convince her. I remember
                her struggle was something that the jurors talked about during the trial
                because we knew the decision had to be unanimous. My understanding

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               was that if we did not all come to an agreement, there would be a mistrial
               and it would have to be done over again.
          6,   I have read and reviewed this two-page affidavit.

          I declare under penalty of perjury' under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed on August          /3 , 2015 in Houston, Harris County, Texas.
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                                                                         'SOA
                                                   Sharon Alexander




       Subscribed and sworn to before me on August 73           ,   2015.




       Notary Public, State of Te**s-
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                EXHIBIT 33




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                             AFFIDAVIT OF ANGELA BOWMAN

       I, Angela Bowman, state and declare as follows:

          1.   My name is Angela Bowman . I served as a juror for the capital murder
               trial of Obel GTuz-Garcia in July 2013.         I deliberated for both the
               guilt/innocence phase and the punishment phase of trial.
          2.   During the punishment phase deliberations, it became clear that I was the
               only juror voting for life without parole. One other juror initially voted for
               life instead of death, but eventually changed her mind. I tried to explain to
               the other jurors why i felt the death was not the appropriate punishment,
                but after several hours and one night of being sequestered, it was pretty
               clear I was not going to change anyone’s mind. In addition, I learned that
               my daughter was very sick, so I felt a lot of pressure to change my vote so
               that I could go home.
          3.   On the morning after we were sequestered, I sent a note to the judge asking
               to speak with her. The bailiff came and stopped deliberations, and I was
               taken to the judge’s chambers. It was just the judge and the court reporter
               in the room with me. I explained to the judge that I was stuck on my own
               side and that no other juror was voting the way I was, I asked her to put in
               an alternate in my place because I needed to go home.
          4.   The judge denied my request and told me that was not what alternates were
                for. Instead, the judge told me that I had to go back to the deliberations
                and try to come to a resolution. I do not remember her exact words to me,
                but I understood that she was telling me I had to go back into deliberations
                and see whether I could find it within myself to vote with the other jurors,
                without violating my conscience.


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                   5.          The judge did not tell me what would happen if I could not change my
                               mind or how long I would be there if I did not agree, I understood that it

                                                      —
                               could be a long time- days, weeks even. That is something the other

                                                                   —
                               jurors also talked to me about -that it could take a long time, but we
                               would need to keep deliberating. We did not know what would happen if I
                               could not agree with them , but I think we figured there would be a mistrial ,
                   6.          Ultimately, I went back to deliberations like the judge instructed me to and
                               thought about whether 1 could find a. way to agree with the rest of the
                               jurors. Because of all the pressure from the other jurors and my daughter
                               being sick, I decided to change my vote to death,
                   7.          At no time did I truly believe the evidence presented warranted a sentence
                               of death, but I had to stop fighting what seemed inevitable,
                   8.          After trial, I contact the defense attorneys and signed an affidavit
                               discussing my true feeling, my daughter’s illness, and an incident in which
                               the foreman used religious scripture verses to encourage the other hesitant
                               juror to vote for death.
                   9.          I have read and reviewed this two-page affidavit.

                   I declare under penalty of perjury under the law's of the State of Texas that the
                   foregoing is true and correct to the best of my knowledge and that this affidavit
                   was executed on August l3 , 2015 in Houston, Harris Coppfy* , Texas.               '
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                Subscribed pud sworn to before me on August
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                EXHIBIT 34




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                                        CAUSENO. 1181910

   THE STATE OF TEXAS               §                IN THE 262 DISTRICT COURT

   VS.                                               OF

   OBEL CRUZ-GARCIA                                  HARRIS COUNTY, TEXAS

                               STATUTORY WARNING BY MAGISTRATE


                                                                               C
                                                                                          ^
                                -
         ON THIS DAY OBEL CRUZ GARCIA, W , M, 7/8/67, PERSONAL
   THE CUSTODY OF ERIC MEHL, AND I GAVE SAID ACCUSED THE

               -
   OBEL CRUZ GARCIA, YOU HAVE BEEN ACCUSED OF THE OP                          ^^ ^LOWING
                                                                             OsE
                                                                                     APPEARED BEFORE ME IN


                                                                                   OF .
                                                                                           WARNING :


                                                                            ^
         YOU HAVE THE RIGHT TO RETAIN COUNSEL. Y tffWAVE A RIGHT TO REMAIN SILENT.
   YOU HAVE A RIGHT TO HAVE AN ATTORNEY PRESENT Ip RING ANY INTERVIEW WITH PEACE
   OFFICERS OR ATTORNEYS REPRESENTING THE STATE YOU HAVE A RIGHT TO TERMINATE AN
   INTERVIEW WITH PEACE OFFICERS OR ATTORN       PRESENTING THE STATE AT ANY TIME
   YOU HAVE A RIGHT TO REQUEST THE APPOINT           ^ rr
                                                OF COUNSEL IF YOU ARE INDIGENT AND
                                             HT TO HAVE AN EXAMINING TRIAL.
                                                                                                             ,




   CANNOT AFFORD COUNSEL, AND YOU HAVE
        YOU ARE NOT REQUIRED TO MAKE
                                                 ^
                                                 jJY STATEMENT AND ANY STATEMENT YOU MAKE
   MAY AND PROBABLY WILL BE USED AGAJ            TYOU IN YOUR TRIAL .
                                        M
        IF YOU ARE NOT A CITIZEN OMtE UNITED STATES, YOU MAY HAVE THE RIGHT TO
   CONTACT YOUR CONSULATE. IF vlOARE A FOREIGN NATIONAL OF CERTAIN COUNTRIES,
   YOU HAVE THE RIGHT TO HAVE YOUR CONSULATE CONTACTED FOR YOU .

         YOUR BAIL IS SET AT
        (OR )
                                        * A\-
         BAIL IS DENIED. IfWORMAL COMPLAINT IS FILED AGAINST YOU, YOUR BAIL WILL
   THEN BE SET.
         ABOVE STATU )RY WARNING GIVEN BY THE UNDERSIGNED MAGISTRATE HARRIS
   COUNTY TEXAS O       fe I U DAY OF f                                 ^
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   I UNDERSTAND THE ABOVE WARNING.

                                            Time:                       .
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   DEFENDANT             o                  By



   REMARKS -


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                EXHIBIT 35




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SUBPOENA BY STATE FOR WITNESS IN DISTRICT COURT.

                                                               No.1181910

The State Of Texas                                                                        In The District Court No. 337
vs.                                                                                       Of Harris County, Texas
OREL CRUZ GARCIA                                                                          Offense CAPITAL MURDER
                                                                                                                                         \
                                                                                  -
To Any Peace Officer or person authorized in accordance with Art. 24.01(b) C.C.P. Greetings:

YOU ARE HEREBY COMMANDED TO SUMMON THE FOLLOWING NAMED WITNESS(ES) WHOSE LOCATION IN
HARRIS COUNTY AND VOCATION AS FAR AS KNOWN, I STATE BELOW:


JUAN DEJUS RODRIGUEZ

PLEASE CONTACT ADA NATALIE TISE OR DA INVESTIGATOR MICAH WEBB WITH ANY QUESTIONS, AT 713-755-6173.




if found in your county, to appear before the Honorable MIKE ANDERSON, District Court No. 337, Harris County, Texas, on
JANUARY 18, 2011 at 8:45 a. m., to give evidence in behalf of the State and Defendant in the above styled cause wherein the State of
Texas is the Plaintiff and OREL CRUZ GARCIA is the Defendant, and to remain there from day to day, term to term until discharged by
the Court. The testimony of said witness(es) is believed to be material to the State.




                                                                           ALEXIS E, GILBERTC
                                                                           Assistant District Attorney
                                                                                                                        v
                                                                           Harris County, Texas

Herein Fail Not, and due return make of this writ                                                    Witness my official Signature
                                             JAN 1 2 2011
this                            day of                               A.D. 2010.
                                                                                      f)
CHRIS DANIEL
DISTRICT CLERK
HARRIS COUNTY, TEXAS                                                       BY         \                                     Deputy
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                 EXHIBIT 36




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 APPLICATION FOR SUBPOENA BY STATE FOR WITNESS IN DISTRICT pGURT
 NATALIE TISE ~ March 1, 2011                              1
                                                          No.1289188/1289189
 The State Of Texas                                                                       In The District Court No, 3&fflT
 vs ,                                                                                     Of Harris County, Texas
                                                                                                                                 -
 OREL CRUZ GARCIA                                                                      ;! Offense CAP MURDER /AGG SEX ASST
 Please issue a subpoena in the above styled cause for the following named
 far as known, I state below:                                              witnesses) whose location in HARRIS County and vocation, as
 Ronald Colderas, Custodian of Records, Admi          im of Corrections DepMui&p, Please provide a certified copy of the complete file on
                                                ^^
                             ,


 former inmate Qbei Cruz Garcia, Date of Birth
                                                                                      s




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                                                                                                                  DISTRICTi CLERK 'S OFFICE

                                                                                                              DATE

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if found in your county, to appear before the Honorable MIKE ANDERSON, District Court No.                          &
                                                                                                                 , Harris County, Texas, on
instarcter at 3:45 a, ro , 5 to give evidence in behalf of the State and Defendant in die above styled cause wherein
                                                                                                                     the State of Texas is the
Plaintiff and OREL CRUZ GARCIA is the Defendant,, and to remain there from day to day; term to term until
                                                                                                                     discharged by the Court.
The testimony of said witness(es) is believed to be material to the State.

                                                                                A                ......s'.,.....
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                                                                           NATAMKTISE
                                                                           Assistant District Attorney
                                                                           Harris djounly, Texas
Swom to and subscribed before me, this                                day of          Arnett                        A . D. 20 Iff .
LOREN JACKSON
DISTRICT CLERK
HARRIS COUNTY, TEXAS                                                       BY
                                                                                           ^7
                                                                                           ~                                          Deputy

                                                                                                                                          0001017
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Use Natalie
   *
From:                          Webb, Micah
Sent:                          Monday, February 28, 2011 3:07 PM
To:                            Tise, Natalie
Subject:                       FVV: Subpoena


Can you get this on file, so l can get it to Dejesus ?

                                                                          :

From: Moran, Michelle
Sent: Monday, February 28, 2011 3:05 PM
To; Webb, Micah
Subject; Subpoena


Micah,

Dejesus just called me from P.R, and informs me that they need a subpoena addressed to Ronald Coideras, Custodian of
Records, Administration of Corrections Department regarding defendant, please indicate defendants name and DOB
information... We will get a copy of the entire file while defendant was in custody at their prison.
                                                                          s
Also, the District Attorney's office, has iosf the file on defendants. When Natalie and ! were there, they were looking for
the file...

Told DeJesus that I would fax him the subpoena tomorrow.

Thanks
Micheiie




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          JIM LEITNER                                                                               CRIMINAL JUSTICE CENTER
          FIRST ASSISTANT                                                                            UOl FRANKLIN, SUITE 600
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                                                                                                    HOUSTON, TEXAS 77002 1901




                                                Patricia R, Lykos
                                                        DISTRICT ATTORNEY
                                                    HARRIS COUNTY, TEXAS



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          T O:                              FBI Puerto Rico Field Office
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          ATTENTION:                        Juan DeJesns

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          FROM:                                 .
                                            Inv Mieafa Webb
          TELEPHONE                         (713)755-0410
          FAX NUMBER                        (713)755-5469
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          Date and Time Sent                March 7, 2011, 8:59 AM

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      JIM LEITNER                                                                 CRIMINAL JUSTICE CENTER
      FIRST ASSISTANT                                                              1201 FRANKLIN, SUITE 600
                                                                                  HOUSTON, TEXAS 77GG249G1




                                       Patricia R. Lyko
                                         DISTRICT ATTORNEY :
                                        HARRIS COUNTY, TEXAS |!
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    TO:                            FIR - Puerto Rico Field Oilee
    ATTENTION:                     Juan Dejesus

    FAX NUMBER:                        - -
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    FROM:                          Inv, Micafa Webb
   TELEPHONE                                 -
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   FAX NUMBER                                -
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TO; Ronald GoWeros
          Cnstodian of Records
          Administration de Correedon
          San Joan, Poerto Rico

                                                   1
                                                                Q       Assistant District Attorney
  Yon are hereby notified to appear as a witness
                     before                                                    NATALIE TISE
         Judge B1MB IJTCIIII                                                     713-755-6173
                                                                        District Attorney Investigator
         337th District County Court,
          Harris Connty, Texas
                                                                                     MICAH WEBB
       Located on the 15th Floor,                       \
                                                                                      713-755-0410
 Harris Connty Criminal Justice Center,
 1201 Franklin St., Houston , TX 77002
            At 8:45 a*m* on;                                                                  .
                                                                                     Patricia R Lvkos
                                                                                                  V



                                                                                     District Attorney
                                                        !                                                     !
                   INSTANTED

      In the case of the State of Texas VY,
               Obel Cruz Garda

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  CASE NO.:          W                                              MICAH WEBB, BA Investigator
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      OFFENSE       | CAPITAL MURDER
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               JIM LEFFNER                                                                                                                                 CRIMINAL JUSTICE CENTER
               FIRST ASSISTANT                                                                                                                              1201 FRANKLIN, SUITS 600
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                                                                            DISTRICT ATTORNEY
                                                                           HARRIS COUNTY, TEXAS



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    JIM LEITNER                                                                                                                               CRIMINAL JUSTICE CENTER
    FIRST ASSISTANT                                                                                                                            1201 FRANKLIN, SUITE 600
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                                                     Patricia IL Lykos
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   TO;
   ATTENTION;                                    Juan DeJesos

   FAX NUMBER;                                   787-277-7000
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                               COURT SUBPOENA
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     TO ? RONALD COLDERAS
            Custodian of Records
            Admimstradon de Corecdou
                -
            Saa Juan, PR


                                                                     Assistant District Attorney
     You are hereby notified to appear as a witness
                                 before                                      NATALIE TISE
            Judge 1I1SB MTCMJE                                                 713-755-6173
              337th District County Court,                            District Attorney Investigator
              Harris County, Texas
            Located on the 15th Floor,                                              MICAH WEBB
     Harris County Criminal Justice Center,                                          713-755-0410
      121)1 Franklin St., Houston, TX 77002
                 At 8:45 a „ m. on ?                                                Patricia R, Lykos
                                                                                    District Attorney
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     Yon are hereby notified to appear os a witness
                                                                                              before                                                                                        NATALIE TISE
                                      Judge HERB RITCHIE                                                                                                                713 755-6173                     -                                                               ;




                                                                                                                                                               District Attorney Investigator
           337th District County Court,
            Harris County, Texas
                                                                                                                                                                                            MICAH WEBB
         Located on the IStlt Floor,                                                                                                                                    ii

   Harris County Criminal Justice Center,
                                                                                                                                                                                             713-755 0410                      -
    1201 Franklin St, Houston, TX 77002                                                                                                                                                   ww\wwwwww
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              At §;45 a „ m on ;                                                                                 .                                                                         Patricia R Lykos                     .                                    i

                                                                                                                                                                        ;                  District Attorney
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                                               P.O. Box 40945:; Saut Juan, Puerto Rleo 00940

                                                                      TEL: 754-8115 EXT. 4303, 432.4
                                                                                     FAX: 767-6803
                                                           A
                                             HOJA DE TRAMITE
         20 de enero de 2011

         NATALIE TISE
         ASSISTANT DISTRICT ATTORNEY

         AGTE. ABIEZER COTTO
         FBI TASK FORCE

                        For: Gloria Jarvis
         LCDA. SANDRA NEGRON ZAYAS
         D1RECTORA                                             :
                                                                :

         ASUNTOS LEGATES
                           S

         OBEL CRUZ GARCIA
         JLBPNUM. 113761




         Conforms a ss solicited recibida el 14 de snero de ; 201.1, le adjnato cop?a eertilfcada
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FD-302 (Rev . 3-10-82)



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                                                        FEDERAL BUREAU OF INVESTIGATION

                                                                                                                                                           b7 D

                                                                                                         Date of transcription




                                 On[                                                                                              1 dob
                                                               I was      interviewed|
                             Special Agents of the Federal Bureau of Investigation.

                                                    |was advised that the
            purpose of the interview was to determine if she had any positive
            information concerning the whereabouts of OBEL JULIAN CRUZ
            GARCIA , aka , CHICO. I
                                                furnished the following
            information
                                                                                                                                                          b6
                              | has not seen CHICO , since                                                                                       At       b7 C
            the time, CHICO was staving with I                                                                                                            b7 D
           (possible I

                                                                                   J telephone            number is
                      On the night               was abducted,
            first heard about the kidnapping on television.!

                             |CHICO never admitted anv involvement In
            GARCIA's disappearance to                                  advised ’ that                                I
            CHICO left the U.S. shortly after                     abduction[
                                                                             I does not
            believe his riena rt TiTe haH ^ -nvhlvi ncr try Hn wi t~ h
                                               ’   ’
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                                                                                                                                                            b6
                                                                                                                                                            b7 C
                                                                                                                                                            b7 D

                              | vaguely recalled CHICO mentioning that he was
            having problems with some black males.1            Idoes not know
            if he was talking about Dominicans , Colombians , or African
            Americans I




                                                                                                                                                             b7 D
                                                                                                                                                      *
     Investigation on                                   at   Houston, Texas                                 File #           - -
                                                                                                                         88B HO 34368 -          JS          b6
                                                                                                                                                             b7C
     by     SA                                                                                      Date dictated
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     This document contains neither recommendations nor conclusions of the FBI . It is the property of the FBI and is loaned to your agency ;
     it and its contents are not to be distributed outside your agency .
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FD-302a (Rev. 1 M 5-83)




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88B HO 34368

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Continuation of FD-302 of                                                ,   On             , Page      b7 D




                 laqvised that it she had any information that could assist
             this investigation she would offer it.
                            I        TJadvised that CHICO loves his mother more than
             anyone.                  could not recall the name of CHICO's mother.                     b6
                                                                                                       b7C
                                              did not    recognize    the names                        b7 D
                                      J and|                  |who    may     be associates of
             CHICO's|
                    .                [was    shown a photograph of]                   | but did
             not recognize it




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                 13847940101c / Court: 337




                 EXHIBIT 38




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          [Department of               Commonwealth of Puerto Rico
          Corrections Insignia:       RIO PEDRAS CORRECTIONAL
          Commonwealth of            INSTITUTION CORRECTIONAL
          Puerto Rico DCR                    ADMINISTRATION
          Department of               Custodial Institution Annex 352
          Corrections and            P. O. Box 29087 San Juan, Puerto
          Rehabilitation]                     Rico 00929-0087


                                                               April 24 2007
                                                                    Date

          Ms. Ana I. Escobar
          Pabon
          Director
          Programs and
          Services
          Eastern Region

                                                               Re: Obel Cruz Garcia
                                                               Inmate #: B7-35318 ,

          Dear Ms. Escobar:

          The Ratings and Treatment Committee, during their meeting on April 25th 2007 ,
          agreed to submit a request for you to award 33 days of good conduct time for
          commendable services in interior maintenance , green areas , floor polisher from
          October 18th 2005 to September 18 2006 as the period of reference.

                           [ Illegible signature ]
          Thank you for your attention in the matter , we await your response.
                                             Cordially,
                                             [ Illegible signature ]
                                             CCT [Ratings and Treatment
                                             Committee] President




                                                                                         0001032
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                                                                                2 of 813




          [Department of
          Corrections Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]

                                  COMMONWEALTH OF PUERTO                      [ Illegible word
                                     RICO INSTITUTION OF                      September 1
                                        CORRECTIONAL                          2009
                                       ADMINISTRATION                         10:00AM]
                                      Annex 292 Bavamon

          August 27th 2009

          Hon. Carlos Molina
          ADMINISTRATOR
          CORRECTIONS
          ADMINISTRATION

          Ms. Gladys Rivera
          HEAD OF PROGRAMS AND
          SERVICES
                            [ Illegible
                            signature ]
          Mr. Lefty Bortero [ Illegible
          SUPERINTENDENT signature ]

          Ms. Lidia Garcia
          RATINGS AND TREATMENT
          COMMITTEE PRESIDENT

          GOOD CONDUCT TIME

          RE: Obel Cruz Garcia
          CASE NUMBER 1-106065 B7-
          35318

          The client in reference was assigned to perform jobs including interior
          maintenance, painting, and green areas at annex 352 Rio Piedras. He performed
          these tasks from October 19, 2005 to September 19, 2006. In accordance with
          the information provided by his immediate supervisor the client has satisfactorily
          complied with the rules and requirements in his work in terms of attendance,
          productivity, discipline and adjustment.




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          With the understanding that the use of prisoners for these labors is considered a
          commendable service that benefits the community and the correctional system ,
          the Ratings and Treatment Committee agreed during their meeting on August 27 ,
          2009 to request 33 days of good conduct time from the Secretary of the
          Department of Corrections for the period ranging from October 19, 2005 to
          September 19, 2006.

          We thank you for your prompt attention in this matter.




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                               COMMONWEALTH OF PUERTO RICO
                                CORRECTIONS ADMINISTRATION
                                  INSTITUTION 292 Bayamon
                                        Bayamon, P. R .

                      RATINGS AND TREATMENT COMMITTEE AGREEMENTS

          A. Name of Prisoner     CRUZ GARCIA OBEL
          B. Case Number B7-35318       Date of Meeting July 15, 2009
          C. Page number  in Minutes Log   Tome XXIII         Page 189
          D. Reason for presenting case           Institutional Evaluation Plan



          E. Members present:
                        Name                  Position       Signature
          1. [Illegible] Garcia            President         [Signature of Garcia]
          2. Mr. Modesto Sanchez           Caseworker        [Signature of Modesto Sanchez]
          3. Janet Colon                   Custody officer   [Signature of Janet Colon]

          F. Other members present




          G. Committee agreements The ratings and treatment committee agreed during
          their meeting to grant seven additional days of good conduct time from June 19th
             2009 to July 19th 2009 of the following year.

          H. Foundations for the agreements made For work in interior maintenance during
          the following year




          I. Were there dissident votes?          YES ( )        NO (X)

          J. Name, position, and signature of dissident members:

                        Name                 Position               Signature
          1.
          2.




                                                                                         0001035
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        Case
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                                                                               5 of 813




          K. Reasons for dissent



          Note: Be advised of your right to appeal the Ratings and Treatment Committee’s
          decision, you have ten (10) days from the receipt of this notice to appeal to the
          director of the Prisoner Classification Unit at the central level. In the case that
          you disagree with the decision made by the Director of Classification you have
          thirty (30) days to appeal before the Honorable Tribunal of the Court of Appeals,
          upon receiving said decision.

          Inmate’ s signature:                       Delivered by: [Illegible signature]

          Date received:    July 15, 2009

          L. Would you like to appeal the CCT’s decision? YES ( ) NO ( )




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EXHIBIT 38 Page 005
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          Department of
          Corrections Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]
                                     COMMONWEALTH OF PUERTO RICO
                                      CORRECTIONS ADMINISTRATION
                                          RIO PIEDRAS CORRECTIONAL
                                                    COMPLEX
                                     P . O. Box 29086 San Juan Puerto Rico,
                                                   00929-9986
                                                              DATE April 20 2007
          Ms. Lydia Santos
          Roldan
          Supervisor
          Social Unit
          Protective Custody
          Institution 352
                                                                  Represented by: Mr.
                                                                  Roberto DelValle Navarro
                                                                  Superintendent
                                                                  Protective Custody
                                                                  Institution 352

          Dear Mrs. Santos:

          By this means we are asking for good conduct time for commendable
          [underlined] work such as floor polishing [underlined], exterior and interior
          maintenance [underlined] and green areas [underlined].
          Name of prisoner as follows.                                                record
              1. Obel Cruz Garcia                                                     offices
                                                                                      [illegible]
          This prisoner performs risky jobs and for this reason we are asking for among
          this good conduct time to compensate him for the effort that he makes others
          and by this means help create an example so that other prisoners will
          give their best.
                                          Sincerely,
                                              [Signature of Rafael Rodriguez]
                                             [Illegible] 1/[illegible number] 994
                                           Maintenance and Sanitation Manager
                                                          Annex 352
          Re: Request for
          good conduct time



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        Case
         Case4:17-cv-03621
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          [Department of           COMMONWEALTH OF PUERTO RICO            AC-PIP-
          Corrections              DEPARTMENT OF CORRECTION AND           1224
          Insignia:                       REHABILITATION                  “(Rev. 12-
          Commonwealth                 SAN JUAN, PUERTO RICO              87)”
          of Puerto Rico
          DCR
          Department of
          Corrections
          and
          Rehabilitation]

                                 NOTICE OF SENTENCE COMPLETION DATE
                                               CHANGE

          Name:          CRUZ GARCIA OBEL          Inmate         B7-35318
                                                   number:
          Sentence: 16 years- 0 months
          Offense:  KIDNAPPING
          Maximum Sentence: 9/11/2009             New End of Sentence:   04/09/2009
          Minimum Sentence:                       New End of Sentence:

          Reason: Granted 65 days from August 19, 2005 to October 19, 2008 for good
          conduct.




                      4/9/2009                Signature of Alexander Salcedo
                        Date              Superintendent or Records Manager
                                         Maximum Security Annex Bayamon (292)
                                                       Institution
          cc: Central Records
          Division
          Board of Parole
          Socialwork Unit
          Client
                                                                           Page 1 of 1




                                                                                   0001038
EXHIBIT 38 Page 007
        Case
         Case4:17-cv-03621
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          [Seal of             COMMONWEALTH OF PUERTO RICO
          Puerto Rico’s           BAYAMON INSTITUTION 448
          Department of
          Correction
          and
          Rehabilitation]

          December 17 , 2010

          Nephtali Rodriguez Lugo
          Security Office
          Eastern Region

          [ Illegible
          Signature ]

          Victor J Bermudez Alvarez
          Corrections Officer 1
          Grievances Office
          Bayamon 448

          Subject: Inmate Obel J Cruz
          Garcia

          I, Victor J Bermudez Alvarez, certify that the inmate Obel J Cruz Garcia did not
          have any disciplinary complaints in Institution 208 and 448 from October 31,
          2005 to November 03, 2008, when he was transferred to another institution.




                             Providing Security, Promoting Rehabilitation
                              BAYAMON CORRECTIONAL COMPLEX




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        Case
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          [Department of           COMMONWEALTH OF PUERTO RICO
          Corrections             DEPARTMENT OF CORRECTIONS AND
          Insignia:                       REHABILITATION
          Commonwealth of        CORRECTIONAL INSTITUTION ANNEX 292
          Puerto Rico DCR                    BAYAMON
          Department of               INMATE DISCIPLINE OFFICE
          Corrections and
          Rehabilitation]

          December 17 , 2010


          [Illegible signature]
          Carlos Rodriguez del Valle
          Deputy Chief
          Annex 292 Bayamon

          [Signature of Nelson Alvarez ]
          11266
          Corrections Officer Nelson
          Alvarez
          Grievances Officer
          Correctional Institution
          Annex 292 Bayamon


          RE: OBEL J CRUZ GARCIA
          SS596-41- 4898

          FORMER MEMBER OF THE CORRECTIONAL
          POPULATION


                                             CERTIFICATION

          I, Nelson Alvarez, Badge # 11266, Grievances Officer of the Correctional Institution
          Annex 292 Bayamon, certify that after reviewing the grievances log I have found no
          complaints filed against the member of the prison population in reference from
          2005 to the present ; December 17 , 2010.




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          [Seal of                          COMMONWEALTH OF
          Puerto Rico’s                       PUERTO RICO
          Department of                    BAYAMON INSTITUTION
          Correction                              448
          and
          Rehabilitation]

          December 17 , 2010

          Nephtalf Rodriguez Lugo
          Security Office
          Eastern Region

          [Illegible Signature]
          Maribel Colon Miranda
          Correctional Officer 1
          Grievances Office
          Bayamon 1072

          Subject: Inmate Obel J Cruz Garcia

          I, Maribel Colon Miranda, certify that the above-mentioned inmate did not have
          any disciplinary complaints during the period of time that he was at our institution.



                              Providing Security, Promoting Rehabilitation
                               BAYAMON CORRECTIONAL COMPLEX




                                                                                            0001041
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        Case
         Case4:17-cv-03621
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          [Seal of
          Puerto Rico’s
          Department of
          Correction
          and
          Rehabilitation]
          Headquarters

          December 17 , 2010

          TO WHOM IT MAY CONCERN:

          A SEARCH HAS BEEN DONE OF THE COMPLAINT LOGS AND RECORDS
          WHICH RESULTED IN NO REFERENCES TO DISCIPLINARY COMPLAINTS
          FILED AGAINST INMATE OBEL J CRUZ GARCIA IN THIS INSTITUTION,
          BAYAMON PROCESSING CENTER 705.

          [Signature of Ana I Leon]
          Officer: Ana I Leon




                                                                                   0001042
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        Case
         Case4:17-cv-03621
              4:17- cv-Q3621 Document
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                              69
          [Department of               PROGRAMS AND SERVICES
          Corrections                     EASTERN REGION
          Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]


          September 2, 2009

          Lydia Garcia Gil del Rubio
          President
          Classification and Treatment
          Committee
          Annex 292 Bayamon

          Re: OBEL CRUZ GARCIA
          Inmate Number: 1-106065-B7-
          35318

          Ms. Garcia:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s August 27, 2009 recommendation, we authorize
          that the inmate in reference will be awarded 33 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs In: interior
          maintenance / green areas.

          The period to be credited covers from: October 19, 2005 to September 19,
          2006 .

          Please proceed to award the total number of authorized days.

          NOTE: The Supervisor should confirm that the good conduct time
          requested corresponds with the date that the inmate was sentenced. In the
          case of error and release of the inmate, disciplinary actions may be taken.

          Cordially,
          [Signature of Gladys Rivera Correa]



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          Gladys Rivera Correa
          Regional Director
          Programs and Services
          Eastern Region

          GRC/MCC/art .

          Received on September 2, 2009 3: 33PM N°1028




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          [Department of             PROGRAMS AND SERVICES
          Corrections                   EASTERN REGION
          Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]


          August 16, 2007                                                    [ Illegible
                                                                             numbers
                                                                             written on
                                                                             page ]

          Lydia Santos Roldan                                                [Casework
          President                                                          unit receipt
          Classification and Treatment                                       stamp]
          Committee
          Annex 352 Rio Piedras Complex                                      August 29
                                                                             2007 A 8:




          Re: Cruz Garcia, Obel
          Inmate Number: 1-106065-B7-
          35318

          Ms. Santos:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s April 20, 2007 recommendation, we authorize
          that the inmate in reference will be awarded 6 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Authority of Labor and Training Enterprises [CEAT].

          The period to be credited covers from: March 19, 2007 to May 19, 2007.

          Please proceed to award the total number of authorized days.

          Cordially,
          [Signature of Juan Ortiz Estrada]
          Juan Ortiz Estrada



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         Case4:17-cv-03621
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          Regional Supervisor
          Programs and Services
          Eastern Region

          ART.




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          [Department of                PROGRAMS AND SERVICES
          Corrections                      EASTERN REGION
          Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]


          September 2, 2009

          Lydia Santos Roldan
          President
          Classification and Treatment
          Committee
          Annex 352 Rio Piedras


          Re: OBEL CRUZ GARCIA
          Inmate Number: 1-106065-B7-
          35318

          Ms. Santos:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s March 20, 2007 recommendation, we authorize
          that the inmate in reference will be awarded 18 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Authority of Labor and Training Enterprises (upholstery).

          The period to be credited covers from: September 19, 2006 to March 19, 2007.

          Please proceed to award the total number of authorized days.

          NOTE: The Supervisor should confirm that the good conduct time
          requested corresponds with the date that the inmate was sentenced. In the
          case of error and release of the inmate, disciplinary actions may be taken.

          Cordially,




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                                                                               17 of 24




          Signature of Gladys Rivera
          Correa
          Gladys Rivera Correa
          Regional Director
          Programs and Services
          Eastern Region

          GRC/MCC/art.

          Received on September 2, 2009 3: 33PM N°1028




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          [ Illegible letters]
          [Department of            PROGRAMS AND SERVICES                   [Casework
          Corrections                  EASTERN REGION                       unit receipt
          Insignia:                                                         stamp]
          Commonwealth
          of Puerto Rico                                                    September
          DCR                                                               11 , 2007 P
          Department of                                                     2: 03
          Corrections
          and
          Rehabilitation]


          August 29, 2007

          Maria Alicea
          President
          Classification and Treatment
          Committee
          Protective Custody Institution
          352 Rio Piedras

          Re: Cruz Garcia Obel
          Inmate number: 1-106065

          Ms. Alicea:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s August 9, 2007 recommendation, we authorize
          that the inmate in reference will be awarded 6 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Authority of Labor and Training Enterprises.

          The period to be credited covers from: May 19, 2007 to July 19, 2007.

          Please proceed to award the total number of authorized days.

          Cordially,
          Signature of Juan Ortiz Estrada
          Juan Ortiz Estrada
          Regional Supervisor
          Programs and Services
          Eastern Region




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                                                                               20 of 24




          [Department of            PROGRAMS AND SERVICES
          Corrections                  EASTERN REGION
          Insignia:
          Commonwealth
          of Puerto Rico
          DCR
          Department of
          Corrections
          and
          Rehabilitation]


          June 24, 2008

          Daysi Melendez Montes
          President
          Classification and Treatment
          Committee
          Bayamon Processing Center
          308

          RE: OBEL CRUZ GARCIA
          INMATE #: B7- 35318

          Ms. Melendez:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s March 6, 2008 recommendation, we authorize
          that the inmate in reference will be awarded 18 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Upholstery in Authority of Labor and Training Enterprises.

          The period to be credited covers from: July 19, 2007 to January 19, 2008.

          Please proceed to award the total number of authorized days.

          Cordially,
          Signature of Ana I . Escobar
          Pabon
          Ana I . Escobar Pabon
          Director
          Programs and Services
          Eastern Region
          /art.



                                                                                        0001051
EXHIBIT 38 Page 020
        Case
         Case4:17-cv-03621
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          [Department of               PROGRAMS AND SERVICES
          Corrections                     EASTERN REGION
          Insignia:
          Commonwealth of
          Puerto Rico DCR
          Department of
          Corrections and
          Rehabilitation]


          September 2, 2009

          Gladys Cordero
          President
          Classification and Treatment
          Committee
          Bayamon 308

          Re: OBEL CRUZ GARCIA
          Inmate Number: 1-106065-B7-
          35318

          Ms. Cordero:

          By the authority vested in the Corrections Administrator by Law 116 from July
          22, 1974, subsequently amended and in conformance with the Committee of
          Classification and Treatment’s October 20, 2008 recommendation, we authorize
          that the inmate in reference will be awarded 18 days of good conduct time for the
          provision of exceptionally commendable services by completing jobs in:
          Upholstery in Authority of Labor and Training Enterprises (upholstery).

          The period to be credited covers from: January 19, 2008 to October 19, 2008.

          Please proceed to award the total number of authorized days.

          NOTE: The Supervisor should confirm that the good conduct time
          requested corresponds with the date that the inmate was sentenced. In the
          case of error and release of the inmate, disciplinary actions may be taken.

          Cordially,
          Signature of Gladys Rivera
          Correa
          Gladys Rivera Correa



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EXHIBIT 38 Page 021
        Case
         Case4:17-cv-03621
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                                                                          Page138 of 813
                                                                               22 of 24




          Regional Director
          Programs and Services
          Eastern Region

          GRC/MCC/art .

          Received on September 2, 2009 3: 33PM N°1028




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EXHIBIT 38 Page 022
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         Case4:17-cv-03621
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                                                                               23 of 24




                        CERTIFICATION OF CATAFINA IANNONE

        I, Catalina Iannone, state and declare as follows:

            1. My name is Catalina Iannone. I currently live in Austin, Texas. I am
                fluent in both English and Spanish .
            2 . I am currently a Ph .D. candidate in Spanish and Portuguese Fanguages
                and Cultures at the University of Texas at Austin . I expect to receive my
                Ph .D. in 2017 . I received both a B .A. and a Master’s degree in Spanish
                Fanguage and Fiterature from New York University, where all of my
                courses were conducted in Spanish . I hold citizenship in both the United
                States and Argentina and am considered a heritage Spanish speaker . I
                have spent three years living in Spain, part of which included completing
                courses at the Universidad Autonoma in Madrid .          As a part of my
                Master’s I completed a course in Spanish/English translation .          The
                following year I worked at a bilingual elementary school . I have also
                served as an assistant instructor of Spanish language and literature
                courses at the University of Texas. I am able to speak, read, and write in
                Spanish proficiently .
            3 . I work independently as a freelance translator .        As a part of this
                operation, I oversee a team of translators who work as contractors
                providing translation services. In July 2015, I was retained by the
                O f f i c e o f C a p i t a l W r i t s ( OCW) to translate several pages of
                Spanish-language documents into English.
            4 . The    attached   documents are the English- language documents my
                team and I translated from the Spanish-language documents provided
                to me by the OCW. The Spanish-language versions of the documents
                are also here attached.



                                                                                       0001054
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         Case4:17-cv-03621
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            5 . I declare under penalty of perjury under the laws of the State of Texas
                that the English-language      documents   are   a true    and   correct
                translation   of   the   Spanish-language documents that I originally
                received.




                                                    Catalina Iannone




                                                                                   0001055
EXHIBIT 38 Page 024
Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 141 of 813

                 13847940101c / Court: 337




                 EXHIBIT 39




                                                                      0001056
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                                                                                   1 of 813



           DECLARACIGN JURADO DE DORCAS NOELIA DE LA CRUZ FANA

          Yo, Dorcas Noelia de la Croz Fafia, digo y declaro lo siguiente:

              1 . Mi nombre es Boreas Noelia de la Cruz Fafia. Mi esposo, Valerio de
                   la Cruz Santos, es el padre de Obel Craz-Garcla, y yo soy su madrastra.
                                  ,




             2. Yonacl                              en el pueblo de Boba m la Republica
                   Dommieana. Yo tango trace bermanos y hermanas, todos los cua.Ies
                                           .




                   son de mi padre y madre.
             3. Yo recibe mi licenciatum de Merced de Bello en Nagua, en. la Republica
                   Dominicana y recibe mi licenciatura de maestra de la IJxuversidad de
                   Naguas, Yo era ima educadora por treinta y cuatro ados, ensehando
                   estudios generates. For veinte y cinco anos, yo tome el papel de
                   directora de la esenela donde trabaje ,
             4, Yo eonod Valerio, el padre de Ohel en el ark> 1980. Pero yo be
                   conocido de el o lo he eonoeido por an buen tiempo antes deesto porque
                   los dos yiviamos en la eomimidad de Boba, Yo conocl a la primera
                   esposa de Valerio, Dahlia, y eonod a Obel cuando el era nino. Yo
                                                          .




                   especiaimente reeiierdo cuando Obel vino a vivir en Boba con su padre,
             S Obel es la razon por cual Valerio y yo estamos casados. Obel me traia
               <




                   regalos o mensajes de parte de Valerio, Cuando had a eso, Obel me
                   deela cuanto el me queria y tambien me deda que el queria que yo me
                   easara con su padre. Despues, el se iba a decide a Valerio que yo era
                   feien amable y que el queria que nosotros nos easaramos. Hasta este
                   dia yo plenso de Obel como mi “mensajero pequeno,”
             6, Obel era urn nine eonteoto, respetuoso, que se portaba bleu , El iba la
                   iglesia conmigo mucho. Cuando su padre y yo nos easamos y mudamos



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                 a una casa juntos, Valerio trajo a sus cuatros nines- -Noemi, Obel,
                                  —
                 Natalia, y Joel y despues tuvimos dos niftos juntos, Menageny Yell
             7, Obel, como el hijo mas mayor, ayudaba a Valerio y yo. Aim cuando
                 Obel se iba a la escuela, el ayudaba a la familia. El se levantaba
                 temprano y se iba a pesear eon su padre y luego se iba a la escuela basts
                 como a las 2:30 de la tarde. Despues, si iba a pesear otra vez con su
                 padre hasta quo se oseurecera. Aim cuando no estaba trabajando, Obel
                 ayudaba con las tareas de cuidar la casa, porque Valerio y yo sicmpre
                 esti.ba.mos trabajando, El cocinaba por sus hermanos v hermanas y
                 cuidaba de ellos.
              8 , Obel me trataba como su madre, El eonfiaba en me de sus emociones,
                 como si le gustaba a una nlfta, Yo me sent!muy amada por el
             9, Obel era bleu amante y respetuoso, Yo nunca conoel de el que se metis
                 en problemas. Nosotros pasabamos las noches jugando juegos como
                 familia o yendo a la iglesia. El se le pasaba Men con amigos y vecinos.
                 Hasta este dla, la gente de este veemdario reeuerdan a Obel
                 afectuosamente. Elios se reeuerdan de que buena persona el era,
              10, Nosotros estabamos bleu tristes cuando Obel se mudo a Puerto Rico.
                 El tenia diez y nueve anos de edad cuando se fee y on ese tiempo habia
                 mueha gente del Republics Dominica que mndaron a Puerto Rico. A!
                 rrnidar, Obel dejo on gran vaclo en nosotros,
              1 LNomas no puedo creer lo que he oido del la crimen por cual Obel fue
                 condenado. Nadxe que conoce a Obel como yo lo eonozco pudria creer
                 qne el Hie la persona que comedo esta crimen. Yo nunca observe
                 comportamientos de el que iodleahan que el. fue alguien que pudiera
                 hacer esto, El nunca era maton, El era el mno que defendiera a los
                              '




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                    demas de los matones. En mi mente, todo lo que ha pasado a Obel
                    nunca va a tener sentido,
                 12,Yo hable con la Investigadora del equipo de defensa de Obel antes de
                    sii       juicio. Yo estaba eontersta a contestar tcxlas sus preguntas y querfa                         .




                    ayudar a Obel de cualquier manera que yo podia, Yo me hubiera
                    gustado a testificar en su jurado si me hubieran preguntado. Yo hubiera
                                                              .
                                                                  -




                    dicho al jurado que Obel era im gran hombre con on corazon que no io
                    hubiera dejado hacer esto. El siempre estaba orando y dando dinero a                               .




                    la iglesla, El era on hombre amante, bondadosa, y respetuoso.
                                                          .


                                                                                                           >
                 13 . Yo be leldo v• revisado esta declaracion de
                                                     <»
                                                                                                >    pragmas.

              Yo declare bajo peua de perjurio y bajo las leyes del estado de Texas, que lo
              anterior es verdadero y correct© segue mi major coeocimiento y que este
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              declaracion \ urado Ihe eieeutad                                          de Maim 2(10 m
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                                                                      DORCAS NOELIA DE LA CRUZ FANA            .




              Subscribed and sworn to before me on March                                    2015,
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              Notary Public, StateVf Texas




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                             CERTIFICATION OF SARAH VALENZUELA
                                                   .




         I, Sarah Valenzuela, state and declare as follows

            1 My name
                 ,
                       O'
                                is   Sarah Valenzuela . I currently live in Austin , Texas,    am
                     fluent in both English and Spanish ,
            zb       I am a native Spanish speaker, bom in El Paso, Texas. Spanish was my
                     first language, and I speak Spanish regularly with several family
                     members. I also took formal Spanish classes for native speakers during
                     high school . I am able to speak, read , and write in Spanish proficiently.
            3. I am currently a third-year law student at the Uni versity of Texas School
                     of Law. I expect to receive my Juris Doctor (J.D.) degree in May of
                     2015. In September of 2015, I will begin a one-year clerkship with the
                     Honorable Philip R. Martinez, a federal district judge in El Paso, Texas.
            4. In January of 2015 , I began a law-student clerkship with the Office of

                                               -
                     Capital Writs (“OCW”) In March 2015, I was asked by the OCW to
                     translate several English-language affidavits into Spanish.
            5 . The attached notarized affidavit signed                by Dorcas Noella de la
                     Cruz Faria is the Spanish - language affidavit I translated from an
                     English-language affidavit        provided   to me   by the OCW. The
                     English-language version of the affidavit is also here attached .




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            6. I declare under penalty of perjury under the laws of the State of Texas
                that the signed document is a true and correct translation of the
                English-language text that I originally received .



        Executed on     AM                                        n<
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                                                               Sarah Valenzuela




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        Subscribed and sworn to before me on                     2015
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        Notary Public, State of Texas




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                      AFFIDAVIT OF DORCAS NOELIA DE LA CRUZ FANA

      I, Dorcas Noelia de la Cruz Fana, state and declare as follows:

          1 . My name is Dorcas Noelia de la Cruz Fana. My husband, Valerio de la

              Cruz Santos, is Obel Cruz-Garcia’s father, and I am his step-mother .

          2 . I was born on April 25, 1952, in the town of Boba in the Dominican
              Republic . I have thirteen siblings, all from my father and mother .

          3 . I received a bachelor’s degree from the Merced de Belo in Nagua,

              Dominican Republic, and received an educator’s license from the University

              of Naguas. I was an educator for thirty-four years, teaching general studies.
              For twenty-five years, I served as the school director at the school where I
              worked .

          4 . I met Valerio, Obel’s father, sometime around 1980 . I had actually known

              him or known of him for a good time before that because we both lived in

              the small community of Boba. I also knew Valerio’s first wife, Dahlia, and

              knew Obel when he was a child . I especially remember when Obel came to
              live in Boba with his father .
          5 . Obel is the reason Valerio and I are married . Obel would bring gifts or
              messages to me from Valerio. When he did, Obel would tell me how much
              he liked me and that he wanted me to marry his father . He would then go
              tell Valerio how nice I was and that he thought we should get married . To

              this day, I think of Obel as my “little messenger . ”

          6 . Obel was a happy, respectful, well-behaved child        ,   He would come to
              church with me often .      When his father and I married and moved in


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              together, Valerio brought his four children - Noemi, Obel, Natalia, and

              Joel—and then we had two children together, Menagen and Yeli .
          7 . Obel, as the oldest boy, was really helpful to Valerio and me . Even when
              Obel went to school, he would help the family . He would get up early and
              go fishing with his father and then go to school until around 2 : 30 in the
              afternoon . Then he would go back out fishing with his father until dark .
              Even when he was not working, Obel would help around the house, because
              Valerio and I were both working full time . He would cook for his siblings
              and take care of them .
          8. Obel treated me like I was his mother . He would confide in me about his
              feelings, like if he had a crush on a girl . I felt very loved by him .
          9 . Obel was loving and respectful . I never knew him to get into trouble . We
              would spend evenings playing games as a family or going to church . He got
              along with friends and neighbors. To this day, people in the neighborhood
              remember Obel fondly . They remember what a good person he was.
          10 . We were very sad when Obel moved to Puerto Rico. He was nineteen, and
              at the time, there were a lot of people from the Dominican Republic moving
              to Puerto Rico . When he moved, it left a big emptiness in our lives when
              Obel was gone .
          11.1 just cannot believe what I have heard about the crime Obel was convicted
              of . No one who knew Obel like I do would believe he was the person that
              committed the crime . I never saw any behaviors in him that were like that .
              He was never a bully . He was the kid who would stand up to a bully. In my
              mind, all that has happened to Obel will never make sense .

          12.1 spoke to the investigator for Obel’s defense team prior to his trial . I was

              happy to answer all of her questions and wanted to help Obel in any way

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              that I could . I would have been happy to come to the United States and

              testify on Obel’s behalf at his trial, if they had asked me to . I would have

              told the jury that Obel was a great man with a heart that would not have let
              him do this. He was always about prayer and giving money to the church .
              He was a loving, kind, respectful man .
          13.1 have read and reviewed this           page affidavit .


          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed on                of March, 2015 in




                                              DORCAS NOELIA DE LA CRUZ FANA




       Subscribed and sworn to before me on March            , 2015 .




      Notary Public, State of Texas




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                              AFFIDA VIT OF LORENZO VILLALBA-ROLON

            I, LoreSEO Vllialba-Rolsia, state and declare as follows      *




                     Mv name is Loret&o VjiMba ~&ol£ n              Sinm, 199S. 1 have waited as an
                                                                                            '


               A >                                                                  .            ,




                     imieuendent consultant on. issues related to the correctional system is Puerto

                     Rico, My workMndudes serving as m advisor to the Secretary of the Puerto

                     Rico Department of Corrections and Rehabilitation on matter relating to         ,
                                                                                                         '




                     pnson
                       *
                           ana4 community correctional programs for both adults and Juveniles, I
                              ,




                     also have served as a legislative
                                             -  V, -v
                                                       consultant in the Senate of Puerto Rico on                .




                     legislative matters relating to public security , cnmlaal justice, adult and

                     juvenile correctional Institutions, and community programs from 2007 to

                                                                                        -
                     2913, 1 was a professor of Criminal Justice at tiie l?iter American University
                          .




                     of Puerto Rico, Metro and Rayamon campuses the Cdegio llmversi tario de
                                                                                                                     ’




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                     San Tuan, and the University of Phoenix in San Juan, Puerto Rico, where I
3
'




     \ ?                                                        -
                     taught both undergraduate and . graduate level courses. From 2007 to 2008, l

                     was Executive Director sf the Puerto Rico Civil Bights Commission. From
                     1994 to 2002, 1 was a professor of Civil and Criminal Justice Systems at the

                     Universidad del Saarado Coraxop iu Samuroe, Puerto Bieo and at Joint
                                         V*,*                                 *




                     Dewey College in Hato Rev, Puerto Rico, teaching             juvenile      System courses.

                     I also worked as a trainer for Wackeahut Corrections Corporation in
                     BayamOn ? Puerto Rico at the Bayamon SOI Correctional Institution during
                                                        .




                     that time. In 1992, I was appointed by the Governor of Puerto Rico as

                     Administrator of the Corrections Administration: of the Commonwealth of

                     Puerto Rico, where I served for one year. I also served as the Chairmen of
                     the Parole Board of Puerto Rico from 1987 to 199 L Before Chat, from 1979               .




                     to 1981 I served ns the Corrections Ombudsman of the Office of the

                     Ombudsman of the Commonwealth of Puerto Rico. I received a Bachelor s                               '




                     degree in Foreign Sendee from Georgetown University m 1974, I received a

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                     Juris Doctor from Georgetown University Law Center in 1977                                 And I

                     recei ved a Master ’s degree in Public Administration from the University of
                                                                                                    '




                     Puerto .Rico’s Graduate School of Public Administration in 1989

             .
            i.
            vi       A complete copy of my CV can be found below (Attachment A).

                                              -
         Involvement ia Obel Craz Gsircia’s Case

            1. I was asked by the Office of Capital and Forensic Writs (“OCFW” ), current
                 '




                                                      -
                     counsel for Obol - Critz Garcih, to conduct a review of the disciplinary

                                          -
                     records of Mr, Cmss Garciafe incarceration in the Puerto Rico Department of

                     Corrections and Rehabilitation from 2002 to 2010, Specifically, I was asked            .




                     to provide a summary of these records and to provide an opinion as to Mr.

                     Cruz-Gareiafr conduct as an inmate during the time he was incarcerated in
                     Puerto Rico.
     A
     W
            A
                                                                          -
                     As part of my assessment I reviewed Mr, Cmz Oareia’s disciplinary records

<3                   from bis Incarceration in the Puerto Rico Department of Corrections and

                     Rehabilitation from 2002 to 2010             I also reviewed affidavits of prison
                     chaplains aml a prison psychologist who knew Mh Crax~G &rd:a during the
                                                  '




                     time he was inc&tverated m Puerto Rico: Irma Igleeias Cn\z Litis Qomales
                                                                                            >




                     Martinez* Ivan Negron Vera, Jimmy Osorio, and Dr, Alejandro Lehron.

                     Finally ? I also reviewed the trial testimony of Bfrain Bamuma Hernandos > a
                                                                     '




                     correctional officer with the Puerto Rico Department of Corrections and

                     RehaMlnaiion* who testified that a window in Mn Cruw- Garcia 's cell was

                     found broken in October 2003         >



         Summary of Findings
                         ,




            c My             review of the records indicates that ML Crua ~Garda had exemplary

                     conduct during the nearly eight years he was incarcerated in Puerto Rico                       <




                     There was nothing m the records to indicate that Mr, Crnz Garcia was a
                              •
                                                                                                -
                                                                                    .
                     dmgemus or violent inmate; to. feet, just the opposite--“Mr Crun Gafciu was        -
                                                              A


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                     a mod®! inmate who was trusted and highly regarded by prison staff If the         .
                                                                     -
                     only evidence the jurors at Mr, Cryx Garoia’s capital trial heard with respect

                     to his incarceration    ,
                                                 in Puerto Rico was the testimony of Mr. Esmuma            -
                     Hernandez, -they were left with an inaccurate - and incomplete portrayal of

                     Mr. Crux-Gareia’s. conduct as m inmate.
            Analysis

              ov . Mr, CnnnGarcia entered the Puerto Rico prison system in June 2002 as a
               *




N



                     pretrial detainee on kidnapping and weapons charges Puerto Rico does not
                                                                                   4




                     have a system of county jails like states do; instead, pretrial detainees are

                     housed in regional detention cen ters that are part of the Puerto Rico prison

                                    The time spent in prison awaiting trial is then credited to an
                                    A
                     system,
                      V




                                                                         -
                     inmate’s sentence. The reports of Mr, Crux Garelafo conduct during pretrial
      <n
                     detention were excellent; fee did not have any disciplinary Infractions           *




              *7
               l s                                           -
                     In September 2002, Mr, Gruz Garda was sentenced to sixteen years in

                     prison for kidnapping       \   The Puerto Rico prison system has three custody

                     levels: minimum, medium, and maximum .                  Mr, Cruz Garcia began his
                                                                                       *




                     prison sentence at the medium custody; level, as would be expected given the
                                                         ,




                     level of offense and other criteria based on the classification assessment

                     mstrurnent

              S, The records indicate that in October 2003, during a routine cell search a
                                                                                        *

                     window in Mr, CrnxvGaroia’s cell was discovered to be broken and a rope   -
                                                                                               ,




                     made of bed sheets and a map of Puerto Rico were found in the cell. Alter

                     the incident , Mr. Crux-Garoia was submitted to a body search, where the

                                                                               .
                     correctional officers found a cellphone car his body Following this incident          .
                     a disciplinary report was written, and Mr, CrumGarcia was reclassified to

                     the maximum custody* level , Mr. Bsmuma-Bereandez testified at Mr, Crux-
                     Garcia’s capital trial about this incident and stated that the window went to
                                                                               ,
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:                   the outside a»d that a person could fit through the opening In the window,
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                    suggesting that the Incident constituted a planned escape,
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                                                 -
               9. Mr, Bsmunia Hemandez’s trial testimony was misleading in several
                                                 .

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                                         4                                 -
                    different respects: Mr. EsnvaPia Hemertde^ testified that Mr. Cru^Gareki

                    was '‘arrested ” .following this incident; in truth, Mr, Cruz-Garcia was put in
I                   the segregation unit sending a review of the ease. There Is no record of any
\
                    charges filed against Mr. Crae-Gareia. Idr this incident, nor was his sentence
x
                        increased. Instead, the matter ms dealt: with administratively. There is no
                                                           '




x
                    record that prison officials further pursued the matter In the Puerto Rice
                                         \
                                                                                   '



                                                                                       X




                    court         system     .       Moreover, Mr . Crus^GaTcia shared his ceil with another

                        mate, and there was no lu&ieaiion that it was Mr. Cruz Garcia, rather thm            *




                    his cellmate, who had broken the window or possessed the contraband that

                        was found m the cell In Puerto Rico, whet) m Inmate is redassliied to
                                                               .




                    maximum custody for a disciplinary infraction * he will typically be required
                                                     v


       I?           to serve at least one year m maximum custody, Mr, Crux Garcia, however,                      -
                    was reclassified back to medium custody after only nine months m                                              *




                    maximum custody;, which further indicates that Mr . Crns-GarciaM conduct

                    during: his
                              -
                             Vi
                                        umc in maximum security was exemplary. In fact, after two years
                                                                                   o




                    in medium custody, Mr. Cmn Oarcia wss reclassified to minimum custody.
                                                                       *




                    The feet thnt Mu Cm-Garcia went from maximum                                         custody     to. minimum
                    custody within less than times                     years           is remarkable; most inmates would take

                    much longer than that

               10,During his time in medium and minimum
                              W*
                                                                                                 custody ,
                                                                                                         •
                                                                                                             Mr. CnimGarcia’s
                                                                                                                     ’        ’




                    behavior was likewise remarkable for both the absence of any disciplinary

                    iafmclions and the awarding of special privileges to Mr, Cruz Garcia for                             -
                    good behavior. During this time# Mr, Cruw-Garda worked as a carpenter
                                                                   '




                    building furniture for the prison corporation.                                    Mr, Cruz-Garcia was

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                   permitted to leave the prison grounds to work at this job, In the furniture                               .




                                          -
                  shop. Mr, Oruz Garda would have had access to tools that he could have

                                                                              -
                   used to execute an escape , Mo Cruz G&rcia was also permitted outside the

                   perimeter of the prison for cleaning dudes. Mr. Grua~Garcia also worked

                  maintenance jobs and in the kitchen * which would have entailed working in

                  the outside perimeters of the institution . The tact that Mr. Cmw- G&rcia was

                  given these pri vileges indicates that his conduct was excellent and that he

                   was not seen by the prison authorities a$ a security threat Mr. Cru^Gnreia
                  did not receive a single disciplinary infraction during this time
                                              •
                                                                                                                         >




          ,5 I Jniaates
          '


                                  m Puerto Rico cm accrue good time credit by working                                                        at       a job
                  taking eoursework, and going to psychological therapy. During his time in

                  prison,
                  •3«        »
                                 Mr. Oruz-G&reia received a total of 485 days of mod time credit,


  c
                  which is m extraorfimarilv^ high number.    vy
                                                                                  Sixty
                                                                                      <         *   -five of these days- were for    >




  5                     extraordinary
                                    >
                                      performance,
                                          A               *
                                                                   which indicates that Mt Crua-Garcia far      <



                  exceeded what was expected of an inmate in terms of work ethic and        .       .                                    ,




                  behavior. In Puerto Rico, the law provides extraordinary good time credit
                                      '


                                                  .




                  for inmates that perform heroic acts werkhvs above and beyond the average
                                          A
                                                                         ,
                                                                         •*
                                                                                    ,
                                                                                   W*   •
                                                                                                        ,
                                                                                                                    V*                                   vlv




                  per&rmaooe, and completing university or other vocational courses. Mi                                                                        *




                  Cruz-Gatcia received twelve reports of job performance during. this time; all             ,




                  of them described hint as a “good” or “excellent** worker. Mr, Cruz Gareia                                                  -
                  also took several Bible school courses by correspondence during this time
                                                      '




                  and also completed a course titled “Learning to Live -without Violence. i >

                                  -
          1:3. Mr, Crus Garcia had a IIS, immigration detainer filed against him by the
                                                                                                                                 '




                  U,S. Department of Immigration ami Naturalization since the beginning of

                  his prison term , This detainer was reissued an March 19, 2007, In 2008,                                                        .




                                  -
                  Mr. Cnsz Garcla wan referred by the prison authorities, based on his record                                        .




                  of good conduct, to the Correctional Community Programs, which Include

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                                                                                -
                 house detention with electronic momfartag, falth bssed residential twits, and

                                                                      .
                 halfway houses, among other programs However, he did aot qualify for            .




                 these programs because he was under a U.S. immigration detainer at the

                 time

           13 After one and a half years in minimum custody a 'warrant notification was
             ,                                          .
                                                                               ?




                 issued by the State of Texas on Mr, Cruw-Garoia due to the capita] charges

                 pending against him in that state, and thus, he was reclassified to maximum

                 custody pending extradition to Texas as per prison policy                               .   The

                 reclassification to maximum                gustodv   was based soielv on the warrant

                 notification and not related in any way              to   Mr. rux~Garciass conduct as an

                 mmate  .                   -
                                 Mr. Crua Garcia remained m maximum custody for seventeen

                 months until he was extradited to Texas In early 2010 , The records indicate
                                                .




                                    -
                 that Mr, Cruz Gareta did not receive a single .disciplinary infraction during
 <1
 „
                 the time he was awaiting extradition ,

          14.The affidavits of Ms. Igiesl&s Cruz, Mr. Gonzales Martinez, Mr. Negron

                 Vera , Mr, Osorio, and Dr, Lebron indicate that Mr. Crux Garcia was well-
                 respected and tested by the. prison staff and the prison population Their               ,




                 opinions are supported by Mr. Cmz~Gareia s record of good conduct and the
                                                                           !
                                                                                                         .




                 privileges that were bestowed upon him daring his .incarceration .

          1.5 Ihe records of Mr. Crnx CurclsT
             ;
                                                    -              nearly eight years   in the Puerto Rico

                 prison system did not contain a single record of violence against staff or

                 other inmates.         Puerto Rico’s correctional system has a long history of

                 violence between inmates and between inmates and prison staff, including            ,




                 riots, disturbances, and deaths between prison: gangs. These problems have

                 been reported by historians, criminologists, news outlets, and other human

             and civil rights organizations, like the Puerto Rico Chapter of the ACLlJY.

                 Puerto Rico Civil Rights Commission, the US District Court and other state
                                        ,




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:
    i
i                            ami legislative agencies.
                               >
                                                                  The tact that Mr. Cruz-Garcia was able to avoid
:
;
:                        engaging in prison violence speaks well of hh attitude towards prison staff
    j
•




!
    :                                                     .
                         and other inmates Drag contraband is also a serious security problem m

                             Puerto Rico 's prison system Because of this, drug testing often reflects
I
                                              ,
                                                  X           v



!
i                                                                                       -
                         high levels of drug use by inmates , Mr, Crax Garcia underwent oue drug test
                         '


                             during the time he was incarcerated; the results were negative                        It k my

                             opinion that Mr, Cm&<krcia was not a violent or dangerous inmate; to the
                                                                                                                       '




:
i
                         contrary, his behavior in prison was excellent If ail that the jury heard of     .


          &
;
:
                                     -
                         Mr. Cruz Garda's ecmduei as a prisoner in Puerto Rico was the testimony of

                         Mr, Esmurria -Heroaadez, they were left with an incomplete and inaccurate
                         portrayal of his conduct as an inmate over the course of nearly eight years.
                T declare under penalty of perjury under the laws of the State of Texas that the
                foregoing k true and correct to the best of my knowledge and that this affidavit
                was executed on February 25th ? 2016 in San Juarg Puerto Rico,

                                                                                      V!'
                                                                                            rs\ rr? f \
                                                                            %tp   u
                                                                      Lorenzo VilMba RoIoo      -
                Affidavit No. 1339

                Subscribed and sworn before me by Lores®) Vifklba-'Koiao, of                                  legal   ane.
                marned, Consultant and resident of Bayamdn, Pnorio Rico, pcra.cnal.ly know# - to
                                          ,                                                                    •




               me. On San Juao, Puerto Rico, this February 25th, 2016.


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                Attachment A




EXHIBIT 40 PageOOS                                                          0001073
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                           Lorenzo Villalba-Rolon
                                   jardines de Caparra BB-I Calle 45
                                        Bayamon, PR 00959
                          (787) 319 - 6620 * io reDzovilIaiba @ gmail.com
                                             .




Executive Summary
Successful, highly ethical and altruistic professional with over thirty (30 ) years of business
experience in the development , restructuring, and negotiation of governmental and
nongovernmental ventures. Fifteen (15) of these years have been in the legislature with
proven success in policy development , solution of complex issues, and regulatory
compliance . Thriving career marked by rapid promotions to positions of increasing
responsibility. Demonstrated accuracy, attention to detail, high performance standards
and ability to work well in team environment . Very capable of exercising initiative,
achievement and independent judgment handling multiple projects concurrently.
Effective communication skills, proficient in both written and spoken English, Spanish,
and basic knowledge of French. Unique combination of organization , effectiveness and
professional demeanor which demonstrates competence and poise in professional and
social settings.


Employment
Independent Consultant , San Juan, Puerto Rico
1998 - Present
®   Advisor to the Secretary of the Department of Corrections and Rehabilitation in all
    matters of prison and community programs for adults and juveniles including project
    manager for new correctional institutions, Prison Rape Elimination Act ( P. R . E .A . ) and
    other issues as assigned.

®   Consultant to the Chairperson of the Office of the Special Independent Prosecutor in
    charge of a historical research project of the institution including an analysis of
    legislative amendments, court decisions, statistics and other relevant information.

• Served     as legislative consultant in the Senate of Puerto Rico in all matters related to
    legislation in areas of public security, criminal justice, adult and juvenile institutions,
    and community programs. Additionally attended public hearings, ordinary and
    extraordinary sessions to analyze legislation.




EXHIBIT 40 PageOOS                                                                       0001074
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* Consultant to    the Puerto Rico Civil Rights Commission in charge of setting and
    managing a Correctional Observatory which includes a Center of Research and
    Internship Programs in areas related to the Correctional System ,

®   Consultant to Hogares Crea Rehabilitation Centers providing services for juveniles with
    drug problems. Set policies and procedures directed to obtain accreditation of the
    American Correctional Association.

®   Consultant in the Municipality of Aguas Buenas serving as liaison between the Mayor
    and the town council in all matters related to legislation including drafting resolutions
    and ordinances, attended ordinary and extraordinary sessions, reviewed all legislations
    from the state legislature and drafted legislative memoranda and technical support to
    the State Executive Branch.

®   Served as advisor for non-profit organizations (arts, community, and health related ) for
    identifying legislative funds, drafted annual reports and supported in the coordination
    of special events.

Inter American University, Colegio Universitario de San Juan, University of
Phoenix, San Juan and Bayamon , P. R.
Criminal justice Professor 2007 -2013

®   Prepare and deliver lectures to graduate and undergraduate students on topics such as
    Law and Corrections, Law and Society and Addiction, Criminality and Rehabilitation.

• Prepare course materials such as syllabi, homework assignments, and handouts.
®   Plan, evaluate, and revise curricula , course content , and course materials and methods
    of instruction at departmental level.

®   Maintain student attendance records, grades, office hours, and other required records.


Puerto Rico Civil Rights Commission , Hato Rey, Puerto Rico
Executive Director 2007 to 2008

• Responsible    for all administrative duties of the Commission including putting forth
    public policy, budgetary y, legislative and other relevant issues.

®Served as liaison with the press as well as other governmental and nongovernmental
entities.




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Professional Highlights
®   Corrections Ombudsman (i979-i98i ) , Chairman of the Parole Board (1987-1991) ,
    Corrections Administrator , (1992 ) and Executive Director of Puerto Rico’s Civil Rights
    Commission of the Commonwealth of Puerto Rico, ( 2007-2008) .

®   Legislative aide for the Senate Judiciary Committee of the Senate of Puerto Rico (1982
    to 1985) and member of the Advocacy Team of the AARP Puerto Rico State Office
    ( 2000-2002 ) .

• Consultant for the    Puerto Rico’s Civil Rights Commission, Senate of Puerto Rico, the
    Municipality of Aguas Buenas , Hogares Crea , Inc. ( Rehabilitation Centers for juveniles) ,
    and the Biennale of Photography, Inc. (1999-2009 )

• Executive Director of the Dr. Garda Rinaldi Foundation (1994-1997).
®   Professor for Universidad del Sagrado Corazon,      John Dewey College and      trainer for
    Wackenhut Corrections Corporation (1994-2002 ) .

®   Actively participated in special activities: 135th Congress of the American Correctional
    Association in Baltimore, Maryland ; National Debate on Prisons and Punishment of the
    American Association for Correctional and Forensic Psychology (AAFCP ) in Alexandria ,
    Virginia ; Latin America Civil Rights Summit, Mexico City ( 2005-2008) .

®   Member of the Georgetown University Alumni Association , Puerto Rico Chapter and
    the American Correctional Association, Alexandria , Virginia ,

Education
Georgetown University Law Center , Washington, D.C
juris Doctor

University of Puerto Rico, Rio Piedras, P. R.
Master in Arts of Public Administration

Universite de Fribourg, Fribourg , Switzerland
Georgetown Junior Year Abroad

Georgetown University, School of Foreign Service, Washington , D .C.
Bachelor in Science in Foreign Service




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                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
                            §              1384794
                            §
                Applicant . §               CAPITAL CASE
                            §
                            §
                            §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                EXHIBITS 41 THROUGH 50
                                    Jeremy Schepers (Texas 24084578)
                                    Supervisor , Capital Habeas Unit
                                    David Currie (TX 24084240)
                                    Naomi Fenwick (TX 24107764)
                                    Assistant Federal Public Defender
                                    Office of the Federal Public Defender
                                    Northern District of Texas
                                    525 S. Griffin St ., Ste . 629
                                    Dallas, Texas 75202
                                    jere my _schepers@fd .or g
                                    (214) 767 - 2746
                                    (214) 767 - 2886 (fax)

                                    Counsel for Obel Cruz -Garcia



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                 EXHIBIT 41




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                        AFFIDAVIT OF DR . GINA PEREZ

I, Gina Perez, state and declare as follows:

   1.   My name is Dr . Gina Perez, Ph .D. I am currently a professor at Oberlin
        College . I have taught at Oberlin College since 2003 . Prior to that, I held
        academic postings at the Center for Puerto Rican Studies at Hunter
        College, CUNY, in New York City and at Northwestern University .
   2.   I received my Ph .D. in Anthropology from Northwestern University in
        2000 . I also hold a Masters in Anthropology from Northwestern (1995)
        and a Bachelors of Liberal Studies from the University of Notre Dame
        (1990).
   3.   My teaching and research focus for the past two decades has focused on
        issues of poverty, urban inequality, gender, migration, Latina/o youth, and
        the various survival strategies individuals and communities employ to meet
        their material, social and cultural needs. I have done extensive research in
        Puerto Rico, Chicago, and Northeast Ohio. My original research focused
        specifically on the ways migration is a survival strategy for low-income
        Puerto Ricans on the island and the mainland . I have particular expertise
        on the historical and cultural experiences of Puerto Ricans in the 1980s and
        1990s and the ways Puerto Ricans used migration as a strategy to address
        their economic and social marginalization . I have also focused extensively
        on the impact of return migration in Puerto Rico in the 1970s-1990s. This
        work has made me familiar with the experiences of Dominican migrants in
        Puerto Rico in the 1980s and 1990s, as well as with the ways Dominican
        transnational practices have transformed the island and Dominican
        communities.




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EXHIBIT 41 Page001                                                             0001079
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   4.   I have published extensively on these topics, in books, peer-reviewed
        journals, and other academic publications. I have also presented numerous
        lectures on the subject . I have received multiple research awards and
        teaching fellowships.
   5.   I have previously consulted in a capital case, for the Central District of
        California Federal Public Defender’s office . I have not testified previously
        as an expert witness in a legal setting .
   6.   A copy of my current CV is attached to this affidavit .

Involvement in Obel Cruz -Garcia’s Case

   7.   At the request of Obel Cruz-Garcia’s current post-conviction counsel, I
        have been asked to offer an opinion regarding the experience of Cruz -
        Garcia in growing up in the Dominican Republic and then immigrating to
        Puerto Rico . Specifically, I have been asked to evaluate Cruz-Garcia’s life
        narrative and place his story into the context of the broader experience of
        men and women emigrating from the Dominican Republic to Puerto Rico
        during that time period . Further, I have been asked to offer my opinions
        regarding how that broader experience and historical context might
        mitigate Cruz-Garcia’s resulting involvement in the drug trade in Puerto
        Rico and the United States.
   8.   In developing my opinions, I have reviewed testimony from Cruz-Garcia’s
        family members during his capital trial in Houston, Texas, in July 2013 . In
        addition, I have reviewed affidavits from various family members currently
        living in the Dominican Republic and Puerto Rico .
   9.   Based on my review of these materials, and utilizing my professional
        knowledge and experience, had I been called as a witness at Obel Cruz-
        Garcia’s trial, I would have been able to provide the following information .


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Social, Cultural, and Economic Forces Shaping Cruz -Garcia’s Childhood and
Early Teenage Years

      10 . Obel Cruz-Garcia is one of four children raised in a rural area of the
         Northeastern region of the Dominican Republic at the beginning of the
         1960s. Obel’s paternal grandparents and extended family all lived nearby ,
         and from a very early age, Obel’s kin network and household was large,
         fluid and included extended family members. Like much of the Dominican
         population at the time, Obel’s family was involved in agricultural work . 1
         They owned a modest plot of land where they raised food for their families
         and to sell to earn money. The men in ObeTs family were also fishermen, an
         important economic activity that fed their family and provided reliable
         income . As Obel’s paternal uncle Jose de la Cruz notes, their family earned
         good money and they were blessed to be financially secure .2 The family’s
         economic security through the early 1960s reflects not only the
         industriousness of the Cruz-Santos family, but also national political
         economic policies that characterized the Dominican economy under the
         Dictator Rafael Trujillo from 1930-1961 that supported small -scale
         agricultural production by family farmers and limited the mobility of rural
         workers to ensure a robust supply of agricultural labor . 3 At a very early age,
         Obel was expected to and actively participated in agricultural work, fishing,
         and helping to care for younger relatives . In short, Obel’s life as a child was



1
  See Ramona Hernandez . 2002. The Mobility of Workers Under Advanced Capitalism:
Dominican Migration to the United States . New York : Columbia University Press for a
discussion of the Dominican economy in the 1960 s and its reliance on agricultural labor .
2
  See Declaracion Jurado de Jose de la Cruz, 5 .
3
  Hernandez 2002, 35 -36. See also Roberto Cassa, 1982, Capitalismoy dictadura. Santo
Domingo: Universidad Autonoma de Santo Domingo.

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EXHIBIT 41 Page003                                                                           0001081
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         quite typical of young, Dominican boys growing up in rural Dominican
         Republic in the 1960 s-1970s.
      11. What distinguishes Obel’s early childhood, however, is that when he was
         young, Obel’s mother left his father and eventually returned to live in her
         native Venezuela, leaving Obel and three of his siblings with their father,
         Valerio de la Cruz Santos. According to his father, Obel missed his mother
         after she left, but his father believed he was fine with the separation . Obel’s
         partner Maria Capellan Romero, however, notes that she believes that Obel
         felt abandoned by his mother and lived with a kind of emptiness inside
         because of her decision to leave . 4 From the time that Obel’s father returned
         to live with his extended family with Obel and his siblings, it was clear that
         Obel took on an important role of caring for his brothers and sister by
         cooking, babysitting, making useful items for the household, fishing, and
         working with his father and uncle . His brother Joel Cruz-Garcia described
         Obel as growing up “too fast” and taking on so much responsibility for
         caring for his family in his mother’s absence . “He took the role of caring for
         me and our family very seriously,” Joel explains. “I felt that Obel took on a
         lot of responsibility for his family after our mother left,” Joel continues. 5 He
         was a good and hard worker helping his father provide for the family . Obel
         was someone who protected his family, helped others, and from a very early
         age took on roles that exceeded his age . As Joel notes, Obel, “began acting
         like a father when I was only five years old.”6
      12 . Although by Dominican standards, Obel was from a small family (one of
         four siblings), he was surrounded by a large extended family of aunts,

4
  Declaration Jurada de Maria Capellan Romero, 10; Declaration Jurada de Valerio de la Cruz, 8
and 9.
5
  Affidavit of Joel Cruz-Garcia, 8.
6
  Affidavit of Joel Cruz-Garcia, 13 .

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         uncles, cousins and his grandparents. As both Valerio de la Cruz Santos and
         his brother Jose note, they were one of 24 children . Valerio’s father had
         children with three different women and, he explains, it was not uncommon
         for men to have large families with more than one woman .7 Jose de la Cruz,
         for example, described having eight children with four different women . 8
         While having large families, multiple partners, and households headed by
         one parent is not unusual throughout Latin America and the Caribbean, the
         Dominican Republic has a particularly unique history of family size . 9
         Indeed, throughout his thirty-one year dictatorship, Rafael Trujillo
         implemented policies to encourage population growth by enforcing strict
         controls of emigration from the Dominican Republic, encouraging European
         immigration to the island, and “systematic encouragement of childbirth”
         and, therefore, large families to ensure a large and available labor pool for
         agricultural and industrial work .10 The existence of large families with a
         range of household arrangements, therefore, was both state-sanctioned and
         culturally acceptable in the Dominican Republic and throughout the
         Caribbean .
      13. Obel was raised within this rich extended family, and his relatives described
         him as helpful, loving, responsible, and industrious. With his uncle and
         father, Obel fished, helped with farm animals, and helped with agricultural


7
  Declaration Jurado de Valerio Julian de la Cruz Santos, 2.
8
  Declaration Jurado de Jose de la Cruz, 2.
9
  A great deal of scholarship on the Caribbean has focused on the distinctiveness of household
arrangements and marriage patterns that do not conform to North American nuclear families . See
Raymond Smith T. Smith . 1997. The Matrilocal Family: Power , Pluralism and Politics. New
York : Routledge Press; Edith Clarke. 1957. My Mother Who Fathered Me: A Study of the
Families of Three Selected Communities of Jamaica. London : Allen & Unwin; Helen Safa. 2005 .
“ The Matrifocal Family and Patriarchal Ideology in Cuba and the Caribbean . The Journal of
Latin American and Caribbean Anthropology 10(2) : 314-338.
10
   Hernandez, 2002, 21.

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        work . He was also remembered as someone who was “willing to help
        anyone who needed help” even at risk of his own life . His uncle, for
        example, recalled the story of Obel jumping in in the water to save his father
        who was trapped in a fishing net . 11 His stepmother, Dorcas Noelia de la Cruz
        Fana, made similar observations describing Obel as “happy, respectful, and
        well-behaved .”12
     14 . In 1980, Obel’s father met and eventually married Dorcas Noelia de la Cruz
        Fana, who was a teacher . As one of eight children, Dorcas knew of Valerio
        and his sons and had a positive opinion of them . Once Dorcas and Valerio
        married, they had two daughters, who described Obel as someone who was a
        caretaker and who was loving and generous with them as they were growing
        up in the Dominican Republic . 13 One of his sisters, Dorcas Yelietza de la
        Cruz explained, “He took care of us, of me and my brothers and sisters while
        our parents were working . He was a loving brother . And he cooked for us
        and took us outside to play . I remember how he would make hammocks for
        us and he would push us on the swings. He used to go and fish for us and
        generally took care of us. I have so much good memories of my childhood
        and when Obel used to care for me .”14 His willingness to care for his
        siblings, to use his hands to make things for others, and cook for them define
        Obel’s childhood as someone who from early on cared for people in the
        ways he could .
     15.0beFs stepmother, Dorcas, also described Obel as helpful and as a hard
        worker, even while he was in school . She also recalled how he went to


a Declaration Jurado de Jose de la Cruz, 7 and 8 .
12
   Declaracion Jurada de Dorcas Noelia de la Cruz Fana, 6
13
   Declaracion Jurada de Menagen Valerio de la Cruz, 3 .
14
   Declaracion Jurada de Dorcas Yelietza de la Cruz, 4 .

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EXHIBIT 41 Page006                                                              0001084
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        church with her on a regular basis. 15 His religious devotion is something that
        many of his family members commented on that defined his childhood as
        well as his adult life . His stepsister, Menagen, for example, described how
        he donated money to help build a local church . 16 And his daughter, Obeliz,
        recalled how he emphasized how important it was for her to do well in
                                                               17
        school, go to church regularly and study the bible .

Social, Cultural and Economic Forces Shaping Obel Cruz -Garcia ’s Late
Teenage and Early Adult Years

Leaving the Dominican Republic

     16 . As a young man in his late teenage years in the Dominican Republic, Obel
        de la Cruz was like many young men struggling to work in a changing
        economy. While the Dominican economy in the 1960s and early 1970s was
        still largely defined by large numbers of workers in agricultural labor and
        subsistence economy, the late 1970s and 1980s witnessed unprecedented
        economic changes that had a dramatic impact on the economic, social and
        cultural lives of residents on the island and throughout the Caribbean .
        Foreign investment in the Dominican Republic, robust foreign aid,
        expansion of the island’s industrialization program, and high commodity
        prices for Dominican goods meant that the economy expanded at
        unprecedented rates. 18 But economic growth was also accompanied by
        growing unemployment caused, in part, by the rising number of uprooted
        rural workers unable to rely on past economic strategies of subsistence
        agriculture and agricultural production for their wages and incomes.
15
   Declaration Jurada de Dorcas Noelia de la Cruz, 6 and 7.
16
   Declaracion Jurada de Menagen Valerio de la Cruz, 5,
17
   Declaracion Jurada de Obeliz Yuliana Cruz Capellan, 4 .
18
   Ramona Hernandez 2002; See Moya Pons . 1995 . The Dominican Republic: A National
History. New York : Hispaniola Books.

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        Economic hardship increasingly defined life in the Dominican Republic in
        the late 1970s and 1980s. According to anthropologist Jorge Duany,
        “employment and underemployment, the rising cost of living, a chaotic
        transportation system, near collapse of basic public service like electricity,
        running water, housing, health care and education ” made life very difficult
        for Dominicans in general, and those residing in rural areas in particular . 19
     17 . In addition to deteriorating economic and social conditions, changes in
        Dominican migration also define the decades of the 1960s, 1970s and 1980s.
        As noted above, from 1930-1961, movement within the Dominican Republic
        and emigration were severely restricted under Rafael Trujillo. Under
        President Joaquin Balaguer, beginning in 1966, however, these restrictions
        were lifted and Dominicans increasingly engaged in internal and
        international migration . According to Ramona Hernandez, while it was
        virtually impossible for Dominicans to apply for a passport for more than
        thirty years, by the late 1960 s, anyone who wanted a passport could apply
        and acquire one . In fact, she writes, “The granting of passports made
        concrete the opening of the door and, through the opening of the door,
        emigration was tacitly encouraged by the ruling structure of the Dominican
        Republic .”20 These changes led to significant internal migration with those
        residing in rural areas often moving to urban centers like Santo Domingo . It
        also led to substantial emigration, legally and illegally . By the 1980 s,
        migration was such a defining feature of Dominican life that Dominicans




19
   Jorge Duany, 2005 . “ Dominican Migration to Puerto Rico: A Transnational Perspective. ”
XVII( l ) : 242-269. See also Ramona Hernandez 2002.
20
   Ramona Hernandez 2002, 40 .

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                                                                          ct   ,
        refer to this massive movement and displacement as                         irse para los
        paises ’’(literally ‘moving to the countries.’”21
     18. While New York City was and continues to be the principal destination for
        Dominican migrants, Puerto Rico is the second largest destination location
        for Dominican migrants. Between 1966-2002, 118,999 Dominicans were
        legally admitted to San Juan, constituting 12% of Dominican migration to
        the US between 1961-2002 . This substantial growth of the Dominican
        population in Puerto Rico reached an apex in 1991 and 1996 with more than
        9,000 Dominicans legally migrating to the island . These numbers made
        Dominicans, “the largest and most visible minority on the island ”22 These    ,




        numbers do not include the thousands of undocumented Dominicans who
        have arrived on the island, either by overstaying a tourist visa or by entering
        illegally by boat, crossing the forty-five mile Mona Passage separating the
        Eastern Dominican Republic from Western Puerto Rico . Both documented
        and undocumented Dominican migration to Puerto Rico has made San Juan
        the city with the largest number of Dominicans outside of the Dominican
        Republic and second only to New York City . 23
     19 . This is the economic, social, and cultural context in which Obel entered his
        late teenage and early adult years. By the mid-1980 s when Obel began to
        court Mirella Perez Garcia, he was one of many young Dominicans engaged
        in internal migration in search of work, unsuccessfully seeking employment
        in an economy increasingly employing women more than men, and
        considering migration as a way to mejorarse la vida, to search for a better


21
   Duany 244 .
22
   Duany, 246.
23
   Duany 245 . See also Ramona Hernandez 2002 for a discussion of the reasons for Dominican
migration to New York City specifically .

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       life . 24 This desire for a better economic future became even more urgent
       when Mirella became pregnant with Obel’s first child . For those reasons, in
       1986, like thousands of other Dominicans, Obel traveled on a yola (a
       makeshift raft/boat) to Puerto Rico. This, according to his stepmother
       Dorcas, was something that many people were doing at the time . Indeed, his
       father explained that while it was hard to see Obel leave his home, he knew
       that this was something so many were doing. Going to Puerto Rico was not
        only an increasingly popular destination for Dominican migrants, it also held
       the possibility of getting legal documents that would allow him to travel to
        and live legally in the United States. This was a point that his brother Joel
        confirmed noting, “A lot of people in the Dominican Republic were moving
       to Puerto Rico around that time because there was a rumor that if you come,
       you could get proper documents to live there and travel to the United States
       through an amnesty program ”25 These ideas of a better a life and the
                                             ,




        possibility of regularizing one’s status to go the United States circulated
       widely in the Dominican Republic in the 1980s and led Obel and tens of
       thousands of others to leave the Dominican Republic for Puerto Rico .
     20 . Although emigration became a defining feature of Dominican life in the
       1980s and Obel received support from his family, his absence represented a

24
   Scholars have well -documented how industrialization programs in Puerto Rico, the Dominican
Republic, the U S . -Mexico border as well as other places led to young women being successfully
employed because they were regarded as easier to control, better suited for the kind of light,
industrial work required, and were willing to accept lower wages. This, in turn, meant that men
were increasingly swelling the ranks of the unemployed and often engaged in migration to seek
employment abroad . See Helen Safa. 1995 . The Myth of the Male Breadwinner : Women and
Industrialization in the Caribbean. Bolder, CO : Westview Press; Maria Patricia Fernandez
Kelly . 1983 . For We are Sold, I am my People: Women and Industry in Mexico ’s Frontier.
Albany : State University of New York Press; Sherri Grasmuck and Patricia Pessar . 1991.
Between Two Islands: Dominican International Migration. Berkeley : University of California
Press.
25
   Affidavit of Joel Cruz-Garcia, 9.

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        loss for his family in the Dominican Republic . According to Valerio, “I told
        Obel that I missed him, but that there were places where one could go and
        live a better life than what we were living in the Dominican Republic .
        Although we were happy, we had very little .”26 Mirella concurred with this
        assessment saying that although she was six months pregnant with Obel’s
        first child when he left, he needed to do so “for a better life .”27 Moving to
        Puerto Rico, therefore, was seen as a natural extension of who Obel was: as
        someone who worked hard to care for his family, emigration and being
        separated from them was what he needed to do . Mirella noted, “He worked
        very long hours [in the Dominican Republic] to take care of me and his
        family . That was his nature . . . In those days, a lot of people were leaving the
        Dominican Republic for a better life in Puerto Rico .”28
     21. While Puerto Rico was often regarded as “a springboard for the U. S.,” the
        cultural, linguistic and historical ties between Puerto Rico and the
        Dominican Republic make it attractive and reasonable for Dominicans to
        remain and reside in Puerto Rico. Undocumented Dominicans arriving to the
        island often entered through rural areas of Western Puerto Rico but
        eventually made their way to urban areas like San Juan . This is precisely
        what Obel did as he and thousands of others made their way to
        neighborhoods in Rio Piedras and Santurce, that experienced significant
        population growth during the 1980s as increasing numbers of Dominican
        emigrants arrived seeking work in the formal and informal economy to
        support themselves and their families in the Dominican Republic . This, as



26
   Declaration Jurada de Valerio de la Cruz, 10 .
27
   Closing Penalty Hearing, 13 .
28
   Affidavit of Mirella Perez-Garcia, 9-10 .

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        Jorge Duany and other scholars have noted, represents the early years of the
        development of Dominican transnational communities.

     Making a New Transnational Life in Puerto Rico

     22 . While migration is a feature that defines human experiences across
        millennia, since the 1990s, migration scholars have identified, theorized, and
        empirically demonstrated the distinctiveness of migration patterns in the late
        20th century that is not about uprooting and leaving one’s home behind .
        Instead, new migration patterns are increasingly transnational in character,
        meaning they involve the development, maintenance, and reproduction of
        migrant networks, households, economic and affective ties across time and
        space .29 According to Jorge Duany, "Dominican transnationalism is most
        forcefully expressed through long-distance kinship networks, households
        and child-rearing practices,” a phenomena that has been well -documented by
        many scholars. 30 These transnational practices are not unique to Dominican
        migrants, but the particular experiences, hardships, and opportunities of
        Dominican migrants in Puerto Rico is one that many scholars, writers,
        politicians, and journalists have explored in great detail .
     23 . Although Dominican migrants began to arrive in Puerto Rico in significant
        numbers in the 1980s and 1990 s seeking a better life, Puerto Rico also was
        experiencing significant economic, social, and political problems that

29
   For one of the first landmark studies on transnationalism and migration, see Nina Glick-
Schiller, Linda Basch, and Cristina Szanton Blanc. 1992. Towards a Transnational Perspective
on Migration: Race , Class, Ethnicity and Nationalism Reconsidered. New York : New York
Academy of Sciences.
30
   Examples of this work include Luis Guarnizo, 1994 . “Los Dominicanyorks : The Making of a
Binational Society . ” Annals of the American Academy of Political and Social Sciences. 533 : 70-
86; Sherri Grasmuck and Patricia Pessar . 1991; Peggy Levitt. 2001. Transnational Villagers.
Berkeley : University of California Press; Jorge Duany 1994 . Quisqueya on the Hudson: The
Transnational Identity of Dominicans in Washington Heights: CUNY: Dominican Studies
Institute.

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        constrained migrants’ experiences. Beginning in the mid-late 1970s, Puerto
        Rico was in economic crisis. The impact of the oil crisis on the island and
        the devaluation of the American dollar in the early 1970s, as well as the
        failure of Puerto Rico’s industrialization program to provide adequate jobs
        for its growing population led to increased unemployment and
        underemployment . According to Marisol LeBron, “Following the events of
        1973, unemployment rose to 18.1% in 1975 . . . reaching its apex in 1985,
        with unemployment increasing to a startling 21.8%. 31 In response to the
        deepening economic crisis, the island and U. S. federal government
        developed specific economic policies in Puerto Rico in order to attract high
        tech and capital-intensive industries to the island . 32 And while this strategy
        did, indeed, create new jobs and possibilities for Puerto Rican workers, these
        jobs required high levels of education and failed to generate enough jobs for
        the large numbers of unskilled workers and the unemployed . In response, the
        local Puerto Rican government focused on expanding employment
        opportunities in the public sector to “compensate for diminishing
        employment opportunities in the private sector .” Thus by 1992, one -third of
        the island’s labor force was employed in the public sector . 33
     24 . As many scholars have noted, the failure of the formal economy to provide
        jobs for its population, and the social and economic marginalization that
        ensues, leads to the development and growth of the informal or underground
        economy. This is certainly the case in Puerto Rico. According to sociologist
        Sudhir Venkatesh, “At its core, the underground economy is a widespread
31
   Marisol LeBron . 2013 . P . 20 . See also Pantjojas-Garcia, u Federal Funds and the Puerto Rican
                                                             5



Economy,” 209. ; James Dietz . 2003 . Puerto Rico: Negotiating Development and Change.
Boulder, CO : Lynne Rienner Publishers .
32
   LeBron, 21.
33
   LeBron, 21. See also Rafael Bemabe, “Puerto Rico’s New Era : A Crisis in Crisis
Management,” NACLA Report on the Americas 40.6 (November/December 2007), 17.

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       set of activities, usually scattered and not well -integrated, through which
       people earn money that is not reported to the government and that, in some
       cases, may entail criminal behavior ”34 According to LeBron, “The informal
                                                ,




       economy encompasses semi-legal activities such as unlicensed day cares,
       food peddlers or car repair operations operating out of someone’s home to
       illicit organizations dedicated to drugs, robbery, sex work and gambling . In
       Puerto Rico, high levels of unemployment combined with low labor force
       participation rates indicate that the informal economy, alongside migration
       and federal assistance, played a key role in absorbing surplus laborers and
       stabilizing the Puerto Rican economy .” 35
     25 .Beginning in the 1980 s and 1990 s, Dominican migrants increasingly
       comprised a large number of surplus laborers involved in the informal
       economy in Puerto Rico . Often they worked off the books as domestic
       workers, in construction, landscaping and gardening, and providing
       childcare . As Mirella notes, for example, when she arrived in Puerto Rico to
       join Obel in 1994, she worked cleaning houses 36 Obel also worked in a
                                                                 ,




       range of jobs in the informal economy, including working as a gardener and,
       according to Obel’s brother Joel, even collecting “cans to trade in for money
       when times were hard so that he would be able to support his kids ” 37 These  ,




       economic activities, however, are often concomitant with illicit economic
       strategies and, as LeBron and others note, “the growth of the drug -based
       informal economy, has become a source of income for a number of Puerto

34
   Sudhir Alladi Venkatesh, Off the Books: The Underground Economy of the Urban Poor,
(Cambridge: Harvard University Press, 2009), 8. See also Philippe Bourgois . 1995 . In Search of
Respect: Selling Crack in El Barrio. Cambridge: Cambridge University Press; Alice Goffman .
2014 . On the Run: Fugitive Life in an American City. Chicago: University of Chicago Press.
35
   LeBron 22.
36
   Affidavit Mirella, 11.
37
   Declaracion Jurada de Maria Capellan Romero, 2; Affidavit of Joel Cruz-Garcia, 11.

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          Ricans, much to the consternation of Puerto Rican and American officials.”
          It has also become a source of income for some Dominican residents on the
          island who, like poor, socially, racially and politically-marginalized Puerto
          Rican residents on the island, face significant resentment, discrimination and
          isolation from mainstream Puerto Rican society . 38
      26 . The existence of underground economies is not new. In fact, as sociologist
          Sudhir Venkatesh notes, they are a familiar feature of many communities
          and its participants span the race, class and gender spectrum who seek to
          make ends meet . The dominant perception circulating in mainstream society,
          however, focuses on some underground economic activities as aberrant, anti -
          social and diametrically opposed to mainstream values. Researchers have
          tackled this question and many have demonstrated how “hustling,” “getting
          paid,” and making ends meet are all survival strategies for people to address
          their individual and collective needs. Sudhir Venkatesh writes, “Gangs and
          mafias anchor our popular imagination of underground trading, but the
          reality is far more complicated .” Some activities, he continues, “such as
          snow shoveling or weekend poker games are so ingrained that they are not
          really perceived as ‘underground economic activity’ even though
          participants can make substantial earning from them and they might produce
          some financial gain for a wider circle of families, friends and neighbors.”39
          Yet other underground activities are readily stigmatized and are the objects
          of police surveillance and repression . This is certainly the case of the
          underground drug economies, and the response by local law enforcement in
          Puerto Rico and U. S . federal officials had a dramatic impact on the lives of
          poor communities on the island, many of whom were Dominican and who

38
     LeBron, 22-23 .
39
     Venkatesh, 9-10 .

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        were increasingly stigmatized by mainstream Puerto Rican society and
        regarded as being the source of all social and economic ills facing the island
        in the 1980s and 1990s.
     27 . According to Jorge Duany, Dominican immigration in the 1980s and 1990s
        generated significant hostility and contributed to the development of anti -
        Dominican discourse . “The figure of the Dominican —especially the
        undocumented immigrant—appears as the Other par excellence: a strange,
        dangerous, and incomprehensible character who occupies a marginal and
        clandestine status.”40 This perception and stigmatization of Dominican
        immigrants continues into the present, with recent investigative reports
        documenting on the ways these perceptions have contributed to employment
        discrimination, economic and social marginalization, and isolation among
        Dominicans in Puerto Rico . 41
     28. For Obel Cruz Garcia, seeking employment as an undocumented Dominican
        in the late 1980 s and 1990 s in Puerto Rico was no small matter . He managed
        to find a range of jobs as a gardener, collecting and recycling cans, working
        as a real estate agent, all jobs that were part of the informal economy and
        paid very little . Like so many Dominican migrants, Obel lived in low-rent
        neighborhoods like Barrio Obrero, where he could draw on networks with
        other co-nationals and managed to send money back to the Dominican
        Republic to help support Mirella and their son . His family members recalled

40
   Jorge Duany . 2002. The Puerto Rican Nation on the Move: Identities on the Island and in the
United States. Chapel Hill : University of North Carolina Press, 27.
41
   In 2012, the Walter Cronkite School of Journalism and Mass Communication published a
series of investigative reports on Puerto Rico and immigration, with a particular focus on
Dominican immigration . This series, “Puerto Rico : Unsettled Territory,” is part of their broader
focus on immigration and border issues. For an example of this see Weston Phippen’s article
“Dominicans Dream of a Better Life From the Confines of a ‘Worker Neighborhood in Puerto
Rico. October 29, 2012. http : //cronkite. asu . edu/buffett/puertorico/placita. html, accessed July 18,
2015 .


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         how he was an excellent provider, never forgetting his family at home . And
         when he was with his family, Mirella recalled that he was “an excellent
         father . . . he participated with them in school . When they would get home
         from school, he would do their homework with them . . . . He liked to take
         them to the park and to church . He liked to cook . He liked to see them eat
         the food he would cook . He would always like to make sure that their nails
         were trimmed and that they were always nicely dressed .”42 Maria Capellan
         Romero, Obel’s partner in Puerto Rico, also commented on how dedicated
         Obel was as a provider and father . “I knew he was going to be a good father
         and take care of us.” This was even true while Obel was in jail . Maria
         described, for example, that while he was in jail, she would bring him
         material for him to make hammocks, key chains and other items for her to
         sell in order to make money for her and their daughter . “Obel would do
         everything that was necessary to provide for his family.”43
      29 . Given Obel’s demonstrated commitment to financially provide for his
         extensive families, both in the Dominican and in Puerto Rico, it is not
         surprising that turning to the drug economy became yet another source of
         generating income . As the possibilities for formal employment diminished
         for all residents on the island, the drug economy grew in Puerto Rico, the
         Dominican Republic and the United States. As ObeTs brother Joel notes,
         “Drugs were everywhere in Puerto Rico and the Dominican Republic in the
         late 1980s.” And like many with experiences in the informal economy and
         limited economic possibilities, selling drugs seemed like a reasonable
         strategy. Indeed, this was and continues to be a gamble many take in spite of
         the dangers involved . “If we look beyond the surface, we find an element of

42
     P . 18, 18-25 .
43
     Declaration Jurada de Maria Capellan Romero, 4-5 .

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         necessity, of pragmatic logic, even while laws are broken and even while the
         standards of a just life are constantly changing.”44 As a young rural
         Dominican migrant in San Juan in the 1980 s, the ideas of a just life involved
         providing for family, meeting the financial obligations, and living up to the
         gendered responsibilities of being financially responsible for kin in multiple
         households. Obel met those expectations and obligations as best he could
         under the circumstances in which he found himself . And given the
         constrained conditions in which he lived and worked, it is notable how all of
         Obel’s family members praise him for his industriousness, his ability to meet
         his responsibilities as a father and a provider, and his generosity to family,
         church and community across borders.

Conclusion

      30 .Being a migrant is never easy. To be poor, undocumented, socially -
         marginalized and regarded as the source of economic and social problems
         while one struggles to meet one’s familial responsibilities is even more
         difficult . These are precisely the conditions in which Obel Cruz Garcia
         found himself in Puerto Rico in the late 1980 s and 1990s. As someone
         accustomed from a young age to the demands of agricultural work in a
         small, rural town in the Dominican Republic in the 1970s, and as an
         adolescent who helped his father care for his siblings after his mother moved
         away, Obel shouldered a great deal of responsibility from a very young age .
         Like thousands of Dominicans seeking a better life in Puerto Rico, Obel
         arrived by boat in Puerto Rico and successfully found jobs that paid little
         and had little social status, jobs in the informal economy that employed
         thousands of undocumented immigrants in Puerto Rico . As Puerto Rico’s

44
     Venkatesh, 7.

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         economic crisis continued to experience uncertainty, the informal drug
         economy provided some certainty and economic security for many already
         on the economic margins. Like so many others, Obel used the money he
         earned to care for family members in multiple households in Puerto Rico
         and the Dominican Republic . This transnational strategy is a familiar one for
         many migrants: they are sometimes part of multiple households with
         multiple partners. And while they are not physically present, they remain
         integral parts of family life through the remittances they send to their
         households. Indeed, countries like the Dominican Republic rely heavily on
         the money migrants send home with such remittances constituting the
         second leading source of income on the island (second only to the
         Dominican Republic’s robust tourist economy) and providing approximately
         $450 million from Dominicans residing in Puerto Rico in 2003 .45
      31. Obel Cruz-Garcia’s income-generating activities certainly seem to fall
         outside what mainstream society regards as legitimate work . But upon closer
         examination, they also reflect the strategies people often turn to in order to
         meet their obligations as a father, son, brother, uncle and community
         member in severely constrained circumstances. Rather than aberrations or
         pathology, these actions suggest the lengths people often go to provide a
         decent life for themselves and their families.
      32.1 was available to consult and testify at Cruz-Garcia’s trial in July 2013 .
         Had I been contacted, I would have told Cruz-Garcia’s counsel what is
         contained in this affidavit and I would have testified to the same had I been
         called as a witness.
      33.1 have read and reviewed this twenty-page affidavit .


45
     Duany 2005, 261.

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I declare under penalty of perjury under the laws of the State of Texas that the
foregoing is true and correct to the best of my knowledge and that this affidavit
was executed on August        , 2015, in Oberlin, Ohio.



                                              rtS)
                                       Gm& Perez           3




                                                   , 2015.



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   Oberlin, OH 44074
   gina. perez@oberlin . edu
   440-775-8982

   Education:
   Ph .D. , Department of Anthropology, Northwestern University, December 2000 .

   M. A., Department of Anthropology, Northwestern University, 1995 .

   B . A. , Program of Liberal Studies, University of Notre Dame, cum laude, 1990 .

   Employment:
   Professor, Comparative American Studies Program, Oberlin College (2003-present)
   Director of the Comparative American Studies Program, 2008-2013

   Research Associate, Centro de Estudios Puertorriquenos, Hunter College, The City
   University of New York (2000-2003)

   Adjunct Lecturer, Department of Anthropology, Northwestern University (1997)

   Instructor, Chicago Field Studies Program, Northwestern University (1996-1997)

   Instructor, G.E.D. (General Equivalency Degree), Malcolm X, Chicago City Colleges
   (1995-1997)

   Publications:
   Books
    Student, Citizen, Soldier: Latina/o Youth, JROTC, and the American Dream. New York
   University Press, Social Transformations in American Anthropology Series . In Press ,
   expected publication date, October 2015.

   Beyond El Barrio: Everyday Life in Latina/o America, co-edited with Frank Guridy and
   Adrian Burgos Jr. New York : New York University Press, 2010 .

   The Near Northwest Side Story: Migration, Displacement and Puerto Rican Families .
   Berkeley : University of California Press, 276 pages, 2004
   Winner of the Delmos Jones and Jagna Scharff Memorial Prize for the Critical Study
   of North America, awarded by The Society for the Anthropology of North America,




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   April 2006.

   Peer Reviewed Articles
   Latino Studies special journal issue on Latinas/os and Militarism, co-editor with Luis
   Plascencia and Alisse Waterston; co-author of introduction and author of essay, “ Latina/o
   Youth, JROTC, and Ethnographic Practice,” Latino Studies 13(2): Summer 2015 .

   “How a scholarship girl becomes a soldier : The militarization of Latina/o youth in
   Chicago Public Schools,” Identities: Global Studies in Culture and Power 13 : 53-72.
   (2006).
   Paper solicited and accepted for publication in special issue on political economy and
   culture.

   “Puertorriquenas rencorosas y mejicanas sufridas : Gendered ethnic identity formation in
   Chicago’ s Latino communities . Journal of Latin American Anthropology 8(2): 96-124 .
   (2003).
   u5
    La tierra’ s always perceived as woman’ : Imagining urban communities in Chicago’s
  Puerto Rican community,” in Transnational Latina/o communities: Politics, processes,
  and cultures, Carlos Velez-Ibanez, Anna Sampaio, and Manolo Gonzalez-Estay, eds .
  Boulder, CO : Rowman and Littlefield, 181-202. (2002).

   “ The other ‘Real World’ : Gentrification and the social construction of place in Chicago,”
   Urban Anthropology , Special issue “Urban Legends: Race, Class, and the Politics of
   Mythical Revitalizations, 31(1): 37-68. (2002).
   u5
   An Upbeat West Side Story’ : Puerto Ricans and postwar racial politics in Chicago,”
  Centro: Journal of the Center for Puerto Rican Studies, Special issue on Puerto Ricans in
  Chicago, guest edited by Gina M. Perez, XIII (2) : 47-68. (2001)

   “ Teaching social theory through students’ participant observation . ” Teaching
   Sociology 26(4): 347-353 . Co-authored with Ira Silver, primary author. (1998).

   Chanters in Scholarly Books
  “Reflection : The Work That Remains .” In Feminist Activist Ethnography: Counterpoints
  to Neoliberalism in North America, Christa Craven, Dana-Ain Davis, ed . Lanham, MD :
  Lexington Books, 2013, pp . 217-221.

   “ Introduction,” (co-edited with Frank Guridy and Adrian Burgos Jr .) in Beyond El
   Barrio: Everyday Life in Latina/o America, Gina Perez, Frank Guridy and Adrian Burgos
   Jr. , eds. New York : New York University Press, 2010, pp . 1-23 .

   “Hispanic Values, Military Values : Gender, Culture and the Militarization of Latina/o
   Youth,” in Beyond El Barrio: Everyday Life in Latina/o America, Gina Perez, Frank
   Guridy and Adrian Burgos Jr. , eds. New York : New York University Press, 2010, 168-
   186.



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  “ JROTC and the New American Militarism,” chapter solicited for Rethinking America: A
  Reader on Imperialism and Inequalities in the Contemporary United States, Jeff
  Maskovsky and Ida Susser, eds . Paradigm Press (2009), pp . 31-48.

  “Discipline and Citizenship : Latina/o Youth in Chicago JROTC Programs,” in New
  Landscapes of Inequality, Micaela di Leonardo, Jane Collins, and Brett Williams, eds. ,
  School of American Research . (2008), 113-130 .

  “ A gendered tale of place, nation and identity : Return migration to Puerto Rico,” chapter
  solicited for anthology, The experience of return migration: Caribbean perspectives,
  Dennis Conway, Robert Potter and Joan Phillips, eds. Ashgate Press, pp . 182-205 .
  (2005).

  Book Reviews
  Review of Latinos in New England, edited by Andres Torres, 2006. CENTRO: The
  Journal for the Center for Puerto Rican Studies XIX( l ): 403-406. (Spring 2007)

  Review of Puerto Rican Arrival in New York: Narratives of the Migration, 1920—1950,
  edited by Juan Flores, 2005 and Boricuas in Gotham: Puerto Ricans in the making of
  Modern New York City, edited by Gabriel Haslip-Viera, Angelo Falcon, and Felix Matos
  Rodriguez . Latino Studies 4(1-2): 189-191. (2006)

  Review of Barrio dreams: Puerto Ricans, Latinos, and the neoliberal city, by Arlene
  Davila. University of California Press, 2004 . American Anthropologist 107(3): 517-518.
  (2005)

  Encyclopedia Entries
  “ Commuter Nation,” in Encyclopedia of Latinos and Latinas in the United States,”
  Deena Gonzalez and Suzanne Oboler, eds . Oxford University Press. (2005 )

  “ Chicago,” in Encyclopedia of Latinos and Latinas in the United States,” Deena
  Gonzalez and Suzanne Oboler, eds . Oxford University Press . (2005)

  “ The Puerto Ricans,” in The Encyclopedia of Chicago, James Grossman, Ann Durkin
  Keating, and Janice L. Reiff, eds . University of Chicago Press, pp 664-665 . (2004)

  “Fuerzas Armadas de Liberacion Nacional (FALN),” in The Encyclopedia of Chicago,
  James Grossman, Ann Durkin Keating, and Janice L. Reiff, eds . University of Chicago
  Press, p . 318. (2004)

  Invited Articles and Essays
  “ Chicago Beckons : Chicago Then and Now,” essay solicited for special series titled,
  “ Chicago Beckons,” in Anthropology Newsletter (Professional monthly of the American
  Anthropological Association), September December 10, 2012, p . 16.




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  “ Should Oberlin Allow ROTC On Campus? No,” essay solicited for Oberlin Alumni
  Magazine , Fall 2011, p . 8.

  “Methodological Gifts in Feminist and Latina/o Studies Anthropology,” essay solicited
  for special series titled, “Engendering Anthropology,’ in Anthropology Newsletter
  (Professional monthly of the American Anthropological Association), October 2007, pp .
  6-7.

  “ Puertorriquehas’ stories of life in Chicago,” Dialogo, Special issue on Latinas in the
  United States, Center for Latino Research, DePaul University, Winter/Spring(6), 18-23 .
  (2002)

  “ A tale of two barrios: Puerto Rican youth and the politics of belonging,” Souls: A
  critical journal of black politics, culture , and society. Institute for Research in African -
  American Studies, Columbia University, 4(3): 39-47. (2002).

  " Voting with their stomachs: Las elecciones del siglo en El Salvador, " I ASA Forum, Fall,
  25(3): 3-6. Co-authored with Liesl Haas. (1994)

  Reprints
  “ Los de Afuera, Transnationalism, and the Cultural Politics of Identity . ” In Ethnography
  and the City: Readings on Doing Urban Fieldwork, Richard E. Ocejo, ed . New York :
  Routledge Press, pp . 64-78.

  “ Gentrification, Intrametropolitan Migration, and the Politics of Place,” from The Near
  Northwest Story: Migration, Displacement and Puerto Rican Families, 127-130; 142-
  152. In The Gentrification Debates, Japonica Brown-Saracino, ed . New York :
  Routledge Press, 2010, pp . 319-329.

  “ A tale of two barrios: Puerto Rican youth and the politics of belonging,” Transnational
  Blackness: Navigating the Global Color Line , Manning Marable and Vanessa Agard -
  Jones, eds . Palgrave, 2008, pp . 65-72.


  Works in Progress
  ’’Keyword : Barrio,” essay solicited for book Keywords in Latino Studies, Lawrence
  LaFountain-Stokes, Nancy Mirabal and Deborah Vargas, co-editors. New York
  University Press .

  Research Interests:
  U. S . Latinas/os; urban anthropology, political economy; gender/feminist theory;
  militarism; migration/transnationalism; poverty; ethnography; United
  States/Caribbean/Latin America




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  Awards and Fellowships:
  Eric and Jane Nord Associate Professorship, 2009-2014

  Research Status, Oberlin College, 2013-2014 .

  Donald R . Longman Fellowship, Oberlin College, 2006-2007.

  OKUM Faculty Exchange Grant, Oberlin College (with Lisa Hall, principal organizer),
  2006-2007

  PSC-CUNY Research Award, grant for research on Latino household economies and
  militarism in Chicago, Hunter College, The City University of New York, 2003 .

  PSC-CUNY Research Award, grant for on-going ethnographic and historical research in
  Chicago, Hunter College, The City University of New York, 2001.

  Intercambio Research Grant, City University of New York-University of Puerto Rico
  Academic Exchange Program, support grant to organize academic workshop on return
  migration to Puerto Rico, co-coordinated with Jorge Duany, University of Puerto Rico,
  2001 .

  Ford Foundation Dissertation Fellowship, 1999.

  University Scholar, dissertation support grant, Northwestern University, 1999.

  Travel Grant, Association for Feminist Anthropology, American Anthropological
  Association, 1999.

  Dissertation Year Fellow, dissertation write-up grant, Northwestern University, 1998.

  Social Science Research Council Summer Dissertation Workshop Fellowship, Ann
  Arbor, Michigan, 1996.

  Travel Grant, Center for International and Comparative Studies, Northwestern
  University, 1996.

  Predissertation Research Grant, Center for International and Comparative Studies,
  Northwestern University, 1995 .

  Research Grant, Center for International and Comparative Studies, Northwestern
  University, 1994 .

  CIC Fellow, four-year graduate fellowship, Committee for Institutional Cooperation
  University Consortium, 1993-1997.




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  Research and Fieldwork:
  Ethnographic study of Latinas/os and Junior Reserve Officer Training Corps, Lorain,
  Ohio, 2006-present.

  Preliminary research in Latina/o Lorain . Worked with two Oberlin students to begin year-
  long ethnographic project on Latinas/os in Lorain, summer 2005 .

  Interviews with Latina/o youth on their participation in high school ’ s Junior Reserve
  Officer Training Program, Chicago, Summer 2004 .

  Preliminary field research on Latina/o families, the military, and household economies in
  Chicago, Summer 2003 .

  Ethnographic field research on space, place, culture and political economy among Puerto
  Rican communities in Chicago. Part of on-going investigation on migration, gender, and
  space in Chicago and San Sebastian, Puerto Rico, July 2001 and July 2002.

  Ethnographic and historical field research for dissertation, San Sebastian, Puerto Rico.
  Historical and ethnographic research on Puerto Rican migration to Chicago, the impact of
  migration and return on the San Sebastian community, and the role of gender in
  transnational migration processes, 1998

  Ethnographic and historical field research for dissertation, Chicago. Extensive historical
  and ethnographic research on the impact of migration on the local community and the
  role of gender in transnational practices, 1997-1998.

  Predissertation field research : Return and circular migration to San Sebastian, Puerto
  Rico. San Sebastian, Puerto Rico, 1995 .

  Ethnographic field research : Latino identities in rural Northern New Mexico. Coyote,
  New Mexico, 1994 .

  Ethnographer for MOECEN: Elections Monitor, translator, elections analysis . San
  Salvador, El Salvador, March, 1994 .

  Invited Seminars and Conferences:
  Co-facilitator with Professor Jorge Mariscal (UCSD), “Race, Class and Culture in
  Counter Recruitment,” Workshop for the National Counter-Recruitment and
  Demilitarization Conference, Roosevelt University, Chicago, July 17-19, 2009.

  Discussant for panel, “ Colonial Counterpoints,” SSRC-Mellon Mays Graduate Student
  Summer Conference, Oberlin College, Oberlin Ohio, June 19, 2009.

  Tepoztlan Institute for Transnational History of the Americas, Tepoztlan, Mexico,
  August 1-8, 2007



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   School of American Research, Advanced Seminar titled, “ The New Landscapes of
   Inequality,” organized by Micaela di Leonardo (Northwestern University), Jane Collins
   (University of Wisconsin, Madison), and Brett Williams (American University), Santa
   Fe, New Mexico, March 12-16, 2006.

   Social Science Research Council, Translocal flows in the Americas Project, New York,
   NY, May 7-8, 2004 .

   Rockefeller Foundation and The CUNY Dominican Studies Institute, “ The
   Transnationalization of Everyday Life: The Impact of Global Transformations on
   Community Experiences,” May 24-25, 2001.

   Invited Lectures and Presentations:
   “Puerto Rican/Latina/o Youth, Citizenship and the New American Militarism,” Keynote
   Address for Hispanic Heritage Month, University of Akron, September 19, 2012.

   “Reports From the Field : Latina/o Youth, JROTC, and Ethnographic Practice in Chicago
   and Northeast Ohio,” Latino Chicago Lecture Series, Northwestern University, Evanston,
   Illinois, April 13, 2012.

   “Beyond El Barrio Book Symposium,” The Ohio State University, April 12, 2011.

   “ JROTC, Latina/o Youth, and the New American Militarism,” The Ohio State
   University, January 26, 2011.

   “BeyondEl Barrio Book Symposium,” University of Texas, Austin, November 16, 2010 .

   “ JROTC, Latina/o Youth, and the New American Militarism,” Latino Studies Institute,
   University of Notre Dame, September 15, 2010

   "JROTC, Citizenship, and Ethnographies of Power, " Department of Anthropology
   Colloquium series, Cornell University, October 24, 2008.

   “Militarizing Latina/o Youth, " Tepoztlan Tepoztlan Institute for Transnational History of
   the Americas, Tepoztlan, Mexico, August 1-8, 2007.

   “Militarizing Latina/o Youth in American Public Schools,” Indiana University,
   September 20, 2006.

   “Resilience and Community Building on Paseo Boricua, ” invited speaker for symposium
   titled, “Puerto Rican Chicago Community as Intellectual Space,” Chicago, IL, June 17,
   2006.

   “How a Scholarship girl becomes a soldier : Militarizing Latina/o Youth in Chicago
   Public Schools,” Feminist Lecture Series, Oberlin College, May 10, 2006.




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  “ To soy el Army. Latinas/ os and the New American Militarism,” School of American
  Research, Santa Fe, New Mexico, March 12-16, 2006.

  “ Latina/o ethnography and The Near Northwest Side Story,” book presentation at the
  Center for Puerto Rican Studies, CUNY, October 26, 2005 .

  “ JROTC, stratified education, and organizing against the military recruitment of Latina/o
  youth,” invited speaker for panel discussion and forum titled “ Students not Soldiers : The
  Militarization of Latino/a Youth,” DePaul University, Chicago, April 14th, 2005

  “ Latinas/os, military service, and new directions in Latina/o studies scholarship,” invited
  speaker and participant in “Beyond El Barrio: Symposium for New Directions in Latina/o
  Studies,” Macalester College, April 14th, 2005 (co-organizer of symposium)

  “Feminism, militarism, and exploring the militarization of Latina/o youth,” invited
  speaker for Women’s History Month, Eckerd College, St. Petersburg, FL, March 31st,
  2005 .

  “Feminism, militarism, and exploring the militarization of Latina/o youth,” invited
  speaker for Women’s History Month, Bates College, Lexington, Maine, March 24th,
  2005 .

  “ Los de afuera. Gendered experiences of return,” invited presentation for the Gender and
  Im (migration) Workshop at the Rockefeller Center for Public Policy and Social Sciences,
  Dartmouth College, February 3, 2005 .

  “How a Scholarship girl becomes a soldier : Puerto Rican/Latina youth, sexuality and
  militarism,” invited by the Department of Women’s Studies, Dartmouth College,
  February 3, 2005 .

  “ Lessons from the field,” invited speaker for Lectures in the Community series,
  sponsored by the Latin American and Latino Studies Program, University of Illinois,
  Chicago, Institute of Puerto Rican Arts and Culture; Puerto Rican Cultural Center,
  Chicago, January 16, 2005 .

  “How a Scholarship girl becomes a soldier : Puerto Rican/Latina youth, sexuality and
  militarism,” invited by the Department of Anthropology, Northwestern University,
  January 17, 2005 .

  “How a Scholarship girl becomes a soldier : Puerto Rican/Latina youth, sexuality and
  militarism,” invited by Latin American and Caribbean Studies, University of South
  Florida, Tampa, FL, October 26, 2004 .

  “Housing, education and militarism in Chicago: Research agenda recommendations,”
  invited participant in Translocal flows in the Americas Project sponsored by the Social
  Science Research Council . New York, NY, May 7-8, 2004 .



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  “ Contesting geographies of home, space and identity in Chicago’s Near Northwest Side,”
  presentation at Annual Meeting of the American Anthropological Association Meetings,
  Chicago, Illinois, November 22, 2003 .

  “Puerto Ricans in Chicago,” Portraits of Contemporary Puerto Rican Communities, Yale
  University’ s Summer Institute for Educators, New Haven, CT, July 8, 2003 .

  “ Gendered geographies of home and displacement in Chicago,” New Directions in
  Latina/o Studies: Gender, Sexuality and Race in Twenty-First Century America, Wheaton
  College, Norton, MA, March 21, 2002.

  Presentation of special issue of Centro Journal on Puerto Ricans in Chicago, sponsored
  by The Latin American and Latino Studies Program at the University of Illinois, Chicago;
  Institute of Puerto Rican Arts and Culture; Puerto Rican Cultural Center, Chicago, March
  10, 2002.

  “ A tale of two barrios: Puerto Rican youth and the politics of belonging in
  Chicago and San Sebastian, Puerto Rico,” Race and Globalization Conference, sponsored
  by the Institute for Research in African American Studies, Columbia University, New
  York City, November 1, 2001.

  “Puertorriquenas rencorosas y mexicanas sufridas : Constructing self and other in
  Chicago’ s Latino Communities,” Seattle University, Women’s Studies Work-in-Progress
  Series, January 12, 2001.

  Conference Papers and Presentations:
  Discussant for Panel, “ The Barrio at War : Militarization in Latina/o Communities,”
  Latino Studies Conference, Chicago, Illinois, July 18, 2014 .

  “Mitigation Investigation, the Death Penalty, and the Tools of Critical Americanist
  Anthropology,” American Anthropological Association Meetings, November 23, 2013 .

  "What is good with America " : Puerto Rican Youth, Citizenship and JROTC in Northeast
  Ohio,” Biennial Meetings of the Puerto Rican Studies Association, October 25, 2012.


  “Ethnographies of Empire : JROTC, Citizenship, and Puerto Rican Youth in Northeast
  Ohio,” Invited Session for American Studies Association Meetings, San Juan, Puerto
  Rico, November 15, 2012.

  “ Latinos, Gender and Culture in Military Recruitment,” Latin American Studies
  Association Meetings, San Francisco, May 25, 2012. (Roundtable discussion)

  Discussant for panel titled, “Puerto Rican Transnationalism : A Debate,” Latin American
  Studies Association Meetings, San Francisco, May 24, 2012.



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  “ Latina/o Youth and JROTC in the International City, Lorain, Ohio,”!0 th Ohio Latin
  Americanist Conference, Bowling Green State University, February 19, 2011.

  Militarizing Youth : JROTC, Citizenship, and Puerto Rican youth in Northeast Ohio,”
  American Anthropological Association Meetings, November 2009. (Panel co-organizer)

  “ JROTC, Citizenship and Puerto Rican Youth in Lorain, Ohio,” American Educational
  Research Association Meetings, April 17, 2009.

  “ JROTC, Citizenship and Puerto Rican Youth in Lorain, Ohio,” Puerto Rican Studies
  Association Meetings, October 2, 2008. (Panel organizer)

  “ JROTC, Latina/o Youth, and Neoliberal Cities,” American Anthropological Association
  Meetings, November 28, 2007. (Invited Presidential Session)

  Discussant for panel titled, “ The Politics of Space and Otherness : Mapping Latina/o
  Spatial Interconnectedness and Investigative Frameworks across Transnational
  Landscapes,” American Anthropological Association Meetings, November 28, 2007.
  (Invited Session of the Association of Latina/Latino Anthropologists)

  “ Latina/o Youth, JROTC, and the Punitive Face of Neoliberalism,” Latin American
  Studies Association Meetings, Montreal, Quebec, Canada, September 6, 2007.

  “ Yo Soy El Army : Latina/o Youth, Citizenship, and JROTC,” American Anthropological
  Association Meetings, San Jose, CA, November 16, 2006. (Invited Session of the
  Society of Latin American Anthropology Section)

  Moderator for panel on Puerto Rican Religious Experiences, Puerto Rican Studies
  Association Meetings, Ithaca, NY, October 7, 2006.

  “Latinas/os and the new American militarism,” presentation at the Society for the
  Anthropology of North America Meeting, New York, NY, April 21, 2006.

  “Puerto Rican/Latina youth, sexuality and militarism,” presentation at Puerto Rican
  Studies Association Meetings, New York, NY, October 22. 2004 (panel organizer)

  “ Contesting geographies of home, space and identity in Chicago’s Near Northwest
  Side,” presentation at Annual Meeting of the American Anthropological Association
  Meetings, Chicago, Illinois, November 22, 2003 .

  “Military presence in schools and Latina/o household economies,” presentation at brown
  bag lunch series, Center for Puerto Rican Studies, Hunter College, The City University of
  New York, January 15, 2003 .

  “How a scholarship girl becomes a soldier : U. S . military recruitment in a Chicago high



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   school, post-September 11th,” paper presented at the American Anthropological
   Association Meetings, New Orleans, Louisiana, November 23, 2002.

   “Puerto Rican youth, gender, and the military in Chicago,” Puerto Rican Studies
   Association Meetings, Chicago, Illinois, October 6, 2002.

   “ A gendered tale of place, nation, and identity,” Puerto Rican Studies Association
   Meetings, Chicago, Illinois, October 6, 2002.

   “ The other ‘Real World’ : Gentrification and the social construction of place in Chicago,”
   part of panel presentation Puerto Ricans : Space, Race, and the Social Construction of
   Place, sponsored by the Center for Puerto Rican Studies, Hunter College, The City
   University of New York, March 14, 2002.

   “ Contesting geographies of home, space, and identity in Chicago’ s Near Northwest
   Side,” joint meetings of the American Ethnological Society, the Canadian Anthropology
   Society, and Society for Cultural Anthropology, Montreal, Quebec, May 6, 2001.

   “ The rootedness of migrant lives in Chicago and San Sebastian, Puerto Rico,” Excellence
   and Innovation : Research and Teaching Puerto Rican/Latino Studies at CUNY
   Conference, April 27, 2001.

   “Latino racial formations in Chicago,” part of panel presentation Latina/o Racial
   Formations, sponsored by Center for Puerto Rican Studies, Hunter College, The City
   University of New York, February 28, 2001.

   “Puertorriquenas rencorosas y mexicanas sufridas : Constructing self and other in
   Chicago’ s Latino Communities,” American Anthropological Association Meetings, San
   Francisco, California, November 18, 2000 .

   “ An upbeat Westside story” : Puerto Rican migration to Chicago,” Puerto Rican Studies
   Association Meetings, Amherst, October 27, 2000 .

  “ Los de afuera: Migration, community and the politics of place in San Sebastian, Puerto
   Rico,” Latin American Studies Association, Miami, FL, March 17, 2000 .
   u5
    All in the family’ : Gender, kinship and family studies in The people of Puerto Ricof
  for invited session panel “Revisiting The people of Puerto Rico: Anthropological
  inquiries into Puerto Rican life, past and present,” American Anthropological
  Association, Chicago, November 17, 1999 (organizer and co-chair of panel )

   “From ‘ model minority’ to ‘underclass’ : A history of Puerto Rican migration to
   Chicago,” The Society for the Study of Social Problems, Chicago, August 5, 1999.

   “ ’Latierra’s always perceived as woman Imagining urban communities in Chicago’ s
   Puerto Rican community,” American Sociological Association Meetings, Chicago,



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   August 6, 1999.

   “ ’La tierra’s always perceived as woman Imagining urban communities in Chicago’ s
   Puerto Rican community .” Latin American Studies Association Meetings, Chicago,
   November 25, 1998.

   “ Imagining rural and urban communities: Gender and migration in Chicago’ s Puerto
   Rican communities,” Women’ s Studies Faculty/Graduate Colloquium, Northwestern
   University, December 4, 1997.

   "Flying on the Mayflower: Puerto Rican culture and migrations between Chicago and
   San Sebastian, Puerto Rico, " American Anthropological Association, San Francisco,
   November 23, 1996.

   "Migration' s meanings: The political economy of Puerto Rican culture and migration in
   Chicago, " Puerto Rican Studies Association, San Juan, Puerto Rico, September 28, 1996.

   "What's really new about the new transnationalism ? : Race and gender considerations
   about Puerto Rican migrations to Chicago, " American Ethnological Society, San Juan,
   Puerto Rico, April 20, 1996.

   " Identity politics, women and migration, " Conference on Women' s Studies and Feminist
   Thought : The Next Millennium, Northwestern University, March 6, 1996.

   " The self and Other: Ethnic identities in Coyote, New Mexico.” Ethnographic Field
   School Conference, Gallina, New Mexico, August, 1994 .

   "Reflections on the electoral process in El Salvador, " International and Comparative
   Studies Seminar, Northwestern University, April, 1994 .

   " The bittersweetness of change : Gender ideology and sugar production in early twentieth
   century Puerto Rico, " Center for Interdisciplinary Research in the Arts, Northwestern
   University, March, 1994 .

   Professional Service:
   President Elect of the Association for Latina/Latino Anthropologists, American
   Anthropological Association, 2016-2018

  External Reviewer for Tenure and Promotion, Hunter College, CUNY and Montclair
  State University, Fall 2014

  LASA (Latin American Studies Association), member of Latina/o Studies Section Book
  Award Committee, 2013 .

   Member of Executive Committee for the Annual Meetings of the American
   Anthropological Association, 2012-2013 .



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  Member of Ethnic Studies Committee for American Studies Association . Elected to 2
  year term, Fall 2011-2013 .

  External Reviewer, Program Review of American Studies Department, Amherst College,
  Spring 2012.

  At-Large Member of Society of Anthropologists of North America. Elected to 2-year
  term, November 2006-2008.

  LASA (Latin American Studies Association), member of Latina/o Studies Section Book
  Award Committee, 2008.

  ALLA (Association of Latina/Latino Anthropologists), member of Book Awards
  Committee, 2006-2007.

  SANA (Society of Anthropologists of North America), Chair of Book Awards
  Committee, 2006-2007.

  Invited External Reviewer of faculty development grants for the PSC-CUNY
  (Professional Staff Congress-City University of New York), January 2006

  Manuscript Review for University of California Press, Oxford University Press, and
  University Press of New England

  Manuscript review for scholarly journals American Ethnologist, Latino Studies,
  CENTRO: Journal of the Center for Puerto Rican Studies, Ciencias Sociales (University
  of Puerto Rico, Rio Piedras), 2001-present.

  Appointment to Hunter College Committee for the Protection of Human Subjects from
  Research Risks, 2002-2003 .

  Consultant:
  Expert Witness/Mitigation Consultant for Federal Public Defender’s Office, Central District of
  California, October-August 2009-2010 .

  Media Appearances and Interviews:
  Interviewed for and quoted in article, “ In Chicago schools' Junior ROTC programs, some
  see a troubling trend,” Chicago Reporter, January 7, 2014 .

  Featured in article, “Rewriting Humboldt Park story,” Chicago Tribune , January 18, B3,
  2005 .

  Featured in article “Una mirada a la comunidad boricua,” La Raza (Chicago), January 19,
  2005 .



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  Interviewed by and provided background information for reporter for the Lorain Morning
  Journal about sterilization campaign in Puerto Rico, Fall 2005 .

  Puerto Rico Herald, quoted in article “ In Puerto Rico, soldiers prepare to prove mettle,”
  February 16, 2003 .

  The Hartford Courant, quoted in article “Puerto Ricans eager to serve,” February 17, Al ,
  2003 .

  National Public Radio affiliate in Chicago, WBEZ, radio interview about the history of
  Chicago’ s Puerto Rican community, June 21, 2002.

  Hispanic Link Weekly Report, quoted in article about Puerto Rican politics, economics,
  and migration, January 7, 2002.

  New York Times letter to the editor, response to Op-Ed piece on Latinos, race, and 2000
  census, co-written with Miriam Jimenez Roman and Carlos Vargas, May 15, 2001.

                                                                                15 July 2015




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                      DECLARACION JIIRADO DE JOSE DE LA CRUZ


          Yo, Jose cle la Cruz, digo y declare lo siguiente:

             1, Mi nornbre es Jose de la Cruz, Yo nacl en Boba, en la Republica
                 Dominicana el                               Tenge dneuenta y Ires anos de
                 edad.
             2. Obel Cruz Garda es mi sobrino. Su padre, Valerio De La Cruz
                 Santos, es mi hermano, Nosotros tenemos una tarn ilia bien grande.
                 Nmestro padre tuvo rnuchas relaciones romanticas con diferentes
                 mujeres y tiene muchos hijos, Yo creo que tenge veinte y dos
                 hennanos y hermanas al resultado de las rnuchas relaciones que tuvo
                 mi padre, el ahuelo de Obel , Yo mismo tenge echo hijos con cuatro
                 diferentes mujeres, En nuestra fern in a, los hombres tienes familias
                 grandes,
             3. Yo vivo en San Juan, Puerto Rico, donde trabajo labor manual , Yo
                 trabajo de jardinero y tambien arreglo techos de casas para        genie,

                 pinto casas de gente, y mantengo los jardines de gente. Me gusta
                 trabajar duro y tengo buena salud,
             4. Yo recuerdo Obel muy claramente de cuando era nino, En ese tiempo
                 yo tpdavia vivia junto con mis padres (los abuelos de Obel) en la
                 Republica Dominicana en Boba. Valerio mudo alii con Obel y con su
                 otro hijo Joel , Otros de los ties y lias de Obel tambien vivieron juntos
                 con nosotros en el pueblo. Esto era despues de que el padre y madre
                 de Obel se separaron . Yo pensaba que eran una familia feliz. Yo no se
                 porque se separaron los padres de Obel, pero yo creo que una de las
                 causas de la separacion fee que mi hermano se metio en el ejercito y

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                    tenia que viajar mucho para el trabajo. Por de mas, ml hermano se fue
                    a estudiar medicina, y yo creo que todo el tiempo que mantenia mi
                    hermano separado de su familia cause estres para todos en la familia.
             s La agricultura era el negotio de nuestro familia. Nuestra familia
             V* A




                    aprendio a vivir de la tierra. Pudimos vivir de la tierra porque mis
                    padres eran duefios de una grande pore-ion de tierra , Nosotros
                    sembramos y cosechabamos para comer y para vender, Nosotros
                    tambien pesc&bamos . Nosotros pescabamos por machos diferentes
                                   .
                    fipos de peces Vendiamos lo que no queriamos y atreves de estos
                    negocios, ganabamos bien dinero. Nosotros fitimos bendecidos eon
                                                .




                    nuestros fin.anzas y si queriamos pudriamos sacar una presta de dinero
                    del banco.
             6. Yo creo que yo era el tio favorito de Obel. Dondequiera que yo iba,
                    Obel me seguia, Abeces, recogiamos mangos juntos o trabajabamos
                    juntos en los campos de arroz. Cada vez que yo me volieaha, alii
                    estaha Obel trabajando conmigo, Obel era un nirio trabajador pero
                    tambien era relajado, El liacla sus tareas y era responsable.
             7. En nuestra familia, Obel tenia la reputation de ser una persona que
                    estaha dispuesta a ayudar a cualquier que necesitaba ayuda. Este es el
                    Obel que yo conoti. La familia nos juntabamos y compartiamos
                    historias . Algunas de las historias se trataban de Obel. For ejemplo,
                    Obel pescaba con su padre. Abeces Obel y su padre se metian en
                    problemas en el barca que tertian para pescar. El padre de Obel nos
                    conto de una ocasion cuando el y Obel estaban pescando y el barco
                    volco. El padre de Obel se cayo en la agua. En vez de estar asustado,
                    Obel inmediatamente se metio en la agua para rescatar a su padre.


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                 .
             8 En otra ocasion, el padre de Obel se cayd en la agua despues de que m
                     entrapo en la red de pescar. Y Obel lo reseato otra vez, Todo la
                     familia sabtamos de estas historias de Obel y estabamos muy
                     orgullosos de el .
                9. Yo reetierdo que Joel y Obel foeron a la eseuela euando vivian en
                     Boba. Elios siguieron haciendo sus tareas en la easa y Obel era uu
                     bners trabajador.
                10.Yo estaba bien sorprendido y melesto despuds de aprender del caso de
                     Obel en Houston y despues de aprender de su situaeion, Nadie de su
                     equipo de defensa me eontaetaron antes del juieio de Obel. Si alguien
                     me hubiera contactado, yo les hubiera dicho del Obel que yo conod,
                     el nine que siempre querfa estar pescando o jugando en los campos de
                     arroz. Si me hubieron preguntado a testificar, yo les dirt a de las veces
                     que Obel salvo la vida de su papa, aun euando era nifto.
                                                                .                                .




                11.Yo he leido y revisado esta declaraeidn jurada de \3                               paglnas.

          Yo declare bajo pena de perjurlo y bajo las leyes del estado de Texas, que lo
          anterior es verdadero y correeto segun mi mejor eonocimiento y que este
          declaraeidn jurado fue ejecutado el 1*5 de Marzo, 2015 en

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                                                                                                     Jose de la Cruz


          Subscribed and sworn to before me on March                    IS                  s   2015.

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                         CERTIFICATION OF SARAH VALENZUELA

        I, Sarah Valenzuela, state and declare as follows:

            1. My name is Sarah Valenzuela. I currently live in Austin, Texas. lam
                                                                                .




                 fluent in both English and Spanish.
            2 , I am a native Spanish speaker, born In El Paso, Texas. Spanish was my
                 first language, and I speak Spanish regularly with several family
                 members, I also took formal Spanish classes for native speakers during
                 high school , I am able to speak, read, and write in Spanish proficiently,
            3. I am currently a third-year law student at the University of Texas School
                 of Law. I expect to receive my Juris Doctor (J.D.) degree in May of
                 2015. In September of 2015, I will begin a one-year clerkship with the
                 Honorable Philip R , Martinez, a federal district judge in El Paso, Texas,
            4. In January of 2015, I began a law-student clerkship with the Office of
                 Capital Writs (“OCW”) - In March 2015, I was asked by the OCW to
                 translate several English-language affidavits into Spanish ,
            5 The attached notarized affidavit signed by Jose de la Cruz is the
             «




                 Spanish- language affidavit I translated from an English-language
                 affidavit   provided    to me     by the OCW. The English -language
                 version of the affidavit is also here attached ,




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            6. I declare under penalty of   perjury   under the laws of the State of Texas
                that the signed document is a true and correct translation of the
                        -
                English language text that I originally received.


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                                                               x>'


                                                             Sarah Valenzuela




        Subscribed and sworn to before me on                         2015



        Notary Public




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                             AFFIDAVIT OF JOSE DE LA CRUZ


      I, Jose de la Cruz, declare and state as follows:


          1 . My name is Jose de la Cruz .       I was bom in Boba, in the Dominican
             Republic, on August 29, 1961. I am currently fifty-three years old .
          2 . Obel Cmz Garcia is my nephew. His father, Valerio De La Cmz Santos, is
             my brother . We come from a very large family. Our father had many
             romantic partners and had many other children . I think I have about twenty-
             two brothers and sisters as a result of my father’s—Obel’s grandfather’s—
             several relationships . I, myself, have eight children with four different
             women . In our family, the men all tend to have large families.
          3 . I currently live in San Juan, Puerto Rico, where I work manual labor . I work
             as a gardener and I also work fixing people’s roofs, painting their houses,
             and taking care of their gardens. I like working hard and I am in good
             health .
          4 . I remember Obel very well from when he was a child . I was living in the
             Dominican Republic back then, with my parents (Obel’s grandparents) in
             Boba. Valerio moved there with Obel and his other son Joel . There were
             several other of Obel’s uncles and aunts that lived with us in the village too .
             This was after Valerio and Obel’s mother separated . From what I knew of
             their family life, they were a happy family . I do not know why Obel’s
             parents separated, but I think it had to do with my brother being in the
             military and traveling a lot for work . Also, my brother went off to study
             medicine, and I think all of that time away was stressful on their family.
          5 . Agriculture was our family business. Our family farmed and lived off the
             land . My parents owned a good amount of land that we could all live off of .

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             We would gather and grow food to eat and to sell . We also fished . We
             would fish for all sorts of different fish . We would sell what we did not
             want and we would make a good amount of money . We did well enough
             financially and could get loans from the bank if we needed . We were
             fortunate .
          6 . I think I was Obel’s favorite uncle . Anywhere I would go, Obel would
             follow.       Sometimes we would pick mangos together, or work in the rice
             fields. Any time I would turn around, there was Obel, working with me .
             Obel was a very hardworking, but laid back kid . He would do his chores
             and was responsible .
          7 . In our family, Obel had the reputation of being the person who would help
             you if you needed help. This was the Obel I knew. The family would have
             family stories that we would sit around and share with each other, and some
             were about Obel . For example, Obel would often go out fishing with his
             father . Sometimes Obel and his father would get into trouble on the fishing
             boat . One time Valerio and Obel were out fishing, and the boat capsized .
             Obel’s father fell into the water . Instead of being scared, Obel immediately
             jumped into the water and rescued his father .
          8. On another trip, ObeFs father accidentally fell into the water after getting
             caught in the fishing netting. Again, Obel rescued his father . All of the
             family knew these stories about Obel and were very proud of him .
          9 . I remember both Joel and Obel went to school when we were in Boba. They
             continued to do their chores at the house and Obel was a very good worker .
          10.1 was very surprised and upset to hear about ObeFs case in Houston and to
             learn of his current situation . No one from his defense team contacted me
             before the case went to trial . If someone had contacted me, I would have
             told them about the Obel that I knew, the child who always wanted to be

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             fishing or playing in the rice fields. If I had been asked to testify, I would
             have told the jury about the times that Obel saved his father’s life, even
             though Obel was only a boy .
          11.1 have read and reviewed this          page affidavit .

      I declare under penalty of perjury under the laws of the State of Texas that the
      foregoing is true and correct to the best of my knowledge and that this affidavit
      was executed on                   of March, 2015, in


                                                                            Jose de la Cruz
      Subscribed and sworn to before me on March          , 2015 .




      Notary Public, State of Texas




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                 EXHIBIT 43




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            DECLARACION JURADO DE MENAGEN VALERIO DE LA CRUZ

          Yo, Menagen Valerio de la Cruz, digo y declare) k? siguiente:


             1.) Mi nomhre es Menagen Valerio de la Cruz, y nad el.
                      en Nagua en la Republica Dommieana. Me eriaron mi madre           ?


                 Dorcas Noelm De La Cruz Faria y mi padre, Valerio Julian de la Cruz
                 Santos. For el kdo di mi padre tengo tres media hermanas: Natalia,
                 Noemi, y Ani; y dos medics hermanos: Joel y Obel, Mi hennana, Yeni ,
                 y vo tenemos la misma madre.
             2.) Yo he vivido en Bella Vista, una comunidad de Nagua por cast todo mi
                 vida, Yo cumpli an aho de prepamtoria y utt ado de umversidad aqui,
                 Cuando tenia 16, yo me mode a Puerto Rico para estar eon mis
                 hermanos Joel y Obel. Obel apenas faafeia cumplido ireinta anos en es
                 tiempo. Yo vivi en Puerto Rico por tres anos.
             3.) Obel tenia diez y   sets anos cuando yo nad. Yo tengo memorias
                 maravillosas de el de cuando yo era nmo. El asumio el papei de nuestro
                 euidador y siempre se comporto muy carihoso conmigo y con mis
                 hermanos. Mis reeoleeciones mas tempraneras de Obel probabiemente
                 son el tiempo que pasamos juntos peseando. El le encantaba a pescar y
                 pasdbamos un gran tiempo juntos en el mar. De todos mis hermanos,
                 yo ereo que yo era el mas allegado a Obel.
             4.) Yo no ptiedo ereer que Obel hico ninguna de las cosas por las cuaies
                 esta haciendo acusado. Rectierdo que el era bleu generoso y carihoso.
                 En 1997 bubo un terrible aecidente automovilistico donde un ea.ro
                                                                             .




                 impact© a un. nifte chico. Obel se encontraba a lugar del aecidente y
                 mientras que todos estafoan en estado de conmocion, Obel rapidamente
                                            s'* .




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                 se movilizo y tom© a el aifio en sus brazos para llevarlo a recibir
                 a tendon medica. La genta aqui incluyendo otros miembros de la
                 Jamil ia, ohservaron a Obel en aeclon y la gente lodavia dicen que era
                 Obel que salvo la vlda de el nine,
              5 . ) Yo dud© much© que halla alguien aquf en Nagua que puede deck que
                 el se port© mal con ellos. Obel no era esa tip© de persona. He pasado
                 suficiente liempo alrededor de el que tengo la plena confianza de que
                 el no esta fingiendo—yo creo que su felicidad y su naturaleza amorosa
                 son gemiinas. Si alguien estaba mala, el les daba dinero para que faeran
                 a el doctor o a ©btener medidna. El era alguien que ayudaha a la
                            .
                 comimidad El donaba dinero para ayudar con la constmccion de la   .




                 iglesla local Todos aqul lo amao y respectan.
              6.) Yo no he fenido la opoituoldad de bablar eon Obel desde que cuando
                 iue arrestado en IDS Esiados Unidos. Yo lo am© y extrano much©. E!
                 equip© de la defensa de Obel me contactaron antes de su juicio, pero
                 mny brevemente. Solamente me preguntaron un par de preguntas. Si
                 me hubieron dejado, yo bubiera querido testificar. Yo bubiera querido
                 deckle al jurado que Obel era un hermano maravillos© y que tod© su
                 familia lo ama. Yo bubiera dicbo a el jurado que la liuica manera en
                 cual yo pudiera creer qua Obel fue culpable de las ofensas por cuales
                 esta condenado en Houston, serla si Dios mismo me apareeia y me dlria
                 que Obel es culpable.




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              7.) Yo he leido y revisado esta deelaraeion de
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                                                                                                                             pagmas.


           Yo declare bajo pena de perjurio y bajo las leyes del estado de Texas, qtie lo
           anterior es verdadero y correcto segno nil mejor eonoelnilento y cpe este
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                                                                                                                  Meiiagen Valerio de la Cruz




           Siikscr4 bpd and sworn to before me on March \§? 2015.
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           Notary' Public, Stale of Texas



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                       CERTIFICATION OF SARAH VALENZUELA
                                           '




        I, Sarah Valenzuela , state and declare as follows:

            1. My name is Sarah Valenzuela , I .currently live in Austin, Texas. I am
                fluent in both English and Spanish   ,



            2. I am a native Spanish speaker, bom in El Paso, Texas, Spanish was my
                first language, and I speak Spanish regularly with several family
                members, I also took formal Spanish classes for native speakers during
                high school , I am able to speak, read, and write in Spanish proficiently.
            3. I am currently a third -year law student at the University of Texas School
                of Law, I expect to receive my Juris Doctor (J.D.) degree in May of
                2015, In September of 2015, I will begin a one-year clerkship with the
                Honorable Philip R. Martinez, a federal district judge in El Paso, Texas.
            4. In January of 2015, I began a law-student clerkship with the Office of
                Capital Writs (“OCW”) - In March 2015, I was asked by the OCW to
                translate several English-language affidavits into Spanish ,
            5. The attached notarized affidavit signed by Menagen Valerio de
                la Cruz is the Spanish- language affidavit I translated from an        ,




                English-language affidavit provided       to me by the OCW. The
                English-language version of the affidavit is also here attached.




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            6. I declare under penalty of perjury under the laws of the State of Texas
                that the signed document is a true and correct translation of the
                English-language text that I originally received.



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                                                             Sarah Valenzuela




        Subscribed and sworn to before me on                    2015



        Notary Publi c, State of Texas




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                      AFFIDAVIT OF MENAGEN VALERIO DE LA CRUZ

      I, Menagen Valerio de la Cruz, state and declare as follows:
          1) My name is Menagen Valerio de la Cruz, and I was bom on September 21,
             1983, in Nagua, the Dominican Republic .           I was raised by my mother,
             Dorcas Noelia De La Cruz Fana, and my father, Valerio Julian de la Cmz

             Santos. On my father’s side I have three half-sisters: Natalia, Naomi, and

             Ani; and two half-brothers: Joel and Obel . My sister, Yeni, and I share the
             same mother .
          2) I have lived in Bella Vista, a community of Nagua, almost my entire life . I
             completed high school and one year of university here . When I was sixteen,
             I moved to Puerto Rico to be with my brothers, Joel and Obel . Obel had just
             turned thirty years old at that time . I lived in Puerto Rico for three years.
          3) Obel was sixteen years old when I was bom . I have wonderful memories of
             him from my childhood . He acted as a caretaker and was very loving to my
             siblings and me . My earliest memories of Obel are probably of us fishing
             together . He loved to fish, and we would have a great time together out on
             the ocean   ,   I think I was probably closest with Obel, out of all of my
             brothers.

          4) I can ’t believe that Obel did any of the things that he has been accused of . I

             remember him as always being so loving and generous. In 1997, there was a
             horrible car accident, where a car hit a small child . Obel was there, and
             while everyone else was still in shock, Obel jumped into action . He ran to
             the child, picked him up, and carried him to get medical help. People around
             here, including some of our family members, saw Obel in action and people

             still say that it was Obel who saved that child’s life .

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          5) I doubt that there is anyone here in Nagua who would say that Obel was ever
             rude or mean to them . Obel just was not that sort of person . I have been

             around him enough that I am confident that he is not putting on an act I   —
             believe his happiness and loving nature is genuine . If someone were sick, he
             would give them money to go to a doctor or get medicine . He was someone
             who helped the community. He donated money to help build the local
             church . Everyone here loves and respects him .
          6) I have not had the opportunity to speak with Obel since he has been arrested

             in the United States. I love and miss him very much . Before Obel ’s trial,

             someone from the defense team called and briefly spoke to me on the
             telephone . They only asked me a couple of questions. If they would have let
             me, I would have wanted to testify. I would have wanted to tell the jury that
             Obel was a wonderful brother and that his whole family loves him . I would
             have told the jury that not unless God himself appeared to me, and told me
             that Obel was guilty, would I believe that Obel committed the crimes he has
             been accused of in Houston .




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          7) I have read and reviewed this          page affidavit .


          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed on               of March, 2015 in


                                              Menagen Valerio de la Cruz

       Subscribed and sworn to before me on                  , 2015 .


      Notary Public, State of Texas




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              DECLARATION JURADO DE VALERIO JULIAN DE LA CRUZ
                                 SANTOS

          Yo, Valerio Julian de la Cruz Santos, digo y declare lo siguiente:

             1. Mi nombre es Valerio Julian de la Cruz Santos. Yo soy el padre de
                 Obel Cruz-Garcia.
             2. Yonaclel                                                       en el pueblo de Roba en la Republics
                 Dominicans. Yo tengo ima familia Men grande. Mi padre tuvo veinte
                 y cuatro nines con tres diferentes mujeres, Aquq en la Republics
                 Dominicans, no es raro que hombres tienen famllias muy grandes y que
                 tienen hijos con mas de ima mujer.
             3. Yo creel en un campo llamado Boba en la Republica Dominicans,
                 Creel eon ml padre Regino de la Cruz Martinez. Nosotros teniamos un
                                                        .




                 granja y bseas y nosotros                      trabafabamos los c&mpos para ganamos la
                 vida. Tambieo sembrabamos arrox. Nosotros vivimos de la tierra,
             4. Mi madre, Ramona Santos, estaba casada con un hombre llamado
                 Enrique de la Cruz, un hombre que no era mi padre. Yo estaba Men
                 allegado a mi madre y mas despues vivl con eiia y mi padrastro cuando
                 Obel era nifto.
             5. Cuando tenia quince anos de edad, yo deje de It a la escuela y me fbi a
                 trabajar como un manejador de exeavadoras con algunos de mis
                 bermanos. Cuando tenia veinte y dos anos de edad, me met!a el ejercito
                 de el. Republica Dominicana, a la marina de guerra, donde estudie
                 medieina. Me entrenaron para trabajar como para.medi.co. Cuando
                 despiies tenia problemas eon mis pulmones, yo me sal! del ejercito y
                       .




                 me fui a trabajar como un paramedieo civil



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             6, La madre de Obei se llamaha Dahlia, Ella y yo nos conocimos en 1957.
                 Yo tenia veinte y tres anos y estaba trabajando en una clfnica medica
                 del vecindario eetca de donde ella vhha Elk tenia catorce anos de edad
                                                            >



                 en ese tiernpo, Nosotros tuvimos cuatro ninos juntos: Noemi, Obel,
                 Natalia, y Joel, Dhalia tenia como diez y nueve anos cuando naeio
                 Obel Yo era. el unico que proveia para mi familia, trabajando como
                 paramedico. Dahlia se quedaba en la casa y cuidaba de los ninos.
                 Nosotros teoiamos          una rekcion Men amanle y estabamos bien
                 contentos. Nosotros viyimos en         una casa que yo construye on Santo
                 Domingo en la Republics Dominieana.
             7, En 1975, cuando Obel tenia como 15 anos de edad, Dahlia y yo nos
                 separamos. Yo me habla herido en un accidente autoxnovllistico.
                 Cuando la accidente ocurrid, yo estaba parade en el iado de la call ©
                 enseguida de no earro que estaba estaeionado cuando un Cairo impact©
                 a mi v el earro v el accidente me causo mueho dano, Yo estaba en el
                 hospital por dos meses. Durante este tiempo, una de las bermanas de
                 Dahlia la convenclo que yo no iba a poder proveer para su familia. Ella
                 convendo a Dahlia que ella se necesitaba que regresar a Venezuela
                 donde estaba su familia. Bsto me dolio nmcho y por esta razon nos
                 separamos.
             8, Yo mudc a Boba con mxestros cuatro hijos. Nosotros vivimos eerca de
                 mi madre y mi padrastro, y ellos mi ayudaron crecer a mis ninos.
                 Durante este tiempo, Obel me ayudo mueho. El era un trabajador
                 bueno, y una persona maraviliosa, El tenia muchos amigos buenos y el
                 mantenia relaciones buenas con ellos. El era responsabie y tenia un
                 perm que cuidaba y le puso Tesoro de nombre. Habia ocasiones cuando
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                 Obel me dijo que extranaba a six madre, pero yo creo que el estaba bien
                 despues de nuestra separaeion.
             9. Obel era valiente y faerie come joven               El me ayudaba pesear, y
                 vemamos los peces y agarrabamos, Nosotros pescabamos por todo lo
                 que podiamos capturar, hasta peseabamos por tihiirones y por peseados
                 locales llamados sabalo       <   Yo me recuerdo de una oeasion cxxando
                 estabamos pescando y las aguas estaban bien formerstosas, El barco se
                                                                .




                 yolteo y yo me quede atrapado de bajo de ella.       Aunque Obel nomas era
                 nifio, tenia com® 17 afios el se metid en las aguas y me reseato.
             1 (XCuando Obel tenia diez y nueve aims , el se mudo a Puerto Rico, Yo
                 estaba triste que se foe, Nosotros tiivimos ana relaeidn may buena, y
                 aim   despues de que se mudo, hablabamos por telefono cast todos los
                 dfas, Estaba diflcil para mi euando se foe, pero mueha genta se estaban
                 mndando del Republiea Dominleana a Puerto Rico. Todos entendian
                 que si te fueras alii, pudrias obtener la documentaeion propia para vivir
                                                                                         -




                 en los Estados Unidos, Le dije a Obel que le extrafiaba, pero que habia
                 lugares donde el se podrla ir para vivir           ima   vida mejor de la que
                 estabamos vivlend© en la Republiea Dominicana. Aunque estabamos
                 eontentos, tenlamos may poeo.
             1 L Obel viajaba a la Republiea Dominicana regulamxente y ultimamente
                 mudo pars atras. Como adalto, la gente conocla y amaban a Obel, El
                 era on gran hombre. El slgiiio siendo una persona que trabajaba duro>
                 ima   persona respetuoso, y una persona que ayudaba a todos. El dark
                 el dinero de su bolsa a los que estaban en neeesidad. Tambien era bien
                 religioso y asistio a la iglesla regnlamiente,
             12.Y® estoy teniendo un tiempo bien diffcil porque no puedo hallar una
                 manera de tratar eon la crimen por cual Obel foe condenado, Yo

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                          verdaderamente estoy batallando coo .estoporqne este no es el Obel que
                          yo eonozeo. Yo se que Obel foe arrestado antes y que foe encarcelad©
                          en Puerto Rico. Yo le visitaha y le Irak libras religiosos para que los
                          leera.             Hasta en la cared en Puerto Rico, Obel era el hombre
                          eonsiderado y religiose que yo conoda.
                 13.Yo me htibiera gustado venir a los Estados Unidos y testifscar para Obel
                      .




                          en sn juicio, pern el equipo de defensa rranea me pidid que foera dar
                          testimonio. Yo hubiera dieho al jurado como amabay respectaba a mi
                          hijo. Yo tambien hubiera dieho al jurado de la ocasion cuando Obel
                          amesgo su vida para salvar la mia. cuando salvo mi vida de las aguas
                          tormentosas durante ese tiempo que foimos pescando, Los jtirades
                          necesitaron saber que duro de trabajador era y como era una gran
                          persona.
                                                                                   •>%
                                                                                  "''"W
                 14 Yo he leido y revised© esta declaraclon de                        §
                                                                                                      pagmas


          Yo declare bajo pena de perjurio y bajo las leyes del estado de Texas, que lo
          anterior es verdadero y eorreeto seguu mi mejor conocimiento y que este
          deelaracidtijumdo foe ejeeistado el IS de Marzo, 21)15 m fodWYLfoiX



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                                                                      Valerio Julian de la Cruz Santos


          Subscribed and sworn to before me on March 1 K 2015.
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                              CERTIFICATION OF SARAH VALENZUELA
                                               '




         I, Sarah Valenzuela, state and declare as follows:

            1 . My name is Sarah Valenzuela 1        ,     currently   live in Austin , Texas . lam
                    fluent in both English and Spanish.
            2. I am a native Spanish speaker, born in El Paso, Texas. Spanish was my
                    first language, and I speak Spanish regularly with several family
                    members. I also took formal Spanish classes for native speakers during
                    high school. I am able to speak, read, and write in Spanish proficiently.
            3. I am currently a third-year law' student at the University of Texas School
                    of Law. I expect to receive my Juris Doctor (J.D.) degree in May of
                    2015. In September of 2015, I will begin a one-year clerkship with the
                    .


                    Honorable Philip R. Martinez, a federal district judge in El Paso, Texas.
            4 . In January of 2015, I began a law-student clerkship with the Office of
                    Capital Writs (“OCW” ), In March 2015, I was asked by the OCW to
                    translate several English -language affidavits into Spanish .
            S
                *       The attached notarized affidavit signed by Valero Julian de la Cruz
                    Santos is the Spanish- language affidavit I translated from an English        -
                    language affidavit    provided       to me by the OCW . The English-
                    language version of the affidavit is also here attached .




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            6. I declare under penalty of perjury under the laws of the State of Texas
                 that the signed document is a true and correct translation of the
                  English-language text that I originally received.



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                                                             Sarah Valenzuela




        Subscribed and sworn to before me on
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                 AFFIDAVIT OF VALERIO JULIAN DE LA CRUZ SANTOS

      I, Valerio Julian de la Cruz Santos, state and declare as follows:

          1 . My name is Valerio de la Cruz Santos. I am Obel Cruz-Garcia’s father .

          2 . I was bom on January 28, 1938, in the village of Boba in the Dominican
              Republic . I have a very large family . My father had twenty-four children
              with three different women . Here in the Dominican Republic, it is not
              unusual for men to have a large family and have children with more than
              one woman .
          3 . I grew up in a village called Boba in the Dominican Republic . I was raised
              by my father, Regino de a Cruz Martinez . We had a farm and cows, and we
              worked the fields for our living. We also grew rice . We lived off the land .
          4 . My mother, Ramona Santos, was married to a man named Enrique de la
              Cruz, a different man than my father . I was close to my mother, and later
              lived with my mother and my stepfather when Obel was a child .
          5 . When I was fifteen years old, I left school and went to work as a bulldozer
              driver with some of my brothers. At twenty-two, I joined the Dominican
              Republic military, the Navy, where I studied medicine . I was trained and
              worked as a paramedic . When I later developed lung problems, I left the
              military and went to work as a civilian paramedic .

          6 . Obel ’s mother was named Dahlia. She and I met in 1957 . I was twenty-

              three years old and working in a neighborhood medical clinic near where
              she lived . She was fourteen years old at the time . We had four children
              together : Noemi, Obel, Natalia, and Joel . Dahlia was about 10 years old
              when Obel was bom . I was the sole provider for the family, working as a
              paramedic . Dahlia would stay home and take care of the kids. We had a


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              very loving relationship and were very happy. We lived in a house that I
              built for us in Santo Domingo, Dominican Republic .
          7 . In 1975, when Obel was about 15 years old, Dahlia and I separated . I had
              been injured in a car accident . When the accident occurred, I was standing
              on the side of the road alongside a parked car, when another car hit us and
              hurt me pretty badly . I was in the hospital for two months. During this

              time, one of Dahlia’s sisters convinced her that I would no longer be able to

              work or take care of my family. She convinced Dahlia that she needed to
              leave me and go back to Venezuela where her family was. This hurt me
              very much and this is the reason we separated .
          8 . I moved to Boba with our four children . We lived near my mother and
              stepfather, and they helped me to raise my children . During this time, Obel
              was really helpful to me . He was a hard worker, and just a wonderful
              individual . He had several good friends that he kept good relationships
              with . He was responsible and even had a dog named Treasure that he took
              care of . There were occasions that Obel told me that he missed his mother,
              but I think he was alright after the separation .
          9 . Obel was brave and strong even as a youth . He would help me fish, which
              we would eat and sell . We would fish for anything we could catch,
              including sharks and a local fish called sabalo. I remember a time when we
              were out fishing and the waters were very rough . The boat turned over and
              I got trapped underneath . Even though Obel was just a kid, only about
              seventeen years old, he jumped in and saved me .
          10 . When Obel was nineteen, he moved to Puerto Rico. I was sad to have him
              leave . We had a great relationship, and even after he moved, we would
              speak on the phone almost every day . It was hard for me when he left, but a


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              lot of people were moving from the Dominican Republic to Puerto Rico . It
              was understood that if you went there, you would be able to get proper
              documentation that would allow you to live in the United States. I told Obel
              that I would miss him, but that there were places he could go to live a better
              life than we were living in the Dominican Republic . Even though we were
              happy, we had very little .
          11 . Obel would travel back to the Dominican Republic regularly, however, and
              eventually moved back . As an adult, people knew and loved Obel . He was
              a great man . He continued to be hard working, a respectful person, and a
              person that helped everyone . He would give you the money out of his
              pocket if you needed it . He also was very religious and regularly attended
              church .
          12.1 am having such a hard time finding a way to deal with the crime for which
              Obel was convicted . I really struggle with it, because this is not the Obel
              that I know. I know that Obel was arrested before and in jail in Puerto Rico.
              I would visit him and bring him religious books to read . Even in jail in
              Puerto Rico, Obel was still the thoughtful, religious man I knew him to be .

          13.1 would have been happy to come to the United States and testify on Obel’s

              behalf at his trial, but the defense team never asked me to testify. I would
              have told the jury how much I love and respect my son . I would have told
              the jury about the time that Obel risked his life to save mine, when he
              rescued me from the rough waters while we were fishing.           The jurors
              needed to know what a hard-worker and good person he is.
          14.1 have read and reviewed this           page affidavit .




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          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed on                of March, 2015 in




                                               Valerio Julian de la Cruz Santos




       Subscribed and sworn to before me on March          , 2015 .




      Notary Public, State of Texas




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      DECLARACION JU.RADO DE DOCTOR ALEJANDRO LEBRON
  Yo, Doctor Alejandro Lebron, digo y declare lo siguiente:

    1 . Mi nomhre es Alejandro Lebron. Yo soy un doctor de psicologla eltnica
       en San Juan, Puerto Rico. Yo he trabajado en esta area por
       aproximadamente cuarenta anos y he recibido mi licenciatura en
       psicologla de la Universidad Interamericana en 1971, mi maestria en
       psicologla de la Universidad de Puerto Rico en 1982, y mi doctorado en
       psicologla de la universidad de Carlos Albizu en 2007. Yo primero
       conoci a Obel Cruz-Garcia en 2006 o 2007 en el Rio Piedra carcel
       localizada en San Juan Puerto Rico. En ese tiempo, yo estaba
       trabajando en la carcel por cerca de tres anos, proveyendo servicios y
       asistencia para la salud mental de los presos que necesitaban o pidieron
       mi asistencia. Obel empezo a visitarme regularmente porque deseaba
       servicios psicologicos. Obel no foe obligado a visitarme por terapia; el
       tomo la decision de visitarme por terapia, nadie ordeno que me visitara.
       Yo creo que el estaba batallando con ansiedad y depresion, atribuido a
       su encarcelamiento,
    2. Yo recuerdo mis conversaciones con Obel muy claramente . Yo estaba
       bien impresionado por cuan inteiigente, anaiitico, y logico el era, Yo
       tuve la impresion que Obel era honesto. El era un firme creyente en
       Cristianismo y era versado en la biblia. El es la unica persona que yo
       he conocido que sabe la biblia mas bien que yo,
    3. Aiinque Obel empezo a visitarme para mejorar a su salud mental, yo
       tambien aprendia algo nuevo despues de cada conversacidn con el. Obel
       me ayudo a mirar y analizar a ia biblia mas cuidadosamente. De traves
       de Obel, yo tambien descubrf que yo podia usar religion como un


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         terreno comun para conectar con pacientes y ayudarles obtener         im

         mejor estado mental mientras que estaban encareelados,
    4 Durante me tiempo trabajando en la careel, yo eonod a muchos presos
     <




         que causaban problemas o que se portabau mal , Obel no era uno de
         ellos, Ei era considerado, honesto, y no un creador de problemas, Nunca
         se metio en problemas. Basado en mis experiencias con el, yo no tuve la
         impresion que Obel era un peligro a los demas en la carcel o que el
         pudna ser un peligro a la soeiedad fuera de la careel despues de salir de
         la careel. Yo ereo que Obel estaba viviendo en la poblacion general eon
         los demas presos en la carcel y no separado. Obel tambien estaba eerea
         de y tuvo interacciones con otros civiles, como doctores, trabajadores
         sociales, y otro personal de la carcel
    5. La primera vez que yo tuve conocimiento de la situacion en la cual
         Obel se encuentra ha sido cuando Adrian de la Rosa, el investigador
         trabajando con los abogados de Obel en Tejas me contact© en Marzo de
         2015. Yo no sabia de la situacion de Obel Yo si estaba consciente de la
         conviccion por secuestro que Obel redbio en Pue rto Rieo porque era la
         ofensa por cual estaba encarcelado. Pero yo nunca esperaba que el
         podria ser involucrado en este tipo de crimen, Yo creo que Obel era- y
                    —
         todavia es una buena persona.
    6. Aunque digamos que Obel estaba involucrado en la crimen por cual foe
         condenado en Tejas, yo no creo que el Obel que yo conoci muchos anos
         despues era la misma persona. Yo creo en redencion, y yo se, por mi
         proprio experiencia trabajando con presos que las personas si pueden
         cambiar.
    7. Nmgnnos de los abogados de Obel me ban contaetado antes de su juicio
         en 2013, Se me hubieran contaetado, yo les hubiera avudado lo mas


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        posible. Yo huhiera testificado, Si me hubieran preguntado a testificar,
X       yo hisbiera hablado de Obel todo lo que sabia de Puerto Rico: que el era
        on hombre ©spiritual , que creia que hacienda hecbos buenos y viviendo
        uiia     vida Cristiana eran las mas importantes cosas que pudrfa haeer,
     8. Yo he leido y revisado esta deelaracion jurada de 3 paginas.

    Yo declare bajo pena de perjurio y bajo las leyes del estado de Texas, que lo
    anterior es verdadero y correct© segun mi mejor conocimiento y que este
    deelaracion jurado fue ejecutado el         de Marzo, 2015 en S                       .To
                                                                                      I




                                                         1

                                                               Dr. Alejandro Lebron



    Subscribed and sworn to before me on March 13 2015.


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               CERTIFICATION OF SARAH VALENZUELA

 I, Sarah Valenzuela, state and declare as follows:

    1. My name is Sarah Valenzuela, I currently live in Austin , Texas. lam
        fluent in both English and Spanish.
    2. I am a native Spanish speaker, bom in El Paso, Texas. Spanish was my
       first language, and I speak Spanish regularly with several family
       members. I also took formal Spanish classes for native speakers during
       high school. I am able to speak, read, and write in Spanish proficiently,
    3. I am currently a third-year law student at the University of Texas School
       of Law. I expect to receive my Juris Doctor (J.D.) degree in May of
       2015. In September of 2015, I will begin a one-year clerkship with the
       Honorable Philip R. Martinez, a federal district judge in El Paso, Texas.
    4. In January of 2015, I began a law-student clerkship with the Office of
       Capital Writs (“OCW”). In March 2015, I was asked by the OCW to
       translate several English -language affidavits into Spanish.
    5. The    attached    notarized   affidavit   signed    by    Doctor Alejandro
       Lebron is the Spanish- language affidavit I translated from an English-
       language affidavit provided to me by the OCW. The English-
       language version of the affidavit is also here attached.




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    6, I declare under penalty of perjury under the laws of the State of Texas
       that the signed document is a true and correct translation of the
       English-language text that I originally received.



 Executed on                                                 ft}
                                                                            /
                                                        iH    im   ft   k




                                                      Sarah Valenzuela




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                                                  *
 Subscribed and sworn to before me on                   2015



 Notary Public,      ;e   of Texas

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               AFFIDAVIT OF DOCTOR ALEJANDRO LEBRON

I, Doctor Alejandro Lebron, state and declare as follows:

   1 . My name is Alejandro Lebron . I am a doctor of clinical psychology in San
      Juan, Puerto Rico. I have worked in this area for about forty years and
      received my degree in psychology from the Interamerican University in
      1971, my masters in psychology from the University of Puerto Rico in 1982,
      and my doctorate in psychology from Carlos Albizu University in 2007.1
      first met Obel Cruz -Garcia in 2006 or 2007 in the Rio Piedra jail located in
      San Juan, Puerto Rico. At that time, I was working at the prison for about
      three years, providing services and assistance for the mental health of
      prisoners who needed or asked for my assistance . Obel began to visit me
      regularly because he wanted psychological services. Obel was not forced to
      see me for therapy; He made the decision to visit me for therapy, no one
      ordered him to visit me . I think he was struggling with anxiety and
      depression, attributed to his imprisonment .
   2 . I remember my conversations with Obel very clearly . I was impressed by
      how intelligent, analytical, and logical he was. Obel also struck me as an
      honest person . He was a strong believer in Christianity and was well-versed
      in the Bible . In fact, he is probably the only person I have ever met who
      knew the Bible better than I did .
   3 . Although Obel began visiting with me to improve his overall mental health,
      I came away from each meeting feeling like I had learned something through
      our discussions, too . Obel helped me look at the Bible more closely myself
      and better analyze it . Through Obel, I also discovered that I could use
      religion as a common ground to connect with and help patients to achieve a
      better mental state while in the jail .

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   4 . During my time working at the jail, I knew many prisoners who would cause
      trouble or misbehave . Obel was not one of them . He was thoughtful,
      honest, and not a troublemaker . I did not know of him ever getting into
      trouble . He did not get involved in problems. Based on my experiences
      with him, I did not have the impression that Obel was a danger to others in
      the jail or that he would be a danger to society after being released from
      prison . I believe Obel was living in the general population of the prison,
      with the other inmates and he was not separated . Obel was also around and
      interacted with other civilians, such as doctors, social workers, and other jail
      staff .
   5 . The first time I heard about ObeTs current situation was when I was
      contacted in March 2015 by Adrian de la Rosa, the investigator working
      with Obel’s post-conviction attorneys in Texas. I had not heard about
      Obel’s current situation . I was aware of the kidnapping conviction Obel had
      received in Puerto Rico, as that was the reason he was in jail . I would not
      have expected him to have been involved in this sort of crime . I believe that
      Obel was—and is—a good person .
   6 . Even if Obel was involved in the crime he has been convicted of in Texas, I
      do not believe that the Obel I knew, many years later, was the same
      individual . I believe in redemption, and I know from my experience
      working with prisoners that people can change .
   7 . None of Obel’s lawyers contacted me before his trial in 2013 . If they had, I
      would have helped as much as I could . I would have testified . If I had been
      asked to testify, I would have talked about the Obel that I knew in Puerto
      Rico: a deeply spiritual man, who believed that doing good work and living
      a good Christian life was the most important thing he could do.
   8. I have read and reviewed this        page affidavit .
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I declare under penalty of perjury under the laws of the State of Texas that the
foregoing is true and correct to the best of my knowledge and that this affidavit
was executed on                  of March, 2015, in




                                                               Dr . Alejandro Lebron



Subscribed and sworn to before me on March       , 2015 .




Notary Public, State of Texas




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                 EXHIBIT 46




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                                                      L .S. Department of Justice
                                                        '




                                                      Immigration and Naturalization Service
                                                      San Juan District




                                                                 Royal Batik Center Bldg.
                                                                             '




                                                                255 Bonce dc Leon Avenue
                                                                 iiato Rey , Puerto Rico 00918




            DATE                            March 10, 2000

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            MEMORANDUM FOR :
                                            Supervisory Special Agent
                                            San Juan. Puerto Rico

            FROM
                                     Special Agent
                                     Anti Smuggling Unit

            SUBJECT                        Proo f of aliens Prosecuted as a result Cl cooperation


i
                    As per your request l am submitt ing a list with case number of aliens prosecuted as a result of
                                                                                            -
            the assistance rendered by confidential informant Obel Julian CRUZ Garcia (A 28 448 457).
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                                                           Special Agent
                                                         Anti-Smuggling Unit




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                              Racial Disparity in the Case of Duane Edward Buck

                                                   Prepared by ;
                                                  Ray Paternoster
                                               University of Maryland

                                       With the assistance of Scott Phillips 1
                                              University of Denver


     My name is Raymond Paternoster.              I am a Professor for the Institute of Criminal Justice and
Criminology at the University of Maryland . I hold a Ph .D. in Criminology from Florida State University
and a M.S. in Criminal Justice from Southern Illinois University .                I have published more than one
hundred papers in journals, proceedings, and as book chapters. I have received twelve grants or contracts
for my work, including the Office of the Governor of Maryland granting $225,000 for my work
conducting “ An Empirical Examination of the Administration of the Death Penalty in Maryland .                          11
                                                                                                                             A
detailed listing of my educational background and publications is attached as Exhibit 1 .
     My fields of expertise are capital punishment, criminological theory, quantitative methods, and
offender decision making . My research has been published in leading academic journals including several
publications in both the Journal of Law and Criminology? and the Law and Society Review . I also serve
on the Editorial Board of the Journal of Quantitative Criminology and serve as a Consulting Editor to the
Journal of Contemporary Criminal Justice . As a member of the editorial board , I critically evaluate
academic research papers annually that contain hundreds of studies collectively ,                        The criteria for
evaluation include an assessment of the contribution of the paper, the soundness of the conceptual ideas,
as well as the appropriateness of the survey or experimental methodology and the analysis techniques .
           I have served as an expert witness in approximately five cases in South Carolina, two in Georgia,

and two in Maryland . I have conducted similar quantitative studies about sentencing factors when

implementing the death penalty in South Carolina, Georgia, and Maryland . I have testified both before

the Maryland Assembly and the Legislative Commission on Capital Punishment.

           I was asked by the NAACP Legal Defense & Educational Fund , Inc . and Texas Defender Service,

who are counsel for Duane Edward Buck , to examine the influence of the defendant’ s race in Mr . Buck ’s


 The data analyzed here were collected by Dr . Scott Phillips and generously provided to Dr. Paternoster by Dr .
Phillips. Dr. Phillips is the Director of the Socio- Legal Program and the Chair of the Department of Sociology and
Criminology at the University of Denver . Dr . Phillips received his B . A . in History from Texas Christian University ,
his M .A. in Sociology from Louisiana State University , and his Ph . D. in Sociology from the University of Georgia .

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Harris County, Texas capital murder case . To do so, I examined data on 504 adult defendants indicted for

capital murder in that county from 1992 to 1999. The data were originally collected by Professor Scott
                                   '




Phillips and descriptions of the data sources can be found in Scott Phillips, Racial Disparities in the

Capital of Capital Punishment , 45 Hous. L. Rev. 807, 808 (Spring 2008). There were two decision points

in the capital punishment process that were captured by these data: ( 1 ) the district attorney’s decision to

advance a case to a penalty trial , and (2 ) the jury’s decision to impose a death sentence. Of the 504
                               *




defendants, the district attorney advanced the case to a penalty trial in 129 cases, of which 98 were

sentenced to death ." In general , the evidence suggests that the race of the defendant influenced the

disposition of the 504 cases in question ( Phillips 2008). But here I ask a more specific question: Did the

race of the defendant affect cases that were similar to the Duane Buck case? While I cannot know with

certainty whether the decisions made in Mr . Buck ’s particular case were influenced by his race ( Mr , Buck

is African-American ), I can examine whether the defendant’s race had an influence on similarly situated

cases.

           The question of identifying similar cases is a thorny one because it may not always be clear

exactly what factors may have led to decisions in a case. For example, did the district attorney advance

Mr . Buck ’s case to a penalty trial because there was more than one victim killed in the crime, because one

of the victims was a female, because at the time of his arrest Mr. Buck apparently showed no remorse,

because they happened to know one another, or for these and other reasons? I let the data answer this

question for us. I estimated what is known as a logistic regression equation with the district attorney’s

decision to advance a case to a penalty trial as the outcome variable . I included a host ( 21 ) of variables for

which I had data and which were expected to explain why a case was advanced to a penalty trial and

others were not. These "independent ” or “explanatory” variables included:

      1 . Defendant prior conviction for a violent offense

      2. Defendant prior conviction for a non - violent offense


^
 Of the remaining defendants, 29 were sentenced to life, 1 was sentenced to a period of confinement less than life,
and 1 defendant was acquitted.

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     3 . Victim was a female

     4. Victim was of a vulnerable age ( 16 and under or over 60 )

     5. Victim had prior conviction

     6. Type of Capital Murder: Burglary

     7 . Type of Capital Murder: Multiple Victims

     8 . Type of Capital Murder: Kidnaping

     9. Type of Capital Murder: Rape

     10. Type of Capital Murder: Remuneration

     11 . Type of Capital Murder: Child Victim

     12. Type of Capital Murder: Other3

     13 . Method of Murder: Victim was Beaten

     14. Method of Murder: Victim was Stabbed

     15 . Method of Murder: Victim was Asphyxiated 4

     16. Victim was white

     17 . Attorney was hired

     18 . Defendant was male

     19. Heinous Level 25

     20. Heinous Level 36


 Robbery was the reference category.

 Victim was shot was the reference category .

  The heinousness factor was based upon 12 aggravating ( ex : victim was tortured , victim suffered lingering death ,
victim pled for their life etc .) and 13 mitigating factors (ex: defendant showed remorse, victim provoked defendant ,
defendant had mental impairment, etc.). A scale of case heinousness was created by taking the difference between
the number of aggravating factors in a case and the number of mitigating factors. The scores were then
trichotomized into Level 1 Heinousness (bottom 25% of the rank-ordered distribution ), Level 2 Heinousness ( middle
50% of the distribution ) and Level 3 (top 25% of the distribution ). The heinous scale thus produces captures very
well the egregiousness of the case; the probability that a case was advanced to a penalty trial was . 14 at Level 1 , . 26
at Level 2, and .38 at Level 3. The corresponding probability for a death sentence being imposed was . 12 at Level 1 ,
.17 at Level 2 , and .35 at Level 3.

° Heinous Level 1        was the reference category .

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       21 . Multiple defendants indicted



           With this statistical model I estimated for each of the 504 cases what is known in the literature as

a propensity score. A propensity score is the estimated probability that a case will be advanced to a

penalty trial The distribution of propensity scores is shown in the figure along with the mean (average).

A propensity score of .45, for example, means that the estimated probability that the district attorney

would advance this case to a penalty' trial is . 45, or slightly less than half of the time. Different cases that

have similar or a comparable propensity score have comparable probabilities of being advanced to a

penalty trial , and the higher the propensity' score the more serious the case As expected , most of the                                             .
cases are found at the left end of the distribution , indicating that most cases have a low probability of                                                                      *




being advanced to a penalty trial because they are lower in seriousness. The mean estimated probability

that a case is advanced is /26 . The estimated propensity for Mr. Buck was .527 , well above the mean. This

reflects the fact that approximately one-half of cases like Mr . Buck’s are estimated to be advanced to a

penalty trial. The distribution of the estimated propensity score for the total sample of 504 cases is shown

in the following figure .



                                     Distribution of Propensity Scores for Probability
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                                                         Predicted probability



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                            In order to examine the role of race in cases similar to Mr . Buck ' s ! selected the next ten cases to

Mr . Buck 's that had a lower estimated propensity and the next ten that had a higher estimated propensity

for a total comparison of 21 cases . I selected all cases within the propensity range .450-.591 . Importantly ,

these cases had an average propensity of . 525, which is not that different from Mr Buck 's own estimated                                                                                                                      ,




propensity score of .527. The distribution of the propensity scores for these 21 cases is shown in the

following figure . To he absolutely clear, this group of 21 cases constitutes those cases among the 504                                                                                                   '




that are most similar to Mr, Buck 's in terms of the overall estimated likelihood that the case would be

advanced to a penalty trial . In this sense , these 20 cases can be considered comparable to Mr. Buck 's in

seriousness. Among this group of 21 comparable cases that include Mr . Buck 's, the district attorney

sought death in 62% of the cases (13/21 ) and death was imposed in 43% of the cases (9/21 ; and 69% of

the cases presented to them [9/13]). The question is whether the defendant 's race affected either the

decision to advance the case to a penalty trial or the decision to impose death among this group of cases

that were most comparable to Mr. Buck 's .
           ,




               10-
                             Propensity
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                                        Distribution of 20 Cases
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                                                                         to Duane Buck 's
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                                                             Predicted probability




7 .
  The names of these cases are listed in Appendix A.

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For the district attorney ’s decision to advance the case to a penalty trial the pertinent data are:



Race of Defendant                    Did Not Advance                  Advance

White                                .800 (4/5 )                      . 200 ( 1 / 5 )

Hispanic                             . 200 ( 1 /5 )                   .800 (4/5 )

African-American                     . 300 (3/10)                     . 700 ( 7/10 )

Asian                                .000 ( 0/ 1 )                    1.00 ( 1/ 1)

Total                                .381 (8/ 21 )                    . 619 (13 / 21 )




Note that the district attorney advanced 13 of these 21 cases to a penalty trial (a probability of .619) . This

probability, however, varies substantially by the race of the defendant. The probability that the district

attorney will advance a case to a penalty trial is more than three times as high when the defendant is

African-American than for white defendants (this includes Mr . Buck’s case). This disparity by race of the

defendant, moreover, cannot be attributed to observed case characteristics because these cases are those

that were most comparable in terms of the estimated propensity score .

           This racial disparity is only partially corrected at the jury sentencing stage :

Race of Defendant                    No Death                         Death Imposed

White                                .800 ( 4/ 5 )                    . 200 ( 1 /5 )

Hispanic                             .400 ( 2/ 5 )                    .600 ( 3/ 5 )

African -American                    .600 ( 6/ 10 )                   .400 ( 4/ 10)

Asian                                .000 ( 0/ 1 )

Total                                . 571 ( 12/ 21 )                 .429 (9/ 21 )

Ultimately, among this group of comparable cases a death sentence was twice as likely to be imposed on

an African American defendant as a white defendant .

           To examine how robust this finding was I extended my comparison to thirty cases in addition to

Mr . Buck ’s - the adjacent fifteen cases that had a lower propensity and the adjacent fifteen cases that had

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a higher propensity that Buck ’s , The mean propensity level for these 31 cases was . 517 ( with a median of

.527) which is very comparable to Mr. Buck ’s propensity score of .527. For these thirty one cases I then

examined the effect of the defendant’s race on the district attorney’s decision to advance a case to a

penalty hearing and the jury’s sentencing decision .

                          Advance to Penalty Hearing                        Impose Death

Race of Defendant

           White          .333 (2/6)                                        .333 ( 2/6 )

           Black          .688 (11/ 16)                                     .438 (7/16)

           Hispanic       .857 (6/7)                                        . 571 ( 4/7 )

           Asian          .   500 ( 1/2)                                    . 500 ( 1 / 2)

The Harris County district attorney advanced to a penalty trial only one out of every three cases within

this propensity range for a probability of .333 . The probability that the DA would advance a comparable
                                                                        7




case among defendants who were African-American was about twice as high (.688), and over two and

one-half times as high for Hispanic defendants ( . 857). This disparity is slightly reduced when the jury ’s

decision to sentence to death is examined . Among this group of comparable cases, the probability that a

jury would impose a death sentence was .33 in white defendant cases and increased to . 438 for black

defendants ( 1.3 times higher than for white defendants), and .571 for Hispanic defendants ( 1.7 times

higher than for white defendants).



CONCLUSION

           There is reason to believe that Duane Buck ' s race played a role in the decision to advance his

case to a penalty trial and impose a death sentence . There are two limitations to my analysis thus far .

First, it would be desirable to have information on the quality of evidence in the 504 cases that 1 have in

my data set currently . Information like this would include whether there was eyewitness testimony , DNA

or other physical evidence, whether the defendant confessed to the crime, if there were co-offenders that

cooperated with the prosecution and other such factors. The second and more important limitation is that I

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lack information on what previous literature has shown to he an important decision in the capital

punishment process - the decision of the local prosecutor to seek a death sentence ( Paternoster et . al ,

Justice by Geography and Race : The Administration of the Death Penalty in Maryland\ 1978-1991 , 4

MARGINS 1 (2004)). Not every potentially capital case is charged as a capital crime and prosecutors

have the discretion not to charge an offense as a capital crime even if the facts of the case could justify

such a charge . Previous research in other states has shown that the prosecutor 's charging decision is

where a great deal of racial disparity can be found , disparity which affects the processing of cases further

down the process. I have a list of all homicides committed in Harris County from 1992 to 2000 and would

like to collect information on cases from 1992 to 1998, a three year window before and after the year of

the Buck case ( 1995 ). The information would consist of all information collected in the original Phillips

study plus additional information about the quality of evidence in the case .




Raymond Paternoster


December 29, 2012




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Appendix A

Names of 21 Cases Deemed Comparable to Duane Buck ’s

Cases Not Advanced to a Penalty Trial
    1 . Anderson , Derrick
   2 . Clark, Bradley Shane
   3. Cloud , Donald Robin
   4. Collins, Dalton David
   5 . Gonzalez, Juan
   6 . McCray , Lee Roy
   7. Roy, John Dean
   8. Talerico, Andrew Benjamin



Cases Advanced to a Penalty Trial But Death Not Imposed
   9. Mackey, Donald Eugene
   10 . Nieves, Richard Lee
    IT Samuel, Lawrence
   12. Wingate, Jonathan Lee


Cases Advanced to a Penalty Trial and Death Imposed
   13 . Buck, Duane Edward
   14. Conner, Johnny Ray
   15. Davis, Brian
   16. Escobedo, Joel
   17 . Matamoros, Johnny Ray
   18. Reese, Raymond
   19 . Resendiz, Angel Maturino
   20. Tong, Chuong Duong
   21. Williams, Jeffrey Demond




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Former DA ran powerful death-penalty machine

                                                                                        July 24,
                                                                                        2007


https:// www.cbron.com /news/ houstQn-texas/ article / Former - DA -ran-pawerful- death-
penalty-machine -1833545,php
MR. LAW & ORDER
johnny Holmes says he' s proud of his record
Bv Allan Turner

Published 5:30 am CDT, Wednesday, July 25, 2007

Photo: LARRY REESE, CHRONICLE

johnny Holmes, who was Harris County' s district attorney for 21 years, bluntly rebuffs critics
who say his prosecutors were overzealous in seeking the death penalty.

KENNEY — When it came to law and order, there never was time to spare. And when johnny
Holmes, Harris County' s straight-arrow prosecutor, bolted from his bed well before dawn to
battle crime, he never harbored doubts about what should be done to miscreants who
preyed on society or where they should go.

Holmes spent 10 years rising through the ranks. After he became district attorney in
September 1979, he created one of the biggest, most powerful prosecutorial machines in
the nation. By his retirement 21 years later, Holmes’ staff had almost doubled to 230
lawyers and his budget had swelled to more than $32 million.

juries, moved by skillful, hard- nosed prosecution, sent thousands of criminals to Texas
prisons, more than 200 of them to death row. And the vast majority of the 100 killers who
have visited the death chamber courtesy of Harris County juries, including Lonnie iohnson
who was put to death Tuesday, were prosecuted by Holmes or his staff.

Holmes is proud of that record and bluntly rebuffs critics who charge that his prosecutors
were overzealous, especially in seeking the death penalty.

"That is what they are supposed to be    — zealous in seeking justice," he said.

Gentleman rancher
Holmes has lost little of his feisty self- confidence in the almost seven years he ' s been out of
office.
Still rising daily at 4 a .m., he habitually monitors his police band radio even though his
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retirement ranch home in Austin County normally is far from the scene of crimes. His
e - mail address bears the moniker " crimeflghter."

But at 67, Holmes admits he now is more concerned with fixing fences, reading clouds for
signs of rain and helping his wife, Diane, bottle- feed orphaned deer.

To Kenney residents, Harris County’ s rigidly righteous former district attorney simply is the
genial gentleman rancher with the outrageous mustache, Texas flag-patterned shirt and
knack for telling stories,

When he’ s in an expansive mood, Holmes can regale locals at the country store with yarns
from his days as a commercial pilot — he got his license at 14 — and the pride he took in
receiving a prize for becoming the "most improved " student in law school. He credits his late
father, lohn B, Holmes Sr., a Houston drilling contractor, with instilling in him a profound
respect for the law,

" I never wanted be a lawyer," Holmes, who holds a law degree from the University of
Houston, tells them. " I wanted to be a prosecutor."

in Houston, Holmes’ career has grown to mythic proportions. Lawyers swap tales of his
prodigious capacity for work and his single - mindedness in prosecuting criminals. His tough
on- crime legacy remains a controversial touchstone in debates of criminal justice policy.

" He ran the DA ’s office like Patton ran the Third Army." said U.S, Rep. Ted Poe, who worked
with, then for, Holmes as a prosecutor before becoming a state district judge. "They were
efficient and they were always moving forward.”

Poe said Holmes could   — and did — outwork anybody on the district attorney’ s staff.



Appointed to fill the unexpired term of former District Attorney Carol Vance . Holmes lost no
time in setting the tone of his administration. Within months of taking office, he fired a
young prosecutor accused of stealing a $12 gas cap for his car, Holmes called the episode
" regrettable." Later, when a relative was arrested for DWI, Holmes steadfastly declined to
intervene. Holmes himself religiously kept his speedometer at 55 mph.
Holmes boasts that he tried 44 felonies in the 182nd District court in one year more than
any prosecutor in any court in a 12-month period.

As district attorney, a largely administrative position, Holmes continued to argue capital
cases. He handled almost every case in which law enforcement officers were the victims, not
to mention high-profile cases such as that of Angel Maturino Resendiz. the rail-riding serial
killer thought to have slaughtered as many as 13 people. Resendiz was executed in June
2006.
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" Houston went through a period of time when there were violent armed robberies," Poe
said, alluding to Holmes' early years in office. " He had a police scanner and, in the middle of
the night, he would go to the scene of the crime."


Fiercely Independent
Former assistant district attorney George Secrest called Holmes "the antithesis of the typical
district attorney."
" He was a man of immense integrity," said Secrest, now a criminal defense lawyer. Though a
Republican, Holmes was fiercely independent, Secrest said. " Never before or since have we
seen such independence," he said, " He would pretty well told you to go to hell if you
deserved it."

Secrest, though, took sharp exception to the fervor with which Holmes- era prosecutors
pushed for the death penalty in capital cases.

" For him it was just a good way to get the SOBs off the street," Secrest said, "It ’ s a horrible
failed policy. ... For prosecutors, those cases are usually easy. Usually they have confessions.
By and large, they ' re playing to a sympathetic jury population. His legacy will be shackled to
that for a long time,"


' One of the toughest'
David Berg . a veteran civil and criminal defense lawyer, called Holmes " one of the toughest
I ever dealt with."
" Even before crime escalated in the ' 80s, Johnny was very hard- line as a prosecutor," Berg
said, " He had very little give, in his view, bad guys should go to jail."

Holmes defended his department ' s handling of capital cases, noting that the final decision
to seek the death penalty in such instances was his.

Critics, Holmes said, might legitimately argue prosecutors were overzealous if, after they
consistently pushed for death sentences, juries merely meted out prison time.

Bert Graham , who served as Holmes' first assistant district attorney and now fills the same
position for District Attorney Chuck Rosenthal, said prosecutors seek the death penalty in
about 20 percent of capital cases. "We go after only the worst of the worst," he said, " the
ones we believe will kill someone else."

When prosecutors seek the death penalty, juries respond by ordering execution about 80
percent of the time, Graham said.


Clash with critics
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As long as Texas law provides for a death penalty, Holmes said, prosecutors have the
obligation to carry it out.
Holmes was destined to clash with outside critics of the state ' s death penalty.

" I haven 't much patience with people who say our laws are barbaric," he said. Within the
parameters of the Constitution, he noted, state lawmakers can make laws as they think best.

Holmes rarely seeks to participate in debates on the death penalty, regarding beliefs on the
matter as part of an individual’ s private system of moral values.

Still, he personally believes there are "proper cases" where the death penalty is an
appropriate sentence.

" Obviously," he added, " what is a proper case is not ultimately up to the prosecutor, but to
the fact-finders."

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Hispanic representation on Harris County grand juries far
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1 ofBjudge Mary Lou Kee ! of the 232nd district provided group photos with black bands over
the grand jurors’ eyes to protect privacy. Photo; judge Mary Lou Keel




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2 of3 Some courts provided handwritten notes tracking the racial makeup of their
juries.Photo; Harris County 178th District Court




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3 of3 Some courts provided handwritten notes tracking the racial makeup of their
juries.Photo: Harris County 178th District Court

Hispanics are so underrepresented in Harris County ' s criminal grand juries that indictments
from them could be deemed unconstitutional, based on a U,S, Supreme Court decision that
found such disparities can violate the equal protection clause of the 14th Amendment.

An analysis by the Houston Chronicle shows there are three times more adult Hispanics
living in Harris County than the number who serve on grand juries, 36 percent versus 12
percent.




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In Castaneda v. Partida, a 1977 case that made it to the high court, Hidalgo County grand
juries were found to be 39 percent Mexican-American, though the county population was 79
percent. The Mexican- American defendant ' s indictment was thrown out.

The makeup of Harris County juries is not easy to ascertain.

Every court provided to the Chronicle the ages and occupations of about 1,900 grand jurors
who served from 2007 to 2014, but 36 percent of courts had no records for race or
ethnicity, judges in three courts provided handwritten notes tracking the racial makeup of
their juries. One court provided " class photos" of its grand juries, with black bands over their
eyes to protect privacy, as a way to illustrate diversity.

Each court said it has black -and- white photocopies of driver ' s licenses for every grand juror,
but Texas does not require race or ethnicity to be listed.

The courts that were able to provide a racial breakdown drew their information from
applications for those who served on grand juries, but most did not have complete years
and were only able to go back as far as 2009. Those applications ask respondents for their
race. There is no separate question about ethnicity, which can lead to under - counting
Hispanics.

The Chronicle ’ s analysis, based on 410 of those applications, found that Asians are
underrepresented in Harris County to a similar degree as Hispanics. The applications came
from 12 of the 22 courts, each of which draws jurists from across the county. Whites and
blacks are overrepresented. Fifty- eight percent of grand jurors are white, compared with 37
percent in the county. Twenty-four percent of grand jurors are black, compared with 18
percent in the county.

Law ’s wording vague.

Article 19.06 of the Texas Code of Criminal Procedure states: "The commissioners shall, to
the extent possible, select grand jurors who the commissioners determine represent a
broad cross-section of the population of the county, considering the factors of race, sex,
and age,"

The law’s intent is clear, but the wording is vague, said Sandra Guerra Thompson, a criminal
law professor at the University of Houston Law Center. " '.Shall ' is normally mandatory," said
Guerra Thompson. But, she said, grand juries do not have to correspond exactly in
proportion to the population.

The appearance of diversify does matter: The Castaneda opinion says that " substantial
under- representation shifts the burden to the state to dispel the inference of intentional
discrimination."

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judge Mary Lou Keel of the 232nd District Court wrote in a letter to the Chronicle that Article
19.06 provides no "strict requirement that grand juries ' reflect the community. u
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"The phrases ' to the extent possible ' and ' broad cross-section' allow leeway," she wrote, and
commissioners determine what a broad cross- section means, " injecting a note of
subjectivity into the equation."

Keel said she has seated " diverse, great, wonderful, weii- quaiified grand juries." When asked
what constitutes a diverse grand jury, she said, "Weil, any grand jury that complies with
19.06, of course."

Rudy Vargas, a former Houston police officer who now works as a private investigator, has
served on seven grand juries in Harris County since 2004.

"The last time I served I was the only Hispanic," Vargas said. " Most of the time that ' s how it
was."

judges who could not provide records on the racial and ethnic breakdowns of their grand
jurors gave the same written response to the Chronicle ' s question of how the community
could track diversity.

" My grand juries are impaneled in open court during which time any person may object to
the selection of a grand juror," they wrote.

State Sen. John Whitmire blames the " key man" system for creating grand juries that lack
diversity. Harris County is one of the few in the country that still uses that approach.

In the " key man" system, judges choose commissioners who then provide names of
prospective grand jurors.

David Hail, the Weslaco attorney who represented Rodrigo Partida in the Supreme Court
case, said he ' s not surprised ethnic disparities persist in grand juries today.

" if they ’ re using the key man or a perversion of the key man system, you ' re going to end up
with something that looks more like the country club than the body politic," Hall said.

Caii for transparency

Whitmire has introduced a bill to abolish this method of grand jury selection. Under the bill,
grand juries would be impaneled by having 20 to 125 prospective jurors brought before the
judge, who would then hear their qualifications and any excuses for not serving. This is the
method used across the country in criminal cases.

"There ' s a lack of transparency and accountability,” Whitmire said. "You just got to have all
communities having confidence that they have a role in the criminal justice system."
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The U .S . Supreme Court, in a separate decision, ruled the key man system to be
constitutional but said it " is susceptible to abuse, and can be employed in a discriminatory
manner ,"

Some judges in Harris County follow their own rules on how to choose a grand jury, based
on interviews with commissioners, judges and judicial records obtained by the Chronicle,

judge Keel distributes applications and information packets that she developed herself to a
combination of trial jury panels (known as petit), people summoned to jury duty and former
grand juries. She interviews each applicant before giving a list of names to commissioners
picked from a jury panel,

"The commissioners can add candidates to the list if they know anyone willing and able to
serve, but they rarely do, relying instead on the applications that I provide," Keel said in an
email response to questions on how grand juries are selected in her court,

judge Marc Carter of the 228th District Court says he creates a list made up of people from
the petit jury assembly room. He then gives that list to commissioners, who he chooses
from the same room.

" When you become a judge, nobody says, ' Hey, this is how you pick a grand jury,i tf Carter
said. "You are given a ship and put out to sail,"

When John Burns was appointed as a commissioner by judge Jim Wallace in the 263rd
District Court, he wasn’t provided a list of names, The one piece of advice he was given by
the judge;

"Try to be as diversified as possible," Burns said. " Meaning, try to find a variety of
socioeconomic backgrounds and ethnic backgrounds,"

Burns believes he was chosen as a commissioner because of his involvement in the
community.

" I belong to a couple of organizations," Burns said. Those include a motorcycle group, a
horse riding group, St. Anne ' s Catholic Church, and the Houston Livestock Show and Rodeo.

According to court records, Burns has served as commissioner five times since 2004, ail for
Wallace. He said he and the judge are friends, and he is a frequent contributor to judicial
campaigns.

There are few restrictions on who can serve on a grand jury. Jurors must be, among other
things, citizens of the state and county, qualified to vote, able to read and write and of
" sound mind and good moral character."

Police, legal experience
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The Chronicle found that 58 percent of grand juries had at least one person with law
enforcement or legal experience. Almost a third of grand juries had two people meeting that
criteria.

Earlier this year, the Chronicle disclosed a case where a grand jury foreman was an active
Houston police officer investigating the death of his own colleague.

judge jan Krocker of the 184th District Court said those who have worked in the judicial
system "generally would be great grand jurors" because they understand probable cause
and can recognize "a good case when they see it," That said, she has avoided them for her
grand juries " because there is a perception of unfairness."

Vargas said his law enforcement background made him more skeptical of claims made in
front of a grand jury.

For example, if the prosecutor said someone was choked but he didn’t have pictures or
other types of evidence, Vargas said he ’ d be more likely to challenge the claim.

Whitmire disagrees.

" We need to insist on objectivity," Whitmire said. "To have a grand jury to be investigating
with a police officer on the jury is just plain wrong. No one should defend that system."

Community activists in Houston, fired up by events in Ferguson, Mo., and Long Island, N.Y.,
have started a campaign to shine light on the system and broaden the pool of potential
grand jurors by collecting applications. They are concerned that young people also are
underrepresented. Of the grand jurors who served in the last seven years, less than 10
percent were 40 or younger.




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                 EXHIBIT 50




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Blacks urge Rosenthal to quit
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                                                                                       January 11,
                                                                                       2008


                 https:// www.chron.com/ news/article / Blacks- urge - Rosenthal-to - quit-
1752678.php
Leaders 'prayed ' with DA hut now say he misled them
LESLIE CASIMIR, Copyright 2008 Houston Chronicle

Published 630 am CSX, Saturday, January 12, 2008

Photo: JAMES NIELSEN, CHRONICLE

Harris County District Attorney Chuck
Rosenthal is under fire over the disclosure of
sensational e -mails he sent and received on
government computer equipment.

Agrowing chorus of African-American
leaders on Friday called for besieged Harris
County District Attorney Chuck Rosenthal to
step down immediately in response to court
documents that reveal he used government
computers to send and receive racist and
sexually explicit e -mails.

The 730 e - mails released Tuesday also show
Rosenthal strategized with political
consultants and colleagues about his re -
election campaign on his county e - mail
account, prompting the Texas Attorney
General ' s Office to launch an investigation
this week.




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As state officials determine whether
Rosenthal violated state campaign laws, a
coalition of black ministers and other
community leaders on Friday called for him to
step down immediately, charging the top
prosecutor misled them. At least one called
for a federal probe of the entire district
attorney' s office.

They pointed to a racially charged photograph
found in Rosenthal ' s e -mails depicting a black
man sprawled out on a sidewalk next to large
slices of watermelon, a cup of soda and a
chicken bucket. The title of the e - mail; Fatal
Overdose. It ’s unclear how the image arrived
in Rosenthal ' s file.

" We prayed with him; we have been working with him     i feel jilted," said Robert lefferson.
pastor of Cullen Missionary Baptist Church, who is a member of the Houston Ministers
Against Crime. " He was smiling with us in one place and stabbing us in our backs in
another."

Another e - mail raising eyebrows among black leaders is a joke received and forwarded by
Rosenthal that compares President Bill Clinton to a black man.

The e -mail says Clinton played the saxophone, smoked marijuana and receives a check from
the government each month.

Houston City Counciivvoman iolanda " lo " lones, a criminal defense lawyer, said the e - mails
confirmed what she and others have suspected about the DA’ s office for years.

" it ' s systemic, the racism there," jones said.

She said Rosenthal should be prosecuted to the fullest extent if he violated laws by using
county computers to organize a re - election campaign.




Ministers held a news conference Friday at the New Guide Missionary Baptist Church on
Dennis Street and questioned whether Rosenthal ' s e -mails speak to a larger problem in the
prosecutor ’ s office.
" it disturbed me so much, I didn 't know what to do," Jefferson said. " How deep does this
racism go ? How many black kids have been locked up while they laugh at us?"

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The Rev. William A. Lawson, pastor emeritus of Wheeler Avenue Baptist Church, agreed.

"The overpopulation of our jails and prisons is in some cases due to the way there were
prosecuted," Lawson said. "And he has a negative attitude toward minorities, which makes
it easier to prosecute blacks and Latinos."

Lawson said Rosenthal " needs to step down ” and added that he wasn ' t surprised.

" I ' ve dealt with Chuck Rosenthal, and I know him to be a hard-shelled kind of person, it
seems that behind that hard shell is a fairly dirty mind," Lawson said.

On Thursday, members of the Houston Chapter of the National Association for the
Advancement of Colored People also called for Rosenthal ’ s resignation.

"This is a position of trust, and people have to believe in the person who is the DA in this
county," said lames Douglas, legal counsel for the NAACP Houston chapter.

" His own party has said he doesn 't have the integrity to serve in that office, and our position
is if he ' s not trustworthy to be re- elected this year, why does he have the integrity to stay in
office now?"

Community activist Quaneil X announced plans for a rally outside the county courthouse on
Thursday and called for a special federal prosecutor to investigate the district attorney. He
contends Texas Attorney General Greg Abbott, who is a Republican, cannot objectively
investigate Rosenthal,

" We ' re calling for an FBI probe into the entire district attorney' s office,” Quaneil X said. "We
want to make sure no politics is played in this — we don' t want to see the Republican Party
or the Democratic Party investigating this case."

Rosenthal’ s office sought an indictment against Quaneil X for charges of fleeing police in
2004 when he escorted a man suspected of shooting an officer to police headquarters. A
jury found the activist guilty, but his conviction was overturned in 2006.

Allegations of racism

The scandal swirling around Rosenthal did not shock many in the African- American
community, said Robert Muhammad . minister and southwest regional representative of
the Nation of Islam.
He said he has complained about Rosenthal being a racist for years and cites the case of
losiah Sutton, the first man exonerated in the HPD crime- lab scandal.




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Despite being pardoned in 2003, Rosenthal refused to write a letter to the state saying
Sutton was innocent, a formality required so Sutton could receive reparations for being
wrongfully convicted and imprisoned.

"This is a man who dragged his feet when it was proven that josiah Sutton was innocent,"
Muhammad said, " People lost their freedom because of this man; people lost their
reputation because of this man."

When asked Friday about the calis from the black community for his resignation, Rosenthal
replied: "Good — thank you. Have a good day," and hung up the phone.

Chronicle reporters Brian Rogers. Robert Crowe and lennifer Leahy contributed to this
report.

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                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
                            §              1384794
                            §
                Applicant . §               CAPITAL CASE
                            §
                            §
                            §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                EXHIBITS 51 THROUGH 60
                                    Jeremy Schepers (Texas 24084578)
                                    Supervisor , Capital Habeas Unit
                                    David Currie (TX 24084240)
                                    Naomi Fenwick (TX 24107764)
                                    Assistant Federal Public Defender
                                    Office of the Federal Public Defender
                                    Northern District of Texas
                                    525 S. Griffin St ., Ste . 629
                                    Dallas, Texas 75202
                                    jere my _schepers@fd .or g
                                    (214) 767 - 2746
                                    (214) 767 - 2886 (fax)

                                    Counsel for Obel Cruz -Garcia



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A Hard Look at the Harris County District Attorney's Office
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                                                                                                                 September 11,
                                                                                                                 2016


The recent revelation that Harris County deputies improperly disposed of evidence from
hundreds of criminal cases — forcing the dismissal of ninety drug cases, with more
                                  •



dismissals likely to come —- is merely the latest blow to the county's embattled district
attorney, Devon Anderson. Anderson was appointed to the position in 2013 by Governor
Rick Perry following the death of her husband, former District Attorney Mike Anderson.
Although she won election to the office in her own right in 2014, Anderson faces a strong
challenge this fall from lawyer Kim Ogg, whom the Houston Chronicle endorsed this
weekend.

Although she’s only been in office three years, Anderson has faced more than her share of
issues, including;


Jailing rape victims
In July, Houston's NBC affiliate, KPRC, reported that a 25-year - old rape survivor had been
jailed for almost a month after breaking down on the witness stand during the trial of her
rapist. According to the report, the Harris County prosecutor, Nick Socias, handling the case
believed the woman, who was homeless and suffered from schizophrenia and bipolar
disorder, would leave town before completing her testimony. Despite her mental illness, the
woman was placed in the general prison population, where, she alleges in her lawsuit, she
was assaulted by inmates and guards. (Part of the problem might have been a paperwork
error that classified the woman as a sexual assault suspect rather than a victim.)

in response, Anderson said she regretted the jailing but said she and the prosecutor had
seen no other option, "I believe that everything Nick did was correct." she told the Chronicle,
"He went to extraordinary efforts to try to get her help." Last month, KPRC discovered that
another rape victim was similarly jailed in Harris County to ensure her testimony. "It looks
like a mistake was made from our office," Anderson said. The first rape survivor is now suing
Harris County officials.


Holding a man in jail after his conviction was tossed out
Alfred Dewayne Brown was sentenced to death in 2005 for the murder of Houston police
officer Charles R. Clark and a check - cashing store clerk named Alfredia Jones. In 2014, the
Texas Supreme Court threw out the conviction after finding that the prosecution withheld
evidence from Brown's defense team — as first reported by Houston Chronicle columnist Lisa

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Falkenberg, who won a Pulitzer Prize in part for her work on the story— but Anderson kept
him in jail for another eight months while she decided whether or not to try him again.
Finally, in June 2015. Anderson announced that she was dropping the case and Brown was
set free .


Questionable behavior by prosecutors
Last year, a Harris County prosecutor in Anderson's office was caught exchanging more than
20 text messages with the bailiff overseeing the jury during a DWI trial, including messages
asking for the jurors’ reactions to the defense lawyer, and a request for help tracking down
potential evidence. A spokesman for the district attorney's office said that the text messages
were not unethical, but shouldn’t have happened. The bailiff was temporarily assigned to a
different job during the investigation.


Stoking racial fears
Last year, Harris County Deputy Darren Goforth was shot to death in an apparent ambush
while meeting with his mistress at a gas station, in response, Anderson and Harris County
Sheriff Ron Hickman called a televised news conference in which they blamed the Black
Lives Matter movement for the shooting. It later turned out that the gunman, Shannon
Miles, was mentally ill and had no connection to BLM. This case has been problematic for
the sheriffs office, which had to subsequently fire two deputies and a county investigator
for having inappropriate sexual contact with Goforth's mistress, an eyewitness to the
murder.

As the Houston Chronicle wrote in its endorsement of Anderson's challenger. Kim Ogg, "While
other Texas counties have moved forward, our district attorney's office insists only on
moving in fits and starts with the threat of lawsuits overhead. We’re in dire need of a fresh
set of eyes and a new way of thinking that will reorient the office toward one overriding
principle; equal justice for ail."



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                 EXHIBIT 52




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County judge calls for investigation into Rosenthal
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                                                                                         January 8,
                                                                                         2008


https:// www.chron.com / news/ artide /County-judge - calls-for -investigation-into -1752684.php
MATT STILES AND ALAN BERNSTEIN, Copyright 2008 Houston Chronicle

Published 6:30 am CST, Wednesday, january 9, 2008

Harris County government chief Ed Emmett today called for Texas Attorney General Greg
Abbott' s staff to conduct an independent investigation of local District Attorney Chuck
Rosenthal in the wake of the disclosure of e - malls on Rosenthal ' s county government
account containing racist jokes, campaign activity and sexually explicit videos.

Such an investigation apparently could turn Rosenthal, who is in charge of prosecuting
Harris County crimes ranging from capital murder to bicycle theft, into a criminal suspect.

Emmett, the county judge, announced that the Harris County attorney is making the request
to the state ' s top law enforcement officer a few hours after Emmett ' s opponent in the
March 4 Republican primary, former district clerk Charles Bacarisse. said Rosenthal should
resign and that an independent investigation of him is needed.

" I believe we have a situation here where laws have been broken,” by Rosenthal, Bacarisse
said.

Emmett announced the letter to the attorney general at a press conference that was
previewed in a notice to the media as a discussion about "reports of possible wrongdoing"
at the district attorney' s office.

Earlier, Emmett told KIRK Channel 13 he will seek to have Rosenthal removed from office if
the DA can 't give him an acceptable answer about how he and others in his office are
spending time funded by the taxpayers.

in several cases in Texas, charges of official conduct or theft by a public servant have been
filed against officeholders who allegedly used government equipment and/ or time to work
on their campaigns. Rosenthal ' s official e -maiis included invitations to his October fund-
raiser for his re - election campaign, which he later aborted.

Last week Rosenthal withdrew his name from the Republican primary ballot after party
leaders said he should. They urged him to step aside after the earlier disclosure of e -maiis
showing his romantic messages to his executive secretary and former extra -marital partner,
Kerry Stevens.
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The next batch of e -mails was released Tuesday, leading to statements by Bacarisse and
Harris County Republican Party Chairman lared Woodfill that Rosenthal should also vacate
his job now.

County Attorney Mike Stafford ' s staff normally might conduct an independent investigation
of the district attorney, Emmett said, but that agency already represents Rosenthal in the
federal case that led to the disclosure of the e - mails. The lawsuit against the county was
brought by two Houston brothers who were arrested in 2002 after one of them
photographed sheriffs deputies carrying out a drug raid at a neighbor ' s home.

Rosenthal and Abbott were not immediately available for comment.

Rosenthal’ s e - mails included a joke promoting negatives stereotypes of black men, and e -
mails sent or received by some of his staff included negative stereotypes of Hispanics and
women. There was also a video of a man appearing to assault women in public by pulling off
their clothing.

matt stiie.s @chron.corn

aIan,hernstein&chron.com

Trending

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                 EXHIBIT 53




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Activists renew call for sheriff, DA to apologize in Goforth
case
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                                                                                                                 February 16,
                                                                                                                 2016


https:// www.chron.com / nevvs/ houston-fexas/ houston/artide / Actlvists- renevv - can -for - sheriff-
DA -to -apoiogize - 6835145.php
They say Goforth case wasn't: related to their movement
By Cindy George

Updated 10:51 pm CST, Tuesday, February 16, 2016

Photo: Mark Mulligan, Houston Chronicle

Image 1 of 99

jerry Ford, Jr. speaks at a press conference on Tuesday in Houston. Black Lives Matter
activists are calling for a formal apology from Harris County Sheriff Ron Hickman and District
Attorney Devon Anderson.

Members of the local Black Lives Matter movement on Tuesday renewed their call for Harris
County Sheriff Ron Hickman and Harris County District Attorney Devon Anderson to publicly
apologize for their comments following the fatal shooting last August of Harris County
Deputy Darren Goforth.

At the time, Anderson said the shooting was an attack on " the very fabric of society” and
that it was time for the "silent majority" to support law enforcement.

Hickman seemed to link the shooting to Black Lives Matter. "We ' ve heard black lives matter,
all lives matter - well, cops' lives matter, too," he said.

In September , Texas Southern University students and other activists first calied for
apologies. They described the words by the prosecutor and sheriff as " dangerous rhetoric "
that unfairly tied Shannon Miles, the suspected shooter, with the Black Lives Matter
movement.

Now, those individuals are pointing to revelations of a sex scandal marring the homicide
investigation and the recent declaration of mental incompetence for Miles in their call for
officials to say sorry.

" As quick as they were to jump to conclusions ... they need to be just as quick to apologize,"
TSU student Anthony Collier said at a press conference. "As we 've seen this scandal break
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     EXHIBIT 53 Page 001
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out, we realize they didn 't have all of the facts and they were just jumping to conclusions,
and that ’ s dangerous and that ’ s irresponsible and we expect more from those who are
elected to protect us and serve us."

Goforth was gunned down outside a Harris County convenience store Aug. 28. Miles, 31, is
charged with capital murder in the deputy' s death. Last week, the Harris County Sheriffs
Office terminated a third deputy related to a sex scandal that has rocked the agency.

The members of Black Lives Matter were joined Tuesday by local activists who have
protested Sandra Bland’ s death, members of a public service employees union, and
individuals with the multiracial and multiethnic Greater Houston Coalition for justice .

                                      .
" Words do matter," said jerry Ford lr. a recent TSU graduate who is a candidate for the state
House seat vacated when Sylvester Turner was elected Houston’ s mayor. " We held this
press conference today to let everybody know that our movement is not about any anti-
police rhetoric. Our activity is about making sure we are paying close attention to injustices
that young African-Americans in this country face and to find a way to close the
communication gap between communities of color and our law enforcement officials."

Last week, Hickman expressed "regret " about asserting that anti - law enforcement public
pronouncements contributed to the killing but stood by his belief that Goforth was targeted
solely because he was in uniform. Tuesday, Hickman' s media relations office said in a
statement: "The Sheriff sees no current need to revisit this issue.”

Anderson' s spokesperson said she has not made any apologies but met with a group of
community leaders Sept, 9. Attendees included NAACP Houston branch president lames
Douglas. Catholic Bishop loseph Fiorenza. Greater Houston Partnership CEO Bob Harvey
and the Rev. Bill Lawson, a local social justice legend and pastor emeritus of Wheeler
Avenue Baptist Church.

in that meeting, she said that she did not know that "silent majority” had a connotation
dating back to the late 1960s when President Richard Nixon used the phrase to describe
white conservatives who supported the Vietnam War but were not as vocal as people in the
streets.

" I was asking people who don’t attend protests, who don 't write their congressmen, who
may not be politically active to join together to support the local police officers who protect
us ail every day," Anderson said in a statement Tuesday.

Ford and Collier said the people invited to that meeting do not represent Black Lives Matter.

Last week, leaders of the Houston NAACP also were criticized by activists such as Tammie
Lang Campbell - the former president of the Missouri City and Vicinity NAACP branch - for
honoring Anderson with an award that salutes attorneys who have displayed legal
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excellence and contributed to criminal justice reform.

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                 EXHIBIT 54




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THE STATE OF TEXAS                                                                          D.A. LOG NUMBER:1586638
VS.                                                       02465469                          CJIS TRACKING NO.:9164888762 A001  -
 ANTONIA ROSEVELT PERKINS                       SPN:                                        BY: CM DA NO: 002333805
                                                DOB: BM                                     AGENCY:IICCP5
HOUSTON, TX 77036                               DATE'PREPARED: 12/10/2009                   O/RNO: IIC090180042
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                                                                                            ARREST DATE: 12 09-09

NCIC CODE: 2300 75                             RELATED CASES:
FELONY CHARGE: TIIEFT
CAUSE NO:                                                                                    BAIL: $2000
HARRIS COUNTY DISTRICT COURT NO:                                                             PRIOR CAUS
FIRST SETTING DATE:                                               1244038
                                                                  33?
IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day appeare       ndersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, ANTONIA RU SEVELT PERKINS, hereafter styled the
Defendant, heretofore on or about DECEMBER 9, 2009, did then and there unlawfully appr iate, by acquiring and otherwise exercising
control over property, namely, FOUR I PODS owned by DEISNYK MCCULLOUGH, herej r styled the Complainant , of the value of over
one thousand five hundred dollars and under twenty thousand dollars, with the intent to cJ Hjve the Complainant of the property.
                                                                                        ^




                                                                                            FILED
                                                                                            Loren Jackson
                                                                                             District Clerk

                                                                                            DEC 1 0 200?
                                                                                Time:
                                                                                             Harris County,
                                                                                 By
                                                                                                   Deputy




AGAINST THE PEAC                   IGNITY OF THE STATE        .
           Sworn to and subscribed before me on December 10, 2009



                                                                                                    J         JZ8/9!hKf>
     ANT                                                                   ASSISTANT DISTRICT ATTORNEY                  BAR NO.
                                                                           OF HARRIS COUNTY, TEXAS.


                                                                  COMPLAINT

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Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 280 of 813

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                 EXHIBIT 55




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       guilty        to the State Jail Felony offense of
              Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 281 of 813
                                              THEFT $ 1,500.00 - $ 20,000.00
and the Court after hearing the evidence introduced thereon and finding that it substantiates if Defendant’s guilt,
                                                                                              7




deferred entering an adjudication of guilt and placed the Defendant under the terms and conamtons of Community
Supervision for a period of
 Code of Criminal Procedure.
                                 2        years     in accordance with section        Q
                                                                                       ^
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                                                                                    Si
Further, the State would show that the Court ordered the Defendant herein to ab] [ >y certain conditions of

                                                                                ^
Community Supervision during the term of Community Supervision and among t i Conditions of Community
Supervision ordered by the Court were the following conditions of Community Sup&wji ton.

  4    Report immediately in person, to the Community Supervision 0 er for the 337 District Court on the 11th
       day of December, 2009 and continue to report to the Communi Supervision Officer on the 11th of each

                                                                       ^
       month thereafter or as directed by the Community Supervision cerforthe remainder of the supervision
       term unless so ordered differently by the Court.

  10
                                                                  ^
       Submit to RANDOM drug/alcohol analysis by authof d personnel of HCCS &CD, including any
       department having courtesy supervision jurisdiction. Provide proof of any medication legally prescribed to
       you prior to submitting a specimen.                      ^
 12.6 Pay $1,624.94 Restitution at the rate of $80.00           MONTH begnnBig September 11, 2010 through
      HCCS &CD to: TARGET. You are responsfrle                 any delinquency. You wi receive credit for any
      payments made.

 17 Provide proof of your High S chool Diptoma/C i u or participate in a General Educational Development (G.
    E. D.) program beginning August 11, 201
    until successfully discharged or releas
    written verification of your enroBment
                                                   ^
                                                  Comply with all program rules, regulations and guidelines
                                                 further order of the Court. On each reporting date, submit
                                             lendance and/or successful completion of the program to your
    Community Supervision Officer, to be     ined in HCCS&CD’s file.

 26    Participate si the communiy base      frogram, the Harris County Community Supervision and Corredions
       Department’ s Meeting Your Neec       By Design (MYND) Caseload, if eligible and deemed appropriate
       beginning July 23, 2012. Abide fc     aB rules, regulations, and guidelines until successfully discharged or
       until further of the Court.




       The State would fui       show the said Defendant did then and there violate terms and conditions of
       Community Supervii                                                                             -
                                by: Failing to report to the Community Supervision Officer, to wit; the Defendant
       was ordered to report December 11, 2009 and thereafter on the 11th of each month or as direded to a
       designated Community Superwsion Officer. The Defendant failed to report as intruded on September
       29, 2010, October 04, 2010, October 08, 2010, November 16, 2010, February 24, 2011, February 28,
       2011, November 04, 2011, November 22, 2011, December 15, 2011, January 20, 2012, May 08, 2012,
       February 28, 2013, April 16, 2013, May 08, 2013, June 12, 2013, June 26, 2013 and October 03, 2013.

       The State would further show the said Defendant did then and there violate terms and conditions of
                                                                                              -
       Community Supervision by. Faiing to subml to random urine specimen analysis, to wit; on July 12, 2010,
       the Defendant failed to subml a urine sample when requested by Vermel Haynes, a Community
       Supervision Officer at the Harris County Community Supervision and Corrections Department.

       The State would further show the said Defendant did then and there violate terms and conditions of
                                                                                                  -
       Community Supervision by: Failing to submit to random urne specimen analyse, to wit; on January 19,
       2011, the Defendant failed to submit a urine sample when requested by RommellWilliams, a Communiy
       Supervision Officer at the Harris County Community Supervision and Corrections Department.

            EXHIBIT 55 Page 001                                                           RECORDER’S MEMORANDUM
                                                                                          This Instrument is of0001196
                                                                                                               poor quality
                                                                                                  at the time of imaging
 The Slate would further show the said Defendant did then and there viotete terms and conditions of Community
 Supervisor! byCase  4:17-cv-03621
                 : Failing               Document
                           to provide proof of a High89-12
                                                      School Filed on/GED
                                                             Diploma  01/05/23 in TXSDin aPage
                                                                          or partidpate        282Educational
                                                                                           General   of 813
 Development (G.E.D.) program, to wit; the Defendant failed to provide proof of a High School Diploma or
                                      =

 participate in a General Educational Development (G.E.D.) program beginning Augud 11, 2010 as directed by
 the Court.

 The State would further show the said Defendant did then and there violate terms and conditions of Community
 Supervision by: Failing to abide by the rules, regulations, and guidelines of the Harrs County Community
 Supervision and Corrections Department's MeetBig Your Needs By Design ( MYND ), by failing to report on
 multiple dates , he was a no show for UAs, he s delhquent in fees and he has failed to obtain hs HS
 Diploma/GED or submit proof of his participation in a GED program.       -




WHEREFORE. THE STATE PRAYS that ,                   Capias issue and upon arrest tlfet a hearing be given the Defendant
and that on the final hearing an adjudlcat!         gum be entered.              J j /Wv    ^
                                                                       ASSISTANT DISTRICT
                                                                       ATTORNEY
                                                                       HARRIS COUNTY. TEXAS
 MOTION GRANTED AS PRAYED FOR and the Clerk is hereby ORDERED to issue Alias Capias for arrest of the
 Defendant and that a copy of lotion be served on the Defendant.

 SIGNED THIS THE                                 day of                                     AD.,
                            7
                                                                                                      oJ
 ATTEST                                                   HONORABLE              RENEE MAGEI               . JUDGE
                                                          PRESIDING , 337th      DISTRICT COURT
  Chris Daniel                                            Harris County, Texas
  District Clerk
  Harris County, Te:
                                                          ACTION DIRECTED BY THE COURT
                                                          A FILE MOTION TO REVOKE
  By.                                                     B. NO ACTION DESIRED
                 (Dep                                     C. HOLD PENDING


                         F 1L E ®
        cs
    11/22/2013
                           SSStf
                           DEC 0 9     *                  JUDGE,    337th    DISTRICT COURT



                         ——
              EXHIBIT 55 Page 00
                 Time*                  .
                             SSfteCbtmty Texas
                             ^                            ‘SUPERVISION OFFICER               SARA BARNETT / GX
                                                                                                                     0001197
                                   Deputy
                                                           DfTE SUBMITTED
                Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 283 of 813
                 Case 4:17-cv-Q3S 21 Dodtjrrtenfl8-S          -
                                                      esAor> Q7/01/19 in IX
                                                          L
OFFENSE:                                                              CAUSE NO.

                                                                                  y
THE STATE OF TEXAS                                                    IN THEl y  I DISTRICT COURT
                                                                      IN COUNTY CRIMINAL COURT AT LAW NO.
VS.

  KY\ IVC\K ( )                VtKWU                                                      OF


              ^                                    MOTION TO DISMISS
                                                                                 HARRIS COUNTY, TEXAS




TO THE HONORABLE JUDGE OF SAID COURT:


                                                                                                   ^
        NOW COMES the State of Texas, by and through her District Attorney, and respectfml requests the Court to dismiss the
above entitled and numbered criminal action for the following reason:


                The Defendant was convicted in another case.
                In custody elsewhere.
                                                                                                                                           v
                Old case, no arrest.
          Q
          Q
                Missing witness.
                Request of complaining witness.
                                                                                              F I LDarnel
                                                                                                    ED
                                                                                                   Chris                     •   i,
                                                                                                                                           »?




          (
                                                                                                   District Clerk                     Vv
                Motion to suppress granted.
                                                                                                   DEC 20 2013
                                                                                                                                      VT
          Q     Co-Defendant tried, this Defendant testify.                                                 .

          Q     Insufficient evidence.
                                                                                      Time:            Rimte County, luxa8
          Q     Co-Defendant convicted, insufficient evidence th
                Case refiled as cause no.                         ^     ndant.
                                                                                      By.                       uapuiy

          ^
          I COther.                                                                                                                            o

          EXPLANATION:




              WHEREFORE, PREMISES CONS             , it is requested that the above entitled and numbered cause be dismissed.


                                                    Respectfully submitted,




                                                           County,

                                                              ORDER

         The foregoing motion having been presented to me on this the   day of            &    /                                 e same having
been considered, it is, therefore, ORDERED, ADJUDGED, and DECREED that said above entitled <pn                                   e%be and the
same is hereby dismissed.                                     —                        '       *                                      %
                                                                                                                                       %
                                                                                                                                       %
                                                                                                                                  - s
                                                                                                                                 •' "C K

                                                                                                                                 **   3
                                                                                                                                   -*
                                                             ISTRICT COURT
                                                                                                                             rii
                                                     OUNTY CRIMINAL COURT AT LA
                                                    HARRIS COUNTY, TEXAS

      -
Mite Ori                                     Yellow-Defendant's Copy
               ^    IT 55 Page 003                                                                                               D-147- / 03
                                                                                                                             0001198       A
                                                                                                                                                   (06   )
          Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 284 of 813
           Case 4:17-cv-03821        f %     DoaC
                                                        ^State^of Texas
                                                       ^Thei i ®S2oS
                                                         /01/19 in TXSD Page 4

                                                                     y .
                        ANTONIO ROO PERKINS                                                 A/K/A
                                                                                                                                      T


                                                 337
                                                 District Court
                                         Harris County, Texas
                                 ORDER AFFECTING COMMUNITY SUPERVISION
After considering the community supervision officer's recommendations and other evidence, the presiding judge FINDS that the Defendant:

                                                                                                              ^
         has satisfactory fulfilled the condition of supervision imposed by the court under the Texas Co(de Criminal Procedure and/or
Chapter 481 of the Texas Health and Safety Code,.
    y    has not satisfactorily fulfilled the conditions of supervision imposed by the court under,T
Pjglcedure and / or Chapter 481 of the Texas Health and Safety Code (See Comment section               ^^%xas Code of          Criminal




Motion Denied                          The defendant has not satisfactorily fulfilled the (gteptions of community supervision imposed by
                                       the Court for the term of the supervision period which he / she was sentenced.

Comments
                                                                                       ^
Accordingly, the Court ORDERS defendant's motion to terminated coi           liny supervision denied .

Date signed:
                                                                      idge Presiding,                        District Court
                                                                                                                                  337
                                                                      arris County, Texas



Motion Granted
Full Term                              The Defeni      has satisfactorily fulfilled the conditions of supervision imposed by the Court for
                                       the full tdn    the supervision period to which he/she was sentenced.

                                               rs atisfactorily fulfilled the conditions of supervision imposed by the Court for
Early Termination
(Permissive review)
                          [  Jhe Defendai
                                       twi       ^
                                               years or for more than one-third (1/3) of the time to which defendant was sentenced to


                                         ^
                                                                                                   4


                                      ((fio imunity supervision.

Deferred Adjudication
Early Termination
                          Q         'a 'shesupervision
                                 eiidant
                                             best interests of the defendant and society will be served by the early termination of
                                                        period. The Court has not proceeded to an adjudication of guilt during the
                             $
                                 lod of supervision.
Deferred Adjudication
Full Term        cx     ^^             The Defendant has satisfactorily fulfilled the condition of supervision imposed by the Court for
                                       the full term of the supervision period to which he/she was sentenced. The C
                                       proceeded to an adjudication of guilt during the period of supervision.

Comments:                                    luism                          luind
                                                                            '          ' ifc

                                                                                                               a*

Accordingly, the Court ORDERS defendant's community supervision terminated. The Court further ORDERS. At
DECREES that the defendant is discharged according to law.                                        \ Q\

Date signed:          I 3- &M3                                      Judge Presiding,
                                                                                                                    -s

                                                                                                               istrict'OoAJXt
                                                                    Harris County, Texas
        EXHIBIT 55 Page 004
                                                                                                                              0001199
Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 285 of 813

                 13847940101C / Court: 337




                 EXHIBIT 56




                                                                      0001200
               Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 286 of 813
                Case 4:17- cv-Q3621 Document 18- 56 Filed on 07/01/19 in TXSD
                                                                                                           0<k

THE STATE OF TEXAS                                                                        D.A. LOG NUMBER:1724394
                                                          02545698
VS.                                                                                       CJIS TRACKING NO.:9166329728 A001      -
SANDRA RIVERA REYES                             SPN:                                      BY: EG DA NO: 001642011
                                                DOB: WF                                   AGENCY:HPD
MISSION, TX 78572                               DATE PREPARED: 2/18/2011                  O/RNO: 21078311
                                                                                          ARREST DATE: 02 18 2011  - -
NCIC CODE: F3 2620 03                          RELATED CASES:
FELONY CHARGE: Money Laundering
CAUSE NO:                                                                                     BAIL: $12CM)0jp
HARRIS COUNTY DISTRICT COURT NO:                                 1296111                      PRIOR CAUSE NO:
FIRST SETTING DATE:                                              337

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attorney of Harris County, Texas, this day a geared the undersigned affiant, who under oath says


dollars but less than one hundred thousand dollars, which constituted the proceeds crf
CONTROLLED SUBSTANCE.
                                                                                          ^
that he has good reason to believe and does believe that in Harris County, Texas, SANDIfe IVERA REYES, hereafter styled the Defendant,
heretofore on or about FEBRUARY 18, 2011, did then and there unlawfully knowingly ssess funds of the value of at least twenty thousand
                                                                                    |  ( pminal activity, namely, POSSESSION OF A
                                                                                          °




                                                                                                 F Chris
                                                                                                   I LDaniel
                                                                                                         ED                ,
                                                                                                    * District Clerk
                                                                                                   '
                                                                                                     FEB 1 8 2011
                                                                                         Time:
                                                                                                                           30
                                                                                         By                  Deputy
                                                                                                                       tv
                                                                                                       Harris County Wex




AGAINST THE PEA               D DIGNITY OF THE STATE.

                                              on February 18, 2011



                                                                             V      %                 MlSjlrer )
AFFIANT                                                                   ASSISTANT DISTRICT ATTORNEY BAR NO.
                                                                          OF HARRIS COUNTY, TEXAS.


                                                               COMPLAINT
             EXHIBIT 56 Page 001
                                                                                                                                0001201
Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 287 of 813

                 13847940101C / Court: 337




                 EXHIBIT 57




                                                                      0001202
                Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 288 of 813
                Case 4:17- cv-03621 Document 18- 5 i7 Filed on 07/01/19 in TXSD Page 1 of 12
                                                                                     “




                                                              CASE NO. 129611101010
                                                          INCIDENT NO . /TRN: 9166329728A001

THE STATE OF TEXAS                                                                       §            IN THE 337TH DISTRICT
                                                                                                                                                  pa
                                                                                         §
v.                                                                                       §            COURT
                                                                                         §
REYES, SANDRA RIVERA                                                                     §            HARRIS COUNTY, TEXAS
                                                                                         §
STATE ID No. :                                                                           §
                                                                                                                                         V/
                                              JUDGMENT ADJUDICATING GUIL J
Judge Presiding:            HON.   RENEE MAGEE                                            Date Judgment
                                                                                          Entered:
                                                                                          Attorney for
                                                                                                                                    ^
Attorney for State :        MCCORVEY, MARCY                                               Defendant:                    ACOSTA, GERALDO G.
Date of Original Community Supervision Order:                                             Statute for Offense :
09-16-11                                                                                  N/A
Offense for which Defendant Convicted :
     MONEY LAUNDERING>= 20K< 100K
Date of Offense :
2/ 18/2011
Degree :                                                                             Plea to Motion to Adjudicate:                    Findings on Deadly Weapon:
3RD DEGREE FELONY                                                                    TRUE^                                            N/A
Terms of Plea Bargain :
2 YEARS TDC / $400 FINE
Date Sentence Imposed:           12/11/2013                                     Da           tence to Commence :           12/11/2013
Punishment and Place
of Confinement:                  2 YEARS INSTITUTION
                                                                       ^
                                              THIS SENTENCE HALL RUN CONCURRENTLY.
                                                                     ^
                                                                                         DIVISION, TDCJ


      I I SENTENCE OF CONFINEMENT SUSPENDED, DEFENDANT PLACED ON COMMUNITY SUPERVISION FOR N/A                                                                .
Fine:                         Court Costs:  Restitution:     Restitution Payable to:
                                                              ,




$ 400                         $                                 VICTIM (see below)       AGENCY/AGENT (see below)


The age of the victim at the time of the o
                                                         ^
Sex Offender Registration Requirements ) not apply t° the Defendant. TEX . CODE CRIM . PROC. chapter 62
                                                          was N/A       .
                    If Defendant is to serve sentence in TDCJ. enter incarceration               periods   in chronological order .



Time
Credited:
                     From
                     From
                                    09-27
                                          ^h
                                       oTTF
                                              >

                                                    to
                                                         to          12-11-13                         From
                                                                                                      From
                                                                                                                                        to

                                                                                                                                        to

                     From                           to                                                From                              to
                    If Defendantfisrfb serve sentence in countv iail or is given credit toward fine and costs, enter davs credited below.
                    N/A PAYS            NOTES: N/A
        All pertinent information, names and assessments indicated above are incorporated into the language of the judgment below by reference.
          The Court previously deferred adjudication of guilt in this case . Subsequently , the Court heard the matter of Defendant’s
 compliance with and obedience to the terms and conditions of the Court’s Order of Deferred Adjudication of Guilt . The State
 appeared by her District Attorney .
          Counsel / Waiver of Counsel ( select one )
 ^   Defendant appeared in person with Counsel .
 I I Defendant knowingly , intelligently , and voluntarily waived the right to representation by counsel in writing in open court.
          After hearing and considering the evidence presented by both sides, the Court FINDS THE FOLLOWING: (1) The Court previously
 found the Defendant to be qualified for community supervision; (2) The Court DEFERRED further proceedings, made no finding of guilt,
 and rendered no judgment; (3) The Court issued an order placing Defendant on community supervision for a period of 4 YEARS;
 (4) The Court assessed a fine of $ 400; (5) While on community supervision, Defendant violated the terms and conditions of community
 supervision as set out in the State’s ORIGINAL Motion to Adjudicate Guilt as follows:
              EXHIBIT 57 Page 001
                                                                            _                _                                                         0001203
                                                  REYES. SANDRA RIVERA 1296111010 l 0 3.docm                          Page 1 of 3
                 Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 289 of 813
                 Case 4:17- cv-03621 Document 18- 5 i7 Filed on 07/01/19 in TXSD Page 2 of 12
                                                                      “




FAILED TO NOTIFY SUPERVISION OFFICER OF CHANGE IN RESIDENCE.

         Accordingly, the Court GRANTS the State’s Motion to Adjudicate the Defendant’s Guilt in the above cause . FINDING the
Defendant committed the offense on the date as noted above, the Court ORDERS, ADJUDGES AND DEGREES that Defendant is
GUILTY of the offense . The Court FINDS the Presentence Investigation, if so ordered, was done according to the applicable
provisions of TEX. CODE CRIM. PROC. art . 42.12 § 9.
         The Court ORDERS Defendant punished as indicated above . The Court ORDERS Defendant to pay all fines, court costs , and
restitution as indicated above .
         Punishment Options ( select one)

^   Confinement in State Jail or Institutional Division. The Court ORDERS the authorized agent of the State of Texas or the
Sheriff of this County to take, safely convey , and deliver Defendant to the Director, Institutional Div on , TDCJ . The Court
ORDERS Defendant to be confined for the period and in the manner indicated above . The Court ORDER                 ^
                                                                                                                endant remanded to the
custody of the Sheriff of this county until the Sheriff can obey the directions of this sentence . The Cqu gORDERS that upon release
                                                                                                              ^^
from confinement, Defendant proceed immediately to the Harris County District Clerk’s office/Ahice there , the Court ORDERS
Defendant to pay , or make arrangements to pay , any remaining unpaid fines, court costs, and restKution as ordered by the Court
above .
I I County Jail—Confinement / Confinement in Lieu of Payment. The Court ORDERS endant immediately committed to
                                                                                                 ^
the custody of the Sheriff of Harris County, Texas on the date the sentence is to comme
                                                                                                ^
                                                                                                ^^
                                                                                                       efendant shall be confined in the
Harris County Jail for the period indicated above . The Court ORDERS that upon releaset m confinement, Defendant shall
proceed immediately to the Harris County District Clerk’s office . Once there , the J0o& ORDERS Defendant to pay , or make
arrangements to pay , any remaining unpaid fines, court costs , and restitution as ordere py the Court above .
                                                                                            ^
I~1 Fine Only Payment. The punishment assessed against Defendant is for a FINR TLY. The Court ORDERS Defendant to proceed
                                                                                      ^^^
immediately to the Office of the Harris County District Clerk . Once there , th ourt ORDERS Defendant to pay or make
arrangements to pay all fines and court costs as ordered by the Court in this caui f )


^
         Execution / Suspension of Sentence (select one)
    The Court ORDERS Defendant’s sentence EXECUTED.
    The Court ORDERS Defendant’s sentence of confinement SUSPENDED/
                                                                                      ^
                                                                                 rCourt ORDERS Defendant placed on community
supervision for the adjudged period (above) so long as Defendant abides b         d does not violate the terms and conditions of
community supervision The order setting forth the terms and conditi |ik>of community supervision is incorporated into this
judgment by reference .
                           ,




         The Court ORDERS that Defendant is given credit noted
                                                                               ^
                                                                            n this sentence for the time spent incarcerated.

                                                                    w
                               Furthermore, the followihg sbecial findings or orders apply:
                                                                    ^
                                                            @A                                            /

Sighed and entered on December 11
                                                                          X                                              /
                                                                          RENEE MAGEE
                                                                          JUDGE PRESIDING

Notice of Appeal Filed :
                                                                                                      Fingerprint
Mandate Received:                          Type of Mandate:

After Mandate Received , Sentence    gin Date is:
                                ^
Jail Credit:



Def. Received on                              at               AM         PM

By:                                                 Deputy Sheriff of Harris County
                                                                                                      Right Thumbprint

Clerk: K NEELY;

EN/KR04:               LCBT:
                                                  /         EN /KR18:




               EXHIBIT 57 Page 002                                                                                           0001204
                                              .                             _.
                                         REYES SANDRA RIVERA 129611101010 3 docm
                                                               ,                            Page 2 of 3
      Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 290 of 813
i;    Case 4:17- cv-03621 Document 18- 5 7 Filed on 07/01/19 in TXSD Page 3 of 12
                                                        *




     Morion to Adjudicate Guilt - Rev . bl - 2013

                                   WRITTEN PLEA ADMONISHMENTS
                                       337TH DISTRICT COURT
                                       HARRIS COUNTY , TEXAS

                                   SLfWII 1
                                                    '




     Cause Number:             /
     Offense :                  V\. uir\-^ t
                                           C4
                                                                     g&t* LOO       ,




     DEFENDANT:
                                        Stipulation of Evidence
                                                   On
                                   State’s Motion to Adjudicate Gui

     Comes now                                               the defend      fin the above styled and
                                                              '




     numbered cause , in writing and I consent to the stipulatio             vidence in this case , and
     expressly waives the appearance , confrontation and eras S ahhination uf witnesses. I further
     stipulate that I have , at least ten ( 10 ) days prior here #
     Motion to Adjudicate Guilt ( hereafter referred to as St
                                                                    ^een served with a copy of the State ' s
                                                                      s Motion ) , a copy of which is
     attached hereto and incorporated by reference her
     further consent to the introduction of testimony         ^    md do not desire to contest the same . I
                                                                 fidavits , written statements of witnesses
     and other documentary evidence . I waive my F fral and State Constitutional right against
     self - incrimination , and after having been sw i judicially confess under oath to the
     following facts and agree and stipulate th
     evidence in this case:
                                                        ^ se facts are true and correct and constitute ihe


                                          9/
                 I am the same pers mwmo on
                 guilty or no contest Sbthe offense of / A
                                                                  I U,
                                                                  Leu^ Jkrltx
                                                                             e' TT/ rJd
                                                                                 a plea 0 f

                 337 th District Cour: of Harris County , Texas . The Court after hearing the


                                   ^ ^¥
                 evidence introdt ed thereon and finding that it substantiated my guilt ,
                 deferred ente mfe an adjudication of guilt and granted adult supervision
                 for a period of                years.

                 The conditions of my community supervision as ordered by the Court


                 I
                     ^_ ^^
                  inc u  those conditions set out in the attached State ' s Motion .
                                                ,




                      rstand the allegations against me set out in the attached State 's
              <xMdtion and I judicially confess that it is TRUE that I violated the terms


               ^
             T nd conditions of supervision as stated in the attached State ' s Motion .




                                                                                                                     —
                 I read and write the English Language .
                             ( or )
                 These papers were explained tooijK in my preferred language of
                                                                                                          /i   /   sL
                  by an interpreter , namely   ,
                                               U            >&
                                                         nC o f
                                                                                        RECORDER’S MEMORANDUM
                                                                                        This instrument is of poor quality
                                                                                              at the time of imaging
     EXHIBIT 57 Page 003
                                                        1                                                          0001205
f          Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 291 of 813
           Case 4:17- cv-03621 Document 18- 5 7 Filed on 07/01/19 in TXSD Page 4 of 12
                                                                    *




    i



                      I am a citizen of the United States               ,
                                                                                     OU Li          ^
                                                                             V?
                                  (or )
                                                                        ^ plea/may result m my
                     I understand that because I am /not a U . S . citizenymy
                       deportation , exclusion froifi admission xo the UrrctecTStates or
                                                                                 -


                       naturalization .

        / folCJ PLEA AGREEMENT: I understand that the range of punishment for the
                                                                I 0*4^ 71 TDU
        offense for which I am on community supervision is
        and that the prosecutor will recommend that my probatfen be revoked an
                                                                                           ^                             * / °j
                                                                 ^
        punishment be set at                                 a vee
                                                               ^
        recommendation in exchange for my plea of TRUE to the allegations i%tjle attached
        State 's Motion to Adjudicate .

                 I  NO RIGHT TO APPEAL: I understand that, if the C(
        punishment not exceeding that recommended by the State
                                                                             assesses
                                                                           eed to by me and
        my attorney , the Court will not grant me permission to appeaU/ I hereby give up any
        and all rights that I may have to appeal this case in excha  for the State’s
        agreement to the recommendation on punishment .

         m           WAIVER OF COURT REPORTER : I have
        name is signed below regarding my right to have all co
                                                                           Ited with my attorney , whose

                                                                                 ^^
                                                                        oceedings recorded by an official
        court reporter . My attorney has advised me of the conse ences of not having said
        proceedings recorded . I understand that it is my           to show on any appeal or post
        conviction writ of habeas corpus that my plea of
        knowingly given and/ or that the Judge did not DJ
        guilty or no contest. Understanding all of the <&&$
                                                          < /e consequences
                                                                                ^
                                                                  or no contest was not voluntarily or
                                                               rly advise me of the effect of a plea of
                                                                              I wish to waive my right to
        have a court reporter make a record of the        proceedings in my case .


        when       u are or were a spouse , intim
                                                       ff
                                                            ^
                      DOMESTIC VIOLENCE: you are convicted of an offense involving violence
                                                           partner , parent , or guardian of the victim or are or
        were 'involved in another , similar 4 |

                                                  ^   bnship with the victim , it may be unlawful for you to
        possess or purchase a firearm , ind: mng a handgun or long gun , or ammunition , pursuant to
        federal law under 18 U . S . C . Se (ftr L* 922 ( g) ( 9) or Section 46.04 (b ) , Texas Penal Code . If you
        have any questions whether            ese laws make it illegal for you to possess or purchase a
        firearm , you should consult ar torney .

                                                                                                    uu
                                                                            X
                                                                             *
                                                                            Defendant                    t
        Sworn and sub
                           ^    tbed before me this the                     day of


                                                                            Deputy District Clerk
                                                                                                    ,   2013.




          EXHIBIT 57 Page 004
                                                                2                                                     0001206
    Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 292 of 813
    Case 4:17- cv-03621 Document 18- 5 i7 Filed on 07/01/19 in TXSD Page 5 of 12
                                                “




I join in and approve the waivers and stipulations made by the defendant . It is my opinion
that the defendant is mentally competent to stand trial , that all of the defendant's statements
were freely and voluntarily made , and that the defendaj^tVisJea was freely and voluntarily
entered .                                   *
                                                s. /           / / ]        A    *
                                                                                              _
                     u
C           sel for Defendant

                                Approved:
                                                                                      ~7      c.


n.   t e:    M i l 1%
                                Renee Magee , Judge
                                                    V
                                                        r


                                337 th District -Court
                                Harris County , Texas




EXHIBIT 57 Page 005
                                                3                                                  0001207
                             Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 293 of 813
                             Case 4:17
                                    -  - cv-03621 Document 18 - 5 !7 Filed on 07/01/19 in TXSD Page 6 of 12
                                                                              “




/
            Non Citizen Immigration Admonishments Revised 1 - 1 2013
                         -                                                    -
/
                                                                      NON-CITIZEN
                                                              IMMIGRATION ADMONISHMENTS
                                                                  337 DISTRICT COURT
                                                                 HARRIS COUNTY , TEXAS

            CAUSE NUMBER:

            OFFENSE:
                                                    12 4611 I -                                   Cs
                                                                                                    ^A    /i       <x


             DEFENDANT:                                                      AyU
             NOW COMES the Defendant in the above captioned cause and makes the fy                               ing statements and waivers
    prior to the Court accepting my plea of guilty .




          ( 1)                 I am not a citizen of the United States.

          (-)

           3)
                               1 am freely and voluntarily pleading guilty to the o

                               I understand that a conviction for certain cri
                               result in my inability to re-enter this count
                                                                                  n
                                                                                         ^   nse of :   MO**
                                                                                                                             ^   / fals
                                                                                          1 trigger my removal from this country and /or
                                                                                      hould 1 choose to leave. These crimes include:
                                                                                                                                         - Jcssx   /x
                                                                                                                                                        7




                               A . Aggravated felonies
                                                                  9/
                 i   .          murder, rape, or sexual abus ftr-a minor ,
                 ii
                 m.
                 IV
                                                              ^^
                                 illicit trafficking of control    substances,
                                 illicit trafficking in firearms r destructive devices.
                                offenses relating to " moim laundering".
                 V   .                                    -
                                offenses relating to ti fins and explosive devices.
                 V I.           "crimes of violence’ . r which a term of imprisonment of one year or more has
                                                      1


                                 been imposed .
                         .

                                               ^^
                 VII            a theft offens (f cluding receipt of stolen property ) for which a term of
                                               ^
                                imprisonmer OTtme year or more has been imposed ,
             vm .               offenses             to ransom or demand for receipt of ransom ,
             IX.                offense refuting to child pornography.
             X.
                                         ^
                                offenses elating to racketeer influenced corrupt organizations, or gambling for

             XI.


             X I I.
                                   ^   ^
                                wh en erm of imprisonment of one year or more has been imposed .
                                offenses relating to: ( a) owning, controlling, managing, or supervising prostitution ; ( b ) to transportation
                                for the purpose of prostitution ; (c ) slavery, and/or involuntary servitude.
                                offenses relating to : (a) gathering or transmitting national defense information ; disclosure of classified
                                information ; sabotage; treason ; ( b ) protecting identity of intelligence agents; ( c ) protective indentify of
                                undercover agents.
             X I I I.           an offense that involves: (a ) fraud or deceit in which loss to victim exceeds S 10,000.00; ( b) a relation to Tax
                                Evasion in which the loss to government exceeds $ 10,000.00.
             X I V.             an offense relating to alien smuggling, unless committed for an immediate family member and no other
                                individual.


                         EXHIBIT 57 Page 006                                                                                          0001208
          Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 294 of 813
          Case 4:17- cv-03621 Document 18- 5 7 Filed on 07/01/19 in TXSD Page 7 of 12
                                                              *




       xv .       an offense (a) which either is falsely making, forging, counterfeiting, mutilating or altering a passport or
                  instrument or relating to document fraud; and (b) term of imprisonment is as least 12 months, except in first
                  offense where offense committed to aid immediate relative.
       xvi    .   an offense relating to a failure to appear for a defendant for service of sentence if the underlying offense is
                  punishable by imprisonment for five years or more,
       xvii.      an offense relating to commercial bribery, counterfeiting, forgery, or trafficking in vehicles where the
                  identification numbers have been altered for which the term of imprisonment is one year or more,
       xviii.     an offense relating to obstruction of justice, perjury, subornation of perjury, bribeiwof a witness for which
                  a term of imprisonment of one year or more has been imposed.
       X I X.


       X X.
                  charge of a felony for which a sentence of two years may be imposed.
                  an attempt or conspiracy to commit any of the above offenses        .               ^
                  offense relating to failure to appear before a court pursuant to a court order to § wer to or dispose of a




                  B. Crimes of moral turpitude (if committed within five years                mission and may result in a
                     sentence of one year or longer).

                  C. Multiple criminal convictions (two or more crimes of($f raI turpitude).

                  D. Failure to register as a sex offender.
                                                                                     ^
                  E. Crimes involving controlled substances.

                  F. Firearms offenses.

                  G. Crimes of domestic violence, stal|of             r violation of protective order, or crimes against
                     children.

                  H. Human trafficking.



                  If the crime to which I    Reading guilty is an aggravated felony under 8 U.S.C. 1227, 1
                  understand I am ineligr      for most forms of discretionary relief from removal, including cancellation of


(5 )
                  removal and asylum
                                       ^     itionaliy, I will not be eligible for a re-adjustment of status.

                  I understand hatfederal immigration law is constantly changing. If the crime to which I am
                            ^
                  pleading is no|4jfeluded above, there is still a risk of removal or inadmissibility with a conviction for any
                  misdemeanour      felony offense.

( 6)              I undersima that a sentence of community supervision (probation or deferred adjudication) is
                  considet a a " conviction " under federal law and could still result in my removal from or inadmissibility
                          ^
                   ^ jmbountry.
                  to

 7)               My attorney has explained the admonitions to me and advised me regarding the consequences of
                  my plea as they relate to immigration consequences. My attorney has made no representations that my
                  plea of guilty will NOT cause any change in immigration status.

8)                My attorney has explained the evidence the State will present against me. Understanding the
                  immigration consequences associated with my nlea and the risk of pursuing my case to trial, I am
                  choosing to plead guilty to the offense of   YtsQyf /                               /




                                                                  9

        EXHIBIT 57 Page 007    •
                                                                                                                       0001209
                     Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 295 of 813
                     Case 4:17- cv-03621 Document 18- 5 i7 Filed on 07/01/19 in TXSD Page 8 of 12
                                                                   “


     r



n'


                         lam entering my plea of guilty regardless of any removal or re -entry consequences that I may
                                            of my plea.
                         encounter as a result



              10)        I have freely, knowingly, and voluntarily executed this statement.




         Defendant :                                                              Date Signed:



                 SWORN AND SUBSCRIBED BEFORE ME THIS                           DAY OF                          , 2013 .




                                                                                Ox

                                                                    HARRI&C20CNTY DISTRICT CLERK
                                                                    DEPUTWLERK




                     J                                   rint nafae) defendant's attorney, have fully advised the above named
                                                           ^
         defendant regardingIhe immigration consequences sociated with his/her plea in accordance with Padilla v.
         Kentucky, 130 S. Ct. 1473 (2010). I believe that tf| document was executed by him/her knowingly and voluntarily
         after I discussed it and its consequences wit   p^$/her



         Defendant ’ s Attorney :
                                                      ^            Date signed:


         The Defendant came before ne nd prior to accepting a plea of guilty, I have admonished the defendant of the
                                          ^
         immigration consequences a| {Mated with his/her plea.I find that the Defendant's attorney has advised the defendant
         regarding the immigration© Sequences associated with his/her plea. I further find that the Defendant is aware of and
         understands the immigrate consequences associated with his/her plea and that his/her plea is knowingly and
         voluntarily made.




                                                                                                              J
                                                                           RENEE MAGEE, JUDGE
                                                                           337 DISTRICT COURT
                                                                                                      *
                                                                           HARRIS COUNTY, TEXAS



                    EXHIBIT 57 Page 008                                                                               0001210
         guilty         for the felony offense of
                   Case 4:17-cv-03621 Document   89-12> =Filed
                                      Money 1 aunriaring
                                                     ,
                                                                on 01/05/23 in TXSD Page 296 of 813
                                                         ?ftk slflflk  -
)d the Court after hearing the evidence introduced thereon and finding that it substantiates the Defendant’s guilt ,
fferred entering an adjudication of guilt and placed the Defendant under the terms and conditions of Community
jpervision for a period of     4        years    in accordance with Section 5 of Article 42.12 of the Texas Code of
riminal Procedure.
Jrther , the State would show that the Court ordered the Defendant herein to abide by certain conditions of
ommunity Supervision during the term of Community Supervision and among the conditions of Community
jperyision ordered by the Court were the following conditions of Community Supervision.
    9    Remain within a specified place, to-wit : Harris County and Hidalgo County, Texas, You may not travel
         outside of Hards County and Hidalgo County, Texas, unless you receive prior written permission from the
         Court through your Community Supervision Officer. You must notify HCC8&CD within 48 hours of any
         change of residence.                                                                 ^


    12   Participate in the HCCS &CD Community Service Restitution Program (CSRP). Yoi> all perform a total
         of 150 hours, at the rate of 10 hours per month beginning December 16, 2011. (Qp   0



13.1 Pay a Supervision Fee at the rale of $&).00 per month forth® duration of                   r community supervision
     beginning December 16, 2011 to HCCS&CD.
13.2 Pay a Fine of $ 400.00 and Court Costs at the rale of $35.00 per month               ginning December 18, 2011 to
     Harris County through HCCS&CD. You are given credit for 0 days.

13.4 Pay $50.00 to Crime Stoppers of Houston at the rate of $50.00                   onth beginning December 18. 2011
     through HCCS&CD.




         The State would fur mer show the said Defendant did then and there violate terms and conditions of
         Community Supefv«ion by: Failing to notify the Supervision Officer of any change in residence to wit ;
         the Defendant's tasl reported residence address is SJ Rosas Loop #2 Mission, Texas 70577, and the
                                                                                                                       ^
                          ^
         Defendant's whereabouts are currently unknown.
         The State would fyrttfePshow the said Defends               then and the            Terms and conditions of
         Communityj|   up£ ivision by: Failing  to        icipale in  the i         CD  Communi         ic        Qfion
         Program (JS&RP) as ordered by th        ft , to-wll; on Ss         © r 16, 2011      © feptianTwas ordered to
                   totai of 150 hou          e rate of 10 ho         per month         nning-DScember 16, 20          i©
         Defendant failed to p rf
                               @        hours   at  the  C      ordered rat
                                                                            ^
                                                                            ®    "




                  EXHIBIT 57 Page 009                                                                                  0001211
                    r                                  *   ’                                                     j




                 Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 297 of 813




                                                                                                                                      V/


                                                                                                                      O




                                                                                                             o




                                                                          o
WHEREFORE, THE STATE PRAYS that Alias Capias issue an<                                 arrest that & hearing be given the Defendant
and that on the final hearing an adjudication of guilt bo entered. .
                                                                           ^   ASSISTANT DISTRICT
                                                                               ATTORNEY
                                                                               HARRIS COUNTY, TEXAS
MOTION GRANTED AS PRAYED FOR and i                     Slerk is hereby ORDERED to issue Alias Capias for arrest of the
Defendant and that a copy of this Motion be s          m the Defendant.

 SIGNED THIS THE                ftr
                                                               !
                                                                           "A. .   l    l   -
                                                                                            C   '

                                                                                                                     A D., y                                /
                                                                                   /                                     /

  ATTEST                                          HONORABLE                                         Herb Ritchie                                      , JUDGE
                                                                                                         f
                                      o
                                          n       PRESIDING, 337th                      DISTRICf COURT
  Chris Daniel
                                                  Harris County, Texas
  District Clerk
  Harris County, Texas                                             i
                                                                                                                 i

                                                  ACTION DIRECTED BY THE COURT
                                                  A. FILE MOTION TO REVOKE
  By.                                             B. NO ACTION DESIRED
                  (Deputy)                        C. HOLD PENDING


                                                                                                                     z
                                                  JUDGE,               337th   DISTINCTxfcjjfc                                /           /.
                                                                                                                                          N
                                                                                                                                                        -
                                                                                                                                                     y -'       /
                                                                                                                             ZZ
    ab/rwi                                        SUPERVISION OFFICER                                                Kejth Black - LT
   2/24/2012
                                                  DATE SUBMITTED
                                                                                                                                  S'                        9   /
                                                                                                                 /                A             -.
                                                                                                                                               +s

                                                                                                                                      Z

                                                                                                                                                                    0001212
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               EXHIBIT 57 Pageoio
      Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 298 of 813
      Case 4:17-ev-03821 Document 18-57                      J)
                                                                              jSD
                                                                  Page 11 of 12


STATE OF TEXAS
                                      Cause No.

                                                       s
                                                                         ^
                                                                    IN THET ^         DISTRICT COURT
                                                       s
V.                                                     s
Defendant                  —   71'                                  OF HARRIS COUNTY, TEXAS

                           ADVICE OF DEFENDANT’S RIGHT TO APPEAL Jc

                               .
The Court, pursuant to TEX R. APP. P. 25.2, advises the Defendant as follows:
1. Texas law gives a defendant convicted of a crime the right to appeal his conviction.
2. If you pled guilty or no contest and accepted the punishment recommended by the prosecutor,
   however, you cannot appeal your conviction unless this Court gitfes you permission. If you waived or
   gave up your right to appeal, you cannot appeal your conviction.
3. If you did not plead guilty, you may have the right to appeall lf you want to appeal, you must give
   notice of appeal in writing to this Court’s clerk within 30 d c?


   any change in your address.
5. If you are not satisfied with your appeal's resu
                                                               ^
4. If an attorney represents you in the court of appeals, y f’ attorney must mail a copy of the court of
   appeals ' judgment and opinion to your last known address. You must tell your attorney, in writing, of

                                                           can ask the Court of Criminal Appeals to review
   your case by filing a petition for discretionary iview within 30 days of the opinion’s issuance in the
   court of appeals. If you fail to inform youriat mey of any change in your address, you may lose the
   opportunity to seek discretionary review.
The Defendant declares the following to the Court (choose one):
1.   p  I read and write English. I|      <
                                     h Vj 7/ d and I understand this document.                    (Defendant
   initial here if true); or
2. [] I speak English.     _                                  (name reader) read this document to me. I
 . understand its contents.
                                  Vv

                                               (Defendant initial here if true); or
3 IQjt do not speak Engli
    bcument for me. I unders d its contents.
                                              &C       fl'OQ 5 A            (name translator) translated this
                                                                  efendant initial here if true.)

     AQUJU Jk    &              LA
                                                     5     ^
Defen ’: s signatufe
Sworn to and         ribed before me on


Harris County Deputy District Qeik

                                                                                     2J
                                                                                        PRESIDINGgUDGE
                                                                                     7y%?7 District Court
                                                                                 Harris County, T E X A S

     EXHIBIT 57 Page 011                                                                          0001213
                                               CLERK
           Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 299 of 813
           Case 4:17-ev-03821 Document 18-57 Fileskjr 7JD1/19 TXSD Page 12 of \ ss           4
                                                                                             '

Mt

                                   Cause No.   I                          Ls
THE STATE

V.
                 OF   TEXAS                                                    INTH
                                                                                      ^          DISTRICT COURT

                                                                               COUNTY CRIMINAL COURT AT LAW NO.

                                      Defendant                                HARRIS COUNTY , TEXAS


          TRIAL COURT S CERTIFICATION OF DEFENDANT ' S RIGHT                                                      APPEAL *
I, judge of the trial court, certify this criminal case:
              is not a plea-bargain case, and the defendant has the right of appeal.
                                                                                                      ^
              is a plea-bargain case, but matters were raised by written motion fileda d ruled on before trial, and
              not withdrawn or waived, and the defendant has the right of app             or ]
              is a plea-bargain case, but the trial court has given permissiorf to appeal, and the defendant has the
              right of appeal [or]
                                ,
                                                                                            ^
              is a plea-bargain case, and the defendant has NO right o        eal. [ or ]
              the defendant has waived the right of appeal.



Judge                                                               <   4\ T)ate Signed^
                                                                                                 un
                                                                    ^
I have received a copy of this certification. I hav also been informed of my rights concerning any appeal of
this criminal case, including any right to file a              ^
                                                      petition for discretionary review pursuant to Rule 68 of the
Texas Rules of Appellate Procedure. I have been admonished that my attorney must mail a copy of the court of
appeals's judgment and opinion to my last known address and that I have only 30 days in which to file a pro se
petition for discretionary review in the Courlpt Criminal Appeals. TEX. R. APP. P. 68.2 1 acknowledge that, if I
wish to appeal this case and if I am enmeirto do so, it is my duty to inform my appellate attorney, by written
communication, of any change in the dMfess at which I am currently living or any change in my current prison
                                               ^
unit. I understand that, because of appellate deadlines, if I fail to timely inform my appellate attorney of any
change in my address, I may lose iJne opportunity to file a pro se petition for discretionary review.


            OAA-dLrvc                                                             6
Defendan

Mailing Address:
                              ^           11
                                                                           Defendant's Counsel

                                                                           State Bar of Texas ID number:,
                                                                                                      /
                                                                                                           Z C
                                                                                                                       *

Telephone numbeM
Fax number (if any):
                                                                           Mailing Address:

                                                                           Telephone numbed
                                                                                                      /
                                                                                                       ^                                   Q& <




                                                                           Fax number (if any):
* “A defendant in a criminal case has the right of appeal under these rules . The trial court shall enter a certification of the defendant's
right to appeal in every case in which it enters a judgment of guilt or other appealable order. In a plea bargain case -that is, a case in
which a defendant's plea was guilty or nolo contendere and the punishment did not exceed the punishment recommended by the
prosecutor and agreed to by the defendant - a defendant may appeal only: (A ) those matters that were raised by a written motion filed
and ruled on before trial , or (B ) after getting the trial court's permission to appeal .” TEXAS RULES OF APPELLATE PROCEDURE
25.2(a)(2).
                                                                   CLERK
          EXHIBIT 57 Page 012                                                                                              9/0001214
                                                                                                                             1/2011
Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 300 of 813

                 13847940101C / Court: 337




                 EXHIBIT 58




                                                                      0001215
                       Case 4:17-cv-03621
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HOME ( / )
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MEDIA ( / MEDIA/ )
CONTACT (/ CONTACT/ )
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  $         ENDORSE ( / ENDORSE/ )                                                                                                                                                                                                                                                             §
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      xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxvvvvvvv




                August 22, 2015 (/media/ 2015/8/ 22/death-penalty-sought-in-boys-adduction-
                                                  slaying)

                DEATH PENALTY SOUGHT IN BOY'S
                      ADDUCTION, SLAYING
          (/ MEDIA/ 2015/ 8/ 22/ DEATH-PENALTY-SOUGHT-
                  IN-BOYS-ADDUCTION-SLAYING)

      More than 20 years ago, two armed men in ski masks forced their way into a south
      Houston apartment around midnight as the family inside slept.

      Angelo Garcia, Jr., an energetic 6-year-old often seen riding his bike around the
      neighborhood, woke up to cries and shouting.

      His stepfather was being pistol-whipped. His mother was being sexually assaulted.

      The attackers tied up the couple, ransacked the apartment and fled with a wallet and
      jewelry. They also took Angelo.

      It was September 30, 1992.



                    EXHIBIT 58 Page 001
                                                                                                                                                                                                                                                       0001216
      Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 302 of 813
Two decca$#s1    tfer,va° h
               ^       5

                         ^ did will culminate Monday
               '

                       Sc

suspect   before authorities                                  as the capital murder trial of
Obel Cruz-Garcia opens.

The 45-year-old is facing the death penalty, accused of kidnapping and killing Angelo.

" He denies it, he denies everything," said his attorney, Skip Cornelius. " He has
consistently denied any involvement."

Cornelius said little else about strategy, including how to defuse DNA tests that
appear to link Cruz-Garcia to the crime.

In 1992, police believed the assaults and abduction were part of a drug deal gone
bad, which the family denied.

Friends and neighbors helped investigators search for the boy for six weeks. His
remains were found by a man crabbing on the south shore of Goose Creek Lake in
Baytown. He was identified through dental records and the torn Batman shorts he
had been wearing when he was kidnapped.

Even before the body was found, police wanted to talk to 25-year Obel Cruz-Garcia
but believed he had fled the country.

The case gathered dust as advances in DNA identification changed criminal
investigations.

In 2007, a DNA profile was created from evidence left by one of the assailants. Armed
with a way to implicate at least one of the attackers, Houston investigators enlisted
the help of the FBI who found Cruz-Garcia in a prison in Puerto Rico.

When the DNA matched, Cruz-Garcia was returned to Houston to face charges. He
remains in the Harris County jail without bail.

Prosecutors Natalie Tise and Justin Wood said little about strategy or the evidence
the jury is expected to hear, which could include testimony from a co-defendant,
according to court records.
           5
Tise BiclBsayPfPiee victim's family is expected to testify.
                   0
                                                                                      0001217
     Case 4:17-cv-03621
                      § Document 89-12 Filed on 01/05/23 in TXSD [ Page
                                                                     § 303 of 813
'TheyVe9   lif 4 vri9 R4dP fe lGfD v
                     ^
                ^ and it is a horrible ^ ^ tragic case." ^ ^ ^ ^
                                           ^
                               ^ ^, horrible  i¥i
                                                  ^^^   rbS ? vc rWT 6 1:his
                                                 1
          ^
case for years now
                          (

                             ^               ^                     i               i




The trial, in state District Judge Renee Magee's court, is expected to last about two
weeks.


                                V 0 Likes     < Share

COMMENTS (0)                                       Newest First        Subscribe via e-mail




                                                         Preview   P O S T C O M M E N T ...




Newer Post                                                                  Older Post
Female judges recognized by Texas               Renee Magee featured in The Cypress
Legislature (/media / 2015/ 8/30/female-             Times for her work at the District
judges-recognized-by-texas-legislature)                               Attorney's office
                                                   (/media / 2015/7/ 24/renee-magee-
                                                featured-in-the-cypress-times-for-her-
                                                 work-at-the-district-attorneys-office)




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             EXHIBIT 58 Page 004
http://www.judgereneemagee.eom/media/2015/8/22/death-penalty-sought-in-boys-adduction-slaying
                                                                                                0001219 4/4
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                 13847940101C / Court: 337




                 EXHIBIT 59




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   Case 4:17-cv-03621
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                                                                         Page   of 813
                                                                              1 of



Death penalty sought in boy’ s abduction, slaying
                                    :exas / hOL=:>tor: / a ?- t! C : e / : k:h - penalty           »' \   .   Ct: on - ssaying-
                                                                                           *

                                                                                               ^
                                                                                                                July 7,
                                                                                                                2013


Death penalty sought in boy ' s abduction, slaying

Obel Cruz- Garcia, 45, faces the death penalty for capital murder in a cold case trial opening
Monday. He is accused of kidnapping and killing 6 -year- old                  . after a home
invasion on September 30, 1992,
Photo; Harris County Sheriffs Office

More than 20 years ago, two armed men in ski masks forced their way into a south Houston
apartment around midnight as the family inside slept.

                an energetic 6-year - oid often seen riding his bike around the
neighborhood, woke up to cries and shouting.

His stepfather was being pistol- whipped. His mother was being sexually assaulted.

The attackers tied up the couple, ransacked the apartment and fled with a wallet and
jewelry. They also took

it was September 30, 1992.

Two decades later, a saga in which forensic science may have caught up with a suspect
before authorities did will culminate Monday as the capital murder trial of Obel Cruz-Garcia
opens.

The 45 -year- oid is facing the death penalty, accused of kidnapping and killing Angelo.

" He denies it, he denies everything," said his attorney, Skip Cornelius. " He has consistently
denied any involvement."

Cornelius said little else about strategy, including how to defuse DNA tests that appear to
link Cruz - Garcia to the crime.

In 1992, police believed the assaults and abduction were part of a drug deal gone bad,
which the family denied.

Friends and neighbors helped investigators search for the boy for six weeks. His remains
were found by a man crabbing on the south shore of Goose Creek Lake in Baytown. He was
identified through dental records and the torn Batman shorts he had been wearing when
he was kidnapped.
                                                                                                                                  1 /2
  EXHIBIT 59 Page 001
                                                                                                                  0001221
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Even before the body was found, police wanted to talk to 25 -year Obel Cruz -Garcia but
believed he had fled the country,

The case gathered dust as advances in DNA identification changed criminal investigations.

in 2007, a DNA profile was created from evidence left by one of the assailants. Armed with a
way to implicate at least one of the attackers, Houston investigators enlisted the help of the
FBI who found Cruz -Garcia in a prison in Puerto Rico.

When the DNA matched, Cruz- Garcia was returned to Houston to face charges. He remains
in the Harris County jail without bail.

Prosecutors Natalie Tise and Justin Wood said little about strategy or the evidence the jury
is expected to hear, which could include testimony from a co - defendant, according to court
records.

Tise did say the victim ’ s family is expected to testify.

"They've been very involved, very supportive," Tise said. " I ' ve been working on this case for
years now and it is a horrible, horrible tragic case."

The trial, in state District Judge Renee Magee ' s court, is expected to last about two weeks.




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                 EXHIBIT 60




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          August 30, 2015 (/media/ 2015/8/30/female-judges-recognized-by-texas-legislature)

            FEMALE JUDGES RECOGNIZED BY TEXAS
           LEGISLATURE (/ MEDIA/ 2015/ 8/ 30/ FEMALE-
          JUDGES-RECOGNIZED-BY-TEXAS-LEGISLATURE )

      There are 1,064 female judges in Texas. On Monday, more than 120 gathered at the
      Capitol in Austin, where they were recognized by members of the Texas Senate and
      House, with SR 535 and HR1907.

      Read More -

                    EXHIBIT 60 Page 001
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                                        slaying)

      DEATH PENALTY SOUGHT IN BOY'S
            ADDUCTION, SLAYING
(/ MEDIA/ 2015/ 8/ 22/ DEATH-PENALTY-SOUGHT-
        IN-BOYS-ADDUCTION-SLAYING)

More than 20 years ago, two armed men in ski masks forced their way into a south
Houston apartment around midnight as the family inside slept.

Angelo Garcia, Jr., an energetic 6-year-old often seen riding his bike around the
neighborhood, woke up to cries and shouting.

His stepfather was being pistol-whipped. His mother was being sexually assaulted.

The attackers tied up the couple, ransacked the apartment and fled with a wallet and
jewelry. They also took Angelo.

It was September 30, 1992.

Two decades later, a saga in which forensic science may have caught up with a
suspect before authorities did will culminate Monday as the capital murder trial of
Obel Cruz-Garcia opens.

Read More -




 July 24, 2015 (/media/ 2015/7/24/renee-magee-featured-in-the-cypress-times-for-
                     her-wor k-at-the-district-attorneys-office)

     RENEE MAGEE FEATURED IN THE CYPRESS
      TIMES FOR HER WORK AT THE DISTRICT
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( / MEDIA/ 2015/7/ 24/ RENEE-MAGEE-FEATURED-
    IN-THE-CYPRESS-TIMES-FOR-HER-WORK-AT-
        THE-DISTRICT-ATTORNEYS-OFFICE)

HOUSTON - A woman who formed a fraudulent corporation to bilk Medicaid out of
hundreds of thousands of dollars was sentenced to 14 years in prison Tuesday.
Christine Lee Jones, 47, pleaded guilty to the charge of aggregate theft over
$ 200,000 in the 184th District Court. Judge Jan Krocker heard evidence against
Jones and assessed the prison sentence.

Read More -




  April 22, 2011 (/media / 2015/ 8/ 22/magee-is-inducted-into-the-swimming-hall-of-
                                         fame)

 MAGEE IS INDUCTED INTO THE SWIMMING
HALL OF FAME ( / MEDIA/ 2015/ 8 / 22/ MAGEE-IS-
  INDUCTED- INTO-THE-SWIMMING-HALL-OF-
                   FAME )

Renee Magee was awarded with an induction into the Texas Swimming Hall of Fame
in 2011. Magee was the first Midwestern swimmer to make a U.S. Olympic Swimming
team. She was a  member of the 1976 team and swam the 100 m backstroke in
Montreal, Canada. Renee began her career as a seven year old with the Omaha
Westside Swim Club under Cal Bentz. In 1972 she swam for Bellevue Swim Club in
Jack Jackson. In 1975 her father was transferred to Houston, and but Renee stayed in
Omaha and lived with the Jacksons. Homesickness and missing her family began to
effecMif tfcffftiance and the decision was made by athlete, coach, and parents   for
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    Kenny, now the men's coach at Stanford University. Renee placed 3rd at the Olympic
    Trials in 1976. She was World Ranked in the 200 m IM in 1974, a top 16 qualifier from
    1972 thru 1976 and a Midwestern record holder. She was also a member of the US
    National Team that competed in Australia. At the 1976 Olympic Games she missed
    qualifying for the semifinals by .01. She competed for North Carolina State for one
    year and retired. She returned to school and earned a Law degree. Today she lives in
    Houston, is married and has a son. She is an assistant District Attorney in Houston.
    Her mother refers to her as the Martha Clark of Houston. Renee encourages athletes
    to work hard and enjoy the sport of swimming. She remembers her swimming career
    as some of the best times of her life.

    Read More -




     Pd. Pol. Ad by Renee Magee Campaign, in compliance with the voluntary limits of the
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                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
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                Applicant . §               CAPITAL CASE
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             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
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HPD Crime Lab Independent Investigation




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HPD Crime Lab Independent Investigation




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HPD Crime Lab Independent Investigation                                                           1




Executive Summary
        This is the Final Report of the Independent Investigator for the Houston Police
Department ("HPD") Crime Laboratory and Property Room. This report includes the
final findings and recommendations of the independent investigation that began in
April 2005. Accordingly, this report incorporates information that was discussed in our
previous five reports, as well as a substantial amount of new material that has not
previously been published.1

        The City of Houston (the "City") and HPD commissioned this investigation
following a two-year wave of adverse publicity that began in November 2002 and
raised serious questions about the quality of the forensic science work in the Crime Lab.
The City and HPD should be commended for authorizing an independent and public
assessment of the extremely serious historical problems that have generated so much
adverse publicity for the Crime Lab and for HPD and have created profound doubts
about the integrity of important aspects of the criminal justice system in Harris County.
It should serve as a model as to how to responsibly address failures of critical
institutions in the criminal justice system.

       Our investigation has gone well beyond examining the causes of the historical
problems in the Crime Lab to include a detailed assessment of how the Lab's past
problems have been addressed through the changes implemented in the Lab's current
operations. We have also developed specific recommendations as to how HPD and the
Crime Lab should make further improvements.

       The goals of the investigation and of this final report are to (1) provide a
thorough and detailed account of the management and operational issues that
contributed to the crisis experienced by HPD and the Crime Lab; (2) identify potential
cases of injustice resulting from flawed or misleading forensic science work performed
in the past by the Lab; (3) thoroughly examine and assess the scientific and
administrative problems related to the Lab's work across all of its sections, focusing
primarily on cases worked during the 1998-2004 period but extending more broadly
with respect to certain forensic disciplines, especially serology; (4) provide a
comprehensive assessment of the current operations of the Lab and Property Room; and
(5) formulate recommendations designed to ensure that the Lab and Property Room
meet the public's legitimate expectations that the Lab and Property Room contribute to


        All six of the reports of the independent investigation are posted on our Web site at
        www.hpdlabinvestigation.org.




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HPD Crime Lab Independent Investigation                                                2




the maximum extent possible to the fair administration of criminal justice in Harris
County.
       To HPD's credit, the Crime Lab has moved forward during our investigation.
Between the start of the independent investigation in April 2005 and the completion by
May 2006 of the bulk of our historical case reviews, the Lab underwent significant
advances and made significant progress in shedding its troubled past and building on
changes that had begun as early as 2003. Under the leadership of the current head of
the Crime Lab, Irma Rios, the Lab has revised the Standard Operating Procedures
("SOPs") for each of its sections, implemented a new quality assurance and quality
control ("QA / QC") program, developed new training programs for analysts, and hired
a number of new supervisors and analysts, including a qualified DNA technical leader.
On May 10, 2005, the American Society of Crime Laboratory Directors / Laboratory
Accreditation Board ("ASCLD / LAB") accredited the Crime Lab, for the first time, in the
disciplines of controlled substances, blood alcohol analysis, questioned documents,
firearms, and serology. In June 2006, after substantial preparation that included
recruiting and training a new class of DNA analysts, ASCLD / LAB granted the Crime
Lab provisional accreditation for DNA analysis, which allowed the Lab to resume
forensic DNA profiling work. The Crime Lab underwent another ASCLD / LAB
accreditation inspection in March 2007, which included a review of the status of the
Crime Lab's DNA operation, as well as ASCLD/ LAB's first inspection of the Lab's trace
evidence examination work. On June 11, 2007, the Crime Lab reported that it had
received notification from ASCLD / LAB that accreditation had been granted to the
Crime Lab's operational units.

       In light of the significant changes implemented by HPD and the Crime Lab
during the 2003-2005 period, our investigation was broadened to include a review of the
Lab's current operations. In order to furnish the City and HPD with relevant and
specific recommendations designed to enable the Crime Lab and Property Room to
provide the people of Houston with first-rate forensic science services, we reviewed
cases processed by the each of the Lab's sections since ASCLD / LAB accreditation was
obtained in May 2005, as well as policies and practices related to the current
management and administration of the Lab and Property Room.
       Our two-year investigation of the Crime Lab covered a period of more than 25
years, included more than 100 interviews, and involved the review of more than 3,500
forensic science cases analyzed by the Lab. During the course of our investigation, we
developed an enormous body of information about the collection, storage, analysis, and
use of forensic evidence in the Harris County criminal justice system . The findings and
recommendations contained in this report are designed to fairly and objectively assess
the past, evaluate the present, and recommend reforms that will assist the City and



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HPD Crime Lab Independent Investigation                                                       3




HPD in providing the best possible forensic science services to the people of Houston
and Harris County.

I.      The Independent Investigation

       Our investigation of the Crime Lab and Property Room, as reflected in this
report, had three central elements:
        1.       Historical operations of the Crime Lab. We gathered and analyzed facts
                 regarding the historical management, administration, and operations of
                 the Crime Lab. This analysis included a review of more than 3,500 cases
                 covering the disciplines of serology, DNA analysis, trace evidence
                 examination, controlled substances, firearms examination, toxicology, and
                 questioned documents examination. The central task was to assess the
                 quality of the forensic science work prior to accreditation.
        2.       Serology incarceration cases. We identified and reviewed all of the
                 serology cases related to still-incarcerated defendants that were processed
                 by the Crime Lab between 1980 and 1992, a total of 850 cases.

        3.       Review of the current operations of the Crime Lab and Property Room
                 and recommendations. We analyzed the current operations of the Crime
                 Lab and Property Room, including the review of a sampling of cases
                 analyzed by each section of the current Crime Lab since accreditation in
                 May 2005. Based on that review, we developed recommendations
                 regarding the collection, storage, analysis, and use of forensic evidence.
II .    The Historical Operations of the Crime Lab

       Our review of over 3,500 cases analyzed by the Crime Lab prior to its
accreditation by ASCLD / LAB has produced a rich and complex portrait of the quality
of forensic science work performed during a period that extended, in some of our
reviews, for a period of close to 25 years. We observed high quality work performed in
the Crime Lab's Toxicology, Firearms, and Questioned Documents Sections and found
very few significant problems in the cases we reviewed in these disciplines. Although
the Crime Lab generally performed reliable examinations of trace evidence, we found
that poor communication between the Crime Lab and HPD investigators may have
diminished the potential value of this work to HPD's investigations. Although the
Controlled Substances Section's analysis of marijuana and cocaine samples -- which
comprised the vast majority of its workload -- was sound, we found a number of
serious problems with the Section's analysis of other types of evidence including liquids
and tablets.



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HPD Crime Lab Independent Investigation                                                                       4




        By stark contrast with the overall quality of work performed in these sections of
the Crime Lab, the Lab's historical serology and DNA work is, as a whole, extremely
troubling. We found significant and pervasive problems with the analysis and
reporting of results in a large proportion of serology and DNA cases. The Crime Lab's
substandard, unreliable serology and DNA work is all the more alarming in light of the
fact that it is typically performed in the most serious cases, such as homicides and
sexual assaults. On the whole, this work did not meet the generally accepted forensic
science principles that existed at the time and posed major risks of contributing to
miscarriages of justice in extremely significant cases, including death penalty cases.

         A.      Results of the Historical Case Reviews

       Our team developed appropriate sample sizes for the historical case reviews
undertaken by our forensic scientists in each of the following forensic science
disciplines:2

     •   DNA (1992 - 2002)                    •    Controlled substances (1998 - 2004)

     •   Trace evidence (1998 - 2004)         •    Toxicology (1998 - 2004)

     •   Firearms (1998 - 2004)               •    Questioned documents (1998 -2004)3

                 1.       DNA

       We reviewed a total of 135 DNA cases analyzed by the Crime Lab between the
early 1990s and December 2002, when the DNA Section of the Lab was closed following
an outside audit. We identified major issues in 43 -- or approximately 32 % -- of these
cases.4 We reviewed all 18 of the death penalty cases that involved DNA analysis
performed by the Crime Lab prior to the closure of the DNA Section. We identified
major issues in the DNA analysis performed by the Crime Lab in four death penalty
cases involving death row inmates Franklin Dwayne Alix, Juan Carlos Alvarez, Gilmar
Alex Guevara, and Derrick Jackson.



2        In addition to the Crime Lab's historical cases in each of these six disciplines, we reviewed over
         1,000 serology cases processed by the Crime Lab between 1980 and 1992. The results of this
         review are summarized in Section III below.
3        Because of the relatively small number of questioned documents cases, we reviewed all of HPD's
         questioned documents cases examined between 1998 and 2004.
4        There are 45 suspects or defendants involved in the 43 major issue DNA cases we identified.
         Each of these individuals is identified in Appendix E, "DNA Major Issue Cases."




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HPD Crime Lab Independent Investigation                                                                    5




       The Crime Lab's historical DNA casework reflects a wide range of serious
problems ranging from poor documentation to serious analytical and interpretive errors
that resulted in highly questionable results being reported by the Lab. The profound
weaknesses and flawed practices that were prevalent in the Crime Lab's DNA work
include the absence of a quality assurance program, inadequately trained analysts, poor
analytical technique, incorrect interpretations of data, the characterizing of results as
"inconclusive" when that was not the case, and the lack of meaningful and competent
technical reviews. Furthermore, the potential for the Crime Lab's analysis of biological
evidence to result in a miscarriage of justice was amplified exponentially by the Lab's
reported conclusions, frequently accompanied by inaccurate and misleading statistics,
that often suggested a strength of association between a suspect and the evidence that
simply was not supported by the analyst's actual DNA results.

       Despite all these problems, the Crime Lab continued for a full decade to perform
DNA work under conditions that made the risk of an injustice intolerably high.
Although most of the DNA results reported by the Crime Lab have been confirmed in
some fashion by independent testing, 52 cases have not been, and, after more than four
years of re-testing, many of them probably will never be. While the number of proven
wrongful convictions attributable to the Crime Lab's DNA work is small -- only one
                                                                                —
such case, that of Josiah Sutton, has been established at this point the possibility of
other wrongful convictions resulting from DNA analysis during this era cannot be
dismissed.

                 2.     Controlled Substances

        We reviewed 1,271 of the Crime Lab's historical controlled substances cases,
including samples that focused on cases analyzed by former Crime Lab analysts James
Price and Vipul Patel, who were involved in four cases of "drylabbing."5 We found a
total of 147 cases involving major issues, most of which were due to a few common,
widespread problems related to poor laboratory practices. Most of the minor issues we
identified were attributable to a combination of analyst errors, poor documentation
practices, and an informal review process and quality assurance program that was not
sufficiently rigorous. In spite of these issues, however, we found that the bulk of the
actual analytical work performed in the historical Controlled Substances Section --


        "Drylabbing" is the most egregious form of scientific misconduct that can occur in a forensic
        science laboratory   —it means the fabrication of scientific results. In the Crime Lab, the instances
        of drylabbing took the form of controlled substances analysts creating false documentation
        intended to reflect analytical procedures that were never performed. As one of the members of
        the Stakeholders Committee put it, drylabbing is a "hanging offense" in the scientific community.




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which predominantly were cocaine and marijuana identification cases -- was reliable
and of high quality.

                 3.   Firearms

       We reviewed a total of 330 historical firearms cases and found that the work in
the Firearms Section was consistently good and sometimes excellent. We identified
only one case with a major issue, which involved the misreporting of an examiner's
results. The Firearms Section has acknowledged the error and has taken remedial
action through the Crime Lab's current QA / QC program. The various minor issues we
found in the historical firearms cases were mostly administrative in nature, involving
minor documentation deficiencies and deviations from Crime Lab policies or what are
now generally accepted forensic science principles. These minor issues can be
attributed to a combination of analyst errors and shortcomings in the Section 's case
review process and quality assurance program.

                 4.   Trace Evidence

       We reviewed 263 of the Crime Lab's past trace evidence cases, 5 of which
involved major issues. While we found that most of the work performed by the Trace
Evidence Section was of high quality, much of the potential value of trace evidence was
not realized during this period because HPD investigators and the Crime Lab did not
pursue potentially significant evidence. The follow-up that did occur often took place
only after lengthy delays that reduced the likelihood of a successful investigative
outcome. The Trace Evidence Section's sparsely documented files, which was an issue
endemic across all of the Crime Lab's sections, also diminished the usefulness of the
examinations performed by the Section.

                 5.   Toxicology
        We reviewed 396 toxicology cases and found only one that involved a major
issue -- in that case, the analyst failed to perform additional testing to resolve a
pharmacologically questionable test result. While most of the work performed by the
Toxicology Section during the period of our review was of high quality, we identified
some documentation deficiencies, a lack of rigor in the interpretation of some analytical
data, and the absence of thorough administrative and technical reviews as minor issues
in a significant number of the cases.

                 6.   Questioned Documents

       We were consistently impressed by the quality of the work performed by HPD's
questioned documents examiner. Only minor issues were identified in our review of
historical cases, and the minor issues were all administrative issues unrelated to the


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technical proficiency of the questioned documents examiner. The most significant
problem with the Questioned Documents Section has been its chronic underutilization
by the Department -- HPD's lone questioned documents examiner performed
substantive work in only 91 cases between 1998 and 2004, which is very surprising in a
city as large as Houston.

        B.       Causes of the Crime Lab's Failure

       Several of the root causes for the severe problems experienced by the Crime Lab
came into focus early in our investigation when we reviewed information relating to
funding and support for the Lab; interviewed Lab managers, Lab employees, and other
HPD personnel; and reviewed the Lab's SOPs, administrative files, and casework. On
the basis of that work, we arrived at various tentative conclusions about the causes of
the crisis that consumed the Crime Lab beginning in late 2002. These tentative
conclusions were borne out by our review of the Crime Lab's historical cases. Each of
these causes had an impact on the Crime Lab's casework and the quality of forensic
science services that the Lab was able to provide to the Harris County criminal justice
system.
                 1.    Lack of Support and Resources for the Crime Lab

        Over the 15 years preceding the DNA / Serology Section's closure in December
2002, HPD and the City failed to provide the Crime Lab with adequate resources to
meet growing demands for its services. During these years, Houston grew to become
the fourth largest metropolitan area in the United States, and the level of criminal
activity increased as the City grew. Yet, as its caseload swelled, the Crime Lab
struggled to keep pace. As a support function populated by civilian employees, the
Crime Lab was marginalized within HPD. Salaries for Crime Lab personnel were
significantly lower than salaries offered in other laboratories, including other public
laboratories in the Houston area. As a result, the Crime Lab experienced difficulty
attracting and retaining well-qualified forensic scientists. Although the number of
forensic scientists authorized for the Crime Lab grew modestly between 1994 and 2002,
turnover or inadequate funding meant there were always positions that remained
vacant, sometimes for extended periods of time. The calcified organization of the Crime
Lab afforded analysts very little opportunity for promotions or pay increases.

       With very few exceptions, the technical errors we identified in the Crime Lab's
historical cases were not attributable to misconduct on the part of individual analysts.
Rather, the major issues that we identified in the Crime Lab's historical casework are
attributable in large part to poor training and lack of competent technical guidance. We
found documents reflecting DNA analysts' frustrations and concerns over the lack of
training as early as 1994, soon after the Crime Lab began performing DNA analysis.



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Training was one of the first areas of the Crime Lab's budget that was cut as funding for
the Lab became tight. This lack of training was reflected in the Crime Lab's DNA
casework where HPD analysts demonstrated fundamental failures to understand and
apply generally accepted forensic science principles.

       Finally, under HPD's and the Crime Lab's former management, accreditation
was never a realistic possibility. Because of the roof leaks that allowed water to leak
into the Crime Lab for more than six years6 and because of the lack of sufficient
funding, by the early 2000s the former head of the Lab, Donald Krueger, knew that the
Lab would not be able to obtain ASCLD / LAB accreditation without significant
improvements. Mr. Krueger was uncomfortable with the prospect of inviting outside
inspectors to review the Crime Lab. Without additional funding and support from
HPD and the City, the Crime Lab had no realistic prospect of becoming accredited and
integrated into the national forensic science community.
                 2.     Ineffective Management Within the Crime Lab

        Although HPD and the City must be faulted for failing to provide the Crime Lab
with the resources it needed, there also was a lack of strong and effective leadership
within the Lab. Mr. Krueger, who was head of the Crime Lab from 1995 to early 2003,
was an isolated and detached director of the Lab. Mr. Krueger rarely met with Crime
Lab analysts as a group, and he relied heavily on James R. Bolding, the head of the
DNA / Serology Section, and the other managers to run their sections, while providing
little oversight. Mr. Krueger told us that he was surprised and shocked when, in
December 2002, outside auditors advised him that the DNA Section was in shambles.
Given the state of affairs described by the auditors and reflected in the Section's
casework, this could only have been the reaction of a manager extremely far removed
from the work performed and reported out by the DNA Section.

       For his part, Mr. Bolding almost surely lacked the competence to recognize the
                                                    —
problems with the Crime Lab's DNA work he was never trained in polymerase chain
reaction ("PCR") techniques and clearly had no better understanding of the proper
interpretation and presentation of DNA typing results than his subordinates.
Mr. Krueger failed to make a forceful case with HPD command staff for addressing

        The City and HPD were aware of problems with the roof at the 1200 Travis Street HPD
        headquarters building before the Crime Lab moved into the facility in 1997. In 2001, Tropical
        Storm Allison flooded the Crime Lab, and boxes containing biological evidence became soaked
        and the evidence likely contaminated. Yet, the roof leaks continued unabated in a scientific
        laboratory responsible for processing sensitive biological evidence for use in criminal matters.
        The roof problem was not addressed until 2003, after the crisis enveloped the Crime Lab.




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critical needs, such as the severity of the roof problem and the desperate need for a
direct supervisor over the DNA / Serology Section. Although requests for funding were
made regularly over the years, Mr. Krueger failed -- almost surely because he did not
                                             —
fully appreciate the problem himself to explain the disastrous potential of the lack of
supervision in the DNA/ Serology Section.

       We also found that there was inadequate management of the strong and difficult
personalities within the Crime Lab. Morale was consistently low among Crime Lab
analysts and discontent was widespread. After Dr. Baldev Sharma was made the line
supervisor over the DNA / Serology Section in 1993, open and prolonged feuding
developed between Dr. Sharma and his supervisor, Mr. Bolding. Grievances and
Internal Affairs Division ("LAD") complaints between and among analysts and
supervisors, some of which were quite petty, were commonplace. Finally, as
demonstrated by four drylabbing incidents involving two Controlled Substances
Section analysts, described in our previous reports and again in this report,7 Crime Lab
managers found it difficult to discipline or remove incompetent personnel. These
personnel problems fostered a highly dysfunctional, and, in some respects
unprofessional, laboratory environment.

                 3.     Lack of Adequate Quality Control and Quality Assurance

       Managers and supervisors within the Crime Lab failed to ensure that the
analytical and quality control procedures employed by the Lab were current, properly
designed, and complete. SOPs for most of the sections in the Crime Lab, including the
DNA / Serology Section, consisted of procedures and reference materials cobbled
together over time without periodic re-evaluation and reorganization. There were few
technical reviews of analysts' work, including review of their test results, interpretation
of data, and reporting.

        Even though Dr. Sharma was appointed the QA / QC Manager for the Crime Lab
in 1996, he was unproductive in this position, and the Lab failed to develop a true
quality assurance program. The Crime Lab stopped performing Lab-wide inspections
of casework until approximately 1997, but those inspections even when performed were
largely administrative and did not involve review of analysts' results and
interpretation.



        These drylabbing cases were first discussed in our Second Report, which was issued on May 31,
        2007. These incidents are described in detail in Section III.A of this report 's discussion of our
        historical case reviews.




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                 4.    Isolation of the DNA/Serology Section

       Major problems existed in the DNA / Serology Section of the Crime Lab almost
from its inception in the early 1990s. These problems were insufficiently recognized by
Crime Lab management and the HPD command staff for many years. By the time of
the 2002 outside audit, the DNA Section was in shambles -- plagued by a leaky roof,
operating for years without a line supervisor, overseen by a technical leader who had
no personal experience performing DNA analysis and who lacked the qualifications
required under the applicable Federal Bureau of Investigation ("FBI") standards, staffed
by underpaid and undertrained analysts, and generating mistake-ridden and poorly
documented casework. A critical component of the FBI standards, to which the Crime
Lab agreed to abide when it registered to participate in the Combined DNA Index
System ("CODIS") database8 in 1998, is a requirement for bi-annual reviews by outside
agencies. Such a review never occurred until the fateful outside audit in December
2002. The internal reviews of the DNA Section, performed by Mr. Bolding in 2000 and
2001, made findings regarding the condition of the Section that were largely
contradicted by the 2002 outside audit, which used the same standards supposedly
used by Mr. Bolding. Despite the Crime Lab management's recognition as early as 1996
that accreditation was becoming a necessity, the Lab's efforts toward achieving
accreditation never gathered momentum of any kind; no outside inspection of the DNA
Section related to accreditation was ever performed.

       The purpose of outside scrutiny is to examine a laboratory's practices, to focus
attention on existing deficiencies and potential problems, and to broaden the
perspective of laboratory analysts by bringing them in contact with personnel who
work in other forensic laboratories. By insulating itself from outside scrutiny, the Crime
Lab never received these benefits. Flawed practices and embedded
                       —
misunderstandings for example about the proper calculation and use of frequency
estimates in DNA cases -- became accepted by analysts within the DNA/ Serology
Section as the correct way to do things. These misunderstandings infected the work of
the Section's analysts from the analysis through trial testimony. Indeed, we observed
the same types of major issues across all the Crime Lab's DNA work, regardless of the
analyst or the DNA typing system used.



        CODIS is a system that "enables federal, state, and local crime labs to exchange and compare
        DNA profiles electronically, thereby linking crimes to each other and to convicted offenders."
                                                       —
        CODIS is a hierarchical database with three tiers the National DNA Index System ( NDIS) is the
        highest tier, with state (SDIS) and local (LDIS) databases flowing into it. See
        www.fbi.gov/ hq/ lab / codis / brochure.pdf .




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 III.       Serology Case Reviews and Recommendations
        During the 1980s and early 1990s, the forensic serology work performed in the
Crime Lab under Mr. Bolding fell far below the principles generally accepted in the
forensic science community at the time. The Serology Section failed the criminal justice
system in Harris County both in the work that it did and in the work that it failed to do.
        The Crime Lab failed to perform genetic marker testing, such as ABO typing and
enzyme testing, on evidence in hundreds of cases submitted to the Lab testing that
could have generated probative information about the culpability of suspects who had
                                                                                         —
been identified by HPD investigators.9 Our review of 850 serology cases handled by the
                                            —
Crime Lab between 1980 and 1992 each of which relates to a suspect who is currently
                                       —
incarcerated in a Texas prison found that there may be biological evidence in 274 -- i.e.,
one-third -- of these cases that was never typed by the Lab. In another 139 cases, the
Crime Lab performed ABO typing on the evidence but never compared it to known
reference samples from the victim and suspect, so the genetic marker data developed by
the Lab was of no use. These 413 cases all involve evidence that, if properly analyzed
using then-existing technology and compared to reference samples, could have been
used to either help convict a suspect who was known to HPD or prosecutors or to help
exonerate him . All of these cases relate to currently imprisoned defendants convicted of
very serious crimes, such as murders and sexual assaults.
        We found that the serology work that the Crime Lab did actually perform during
 the 1980-1992 period was generally unreliable. We found major issues calling into
 question the reliability of the serology work performed by the Crime Lab or the
                                                             —
 accuracy of the results it reported in 180 -- 21% of the serology cases we reviewed
 that relate to a defendant who is currently in prison. This is an extraordinarily high and
 extremely disturbing proportion of cases in which to find problems of this magnitude.

       Based on the findings of our review of 850 serology cases processed by the Crime
 Lab between 1980 and 1992 and which relate to a defendant who currently is in prison,
 we make the following recommendations.

        •   HPD must determine whether evidence currently exists and can be located in the
            following categories of cases:


            Our review of the Crime Lab's historical serology cases was limited to those cases from the 1980s
            and early 1990s that could be tied to a currently incarcerated prisoner. The total number of cases
            from this period in which the Crime Lab found biological stains in evidence and could have
            performed serological genetic marker analysis hkely is in the thousands.




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        (1) Cases (274) in which evidence was screened positively for blood or semen,
            but no ABO typing was performed;

        (2) Cases (139) in which the Crime Lab performed ABO typing on evidence
            samples, but no comparison to known reference samples was made;

        (3) Cases (6) in which DNA analysis performed contemporaneously by an
            outside laboratory failed to include the suspect; and

        (4) All cases (180) we identified as containing a major issue with the reliability
            of the Crime Lab's work or the accuracy of its reported results.

    •   The District Attorney's Office and HPD should notify every prisoner whose case
        falls into one of the above categories that the independent investigation has
        identified a potential issue with the forensic serology work performed by the
        Crime Lab in his case and that HPD is attempting to locate any biological
        evidence that may relate to the prisoner's case. The District Attorney's Office
        and HPD should keep each prisoner who receives such a notice apprised of the
        status of the Department's efforts to locate biological evidence related to his case.

    •   In cases in which HPD is successful in locating evidence containing potential
        biological samples, the District Attorney's Office should notify the prisoner of the
        existence of this evidence, advise him that DNA testing could possibly be
        performed on the evidence, and ask the prisoner whether he wants DNA
        analysis to be performed on the evidence.

             o In cases in which the prisoner requests DNA analysis, Harris County and
                 HPD should arrange for the analysis to be performed without cost to the
                 prisoner.

    •   Harris County and the City should appoint a special master to review the
        complete investigative, prosecutorial, appellate, and post-conviction habeas
        record for all 180 of the major issue serology cases we identified that relate to a
        currently incarcerated prisoner as well as the 6 cases in which DNA testing
        already performed did not include the prisoner as a potential contributor of the
        evidence. The purpose of this review should be to determine (1) what role, if
        any, work performed by the Crime Lab played in the defendant's conviction and
        (2) whether DNA analysis of evidence in the case should be performed in order
        to substantiate the defendant's conviction, regardless of whether serology
        evidence processed by the Lab was used in the prosecution of the defendant.




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                 In cases in which the special master determines that DNA analysis should
                 be performed to substantiate the conviction, Harris County and the City
                 should arrange for the DNA analysis of evidence in the case without cost
                 to the prisoner.

IV.     Detailed Case Studies

       In addition to our review of more than 3,500 pre-2005 Crime Lab cases, we
conducted detailed reviews of the role forensic science played in the cases related to
four defendants -- Lawrence Napper, George Rodriguez, Josiah Sutton, and Nanon
Williams. Each of these cases has received substantial media coverage, and each
involves work by the Crime Lab that has been called into question. The Rodriguez case
involved serology and trace evidence examination; the Williams case involved firearms
evidence; and the Napper and Sutton cases involved DNA evidence.

        A.       Lawrence Napper

        The Napper case relates to the 2001 kidnapping and sexual assault of a young
boy in which the Crime Lab analyzed samples taken from the outside of the victim's
cheeks that the Lab found contained semen. Although the Crime Lab's original DNA
testing appears to have generated good quality and clear results from potentially very
difficult forensic evidence samples, the Napper case illustrates two significant problems
with the Lab's historical DNA work. First, Crime Lab analysts utilized all of the readily
testable sample in this case, which was unnecessary and was the product of very poor
laboratory practice. Second, the written conclusion and testimony of the Crime Lab
analyst that the mixture profile he found in the "face-cheek" swabs "statistically
matches" Mr. Napper is internally contradictory and completely inappropriate. The
analyst's report and testimony almost assuredly created the impression with jurors that
Mr. Napper was the only person on earth who could have contributed the DNA taken
from the victim's face, which is a conclusion not supported by his actual DNA results.

        B.       George Rodriguez

       George Rodriguez was wrongfully convicted of the 1987 kidnapping and sexual
assault of a 14-year-old girl, a crime for which he served nearly 17 years in prison before
being released in 2004. Flawed serology work and testimony were central to
Mr. Rodriguez's conviction. Based on seriously problematic serology analysis, the
Crime Lab incorrectly excluded a key suspect whom investigative leads and
Mr. Rodriguez's defense pointed to as the likely real perpetrator. While the Crime Lab
was not incorrect in finding that its serology analysis could not eliminate Mr. Rodriguez
as a potential contributor to the biological evidence, it provided no information
regarding the significance of Mr. Rodriguez's inclusion -- which was minimal because



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most of the male population could not be eliminated as a potential contributor to the
evidence in this case based merely on ABO typing.

        C.       Josiah Sutton
        Josiah Sutton was released from incarceration on March 12, 2003 after serving
four and a half years of a 25-year prison sentence for a sexual assault that he did not
commit. The Sutton case in many respects is a microcosm of the range of problems we
observed during this investigation related to the use of forensic DNA evidence in the
Harris County criminal justice system. The system failed at multiple points, with the
result that Mr. Sutton was wrongfully convicted based largely on flawed and
misleading DNA work. As a result of poor technique and lack of training, the Crime
Lab analyst, using PCR testing, produced ambiguous results reflecting complex
mixtures, the interpretation of which was very difficult. The problem was exacerbated
by the Crime Lab's practice, followed by the analyst in this case, of failing to accurately
convey the significance of the associations they found between suspects and evidence
through DNA testing, particularly in mixture cases. Nearly eight years after the crime,
the proper use of forensic DNA testing led to a CODIS hit and the conviction of the
actual perpetrator.

        D.       Nanon Williams

        Nanon Williams was convicted of capital murder in 1995 and is currently serving
a life sentence. We reviewed his case because three Crime Lab firearms examiners
misidentified potentially significant fired bullet evidence collected from the victim, and
a Crime Lab employee provided testimony at Mr. Williams's trial based on the
misidentification. Several factors contributed to the error, including: (1) distortion and
fragmentation of the bullet evidence because of impacts after firing; (2) the failure of
investigators to submit a suspect firearm to the Crime Lab for comparison to the fired
bullet evidence; and (3) policies that, at the time the case was originally examined,
permitted firearms examiners to co-sign reports of other examiners without personally
reviewing the evidence that was the subject of the report.

V.      Findings and Recommendations Regarding the Crime Lab's Current
        Operations

     From the outset, the City Council, Stakeholders Committee, and HPD have
emphasized the importance of our formulating recommendations for the Crime Lab.10
10      We include an abbreviated set of our recommendations in this Executive Summary. The full set
        of our recommendations appears in the body of this report and in a separate Summary of
        Recommendations.




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These recommendations are designed to serve two complementary purposes: (1) to
assist HPD in establishing the Crime Lab as one of the preeminent law enforcement
forensic laboratories in the nation and (2) to provide a means for holding HPD and the
Lab accountable for the quality of forensic science services provided to the people of
Houston. In order to adequately support relevant and useful recommendations, we
performed a comprehensive review of all of the current functions of the Crime Lab.u

        A.       Management of the Current Crime Lab
        The senior management of the Crime Lab, both in the HPD chain of command
above the Lab as well as within the Lab, has undergone a total transformation since the
problems infecting the Lab came to light beginning in November 2002. As reflected by,
among other things, the commissioning of this investigation, the City and HPD Chief
Harold L. Hurtt have made the rebuilding of the Crime Lab a top priority for HPD.
Under Irma Rios's leadership, the Crime Lab has been re-organized, has hired and
trained a number of new supervisors and analysts in all of its sections, has re-written all
of its SOPs, and has obtained ASCLD / LAB accreditation in almost all of the areas in
                                  —
which it currently performs or plans in the near future to perform forensic science
work.12
                                                                                   —
        One of the most encouraging changes that we have observed since our
investigation began in April 2005 is in the attitude and morale of the Crime Lab staff .
Although many of the analysts are relatively young or new to their fields, we found
them to be bright, professional, and enthusiastic about their careers as forensic scientists
and about working in the Crime Lab. We were impressed by the high level of respect
the Crime Lab has for Ms. Rios. We also found that analysts have confidence in their
section supervisors and that, while there are various issues, as there are in every
institution, analysts believe they are supported by their managers and treated fairly.
These are extremely important baseline facts about the current Crime Lab that are
welcome departures from the past and give hope for the future.



u       Despite the self -evident importance of having an accurate picture of the current operations of the
        Crime Lab to serve as the basis for formulating relevant recommendations, we originally
        encountered opposition from various quarters, including from HPD personnel, in obtaining the
        authorization and funding to review such operations. After a significant delay, the City Council
        approved the necessary funding, and we were permitted to move forward to complete this vital
        aspect of our work.
12      The sole exception is trace evidence examination, for which the Crime Lab received provisional
        DPS accreditation in November 2006 and underwent an ASCLD/ LAB inspection in March 2007.




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                 1.     Personnel and Resources

       The Houston Police Department Crime Laboratory Career Ladder, circulated to
Crime Lab staff on August 19, 2005, significantly reorganized the Lab's personnel
structure by reducing the number of criminalist positions from four to three. The
Career Ladder included revised job descriptions for each of these positions and, in a
significant improvement over the Crime Lab's historical salary structure, provided for
merit pay increases. Moreover, on December 14, 2005, HPD's Human Resources
Director approved significant pay grade enhancements for each of the criminalist
positions under the revised Career Ladder structure.

        Compared to its funding levels during the 1990s and early 2000s, the Crime Lab's
budget has increased substantially. The Crime Lab's total budget from HPD's general
                                                 —
fund in fiscal year 2006 was $7.66 million more than double the funds that had been
allocated to it earlier this decade.13 Significantly, the Crime Lab's 2006 budget includes
line items reflecting that HPD has devoted funds for the training of analysts, including
funds to attend training outside of the Lab.

       Two areas of the Crime Lab still in need of additional resources, including
additional staff, are the Firearms Section and Central Evidence Receiving ("CER"). Two
of the Crime Lab's six positions for line firearms examiners currently are vacant, and
the Firearms Section is experiencing a significant backlog of more than 600 cases. CER,
which is the Crime Lab's central location for receiving, logging, and storing drug
evidence, currently is significantly understaffed. CER is staffed by one criminalist, one
evidence management clerk, and one contractor. Two additional evidence management
clerk positions are vacant.

                 2.     Quality Assurance and Quality Control
      The importance of a robust QA / QC program in a forensic science laboratory
cannot be overemphasized. In October 2003, Reidun Hilleman was appointed the
QA / QC Manager for the entire Crime Lab -- a function that had never before truly


13      The Crime Lab's 2006 budget also includes $100,000 in asset forfeiture funds for equipment. This
        budget also includes nearly $2.7 milhon for management consulting services, a significant portion
        of which relates to funding for this investigation. Although our investigation has now been
        concluded and all of the sections of the Crime Lab have received some form of accreditation,
        funding for outside consultants should not be eliminated from the Lab's budget. We beheve that
                                                                                 —
        the Crime Lab still has a significant need for outside technical consultants particularly in the
                                                                         —
        areas of serology, DNA analysis, and trace evidence examination to assist the managers and
        staff of those sections with technical reviews and other quahty assurance measures.




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existed in the Lab. Since then, Ms. Hilleman has been central to HPD's and the Crime
Lab's progress in the rebuilding of the Lab.

                          a.   QA/QC Audits and Inspections

        The Crime Lab's current Quality and Operations Manual requires the QA/ QC
Manager to perform annual laboratory inspections using the ASCLD / LAB accreditation
criteria as the reference standards for the inspection.14 This requirement is consistent
with the Crime Lab's general orientation toward, and emphasis on, maintaining
compliance with "objective standards," as embodied by the ASCLD / LAB accreditation
criteria. The QA / QC Manager also performs spot reviews of cases analyzed in each of
the Crime Lab's sections. As many other laboratories have found with respect to their
own operations, additional staffing for the QA / QC function in the Crime Lab will
become necessary.

                          b.   Peer Technical Reviews

       Thorough and competent technical reviews of the scientific analyses performed
in each case are among the most important elements of any forensic laboratory's
QA / QC program . The Crime Lab has adopted a technical review system that permits
any analyst who has completed training and passed the required proficiency testing to
perform technical reviews of other analysts' work in that area, regardless of the
analyst's level of experience. This system also is reflected in the current organization of
the Crime Lab, which has essentially abolished the historical Criminalist III line
supervisor position in favor of a flattened structure that includes only three levels of
criminalist positions: (1) entry level Criminalists, (2) more experienced forensic
scientists at the Criminalist Specialist level, and (3) Criminalist Managers (who are the
administrative and technical heads of the Controlled Substances / Toxicology Sections,
the Biology / Trace Evidence Sections, and the Firearms Section, as well as the QA / QC
Manager).
       While such peer review systems for technical reviews are permitted under
ASCLD / LAB's accreditation guidelines and are used in other forensic science
laboratories across the United States, this system may not be appropriate for the Crime
Lab at this stage in its recovery and development. Many of the Crime Lab's current
                      —
forensic scientists particularly in the fields of DNA analysis and trace evidence
                —
examination either are currently undergoing training or have only recently completed
training and have limited forensic casework experience. We are concerned about the
expectations this technical review system imposes on analysts and examiners with

14      Quality and Operations Manual, Section 300/1.01.




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slender experience of their own in a crime laboratory whose work is likely to be under
close scrutiny for some time as a result of the events of the past several years. High
quality technical reviews require, in our judgment, seasoned judgment and substantial
experience, ingredients not possessed by even the most talented young analysts.

                          c.   Incident Reporting and Response

       The Crime Lab's current quality assurance protocols require that, however they
may be discovered, technical problems, deficiencies, or departures from accepted
quality assurance standards must be immediately brought to the attention of the
QA / QC Manager. We found that the Crime Lab program for reporting and
documenting incidents affecting the quality of work performed is vastly superior to the
virtually non-existent quality assurance function of the Lab as existed under the tenure
of Mr. Krueger, which ended in early 2003.

                 3.       Information Systems

       The evidence tracking, case management, and laboratory reporting systems
currently in use by the Crime Lab are archaic and very poorly suited to the information
systems needs of a forensic laboratory. These are all problems of which HPD is aware,
and plans are currently underway to provide the Crime Lab with a modern laboratory
information management system ("LIMS"), which will be integrated with a
Department-wide records management system ("RMS") that is in the relatively early
stages of development.
       The Crime Lab does not currently have an electronic system for tracking
evidence that has been submitted to the Lab and for tracking samples that have been
tested. It relies on a paper-based system for tracking the chain of custody. Crime Lab
analysts use paper forms to record evidence sample identification information, as well
as the results obtained by tests performed on each sample. The analytical files also are
maintained entirely on paper.

       The other significant technological impediment facing the Crime Lab is the use of
HPD's archaic On-line Offense ("OLO") reporting system, which was first implemented
as HPD's central investigative records system in the mid-1980s. OLO is poorly suited to
be the reporting system for the Crime Lab. Among other things, OLO does not permit
forensic scientists to enter important charts or tables -- particularly important in the area
                      —
of DNA analysis into the entirely text-based system, which is a very significant
limitation .




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                 4.       Relationships With Users of the Crime Lab's Services

       The Crime Lab needs to build a reputation with investigators as a provider of
reliable and valuable forensic services that can help them clear cases and identify
perpetrators. To address this need, the Crime Lab has begun promoting its current
forensic capabilities within HPD. However, certain types of analytical work performed
                      —
by the Crime Lab including questioned documents examination and toolmark
                —
examination are vastly underutilized by HPD investigators.

                 5.       Strategic Planning for the Crime Lab
        For the past several years, the Crime Lab and HPD command staff responsible
for support operations have been focused primarily on revising the Lab's SOPs, hiring
qualified analysts, and preparing the Lab to obtain and maintain accreditation. Now
that all of the current sections of the Crime Lab have received some form of
accreditation and are able to issue reports, HPD command staff and Lab managers must
turn their attention to developing a strategic plan for a full-service forensic science
laboratory.

                 6.       Key Lab-Wide Recommendations
                          a.    Funding and Staffing
        Funding levels for the Crime Lab must be maintained at least at current levels as
adjusted for inflation and the addition of new personnel. The Crime Lab must fill
currently vacant forensic science staff positions. As these positions are filled, the Crime
Lab's overall budget must be adjusted proportionately upwards so that the equipment
and other resources available to all of the analysts and sections in the Crime Lab are not
adversely affected by the addition of new staff . Moreover, the Crime Lab must
maintain at least its current ratio of funding per criminalist, adjusted annually for
inflation and growth in the number of analysts in the Crime Lab, devoted to training
and professional development activities.

                          b.    Quality Assurance
       The Needs Analysis Report prepared by the NFSTC for the Crime Lab in July
2003 recommended that HPD establish two positions dedicated to quality assurance.
We support this recommendation. The current QA / QC Manager should be provided a
qualified staff person, preferably with a background in or familiarity with the technical
aspects of forensic serology and DNA analysis.




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                      c.     Information Systems

       We are advised that HPD is in the process of retaining vendors to design a LIMS
for the Crime Lab as well as a Department-wide RMS and that the City and HPD have
hired consultants to assist HPD in defining the requirements of these systems and to
help oversee their development. The new systems should include the following
capabilities:

    •   The LIMS should apply to all sections and be integrated into the
        Department-wide RMS to provide a unified system for tracking the location and
        status of evidence on which forensic analysis may be performed.

    •   The LIMS should manage and track evidence items, as well as monitor work
        flow in each of the sections and Lab-wide.

    •   The LIMS should provide the Crime Lab with the ability to track cases based on
        the type of analysis performed on the evidence.

    •   The LIMS, in combination with the Lab's other information systems, should
        provide Crime Lab managers with reports and information necessary to evaluate
        the Lab's performance.

        B.       Current Work Performed in the Crime Lab

                 1.   The Biology Section

        The Crime Lab's Biology Section, which includes serology and DNA analysis,
has undergone a substantial transformation over the four and a half years since the
DNA Section was closed in December 2002. Among other things, the Biology Section is
under new leadership, has substantially improved SOPs (based primarily on the SOPs
used in the Texas Department of Public Safety ("DPS") crime laboratory system ), and
has trained a promising group of new DNA analysts. The Section resumed performing
casework again last year after receiving provisional accreditation from ASCLD / LAB in
June 2006, an important and necessary step for the Biology Section of the Crime Lab. In
short, the current Section bears no resemblance to the entity that produced the shoddy,
flawed, and unprofessional work during the period before its operations were closed in
December 2002.

       With that having been said, our overall assessment is that the current operations
of the Biology Section reflect a mixed picture of substantial strengths and significant
weaknesses when it comes to evidence examination, body fluid identification, and DNA
typing. The Section performs very good work with respect to evidence documentation,
the mechanics of DNA extraction, and DNA typing. However, there is significant room


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for improvement with respect to certain aspects of the Section's approach to analyzing
forensic cases, result interpretation, and report writing.

    • Forensic Evidence Recognition. During our evaluation of the Biology Section's
        current casework, we reviewed three sexual assault cases in which DNA analysts
        performed DNA typing on evidence that the Crime Lab should have recognized
        would be unlikely to yield probative information about the assaults.
        Furthermore, the analysts overlooked other pieces of evidence in these cases
        which, if tested, might have generated valuable information.

    • Issues Associated With Semen Identification. With the exception of lacking
        tests to characterize possible saliva stains, the Biology Section staff uses standard
        methodology to identify biological evidence such as blood or semen. Based on
        our review of the Crime Lab's current DNA cases, we developed some concerns
        that (1) in certain cases, Biology Section staff did not detect spermatozoa that
        may in fact have been present in semen stains and (2) in other cases, there may
        not have been a sufficient basis for an analyst's positive identification of semen.

    •   DNA Results and Interpretation. We found that the DNA analysts in the
        Biology Section produce usable and reliable typing results from forensic
        evidence, including items from difficult cases involving extractions from
        marginal samples such as hairs or a swab from a bite mark. However, we
        reviewed three cases in which DNA analysts had difficulty under the Biology
        Section's current SOPs in properly interpreting signals in the data.

    • Reporting Language . We found that Biology Section's reporting often resulted
        in a presentation of the analysts' results that was convoluted, imprecise, and, in
        certain cases, inadvertently inaccurate. The awkwardly-stated conclusions
        appearing in many of the Crime Lab's DNA reports are difficult to understand.

       In light of the above observations, we have the following key recommendations
for the Biology Section:

    •   HPD should retain a qualified outside consultant to assist the Crime Lab in
        performing technical reviews of the DNA work performed by analysts in the
        Biology Section.

    •   The Biology Section case manager should focus on establishing the priority of
        cases and managing case assignments, tracking the status of each case submitted
        to the Biology Section, and reviewing all information, including submissions
        forms and investigative reports, related to cases submitted to the Crime Lab with




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        the assigned analysts in order to develop a forensic case strategy to ensure that
        all forensic evidence is obtained and fully exploited.

    •   The Biology Section's training program should include focused training in
        statistics, including the principles underlying random match probabilities, and in
        forensic serology techniques, such as screening for semen and identification of
        spermatozoa.
                 2.    The Trace Evidence Section

        The Crime Lab has gradually rebuilt its Trace Evidence Section operations. Two
criminalists are now assigned to the Trace Evidence Section, one of whom has not yet
completed training. In November 2006 the Crime Lab obtained provisional
accreditation for trace evidence examinations from the Texas DPS. The one-year
accreditation, granted in November 2006, permits the Section to move forward with
efforts to obtain ASCLD / LAB accreditation. ASCLD / LAB inspectors audited the
Crime Lab's current trace evidence operation in March 2007, and on June 11, 2007 the
Crime Lab reported that accreditation was granted.

       Because there currently is only one qualified trace evidence examiner in the
Section, technical reviews of trace evidence casework are currently performed by an
outside examiner. Crime Lab managers estimate that it will take between six months
and a year for the second trace evidence examiner to complete the training necessary to
qualify to perform casework. Once the second examiner is qualified, the two examiners
will perform technical reviews of each other's cases. Although, upon completion of
training and qualification, both examiners will have met the basic qualifications for
such examinations as hair comparisons, they are both new and inexperienced
examiners.

                 3.   The Controlled Substances Section

        Overall, we found that the Controlled Substances Section performs high quality
work. The two most significant problems that we identified in the Controlled
                                      —
Substances Section's historical cases relating to the identification of pharmaceutical
substances and the reporting of quantitative results for liquid and tablet substances --
have been addressed by the Section's current SOPs and the practice of the analysts
reflects those changes.

       Currently, there is only one supervisor in the Controlled Substances Section, who
supervises both the Controlled Substances and Toxicology Sections. While there is a
second supervisory position designated for the Controlled Substances Section, that
position currently is vacant. The lone supervisor in the Controlled Substances Section is



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spread too thin between his responsibilities for supervising all the analysts in the
Section, reviewing technical issues related to the Section's casework, and performing his
other administrative duties.

                 4.     The Firearms Section

       We found that the Firearms Section performs reliable and, in some cases, very
high quality work. The most significant challenge facing the Section is its backlog of
over 600 cases. The Firearms Section currently is staffed by four firearms examiners
and one supervisor. There are currently two vacant firearms examiner positions. If
these positions are not filled with experienced examiners, the training of the new
examiners could take over a year. In the meantime, training the new hires will put
further pressure on the Section. Professional development opportunities for the current
Firearms Section staff are limited due to their workload constraints. The Section should
be adequately staffed to permit its examiners to process cases in a timely manner, to
regularly attend professional meetings, to give presentations, to contribute to articles to
forensic science publications, and to carry out case-related research. Over the long run,
these activities are crucial to the professionalism, reputation, and continued high
quality work of the Firearms Section.

                 5.     The Toxicology Section

       In May 2005, ASCLD / LAB granted the Toxicology Section accreditation for
blood alcohol testing.15 In December 2005, the only analyst qualified to perform such
testing was placed on administrative leave. We found no significant problems in the
2005 blood and urine alcohol files we reviewed, and we made a number of observations
that reflected favorably on the work performed.

      From December 2005 until March 2007, blood and urine alcohol testing was
performed for HPD by several different outside laboratories, including the Harris
County Medical Examiner's laboratory, the Texas DPS laboratory, and the Dallas
County laboratory. The Toxicology Section now has an analyst who completed the
necessary training in March 2007 and is qualified to perform blood alcohol testing.
Analysts from the Toxicology Section continue to be responsible for calibrating and


15      The ASCLD/ LAB accreditation states that the Crime Lab is accredited in Toxicology for "blood
        alcohol only." However, "blood alcohol" is a term that is used expansively in the forensic
        toxicology context to include alcohol testing in other body fluids as well. In many labs, urine
        alcohol results are converted to equivalent blood alcohol results and reported as a blood alcohol
        concentration.




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maintaining breath alcohol testing equipment used for the approximately 4,000 breath
alcohol tests administered each year by HPD officers.

                 6.   The Questioned Documents Section

       We are concerned about the underutilization of the Questioned Documents
Section, which performs very good work. HPD has failed to take advantage of the high
quality work performed by its questioned documents examiner. During 2005 and 2006,
the Crime Lab's questioned documents examiner processed only 20 new cases -- 11
cases in 2005 and 9 in 2006. A police department in a city the size of Houston should be
generating significantly more work for its document examiner.

VI.     Findings and Recommendations Regarding The Property Room
       The methods used for collecting, storing, and tracking evidence can have a
significant impact on the Crime Lab's forensic work. In 2004, HPD disclosed that
evidence from 8,000 criminal cases had been improperly stored and inventoried in the
Property Room. As a result, evidence from at least 33 cases was inadvertently
destroyed. Because of well-founded public concern regarding this disclosure, a review
of the Property Room and CER was included in the scope of our investigation.

      The more recent and profoundly troubling disclosure that 19 guns from the
Property Room are missing, and that two additional firearms missing from the Property
Room were found in the possession of suspects arrested by HPD, underscores the
urgency of addressing issues relating to the Property Room . The conditions at the
Property Room are a threat to the public safety and to the safety of Property Room
employees, and they threaten to undermine the ability of Houston law enforcement
agencies to perform their missions.

       Many of the issues that we observed and have reported on in the past related to
the storage and retrieval of evidence have been well known to HPD for at least ten
years. In fact, a 1996 report prepared for then-Chief Nuchia made the unfortunately
prophetic observation that weapons and other evidence in the Property Room were not
secure, and that "publicity from the loss of evidence . . . would be very detrimental to
the department."

       News of the missing firearms may ultimately prove to have a positive effect if it
creates sufficient momentum for the change that is necessary and long overdue. The
commissioning of a comprehensive review of the Property Room was a very positive
step toward improving Property Room operations. While our review was focused
narrowly on issues that affect the Crime Lab, the review recently performed by Joseph
Latta encompassed all aspects of the intake, disposition, and storage of evidence, and he



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prepared a thoughtful, well-conceived, and clearly-presented report. In particular, we
urge serious consideration of the observations and points made in the Latta Report,
many of which mirror the observations we have made during the course of our review
of HPD's practices and procedures related to the collection and storage of evidence.

                 1.     Findings Regarding Evidence Storage and Retrieval
                        a.      Evidence Storage

       Storage of biological evidence has been an ongoing problem for the Property
Room. The primary issue is the lack of sufficient temperature-controlled space for
storing such materials. Before 1998, the Property Room stored sexual assault kits and
other body fluid evidence in a freezer for a period of 18 months. After 18 months, the
evidence was moved to air-conditioned areas in the Property Room for long-term
storage. By 1998, the Property Room was running out of space in the freezers as well as
in the air-conditioned storage area. In April 1998, in reliance on the information
received from the Crime Lab, Property Room personnel began relocating sexual assault
kits and other biological evidence to general property storage areas. The general
property storage areas are not air-conditioned and, therefore, are subject to high
humidity and temperatures. Although it is not necessary to freeze biological evidence
(for example, bloodstained fabric), such evidence is much more likely to degrade in a
high humidity, high temperature environment. This practice, therefore, raises serious
concerns about HPD's current practices for storing biological evidence.16 Additionally,
Crime Scene Unit personnel report that instructions received from the Crime Lab and
the Property Room regarding the freezing or refrigeration of biological evidence have
caused some confusion, so these policies should be more clearly communicated.

       Storage of controlled substances evidence by the Crime Lab's CER also presents
challenges. Drug evidence that fits into evidence envelopes is stored in CER based on
the order of its laboratory number. Larger items are stored in other sections of the CER
vault on a space-available basis. Locating some of these larger items is frequently
difficult and depends largely on the institutional memory of the searcher. High
turnover rates among CER clerks, attributed mostly to low salaries, contribute to the
difficulty of retrieving this type of evidence. Because controlled substance evidence is
stored in CER for extended periods awaiting destruction orders, the CER is left with
severely limited storage space.


16      For example, in May 2004, water caused damage to 10 to 12 boxes of evidence due to a roof leak.
        Nine of these boxes contained clothing with possible biological evidence. The wet clothing was
        removed and hung to dry before being checked back into the Property Room.




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       Evidence, including weapons, from approximately 3,000 firearms cases is stored
in the Crime Lab firearms vault rather than in the Property Room . Some of the
evidence in the firearms vault dates back to 1998 cases. Because of staffing shortages, it
is necessary for a firearms examiner to transfer evidence from the Firearms Section of
the Crime Lab to the Property Room. Due to the caseload in the Firearms Section,
removal of evidence from the vault is not a priority; it has been approximately two
years since examined firearms evidence was transferred to the Property Room.
Moreover, the contents of the firearms vault have never been inventoried.

                       b.      Evidence Tracking and Chain of Custody

       Evidence collected by HPD personnel can be found in the Property Room, the
Crime Lab, the District Attorney's Office, the Harris County District Court clerk's office,
or the Sheriff's property room . Investigators reported to us that locating evidence is a
major problem because of poor tracking systems. HPD's central OLO investigative
reporting system does not contain an evidence tracking program, and there is no
interoperability between OLO and a bar-coded evidence tracking system that was
adopted by the Property Room.

      The Property Room first began using a computerized evidence tracking system
and bar-coded evidence tags in the late 1980s or early 1990s. This system is obsolete
and requires a significant amount of paperwork. One bar code is attached to the HPD's
Property and Evidence form, and a different bar code is attached to the corresponding
evidence. Therefore, the bar-coded number on the paperwork is not the same as the
bar-coded number on the associated item of evidence. Moreover, the bar-coding system
currently used by the Property Room uses an alpha-numeric system that does not
permit a simple and reliable process for storing evidence.17

       The Property Room also uses a number of cumbersome and archaic forms to
track chain of custody. These forms increase the chance of errors and the risk of
misplaced evidence. When evidence is transferred to an analyst, the chain of custody
form travels with it, and no record of the transfer is retained by the Property Room.

                       C.      Evidence Retrieval

      Crime Lab personnel have reported delays in the retrieval of various pieces of
evidence from the Property Room. Managers and investigators also report difficulty

17      For example, a Property Room Form could be given a bar code with the alpha-numeric code
        G3P7, while the bar code placed on the corresponding piece of evidence would have an
        alpha-numeric code such as G3P9.




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locating specific evidence for examination or trial or in response to defense motions to
produce evidence. We have been told that, in some cases, efforts to retrieve evidence
are futile.

        Paper bags, boxes, and a variety of other containers are used to store most pieces
of evidence, which, among other things, makes retrieval more difficult because the
evidence is difficult to see without breaking the seal and removing the evidence from
the container. Removing the evidence creates unnecessary risks that can be avoided by
submitting evidence in transparent plastic evidence bags. For example, evidence can be
lost or stolen, create a hazard, or become contaminated when removed from its
container. Many law enforcement agencies use breathable clear plastic bags or
envelopes to improve the ability to observe and retrieve evidence.

       We found that storage and retrieval of controlled substances evidence for Crime
Lab analysis is extremely difficult because of understaffing and inadequate storage and
workspace. Large evidence seizures and evidence awaiting destruction or filing are
stored in the aisles and work areas in the CER complex. The clutter and crowding of
the workspace make retrieval and filing of evidence more difficult.

                 2.   Key Recommendations

        •   HPD should develop standard evidence procedures specifically for all types
            of forensic evidence and require that evidence be submitted to one central
            location, rather than to the several units that are currently used (including the
            Property Room, CER, the Firearms Section, and the Questioned Documents
            Section).

        •    A new evidence tracking system should be implemented that includes
             complete seamless integration with all of the existing evidence tracking
             systems. Software vendor (s) and HPD management should be held
             accountable for the creation and implementation of a new evidence tracking
             system that integrates all evidence in the Property Room and CER into a
             user-friendly, numerically sequential program.

VII .   Conclusion

       More than four years ago, HPD was shaken by a series of devastating disclosures
focusing primarily, but not exclusively, on the Crime Lab's DNA work. After re-testing
by outside laboratories confirmed in March 2003 that DNA analysis performed by the
Crime Lab played a central role in the wrongful conviction of Josiah Sutton, the
potential implications of the Crime Lab's problems became real. The people of Houston
and many of the city's public officials quite appropriately questioned how many



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wrongful convictions may have been obtained based on flawed forensic evidence and
its presentation to Harris County juries. The City and HPD commissioned this
independent investigation, in part, to answer the profound and important questions
about the depth and breadth of the problems infecting the Crime Lab and to identify the
scientific and management failures that contributed to the state in which the Lab found
itself by late 2002.

       This report reflects an exhaustive effort to examine the full range of issues
implicated by the Crime Lab's profound problems that began to be exposed in late 2002
and early 2003. We found that the Crime Lab was starved for resources for the better
part of two decades, starting no later than the early 1980s. HPD criminalists were
underpaid, poorly trained, and worked in conditions that included, among other things,
a leaky roof that HPD did not repair for years, thus allowing rainwater to pour into the
Crime Lab. The DNA Section lacked competent supervision and technical guidance,
and analysts who had worked in the Section for years were seemingly oblivious to how
far their analytical procedures and reporting conventions departed from generally
accepted forensic science principles. Under these circumstances, the risk that casework
performed by the Crime Lab, particularly by the DNA Section, would lead to
miscarriages of justice was unacceptably high. We have described the far-reaching
consequences of such failures in the deeply flawed work performed in serology and
DNA and the fact that questions generated by that flawed work continue to exist in
scores of cases years, and in some cases decades, after the work was performed.

        If the initial response was halting and uncertain, the City and HPD have in the
last three years demonstrated a commitment to uncovering the full extent of the Crime
Lab's historical problems and to taking the necessary remedial steps to make the
improvements that the Lab so desperately needed. Over the past several years, the City
                                                               —
and HPD have invested heavily -- in resources and attention in salvaging and
rebuilding the Crime Lab. Funding for the Crime Lab has more than doubled; HPD has
significantly increased analysts' salaries, thus significantly improving the Lab's ability
to recruit and retain analysts; the Lab has recruited new managers who are competent
and take their responsibilities as supervisors and managers seriously; analysts undergo
rigorous formal internal training and attend outside training programs; and the Lab has
implemented a credible quality assurance program. Finally, the Crime Lab has been
accredited by ASCLD/ LAB, an accomplishment that would have been unthinkable and
unattainable for the old Lab.

       Under its current leadership, the Crime Lab has steadily moved in the right
direction over the past three and a half years. Our review of its current operations
clearly demonstrates that the Crime Lab now bears little resemblance to the
substantially dysfunctional institution that reached its nadir in the late 1990s and early
2000s. Our detailed recommendations are intended to help the Crime Lab improve


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further. As reflected by our observations and recommendations, there are challenges
ahead for the Crime Lab and, in some areas, room for continued improvement. We
offer these recommendations in the hope that they will be followed and that they will
have a lasting and positive effect on the quality of the forensic science practiced at HPD.

        Our most significant concern is that the increased funding and attention that has
been central to the Crime Lab's recovery so far may be transitory. After the current
spotlight on the Lab's push toward accreditation and on the results of this investigation
fades in the near future, the City and HPD must sustain the effort and monitoring that
are necessary to ensure that the Crime Lab remains able to perform consistently
competent and reliable forensic analysis. HPD and the City have seen all too clearly the
dire consequences for the accuracy, integrity, fairness, and reputation of the criminal
justice system when flawed scientific evidence is produced in the Crime Lab, as was the
case in the Serology and DNA Sections for many years. Having seen the costs in   —
money, turmoil, and injustice -- that a flawed Crime Lab can produce, HPD and the City
must make sure that the needs of the Crime Lab are never again ignored.




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Introduction
        This is the Final Report of the Independent Investigator for the Houston Police
Department ("HPD") Crime Laboratory and Property Room. This report includes the
final findings and recommendations of the independent investigation that began in
April 2005. Accordingly, this report incorporates information that was discussed in our
previous five reports, as well as a substantial amount of new material that has not
previously been published.1

        The City of Houston (the "City") and HPD commissioned this investigation
following a two-year wave of adverse publicity that began in November 2002 and
raised serious questions about the quality of the forensic science work in the Crime Lab.
The City and HPD should be commended for authorizing an independent and public
assessment of the extremely serious historical problems that have generated so much
adverse publicity for the Crime Lab and for HPD and have created profound doubts
about the integrity of important aspects of the criminal justice system in Harris County.
It should serve as a model as to how to responsibly address failures of critical
institutions in the criminal justice system.

       The goals of the investigation and of this final report are to (1) provide a
thorough and detailed account of the management and operational issues that
contributed to the crisis that HPD and the Crime Lab experienced; (2) identify potential
cases of injustice resulting from flawed or misleading forensic science work;
(3) thoroughly examine and assess the scientific and administrative problems related to
the Lab's work across all of its sections, focusing primarily on cases worked during the
1998-2004 period but extending more broadly with respect to certain forensic
disciplines, especially serology; (4) provide a comprehensive assessment of the current
operations of the Lab and Property Room; and (5) formulate recommendations
designed to ensure that the Lab and Property Room meet the public's legitimate
expectations that the Lab and Property Room contribute to the maximum extent
possible to the fair administration of criminal justice in Harris County.

      The independent investigation, which began in April 2005, originally was
divided into two phases. During Phase I, which we completed with the issuance of our
Third Report on June 30, 2005, we investigated the historical operations, practices, and
management of the Crime Lab and Property Room and formulated the scope of the
work to be performed during the second phase of the investigation. Phase II, which

        All six of the reports of the independent investigation are posted on our Web site at
        www.hpdlabinvestigation.org.




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HPD Crime Lab Independent Investigation                                                                2




began with the Houston City Council's approval of our Phase II Plan on August 24,
2005, involved evaluating the technical work performed in the Crime Lab through the
end of 2004. Specifically, Phase II involved the review of hundreds of cases originally
analyzed by the Crime Lab in the seven forensic science disciplines historically
practiced in the Lab -- serology, DNA, controlled substances, firearms, trace evidence,
toxicology, and questioned documents.

       During the course of the investigation, the scope of our review of the Crime Lab's
historical serology cases expanded significantly. As reflected in our Phase II Plan, we
originally anticipated reviewing a sample of approximately 336 serology cases
processed by the Crime Lab during the 1987-1990 period. However, we quickly
uncovered widespread and serious problems with the forensic serology work
performed by the Crime Lab during that period. Those problems included the failure of
Crime Lab serologists to use and document appropriate testing controls; the
widespread technical and interpretive errors across dozens of cases; the failure to report
potentially probative typing results; and at least one case -- involving the currently
                                               —
incarcerated defendant Dwight H. Riser in which the long-time head of the Lab's
historical Serology Section (and later, its DNA Section), James R. Bolding, appears to
have committed scientific fraud and perjury. In light of these findings, the Stakeholders
Committee that oversees this investigation and HPD approved our recommendation to
expand the review of the Crime Lab's serology cases to include all cases related to
currently incarcerated prisoners that were analyzed by the Lab since 1980, the year
Mr. Bolding began performing serology work in the Lab.

       To HPD's credit, the Crime Lab has not remained static during our investigation.
Between the start of the independent investigation in April 2005 and the completion by
May 2006 of the bulk of our historical reviews, the Lab underwent significant changes
and made significant progress in shedding its troubled past and building on changes
that had begun as early as 2003. Under the new leadership of the current head of the
Crime Lab, Irma Rios, the Lab has revised the standard operating procedures ("SOPs")
for each of its sections, implemented a new quality assurance and quality control
("QA / OC") program, developed new training programs for analysts, and hired a
number of new supervisors and analysts, including a qualified DNA technical leader.
On May 10, 2005, the American Society of Crime Laboratory Directors / Laboratory
Accreditation Board ("ASCLD / LAB") accredited the Crime Lab, for the first time, in the
disciplines of controlled substances, blood alcohol analysis, questioned documents,
firearms, and serology.2 In June 2006, after substantial preparation that included the


        Accreditation through ASCLD/ LAB is a voluntary program in which a "crime laboratory may
        participate to demonstrate that its management, personnel, operational and technical procedures,
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HPD Crime Lab Independent Investigation                                                3




recruiting and training a new class of DNA analysts, ASCLD / LAB granted the Crime
Lab provisional accreditation for DNA analysis, which allowed the Lab to resume
forensic DNA profiling work. The Crime Lab underwent another ASCLD / LAB
accreditation inspection in March 2007, which included a review of the status of the
Lab's DNA operation, as well as ASCLD/ LAB's first inspection of the Lab's trace
evidence examination work. On June 11, 2007, the Crime Lab reported that it had
received notification from ASCLD / LAB that accreditation had been granted to the
Crime Lab's operational units.

       In light of the significant changes implemented by HPD and the Crime Lab
during the 2003-2005 period, our investigation also broadened to include a review of the
Crime Lab's current operations. In order to furnish the City and HPD with relevant and
specific recommendations designed to enable the Crime Lab and Property Room to
provide the people of Houston with first-rate forensic science services, we reviewed
cases processed by the each of the Lab's sections since accreditation was obtained in
May 2005, as well as policies and practices related to the current management and
administration of the Lab and Property Room.

       Our two-year investigation of the Crime Lab covered a period of more than 25
years, included more than 100 interviews, and involved the review of more than 3,500
forensic science cases analyzed by the Lab. During the course of our investigation, we
developed an enormous body of information about the collection, storage, analysis, and
use of forensic evidence in the Harris County criminal justice system . The findings and
recommendations contained in this report are designed to fairly and objectively assess
the past, evaluate the present, and recommend reforms that will assist the City and
HPD in providing the best possible forensic science services to the people of Houston
and Harris County.




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        equipment and physical facilities meet established standards." www.ascld-
        lab.org/ dual/ aslabdualaboutascldlab.html.




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HPD Crime Lab Independent Investigation                                                  4




The Independent Investigation
        The events that eventually led to the hiring of an independent investigator to
review the Crime Lab's historical and current operations began on November 11, 2002,
with the first in a series of investigative news reports that aired on KHOU-Channel 11, a
local Houston television station. These television news reports, the product of an
extended investigation performed by KHOU in consultation with outside forensics
scientists, severely criticized the forensic analysis performed by the DNA / Serology
Section of the Crime Lab in a number of specific cases.

       Within a month of the airing of the first of these news reports, Acting Chief of
Police Timothy Oettmeier commissioned an outside review of the Crime Lab's
DNA / Serology Section. Representatives from the Texas Department of Public Safety
("DPS") Crime Lab Headquarters and the Tarrant County Medical Examiner's ("ME's")
Office performed an audit of the Crime Lab's DNA / Serology Section over the course of
two days, on December 12 and 13, 2002. On December 18, 2002, based on the
preliminary oral report of the auditors, HPD suspended all DNA analysis in the Crime
Lab. The final report reflecting the audit's findings was issued on January 10, 2003.
DNA work by the Crime Lab remained suspended until June 2006, when the Crime Lab
received provisional ADSCLD/ LAB accreditation necessary to permit it to resume
DNA analysis.

        In early 2003, HPD, in close consultation with the Harris County District
Attorney's Office (the "District Attorney's Office"), began identifying all cases in which
some form of DNA analysis had been performed by the Crime Lab. This process
evolved into a long-term re-testing project coordinated among HPD, the District
Attorney's Office, and outside DNA laboratories. This re-testing project identified a
total of 415 criminal cases involving DNA analysis performed by the Crime Lab. More
than four years later, the post-conviction DNA re-testing program has failed to resolve
55 of these 415 cases.

        On or about February 21, 2003, Donald Krueger retired after serving as head of
the Crime Lab for approximately eight years. Following Mr. Krueger's retirement,
Robert Bobzean, a senior manager in the Crime Lab, took over leadership of the Lab on
an interim basis. In mid-July 2003, Frank Fitzpatrick of the Orange County (California )
Sheriff -Coroner 's Office was appointed Interim Director of the Crime Lab as part of a
contract entered into by the City and the National Forensic Science Technology Center
("NFSTC"). During the course of its work, NFSTC produced written evaluations of
various aspects of the Crime Lab's operations. In October 2003, questions arose
regarding the quality of work performed by the Crime Lab's lead toxicologist, Pauline
Louie, which led to the suspension of toxicological analysis by the Lab. Also, in October


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2003, Irma Rios was appointed to be the new head of the Crime Lab. Ms. Rios had been
with the DPS crime laboratory system for over nineteen years and was a member of the
outside audit team that reviewed the Crime Lab's DNA / Serology Section in December
2002.

        On or about September 1, 2004, HPD Chief of Police Harold L. Hurtt announced
that HPD would seek an independent review of the Crime Lab. Chief Hurtt formed a
                          —
Stakeholders Committee composed of Houston-area public officials, civil rights
                                                —
advocates, academics, attorneys, and scientists to oversee the selection and progress
of the independent investigator. In November 2004, the Stakeholders Committee met
for the first time, and, on December 2, 2004, the City issued a Request for Proposals
("RFP") to conduct an independent review of the Crime Lab and Property Room . On
February 2, 2005, the Stakeholders Committee announced its selection of our team of
lawyers and forensic scientists to perform a comprehensive, independent investigation
of HPD's Crime Lab and Property Room .

       On March 30, 2005, the Houston City Council approved the contract authorizing
us to conduct this investigation, and we began our work immediately thereafter.

       We are satisfied with the level of cooperation we received from HPD and the
Crime Lab and Property Room. Based on what we have seen over the past two years,
the City and HPD are committed to improving the analysis and use of forensic evidence
in connection with law enforcement in Houston. The investigation was necessarily a
lengthy and difficult process that examined sensitive issues related to the Crime Lab's
management, operations, and technical work both historically and currently. The
burdens of cooperating with this investigation were substantial, coming at the same
time as HPD was undertaking significant reforms of the Crime Lab and continuing to
meet operational demands. Ultimately, under Chief Hurtt's leadership, HPD and the
Crime Lab fulfilled our requests for documents and other materials as well as for access
to personnel, thus enabling us to perform a thorough and comprehensive investigation
of both the historical and current practice of forensic evidence analysis at HPD. HPD
should be commended for its support of and cooperation with the investigation.

        As it took shape, our investigation had three main elements:

    • Historical operations of the Crime Lab and Property Room. We gathered and
        analyzed facts regarding the historical management, administration, and
        operations of the Crime Lab and Property Room; this analysis included a review
        of more than 3,500 cases analyzed by each of the sections of the Lab. The central
        task was to assess the Lab's technical work prior to accreditation.




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HPD Crime Lab Independent Investigation                                                                 6




     • Serology incarceration cases . We identified and reviewed all of the historical
        serology cases related to still-incarcerated defendants that were processed by the
        Crime Lab between 1980 and 1992, a total of 850 cases.

     • Review of the current operations of the Crime Lab and Property Room and
        formulation of recommendations for improvement. We analyzed the current
        operations of the Crime Lab and Property Room, in part through the review of a
        statistical sampling of cases analyzed by each section of the current Crime Lab
        after accreditation. Based on that review, we developed recommendations
        regarding the collection, storage, analysis, and use of forensic evidence.
I.      Review of Historical Operations

       Our investigation of the management, operations, and performance of the Crime
Lab and Property Room relied on information gathered from a range of sources,
including: (1) interviews of people familiar with the operations of the Lab, including
current employees, former employees, and others who dealt with the Lab in various
capacities; (2) the review of a large volume of documents obtained from HPD and other
sources concerning the policies, practices, and resources of the Crime Lab and Property
Room; and (3) the detailed review by our team of forensic scientists of hundreds of
cases analyzed by the Lab. Based on these sources of information, we have developed
an understanding of the culture and practices of the Crime Lab as a division within the
hierarchy of a law enforcement agency, as the work environment of its management
and staff, and as a scientific laboratory.

        A.       Documents and Interviews

       On April 4, 2005, at the very outset of our work, we submitted a letter to HPD
requesting a broad range of documents calling for all responsive information, in
whatever form, including but not limited to correspondence, memoranda, reports,
journals, manuals, hard copy paper files, e-mail, computer files, electronic databases,
and videotapes. On April 4, 2005, we also provided HPD with a letter requesting that it
take steps to ensure that all materials potentially relevant to our investigation be
preserved.

      A partial list of the materials we have reviewed during the investigation
includes: correspondence files maintained by the office of the Chief of Police; files
maintained by the Crime Lab, including correspondence files;3 a small volume of e-mail


        The Crime Lab has retained correspondence files going back only to 1998. Crime Lab
        correspondence files for the years 1997 and prior were discarded pursuant to routine practices of
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and other electronic documents from the hard drives of current and some former Lab
employees; personnel files; files kept by individual current and former Lab analysts and
supervisors; lab journals; laboratory case files; Lab manuals, policies, SOPs, and training
materials; investigative files maintained by HPD's Internal Affairs Division ("LAD");
documents obtained, with the Lab's authorization, from ASCLD/ LAB that relate to the
accreditation process; reports prepared by outside consultants regarding the Crime Lab
and Property Room; budgetary and grant-related documents; and HPD policies,
procedures, and inspection reports related to the Property Room.

       We conducted more than 100 interviews of people familiar with the collection,
analysis, and use of forensic evidence in Harris County, including all current Crime Lab
personnel, as well as many former members of the Lab staff, HPD officers and
investigators, representatives from the District Attorney's Office, Property Room
personnel, and the former interim director of the Lab. We interviewed all of the
members of HPD's staff in the chain of command over the Crime Lab during the
1997-2003 period, including former Chief of Police C.O. Bradford, Executive Assistant
Chief of Police Timothy Oettmeier, former Executive Assistant Chief Dennis Storemski,
and former Assistant Chief of Police Milton Simmons, whose recollections and
perspectives were central to our efforts to develop a complete and balanced picture of
the challenges and problems that confronted the Lab over time and the reasons for its
documented failures.

        In addition to law enforcement personnel, we met with representatives of the
Houston criminal defense bar to get their perspective on issues related to the criminal
justice system in Harris County generally, and in the Crime Lab in particular. We also
had extensive discussions with two critics of the Crime Lab who had prominent roles in
bringing the problems in the DNA / Serology Section to light, Professor William
Thompson and Dr. Elizabeth Johnson.

        Our efforts to obtain the cooperation of three key former Crime Lab managers
                —
and analysts Donald Krueger, James Bolding, and Christy Kim produced mixed   —
results. During the first phase of the investigation, we conducted several telephonic
interviews with Mr. Krueger, who joined the Crime Lab as an analyst in 1978 and was
its director from 1995 until early 2003. Mr. Krueger initially refused to meet with us in

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        the Crime Lab Division prior to the sustained adverse publicity surrounding the Lab that began
        in November 2002. At that time, documents were ordered preserved. We have found no
        evidence that any documents were destroyed after that time. We have interviewed personnel
        responsible for the document destruction in earher years and have concluded that it was
        performed consistent with long-existing document retention practices within the Crime Lab.




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person, which prevented us from asking him questions about certain important
documents. Mr. Bolding, a former serologist as well as the head of the Crime Lab's
historical serology and DNA operations, met with us in person twice during the early
stages of the investigation. Ms. Kim, a prolific serologist and DNA analyst who
personally analyzed many of the troubling biological cases that we identified from the
1980s through the early 2000s, never agreed to speak with us.

       As our investigation and case reviews progressed and as we began to discover
very troubling issues with the Crime Lab's analytical work and reporting in the areas of
serology and DNA, we made additional attempts to enlist the cooperation of
Mr. Krueger, Mr. Bolding, and Ms. Kim. In late 2005 and early 2006, we requested
detailed interviews with each of these central figures in the Crime Lab's history. All
three either declined to meet with us or failed to respond to our requests. In response,
we explored various avenues to compel the cooperation of these individuals, none of
which proved workable.4 Mr. Krueger eventually agreed to meet with us in person
even in the absence of a subpoena, and we took his testimony in June 2006.5
Mr. Bolding and Ms. Kim, however, refused our renewed requests for detailed
examinations that would have included specific questions about the analytical
procedures applied and interpretations made in specific cases, as well as about the
administration of the Crime Lab from the 1980s through the early 2000s.6

        B.       Review of the Crime Lab's Historical Cases

       During the first three months of the investigation, we reviewed the historical
operations and practices of the Crime Lab and Property Room. Among other things,

4       The General Investigating and Ethics Committee of the Texas House of Representatives offered to
        assist the investigation through the exercise of the Committee's subpoena authority .
        Unfortunately, the rules of the Committee would not allow for the examination of these
        witnesses under the conditions that we beheved were necessary to advance the objectives of the
        investigation. Nevertheless, we greatly appreciate the Committee's efforts and its support of this
        investigation.
5       Mr. Krueger was apologetic for failing to respond to our earlier requests for an in-person
        interview, claiming that he had failed to receive our multiple requests.
6       Mr. Bolding's attorney told us that he had advised Mr. Bolding not to cooperate further with our
        investigation because, "based largely on assertions made in [our] reports," Mr. Bolding had been
        sued. The attorney was referring to the lawsuit brought by George Rodriguez in August 2006
        against the City, Harris County, and various individuals, including Mr. Bolding and Ms. Kim,
        relating to Mr. Rodriguez's conviction of aggravated assault and aggravated kidnapping in 1987,
        for which Mr. Rodriguez spent more than 17 years in prison before his release in 2004. The
        Crime Lab's work in Mr. Rodriguez's case is the subject of a detailed discussion later in this
        report.




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this first phase of the investigation was designed to lead to the development, in
consultation with HPD, of a detailed plan for Phase II of the investigation, which
centered on the review of cases analyzed by the Crime Lab prior to ASCLD/ LAB
accreditation. We provided our Phase II Plan to HPD on July 6, 20057
                 1.     Sampling Methodology
       The second phase of our investigation involved reviewing large numbers of
        —                                                 —
cases selected to be statistically valid samples analyzed by the Crime Lab during
defined time periods. The samples were drawn from the seven forensic science
                                            —
disciplines applied in the Crime Lab serology, DNA, controlled substances,
toxicology, trace evidence, questioned documents, and firearms. These cases were
reviewed by our team of forensic scientists and evaluated with reference to the Crime
Lab's SOPs in place at the time, as well as to applicable principles and practices
generally accepted within the forensic science community during the time the Lab
conducted its analysis of the cases.

       During Phase I of the investigation, we reviewed the methodology by which
HPD arrived at its sample size of 1,966 cases included in the RFP. We determined that
it would be prudent to consult with expert statisticians to develop our sample
populations. After advising HPD and gaining the approval of the Stakeholders
Committee, we retained and consulted with statisticians from PricewaterhouseCoopers
LLP ("PwC"), including PwC partners Dr. Jessica Pollner and Arthur Baines. With
PwC's guidance, we developed appropriate sample sizes for the historical case reviews
to be performed by our forensic scientists in each of the following forensic science
disciplines:

    •   Serology (1980 - 1992)                  •      Controlled substances (1998 - 2004)

    •   DNA (1992 - 2002)                       •      Firearms (1998 - 2004)

    •   Trace evidence (1998 - 2004)            •      Toxicology (1998 - 2004)
       For the last discipline, questioned documents, because of the relatively small
number of cases examined, we decided to review all of HPD's questioned documents
cases examined between 1998 and 2004. We also selected separate statistically-based
sample populations of the controlled substances cases analyzed by former HPD




        The Phase II Plan is posted on our Web site.




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Criminalists Vipul Patel and James Price, both of whom, as discussed later in this
report, were involved in instances of drylabbing in the Controlled Substances Section.8
       In December 2005, in light of the pervasive and serious problems in the serology
and DNA cases we reviewed the previous fall, we recommended to the Stakeholders
Committee and to HPD that we modify the scope and focus of our case reviews in both
of these areas.

       With respect to serology, we suggested that (1) the relevant time period for the
reviews be extended earlier in time to January 1980, prior to when Mr. Bolding began
analyzing biological evidence in the Crime Lab, and (2) the statistical sampling be
abandoned in favor of reviewing every serology case related to still-incarcerated
prisoners, whether convicted either by guilty plea or trial verdict, from 1980 through the
early 1990s when traditional ABO typing was supplanted by DNA analysis.
       With respect to DNA, we also recommended against completing the review of all
the cases in the statistical sample as originally drawn in favor of focusing on the cases
identified by HPD and the District Attorney's Office for re-testing that either (1) had not
yet been re-tested by an outside laboratory or (2) had been re-tested and the Crime
Lab's original DNA findings could not be confirmed. As we discussed above, the
post-conviction DNA re-testing program was designed to identify all cases in which
DNA analysis was performed and a conviction resulted, either by guilty plea or after
trial.

        These recommended changes in the scope of the investigation reflect that our
initial serology and DNA case reviews revealed so many major issues and problems
that it made sense to focus on identifying cases that may have resulted in miscarriages
of justice rather than to continue using a random sampling technique, which almost
surely would have continued to show an unacceptably high rate of analytical errors.
The Stakeholders Committee and HPD approved both of these recommendations, and
we adjusted our selection of serology and DNA cases for review accordingly.

       We completed all of the historical case reviews in the nine categories of cases.
The following chart summarizes the number of historical cases we reviewed during
Phase II of the investigation.




        "Drylabbing" is a colloquial term for a form of egregious scientific fraud involving the fabrication
        and reporting of scientific results for tests that actually never were conducted.




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                                                        Number of Historical Cases
                            Category of Cases                  Reviewed
                                  DNA9                            135
                              Serology10                            1,020
                        Controlled Substances11                      563
                               James Price                           342
                              Vipul Patel                            366
                              Toxicology                             396
                            Trace Evidence12                         263
                                Firearms13                           330
                        Questioned   Documents14                      91
                              Total Cases                           3,506



9       The DNA case reviews include all 18 death penalty cases involving DNA testing by the Crime
        Lab.
10      As discussed in detail in the serology section of this report, the total number of serology cases we
        reviewed includes cases from our original serology sample, serology conviction cases, serology
        incarceration cases, and all serology death penalty cases since 1980, including cases where the
        defendant has been executed.
11      This figure includes 150 cases from our original controlled substances sample and 363 cases from
        a reconfigured sample that we prepared, in consultation with PwC, to target substances analyzed
        in the Crime Lab other than marijuana and cocaine. In addition to the samples, we also reviewed
        50 "bulk" controlled substances cases in order to evaluate how the Crime Lab and Property
        Room handle bulk seizures of controlled substances.
12      Our sample included 223 trace evidence cases. In addition to those cases, we reviewed the trace
        evidence component of 40 cases identified as serology or DNA cases.
13      Our original sample of historical firearms cases totaled 364 cases. We found that evidence in 34
        of these cases, the review of which would be necessary to evaluate the conclusions reported by
        the Crime Lab, was not in HPD's possession because it either had been destroyed (6 cases) or was
        in the custody of other entities, such as the courts (28 cases). PwC advised us that -- in light of
        the conservative parameters used in establishing our sample sizes and the lack of major issues
                                                                                         —
        identified by our review of the other 330 cases comprising our firearms sample these 34 cases
        could be excluded from the sample frame without affecting the reliability of our representative
        sample of the Crime Lab's historical firearms cases.
14      In our Phase II Plan, we estimated that the total number of Questioned Documents Section cases
        that we would review was approximately 200. This estimate was based on the total number of
        cases identified on the Questioned Documents Section case log. Once we began our case review,
        it became clear that only 91 of the cases on the Questioned Documents Section case log involved
        substantive work that we could review. The remaining cases did not involve technical work by
        the questioned documents examiner.




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                 2.    The Case Review Process

        We employed a consistent process for reviewing Crime Lab cases throughout the
investigation. We performed the vast majority of our case reviews on site at HPD
headquarters, where the Crime Lab is located. We had access to Crime Lab staff,
documents, and raw data, including autoradiographs and photographs of DNA test
strips. When necessary, we reviewed available underlying evidence to assess the
reasonableness of the Crime Lab's original forensic science work. 15

       We designed our case reviews to determine whether the cases in our samples
were processed and analyzed in a manner consistent with the SOPs existing in the
Crime Lab at the time the analysis was performed and consistent with the generally
accepted forensic science principles prevailing at that time. The case reviews were not
designed to evaluate the work of Crime Lab analysts against a standard of perfection,
nor to use the forensic sciences standards prevailing after 2004 to evaluate work done,
in some cases, many years earlier.

        We devoted substantial effort to ensure that the case review process was
managed effectively and efficiently and that the case reviews were conducted
consistently regardless of which individual expert on our investigative team performed
the review. We sought to be thorough, fair, objective, and consistent. To attain these
goals, all members of the team applied the same written standards for evaluating case
files. These standards were established in consultation with our Scientific Advisory
Board and applied to each forensic science discipline under review.

       In order to advance the goals of clarity, consistency, and coherence in our case
reviews, we attempted to draw appropriate distinctions among the various deficiencies
we identified during the reviews. Our main tool for doing so was to distinguish "major
issues" from "minor issues," categories which we defined at the outset of the case
review process in consultation with our team of forensic scientists. As described below,
we used a careful and rigorous quality assurance process, which included second
reviews by the most experienced forensic scientists on our team of all cases identified as
containing a major issue. Even so, it is important to note that the process of
categorizing deficiencies identified in the Crime Lab's historical cases involved a certain
amount of judgment and discretion.

15      Consistent with the scope of our mandate, we have not re-tested any evidence. We reviewed
        underlying evidence only in cases where information and documentation in the Crime Lab file
        such as photographs, narrative descriptions of the evidence and the analyses conducted, and
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        laboratory notes were inadequate to permit us to assess the reasonableness of the original
        forensic science work.




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                        a.     Major Issues
       Major issues are matters that raise significant doubt as to the reliability of the
work performed, the validity of the analytical results, or the correctness of the analyst's
reported conclusions. We characterized an issue as major if, for example, it involved:

    •   significant errors in the testing, evaluation, or handling of evidence or in the
        reporting of results;

    •   serious omissions, including when an analyst failed to perform a critical
        examination or analysis; or

    •   analytical work that was undocumented or insufficiently documented to permit
        an outside reviewer to assess the basis of the analyst's conclusions.

       Examples of major issues include failure to report probative findings, incorrectly
reporting probative findings, reporting incorrect conclusions, reporting findings that
are unsupported by documented testing, and failing to perform a critical examination
or analysis.

                        b.     Minor Issues

       Minor issues are matters that involve deviations from generally accepted forensic
science principles or from the Crime Lab's SOPs. However, minor issues are different
from major issues in that they do not appear to raise significant doubt as to the
reliability of the work performed, the validity of the analytical results, or the correctness
of the analyst's conclusions. Minor issues may include, for example:

    •   failure to provide sufficient or accurate documentation, but where the basis for
        the analyst's conclusions can nevertheless be determined and reviewed; or

    •   deficiency in the management of the case that includes, but is not limited to:

                 failure to perform the analysis within a reasonable period of time,

                 failure to provide adequate supervisory oversight and review, or

                 failure to reasonably organize the case file and case notes.

      The distinctions between major and minor issues sometimes can be subtle and
frequently are case-specific. In some cases, we concluded that a case involved only
minor issues, even though we identified significant deficiencies in the analyst's work.
We reached this conclusion when we found that the deficiencies ultimately did not


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cause us to have significant doubt about the reliability of the work performed or the
correctness of the analyst's results or that the deficiencies would not have had a
material impact on the results of the forensic science work in the case.

                        c.      Quality Assurance Review
       Members of our Scientific Advisory Board conducted quality assurance ("QA")
reviews of the case evaluations performed by each of the forensic scientists on our team.
The members of the Board reviewed every case that was preliminarily identified as
having one or more major issues. The experts and QA reviewers conferred about every
case raising a potential major issue and reached agreement before any final
determinations were made on how to categorize an issue. The QA reviewers also
evaluated randomly selected files from the case sample to confirm that cases were being
assessed consistently and in accordance with our review standards.

        C.       Serology Incarceration Case Reviews
       We drew our original sample of serology cases from cases assigned to analysts
working in the Serology Section of the Crime Lab from 1987 through 1990.16 Based on
our initial serology case reviews, we found that the Crime Lab continued to perform
ABO typing through 1992, even after the Lab had established its DNA analysis
capability. We also found that our original sample of serology cases, which was
derived from the Crime Lab's ledger of cases assigned to analysts in the DNA / Serology
Section during the relevant time period, included a large proportion of cases that did
not involve any substantive forensic science work by the Lab and, therefore, would not
provide a basis to assess the quality of the Lab's serology work. For example, we found
that, upon receiving a sexual assault kit, the Crime Lab typically would assign a Lab
number and generate a Lab file. However, if no suspect was identified or no samples
were provided for comparison with the evidence in the sexual assault kit, the Crime Lab
usually would only inventory the contents of the sexual assault kit and would not
analyze the evidence.17



16      HPD defined 1987 as the original starting date for the period from which we would select
        serology cases for review because the Crime Lab performed the serology work used in the
        prosecution of George Rodriguez during that year.
17      As discussed in the serology section of this report, between 1980 and 1992 the Crime Lab rarely
        analyzed biological evidence even in cases in which there was a known suspect. During this
        period, the Crime Lab performed genetic marker analysis and comparison to known reference
        samples in only 24 % of the serology cases involving a suspect who is currently in prison.




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        In late 2005, in order to identify cases involving substantive analytical work
performed by the Crime Lab's serologists, such as ABO typing, we developed a
database of cases derived from raw data records that the Lab preserved, and then we
reconfigured our sample based on that database.18 By mid-December 2005, we had
completed reviews of 80 of these substantive serology cases, which revealed a number
of serious problems with the quality of the serology work. In fact, we identified major
issues in 18 -- or approximately 22.5 % -- of these cases. We also identified two very
troubling cases -- related to defendants Dwight H. Riser and Charles E. Hodge -- in
which the Crime Lab reported incorrect conclusions that were inconsistent with the
actual ABO testing performed by the analysts.

        In light of the serious and widespread problems we identified during our initial
serology case reviews, in December 2005, we recommended to the Stakeholders
Committee and HPD that we modify the scope of the serology case reviews as follows:
First, because of the number of major issue serology cases we identified in which
Mr. Bolding was the responsible serologist, we recommended that the time period of
our case reviews be expanded to cover the years 1980 through 1993 in order to include
the entire period in which Mr. Bolding performed serology at HPD as well as a short
period prior to his involvement.19 Second, we suggested that our reviews be limited to
cases in which the Crime Lab's serology work related to a suspect who was convicted of
the crime under investigation, either by guilty plea or as a result of a trial verdict. We
made our proposal to change the basis of our case selection in serology from random
sampling, which was designed to provide a cross section of the work performed by the
Crime Lab to permit assessments of its overall qualify, in order to concentrate our
efforts on systematically attempting to identify cases in which flawed serology work by
the Lab may have played a role in a criminal conviction. In short, because the original
serology work we reviewed appeared to be so deeply and pervasively flawed, we
believed that continuing with the random sampling would have further confirmed the
conclusions that we had already reached while potentially failing to identify specific,
individual cases in which flawed work by the Crime Lab may have contributed to a
miscarriage of injustice.



18      The Crime Lab was not able to locate and provide us with raw data related to the work
        performed by all of the serologists employed by the Lab during the relevant period. Most of the
        serology raw data records that have been preserved are those originally maintained by HPD
        analyst Christy Kim dating back only to 1989.
19      Our review of serology cases from the early 1980s found that Mr. Bolding began issuing serology
        reports in October 1980. Mr. Bolding did not attend a formal outside training program in
        bloodstain analysis until the summer of 1982.




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        HPD and the Stakeholders Committee approved our recommended changes in
the selection criteria for the serology case reviews, and we implemented the revised
approach in January 2006.20 In coordination with HPD, and with its substantial
assistance, we immediately began the process of identifying serology cases that might
be related to actual convictions of individual defendants, which posed significant
logistical challenges particularly for cases from the early 1980s that pre-dated the Crime
Lab's use of an electronic case tracking system .

        During our May 4, 2006 meeting with the Stakeholders Committee and HPD, we
recommended that our review of the Crime Lab's historical serology cases be narrowed
to include only those cases that could be tied to a conviction, either by trial or by guilty
plea, and where the convicted defendant remained currently incarcerated. This
recommendation to narrow the serology review was based on several factors, including
(1) the resources that would be required to review the large volume of serology
conviction cases that we anticipated identifying from the period between 1980 and the
early 1990s; (2) the relatively small proportion of cases in which the Crime Lab
performed substantive serological analysis; and (3) poor documentation contained in
the Lab's serology case files, which limited our ability to assess the reliability of the
results obtained by the Lab's serologists.

        In light of these factors, we recommended to the Stakeholders Committee and to
HPD that our review focus on serology cases related to a defendant who was currently
incarcerated and, therefore, was at least in theory in a position to obtain meaningful
relief through the criminal justice system . The Stakeholders Committee and HPD
adopted our recommendation, and in May 2006 we again recalibrated our serology
review to focus on the identification and review of serology cases related to currently
incarcerated prisoners. We also reviewed all serology work performed by the Crime
Lab that related to death penalty cases from 1980 through the early 1990s, including




20      In adopting our recommendation to expand the relevant time period of our serology case reviews
        to 1980, HPD and the Stakeholders Committee left open the possibility of expanding our serology
        case reviews even further to pre-1980 cases. Based on the lack of documentation contained in the
        case files from the early 1980s, and our expectation that documentation would only be thinner
        further back in time, we did not believe it would be fruitful to review pre-1980 serology cases.
        Accordingly, we recommended against undertaking a review of serology conviction cases prior
        to 1980, despite our profound reservations about the overall quahty of the forensic serology work
        that might have been performed in those cases.




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death penalty cases in which the defendant no longer was incarcerated because he had
been executed by the time we began our review.21

       Our review of serology cases related to incarcerated suspects was limited by the
lack of documentation contained in the Crime Lab's files. In most of the cases from the
1980s, it is not possible to evaluate the serologists' interpretation of the ABO testing
results they obtained because the laboratory notes and worksheets contained in the file
recorded only the analysts' conclusions about the ABO factors detected and provided
no information about the raw test data that would indicate, for example, the strength of
the test results upon which the analysts' conclusions were based. Also, with the
exception of several notebooks kept by Ms. Kim beginning in 1989 and the p30 test logs
from 1990 forward maintained by former serologist Grace Daz, there are no logs or
other records reflecting the raw data related to testing performed by the Crime Lab's
serologists, apart from the raw data record occasionally present in the case file.22
       Finally, during the early 1980s, Crime Lab serologists did not report conclusions
as to why, based on ABO typing of evidence and comparison to reference samples, a
particular suspect was included (or excluded ) as a potential contributor to the evidence
sample. During this period, the Crime Lab's reports typically only presented the results
                                                                          —
of ABO typing -- i.e., which ABO factors, if any, were detected and included no
interpretation with respect to inclusions or exclusions. Essentially, for most of the
serology cases performed in the 1980s, even in the relatively few cases where ABO
typing actually was performed and the results were reported, no conclusions were
reported as to inclusion or exclusion; consequently, we were able to evaluate only
whether the serologist accurately reported the test results recorded in the analysts'
worksheets.



21      As discussed further below, there were a total of 29 serology cases during the relevant time
        period related to a prisoner who had been executed by the time we began our review of serology
        incarceration cases.
22      Because the raw data notebooks that we obtained were prepared primarily by Ms. Kim, we were
        able to evaluate the serology results she reported much more thoroughly and effectively during
        the period for which we have such raw data than we were able to with respect to other analysts.
        Also, we found that Ms. Kim was an extremely prolific analyst and handled more cases than any
                                                                                  —
        other serologist in the Crime Lab, including Mr. Bolding. For these reasons the volume of her
                                                                      —
        casework and our ability to more effectively review her results many of the major issue cases
        we identified were analyzed by Ms. Kim. However, the problems we have observed with the
        Crime Lab's serology work, including the major issues, were endemic to the Lab's serology work
        generally. Therefore, there is no reason to conclude that Ms. Kim's performance as a serologist
        was uniquely deficient.




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II .    Review of Current Operations

       The final phase of our investigation involved the review of the current operations
of the Crime Lab and Property Room. As the investigation progressed and the Crime
Lab continued to implement significant changes and reforms, it became clear to us that
the formulation of recommendations that would be relevant to the current state of the
Crime Lab and valuable to HPD could not be based on our Phase II case reviews, which
covered cases analyzed by the Crime Lab through the end of 2004 in most areas and
through 2002 in DNA -- all prior to the Crime Lab's accreditation by ASCLD / LAB. In
preparation for the ASCLD / LAB inspections, the Crime Lab, among other things,
extensively revised its SOPs, hired and trained new analysts and managers, underwent
reviews by outside consultants, and implemented a new Quality Assurance and Quality
Control ("QA / QC") regime.

        Therefore, in May 2006, we suggested to HPD and the Stakeholders Committee
that the scope of our investigation be expanded to include a review of the Crime Lab as
it currently is organized and operates, including the review of cases analyzed by the
Lab after accreditation to serve as a basis for recommendations. From the outset, the
Stakeholders Committee and City Council had stressed the importance of our
formulating such recommendations for use in enforcing accountability on HPD and the
Crime Lab. On June 22, 2006, we submitted a formal proposal to the City and HPD
regarding the review of the current operations of the Crime Lab and Property Room.23
On September 27, 2006, the City Council approved our proposal, and we resumed our
review of the Crime Lab's current operations designed to support our formulation of
relevant and coherent recommendations across all of the Lab's functions.

        In our review of the Crime Lab's current operations, we reviewed the current
SOPs for each of the forensic science disciplines currently employed by the Lab as well
as its Lab-wide manuals and protocols, training and proficiency testing materials for the
Lab's current analytical staff, data regarding the Lab's budget and caseload, information
about the existing salary structure for Lab personnel, and incident logs and records. We
also interviewed members of the Crime Lab staff to get their views about the current
organization, management, and needs of the Lab.

       Ultimately, the state of the Crime Lab's current operations is reflected in its work
product. Accordingly, in consultation with PwC, we selected statistical samples of
cases analyzed in each of the forensic science disciplines employed by the Crime Lab
post-accreditation. For the types of analysis accredited by ASCLD/ LAB in May 2005 --

23      This proposal also discussed the identification and review of serology incarceration cases from
        1980 through the early 1990s.




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controlled substances, firearms, blood alcohol testing, and questioned documents -- we
selected samples of cases completed and reported by the Crime Lab between June 2005
and the end of October 2006.24 We reviewed 36 DNA cases completed by the current
Biology Section after ASCLD / LAB accredited the Crime Lab's DNA operation in June
2006.25 We also reviewed the Trace Evidence Section's SOPs, training materials, and
equipment and interviewed both of the Crime Lab's trace evidence examiners.
However, because the Trace Evidence Section has not yet been accredited by
ASCLD / LAB, we did not review a sample of current trace evidence cases.26

       Our review of the Property Room focused on the collection, storage, and retrieval
of forensic evidence likely to be analyzed by the Crime Lab. In connection with this
review, we interviewed HPD investigators and crime scene specialists; personnel in the
Central Evidence Receiving ("CER"), the unit of the Crime Lab responsible for
processing controlled substances evidence submitted to the Lab for analysis; Lab
personnel who handle biological and firearms evidence; representatives from the
District Attorney's Office who manage and store evidence transferred from HPD to be
used in prosecutions; and Property Room personnel. We also reviewed the Crime Lab's
and Property Room's procedures and systems for the storage, tracking, and retrieval of
evidence. Finally, we reviewed historical records maintained by HPD and the Property
Room, including audit and inspection reports, correspondence, and the report recently
prepared by an outside consultant, James Latta, who was commissioned by HPD to
evaluate and provide recommendations concerning the operations of the Property
Room.

24      The general sampling methodology we developed in consultation with PwC was to select
        samples of 30 cases in each of these areas. Similar to the methodology relating to our review of
        historical controlled substances cases, we selected two samples of current drug cases. The first
        sample was a general sample drawn from the entire population of controlled substances cases
        processed by the Crime Lab during the relevant period. We also selected a separate sample that
                                                             —
        targeted cases involving particular types of evidence such as hquids, capsules, and tablets —
        that are more challenging to analyze than the routine marijuana and cocaine cases that constitute
        the overwhelming majority of cases submitted to the Controlled Substances Section. Finally,
        because of the small number of questioned documents cases, we reviewed all of the cases
        completed by the Crime Lab's questioned documents examiner during the relevant time period
25      The DNA cases we reviewed included a sample of 30 cases completed between July and October
        2006 (which represents approximately half of the DNA cases completed by the Crime Lab during
        that period), as well as two cases analyzed by each of the three DNA analysts who completed
        training and began performing casework after October 2006. We also reviewed several "mock"
        DNA cases analyzed by DNA staff prior to the Section's accreditation.
26      The Trace Evidence Section received a form of provisional accreditation from the Texas DPS in
        November 2006, which permitted the Section to move forward with developing examples of
        casework to be evaluated during the ASCLD/ LAB inspection process.




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The Structure of the Crime Lab: Historical
Areas of Operation
       HPD founded the Crime Lab in 1953. Since then, there have been only four
                                —
directors of the Crime Lab Floyd McDonald from 1953 until his retirement in 1983;
Peter Christian from 1983 until his death in 1995; Donald Krueger from 1995 until his
resignation on February 21, 2003; and Irma Rios, who has led the Crime Lab since
October 20, 2003.27

        Four fundamental forensic science disciplines were practiced in the Crime Lab
under Mr. McDonald -- toxicology / breath-alcohol testing, controlled substances
analysis, trace evidence examination, and serology. Throughout much of its history and
until the early 2000s, the Crime Lab housed HPD's photography laboratory in addition
to the forensic science disciplines. The examination of latent prints, however, was never
included under the Crime Lab -- that function is performed by officers in HPD's
Identification Division. During the years 1992 through 1997, the firearms examination
function also was located in the Identification Division.

        By 2004, the Crime Lab settled into roughly its current organization. The forensic
science disciplines currently practiced in the Crime Lab are (1) biological evidence
analysis, including serology and DNA profiling; (2) controlled substances analysis;
(3) firearms examination; (4) trace evidence examination; (5) blood alcohol testing and
administration of HPD's field breathalyzer program; and (6) questioned documents
examination.

I.      Serology
        Historically, forensic serology involved the identification of physiological fluids
(e.g., blood, semen, and saliva ) in evidence samples and the comparison of such
samples with known reference standards based on the analysis of genetic markers, such
as the ABO blood group system and other polymorphic enzyme and protein systems.
Following the development of DNA profiling technology in the late 1980s and early
1990s, the term serology in most forensic laboratories (including HPD's) has come to
refer only to the identification of fluids and stains that might contain DNA.

27      Robert Bobzean, who was the deputy director of the Crime Lab at the time, functioned as the
        acting head of the Lab immediately following Mr. Krueger's resignation. In July 2003, Frank
        Fitzpatrick of the Orange County Sheriff -Coroner's Office was brought in as the interim director
        of the Crime Lab, a role in which he served until Ms. Rios was hired.




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       Serology more specifically, testing to screen evidence for the presence of blood
or semen and ABO blood typing -- was practiced in the Crime Lab prior to 1980, which
was the first year covered by our review of the Lab's historical serology cases. We
identified 17 different analysts who performed serology work in the Crime Lab during
the 1980s and early 1990s, including Mr. Bolding who became the Lab's lead serologist
in the early 1980s.

       In the early 1990s, HPD's Serology Section evolved into its DNA / Serology
Section as the Crime Lab's DNA analysis capability came on-line. Mr. Bolding
continued as the leader of the new DNA / Serology Section, and former serologists, such
as Christy Kim, trained in DNA analysis. After the advent of DNA analysis in the
Crime Lab, certain analysts continued to be devoted full time to serology; they were
involved primarily with screening evidence stains for body fluids and extracting DNA
from evidentiary samples.

       After the DNA Section closed in December 2002, the Crime Lab continued to
perform serology work, which at the time involved primarily the processing and
screening of sexual assault kits. In May 2005, the Crime Lab received ASCLD/ LAB
accreditation in serology.

II.     DNA

       In the late 1980s, Mr. Bolding led the effort to acquire the necessary funding,
equipment, and staff to establish a forensic DNA analysis unit in the Crime Lab. The
Crime Lab began performing DNA profiling work in the early 1990s. Before the Crime
Lab established its in-house DNA analysis capability, it outsourced a relatively small
number of cases to outside laboratories, such as the Baylor College of Medicine, for
forensic DNA analysis.

       Mr. Bolding was the head of the DNA/ Serology Section from its beginning
through the closure of the Section in December 2002, following public reports that
raised questions about the integrity of the Lab's DNA work and prompted an outside
inspection of the Section. From 1993 through August 1996, Dr. Baldev Sharma was the
line supervisor for the DNA/ Serology Section, which was staffed with four DNA
analysts and three serologists. In 1996, as a result of a prolonged series of disputes
between Mr. Bolding and Dr. Sharma and questions about Dr. Sharma's competence,
Mr. Krueger removed Dr. Sharma as the line supervisor for the Crime Lab's DNA
analysts, and thus the Section was left without a supervisor until it was closed.

       The Crime Lab did not perform forensic DNA profiling work between December
2002 and July 2006. After significant work reforming the Crime Lab's DNA operation
including re-writing the DNA SOPs, hiring a new technical leader and DNA case
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manager, hiring and training new analysts, and validating new DNA analysis
instruments -- the Lab received provisional ASCLD / LAB accreditation in DNA in June
2006 and resumed DNA analysis in active investigations.

III.    The Controlled Substances Section

       Drug analysts use a wide range of techniques and technologies to identify
controlled substances, including microcystalline tests, chromatography, mass
spectrometry, spectrophotometry, and microscopic identification. All of these methods
of identification have been used by forensic scientists in the Controlled Substances
Section.

       The Controlled Substances Section analyzes the vast majority of cases processed
by the Crime Lab -- between 14,500 and 16,000 cases each year during the 1996-2004
period. Throughout the 1990s and 2000s, the Controlled Substances Section has had the
most analysts of any section in the Crime Lab. The Controlled Substances Section
received ASCLD/ LAB accreditation in May 2005.

IV.     The Firearms Section

       Forensic examination of firearms-related evidence typically involves microscopic
comparison of markings on bullets, cartridge casings, and shot shells; test firing of
firearms to evaluate proper function; trigger pull determinations; serial number
restorations; and muzzle-to-target distance determinations. Fired ammunition
components can be matched to the weapon that fired them, link different crimes
committed with the same weapon, and, thanks to nationwide tracking programs,
provide leads for investigators and useful data for laboratories across the country.

       In approximately 1991, the Firearms Section was moved out of the Crime Lab
Division and placed in the Identification Division, where it remained for seven years.
The Firearms Section rejoined the Crime Lab, effective on or about March 30, 1998, after
the Lab moved from 33 Artesian Place to its current location in HPD headquarters at
1200 Travis Street. The Firearms Section received ASCLD / LAB accreditation in May
2005.

V.      The Trace Evidence Section

                      —
       Trace evidence such as hair, fiber, gunshot residue, paint, and glass -- may be
transferred between individuals and objects during the commission of a crime. The
Trace Evidence Section of the Crime Lab was historically involved in analyzing such
evidence, as well as processing a significant volume of arson-related evidence. The
Trace Evidence Section traditionally has been relatively small -- only one or two
analysts in addition to a supervisor. In the past, HPD trace evidence examiners


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analyzed arson cases. However, in 2003, responsibility for the investigation of
suspected arson incidents was transferred to the Office of the Harris County Fire
Marshal.

       The Crime Lab currently employs two trace examiners, whose work is
technically reviewed by an outside expert. The Trace Evidence Section received a form
of accreditation from the Texas DPS in November 2006, and underwent its first
ASCLD / LAB inspection in March 2007.

VI.     The Toxicology Section

       Forensic toxicology involves the detection and identification of alcohol and other
drugs in body fluids such as blood and urine. The Crime Lab's historical Toxicology
Section oversaw the calibration and maintenance of breath testing devices used by HPD
officers in the field and trained officers in their use. In 2003, the longtime head of the
Toxicology Section, Pauline Louie, failed a toxicology competency test, and the Crime
Lab ceased performing traditional toxicological analysis. Since then, the Crime Lab has
only performed blood alcohol testing, for which it received ASCLD/ LAB accreditation
in May 2005.

VII .   The Questioned Documents Section

       Until 2004, the examination of questioned documents was a component of the
Identification Division. HPD formerly employed several document examiners, but the
operation was closed in the mid-1980s during a period of examiner attrition and waning
requests for document examinations. For approximately fifteen years (from the
mid-1980s until 1999), document examination requests generated by HPD investigators
were referred to the Texas DPS crime laboratory. HPD currently has one questioned
documents examiner, who was hired in 1999.

       A change in Texas state law, which permitted only forensic science evidence
analyzed by accredited laboratories to be admitted in Texas courts, prompted the
transfer of HPD's lone questioned documents examiner from the Identification Division
to the Crime Lab in 2004. The Crime Lab's Questioned Documents Section received
ASCLD / LAB accreditation in May 2005.




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HPD Crime Lab Independent Investigation                                                                      24




Brief Narrative History of the Crime Lab
(1953 - 2005)
       This section of the report is a narrative history of the Crime Lab between its
founding in 1953 and May 10, 2005, when the Crime Lab was accredited by
ASCLD / LAB in the disciplines of controlled substances, blood alcohol analysis,
questioned documents, firearms, and serology.28 The mismanagement, dysfunction,
and technical failings that ultimately led to the sustained crisis that engulfed the Crime
Lab starting in late 2002 have their origins in practices and attitudes that were present at
HPD and in the Crime Lab more than twenty years ago.29 This narrative history of the
Crime Lab provides the background and context for the severe and widespread
problems revealed by our review of the Crime Lab's casework, particularly in the areas
of serology and DNA analysis.

I.      Early History of the Crime Lab
       HPD's Crime Lab was established in 1953. For thirty years until his retirement in
1983, Floyd McDonald served as the Crime Lab's first and only director.30 The Crime
Lab was located at 61 Reisner Street until the late 1980s, when it moved to 33 Artesian
Place. In 1997, HPD headquarters and the Crime Lab moved to their current location at
1200 Travis Street.

       Under Mr. McDonald, the Crime Lab performed four types of forensic analysis
toxicology / breath alcohol testing, controlled substances analysis, trace evidence
                                                                                                             —
examination, and serology. Although the Crime Lab staff tended to specialize in certain
areas of analysis, most of the Lab's analysts during this period were generalists and had
case experience in more than one discipline, as was typical in most crime laboratories

28      The ASCLD/ LAB accreditation that the Crime Lab received in May 2005 did not include DNA
        analysis or trace evidence examination.
29      For the reasons detailed in this narrative history of the Crime Lab it would not be fair or
        consistent with the facts to absolve the rest of the Department for the Lab's failures. One of the
        root causes of the Crime Lab's problems, which we discuss below, was the failure of previous
        administrations of HPD and the City to provide the Lab with the resources necessary to attract
        and retain qualified forensic scientists and laboratory managers, provide analysts with necessary
        training and technical guidance, and maintain an appropriate laboratory environment
30      After retiring from HPD in 1983, Mr. McDonald founded the Pasadena (Texas) Pohce
        Department's crime laboratory. Over the years, several HPD criminalists left the Crime Lab to
        work in the Pasadena lab, including that laboratory's current director.




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around the country. For example, when Mr. Krueger started in the Crime Lab in 1978,
he was primarily a controlled substances analyst. Eventually, Mr. Krueger concentrated
on the examination of trace evidence. However, he also worked serology cases from at
least 1980 through 1983.31

       In the very early days of the Crime Lab, all analysts, including Mr. McDonald,
were sworn police officers, known at HPD as "classified" employees. The long-term
Crime Lab employees whom we interviewed believe that Mr. McDonald had close
relationships with members of the HPD command staff and was reasonably effective in
obtaining resources and equipment for the Lab, including the Lab's first gas
chromatograph/ mass spectrometer ("GC / MS") 32 in the late 1970s.33

       Over time, the Crime Lab became increasingly civilianized, in part as a
cost-saving measure relative to its treatment of classified officers: HPD traditionally
paid civilian employees less and afforded them fewer employment-related benefits.
Thus, as demands on the Crime Lab increased throughout the 1970s and early 1980s, the
Lab under Mr. McDonald found it could staff more new analyst positions if those
positions were held by civilians rather than by sworn officers. By the early 1980s, the
number of classified positions within the Crime Lab had become frozen, and the
opportunity for an employee to become classified was available only if a vacancy in an
existing classified position was created by a departure or retirement.

       When Mr. McDonald retired in 1983, his deputy, Peter Christian, became the
head of the Crime Lab. A competitive examination was administered within the Crime
Lab to determine who would be promoted to be Mr. Christian's deputy, a classified
position. Mr. Bobzean and Mr. Krueger, who joined the Crime Lab in August 1972 and
November 1978, respectively, competed, along with a third Lab analyst, for the number
two spot in the Lab. Mr. Krueger scored highest on the test, was classified, and was
promoted to the assistant director position. 34

31      Mr. Krueger told us that he received training in serology testing techniques while he was a
        criminalist in a forensic science laboratory in San Antonio, Texas before arriving at the Crime
        Lab.
32      A GC/ MS is an essential laboratory instrument that separates, identifies, and quantifies the
        components of complex mixtures. The gas chromatograph separates components of mixtures
        and directs them into the mass spectrometer where they are identified by patterns unique to each
        chemical compound. Mass spectrometry has its widest apphcation in the identification of drugs.
33
                                 —                                   —
        We make no suggestion and we have found no evidence that Mr. McDonald engaged in any
        form of misconduct in obtaining resources for the Crime Lab.
34      Mr. Bobzean eventually attained classified status as well.




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       As discussed in the following section, the distinction between classified and
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unclassified i.e., sworn officers and civilians was significant at HPD in terms of
salary, benefits, and respect afforded within the Department. Nearly all of the
individuals whom we interviewed had been long-term employees in the Crime Lab and
believed that the Department traditionally regarded civilian employees as second-class
citizens. We were told that Crime Lab personnel generally felt that, serving in a
division within the support services command -- as opposed to an operations
             —
command that was populated predominantly by civilian analysts, the Lab was
relegated to a doubly marginalized status in the eyes of high-level HPD executive
command staff and budget planners.

II .    Compensation, Personnel, and Workload
        In addition to focusing on issues relating to the internal operations of the Crime
Lab -- including examiner competence, training, and laboratory management -- our
investigation also reviewed issues relating to resource allocation by the City and HPD
to the Lab. One thing is clear: until the public crisis engulfed the Crime Lab, it was
never provided adequate financial support to hire and train the number of criminalists
necessary to handle the Lab's ever-increasing workload, pay the salaries required to
attract and retain qualified forensic scientists, acquire much-needed equipment and
supplies, and maintain and repair the Lab's infrastructure. 35

        The following chart tracks the Crime Lab Division's total allocated budgets
during the ten-year period between 1994 and 2003. As reflected below, the dollars that
the Crime Lab received from HPD's general fund remained relatively flat through the
late 1990s and increased only slightly in the early 2000s in absolute dollars, not adjusted
for inflation. The Crime Lab relied heavily on grant money, which in some years was
either not available or not obtained. The significant spike in grant funding that the
Crime Lab received in 2003 related to a $1.1 million grant through the "No Suspect
Casework DNA Backlog Reduction Program," which was largely used to outsource
unanalyzed rape kits to private labs after the DNA Section was closed in December
2002.



35      Prior to the re-organization of the Crime Lab in 2005, forensic scientist positions in the Crime Lab
        were classified as Criminalist I through IV. Criminalist I was the entry level position for
        personnel conducting forensic science analysis in the Crime Lab; Criminalist II was the more
        advanced position for a working analyst; Criminalist III was the title for first-line forensic science
        supervisors; and Criminalist IV was the top-level supervisory position, which generally involved
        the supervision of multiple sections in the Lab.




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                                                            HPD Crime Lab Budget Funding
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Grant Funding                     $0             $0         $150, 071      $411 , 372     $405, 448     $264 , 260     $149 , 632     $610 , 506         $0         $1 , 362 , 080
General Budget Funds         $2 ,834 , 299   $2, 608, 706   $2, 567 , 365 $2, 419 , 787   $2, 646, 965 $2, 646, 761   $2 , 934, 556   $3, 024, 618   $3, 269, 591   $3, 215, 555




        Throughout the history of the Crime Lab, the salaries HPD paid to civilian
employees in the Lab were not only lower than salaries paid to HPD sworn officers but
also were lower than those paid by other publicly-funded forensic science laboratories
in the region and around the country. For example, HPD job postings issued in 1993
show that the salary range for Criminalists I was $21,138 - $28,574, Criminalists II was
$24,440 - $33,332, and Criminalists III was $29,146 - $40,456. According to job postings
collected by the Crime Lab at the time, the Kansas Bureau of Investigation, by
comparison, advertised salaries in 1993 for Forensic Scientists I in the range of $25,728 -
$36,192 and for Forensic Scientists II in the range of $31,260 - $43,992 -- a range
providing higher salaries than those offered by HPD for even its most experienced line
supervisors. Senior criminalists in the Mesa, Arizona Police Department Crime Lab in
1993 were paid between $40,443 and $54,574, which is between 34 and 39 % higher than
HPD's salary range for Criminalists III.

       In 1998, Crime Lab personnel conducted a salary survey that compared the
salaries paid to Crime Lab analysts with the salaries for comparable level analysts in the
DPS, Harris County ME's Office, and the Pasadena (Texas) Police Department.


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HPD Crime Lab Independent Investigation                                                              28




According to this survey, which was provided to Chief Bradford, the average salaries
paid by these three Houston-vicinity crime labs were 20 % higher for Criminalists I and
II, 6 % higher for Criminalists III, and 14 % higher for Criminalists IV. The salary survey
process that began in 1998 eventually resulted in pay increases of 12 % for Criminalists I,
9 % for Criminalists II, and 4 % for Criminalists III in the fall of 2002. While these pay
raises no doubt were welcome, HPD Crime Lab employees remained
undercompensated relative to their peers at other Houston-area labs as of late 2002.

        The low salaries offered by HPD made it difficult for the Crime Lab to recruit
qualified scientists and to retain them after they received training. The problem was
exacerbated by the lack of opportunities for promotion and advancement within the
calcified employment structure of the Crime Lab. Mr. Krueger told us that his repeated
attempts to secure step increases in pay for Crime Lab analysts were turned aside. It
was not uncommon for entry-level analysts to spend a short time at the Crime Lab, gain
training and work experience, and then leave for higher paying jobs in other
laboratories. Mr. Krueger told us that economic downturns worked perversely in the
Crime Lab's favor because during slow economic times the Lab was able to hire the
better-qualified personnel and retain them for longer periods of time.

       Historically, many Crime Lab analysts worked second jobs. Even Mr. Krueger
and Mr. Bolding had outside employment while they were senior managers in the
              —
Crime Lab Mr. Krueger worked in an underwater photography store and Mr. Bolding
ran an antiques store. Indeed, the Crime Lab's hours of operation from       —
approximately 7 a.m. to 3 p.m. -- appear to have been structured to permit analysts to
have outside employment in the afternoons and evenings. While these hours facilitated
outside employment, they limited hours during which analysts were available to
communicate with prosecutors, investigators, and others.36 Given the comparatively
low salaries that were offered to Crime Lab personnel, it is easy to understand the
strong attraction outside employment held for many analysts, but the prevalence of
                         —
outside employment even among the Lab's senior managers contributed to a —
culture that did not reflect sufficient commitment to the work of the Lab.

       From the 1990s through the early 2000s, numerous authorized positions within
the Crime Lab remained vacant due to a lack of funding. These vacancies persisted
despite the steady growth in the volume of cases submitted to the Crime Lab for
analysis. Although, as in most crime laboratories, the vast majority of cases referred to

36      Mr. Krueger told us that he did not beheve that the prevalence of outside employment impaired
        the performance of Crime Lab staff . Outside employment appears to be an aspect of the culture
        of HPD as a whole, and many sworn officers hold second jobs as well.




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HPD Crime Lab Independent Investigation                                                                  29




the Crime Lab involved controlled substances, the demand for DNA analysis increased
substantially in the late 1990s and early 2000s. During this period, as discussed in
greater detail later in this report, rape kits became substantially backlogged with respect
to cases in which there were no known suspects. These cases were not analyzed and
therefore not loaded into the Combined DNA Index System ("CODIS") database.37 The
DNA Section's de facto policy at the time, developed because of the workload demands
placed on its limited personnel, was to conduct DNA analysis only in cases involving
known suspects from whom samples had been obtained for comparison.

        By 2001, the Crime Lab was struggling to cope with various workload issues,
including a major spike in the number of controlled substances cases. In February 2001,
Mr. Krueger assigned Dr. Baldev Sharma, the Lab's putative QA / QC supervisor, to
analyze marijuana cases full time. On July 11, 2001, Mr. Krueger sent a memorandum
to Chief Bradford entitled "Crime Laboratory -- Personnel Needs" in which he stated,
"The caseload in the chemistry sections of the laboratory has increased rapidly in the
last several years. . . . In 1994, the chemistry sections of the lab had 35 criminalists and
received 13168 cases. In the calendar year 2000, the chemistry sections of the lab are still
staffed with 35 criminalist [sic] and 17597 cases were received, an increase of 33.6 % ."38
Mr. Krueger also explained that he intended to include requests for additional
personnel in the Crime Lab's fiscal year 2002 budget, but he removed the request in
light of a January 2, 2001 memorandum from the Director of Budget and Finance for
HPD instructing all commands not to request new personnel in their budgets due to
"fiscal constraints."

      The following year, Mr. Krueger again raised the staffing issue. In a
memorandum to Chief Bradford dated January 28, 2002 and entitled "Additional
Information for the Position Justification Committee," Mr. Krueger advised the Chief
that:

37      CODIS is a system that "enables federal, state, and local crime labs to exchange and compare
        DNA profiles electronically, thereby linking crimes to each other and to convicted offenders."
                                                          —
        CODIS is a hierarchical database with three tiers the National DNA Index System ( NDIS) is the
        highest tier, with state (SDIS) and local (LDIS) databases flowing into it. See
        www.fbi.gov/ hq/ lab / codis / brochure.p df .
38      As discussed in detail below, during this same period in the late 1990s and early 2000s in which
        the volume of drug cases submitted to the Crime Lab was growing rapidly, the DNA Section was
        left without a Criminalist III line supervisor and was not processing sexual assault kits to develop
        DNA profiles for entry into CODIS. Mr. Krueger told us that, even though DNA cases typically
        involve serious crimes such as homicides and sexual assaults, controlled substances was his
        priority for resources because of the large volume of drug cases that were flooding the Crime
        Lab.




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        The caseload for the Chemistry Sections of the Crime Laboratory has risen
        steadily over the years and since 1986 there has been no increase in
        authorized strength other than a few grant funded positions for specific
        purposes (DNA and DRUGFIRE).39

Mr. Krueger concluded his plea for additional personnel by stating:

        Personnel have been moved; duties have been changed; analytical
        procedures have been streamlined, reduced and even eliminated in an
        attempt to maintain a reasonable level of service. Without the authorized
        vacancies filled [,] backlog will likely increase, delaying investigative
        information, grand jury indictments and court trials.40

       The following charts compare the growth in the Crime Lab's workload, overall
and in the Controlled Substances Section, with the number of analysts employed by the
Lab and the number of vacancies.




39      The DRUGFIRE program is a computerized forensic imaging database system into which
        participating forensic firearms laboratories enter images of firearms and ammunition
        components in order to link shootings that have taken place at different times and locations.
40      This memorandum was reviewed and signed by both Executive Assistant Chief Storemski and
        Assistant Chief Simmons.




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   HPD Crime Lab Independent Investigation                                                                                                                                                                                                                                31
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        As discussed in more detail below, in 2002 the Crime Lab received an allocation
of $600,000 from the City to address the substantial backlog of unprocessed rape kits
that had accumulated over many years. In a June 25, 2002 memorandum to Chief
Bradford, Executive Assistant Chief Storemski recommended that HPD "tak[e] this
opportunity to increase DNA staffing which will benefit us in the future. . . . If we use
all of the $600,000 to outsource without triage we could analyze 500 to 1000 cases. If we
hire additional personnel as recommended and triage the cases, and then use the
remaining $300,000 to outsource we could analyze 1071 to 2500 cases." In a
handwritten note, Chief Bradford rejected Executive Assistant Chief Storemski's
recommendation that a portion of the $600,000 be used to hire additional DNA
analysts -- including filling the Criminalist III DNA supervisor position that had been
vacant since 1996 -- stating: "We can not hire new personnel. This is a 'one-time' pool
of money." Chief Bradford was unwilling to use this temporary source of funding to fill
criminalist positions that eventually would require a funding commitment by HPD.
Therefore, the staffing problems that led to the rape kit backlog in the first place went
unaddressed by Chief Bradford despite the substantial influx of funds from the City.

        The results of our extensive review of the Crime Lab's cases reflect that the Lab's
staff, particularly its DNA analysts, was woefully undertrained. Among other things,
the 2002 DPS audit found that the Crime Lab lacked "a documented program to ensure
that technical qualifications are maintained through continuing education." We were
told that funding for training was among the first areas to be trimmed when the Crime
Lab faced budget cuts. Indeed, even after the 2002 DPS audit and the closure of the
DNA Section, Mr. Krueger was under pressure to reduce his budget. In a January 28,
2003 memorandum to Chief Simmons regarding "FY04 Budget Cuts," Mr. Krueger
wrote: "The FY03 budget has already been reduced; most notably a 23% reduction in
training." Numerous Crime Lab analysts told us that they felt inadequately trained and
that they confronted many obstacles in obtaining offsite training. This lack of training
and the isolation of analysts from the forensic science community proved to be truly
one of the most significant factors contributing to the collapse of the DNA Section.

III.    The Roof at 1200 Travis Street

       The working space in which HPD scientists performed sensitive forensic testing
on evidence, including biological evidence related to homicides and sexual assaults,
was continuously exposed to contamination due to persistent leaks and flooding caused
by the HPD headquarters' faulty roof . The City and HPD's failure over a period of
more than six years to repair the roof over the Crime Lab illustrates the lack of regard
the Department had for the Lab and for the forensic science work performed at HPD
prior to the onset of the crisis starting in late 2002.




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        The building at 1200 Travis Street, which became the headquarters for HPD in
the fall of 1997, was built in the 1960s. In October 1994, the City purchased the building,
and, in February 1995, it hired a contractor to begin renovations, including the
installation of a new roof . The City and HPD were aware of problems with the
building's roof prior to moving into the facility. A memorandum to Chief Bradford
dated May 9, 1997 reported that there was a "problem causing water to get under the
new roofing materials and saturate the new roof from underneath." In February 1998,
repairs to the roof were discontinued, and, for the next nearly five years, until January
2004, the project to repair the roof was on hold while the City attempted -- with
                                       —
minimum energy and no results to hire contractors to design and construct a
functioning roof for the building.

       In the meantime, most of the components of the Crime Lab -- including the
DNA / Serology, Controlled Substances, Toxicology, and Trace Evidence Sections --
were operating on the 26th floor at 1200 Travis Street, which is the top floor of the
building.41 In a September 1998 memorandum to Chief Bradford reporting damage to
the Crime Lab following a major storm, Mr. Krueger wrote: "The Crime Laboratory
Division has experienced leaks from the roof since its move to 1200 Travis in August
1997." In this memorandum, Mr. Krueger advised Chief Bradford that
"[approximately fifty different leaks have been identified on the 26th floor."

        In May 2001, Tropical Storm Allison hit Houston, and, due to problems with the
roof, the storm caused significant damage to the Crime Lab. Not only was the ceiling of
the Crime Lab damaged and certain equipment affected, but also a significant volume
of evidence related to homicides and sexual assaults was water-damaged. On May 11,
2001, Mr. Krueger reported to Assistant Chief Simmons:

        Thirty-four Homicide and Sexual Assault cases, in the Trace/ Serology
        vault on the 26th floor, were badly water damaged. Many of these cases
        have been at least partially analyzed. At this time it appears that most of
        the items will dry to the state that the evidence will not be totally ruined.

In a June 18, 2001 status report, Mr. Krueger advised Chief Simmons that "[t]hirty-five
Trace/ Serology / DNA cases were damaged and segregated to begin drying." In 2003,
several Crime Lab employees told IAD investigators that this biological evidence had
become so saturated with water that they observed bloody water dripping out of the
boxes containing the evidence and pooling on the floor.


41      The main Crime Lab is located on the 26th floor of the building. The Firearms Section is on the
        24th floor, and CER is on the 25th floor.




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       It is unclear how the Crime Lab ultimately handled the evidence in the 34 or 35
cases damaged by roof leaks during Tropical Storm Allison . The Crime Lab did not
prepare a contemporaneous incident report documenting the flooding and identifying
the affected cases. In 2003, Mr. Bolding told IAD investigators that he believed all of the
evidence in those cases already had been analyzed and was awaiting return to the
Property Room, which is inconsistent with the initial report Mr. Krueger provided to
Assistant Chief Simmons in 2001. It also does not appear that the Crime Lab was able in
                                      —
2003 -- two years after the storm to identify the specific cases associated with the
evidence affected by the flooding.42

       Although the chain of command above the Crime Lab was aware that the roof
was leaking and that the leaks had affected evidence, no relief was forthcoming. The
Crime Lab was forced to continue operating under the most troubling of environmental
and facility-related conditions. For example, on July 9, 2001, Mr. Bobzean rather
poignantly requested Assistant Chief Simmons to authorize the use of an HPD
purchasing card to procure a wet/ dry vacuum so Crime Lab employees would not
have to "use[] mops to clean up after heavy rains."

IV.     The Slow Descent into Crisis: The Development and Unraveling of the
        Serology and DNA Functions
        A.       Peter Christian's Management of the Crime Lab

       During Peter Christian's tenure as head of the Crime Lab from 1983 until his
death in March 1995, the field of forensic science underwent a technological revolution,
particularly with the development of DNA profiling technology. As described in the
following section, under Mr. Christian, the Crime Lab established the initial capability
to perform DNA analysis in the early 1990s.

        We learned from senior Crime Lab personnel who served under both of the Lab's
first two directors that Mr. Christian was not as effective in asserting the interests of the
Lab with the HPD chain of command as Mr. McDonald had been. Mr. Christian
suffered from chronic health problems, including heart and back ailments, which
caused him to be absent from the Crime Lab for significant periods of time. During
Mr. Christian's absences, Mr. Krueger would assume leadership of the Crime Lab.


42      In March 2003, Mr. Bolding requested that the Crime Lab staff provide any information they had
        regarding specific cases damaged by the roof leak and how the cases were handled. All of the
        written responses to Mr. Bolding's inquiry that we found indicate that the Crime Lab employees
        had no information about which cases were specifically affected.




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       During Mr. Christian's tenure, the work environment of the Crime Lab began to
deteriorate. By 1987, there were already hints of the personnel problems that would
become even more distracting and debilitating in the DNA/ Serology Section
throughout the 1990s and early 2000s. In a memorandum to Chief of Police Lee P.
Brown, dated November 13, 1987 and entitled "Serology Section Work Load Increase,"
Mr. Bolding complained that "the loss of trained staff and the increase in paperwork
has had a devastating effect on sectional proficiency." Mr. Bolding stated that workload
problems in the Serology Section were "exacerbated by disgruntled employees" and
that "[accusations of incompetence and personal prejudice are part of my daily
schedule."

       On January 25, 1993, five Crime Lab analysts directed a memorandum to Chief of
Police Sam Nuchia in which they complained about the lack of opportunity for
promotion, inequities in the evaluation system, and ethnically derogatory remarks
made by certain Lab employees about their colleagues. Attached to the memorandum
was a diagram of the Crime Lab purporting to show that the Lab workbenches were
segregated by race.
         In 1994, Chief Nuchia developed a "Plan of Action for the Reversal of
Civilianization," which would have given Crime Lab employees who met certain
requirements the opportunity to become classified officers with the attendant salary
and employment benefits. Although the Crime Lab supervisors and analysts generally
supported the initiative to reverse the gradual civilianization of the Lab, they also had
several reservations about the plan. In a memorandum to Chief Nuchia dated
February 28, 1994, twenty-four Crime Lab analysts stated that, while they appreciated
the opportunity to receive the "benefits, career opportunities, and salary compensation"
associated with classification, they had several concerns, including the physical
requirements for classification and the proposed abolition of a civilian career ladder in
the Lab. The memorandum concluded that "we feel that the reversal of civilianization,
as it [is] proposed will be detrimental to the Houston Police Department Crime
Laboratory." A program to classify Crime Lab supervisor and analyst positions was
never implemented.

        Although morale problems appeared to be growing during Mr. Christian's
tenure, there was relatively open communication among personnel in the Crime Lab
during the period when he headed the Lab. Supervisors and analysts participated in
monthly Crime Lab-wide meetings led by a rotation of supervisors from the various
sections. According to the agendas of these meetings, topics of discussion included
personnel and divisional concerns, safety, budget, cases of note in the Crime Lab, and
initiatives, such as the development of the DNA Section.




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       After Mr. Christian passed away and Mr. Krueger became the head of the Crime
Lab in March 1995, the monthly meetings continued for a time and then abruptly
stopped.43 Mr. Krueger reduced the frequency of staff meetings to approximately once
or twice a year, believing the monthly meetings had lost their utility since they tended
to devolve into "gripe sessions" over issues such as low pay.

        B.       Serology in the 1980s
       Mr. Bolding joined the Crime Lab in October 1979 and worked as a drug chemist
for approximately eighteen months. In the spring of 1981, the Crime Lab's head
serologist invited Mr. Bolding to train in serology in order to replace recent departures
from the Lab. Mr. Bolding described his serology training as consisting of less than five
months of on-the-job training under the supervision of the head of serology. Less than
a year after Mr. Bolding began training in serology, his supervisor died. Mr. Bolding
had not yet received any formal training in fundamental serological techniques,
including ABO blood typing. Mr. Bolding told us that he "took books home and did the
best he could." Mr. Bolding was the head serologist in the Crime Lab, and, on
November 14, 1981, he was promoted to Criminalist II.

       In July 1982, Mr. Bolding successfully completed an intensive course in
bloodstain analysis at the Serological Research Institute ("SERI") in Emeryville,
California. That same month, and less than a year after his promotion to Criminalist II,
Mr. McDonald recommended that Mr. Bolding be promoted to Criminalist III "as soon
as possible" because he "is the only Criminalist II we have who is a qualified and
experienced Forensic Serologist and he has recently completed the SERI course in
Forensic Serology." In the fall of 1982, Mr. Bolding was promoted to Criminalist III,
despite his minimal experience in serology.

       The rapid promotion of Mr. Bolding as HPD's lead forensic serologist would
prove fateful for the quality of the Crime Lab's analysis of biological evidence for
decades to come. With Mr. Bolding, the Crime Lab never had a well-trained or
technically competent leader of its Serology Section.

      As discussed in detail later in this report, our review of over 1,000 serology cases
processed by the Crime Lab during the 1980s and early 1990s uncovered a massive
number of very serious analytical and reporting problems that were striking departures
from the generally accepted forensic science principles prevailing during that time

43      The monthly meetings continued until shortly after the Crime Lab moved to its current location
        in HPD headquarters at 1200 Travis Street in late 1997. The most recent monthly meeting agenda
        we located for the Crime Lab during Mr. Krueger's tenure is dated August 9, 1995.




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period. Although we identified sixteen different analysts, in addition to Mr. Bolding,
who performed serology work in the Crime Lab between 1980 and 1992, we observed
the same deeply flawed practices across the entire body of the Lab's forensic serology
cases, regardless of the analyst. Such practices included:

     •   consistent failure to report findings indicating a rare ABO type;

     •   omission from the Crime Lab's reports of potentially probative typing results
         that were not consistent with a known victim or suspect;

     •   failure to perform typing work even in cases where there was a positive screen
         for the presence of blood or semen; and

     •   nearly ubiquitous failure to apply and to properly interpret critical controls.

Moreover, there was no meaningful quality assurance program, including regular and
competent technical reviews, in place in the Serology Section under Mr. Bolding.
        All of these serious problems either developed under, or were perpetuated by,
Mr. Bolding to the point of defining the engrained culture of forensic serological
analysis in the Crime Lab. Unfortunately, but not surprisingly, many of these same
practices -- including selective reporting, ignorance of proper controls, and lack of
                                        —
quality control and technical reviews carried over into the Crime Lab's DNA work,
which also was supervised by Mr. Bolding and performed by some of the same
analysts. For example, Christy Kim joined the Crime Lab in 1982 and conducted ABO
typing throughout the 1980s before moving on to DNA analysis. However, during the
1990s and early 2000s, the problems with the Crime Lab's serology program came to
thoroughly infect its DNA program and assume even more ominous potential because
of the increased power of DNA analysis.

         C.      Development and Management of the DNA/Serology Section
                 (1991-2002)
       Forensic DNA profiling was pioneered by Sir Alec Jeffreys, a professor at
Leicester University in England. Professor Jeffreys' DNA profiling technique was first
employed in 1988 in connection with a criminal investigation in the famous Colin
Pitchfork case, in which DNA analysis was used to exonerate a wrongly accused young
man and to identify and help convict a man who murdered two 15-year-old girls. Since
then, DNA profiling has become an extremely sophisticated and effective scientific tool
in criminal investigations and is now a fundamental discipline employed in most crime
laboratories.




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       In the late 1980s, Mr. Bolding began to advocate for the addition of DNA
analysis capability to the Serology Section. Mr. Christian, who was skeptical about
serology in general, was slow to recognize the potential of DNA profiling and was
reluctant to make changes at the Crime Lab to accommodate developing a DNA
capacity. Mr. Krueger told us that he and Mr. Bolding had difficulty convincing
Mr. Christian that DNA profiling was real science and not merely a forensic science fad.

        In 1989, Mr. Bolding obtained Mr. Christian's agreement that, if Mr. Bolding
were able to secure grant funding, he could move forward with establishing a DNA
unit. That year, Mr. Bolding obtained approval from the Houston-Galveston Area
Council for a $300,000, five-year grant to start the DNA Section.44 The DNA Section's
initial heavy reliance on grant funding for equipment and technological improvement,
which existed from the very beginning, would continue throughout the 1990s and early
2000s.

       With the initial funding, the Crime Lab, in 1989, hired two analysts for the newly
created DNA / Serology Section, including Dr. Baldev Sharma, who received a Ph.D. in
Chemistry from Delhi University's All India Institute for Medical Sciences in 1966.
Prior to joining the Crime Lab, Dr. Sharma had no experience in forensic science and
only a basic theoretical knowledge of molecular biology. From November 26, 1989
through December 20, 1989, Mr. Bolding and Dr. Sharma attended the FBI Academy's
Laboratory Application of DNA Typing Methods School, which covered restriction
fragment length polymorphism ("RFLP") analysis. Upon returning from the FBI
Academy, Mr. Bolding and Dr. Sharma adopted the training manuals they had received
from the FBI into the "SOPs" for the DNA Section.

       In 1990, the DNA Section hired two more analysts, including Joseph Chu, and
Ms. Kim began performing DNA work, which brought the size of the DNA Section to
five analysts under Mr. Bolding. It took approximately a year for all of the new
equipment needed for DNA analysis to arrive and to reconfigure the Crime Lab to
include a "hot room" for the labeling and handling of the radioactive probes used in
RFLP analysis. The DNA Section began performing actual casework in early 1991.
While the DNA / Serology Section under Mr. Bolding was working to establish the
necessary infrastructure to bring RFLP analysis on-line, HPD outsourced cases
requiring DNA analysis to outside laboratories including the Baylor College of
Medicine.

44      This original grant was of a "descending funding variety" that required the City to assume an
        increasing proportion of the funding responsibility for the grant each year. We understand that
        this same grant mechanism was used to develop a DNA capacity in the Harris County Medical
        Examiner's Office during this same period.




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       Mr. Bolding deserves credit for recognizing the power and potential of DNA
analysis. However, Mr. Bolding was not qualified to create and lead a DNA program,
and the implementation of the Crime Lab's DNA capacity was flawed from the
beginning.
                 1.       Dr. Sharma's Difficulty with RFLP Analysis

        Although Mr. Bolding attended the FBI training in RFLP analysis in 1989 and an
FBI course in Advanced Aspects of Forensic DNA Analysis in 1992, he did not perform
any analysis of the post-training samples required by the FBI to receive full course
credit and, in fact, never performed casework analysis personally. Rather, Dr. Sharma
supervised the casework performed by more junior analysts in the DNA/ Serology
Section. Dr. Sharma experienced profound difficulty generating conclusive results
through RFLP analysis because, while he was able to extract DNA, his manual RFLP
technique tended to generate weak or diffuse bands that made determinations difficult,
if not impossible.

      Mr. Bolding told us that, in some cases when Dr. Sharma failed to obtain results
through RFLP analysis, he would request a different DNA analyst to perform
                                                                      —
polymerase chain reaction ("PCR") testing on the sample PCR is a technique that is
more sensitive and requires a smaller sample than RFLP testing.45 This practice, which
Mr. Bolding applied to compensate for Dr. Sharma's weakness with RFLP analysis, also
became widely used by the Crime Lab's DNA analysts when RFLP testing failed to
generate suspect inclusions.
        In fact, as discussed in detail later in this report, we found several cases in which
Crime Lab DNA analysts disregarded RFLP results, which are highly discriminating, in
favor of more "sensitive" PCR testing. PCR-based testing is more sensitive than RFLP
in that the amplification process enabled analysts using early PCR-based testing
systems to detect alleles in samples containing very little DNA or in samples that were
degraded. 46 However, the very same amplification process that made early PCR-based
testing more sensitive also made it more susceptible to contamination and errors due to
poor analyst technique.

      We found that, due to a combination of poor technique and possible
contamination, Crime Lab analysts often detected an abundance of questionable alleles

45      Dr. Sharma was never trained in PCR analysis.
46      Alleles are any number of alternative forms of a gene that occupy a fixed position, or locus, on a
        chromosome. People typically have two alleles at each locus, although an individual may be
                      —                                 —
        homozygous meaning having only one allele at particular loci.




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through PCR testing. In several troubling cases, they interpreted these alleles
selectively based on the known reference profiles of suspects. Thus, a practice
developed in the Crime Lab of reporting the inclusion of suspects based on sometimes
questionable PCR results, while ignoring or calling "inconclusive" RFLP results that
failed to develop a suspect's profile on the grounds that RFLP testing is less "sensitive"
than PCR testing.47

                 2.     Early Problems in the DNA/Serology Section
       In mid-1993, Mr. Bolding was promoted to the Criminalist IV position overseeing
the Trace Evidence and DNA / Serology Sections as well as CER. Mr. Bolding
acknowledges that, despite Dr. Sharma's already apparent weakness as a bench DNA
analyst, he supported the decision in 1993 to promote Dr. Sharma to the DNA / Serology
Section Criminalist III line supervisor position that Mr. Bolding had just vacated. At the
time, Mr. Bolding believed Dr. Sharma was competent and that, as the only scientist
with a doctorate degree in the Crime Lab, he was appropriately credentialed for the
supervisor position.

      The new DNA / Serology Section began experiencing funding, workload, and
morale problems within a very short time after DNA analysis began within the Crime
Lab.

        In a May 12, 1994 memorandum to a lieutenant in the Sex Crimes Unit,
Mr. Bolding responded to the lieutenant's request for information regarding the needs
of the DNA/ Serology Section. In the memorandum, Mr. Bolding stated that the
DNA / Serology Section was not funded to do the volume of DNA testing that he would
like. In particular, Mr. Bolding explained that, due to "under funding and under
staffing," the Crime Lab performed DNA testing only in cases where a comparison
could be made to a known sample. Mr. Bolding said that he would prefer the
DNA / Serology Section to perform testing to "absolute completion" and to have
funding sufficient to build a local felon database "that would fit precisely into the
national 'Combined Offender DNA Information System' (C.O.D.I.S.)." Mr. Bolding also
anticipated the advent of short tandem repeat ("STR") sequencing analysis, and he
reported that the Section was "attempting to acquire all supplies[,] equipment and
training required for this next step." The system Mr. Bolding described in 1994, in
which the Crime Lab obtained DNA profiles from evidence almost exclusively in cases
in which a known suspect reference sample was submitted for comparison, persisted


47      Two such cases, discussed in detail later in this report, are those involving defendants Franklin
        Ahx and Garland Davis.




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through the early 2000s and, as described below, resulted in an enormous backlog of
unprocessed rape kits that were never entered into CODIS for comparison against the
offender database.

       In August 1994, Dr. Sharma held individual meetings with analysts in the
DNA / Serology Section to address developing problems in the Section. Commenting on
                                               —
the Section's system of processing a DNA case which involved the DNA extraction
performed by a serologist, who then passed the case to an RFLP analyst, who then, if
                                                            —
necessary, passed the case to a third analyst for PCR testing Mr. Chu stated that he
believed "too many chemists are involved in some cases" and that, "[i]n a lot of cases[,]
evidence shuffle from one to other we can miss some information [sic]." Dr. Sharma
dismissed these concerns and responded that the "evidence is transferred from one
serologist to the next according to the SOP" and that Mr. Chu would have to be "more
specific about what kind of information we can miss." Unfortunately, as reflected by
the Lynn Jones incident two years later, Mr. Chu's observations about the potential for
information to become lost and cases to be delayed because of the Section's flawed
analytical process would prove prescient.

        During these August 1994 meetings, members of the DNA / Serology Section
raised concerns about the lack of consistency among analysts in the Section in adhering
to the SOPs as well as the lack of specificity in some areas of the SOPs. This lack of
specificity in the SOPs, said DNA / Serology analyst Maurita Carrejo in a 1994
memorandum provided to Dr. Sharma, could be used as a "weapon" against line
analysts in the Section. Another analyst, Christy Kim, complained about the lack of
training, stating that "I need to have a scheduled and more solid training in PCR." In a
staff survey conducted by Mr. Bolding in November 1994, members of the
DNA / Serology Section complained about "destructive comments," "cultural bias," lack
of standardized SOPs, and favoritism.

                 3.   Feuding Between Mr. Bolding and Dr. Sharma
       In October 1994, a specific conflict developed between Mr. Bolding and
Dr. Sharma over the placement of a new analyst in the DNA / Serology Section. This
conflict gave rise to a lengthy and destructive turf battle between Mr. Bolding and
Dr. Sharma about the appropriate level of supervision Mr. Bolding should exercise over
the Section.

      In addition, Dr. Sharma also made a serious error in a serology case in May 1995.
While Dr. Sharma was training a new serologist, Mr. Bolding asked Dr. Sharma to
determine whether semen was present in a dried fluid stain. Rather than test for the
presence of semen using a p30 or acid phosphatase ("AP") test, Dr. Sharma simply
viewed the stain, still on the substrate, under a stereo microscope and reported it


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negative for the presence of semen.48 Later, while attempting to remove fibers from the
sample for analysis, a trace evidence examiner discovered that no presumptive testing
for semen had been performed. Upon learning of the error, Mr. Bolding directed that a
chemical test be performed on the sample, and this test indicated positive for the
presence of semen.49 Dr. Sharma received no significant corrective action or remedial
training as a result of this error even though it was discovered at the time.50

       Following the discovery of his error, Dr. Sharma resisted Mr. Bolding's attempts
to supervise him and the members of the DNA / Serology Section directly. In mid-1995,
Mr. Bolding lowered Dr. Sharma's overall evaluation rating, which led to a prolonged
grievance process that extended into early 1996.

       On February 22, 1996, Mr. Bolding lodged a formal complaint with IAD against
Dr. Sharma, alleging "official repression" and citing numerous incidents of alleged
misconduct on the part of Dr. Sharma, some dating as far back as late 1994 and 1995.51
In June 1996, Dr. Sharma filed a broad set of allegations against Mr. Bolding with IAD,
none of which was sustained. The investigator commented that "[t]his IAD
investigation is another episode of the on going [sic] problems between Mr. Sharma and
Mr. Bolding" and that "Mr. Sharma continues to demonstrate that he is a disgruntled
and contentious employee."

       In short, the DNA / Serology Section at this time was sinking into bitter internal
conflicts between the Section's supervisor and manager, which were obvious to
everyone in the Section, if not the entire Crime Lab. Indeed, both Mr. Bolding and
Dr. Sharma acknowledge that they were in frequent conflict with each other during this
period. Yet, these corrosive internal battles were allowed to continue, and they had an
adverse impact on the proper functioning of the work in the Section.



48      p30 is a protein present in seminal fluid. Acid phosphatase is an enzyme that is secreted by the
        prostate gland into seminal fluid.
49      By the time Dr. Sharma's error was discovered, the Assistant District Attorney involved in the
        case already had agreed to a lesser-charge plea bargain based on Dr. Sharma's original
        assessment that no sperm was present in the sample.
50      Mr. Bolding included this incident in the February 22, 1996 IAD complaint he filed against
        Dr. Sharma. The IAD investigator found that the incident already had been resolved through an
        informal procedure known as PPI (an acronym for "policy, procedures and issues") and
        considered the matter closed.
51      After an completing its investigation of Mr. Bolding's charges against Dr. Sharma, IAD
        determined the allegations to be "not sustained."




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       On August 28, 1996, Mr. Krueger finally removed Dr. Sharma as the
Criminalist III in the DNA / Serology Section and placed him in a newly created QA / QC
position. Mr. Krueger told us that he took this action in response to the difficulties
Dr. Sharma was having with Mr. Bolding and others in the DNA / Serology Section.
Essentially, Mr. Krueger's strategy for dealing with Dr. Sharma's disruptive presence in
the Section was to isolate Dr. Sharma in a position in which he did not directly
supervise anyone and reported directly to Mr. Krueger.52 However, this measure was
one of expediency in terms of managing personality conflicts within the Crime Lab.
Because of Dr. Sharma's laziness and lack of professionalism, he was extremely unlikely
to succeed in establishing an effective QA / QC program for the Crime Lab. As
discussed later in this report, Dr. Sharma was not effective in the QA / QC position, and
he made little progress toward the goal of accreditation, which was never pursued in an
aggressive or sustained manner under Mr. Krueger's leadership.

        Because Dr. Sharma retained the only Criminalist III position allocated to the
DNA / Serology Section despite his removal as its line supervisor, no one replaced
Dr. Sharma as the Criminalist III supervisor for the Section. Although the
Criminalist III vacancy appeared on the Crime Lab's organization chart, it was never
filled, and the absence of a competent technical supervisor remained a gaping hole in
the management structure of the DNA / Serology Section for six years, through
December 2002, when the Crime Lab's DNA analysis function was suspended.

                 4.     The Lynn Jones Case and the 1996 Inspections Division Audit of
                        the DNA/Serology Section

        On January 26, 1996, Lynn Jones was arrested and charged with sexual assault of
a child. A rape kit was completed and investigators gathered evidence in the form of
sheets, bedding, and clothing from the alleged crime scene. On February 1, 1996, the
District Attorney's office requested that the Crime Lab process the rape kit, and an
initial examination of the kit was performed on February 12, 1996. On March 20, 1996,
hair, blood, and saliva samples were collected from Mr. Jones, who remained in
custody. The Crime Lab case number for Mr. Jones's case was handwritten on a
stenographer's notepad, which at that time constituted the sole log and tracking system

52      Many witnesses recalled that the removal of Dr. Sharma as the supervisor in the DNA / Serology
        Section was a consequence of the Lynn Jones matter, discussed below, which came to light in
        October 1996. However, the date of Mr. Krueger's memorandum, which preceded the media
        reports that first informed him of the Lynn Jones case, together with his recollection that the
        action was taken to reheve infighting and consternation in the DNA / Serology Section, appear to
        estabhsh that the timing of the Dr. Sharma's removal and the pubhcity about the Lynn Jones case
        was coincidental.




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for cases requiring DNA analysis. Over three months later, on July 2, 1996, the
serologist responsible for extracting DNA samples transferred the case to an RFLP
analyst and told the DNA analyst that the case was "extremely urgent." Because the
RFLP analyst had difficulty obtaining results from the extracts, the analyst requested
that PCR testing be performed. On September 23, 1996, the case was transferred to a
third analyst in the DNA / Serology Section for PCR testing.

       On October 9, 1996, a television news story ran on Mr. Jones's case, and, on
October 11, 1996, the Houston Chronicle reported that he had been jailed on a sexual
assault charge for nearly nine months while awaiting the Crime Lab's completion of the
DNA tests that eventually cleared him and resulted in his release. An IAD investigation
was immediately opened, and Dr. Sharma was cited for incompetence in connection
with his failure to properly manage the DNA / Serology Section's case assignments and
for modifying Crime Lab procedures without prior review and authorization.53 On
April 23, 1997, Dr. Sharma was punished with a five-day suspension.

       In the immediate wake of the debacle surrounding the Jones case, on or about
October 15, 1996, HPD Chief Nuchia directed the Department's Inspections Division to
audit the DNA / Serology Section's procedures for receiving evidence requiring DNA
analysis and for assigning, tracking, and managing DNA cases. The following month,
the Inspections Division issued a detailed report containing the following four findings:

        •    The Crime Lab had no system to ensure that requests for DNA analysis
             contained in HPD officers' offense report supplements were received by
             analysts.

        •    The offense report supplements used to request Crime Lab analysis did not
             provide sufficient information to allow for the assignment of priorities to
             requests for analysis or to determine the level of analysis that would be
             required.

        •    Case files maintained by the Crime Lab did not contain timeline data
             necessary for case management.

        •    The Crime Lab lacked management oversight with respect to the assignment,
             transfer, monitoring, and tracking of cases, and cases were assigned on an ad
             hoc or crisis basis.



53      IAD also concluded that Dr. Sharma had not been truthful with investigators.




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The report concluded that, "[although the DNA / Serology Unit diligently strives to
complete as many DNA requests as possible, a comprehensive case management
system is needed to provide resource accountability and guidance toward prioritizing
the cases worked."

      The 1996 Inspections Division Audit Report also encouraged HPD to purchase
equipment necessary to bring STR testing on-line in order to reduce the time necessary
to complete DNA analyses. The report anticipated that the CODIS offender database
would be made available on the state level in the near future and predicted that:

        The DNA / Serology Unit workload will be significantly increased due to the
        fact that all sexual assault kits will require testing and DNA data entry
        into the CODIS database. If the Crime Lab is to contribute to the CODIS
        system, the ability to rapidly turnaround [sic] DNA sample testing
        through the use of STR-PCR testing is mandatory. [Emphasis in original.]

As anticipated by the 1996 Audit Report, the backlog of rape kits that the Crime Lab
failed to process and enter into CODIS swelled in the late 1990s and early 2000s to
approximately 19,500 unanalyzed kits as of mid-2002. Indeed, between 1998 and the
end of 2002, the Crime Lab entered fewer than 350 profiles into CODIS.

                 5.   DNA/Serology Section Criminalists Raise Concerns Regarding
                      the Absence of a Line Supervisor

       After Mr. Krueger removed Dr. Sharma as the line supervisor for the
DNA / Serology Section in late August 1996, management of the Crime Lab failed to
fully appreciate the Section's critical need for competent supervision and technical
leadership and to communicate the urgency of this need up the HPD chain of
command. Although, as discussed below, the Crime Lab's DNA analysts repeatedly
voiced their concerns about the lack of a Criminalist III supervisor in their Section,
Mr. Krueger told us that he believed Mr. Bolding was capable, both technically and
operationally, of supervising the Lab's DNA work. While Mr. Krueger sympathized
with the DNA analysts in their desire for a Criminalist III supervisor, filling that
position did not have the same priority for him as, for example, obtaining additional
resources for processing the large volume of controlled substances cases submitted to
the Crime Lab.

       On February 9, 1997, Chief Bradford convened a meeting attended by, among
others, Assistant Chief Simmons, Mr. Krueger, Mr. Bolding, and a representative from
HPD's Budget and Finance Division to discuss the recommendations contained in the




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1996 Inspections Division Audit Report.54 Rather than take this opportunity to raise the
need for a replacement line supervisor with command staff in the presence of budget
personnel, Messrs. Krueger and Bolding reported that "case management problems will
be eliminated" because "the Crime Lab has instituted procedures and installed a new
supervisor over the DNA Testing Section." The "new supervisor" referenced in the
minutes was Mr. Bolding himself, who was a "new supervisor" only in the sense that
the intermediate level supervisor, Dr. Sharma, had been transferred. Mr. Bolding had
never been a bench DNA analyst and, as a Criminalist IV, had administrative
responsibility over both the Trace Evidence and DNA / Serology Sections, as well as
CER.55

        In his interviews with us, Mr. Bolding said that he was acutely aware of the
problems associated with the absence of a line supervisor and that he believed, in part
for that reason, that the DNA / Serology Section was in troubled waters from at least
that point forward. However, the documentary record fails to demonstrate that
Mr. Bolding's claimed recognition of the problems created by the lack of a line
supervisor over the DNA / Serology Section translated into sustained advocacy for
filling the Criminalist III vacancy. Chief Bradford told us that he was unaware, as of the
time of this February 1997 meeting, of the supervisory gap in the DNA / Serology
Section.

         The Crime Lab's budget submissions in the late 1990s also failed to make the case
for filling the Criminalist III vacancy. For example, the Crime Lab's budget submission
for fiscal year 1998, dated January 14, 1997, stated that the Lab's DNA / Serology and
Toxicology Sections were without "the direct line supervision of a Criminalist III" and
rather meekly suggested that the "[c] reation of the two Criminalist III positions will
complete the laboratory's organizational structure by providing the needed direct line
supervision for all sections." This budget document contains no explanation of the
                                                                                  —
potential problems that would arise -- and indeed had already arisen as a result of the
absence of adequate and competent supervision in the DNA / Serology Section. The


54      Chief Bradford advised us that, well before this meeting, when he became Interim Chief of Police
        in November 1996, and then Chief of Police in December 1996, he was aware of the issues raised
        in the Inspections Division Audit Report.
55      Mr. Krueger told us that he believed Mr. Bolding's involvement with trace evidence was
        "extremely limited" and that Mr. Bolding did not perform technical reviews of trace evidence
        cases. Mr. Krueger recalled that, to the extent the Crime Lab's trace evidence examiner had
        technical issues in her work, her would consult with her about them. However, no one,
        including Mr. Krueger, performed formal technical reviews of the Crime Lab's trace evidence
        cases. Mr. Bolding supervised CER from 1994 through 1997.




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Crime Lab's fiscal year 1999 budget submission contained no reference at all to the
DNA / Serology Section supervisor vacancy.

       On September 14, 1999, a group of six Criminalist I and II bench analysts in the
DNA / Serology Section signed a memorandum addressed to Chief Bradford entitled
"Restoration of Criminalist III Position to Serology / DNA Section." This memorandum
described the period between 1993 and 1996, when Dr. Sharma was the line supervisor
of the DNA/ Serology Section, as a "total disaster" due to Dr. Sharma's
"mismanagement" of the Section. The memorandum stated that "it is critical" that the
DNA / Serology Section supervisor position, which had remained vacant since
Dr. Sharma's removal from the position three years earlier, "be restored and occupied
by one of the most qualified Criminalists in the section."

       On October 20, 1999, a group of line analysts from the DNA / Serology Section
met with Chief Bradford to discuss their request that the position of Criminalist III in
the DNA / Serology Section be restored, as well as other issues related to equipment and
training for the Section.56

       It is unclear whether Chief Bradford received and read the September 14, 1999
memorandum before, during, or after the October 20, 1999 meeting. The analysts did
not send the memorandum through the normal chain of command, which would have
consisted of Mr. Krueger, Assistant Chief Milton Simmons, and Executive Assistant
Chief Storemski. We were told that HPD procedures require that each official who
receives a piece of correspondence sign his name to reflect his review of the document.
Neither Assistant Chief Simmons nor Executive Assistant Chief Storemski signed the
document, and both of them deny that they saw the document in 1999.

        Chief Bradford denied seeing the memorandum at or around the time of the
meeting, and he advised us that, when the memorandum came to light in 2003, he and
his staff conducted an exhaustive search for the memorandum but failed to locate it.
Chief Bradford said that, in particular, he did not recall being informed, either in
writing or orally, of the pressing need for a first-level supervisor in the DNA / Serology
Section. He further told us that, had he been aware of the urgent need for a DNA
supervisor, he would have taken action to fill the gap. By contrast, more than one of the
DNA / Serology Section analysts specifically recalls that the memorandum was

56      Although Mr. Krueger recalled the DNA analysts preparing a letter for Chief Bradford, he told us
        that he was not aware, at the time, of their meeting with the Chief . Mr. Krueger said that he was
        hurt and upset that the DNA criminalists were going up the chain of command with their issues
        because he felt it reflected their view that he had not been advocating forcefully for them.
        Mr. Krueger recalled feeling that this was a stinging reproach to his leadership.




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provided to Chief Bradford at the outset of the meeting and that he was holding it
during the meeting. Whether or not Chief Bradford received the memorandum, the
notes of the meeting, taken by a member of Chief Bradford's staff, reflect that the need
for a Criminalist III supervisor was the first issue discussed. The notes state: "(1)
QAQC slot available. Additional Criminalist III position needed in Crime Lab."57

       Regardless of whether Chief Bradford saw the September 14, 1999
memorandum, accounts from numerous people whom we interviewed and who were
present at the October 20, 1999 meeting described an extremely positive response from
Chief Bradford. Indeed, the criminalists were euphoric after the meeting. They
immediately convened a meeting with other personnel in the Crime Lab to report the
positive reception from Chief Bradford, which they believed boded well for positive
action on their requests. Building on their perceived success in getting Chief Bradford's
attention, two criminalists had a second meeting with him in late December 1999.

        The criminalists' optimism was short-lived. In an undated memorandum,
apparently issued after the second meeting, Chief Bradford responded that the
"Criminalist III position has been put on hold until sufficient funding is acquired.
Funds may be converted if future vacancies within Criminalist I or II classifications
occur." This memorandum from Chief Bradford effectively sentenced the
DNA / Serology Section to continue functioning without a supervisor for the indefinite
future. We were told that the members of the DNA / Serology Section were devastated
by this response. After receiving the Chief's memorandum, Mr. Bolding, in particular,
felt that the DNA / Serology Section's "ship had sunk" and that major problems in the
Section at that point were inevitable. Chief Bradford told us that he was not aware of
the impact his memorandum had on Crime Lab personnel.

         Thus, as DNA analysis grew in importance as a forensic technique in the mid-
and late-1990s, the DNA / Serology Section was the only section in the Crime Lab
without a Criminalist III line supervisor. This result was dictated by several factors,
including the lack of funding once the QA / QC position was created for Dr. Sharma; the
failure of Crime Lab management to effectively emphasize that the extended gap in
supervision was bound to create a crisis for the quality of the work being performed in
the DNA / Serology Section and to forcefully make the case up the chain of command
for filling the position; and the failure of the chain of command to recognize the specific


57      Chief Bradford, on review of the notes, took issue with whether he was made aware that it was a
        DNA supervisor specifically that the analysts said was needed. However, all of the analysts who
        attended the meeting with Chief Bradford were from the DNA / Serology Section, and it is
        difficult to imagine that they failed to convey that it was their Section that needed a supervisor.




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importance of providing the DNA / Serology Section with a line supervisor, as well as
providing the Crime Lab generally with more resources.

       Based on our DNA case reviews, it is clear that Mr. Bolding was not a competent
technical leader for DNA analysis. Meanwhile, under his leadership, the Crime Lab's
                  —
DNA analysts who were never adequately trained and who were not receiving
                               —
competent technical guidance continued processing and reporting cases while using
and perpetuating the flawed practices that we found permeated virtually the entire
body of the Crime Lab's DNA work during the 1990s and early 2000s.
                 6.   Absence of Internal Quality Control Reviews in the
                      DNA/Serology Section

        Section 300 / 2.07 of the Crime Lab's SOPs, in effect from November 30, 1992 until
after the DNA Section was closed in December 2002, provided that "[e]ach section of
the Crime Laboratory Division will be inspected in November of each year" and that
these inspections will be conducted by the assistant Lab director and the Criminalists IV
and Criminalists III assigned to each section. During the course of IAD's investigation
into issues related to the Crime Lab, both Mr. Krueger and Mr. Bolding acknowledged
that compliance with the inspection requirements of the SOPs had lapsed in the late
1990s.

       In fact, the last inspection performed pursuant to the SOPs was conducted
between December 2, 1996 and January 14, 1997 and involved the review of a sample of
cases analyzed in 1995. Mr. Bolding's review of DNA / Serology Section cases focused
entirely on issues related to the organization and completeness of the documentation
contained in the case files, and did not address technical issues related to DNA analysis
and the reporting of DNA results. The March 21, 1997 Property and Documentation
Inspection Report related to this review does not reflect that issues such as Crime Lab
conditions, equipment, or analyst training and qualification were addressed at all.
After 1997, even these inspections stopped.

       The CODIS program in Texas went into effect on January 1, 1996. In June 1998,
Mr. Bolding submitted formal documentation to enable the Crime Lab to participate in
the CODIS program. Among the federal requirements for crime laboratories
participating in CODIS are that DNA profiles entered into CODIS must have been
analyzed by qualified personnel, internal audits of the laboratory must be completed
each year, and the laboratory must be audited by an outside agency every other year.
These conditions are to ensure that the database is not corrupted by inaccurate or
incomplete information.




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       The first time that the DNA / Serology Section was ever audited by an outside
agency was in December 2002 when a DPS audit led by Ms. Rios resulted in the
suspension of DNA analysis by the Crime Lab. Mr. Bolding, however, earlier
performed two quality assurance audits of the DNA / Serology Section, using the
Quality Assurance Standards for Forensic DNA Testing Laboratories and Convicted
Offender DNA Databasing Laboratories issued by the FBI in October 2000.58 The first of
these audits was completed in December 2000 or January 2001.59 The second is dated
September 2001.

        Neither of Mr. Bolding's audits of the DNA / Serology Section reflects the
widespread and serious deficiencies found by the outside team that performed the
December 2002 audit and that resulted in the closure of the DNA / Serology Section. For
example, in Mr. Bolding's 2000 audit, he filled out the audit form to indicate that the
technical leader of the DNA / Serology Section -- i.e., Mr. Bolding -- possessed all of the
educational requirements necessary under the standards, including coursework in
statistics. In 2001, Mr. Bolding left this area blank, but checked "no" next to the
question asking whether the technical leader possessed minimum coursework in
statistics. The DPS audit in 2002 found that Mr. Bolding did not -- at any time satisfy
the educational requirements for technical leaders. Mr. Bolding also rated the Crime
                                                                                            —
Lab as having satisfied FBI standards relating to procedures for preparing case notes
and the Section's lab reports as containing all required information. Among other
problems it identified, the 2002 DPS audit found that no such written procedures
existed and identified numerous deficiencies in the documentation contained in the
Crime Lab's reports. Mr. Bolding also found in 2001 that managerial staff of the
DNA / Serology Section had been "provided the resources needed to discharge their
duties and meet the requirements of the [FBI] standards."60 The 2002 DPS audit team
found to the contrary. Moreover, Mr. Bolding's statement in 2001 contradicts his
assertion to us that, after Chief Bradford denied the DNA / Serology Section analysts'
direct request for a Criminalist III supervisor, he believed the Section's "ship was sunk."


58      The standards Mr. Bolding used in his two internal audits were the same quahty assurance
        standards used by Ms. Rios's team of auditors from DPS and the Tarrant County Medical
        Examiner's Office in December 2002.
59      The first audit is stamped with the date "Sep 00," which is inconsistent with the date the FBI
        standards were issued in October 2000. Mr. Bolding explained to IAD that he began the audit in
        September 2000 using a prior version of the FBI standards, was called away by other tasks, and
        eventually completed the audit in December 2000 or January 2001.
60      Mr. Bolding submitted his 2001 quahty assurance audit to the DPS CODIS laboratory in Austin,
        Texas.




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       In a January 18, 2000 memorandum to Chief Bradford, Mr. Krueger requested
that the educational requirements for the criminalist positions be modified to conform
to the FBI's "mandated minimum qualifications for those personnel who perform DNA
analysis." Mr. Krueger reported to Chief Bradford that the "laboratory's current DNA
personnel either already meet the guidelines or will have the additional educational
requirements in the near future."61 In his 2000 and 2001 quality assurance audits,
Mr. Bolding found that Crime Lab personnel have the "education, training and
experience commensurate with the examination and testimony" they provide. In
December 2002, the DPS audit team again found to the contrary.

V.      The Crime Lab's Problems Become Public (2001-2004)

       The many and severe problems plaguing the Crime Lab came to the attention of
the public in September 2001 when Channel 13 reported that only approximately 25 % of
sexual assault kits submitted to the Lab were actually analyzed. In May 2002, Jennifer
LaCoss, an analyst in the DNA / Serology Section, resigned, citing numerous problems
concerning the resources afforded the Crime Lab. By the end of 2002, following an
investigative series aired by KHOU-Channel 11, serious questions regarding the work
performed by the Crime Lab, and the DNA / Serology Section in particular, would lead
HPD to commission an outside audit of the Section. Almost immediately after the
two-day December 2002 audit, DNA analysis at the Crime Lab was suspended. Since
then, one defendant convicted in part on the basis of DNA testing performed by the
Crime Lab, Josiah Sutton, was released from prison and pardoned.62 In the aftermath of
the closure of the DNA / Serology Section, HPD and the Crime Lab were plagued by a
steady stream of negative press reports questioning the integrity of work performed by
virtually every section of the Lab.
        A.       Sexual Assault Kit Backlog

       In September 2001, local Houston Channel 13 reported that the Crime Lab
analyzed only approximately 25 % of sexual assault kits received by HPD and that the
only kits that were tested were those for which there was a known suspect.63 During a

61      Chief Bradford states that assurances similar to this one from Mr. Krueger, together with
        certifications provided to him in connection with various DNA-related grant applications, led
        him to believe that the Crime Lab's DNA program was on track.
62      A detailed discussion of the Crime Lab's work in the Sutton case appears later in this report.
63      This news report accurately reflected the DNA / Serology Section's practice for processing rape
        kits that had been in place since the early 1990s. Indeed, the practice of only performing typing
        work on cases in which known reference samples had been submitted predated the
        DNA / Serology Section and is reflected in the Crime Lab's serology work.




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City Council "pop off" session on September 19, 2001, then-Council Member Annise
Parker stated that she was disturbed by the report and concerned that a powerful tool
for the identification of sex offenders was not being used. Ms. Parker suggested that the
City should find sufficient funds to provide the Crime Lab with the personnel and
supplies necessary to process both backlogged and incoming sexual assault kits.

       In response to Ms. Parker's comments, on September 20, 2001, Executive
Assistant Chief Storemski directed Mr. Krueger to estimate the funding and personnel
that the Crime Lab would require in order to process all incoming sexual assault kits.
On September 26, 2001, Mr. Krueger responded that the DNA/ Serology Section would
require, at a minimum, ten additional criminalists, including one Criminalist III and
three Criminalists II, as well as additional supplies to process 100 % of the incoming
sexual assault kits, at a total cost of approximately $525,000. In March 2002,
Mr. Bolding estimated that there were 19,500 sexual assault kits received by HPD that
had never been processed, some dating as far back as 1980.64

       In response to the sexual assault kit issue, the City Council allocated $600,000 to
reduce the Crime Lab's backlog of DNA cases. In a memorandum to Chief Bradford
dated June 25, 2002, Executive Assistant Chief Storemski -- after consulting with
Assistant Chief Simmons, Mr. Krueger, and other personnel from the Crime Lab --
recommended that approximately half of these funds be devoted to hiring four new
criminalists for the DNA / Serology Section (including a Criminalist III supervisor) and
purchasing supplies for the Crime Lab, while the other half of the money be used to
outsource rape kits to other laboratories. Chief Bradford rejected this recommendation,
responding: "We can not hire new personnel. This is a 'one time' pool of money."
According to a memorandum dated July 11, 2002, the ultimate decision was to devote
$135,000 of the City Council allocation to overtime compensation for existing analysts to
work on rape kits, $65,000 to supplies for the Crime Lab, and $400,000 to outside
laboratory analysis of kits. This solution did not address the prolonged technical,
supervisory, and resource limitations that contributed to the massive backlog in
unanalyzed rape kits in the first place.

       DNA analyses of sexual assault kits involving unknown suspects, and the
loading of the results of these analyses into CODIS, are very significant issues. Because
the Crime Lab only recently has been authorized to begin entering DNA profiles into



64      In a letter to Council Member Shelley Sekula-Gibbs, M.D. dated May 22, 2002, Chief Bradford
        stated that "current estimates indicate that there are 7200 sexual assault cases dating back to 1992
        with usable DNA evidence at HPD which have not been processed."




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CODIS, HPD for the past four years has been outsourcing those "cold case" rape kits to
other laboratories.

        B.       The Resignation of Jennifer LaCoss

        Jennifer LaCoss joined the DNA / Serology Section as a Criminalist I in December
2000. A year and a half later, in May 2002, she resigned from the Crime Lab. In a letter
dated May 28, 2002, Ms. LaCoss cited the following reasons for her decision to leave the
Crime Lab:

        •    "Horrendous" working conditions, including, in particular, the roof leaks that
             created safety hazards and allowed water to come into contact with
             "biological materials such as blood soaked items" and "compromise[ ] the
             integrity of biological evidence."

        •    "Dismal" salaries that were "50 percent lower than the national average for
             criminalists, particularly DNA Analysts." Ms. LaCoss found it "disturbing
             that full-time employees must hold extra jobs just to support their families"
             and was frustrated that there was "virtually no opportunity for promotion,
             step increases, or merit raises."

        •    The "appalling" lack of support for the Crime Lab shown by HPD and the
             City. Ms. LaCoss wrote that the Lab was "severely under-staffed and
             under-funded" and that analysts could not possibly keep up with the "huge
             backlog" of cases. (Emphasis in original.) Ms. LaCoss said that, under the
             current conditions, the Crime Lab had "no hope" of becoming accredited,
             which would jeopardize the Lab's ability to continue to receive the federal
             grants upon which it had come to rely.

        •    Finally, Ms. LaCoss lamented the unrealized potential of the Crime Lab in
             light of the fact that "suspectless cases are rarely analyzed due to the
             desperate staffing and funding situation." As a result, DNA analysts were
             unable to process "no suspect" or "cold" cases in order to add them to the
             CODIS database.

        On June 4, 2002, Assistant Chief Simmons forwarded Ms. LaCoss's resignation
letter to Chief Bradford. In a cover memorandum, Chief Simmons outlined
Ms. LaCoss's concerns and added that the Crime Lab's need for additional personnel
and supplies had been "thoroughly documented." Chief Bradford asked Assistant
Chief Simmons to develop an action plan to address the issues raised by Ms. LaCoss.




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       Assistant Chief Simmons responded with a one-page memorandum dated July 1,
2002, in which he reported that "[t]he Building Services Department is working quickly
to have the roof of the 1200 Travis Building repaired" and that the "DNA backlog is
being addressed with the $600,000 granted by council and the anticipated NIJ grant."
The memorandum then closed with a plea that [additional personnel are still needed
for analysis of Controlled Substances evidence." Even though Mr. Krueger told us that
he believed Ms. LaCoss's letter was "dead on" and that he told Chief Simmons so, this
memorandum indicated that the issues Ms. LaCoss raised with respect to DNA analysis
had already been addressed, and, to the extent it identified any persisting resource
issues for the Crime Lab, those issues were in the area of drug analysis. Chief Bradford
told us that he considered the response from Assistant Chief Simmons totally
inadequate.65

      Ms. LaCoss also addressed her concerns about the Crime Lab to the Houston
City Council during a "pop off" session where she spoke about conditions in the Lab
and the backlog of sexual assault kits that the Lab had been unable to process. In the
summer of 2002, Council Member Carol Alvarado toured the Crime Lab.

        C.       KHOU-Channel 11 News Reports Regarding the DNA Analysis by the
                 Crime Lab

       The events that quickly led to the closure of the DNA / Serology Section in
December 2002 were triggered by a series of investigative reports aired by KHOU-
Channel 11 beginning on November 11, 2001. These reports referred to seven DNA or
serology cases in which Crime Lab analysts allegedly made analytical errors or
misrepresented their findings. KHOU-Channel 11 consulted with two outside experts,
Professor William Thompson and Dr. Elizabeth Johnson, who reviewed these cases.

       Among the problems found by Professor Thompson and Dr. Johnson in their
review of the seven cases were deficient documentation of procedures and results;
mistakes in performing analyses of samples containing mixtures of more than one
person's DNA; errors in calculating statistical probabilities, particularly in mixture
profiles; and mischaracterization of DNA results in testimony.66 As discussed below in
the section detailing the results of our review of the Crime Lab's historical DNA cases,

65      Chief Bradford signed Assistant Chief Simmons's memorandum with the notation "Reviewed!"
        According to Chief Bradford, that notation signified his dissatisfaction with the memorandum,
        which would have been well understood by other members of the HPD command staff .
66      We interviewed both Professor Thompson and Dr. Johnson more than once, and we appreciate
        their cooperation in providing us with their perspectives and views with respect to the work
        historically performed by the Crime Lab.




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we found these problems -- as well as others
work during the 1990s and early 2000s.
                                                   — were prevalent in the Crime Lab's DNA
       On November 14, 2002, Mr. Krueger sent a memorandum to Acting Chief of
Police T. N. Oettmeier entitled "Statement Concerning DNA Cases and Synopsis of
Cases," which summarized the Crime Lab's response to the criticism of each of the
seven cases presented in the KHOU reports.67 Mr. Krueger told us that he prepared the
memorandum and asked Mr. Bolding to proofread it. This memorandum included the
prefatory statement that "[i]t should be noted that the protocols used by our crime
laboratory DNA section conform to the guidelines and protocols developed by the U.S.
Department of Justice Federal Bureau of Investigation and the Technical Working
Groups for DNA Analysis (TWIGDAM)." Mr. Krueger also reported that he had
"confidence in the quality of the work conducted by the DNA section of the Crime
Laboratory." Mr. Krueger told us that his bases for these statements were
representations made by Mr. Bolding, which he said he believed at the time.68

        D.       December 2002 Audit of the DNA/Serology Section

       On November 15, 2002, Mr. Krueger wrote to Ron Urbanovsky, director of the
DPS Crime Laboratory System based in Austin, Texas, confirming his oral request that
DPS assemble an "independent team, comprised of several individuals from different
agencies, to perform a technical in-depth review of [the Crime Lab's] DNA casework."
On December 12 and 13, 2002, a three-member team led by Irma Rios, then the head of
DPS's DNA laboratory, performed an audit of the DNA / Serology Section based on the
same FBI quality assurance standards that Mr. Bolding used in his 2000 and 2001
internal reviews of the Section.

       The DPS audit found widespread deficiencies related to virtually every area
covered by the FBI standards, including the lack of an established quality assurance and
internal auditing system, inadequate resources, a technical leader with inadequate
qualifications, an inadequate training program for DNA analysts, insufficient

67      At the time of the KHOU-Charmel 11 reports and the 2002 DPS audit of the DNA / Serology
                                                                                            —
        Section, Chief Bradford was on administrative leave pending his prosecution for perjury
                                                    —
        charges for which he was ultimately acquitted and Mayor Lee Brown had appointed Executive
        Assistant Chief Oettmeier to be Acting Chief of Pohce.
68      Even though at the time he prepared this memorandum Mr. Krueger still beheved Mr. Bolding's
        representations that the DNA work performed in the Crime Lab conformed with principles and
        practices generally accepted in the field, Mr. Krueger advised Chief Oettmeier that he had
        requested "an independent audit of the DNA section" to "verify that all proper protocols are
        being followed and explore any possible areas of improvement that may exist."




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educational backgrounds for analysts, inadequate SOPs, and poor documentation in
case files. Ms. Rios told us that the DNA / Serology Section at that time was in the worst
shape of any laboratory she had ever inspected, an adverse conclusion she shared, in
only a slightly different form, when she testified before the Texas State legislature on
March 3, 2003.69

       On December 13, 2002, the audit team briefed Mr. Krueger on its findings.
Mr. Krueger recalled that the audit team told him the DNA / Serology Section was in
shambles. He told us that he was completely surprised by this report and that he had
expected the audit to exonerate the Crime Lab. On December 13, 2002, Mr. Krueger
prepared a memorandum to Assistant Chief Simmons summarizing what the audit
team had told him during the briefing, and he met with Assistant Chief Simmons that
day. Mr. Krueger recalled that Mr. Bolding refused to attend this meeting with
Assistant Chief Simmons and that after the audit Mr. Bolding seemed to "disappear."
The results of the audit were then communicated to Acting Chief of Police Oettmeier
probably the next day. The DNA / Serology Section was closed almost immediately
thereafter.

        Despite his initial shock upon learning of the DPS team's audit findings, it
appears that Mr. Krueger remained in denial about the abysmal state of the Crime Lab's
DNA operations. On January 9, 2003, Mr. Krueger prepared a memorandum addressed
to Assistant Chief Simmons entitled "Reassessment of DNA Audit." In this
memorandum, Mr. Krueger reported that "[t]he final audit report as received was not
nearly as critical in content as I had thought it might be. Despite the appearance of
monumental problems the primary deficiencies concern documentation." Despite
                                                                            —
having made this statement, it was clear to us that Mr. Krueger who was not trained
in DNA -- did not grasp the seriousness and the extent of the problems with the Crime
Lab's DNA analysis and reporting. For example, it was not until our in-person meeting
with Mr. Krueger in June 2006 that he came to understand the problems with the Crime
Lab's misleading practice of reporting of statistics in mixture cases based on the
suspect's reference sample, which greatly exaggerated the strength of the association
between the suspect and the evidence indicated by the Lab's DNA results in many
cases, including the Sutton case.70


69      At the time of the DPS audit, the DNA / Serology Section, unlike the other crime laboratories
        Ms. Rios had previously inspected, had not been accredited or undergone preparations in
        anticipation of the inspection.
70      The Crime Lab's practice of misreporting frequency estimates in DNA cases is discussed in detail
        in the section of this report addressing the Crime Lab's historical DNA work.




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        E.       The Sutton Case

       The next jolt to the reputation of the Crime Lab came with revelations about the
DNA / Serology Section's work in the Josiah Sutton case. In 1999, Mr. Sutton was
convicted by a jury of aggravated kidnapping and aggravated sexual assault in
connection with an October 1998 rape. Christy Kim had performed DNA testing in this
case, and she testified at trial that, using PCR-based testing, she had detected
Mr. Sutton's "DNA pattern" in various items of evidence, including a vaginal swab
taken from the victim. From the time of his arrest, Mr. Sutton and his family always
maintained his innocence. After viewing the November 2002 KHOU news reports that
questioned DNA and serology work performed by the Crime Lab, Mr. Sutton's mother
contacted KHOU and asked the reporters to look into her son's case. The reporters
contacted Professor Thompson to request that he review Ms. Kim 's DNA analysis in the
Sutton case. During a report that aired on KHOU in January 2003, Professor Thompson
described the Sutton case as a clear miscarriage of justice.

        That month, HPD requested that an outside laboratory review the Crime Lab's
case file for the Sutton matter. On January 31, 2003, the outside laboratory reported that
the Crime Lab's results in this case "are incorrect " and strongly recommended that the
evidence in the case be "re-analyzed using the more powerful STR DNA analysis
methods due to the variety of problems" the laboratory observed in Ms. Kim's DNA
analysis and the reporting of her PCR results. On February 3, 2003, Mr. Krueger
forwarded the results of the outside laboratory's review of the Sutton case to Executive
Assistant Chief Storemski and Assistant Chief Simmons and reported that "[sjamples
from the case will be sent out for reanalysis using the new STR procedures." On
March 10, 2003, an outside laboratory reported that Mr. Sutton was excluded as a
contributor to the DNA evidence obtained from the victim's vaginal smear, directly
contradicting the DNA results reported by Ms. Kim in 1999.71
        F.       Mr. Kruger's Resignation from the Crime Lab

      Mr. Krueger resigned from the Crime Lab on February 21, 2003.72 Chief Bradford
had been on administrative leave from HPD pending resolution of the perjury charges
brought against him by the District Attorney's Office. On or about January 23, 2003,
Chief Bradford was acquitted by a directed verdict entered by the judge presiding over


71      Mr. Sutton was released from the Harris County jail on March 12, 2003. He was pardoned by
        Texas Governor Rick Perry over a year later, on May 14, 2004.
72      Following Mr. Krueger's resignation, Mr. Bobzean functioned as the acting director of the Crime
        Lab.




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his trial. Mr. Krueger told us that Chief Bradford's acquittal was a determining factor in
his decision to resign as the director of the Crime Lab. Mr. Krueger believed that Chief
Bradford would blame him for the DNA-related scandals that overwhelmed the Crime
Lab during the preceding three months. Mr. Krueger also admitted that he was "falling
apart" emotionally as a result of the DNA scandal.
        The KHOU reports, followed closely by the exoneration of Mr. Sutton, left the
Crime Lab in virtual chaos, and there was significant concern that the case of Mr. Sutton
would only be the first of many cases involving wrongful convictions related to work
performed by the Lab. In March 2003, out of concern for other possible wrongful
convictions, HPD and the District Attorney's office initiated a post-conviction DNA
re-testing program that is still continuing.73

        G.       Investigations of the Crime Lab
       On December 16, 2002, after the DPS audit of the DNA / Serology Section had
been completed and the decision to close the Section had been made, the first of what
was to become many Crime Lab-related IAD investigations began. In all, after
December 2002, HPD conducted more than 25 internal investigations related to the
Crime Lab. Many of these investigations were quite intensive, involving multiple
rounds of interviews and witness statements. As the interim Crime Lab director,
Mr. Fitzpatrick, observed, these investigations, coupled with the persistent negative
press coverage regarding the Lab in the Houston broadcast and print media,
contributed to a period of extremely low morale for Lab staff .

       On or about April 9, 2003, the 22 Harris County criminal district judges called for
a grand jury investigation to be opened with respect to potential criminal conduct
within the Crime Lab. Later that day, the Harris County District Attorney announced
he had already been investigating the Crime Lab for several weeks. In mid-May 2003, a
second grand jury, apparently operating independently of the District Attorney's Office,
also began investigating the Crime Lab. In October 2003, this second grand jury
concluded its investigation without issuing any indictments. No indictments were ever
issued from the first grand jury either.

      IAD investigations concerning the conduct of Crime Lab personnel continued
during our investigation. Our Fourth and Fifth Reports, issued in December 2005 and

73      The DNA re-testing program is discussed later in this report. HPD and the District Attorney's
                                                                                                  —
        Office have identified 415 cases for re-testing by outside laboratories. As of May 5, 2007 more
                                                            —
        than four years after the re-testing program started re-testing in 59 of those cases still had not
        been concluded.




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May 2006, respectively, disclosed serious problems that we observed in the Crime Lab's
historical DNA cases. Three analysts who had worked in the Crime Lab's
DNA / Serology Section and had performed DNA analysis in certain major issue DNA
cases discussed in our reports still were employed in the Lab. In response to our
reports, HPD opened IAD investigations into the three analysts' conduct and
performance in those major issue cases. We cooperated with HPD's requests for
information in connection with these IAD investigations, and we made clear our view
that the problems discussed in our reports, as far as the work performed by these three
analysts was concerned, were related to systemic deficiencies that existed in the Crime
Lab at the time the cases were analyzed and were not the product of individual
misconduct. 74 These IAD investigations contributed to the anxiety that many Crime
Lab employees felt regarding our investigation, which we found to be unfortunate.75

VI.     Transitions in the Crime Lab and the Move Toward Accreditation

       In the wake of the scandals of late 2002 and early 2003, which centered on the
Crime Lab's DNA analysis, the Lab underwent a prolonged period of upheaval from
which, in many ways, it is still emerging. Under a new Chief of Police and a new Crime
Lab director, HPD has devoted substantial attention to reforming the Lab, including by
taking the significant step of obtaining ASCLD / LAB accreditation across most of the
areas in which the Lab performs forensic analysis.

        A.       Early Consideration of Accreditation
       ASCLD / LAB was incorporated in 1988. Although it is frequently confused with
ASCLD (the American Society of Crime Lab Directors), ASCLD/ LAB is a distinct
                                           —
organization with a specific mission establishing and monitoring standards for crime
laboratories and conducting accreditation inspections of crime labs. The stated
objectives of ASCLD / LAB's accreditation program are to: (1) improve the quality of

74      By contrast, as discussed below, we found cases that are examples of misconduct by individual
        analysts, including the "drylabbing" cases by controlled substances analysts Vipul Patel and
        James Price and the alteration of serology results and false testimony by James Bolding in the
        Dwight Riser case. Investigations by IAD of allegations of misconduct by HPD personnel,
        including Crime Lab analysts, is both necessary and appropriate.
75      The three current Crime Lab employees involved with the IAD investigations are Joseph Chu,
        Mary Childs-Henry, and Raynard Cockrell. In 2005, Mr. Chu was assigned to perform blood
        alcohol analysis in the Crime Lab. He currently is assigned to HPD's Major Offenders unit.
        Although Ms. Childs-Henry remains classified as a criminalist, she is assigned to CER where she
        performs non-analytical tasks related to the receipt and storage of drug evidence. Mr. Cockrell
        remains on the Crime Lab's organization chart as a controlled substances analyst, but he
        currently is on administrative leave.




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laboratory services provided to the criminal justice system; (2) develop and maintain
criteria which may be used by a laboratory to assess its level of performance and to
strengthen its operations; (3) provide an independent, impartial, and objective system
by which laboratories can benefit from a total operational review; and (4) offer the
general public and users of laboratory services a means of identifying those laboratories
that have demonstrated that they meet established standards.

        Mr. Krueger told us that he did not recall any significant discussions during
Mr . Christian's tenure as director of the Crime Lab about the desirability of attaining
ASCLD / LAB accreditation. Mr. Krueger recalled that Mr. Christian's attitude
regarding accreditation was that it was unnecessary to have an outside agency validate
the work of the Crime Lab. Mr. Krueger told us that it never occurred to Mr. Christian
or to him that there would be a benefit to having an outside inspection of the Crime
Lab's operations and procedures because they believed the work of Lab was acceptable.
Mr. Krueger told us that the Crime Lab's management believed the Lab's work was fine
because they "never heard otherwise." Of course, absent outside reviews of the Crime
Lab's operations and casework, there was no independent basis for Mr. Christian and
Mr. Krueger's confidence in the quality of the Lab's forensic science work or how its
work compared to the work performed in other crime labs.

       There were additional factors isolating the Crime Lab from the larger general
forensic science community. For example, Mr. Krueger never attended any ASCLD
meetings during his entire tenure as the director of the Crime Lab. Mr. Krueger claimed
that he sacrificed his attendance at these meetings in order to conserve funds for the
training of analysts.76 It is clear, however, that Mr. Krueger was an extremely
introverted manager who simply was not disposed to participating in the forensic
science community. He seemed genuinely unaware of the benefits of participating in
such a larger community and unaware of the benefits that would accrue to the Crime
Lab from doing so.

       By the mid-1990s, management of the Crime Lab was considering accreditation
as a goal. Mr. Krueger told us that no one within HPD ever prompted him to obtain
accreditation for the Crime Lab, but he was concerned about the possibility that grant
funding might one day be contingent on accreditation. Although Mr. Krueger
consciously did not raise the issue of accreditation up the chain of command at that
time because he felt the Crime Lab was not ready, he recalled discussing accreditation


76      Mr. Krueger said he was unaware, until we told him, that for at least some period of time the
        costs of attending national meetings of crime laboratory meetings was subsidized by the Federal
        Government.




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with Assistant Chief Simmons. In his August 29, 1996 memorandum advising Assistant
Chief Simmons that he was reorganizing the Crime Lab to move Dr. Sharma from the
DNA / Serology Section to a newly created QA/ QC position reporting directly to him ,
Mr. Krueger portrayed the move as a necessary step toward accreditation. Mr. Krueger
stated: "[I]t is becoming more apparent that the crime laboratory is going to be
required to work toward accreditation by ASCLD."77

       Mr. Krueger's hope that he could accomplish twin objectives by moving
Dr. Sharma out of the DNA / Serology Section, where he had been an ineffective and
widely disliked supervisor, to the position devoted to preparing the Crime Lab's SOPs,
training programs, and facilities for accreditation, proved to be an exercise in wishful
thinking. Dr. Sharma proved to be even less productive in the QA / QC position than he
had been in the DNA/ Serology Section. Many Crime Lab employees recalled seeing
him asleep in his office, and they joked about videotaping him. When we asked
Dr. Sharma why he failed to make more progress on the SOPs since he appeared to
have the bulk of four and a half years to devote to them in his new position, Dr. Sharma
shifted blame to Mr. Krueger and claimed that he was not permitted to do any
independent work on the SOPs. Dr. Sharma acknowledged that he viewed his transfer
to the QA / QC position as punishment, and it is clear that his reaction was to pay little
attention to taking ownership of what could have been a very significant role in
advancing the QA / QC function.

        Given his experience with Dr. Sharma, it was highly unrealistic for Mr. Krueger
to expect that Dr. Sharma would make a meaningful contribution in the QA/ QC
position. By Dr. Sharma's own admission, he did approximately a year s worth of work   7



in the four-plus years he remained in the position; a more exacting assessment would
put the volume of work performed by Dr. Sharma at much less than that. In February
2001, acceding to the reality that Dr. Sharma was providing no meaningful assistance in
the QA / QC position, Mr. Krueger assigned Dr. Sharma to assist the Controlled
Substances Section by analyzing marijuana cases.

       Ultimately, Mr. Krueger came to believe that accreditation was not a realistic
possibility in light of the Crime Lab's chronic manpower shortages, the conditions
created in the Lab by the persistent roof leaks at 1200 Travis Street, and the lack of
progress in formalizing the Lab's SOPs and developing a QA / QC function. Assistant

77      At least by the late 1990s, analysts in the Crime Lab also were aware of the importance of
        accreditation. During her testimony in the Josiah Sutton trial on July 7, 1999, Ms. Kim told the
        jury that "[t]here is an accreditation that we are trying to get a credit by [sic]" and that "our
        laboratory is working on [accreditation] right now." These assertions were, at best, gross
        exaggerations.




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Chief Simmons believed that accreditation was not a priority for HPD because there
were more pressing "structural problems" with the roof and obtaining equipment for
the Crime Lab. Mr. Krueger told us that he never felt that the Crime Lab was far
enough along in developing the formal procedures, systems, and documentation
required for accreditation in order for him to be comfortable inviting outside inspectors
in to review the Lab's operations.

        Nevertheless, in a draft letter, dated June 17, 2002, that Mr. Krueger prepared for
Chief Bradford to send to Houston City Council Member Carol Alvarado, Mr. Krueger
wrote: "The laboratory staff has been working towards meeting all the guidelines
necessary for accreditation. Approximately 80 % of the documentation is complete."
Based on the findings of the 2002 DPS audit and the substantial work on the SOPs and
in other areas that was necessary for the Crime Lab to achieve accreditation in May
2005, it is clear that Mr. Krueger s assessment of the state of the Lab was, at best,
                                 7



exceedingly optimistic.
        B.       The National Forensic Science Technology Center Needs Assessment
                 and Interim Director Frank Fitzpatrick

       After Mr. Krueger's resignation, HPD entered into a contract with the NFSTC to
provide a Needs Assessment with respect to the Crime Lab. ASCLD established the
NFSTC in 1995 with the goal of creating a not-for-profit corporation, independent of
ASCLD, that would "provide quality systems support, training and education to the
forensic science community in the United States." On or about April 21, 2003, the
NFSTC began performing its Needs Assessment of the Crime Lab.

       On May 14, 2003, the NFSTC issued an Initial Summary of its findings to HPD
concluding, among other things, that base funding for the Crime Lab had not
historically included an equipment replacement fund or sufficient training funds. Even
so, with the exception of computer hardware and networking, which were extremely
                                     —
limited, the Crime Lab's equipment and, in particular, its DNA equipment was    —
modern and state-of -the-art. The Initial Summary also found that, with the exception of
the Controlled Substances and Firearms Sections, the Crime Lab did not have
documented training programs in place.

       The NFSTC's immediate recommendation was that "a strong manager, not
necessarily a forensic scientist, be placed in control of the lab." Following that
recommendation, HPD began searching for an interim director. On July 23, 2003, HPD
and the City entered into an agreement with the NFSTC to hire Frank Fitzpatrick as the
interim director of the Crime Lab. Mr. Fitzpatrick was then the Director of the Forensic
Science Division of the Orange County Sheriff -Coroner's Office. Under the agreement,
Mr. Fitzpatrick accepted a 13-week assignment running the Crime Lab. Personnel who


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worked in the Crime Lab during Mr. Fitzpatrick's tenure told us that his open and
supportive style was a breath of fresh air for a forensic science laboratory that had
operated under remote and isolated leadership for nearly a decade.

       On July 31, 2003, the NFSTC issued its Needs Assessment, which contained
detailed recommendations across a range of areas including laboratory supervision and
management, training, communication within the Crime Lab, quality control, the space
and design of the Lab, health and safety, and specifically-tailored recommendations for
the individual sections of the Lab. These recommendations were provided to Ms. Rios
when she became the head of the Crime Lab in October 2003.

      Among other things, Mr. Fitzpatrick required all working analysts to take
competency tests. The administration of these competency tests resulted in the
suspension of toxicological analysis in the Crime Lab in October 2003. Pauline Louie,
who was the longtime Criminalist IV supervisor over the Crime Lab's Toxicology and
Controlled Substances Sections, also was the Lab's primary toxicologist performing
casework. Accordingly, Mr. Fitzpatrick required Ms. Louie to submit to a toxicology
competency test.
       On September 26, 2003, Ms. Louie was provided three samples -- one urine and
two blood -- for analysis, and she was requested to return her results by October 20,
2003. The samples were prepared and distributed by the College of American
Pathologists ("CAP") as part of their nationwide proficiency testing program.78 The
samples originally were sent to Mr. Fitzpatrick's laboratory in Orange County,
California, and then were forwarded to HPD.

       According to the samples' manufacturer, the urine sample contained
Phencyclidine, commonly known as PCP, and Triazolam; the first blood sample
contained morphine; and the second blood sample contained Cyclobenzaprine and
Nordiazepam. Ms. Louie returned her results for one of the samples before the
October 20 deadline, but the other two samples were not returned until October 21 and
October 22. Ms. Louie obtained the following results for the three samples

     •   Urine sample: Ms Louie correctly identified the presence of PCP but failed to
         identify the presence of Triazolam (a false negative result).

     •   Blood sample #1: Ms. Louie incorrectly identified the presence of PCP (a false
         positive) and failed to identify the presence of morphine (a false negative).


78       The CAP proficiency testing program is the largest peer comparison program in the world.




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     •   Blood sample #2: Ms. Louie again obtained a false positive for PCP and failed to
         identify the presence of Cyclobenzaprine and Nordiazepam (both false
         negatives).

       Before arriving at any conclusions as to the apparent false positive results for
PCP that Ms. Louie obtained in both of the blood samples, HPD delivered the
remaining portions of the blood samples to the Harris County ME's Office for analysis.
The ME's Office failed to detect PCP in either of the blood samples, which was
consistent with the manufacturer's original preparation of the samples and with the
findings of the Orange County laboratory that had previously analyzed the samples.
The results obtained by the ME's Office demonstrate that the samples had not been
contaminated with PCP prior to being delivered to Ms. Louie for her competency test.

       Ms. Louie was highly critical of the competency test administered to her.
However, our review of Ms. Louie's competency test found that it was fairly
administered. False negative results may be caused by a number of factors and
typically would not have an impact on the suspect donor of the sample. However, false
positive results call into question all of the results obtained by the analyst and may have
serious consequences for the suspect donor.

       As a result of the false findings she obtained in connection with her competency
test, Ms. Louie was suspended from performing toxicological analysis in October 2003.79
From October 2003 through present, the Toxicology Section has performed only blood
alcohol tests, and it has not analyzed blood or urine samples for substances other than
alcohol.

        In March 2004, the District Attorney's Office requested that 369 toxicology cases
analyzed by Ms. Louie for which viable samples still exist be re-tested by an outside
laboratory. That re-testing project is complete, and we are advised by HPD that a
discrepancy was found in only one of these cases. In that case, involving a urine screen
performed in 1992, Ms. Louie identified the presence of numerous substances, including
Butalbital. The re-testing laboratory found that, while the drug appeared to be present
in the sample, the outside laboratory could not confirm the presence of Butalbital
possibly because it was masked by another substance in the sample.




79       Ms. Louie subsequently retired from HPD on July 30, 2004.




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        C.       Irma Rios Becomes Head of the Crime Lab

        Ms. Rios, who had led the outside audit of the Crime Lab's DNA / Serology
Section in December 2002, became the director of the Lab on October 20, 2003.80 During
the interview process prior to accepting the position, Ms. Rios requested information
about the Crime Lab, including budget information for the prior three years, caseload
statistics, an organization chart, and information about how HPD handled media
inquiries. Early in her tenure as director, Ms. Rios developed a strategic plan for the
Crime Lab that focused on fundamental issues such as salaries for Lab personnel and
improving the technological resources in the Lab.81

       One of the immediate challenges Ms. Rios faced was hiring qualified analysts.
As a result of the persistent negative media coverage of the Crime Lab arising out of the
DNA scandals and the focus on analyst competency under Mr. Fitzpatrick, the Lab lost
nearly half of its technical staff during 2003. While the low salaries offered by Crime
Lab at the time were an obstacle to recruitment of new personnel, so too was the
concern about whether the Lab would be able to recover and obtain accreditation as
required under a new Texas state law promulgated earlier in 2003.

       Under Ms. Rios, the Crime Lab embarked on the massive undertaking of
simultaneously revising the SOPs for the Lab's general operations and for each of its
analytical sections, developing a competent and effective QA / QC function, bringing the
training of analysts up to appropriate levels, and preparing the Lab for the inspections
necessary to obtain accreditation.
        D.       Accreditation

       On May 10, 2005, the Crime Lab was accredited by ASCLD / LAB in the
disciplines of controlled substances, blood alcohol analysis, questioned documents,
firearms, and serology. This accreditation by a national body was the first in the Crime
Lab's history. ASCLD / LAB accreditation was the product of a sustained effort on the
part of HPD and the management and staff of the Crime Lab, and it was a significant
and necessary step.



80      Although Ms. Rios is the head of the Crime Lab and reports directly to an Executive Assistant
        Chief, because of the City's structure for funding civilian jobs, her official position is "Assistant
        Director."
81      When Ms. Rios became the head of the Crime Lab, she and Mr. Bobzean, the number two person
        in the Lab, had desktop computers and email accounts.




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        Although the May 2005 ASCLD/ LAB accreditation covered serology -- i.e., the
screening of biology evidence for body fluids such as blood and semen that may be
susceptible to DNA analysis -- it did not include DNA profiling work. The Crime Lab
                                                                         —
still had significant work to do to prepare for DNA casework including finding a
qualified DNA technical leader, hiring and training DNA analysts, revising the Lab's
DNA SOPs, and performing validation studies on the Lab's DNA instrumentation.

        On June 19, 2006, ASCLD / LAB granted the Crime Lab provisional accreditation
for its DNA operations. Accreditation of the DNA Section was provisional because it
was based on inspection of DNA analysts' work on mock cases -- the Crime Lab did not
have a body of actual casework to review because it had not yet performed any DNA
analysis in live cases under the Biology Section's revised DNA SOPs and operations.
The Crime Lab began performing DNA analysis and reporting results in active
investigations in July 2006.

       Because accreditation of the DNA operation was provisional, ASCLD/ LAB
required the Crime Lab to submit to another inspection in March 2007.82




82      The March 2007 ASCLD / LAB inspection went beyond merely covering the Crime Lab's DNA
        Section. Even though accredited crime laboratories typically undergo re-inspection on a five-year
        cycle, Ms. Rios requested that ASCLD/ LAB inspectors review all of the analytical sections of the
        Crime Lab. Also, the ASCLD/ LAB inspectors reviewed the Crime Lab's reorganized Trace
        Evidence Section for the first time.




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Historical Case Reviews (1980 - 2004)
       The core of our investigation of the Crime Lab's historical operations was the
review of over 3,500 cases analyzed by criminalists in each of the forensic science
disciplines practiced in the Lab. These cases provided invaluable insight into how the
managerial and resource decisions, described in detail in above, impacted the analytical
results that the Crime Lab's forensic scientists obtained and reported on a daily basis.

       We identified similar issues across much of the Crime Lab's work, regardless of
the section, including inadequate SOPs, lack of quality assurance and documented
technical reviews, and poor documentation of the samples analyzed and the analytical
work performed. However, we also found that many analysts and examiners in the
historical Crime Lab were quite technically proficient. Despite some minor issues
relating to documentation and other administrative issues, we found that the Crime Lab
performed generally reliable, and in some cases very high quality, work in the areas of
controlled substances analysis, firearms examination, trace evidence, toxicology, and
questioned documents examination.

       However, we identified a large number of serology and DNA cases that
contained serious problems that called into question the reliability of the analytical
work performed by the Crime Lab and / or the accuracy of the reported results in these
cases. We identified major issues in 209 -- or 21% -- of the serology cases we reviewed
from the 1980-1992 period. Nearly a third of the DNA cases we reviewed -- including
                         —
four death penalty cases that the Crime Lab analyzed between 1993 and 2002
contained major issues. These are extremely troubling findings, particularly because
serology and DNA analysis typically are performed in connection with investigations of
the most serious crimes. HPD's and the Crime Lab's failures in training, supporting,
and supervising its analysts are most starkly reflected in the Lab's serology and DNA
cases.

I.      Serology (1980 - 1992)
       We reviewed a total of 1,020 serology cases processed by the Crime Lab between
1980 and 1992, including 850 cases related to currently incarcerated prisoners. Because
serology involves the analysis of body fluids such as blood, semen, and saliva these
cases typically relate to investigations of homicides and rapes. We identified major
issues in 209 -- or 21% -- of these cases. We found significant problems in every step of
HPD's process for handling biological evidence during this period -- from the
collection, packaging, and storage of biological evidence, to the screening of evidence
for body fluids such as blood and semen, to ABO typing and electrophoretic testing for
genetic markers, to the interpretation and reporting of results.


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       Some of our most troubling findings, which are discussed in detail in this section
of the report, include:

    •   The widespread failure of the Serology Section to perform genetic marker testing,
        such as ABO typing, on hundreds of cases that contained potentially probative
        biological evidence and involved a known suspect whose blood could be
        compared to the evidence. In fact, the Crime Lab failed to perform typing in 274
        cases in which evidence was screened positive for blood or semen and in which
        the suspect was ultimately convicted and remains in prison today. The
        biological evidence in these cases potentially could have bolstered the
        prosecution of the defendants, or helped establish their innocence, and yet the
        Crime Lab never tested the evidence.

    •   Crime Lab serologists failed to use and to properly document crucial controls,
        and there was no meaningful technical review or quality assurance program in
        the Serology Section.

    •   Serologists were poorly trained, which resulted in an abundance of very serious
        technical and interpretive problems across dozens of cases.

    •   We found 110 cases in which a Crime Lab serologist failed to report potentially
        probative results that he or she in fact obtained, as reflected in his or her
        laboratory notes and worksheets. In many of these cases, it appears that the
        analyst was reluctant to report genetic typing results obtained from evidence
        samples that were not consistent with a known victim or suspect. We believe
                       —
        that serologists including Mr. Bolding, the head of the Serology Section, and
        Ms. Kim, one of the Section's most experienced and prolific analysts -- generally
        lacked confidence in their ability to obtain reliable ABO typing results and,
        therefore, were reluctant to report finding rare blood types or results that were
        not consistent with known profiles. In some cases, it appears that analysts
        tailored results to meet the expectations of investigators.

    •   There are three cases -- the Derrick Jackson capital murder case, the Maria
        Estrada rape and murder case, and the Dwight H. Riser case -- in which
        Mr. Bolding was responsible for misreporting the original results of testing,
        altering documentation without scientific basis, and causing probative results not
        to be reported. Each of these cases reflects a disturbing lack of integrity on the
        part of Mr. Bolding -- the Crime Lab's lead serologist who would become the
        head of its DNA operation as well. Mr. Bolding's conduct in the case of
        Mr. Riser, who remains incarcerated, appears to constitute outright scientific
        fraud and perjury.



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        A.       Background Regarding Forensic Serology
       The term serology refers to the study of blood and other body fluids, particularly
blood group interactions. The forensic serology practiced in the Crime Lab during the
1980s and early 1990s primarily involved genetic marker typing relating to the four
nominal blood types -- A, B, AB, and O.83 For example, if a bloodstain on an item of
evidence is determined through ABO typing to contain ABO type A factors, and a
suspect is determined to be ABO type A, then the suspect is included in the population
of potential contributors to the evidence. On the other hand, if the suspect is
determined to be ABO type B, then he or she is excluded as a potential donor of the
bloodstain evidence. Until they were replaced by DNA profiling technology in the
early 1990s, the typing tests used in forensic serology were the only techniques available
to forensic scientists to develop information as to whether specific individuals might be
associated with biological evidence such as blood, semen, or saliva related to crimes,
particularly homicides and sexual assaults.84

       ABO typing is not limited to blood samples. In many people, ABO factors also
are present in other body fluids, such as semen, saliva, and vaginal secretions. The
population is divided into two groups with respect to the presence or absence of ABO
factors in body fluids other than blood. Approximately 80 % of individuals have
detectable levels of their ABO type expressed in their other body fluids, and they are
known as ABO "secretors." The remaining 20 % lacks normally detectable levels of their
ABO factors in their secretions; these individuals are known as ABO " non-secretors."
Although useful in the investigation of homicides and other crimes, ABO testing of
body fluid secretions was particularly valuable in the analysis of biological evidence
related to sexual assaults.

      The first step in forensic serology is to determine through presumptive testing
whether biological material is present on evidence items collected by investigators and
medical personnel. This examination is conducted using various presumptive tests that


83      From the 1960s on, forensic serology also included the characterization of other biochemical
        genetic markers present in body fluids such as certain polymorphic enzymes and proteins. As
        discussed below, the Crime Lab only rarely used such enzyme testing results to associate or
        disassociate evidence stains with respect to a victim or suspect.
84      For ease of reference and to provide helpful background for the discussion of significant issues
        we have identified in the serology work performed by the Crime Lab, we include in this section a
        brief general description of serology and certain common testing methods. For a more detailed
        discussion of technical aspects of serology, please refer to Appendix B of this report, "Technical
        Discussion of Serology Techniques Commonly Used by the Crime Lab."




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can indicate whether a stain is likely to contain blood or semen and therefore be
susceptible to genetic marker typing.

        The Crime Lab typically would screen suspected bloodstains by applying a color
test using the chemical phenolphthalein, which reacts to the protein hemoglobin found
in blood.85 The Crime Lab also commonly used a confirmatory test for blood known as
the Takayama test, which is a micro-crystalline test also directed at detecting the
presence of hemoglobin. If these tests resulted in positive readings, the stain would be
confirmed to contain blood.

       The Crime Lab generally used three types of tests to detect the presence of semen
in evidence related to suspected sexual assaults. First, a serologist would use a
microscope to attempt to visually confirm the presence of sperm cells in a sample
extracted from an evidence stain and applied to a microscope slide. Second, the
serologist might use a presumptive color test on a cutting from an evidence stain to
detect the presence of acid phosphatase ("AP"), which is an enzyme secreted by the
prostate gland into seminal fluid. Finally, Crime Lab serologists also used testing
techniques to determine the presence or absence of a prostatic protein called p30, which
is unique to seminal plasma.

       If these tests indicated that an evidence specimen in fact contained blood or
      ,
semen then the serologist could attempt ABO genetic marker testing on the evidence.
Absorption elution ("AE"), a form of direct ABO typing, is the generally accepted
forensic serology testing method for determining the ABO factors present in bloodstain
evidence.86 Serologists sometimes used AE testing of bloodstains in conjunction with a
reverse blood typing technique called the Lattes Crust test.87 Serologists often used
Lattes testing to obtain ABO typing results from scrapings of dried blood crust collected
from non-porous surfaces, such as glass or a weapon (hence the term Lattes Crust test)


85      Hemoglobin is a protein found in red blood cells that is responsible for transporting oxygen and
        carbon dioxide in the bloodstream, and it gives blood its red coloring.
86      AE is known as a "direct" ABO test because the agglutination observed as a result of the antigen-
        antibody interaction in AE testing directly indicates which ABO antigenic factors, if any, are
        present in the sample. In other words, in AE testing, the presence of a specific ABO factor is
        indicated by observation of agglutination in the test well for that ABO factor.
87      The Lattes Crust test is known as a "reverse" typing test because it detects the presence of
        naturally occurring ABO antibodies in the plasma or serum portion of a bloodstain. The ABO
        antibodies in a person's serum are complementary to his or her ABO antigens present on the
        person's red blood cells. Thus, the detection of ABO antibodies through a Lattes Crust test can
        assist the forensic serologist to infer the ABO type of the donor of a bloodstain.




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or from cuttings of bloodstains on clothing or other materials.88 Absorption inhibition
("AI") was the generally accepted forensic serology method for determining ABO
factors expressed in stains related to body fluids other than blood such as semen, saliva,
vaginal secretions, perspiration, nasal mucous, or mixtures of these fluids. AI, unlike
AE, is an indirect method for the detection of ABO antigens.89

       If an evidence stain tested positive for the presence of blood, semen, or other
body fluid, it was generally possible to determine the genetic characteristics (e.g., ABO
type) reflected in the evidence sample. The serologist then could compare the genetic
types of the evidence sample with those of known reference standards. A known
reference standard is a sample of blood or saliva collected from a victim or a suspect
who is potentially associated with an evidence stain. Depending on the nature of the
crime under investigation and whether the evidence includes secretion stains, a crime
laboratory might subject known reference blood standards both to ABO testing, in order
to determine the victim's or suspect's ABO blood type, and to Lewis blood group
testing, which is helpful to predict or confirm whether the donor can be expected to be a
secretor whose ABO type is expressed in body fluids other than blood.90

       During the 1980s and early 1990s, the Crime Lab very seldom compared the ABO
types of victims and suspects with ABO activity detected in evidence samples to
establish associations -- or disassociations -- between individuals and biological
evidence. This was true even where presumptive screening indicated the presence of
blood or semen in evidence stains and where there was a known suspect against whom
ABO typing results related to such evidence could and should have been compared. In
fact, we found such failures to do ABO typing and comparisons in 274 cases related to
convicted defendants who remain incarcerated today. The Crime Lab's chronic failure
to perform ABO typing and comparisons in cases where the serology may have
produced probative or even exculpatory results -- including the hundreds of cases in
which ultimately there were convictions -- is extremely disturbing.



88      The Lattes Crust test, however, is less sensitive than AE. Consequently, more bloodstain material
        must be consumed to conduct a Lattes Crust test than the amount needed for AE.
89      AI is referred to as an "indirect" test because the presence of an ABO factor in an evidence stain is
        determined by observation of a diminished level or absence of agglutination in the test solution
        related to that particular ABO factor. AI also is used to test known reference saliva standards
                                                                                         —
        obtained from a victim or suspect to determine whether he or she is a secretor i.e., a person
        whose ABO type is expressed in body fluid other than blood.
90      Lewis genes are related to an individual's ABO secretor status. Lewis testing of an individual's
        known reference blood sample may be used to infer one's ABO secretor status.




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        B.       Results of the Serology Review

        We reviewed a total of 1,020 serology cases processed by the Crime Lab between
1980 and 1992. This total includes all of the serology cases we have reviewed during the
course of the independent investigation, including cases drawn from our original
sample of serology cases, our recalibrated selection of substantive serology cases from
the period 1987 through 1991, our work on serology conviction cases, and finally all
serology incarceration cases from the period 1980 through 1993 and death penalty cases
during that period in which the prisoner had been executed. We identified major issues
in 209 -- or approximately 21% -- of the serology cases that we reviewed.

        We classified each of the major issue serology cases we identified into one or
more of the following five categories based on the types of errors reflected in the file
and, where available, the underlying raw data related to the case: (1) failure to report a
potentially probative finding; (2) incorrect interpretation or erroneous reporting of
serology testing results; (3) reporting of a finding not supported by documentation
contained in the file or recorded in the analysts' worksheets; (4) failure to perform a
critical examination;91 and (5) other errors, including misunderstanding of a serological
or analytical concept, improperly altering test results or reported findings, possible
drylabbing, and obtaining a demonstrably incorrect test result.92 The chart below
reflects the number of major issue cases we identified in each of these categories.93



91      As discussed below, HPD serologists failed to perform genetic marker typing in hundreds of
                                                                                                        —
        cases in which an analyst positively identified the presence of a potentially testable body fluid
                                —
        such as blood or semen on an item of evidence and there was a known victim or suspect to
        compare against the evidence. Each of these cases could qualify as a failure to perform a critical
        examination. However, because of the pervasiveness of this problem, we decided not to classify
        such cases as containing major issues.
92      There are certain very serious deficiencies in the Crime Lab's historical serology work that were
        present in virtually every genetic marker typing case performed by the Lab during the entire
        period we reviewed. For example, as discussed below, Crime Lab serologists almost universally
        failed to use generally accepted forensic sciences principles and appropriate substrate controls.
        The absence of these standards and controls was contrary to generally accepted forensic science
        principles at the time and calls into question the entire body of serology work performed in the
        Crime Lab. Because these problems were so ubiquitous, however, we decided not to identify
        these deficiencies as major issues in individual cases unless the deficiency demonstrably affected
        the reliability of the result reported by the Crime Lab.
93      The number of major issue cases reflected in this chart is greater than the total number of
        individual major issue serology cases we identified (209) because some of these cases involve
        more than one type of major issue.




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                      Types of Major Issues - All Serology Cases Reviewed

                                                     Number of Cases         Percentage of Major
                Category of Major Issue              Containing Type       Issue Cases Containing
                                                        of Error                Type of Error
      Failure to report findings adequately and
                                                            107                      51%
      completely
      Incorrect interpretation or erroneous
                                                             73                      35 %
      reporting of results
      Unsupported finding                                    29                     14 %
      Failure to perform critical examination                  9                      4%
      Other                                                  30                     14 %

       With the substantial assistance of HPD, we identified a total of 850 serology cases
processed by the Crime Lab during the period 1980 through 1992 that are related to a
defendant who was convicted either by trial or guilty plea and remains incarcerated. Of
these 850 prisoners, 28 currently are on death row. We found major issues in 180 -- or
21% -- of the serology incarceration cases, including in 12 of the 28 death row cases. The
chart below reflects the number of major issue cases we identified among these serology
incarceration cases, sorted by category of major issue.94

                      Types of Major Issues - Serology Incarceration Cases

                                                     Number of Cases         Percentage of Major
                Category of Major Issue              Containing Type       Issue Cases Containing
                                                         of Error               Type of Error
      Failure to report findings adequately and
                                                             92                      51%
      completely
      Incorrect interpretation or erroneous
                                                             64                      36 %
      reporting of results
      Unsupported finding                                    26                     14 %
      Failure to perform critical examination                  7                      4%
      Other                                                  26                     14 %

      Finally, we also reviewed all 29 cases in which, between 1980 and 1992, the
Crime Lab performed serology work in connection with an investigation related to a
defendant who ultimately was executed. We reviewed these cases even though they do

94      The number of major issue cases reflected in this chart is greater than the total number of
        individual major issue serology incarceration cases we identified (180) because some cases
        involve more than one type of major issue.




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not fall within the definition of incarceration cases because the defendant already had
been executed. We identified major issues in 12 of these execution cases. The most
recent execution of a prisoner who was associated with a serology case processed by the
Crime Lab in which we identified a major issue was that of Clyde Smith, Jr., who was
executed by the State of Texas on February 15, 2006.95

        C.       Problems in the Crime Lab's Serology Work

       Based on our comprehensive review of the Crime Lab's serology work between
1980 and 1992, we conclude that serology performed in the Crime Lab including
screening for blood and semen and genetic marker typing -- during this period failed to
                                                                                       —
meet generally accepted forensic science principles. Our review of over a thousand
serology cases processed by the Crime Lab during the 1980-1992 period found
pervasive and serious problems with the quality of work performed by serologists in
the Lab, as well as with the presentation of the ABO typing results obtained by Lab
analysts using various serology testing methods. We saw these problems in virtually
every serology case we reviewed, even in those cases that we determined did not
contain major issues. Moreover, these very significant deficiencies are not the result of
isolated mistakes or interpretive errors made by individual serologists. Rather, they are
the product of defective procedures employed in the Serology Section throughout the
relevant time period, as well as the Crime Lab's systematic failure to adequately train
and supervise its serologists.

       In this section of the report, we provide a comprehensive discussion of the most
significant problems with the serology work performed in the Crime Lab during the

95      We reviewed the serology work in Mr. Smith's case in February 2007. The major issues in that
        case were that, even though the Crime Lab performed ABO typing on 15 bloodstain samples
        recovered from the crime scene and obtained ABO type O results for 14 of those samples, the Lab
        failed to obtain the ABO type of the victim or suspect and failed to report any of the results of the
        ABO typing work performed on the evidence. While we consider these failures to be major
        issues from the perspective of evaluating the quahty and reliability of the forensic science work
        performed in the case, we cannot assess whether proper reporting of the ABO typing results
        obtained by the Crime Lab would have had any potential impact on the prosecution, conviction,
        or sentencing of Mr. Smith.
        As stated in our previous reports, in general, with respect to the prosecutions of any individual
        defendant discussed in our reports, our investigation is limited to reviews of the forensic science
        work performed by the Crime Lab and, in certain cases, the presentation of the analysts' findings
        in related criminal proceedings. We have not reviewed or considered other evidence, such as
        eyewitness testimony or confessions, that might have been available or introduced in such cases.
        We also make no assessment as to the likely guilt or innocence of any of the suspects or
        defendants or to the appropriateness of any punishment discussed in our reports.




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1980s and 1990s. The issues include: (1) failure to perform potentially probative, or
even exculpatory, ABO typing in a large number of cases, particularly sexual assaults;
(2) improper processing, storage, and documentation of evidence; (3) inadequate and
confusing documentation of the samples analyzed and the results of testing performed
on evidence and known reference standards; (4) failure to use appropriate controls and
the absence of meaningful quality control over the Crime Lab's serology work;
(5) problems with presumptive testing for body fluids and the screening of evidence;
(6) technical problems with ABO testing and the misinterpretation of ABO typing
results; (7) failure to perform and report the results of enzyme testing; and
(8) inaccurate, incomplete, and sometimes misleading reporting of the results of
serological testing.
                 1.   Systematic Failure to Perform Potentially Probative ABO Typing
                      in Cases Involving Known Suspects

       We reviewed 850 serology cases processed by the Crime Lab between 1980 and
1992 that relate to defendants who were convicted and currently remain incarcerated in
Texas prisons. We found that the Crime Lab performed genetic marker analysis and
comparison of ABO blood type factors detected in evidence, on the one hand, with the
ABO types of victims and known suspects, on the other, in an alarmingly small
proportion of the cases. This is troubling because all of these cases, by definition,
involved a known suspect (whose name is reflected in the Crime Lab report) who
eventually was convicted of an offense related to the crime for which evidence was sent
to the Lab for analysis. We categorized each of the serology conviction cases from 1980
through 1992 that we reviewed based on the type of analysis applied.




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                 Type of Analysis Performed in Serology Incarceration Cases
                                     1980 through 1993

                                                                                    Approximate
                                                                    Number of
        Category             Type of Analysis Performed                             Percentage of
                                                                     Cases96
                                                                                       Cases97
             1        Inventory of Evidence Only                         48              6%
                      Screening for Blood or Semen: Results
            2A                                                          274             32 %
                      Positive - No ABO Typing of Evidence
                      Screening for Blood or Semen: Results
            2B                                                          150             18 %
                      Negative - No ABO Typing of Evidence
             3        ABO Typing of Evidence Only                       139             16 %
                      Comparison of Results of ABO Typing of
             4                                                          186             22 %
                      Evidence with Known Reference Samples
                      Outside DNA Analysis:
            5A                                                           43              5%
                      Match / Inclusion
                      Outside DNA Analysis:
            5B                                                           12              1%
                      No Male Profile or Inconclusive
                      Outside DNA Analysis:
            5C                                                            1         Less than 1%
                      Outcome Unknown
                      Outside DNA Analysis:
            5D                                                            6         Less than 1%
                      Exclusion of Incarcerated Suspect

      As reflected in the above chart, the Crime Lab performed the full typing and
comparison serology analysis necessary to develop probative information as to whether
a known suspect could be included or excluded as a potential contributor to biological
evidence in only a fraction -- 22 % -- of the cases where such analysis was possible. The
Crime Lab's failure to perform genetic marker testing of evidence, such as bloodstains

96      The total number of cases reflected in this column is slightly greater than the total number of
        serology incarceration cases that we reviewed because a limited number of cases received more
        than one classification. For example, certain cases in which the Crime Lab performed ABO
        typing and comparisons (Category 3) also were sent to outside laboratories for DNA analysis
        (Category 5), and those cases were classified under both categories.
97      The percentages provided in this column are included in order to present an approximate
        proportion of the serology incarceration cases in each analytical category. The proportions
        reflected in this column are only approximations because certain serology incarceration cases
        received more than one classification. For example, certain cases in which the Crime Lab
        performed ABO typing and comparisons (Category 3) also were sent to outside laboratories for
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or swabs from a sexual assault victim, is particularly disturbing in Category 2A above
where presumptive screening of evidence showed that body fluids, such as blood or
semen, were present in the evidence. In one third of the serology incarceration cases we
reviewed, presumptive tests for blood or semen were positive and there was a known
suspect for comparison, and yet no genetic marker analysis was performed. In another
16 % of the serology incarceration cases, ABO testing was performed on evidence, and
yet no testing to determine the victim's or suspect's ABO types was performed so that a
comparison to the evidence could be made.

       The Crime Lab's failure to generate potentially probative ABO testing results in
cases where it was possible to conduct such testing and comparisons to known
reference samples where possible is very troubling. This failure has implications both
for ensuring that the guilty are convicted and that the innocent are exonerated. From
the perspective of making sure the guilty are convicted, this data indicates that the
Crime Lab routinely failed to develop information that potentially could have guided
investigators and strengthened the ability of the investigators and prosecutors to
associate suspects with evidence in the case. From the perspective of making sure the
innocent are exonerated, the Crime Lab failed to perform genetic marker analyses that,
in some cases, might have excluded an individual suspect as a potential donor of
evidence, such as semen stains related to a sexual assault. Particularly in light of a 1995
FBI study which found that, between 1989 and 1995, suspects were excluded by DNA
testing in approximately 23% of cases,98 it is entirely possible that properly performed
                                                           —
ABO testing and, in particular, enzyme testing which was the prevalent technology in
                                                          —
the forensic community throughout the 1980s would have established a scientific
basis for excluding individual suspects in some percentage of these untested cases.99

       Also potentially troubling are the six cases in which DNA testing performed by
an outside laboratory did not include the suspect who currently is incarcerated as a
potential contributor to the biological evidence analyzed (Category 5D). The DNA
exclusion reported by the outside laboratory should not be understood to mean that the
defendant was not involved in or guilty of the crime of which he was convicted. Even

98      See Convicted by Juries, Exonerated by Science: Case Studies in the Use of DNA Evidence to Establish
        Innocence After Trial, United States Department of Justice, Office of Justice Programs, National
        Institute of Justice (June 1996), at 20.
99      Obviously, the discriminatory power of ABO genetic marker testing is much weaker than that of
        DNA analysis. Nevertheless, ABO typing can result in the exclusion of an individual suspect.
        For example, based on ABO blood typing of evidence and comparison to the victim's and
        suspect's known blood types, the suspect can be eliminated as a potential contributor because an
        ABO factor present in evidence is foreign to both the victim and suspect, thereby indicating that a
        third person contributed to the evidence sample.




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so, these cases raise questions about whether and to what extent the DNA evidence was
used in each of them. The results of the DNA testing performed by outside laboratories
in each of these six cases, the most troubling of which is that of Leroy Lewis, are
summarized briefly below.

      • Leroy Lewis (L91-00532) . In this 1991 sexual assault and murder case involving
        co-defendants Leroy Lewis and Robert J. Campbell, the Crime Lab sent evidence,
         including vaginal and anal swabs taken from the victim to the Serological
         Research Institute ("SERI") for DNA analysis. SERI performed DQ Alpha testing
         on the swabs and in a report dated August 14, 1991, concluded that "[t]here are
         at least two donors of the semen on the Vaginal Swab" and that "Leroy Lewis
         and Robert J. Campbell could be the donors" of the semen on the vaginal swab
         [emphasis in original]. SERI did not provide a frequency estimate for its
         DQ Alpha results.100 On August 28, 2001, Christy Kim issued a report presenting
         SERTs conclusions; like SERI, she did not provide a frequency estimate. In 2002,
         DNA evidence in this case was analyzed by a Texas DPS crime laboratory. In a
         report dated July 22, 2002, the DPS laboratory concluded that, based on STR
         testing, Mr. Campbell could not be excluded from the mixture profiles found in
         the sperm fractions of both the vaginal and anal swabs. However, Mr. Lewis was
         "excluded as a contributor" to either of these samples.101

      • John Harris (L91-02007) . This case relates to a 1991 aggravated kidnapping and
         sexual assault. The Crime Lab sent DNA extracts from the victim's vaginal swab
         and a flag to the Kleberg laboratory for DNA testing. The Kleberg laboratory
         eliminated both Mr. Harris and another suspect as potential donors of the semen
         samples on this evidence.102

      • Michael Coleman (L89-11985) . The Kleberg laboratory performed RFLP testing
         on the vaginal swab in this sexual assault case and eliminated Mr. Coleman and
         two other suspects. However, the male profile that Kleberg found matched the




100      We calculated that the combined probability of inclusion based on SERI's DQ Alpha results is
         55 % in the African American population, 42 % in the Caucasian population, and 43 % in the
         Hispanic population.
101      Mr. Lewis is currently serving a 35-year sentence, and Mr. Campbell is on death row.
102      Mr. Harris was sentenced to 45 years in prison following his conviction by a jury.




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         DNA profile of Edward Stringfellow, who was a suspect in a number of sexual
         assaults and is currently imprisoned.103

      • Edward Stringfellow (L90-03607) . As discussed above, Mr. Stringfellow was a
         suspect in numerous sexual assault cases. In this case, he was eliminated as a
         potential donor to semen evidence. However, his DNA profile matched a male
         DNA profile found in the evidence tested in Crime Lab case number L89-11985.

      • Errone Powers (L91-05760) . DNA testing eliminated Mr. Powers and another
         suspect as potential donors to the semen evidence in this sexual assault case.
         However, the testing found the DNA profile of a third suspect, Terrence Clark.

      • Rosalio Alvarado (L91-03246) . In this sexual assault case, the Crime Lab
         requested that an outside laboratory perform DNA testing on a semen stain on a
         comforter. The male DNA profile detected in the stain was that of the victim's
         husband.

       In sum, the Crime Lab's chronic and systematic failure to conduct potentially
probative genetic marker analysis on available evidence in these major crimes against
persons reflects a troubling failure to fully and properly use the available tools of
forensic serology in the criminal justice system during the 1980s and early 1990s. These
failures undermined the ability of the system to properly serve victims', suspects', and
the public's interest in fair and just law enforcement.

                 2.      Improper Collection and Storage of Biological Evidence

        Problems with HPD's forensic analysis of biological evidence during the
serology era began with the collection, packaging, and submission of evidence to the
Crime Lab. We reviewed numerous cases in which failures by investigators to properly
collect and preserve biological evidence and reference standards impaired the Crime
Lab's ability to perform genetic marker testing on the evidence or completely ruined the
evidence for analysis. The problem was exacerbated by lengthy delays between the
collection of samples and analysis by the Crime Lab. These factors contributed to the
deterioration of evidence to the point where serology results no longer could be
obtained.

       Our review found that, during the 1980s and early 1990s, it was not uncommon
for investigators to package evidence containing biological stains capable of being

103      Mr. Coleman also was a suspect in a number of sexual assaults and is associated with at least five
         Crime Lab cases.




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typed, such as bloodstained clothing, in sealed plastic bags without first drying the
stains. Sealed plastic prevents stains from drying and allows bacteria and mold to grow
and decompose or contaminate the biological material, rendering serology testing
extremely difficult or impossible. One example of this problem that we identified
during our case reviews is a 1990 case in which officers investigating a robbery-
homicide submitted a white pullover shirt to the Crime Lab with the request that the
Lab "examine the item for evidence of blood . . . if blood exists, attempt to type and
compare with that of the complainant." The November 26, 1990 Crime Lab report
prepared by Mr. Bolding stated that the shirt "was packaged wet in a plastic bag
allowing putrefaction [sic] to continue. No tests were run on these items."
Mr. Bolding's serology worksheet notes that the shirt had been submitted "in plastic
bag," that he observed the evidence contained "mold, mildew & [was] putrified," and
that therefore "no testing was performed."104

       During the course of our case reviews, we discovered another common problem
with the storage of biological material. The Harris County ME's Office often collected
victim reference standards by taking vials of liquid blood from a victim's body, which
were then frequently stored in freezers by the ME's Office or by the Property Room.
Frozen storage of these vials of liquid blood caused the red blood cells in the blood
                                   —
sample to become hemolyzed ruptured or destroyed with the resulting release of
hemoglobin -- rendering direct ABO and Lewis typing of the reference sample
impossible. For example, in a 1992 homicide investigation, the Crime Lab serologist
reported that "no blood type can be determined due to highly hemolyzed blood
sample" as a result of the improper frozen storage of a liquid blood reference sample.
The blood sample referred in the report was a vial of the victim's liquid blood that the
Crime Lab analyst had retrieved from the Property Room freezer.105 The appropriate
remedy when a blood sample has become hemolyzed due to frozen storage or for some
other reason would be for the serologist to make a stain of the hemolyzed blood and
attempt AE testing. However, we found that Crime Lab serologists rarely attempted
AE testing under these circumstances. Rather, as in this case, the serologist typically
would conclude that no ABO typing results were obtainable from the sample due to
hemolysis.106



104     Lab number L90-06774.
105     Lab number L92-01604.
106     Lewis typing requires intact red blood cells. Therefore, Lewis typing cannot be performed on
        dried bloodstains, and so the opportunity to determine Lewis types from known reference blood
        standards is lost when those known standards become hemolyzed due to frozen storage.




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       We also found that in many cases there was evidence of lengthy delays of weeks
and even months between the submission of bloodstain evidence to the Crime Lab and
the time a serologist began processing the evidence; such delays could well have
contributed to the inability of the Crime Lab to obtain ABO typing results in certain
cases, although there is no reliable way to confirm this in any particular case. In a
number of cases, we found that the improper storage of perishable blood standards
during prolonged delays between collection of the sample and analysis ultimately
rendered comparison between forensic evidence and known reference standards
impossible, thus depriving the investigation of the potential benefit of forensic
serological analysis.

                 3.   Problems with Screening of Evidence for Blood and Semen

        As discussed above, the initial step in forensic serology is to determine through
presumptive testing whether biological material, such as blood or semen, is present on
evidence items submitted for analysis. We observed a number of problems with the
Crime Lab's screening of evidence for the presence of blood and semen, including:
(1) the continued use of the Takayama crystal test as a confirmatory test for blood,
following an initial successful presumptive chemical test, even after the advent of DNA
testing, which led in some cases to an unnecessary consumption of bloodstain material;
(2) the misinterpretation of negative reactions in anti-human testing of blood as
indicating conclusively that blood was of a non-human origin, even though false
negatives resulting from such testing are common; (3) failure to perform confirmatory
tests using antisera testing directed at common animal species (such as dogs, cats, deer,
horses, and cows) following negative results from anti-human blood testing;
(4) improper and inconsistent interpretation of AP presumptive tests for semen; and
(5) lack of appropriate standards and controls in p30 electrophoretic testing for semen.

        A particularly serious deficiency in the Crime Lab's screening of evidence for
semen was the widespread failure to perform microscopic sperm searches. Microscopic
identification of sperm cells (spermatozoa ) has long been a common procedure and is
an essential skill for forensic serologists. Microscopic sperm identification is a more
effective and sensitive test for confirming the presence of semen than AP and p30
testing. Although some semen stains might be negative for spermatozoa (such as
semen contributed by vasectomized males or from badly decomposed samples),
spermatozoa or sperm heads usually outlast the survival of acid phosphatase in semen
stains and their identification represents the most sensitive and conclusive means of
detecting the presence of semen.

      Despite the fact that sperm searches are such a valuable forensic serology tool,
we found that Crime Lab serologists virtually never attempted to identify the presence
of semen in stains on clothing, bedding, or other evidence items by performing


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microscopic examination of smears taken from an extraction of a questioned stain.
Instead, the Crime Lab relied exclusively on AP and p30 presumptive testing for semen
on such items. Although difficult to prove conclusively solely through our case
reviews, we believe it is highly likely that this practice led the Crime Lab in some cases
to incorrectly conclude, based on false negative AP or p30 tests, that semen was not
present on evidence when a sperm search would have in fact confirmed the presence of
semen.

       It also is apparent, from the cases we reviewed in which Crime Lab serologists
performed sperm searches, that they were inadequately trained in sperm identification
and the reporting of the results of such examinations. For example, HPD serologists
generally performed microscopic sperm searches of hospital-prepared smears included
in sexual assault kits submitted to the Crime Lab. However, in cases where the Crime
                                                —
Lab serologist noted "sperm heads only" meaning that the flagellum or tail of the
                                    —
sperm cell was not observable the analyst would incorrectly report that "no
spermatozoa [was] detected."107 Contrary to the Crime Lab's practice in these cases, the
positive identification of the presence of semen based on the microscopic identification
of "sperm heads only" was and remains a generally accepted practice in the forensic
science community and was the norm throughout 1980s and early 1990s. It is incorrect
for the Crime Lab serologists to have concluded that no sperm cells were detected when
sperm heads in fact were observed. The consequence is that, in such cases, the Crime
Lab erroneously reported that evidence was negative for semen when, in fact,
potentially probative genetic marker analysis could have been attempted on the
evidence.

                 4.     Inadequate Documentation of Testing and Results
       In many of the serology cases we reviewed, the documentation regarding
tracking of evidence specimens as they moved through the Crime Lab's testing process
was inadequate and confusing. The same specimens were in many cases described
differently on submission forms, on various worksheets, and, finally, in the Crime Lab
reports. This confusion could have been avoided by assigning unique laboratory
specimen numbers to individual specimens and using those numbers throughout the
case, consistent with generally accepted forensic science principles.

       We also observed widespread problems with the documentation contained in the
serology case files related to testing performed by the analysts. Frequently, test results

107     An example of such a case is the Crime Lab work related to incarcerated defendant Cedric
        Singleton, Lab number L84-05758.




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recorded in raw data logs were maintained separately from the case files, were not
incorporated into individual case files, and were not transferred into the analysts'
worksheets included with the case files. In cases where results from the raw data logs
were transferred into the analysts' worksheets, transcription errors were not
uncommon. Crime Lab serologists rarely prepared a master table showing the test
results for all of the evidentiary items tested, which was a common practice followed in
many serology laboratories at the time. Criminalists in other laboratories commonly
used such tables to keep track of all of the results achieved through genetic marker
testing and to allow them to interpret how results related to individual samples. To
facilitate our reviews, we spent a great deal of time preparing such tables in many cases
in order to fully understand the work performed and results obtained in cases involving
multiple biological specimens.

       Finally, the serology files usually (but not always) lacked drawings, diagrams,
photographs, or written descriptions of evidentiary items examined to document the
appearance, size, and location of stains identified. Such documentation often is crucial
in assessing the significance and probative value of biological stains, and the failure to
include these types of descriptions is inconsistent with generally accepted forensic
science principles.

                 5.     Failure to Use Appropriate Controls and Lack of Quality
                        Assurance

       We found very few ABO typing cases in which Crime Lab analysts ran substrate
controls in connection with AE and AI tests for ABO activity. This failure to run
substrate controls is a very significant departure from the generally accepted forensic
science principles prevailing at the time the work was performed. For the reasons
described in detail below, the absence of substrate controls diminishes the significance
of any of the antigenic activity detected by Crime Lab serologists because it is possible
that the ABO activity detected was present in the material on which the biological stain
at issue was deposited, rather than being attributable to the questioned stain itself .108

108     For a period of time in the early 1980s, Mr. Krueger, who later became the head of the Crime Lab,
        performed serological analysis including ABO typing. Mr. Krueger told us that he ran controls,
        including substrate controls, in connection with his ABO testing and that he recorded the results
        of the controls in his testing worksheets. We reviewed a number of cases analyzed by
        Mr. Krueger, and he was relatively unique among HPD serologists in that he in fact generally
        performed and recorded the results of controls. Mr. Krueger told us that he did not receive
        training at HPD on the use of controls and that he was taught the proper use of controls, which
        he described as "fundamental," while working in a crime laboratory in San Antonio prior to
        joining the Crime Lab in November 1978.




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       With all forms of ABO testing, it is critical to the reliability of the typing results
that, whenever possible, the same ABO testing procedures used to test a stain also be
applied to the unstained regions of the substrate material adjacent, or in close
proximity, to the stain.109 A forensic serologist must use substrate controls to determine
whether the ABO factors detected in the questioned stain were part of the background
material -- i.e., were contained in the substrate before the questioned stain was
                                           —
deposited on the substrate material rather than present in the body fluid evidence
being tested. If background ABO factors are detected in the substrate control, the
significance of the presence of those same factors in the questioned stain must be taken
into consideration in the interpretation of the ABO factors detected.

        For example, if a shirt has a semen stain that exhibits ABO type A activity and
the substrate control test of a cutting of the shirt taken from a spot adjacent to the semen
stain also exhibits ABO type A activity, the type A activity in the semen stain cannot be
definitively attributed to the suspected semen donor. The reason is that, in this
example, the wearer of the shirt might have been an ABO type A secretor and all of the
type A activity could have originated from dried perspiration from the wearer of the
shirt.

        In a 1989 sexual assault case involving suspect Porfino Ayarzagoitia, we found a
rare instance in which the Crime Lab serologist, in this case Ms. Kim, actually used and
recorded the results of a substrate control. However, Ms. Kim failed to respond
properly to the results of using the substrate control. The substrate control run by
Ms. Kim exhibited ABO type A activity. In light of this failure of the control, the results
of the AI test should not have been reported. Nevertheless, Ms. Kim did not report the
failed substrate control separately from the A, B, and H[Oj activity detected in the stain
and chose not to repeat the AI test. Instead, she simply did a subtraction and reported
the ABO types B and O activity on the stain without disclosing the detection of the
type A activity in the substrate control and the evidence stain. This represents an
egregious violation of principles of AI interpretation and alone would raise significant
doubt about Ms. Kim's competence as a serologist.no




109     Substrate material is the fabric or surface upon which the questioned stain was deposited.
no      In this case, Ms. Kim also erroneously reported finding "no activity" on the vaginal swab. This
        finding is contradicted by Ms. Kim's raw data, which indicates that she detected ABO type A
        activity on the vaginal swab, which is foreign to both the victim and Mr. Ayarzagoitia, both of
        whom were ABO type O secretors. These results would have eliminated Mr. Ayarzagoitia as a
        sole contributor to the semen detected on the vaginal swab.




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       We found infrequent documentation of the use of positive and negative controls
in connection with ABO testing. In addition, there is no indication in the worksheets of
the majority of ABO typing cases we reviewed that Crime Lab serologists ran positive
and negative controls alongside the evidentiary sample to detect possible contamination
and to verify that the test procedures were functioning properly. For example, in AE
testing, Crime Lab analysts should run a negative control of unstained cotton thread as
well as positive controls of threads stained with known types A, B, and O samples. The
apparent absence of such controls, and the obvious lack of documentation reflecting
that such controls tested correctly, also are very significant departures from the
generally accepted forensic science principles in the serology community in effect at the
time the work in the Crime Lab was performed.

       Our serology case reviews revealed the absence of written SOPs establishing
requirements and guidelines for serologists across a wide range of issues, including, for
example, the use of substrate and positive and negative controls, the interpretation of
data and test results, the appropriate manner for resolving conflicting test results, the
calculation of statistics, and proper standards for report writing. Needless to say, this
was a significant failure that helps explain many of the problems we identified. The
only guidance Crime Lab serologists had in the 1980s and early 1990s was contained in
"methods manuals" obtained from an outside serological school and the FBI. These
manuals contained step-by-step descriptions of procedures for performing serology
tests but did not establish standards and procedures to be followed by Crime Lab
serologists in the areas described above. The lack of such SOPs is a very serious
departure from generally accepted forensic science principles and undoubtedly was an
important cause of the pervasive problems we observed in the serology cases.in

       Beginning in 1982, Mr. Bolding was the Criminalist III supervisor over the
Serology Section. Typically, serology cases we reviewed were devoid of any indication
that Mr. Bolding or anyone else reviewed the work performed by the Crime Lab's
serologists (1) in order to identify technical errors related to testing and interpretation of
results or (2) for administrative purposes, to ensure adequate and appropriate
documentation of the work performed. Moreover, there is no documentation or other
evidence showing that anyone performed technical or administrative reviews of the
serology cases analyzed by Mr. Bolding, who, ironically, was the sloppiest of all of the
Crime Lab's serologists based on our review of more than 1,000 serology cases. The

in      Mr. Krueger confirmed that the Crime Lab did not have serology SOPs during the period when
        he performed serological analysis in the early 1980s. Mr. Krueger recalled consulting an FBI
        manual about AE and AI techniques and for reference in interpreting the intensity of
        agglutination.




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failure of the Crime Lab to perform routine technical and administrative reviews of
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serology cases and, in cases where such reviews might have been performed, to
                               —
document the reviews also is a very significant departure from the generally accepted
forensic science principles prevailing at the time.

                 6.       Technical and Interpretive Problems with ABO Typing

       We observed a variety of serious technical and interpretive problems with the
Crime Lab's ABO typing work during the period 1980 through 1992. In addition to the
overarching absence of proper controls, quality assurance, and technical reviews, which
generally calls into question the reliability of the work of the Serology Section during
this period, we observed the following common deficiencies and failures specifically
with respect to the ABO typing performed by Crime Lab serologists: (1) the improper
use and interpretation of the Lattes and AE testing systems, (2) the failure to determine
victim and suspect secretor status, (3) the general failure to perform ABO typing on
potentially probative and valuable saliva evidence, and (4) the failure to recognize and
examine critical evidence.

                          a.       Improper Use and Interpretation of Lattes and AE Testing

       We found that there was a widespread misunderstanding among Crime Lab
serologists of the relative merits and limitations of the Lattes and AE typing systems,
which led to an overreliance on Lattes testing, even though it is less sensitive and
effective than AE testing. Crime Lab serologists fundamentally misunderstood and
were confused about the proper interpretation of ABO typing results obtained from
these systems and were generally unable to reconcile seemingly inconsistent Lattes and
AE results. The widespread misapplication and misinterpretation of Lattes testing by
Crime Lab serologists was the consequence of inadequate training and incompetent
technical supervision throughout the period we reviewed.

       The Lattes test is one of the earliest ABO typing systems developed for use on
bloodstain evidence. Lattes testing is designed to detect the presence of antibodies
found in the blood serum of most people. Specifically, the Lattes test is designed to
detect the presence of anti-A and anti-B antibodies in bloodstains. Accordingly, as
discussed above, the Lattes test is a form of "reverse" ABO blood typing.

       The Lattes test can be useful for identifying an ABO type O bloodstain when
anti-A and anti-B antibodies are positively detected in conjunction with properly
administered standards and controls. However, the same does not hold true for using
the Lattes test for the identification of ABO type A, type B, or type AB bloodstains. The
reason is that, while the presence of both type A and type B antibodies confirms the
bloodstain as ABO type O, the absence of one or both anti-A and anti-B antibodies


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cannot be interpreted to confirm the presence of ABO type A, type B, or type AB
antigens for reasons related to variations in the detectability of anti-A and anti-B
antibodies. By comparison, the ABO antigens for which the AE system tests outlast
their corresponding antibodies in dried bloodstains by a wide margin. Thus, the AE
method used to detect ABO antigens is much more sensitive and interpretable than the
Lattes system.

        These interpretive rules relating to Lattes testing are fundamental and were
commonly understood within the forensic serology community during the entire period
under review. Nevertheless, we found numerous cases where Crime Lab serologists
failed to adhere to these interpretive rules, with the consequence that serologists
frequently misinterpreted and misreported Lattes results or reported "inconclusive"
ABO typing results because they were unable to reconcile their interpretation of Lattes
testing with AE results.

        In a 1982 homicide investigation related to currently incarcerated defendant
Larry Norman Anderson,112 Donald Krueger committed this error, placing excessive
reliance on Lattes testing and misinterpreting the Lattes test results. Mr. Krueger found
that the victim was ABO type A. He also performed ABO typing on a number of
evidence items, including Lattes testing only on bloodstains from a knife,
Mr. Anderson's left boot, a trash can lid, the bed of a pickup truck, and droplets found
on the floor of a doorway at one of the crime scene sites. Mr. Krueger's worksheets
reflect that he interpreted his Lattes results for each of these items as ABO type A, and
his April 9, 1982 Crime Lab report concludes that "human blood, type 'A'" was detected
on each item. However, Mr. Krueger did not perform AE testing on any of these items.
The proper interpretation of Mr. Krueger s Lattes results is that the bloodstains he
                                         7



tested could have originated from either an individual of ABO type A or from an
individual of ABO type O whose anti-A antibodies were not detectible in the evidence
samples. Mr. Krueger should have either confirmed his Lattes results through AE
testing or reported the Lattes results as indicating the presence of ABO type A or ABO
type O on the evidence. He did neither.
       We also found numerous cases in which Crime Lab serologists reported ABO
typing results as "inconclusive" based on their misinterpretation of Lattes and AE
results. In a 1985 homicide investigation related to currently incarcerated defendant
Russell Gonzales,113 Christy Kim performed ABO typing work. She performed Lattes
and AE testing on a bloodstain from a flannel shirt. Her worksheet reflects that she

112     Lab number L82-02512.
113     Lab number L85-05308.




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obtained a positive ABO type B result through Lattes testing and a strong ABO type O
result through AE testing. Based on an apparent misinterpretation of her Lattes and AE
results, Ms. Kim reported that "[h]uman blood having inconclusive typing results, was
detected from the flannel shirt." Assuming the test was properly performed, the AE
result Ms. Kim obtained was reliably interpretable as a stand-alone test, with or without
an accompanying Lattes test, because AE is a much more sensitive test for ABO
antigens, which themselves are more stable than the corresponding antibodies toward
which Lattes testing is directed. In this case, a properly trained serologist with a firm
understanding of the science underlying the AE and Lattes testing would have reported
the presence of ABO type O in the bloodstain on the flannel shirt.114

                        b.      Failure to Determine Victims' Secretor Status

        The cases we reviewed reflect that nearly all of the sexual assault kits received by
the Crime Lab included known reference blood standards from the victim .
Unfortunately, we found that Crime Lab serologists often did not perform Lewis typing
of victims' known blood standards, which resulted in the failure to obtain valuable
information that was critical to the determination of the ABO secretor status of the
victims. This failure to perform Lewis typing was particularly problematic in cases
where saliva standards were not or could not be obtained, such as from a dead victim
with a bloody mouth cavity, for AI testing to determine secretor status. Without
determining the ABO secretor status of sexual assault victims, through Lewis testing or
AI testing on known reference saliva standards, it was often not possible for the Crime
Lab to interpret whether ABO factors detected in evidence samples were foreign to the
victim and therefore potentially attributable to the assailant.

       A 1986 case in which a woman was raped and her husband murdered is an
example of a case that suffered from the Crime Lab's failure to determine the sexual
assault victim's secretor status through Lewis typing of her known reference blood
sample.115 The Crime Lab determined that both victims were ABO type A. However,
the Crime Lab did not perform Lewis typing on their known reference blood standards
in order to determine each victim's secretor status, and no known saliva reference
standards for either victim were submitted to the Lab. The Crime Lab found semen
stains demonstrating ABO type A and type O activity on the female victim's
underwear, the vaginal swab included in the rape kit, a sock, and a cutting from the

114     No known reference samples from the victim or suspect were submitted in this case, so it is not
        possible to determine based on the case file whether the ABO type Ms. Kim detected, but failed to
        report, on the flannel shirt was consistent with either the victim or the defendant, Mr. Gonzales.
115     Lab number L86-00766.




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front seat of the vehicle. The Crime Lab determined that the suspect in this case was an
ABO type O non-secretor and, therefore, could not be eliminated as a possible
contributor to the semen stains in this or any other sexual assault case.

        The critical question that went unanswered by the Crime Lab due to its failure to
determine the victim's secretor status is whether the ABO type A and type O activity in
the semen stain evidence was foreign to the female victim. If the female victim were
determined to be an ABO non-secretor, then the ABO type A and type O activity
detected in the semen evidence could not have originated from either the female victim
or this named suspect. Moreover, if the Crime Lab had done the work necessary to
determine the secretor status of the murdered husband and determined that both he
and the female victim were ABO non-secretors, then the semen would have had to
originate from someone other than either the husband or this defendant. These
potentially very probative questions, however, were left unresolved as a consequence of
the Crime Lab's failure to conduct Lewis typing of the known reference blood standards
from the female victim and her husband.

       Lewis testing of known reference blood standards is relatively easy and
straightforward. Lewis testing is conducted directly on the red blood cells of the known
reference standard and can easily be performed in conjunction with the direct ABO
typing of the reference standard. The benefits of routine Lewis typing greatly outweigh
the marginal time and effort required to generate the results regarding the donor's
secretor status. Nevertheless, conducting Lewis testing on victims' known reference
standards was the exception rather than the rule in the Crime Lab.

                      c.   Failure to Test Saliva Evidence

       Saliva secretions extracted from, for example, cigarette butts left at crime scenes
have long been understood by police investigators and forensic scientists to be a
potentially valuable source of evidence for identifying suspects. We were surprised to
find that, while forensic serologists around the world routinely performed ABO typing
analysis on saliva extracted from cigarette butts during the relevant time period, Crime
Lab serologists very rarely, if ever, did so. During our review of over 1,000 serology
cases processed by the Crime Lab between 1980 and 1992, we found no case in which
the Crime Lab screened cigarette butts or breast swab evidence for the enzyme amylase,
which is an indicator of the presence of saliva, and only one case where ABO typing
was attempted on such evidence. The Crime Lab's failure to perform ABO typing on
saliva evidence deprived HPD investigators of a source of evidence that is potentially
highly probative.

       We saw this failure to conduct ABO typing of saliva secretions on the cigarette
butt evidence in a 1980 capital murder investigation. An investigator submitted to the


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Crime Lab two cigarette butts collected from an ashtray next to the murder victim's bed
and requested that they be analyzed "to find out what blood type the smoker was."
The Crime Lab analyst's notes indicate that he did not type the "cigarette stubs due to
the fact that they are contaminated w[ith] ashes and there are no samples to compare
them with." The analyst's assertion that saliva on the cigarette evidence was not
capable of being typed because of "contamination" from ashes is incorrect and reflects a
lack of training and forensic experience. The presence of ashes on cigarette butts, in
fact, is no barrier to AI testing and does not constitute scientific justification for failure
to attempt ABO typing on the items. Moreover, the lack of a victim reference standard
at the time the cigarette butts were submitted to the Crime Lab does not justify the
analyst's failure to screen the items for amylase and to attempt to obtain the ABO type
of the saliva evidence.

                          d.    Failure to Examine Critical Evidence

       As discussed above, our review of serology incarceration cases identified 274
cases in which screening tests performed by the Crime Lab detected blood or semen in
evidence submitted to the Lab, and yet serologists never attempted genetic marker
analysis on the items. By definition, each one of these cases involved a known
          —
suspect who ultimately would be convicted of a serious crime and remains
                          —
incarcerated today from whom a known reference standard could have been obtained
for analysis and comparison to the evidence samples submitted to the Crime Lab.
Therefore, all 274 of these cases are instances in which the Crime Lab failed to conduct
potentially probative examinations of forensic evidence that might have helped
establish the defendant's guilt or innocence.116

        In addition to those cases, we identified 9 serology cases in which the Crime Lab
              —                     —
could have and should have performed a potentially critical analysis, but failed to
do so. In the 1991 sexual assault and murder of a four-year-old girl, of which current
death row inmate Demetrius Simms was convicted, the Crime Lab failed to examine
potentially significant evidence. The victim was abducted on June 1, 1991. Four days
later, on June 5, 1991, her nude and decomposing body was found in a wooded area.
Nearby, police found the victim's shoes and clothing as well as a "torn white shirt."
The police report states that "it is unknown if this shirt was left by the suspect, but it is

116     Because it was so common for the Crime Lab to fail to perform genetic marker typing on
        evidence even where analysts obtained positive screens for blood and semen and there was a
                          —
        known suspect approximately one-third of the serology incarceration cases we reviewed are
                      —
        such cases we did not classify each of these cases as a major case under our system. Rather, this
        issue is more properly characterized as a systemic failure of the Crime Lab to exploit available
        biological evidence.




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suspected that the suspect may have wipe [sic] his penis with the shirt after sexually
assaulting the complainant."

       On June 6, 1991, a homicide investigator submitted a report intended to "notify
crime lab personnel that evidence in this case has been submitted to the crime lab and
requires analysis." The report reflects that among the items of evidence submitted to
the Crime Lab were the victim's shoes and clothing and vaginal and rectal smears and
swabs taken during the victim's autopsy, as well as the "white section of a torn short"
found by investigators at the scene, which they suspected might contain a semen stain
from the perpetrator. Neither the Crime Lab report nor the analyst's worksheets reflect
that any testing was performed on this critical item of evidence to determine whether it
actually contained a semen stain.
                 7.   Failure to Perform and to Report the Results of Enzyme Testing

        Polymorphic enzyme and protein genetic marker testing was a form of serology
testing conducted routinely by the Metropolitan Police Forensic Science Laboratory
( New Scotland Yard ) in London, England by the end of the 1960s. During the 1970s,
crime laboratories in the United States were validating and implementing this type of
genetic marker analysis in forensic serology casework. In 1977, the Federal Government
funded the development of a Bloodstain Analysis System ("BAS") at the University of
California at Berkeley, which resulted in the development of the Groups I, II, and III
electrophoresis systems. The BAS empowered forensic serologists to combine nine
genetically independent marker systems into three electrophoresis procedures, which
exponentially improved the discriminatory power of traditional ABO typing. For
example, the likelihood that two unrelated, randomly-selected individuals have the
same ABO type could be close to 1 in 2. The addition of enzyme and protein testing to
traditional ABO analysis could improve the discriminatory power of serological results
in the same case to as high as approximately 1 in 500.

        Forensic serologists in the United States were widely trained in the use of the
Groups I, II, and III electrophoresis systems during the late 1970s and early 1980s.
Ultimately, the BAS electrophoresis procedures were employed by forensic serologists
in more than 135 crime laboratories in the United States. Although Crime Lab
serologists were familiar with this technology and records of electrophoresis runs
reflect that they experimented with such testing as early as July 1982, it is clear, based
on the records we reviewed, that Lab serologists vastly underutilized and improperly
practiced polymorphic enzyme and protein genetic marker testing throughout the
nine-year period between July 20, 1983 and June 10, 1992. During this period, the Crime
Lab's entire serology staff averaged only 55 electrophoresis runs per year, many of
which appear to be training or proficiency exercises conducted on non-probative
samples and not associated with a case number. We found very few cases in which the


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Crime Lab actually reported the results of electrophoretic testing, even in cases in which
records reflect that testing was performed. This constitutes a striking underutilization
of a widely-accepted and relatively powerful forensic science tool.

        Given the general incompetence demonstrated by Crime Lab serologists in
performing enzyme and protein testing, however, the rarity with which they applied
this technology in actual casework might have been fortunate in retrospect.117 Our
review of the Crime Lab's electrophoresis logbooks found that the Lab's enzyme and
protein testing suffered from poor procedures, inadequate standards and controls,
sloppy recordkeeping, and frequent misinterpretation of electrophoresis results. In
general, the Crime Lab's electrophoresis work was dismal and fell well below principles
of performance generally accepted in the field of forensic serology during the 1983 to
1992 timeframe.

       A 1986 sexual assault case provides an excellent example of electrophoresis
results obtained by the Crime Lab, which in this case actually were reported, that,
under the circumstances, we found to be potentially unreliable.118 Former Crime Lab
serologist Holly Hammond performed ABO and enzyme testing on known reference
samples taken from the female victim and the suspect, Danniel Luken, as well as on
semen evidence on a vaginal swab included in the sexual assault kit. In her July 13,
1987 report, Ms. Hammond stated that the victim was an ABO type B secretor, PGM 2+
and EsD 1. She typed Mr. Luken as an ABO type B secretor, PGM 1+ and EsD 2-1. She
reported finding ABO type B and type H activity, PGM 2- and EsD 1 on the vaginal
swab. Based on the apparent differences in PGM results for the semen stain, the victim,
and Mr. Luken, Ms. Hammond reported that "the suspect Daniel [sic] Luken is
excluded as a possible donor of the semen on the vaginal swab."

       Other overwhelming evidence in this case, however, contradicted
Ms. Hammond's enzyme testing results and, in light of the widespread problems we
observed in the Crime Lab's electrophoresis testing, there is reason to be skeptical about
her exclusion of Mr. Luken. In this case, the victim was a 57-year-old woman who was
sexually assaulted in her townhouse by an intruder who also demanded money. After

117     This, of course, is not the appropriate measure to determine whether the Crime Lab performed
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        properly during the serology era. The people of Houston deserved -- and thought they had a
        Crime Lab that was staffed with an appropriate number of qualified, properly trained, and
        competent serologists who were equipped to take full advantage of generally accepted forensic
        serology techniques and technology to assist just enforcement of the criminal laws.
        Unfortunately, HPD did not provide the people of Houston with a competent serology
        laboratory.
118     Lab number L86-03501.




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raping the victim, the assailant fell asleep in her bedroom. The victim escaped and
called police, who found Mr. Luken still asleep on the victim's bed and immediately
arrested him. Mr. Luken told investigators that he had broken into the victim's house
to collect $800, had sexual relations with her, fell asleep, and was awakened by the
police. The victim confirmed repeatedly that she had not had intercourse within a
month prior to the assault, and, therefore, the semen detected on the vaginal swab was
a result of this assault. If there is a reasonable explanation for the results reported by
Ms. Hammond, we could not confirm it because, in this case, the raw data related to her
testing were not recorded in the Crime Lab's electrophoresis logbook and there are no
photographs of her electrophoresis gels.119 According to the police report in this case,
after a three-day trial, Mr. Luken was convicted in a related case and sentenced to 20
years in prison.
                 8.     Problems with the Reporting of Serology Results

        Throughout the time period covered by this investigation, the final "reports"
issued by the Crime Lab actually are supplements to the HPD investigative police
reports. The Crime Lab's serology reports usually contained only a few sentences,
including a general description of the evidence received by the Lab, a statement as to
whether body fluids were identified on the evidence samples, and a conclusory
statement of the ABO types detected. Frequently, not all typing results were presented
in the report, and sometimes the supplement did not indicate the item of evidence from
which an ABO typing result was obtained. Occasionally, a report included a statement
as to whether the suspect could have contributed to the sample tested, but usually even
that level of analysis was omitted from the Crime Lab's reports. As discussed in detail
below, we found no cases in which the Crime Lab reported the statistical significance of
the ABO typing results it obtained.

                        a.      Selective Reporting of ABO Typing Results

       One hundred and ten of the major issue serology cases we identified involve the
serologists' failure to report potentially probative serology results that the analysts in
fact obtained, as reflected in raw data or in the analysts' laboratory notes or worksheets.
Often, we found an apparent reluctance on the part of Crime Lab serologists to report
typing results obtained from evidence that were not consistent with the known ABO
type of either a victim or a suspect. Ethical standards in the practice of forensic science

119     Although Ms. Hammond's reported electrophoresis results might have been in error, to her
        credit she reported them and interpreted her findings. We have seen a number of examples of
        cases in which other Crime Lab serologists, including Mr. Bolding and Ms. Kim, failed to report
        typing results that appeared to contradict other evidence in the case.




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require full disclosure of all relevant analytical test results without regard to the
potential impact on an investigation or prosecution. Our serology case reviews reflect
many instances of failure to report analytical results that would have weakened the
prosecution's case or strengthened the case for exonerating the defendant.120

       Without speaking to the Crime Lab's two central serologists active during the
                                                              —
1980s and early 1990s -- Mr. Bolding and Ms. Kim about these cases, it is difficult to
determine whether this pervasive pattern of avoiding the reporting of results
inconsistent with the victim or a known suspect is attributable to the analysts' lack of
confidence in their ability to obtain reliable ABO typing results or to scientific fraud of
the most pernicious kind with the motive to secure convictions rather than do justice.
Regardless of the individual serologist's state of mind, however, such practices are
intolerable in a forensic science laboratory and undermine confidence in the integrity of
the criminal justice system .

        Below, we discuss a few of the most troubling examples of cases in which the
Crime Lab obtained potentially probative ABO typing results but appears to have
selectively failed to report those results because they did not support the inclusion of a
suspect.

      • Charles E. Hodge pleaded guilty to one count of aggravated sexual assault and
         nolo contendere to two other counts of aggravated sexual assault.121 He was
         sentenced to 35 years in prison.

         This case involved an alleged sexual assault that occurred on November 12, 1986.
         Following the assault, an examination of the victim was performed that included
         the collection of vaginal and cervical swabs. On March 11, 1987, Ms. Kim found
         semen present on both the vaginal and cervical swabs contained in the rape kit
         and, through AI testing, found ABO type B activity on both swabs. On August 7,

120      There are rare examples of the Crime Lab failing to report potentially inculpatory findings that
         might have aided the prosecution of a known suspect. For example, in a 1989 case involving
         convicted defendant Norman Jackson, Ms. Kim's ABO typing of a bloodstain on the suspect's
         shorts detected ABO type AB, which is a rare blood type that was consistent with the ABO type
         of the victim. Nevertheless, Ms. Kim reported the results of her testing of the stain on the shorts
         as inconclusive. As discussed below, we found that Crime Lab serologists were extremely
         reluctant to report ABO type AB findings, which probably reflects a general lack of confidence in
         their own ability to obtain rehable ABO typing results or a recognition that, for some reason, the
         Lab was producing errant ABO type AB findings.
121      Texas v . Hodge, Cause Nos. 463510, 463511, 463534 (Harris County, Tx.). A robbery charge was
         dismissed at the time of Mr. Hodge's guilty plea.




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         1987, Ms. Kim tested known blood and saliva reference samples from both the
         victim and Mr. Hodge. In her report dated September 25, 1987, Ms. Kim
         accurately reported the results of her ABO testing -- the complainant was
         determined to be an ABO type B non-secretor, and Mr. Hodge was determined to
         be an ABO type AB secretor.

         Based on these results, Mr. Hodge -- an ABO type AB secretor whose ABO
         activity would be detectable in his semen -- could not have contributed to the
         semen sample found on the vaginal and cervical swabs tested by Ms. Kim, which
         demonstrated only type B activity and not type A activity.122 Nevertheless,
         Ms. Kim stated in the Crime Lab report that "[b]y these findings the defendant
         could have contributed semen on the vaginal and cervical swabs." Ms. Kim 's
                                                                             —
         ABO testing actually supported the opposite conclusion that Mr. Hodge
         should have been eliminated as a possible contributor of the samples obtained
         from the vaginal and cervical swabs.

      • Derrick Leon Jackson is a death row inmate who was convicted in a capital
         murder case in which the Crime Lab performed extensive serological testing.123
         In 1988, Mr. Bolding obtained ABO typing results from a bloodstain sample
         taken from the scene of a grisly double homicide that indicated the sample was
         foreign to both the victims and the individual whom investigators originally
         suspected of the killings. At the time, however, Mr. Bolding reported these
         results as "inconclusive," perhaps because the results were not consistent with
         investigators' initial theory about who may have committed the crime. The
         investigation languished until 1995 when Mr. Jackson became the prime suspect.
         Mr. Jackson's ABO type was consistent with the foreign ABO factor Mr. Bolding
         had detected in 1998, which he originally described as "inconclusive." Without
         performing any additional testing, Mr. Bolding altered his worksheets to include
         previously absent conclusive interpretations of his original typing results
         performed in 1988 and issued a new report stating that ABO activity consistent
         with Mr. Jackson's ABO type was found in two bloodstain samples recovered
         from the crime scene.124



122      Moreover, because the victim was an ABO type B non-secretor, the ABO type B activity Ms. Kim
         detected on the vaginal and cervical swabs was foreign to the victim. Therefore, Mr. Hodge
         could have been eliminated as a potential donor of the samples on the swabs.
123      Lab number L88-08130.
124      A more detailed discussion of the Derrick Jackson case appears in our Fifth Report at pages 24-28.




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      • Benjamin Mao and Leonard Francis were suspects in a 1987 sexual assault case
         in which Ms. Kim found that the victim was an ABO type O secre tor, Mr. Francis
         was ABO type B, and Mr. Mao was ABO type O. Ms. Kim detected ABO type O
         activity on the vaginal swab contained in the victim's sexual assault kit.
         However, Ms. Kim reported only that Mr. Francis was ABO type B, that Mr. Mao
         was ABO type O, and that "type 'O' secretor activity was detected on the vaginal
         swab previously submitted." Ms. Kim did not report that the victim was an ABO
         type O secretor and that, therefore, no ABO factors foreign to her were detected
         on the vaginal swab. Accordingly, because no ABO factors foreign to the victim
         were detected on the swab, no semen donor in the male population could be
                                                                       —
         excluded as a contributor of the semen on the swab a fact Ms. Kim did not
         report. Even more significantly, neither Ms. Kim nor another HPD serologist
         who tested the case months earlier reported the presence of ABO type A activity
         detected in a bloodstain on the victim's tennis shoes, which was foreign to the
         victim and to both of the suspects, Mr. Francis and Mr. Mao.125 The unreported
         ABO type found on the tennis shoes certainly was probative in that it suggests
         that an individual other than Mr. Francis or Mr. Mao could have been involved
         in the assault.126

      • Charles Pacholsky pleaded guilty to a 1989 homicide. Ms. Kim performed ABO
         typing of numerous bloodstain samples taken from the victim's residence, where
         the victim was killed, as well as reference samples obtained from the victim,
         Mr. Pacholsky, and two other suspects. Ms. Kim 's August 18, 1989 Crime Lab
         report, written well after investigators had focused on Mr. Pacholsky, states that
         she determined that the victim and Mr. Pacholsky both were ABO type O. She
         reported that one of the other suspects was ABO type A. Ms. Kim's testing
         worksheets, dated May 1, 1989, reflect that she obtained a strong AE result
         indicating the presence of ABO type A factors on the swab of a bloodstain
         collected from the door frame of the front porch at the victim's residence a
         result that was not consistent with the ABO type of the victim or Mr. Pacholsky
                                                                                                 —
         but was consistent with the ABO type of one of the other original suspects in the



125      On March 23, 1987, Mr. Mao pleaded guilty to aggravated robbery and was sentenced to 45 years
         in prison. The kidnapping and sexual assault charges against him were dismissed. Similarly,
         Mr. Francis pleaded guilty to aggravated robbery on April 9, 1987, and the rape, kidnapping, and
         sexual assault charges against him were dismissed. Mr. Francis was sentenced to life in prison.
         Curiously, Ms. Kim's Crime Lab report is dated February 9, 1988, nearly a year after these guilty
         pleas.
126      A more detailed discussion of the Mao / Francis case appears in our Fifth Report at pages 29-30.




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        case. Despite the strength of this result, Ms. Kim reported that her ABO typing
        of the sample from the "front porch door frame" was inconclusive.127

        In other cases, it appears that selective reporting by Crime Lab serologists was
motivated by a concern that the serology results obtained, if reported, might be
questioned by investigators or embarrass the analyst. For example, in a 1987 homicide
case, Ms. Kim reported only that the "victim was determined to have type 'A' blood"
and that "type 'A' human blood was detected on the possible blood samples from house
( #l-#4)."128 She failed to report, however, that she had obtained ABO type O results
from three bloodstains taken from a car and one bloodstain from the house. She also
failed to report detecting ABO type B activity in a bloodstain on a pair of jeans. In other
words, she failed to report any of her ABO typing results on bloodstains that were
inconsistent with the ABO type of the victim .

                      b.        Failure to Report ABO Type AB Results

        We found at least 30 cases in which Crime Lab serologists, including Mr. Bolding
and Ms. Kim, failed to report finding ABO type AB activity in evidence samples. In
case after case, we observed that the Crime Lab analysts reported ABO type AB results
as "inconclusive," or omitted reference to the results of their testing from the Lab report
                                                                  —
altogether. It appears that because ABO type AB is relative rare only approximately 3
to 5 % of the population of the United States is ABO type AB -- Crime Lab serologists
were extremely reluctant to present findings indicating the presence of that ABO type in
evidence samples.

       We believe that this widespread reluctance to report findings indicating the
presence of ABO type AB in evidence stains likely reflects that Crime Lab serologists
were generally uncertain about, and lacked confidence in, their ability to obtain reliable
ABO typing results. Because ABO type AB is relatively rare, analysts may have been
uncomfortable reporting the presence of that ABO type in evidence samples unless the
results clearly were consistent with the known reference sample of a victim or suspect.
Another possibility could be that the analysts recognized that for some reason, not
reflected in any of the materials we reviewed, the Crime Lab as a whole was producing
errant ABO type AB results. Rather than finding the cause for this problem and
developing a solution, Crime Lab serologists apparently believed it would be "safer"



127     Lab number L89-04795.
128     Lab number L87-06353.




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not to report ABO type AB findings altogether.129 In the absence of specific
documentary evidence establishing the reason for the widespread failure to report the
presence of ABO type AB, or witnesses in a position to explain it, we are left to
speculate on the most likely explanations.

       One of the few cases we reviewed in which a Crime Lab serologist reported
finding ABO type AB in evidence is the case related to incarcerated defendant Timothy
Offord.130 In this sexual assault case analyzed by Mr. Bolding in November 1990, he
reported that "Timothy Offord was determined to be a Type 'AB' Lewis secretor."
Mr. Bolding also reported that a semen stain on the victim's underwear "contained
Type 'AB' secretor activity" and, therefore, concluded that "we are not able to eliminate
Mr. Offord as a possible semen donor to the panty sample." It appears that the fact
that, based on analysis of a clean known reference sample, the suspect in this case was
ABO type AB gave Mr. Bolding the confidence to report finding ABO type AB on a
piece of evidence, where his more typical practice was to report the result as
inconclusive.131

                        c.      Failure to Provide the Statistical Significance of Inclusions
                                in Blood Typing Cases

        None of the serology reports we reviewed contained a statement regarding the
statistical significance of an ABO typing result in which a suspect was reported to have
been a potential contributor to the evidentiary sample. Typically, the serology reports
we reviewed contain as conclusions statements, such as "the defendant cannot be
eliminated as the source of the human bloodstain" or "the defendant is included in the
group of possible donors of the semen stain," without any explanation of the
significance of such conclusions. While such conclusions, where supported by
appropriate testing, may be technically accurate, they have the potential to be
misleading when not accompanied by appropriate statistics. Mr. Krueger told us that,
during his brief stint performing serology in the early 1980s, he was specifically
instructed not to include any discussion of the statistical significance of his ABO typing

129     This avoidance approach also is apparent in the Crime Lab's failure to take advantage of
        electrophoretic testing of enzymes and proteins, as discussed above. The Crime Lab never
        mastered the electrophoretic techniques; instead, the Lab serologists decided to forgo this
        extremely valuable tool altogether.
130     Lab number L90-10291.
131     Another case in which Mr. Bolding reported finding ABO type AB in an evidence sample is that
        of Dwight Riser, which we discuss further below. In that case, Mr. Bolding appears to have
        falsified his ABO typing results obtained from an evidence sample in order to report finding ABO
        type AB activity, which happened to match the ABO type of Mr. Riser.




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results in his reports and that such information was to be presented only during trial
testimony.

        As discussed above, ABO blood typing is used to associate or disassociate a
suspect with biological evidence related to a crime. Although probative, ABO blood
typing (unlike modern DNA testing techniques) is not discriminating enough to
develop individualized genetic profiles. At best, it can only provide information about
the statistical probability that a suspect (or victim ) could have contributed to a
biological sample related to a crime.

      The frequencies of the four nominal blood types -- A, B, AB, and O
general population of the United States are reflected in the table below:132
                                                                                            — in the

                      43-45 %           40-42 %           10-12 %             3-5 %

Thus, for example, the potential donors of an ABO type A blood sample (with no other
genetic information about the sample) are any ABO type A individuals, who constitute
approximately 40-42 % of the general population.

       To fully understand the probative value of serological evidence, several critical
questions about bloodstains and body fluid stains must be answered. Such questions
include:

      •   What is the size of the relevant pool of possible donors of the biological stain
          evidence in a particular case?

      •   Could the bloodstain, semen stain, or saliva stain have originated from the
          suspect or victim, or are they scientifically excluded as the source of that
          evidence based on their blood type?

      •   If the stains consist of a mixture of body fluids from more than one person, are
          there any factors present that are foreign to the victim that might include or
          exclude the suspect?

132       The distribution of blood type frequencies can vary depending on demographic factors of the
          population for which the frequencies are presented, such as race, ethnicity, and geographical
          location. The distribution reflected in the above chart is for the general population of the United
          States as reported at http: / / www.aabb.org / All About Blood / FAQs / aabb faqs.htm by the
          American Association of Blood Banks.




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      •   If the suspect is included as a possible source of the stain evidence, what
          percentage of the relevant population might also have been the source of the
          stain?

Without the forensic serologist providing answers to those critically relevant questions
in a lab report, it is difficult, if not impossible, for participants in the criminal justice
system to assign the appropriate weight to the serology evidence.

        Moreover, while the forensic serologist must provide, when necessary, answers
to these questions to the judge and jury in the form of courtroom testimony, it is equally
important for written laboratory reports to explain the significance of results in clear,
unambiguous language, including the proper use of statistics. There are two
overlapping reasons that a laboratory report should always contain an explanation of
the statistical significance of inculpatory genetic marker test results, such as ABO type.
First, laboratory reports often are stipulated to in criminal proceedings, and, therefore,
the written laboratory report must accurately and fully address the significance of
genetic marker test results in the absence of testimony by the forensic serologist or by a
defense expert. Second, a defendant and his counsel must receive sufficient information
to understand the significance of the genetic marker testing evidence.133 In Harris
County, where for various reasons defense counsel rarely had access to the worksheets,
bench notes, and raw data underlying the conclusions stated in the Crime Lab reports,
the need for the statistical significance of ABO results to be included in the police report
supplements themselves cannot be overemphasized.

        We have encountered several cases in which the Crime Lab's failure to report
statistical frequencies resulted in gross overstatements of the significance of the Lab's
ABO typing results. An illustrative example is a 1986 sexual assault case in which
Ms. Kim identified the victim as a type A secretor and reported the suspect as a type O
secretor. Ms. Kim found that stains on a vaginal swab and from the victim's
underpants demonstrated type A and type O activity. Ms. Kim concluded that "[b]y
these results it was not possible to eliminate the suspect as a possible semen donor."
While technically accurate, Ms. Kim 's conclusion was misleading because it was not
accompanied by statistical probabilities explaining its insignificance. In fact, it is not
uncommon for persons of ABO types A, B, or AB also to demonstrate type O activity.
In light of this, no genetic markers foreign to the victim were detected on the vaginal

133       Unfortunately, in the 1980s and early 1990s, the Crime Lab was not alone among pohce agency
          laboratories in failing to consistently include statistics describing the significance of genetic
          marker test results. By the time of the first ASCLD / LAB accreditations in 1982, however, the
          trend among good forensic laboratories was toward inclusion of combined frequency of
          occurrence of genetic marker test results in the body of the written laboratory report.




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swab or undergarments; therefore, no potential semen donor could properly be
excluded. In other words, Ms. Kim's conclusion that the suspect could not be excluded
as a potential semen donor applied with equal weight to virtually 100 % of semen
donors in the male population.134

                        d.       Misreporting of Results
         We have reviewed a number of cases that contain major issues related to the
misinterpretation of serology test results and the inaccurate recording and reporting of
results. These errors include mistakes in transferring data from test run logbooks to
worksheets and from worksheets to Crime Lab reports. These are the types of errors in
interpretation, documentation, and presentation that would have been detected, and
presumably corrected, if there had been an effective supervisory control and quality
assurance system in the Serology Section. As discussed in our earlier reports, however,
it is clear that neither Mr. Bolding nor anyone else routinely reviewed the work
performed by the Serology Section in order to identify technical issues related to testing
and interpretation of results or, for administrative purposes, to ensure that work
performed was adequately and accurately documented. The cases discussed below are
illustrative examples of the errors that went unchecked in the Crime Lab as a result of
the absence of such supervisory and quality controls.

        In the 1990 sexual assault case involving suspect Jose Luna, the victim reported
that a man she later identified in a lineup as Mr. Luna broke into her motel room and
raped her. Ms. Kim determined that the victim was an ABO type O secretor and that
Mr. Luna was an ABO type O non-secretor, meaning that his ABO type is not expressed
in his body fluids, such as semen. Ms. Kim performed ABO typing on various items of
evidence, including a vaginal swab from the victim's sexual assault kit, two stains on
the motel bed sheets, and a white towel. The chart below compares the results Ms. Kim
obtained through ABO testing on these items of evidence, as reflected in her raw data
logbook, with the results she recorded in her worksheets and with the results she
reported in her December 3, 1990 Crime Lab report.

134     In the cases we have reviewed, the failure to provide statistical frequencies has tended to lead to
        misleading impressions regarding the significance of evidence that may be prejudicial to the
        suspect. However, we also have reviewed cases in which the Crime Lab's mantra that "the
        suspect cannot be eliminated as a possible donor" understated the probative weight of genetic
        marker evidence developed by the Lab. In one case, a combination of ABO and enzyme testing
        performed by Crime Lab analysts was very discriminating and would have indicated a potential
        donor pool of less than 10 % of the male population, which constitutes a very powerful serology
        result. The failure to provide statistics in that case significantly understated the probative value
        of the Crime Lab's serology results.




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                                         Kim 's                               Dm* m he r 3, 1990
              I viileme Sample                            Cdse Worksheet
                                       log hook 1                                 Report
               Vaginal Swab         A and O activity      Weak A activity         No activity
               Sheet Stain #2        A and B activity        A activity           A activity
               Sheet Stain # 3       A and B activity        A activity           A activity
                      Towel             A activity        A and O activity     A and O activity

       Ms. Kim's reporting of the vaginal swab as "no activity" is particularly troubling
because the actual results recorded by Ms. Kim in her logbook are particularly
probative with respect to the investigation of Mr. Luna. The ABO type A activity that
the raw data shows Ms. Kim detected on the vaginal swab is foreign to the victim.
Therefore, if the case involved only one possible semen donor (i.e., only one assailant
and no recent consensual partners), then Mr. Luna would be excluded as a potential
contributor to the sample on the vaginal swab since the assailant would be ABO
type A.136 Although this is clearly a case of misreporting the results of ABO testing, we
cannot determine on the basis of currently available information whether the errors are
the result of unintentional mistakes in recording the results reflected in raw data or, as
appears more likely, selective reporting of serology results. At a minimum, however,
HPD lacked an effective quality control regime to detect and correct the inaccurate
reporting of results illustrated by the Luna case.137

       In the 1989 sexual assault case involving suspect Roy Anthony Qualls, we
observed another instance in which the reported ABO typing results were not
consistent with the results reflected in the serologist's raw data notes. In his July 15,
1989 report, Mr. Bolding reported both the victim and Mr. Qualls as being ABO type A
secretors. However, Mr. Bolding's July 6, 1989 raw data worksheet reflects that
Mr. Qualls was an ABO type B secretor. Mr. Bolding also reported that "semen was
detected on the vaginal swab and smear" from the sexual assault kit and that "the
vaginal swab examined contained type 'A' grouping activity." This statement in the
report also is contradicted by the typing results reflected on Mr. Bolding's raw data
worksheets. The raw data shows that Mr. Bolding's AI test results relating to the

135     The results reflected in this column of the chart are our interpretation of the ABO agglutination
        intensities recorded by Ms. Kim in her raw data logbook.
136     If there were the possibility of more than one assailant or a recent consensual sexual partner, then
        Mr. Luna could not be eliminated by the ABO typing results related to the vaginal swab simply
        on the basis of his non-secretor status; however, he could not be the sole contributor of the semen
        detected on the evidence sample.
137     Mr. Luna pleaded guilty to burglary on May 1, 1991, and the original sexual assault charge
        against him was dismissed. He was sentenced to 12 years in prison.




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vaginal swab were negative for ABO type A and type H [O]138 activity and that the
results for type B activity were uninterpretable due to lysis (rupture of the cell wall) of
the type B indicator cells. The bottom line is that Mr. Bolding's reported ABO typing
results, which suggested a potential association between Mr. Qualls and genetic
material on the vaginal swab, were unsupported and contradicted by his recorded ABO
test results. In fact, the raw data demonstrates that the results of Mr. Bolding's ABO
tests were inconclusive as to whether Mr. Qualls was a potential contributor to the
semen sample on the vaginal swab.139

        Finally, in the 1987 sexual assault case involving currently incarcerated
defendant Gary Allen Richard,140 we reviewed another troubling example in which
Ms. Kim misreported the results of her serology testing. Ms. Kim's serology worksheet
dated August 26, 1987 clearly reflects that she determined through Lewis testing that
both the victim and Mr. Richard were secretors, which means that both the victim and
Mr. Richard would be expected to express their ABO types in secretions such as vaginal
fluid or semen. The same worksheet also reflects that Ms. Kim typed the victim as ABO
type O and Mr. Richard as ABO type A. Even though Ms. Kim's Lewis typing results
determined that both the victim and Mr. Richard were secretors, she failed to detect any
ABO activity in semen stains on a rectal swab taken from the victim and on the victim's
skirt. In a typewritten Crime Lab report dated August 24, 1987, Ms. Kim reported --
contrary to the results reflected on her serology worksheet -- that she had determined
that both the victim and Mr. Richard were non-secretors.141 Based apparently on her
failure to detect ABO activity in the semen stains on the rectal swab and skirt samples,
Ms. Kim disregarded her Lewis testing results and, without basis in documented
testing, reported that neither the victim nor Mr. Richard were secretors.




138     There is no common human antibody against ABO type O blood cells. Therefore, in AI testing,
        serologists use an extract from gorse seeds, Ulex Europeus , to cause type O cells to agglutinate.
        The seed extract, called lectin, agglutinates the H antigen found on all ABO cells, but the
        agglutination occurs in much higher concentration in the presence of type O cells. Therefore, the
        reaction to lectin observed in AI testing indicates type H antigenic activity, from which ABO
        type O activity is inferred.
139     Mr. Qualls pleaded guilty to the lesser offense of assault and was sentenced to five months in
        prison.
140     Lab number L87-00797.
141     In this case, Ms. Kim prepared a typewritten Crime Lab report that was not entered into HPD's
        On-Line Offense ("OLO") reporting system. This is highly unusual because by 1987 it was the
        standard practice of Crime Lab analysts to enter their reports directly into the OLO system.




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                        e.      Improper Alteration of Results

       We have identified three cases in which Mr. Bolding was involved in the wholly
inappropriate and unethical alteration of bench notes reflecting the serology results
obtained by either himself or another Crime Lab serologist. Each of these cases reflects
a disturbing lack of integrity on the part of Mr. Bolding. Moreover, Mr. Bolding's
conduct in connection with the case of currently incarcerated defendant Dwight Riser
appears to constitute scientific fraud and perjury.
                                l.       Serology in the Derrick Jackson Case
       Forrest Henderson was a singer with the Houston Grand Opera. His friend,
Richard Wrotenbury, was an elementary school music teacher and also participated in
the Houston Grand Opera. After Mr. Wrotenbury failed to appear for work at the
school on Monday, September 12, 1988, the manager of the building in which
Mr. Henderson and Mr. Wrotenbury shared an apartment entered the apartment and
discovered the men had been brutally murdered. Both men had been beaten and
stabbed, and there were bloodstains throughout the apartment. Mr. Bolding
accompanied HPD investigators to the crime scene and personally collected blood
samples from the apartment in order to perform serological tests on the evidence.

       According to entries in his worksheets, between September 15 and September 23,
1988, Mr. Bolding performed ABO genetic marker tests on over 30 blood samples taken
from various spots at the crime scene. He also typed known reference samples from the
victims and from Calvin Dome, HPD's initial suspect in the killings. Mr. Bolding found
that both of the victims were ABO type A and that Mr. Dome was ABO type O.
Mr. Bolding's worksheets from September 1988 indicate that he failed to observe any
agglutination as a result of AE testing of 13 of the bloodstain samples.142 The
worksheets also reflect, however, that he was in fact able to obtain results indicating
ABO type A activity, consistent with the ABO blood type of both Mr. Henderson and
Mr. Wrotenbury, in certain samples taken from the bedrooms and bathroom in the

142     Mr. Bolding's reported failure to observe agglutination in 13 of the bloodstain samples he tested
        is suspect. In light of the quantity of bloodstain evidence in the apartment and the relative
        freshness of the stains when Mr. Bolding tested them, it seems highly unlikely that he would
        have failed to obtain interpretable results with respect to so many samples. Indeed, bloodstains
        on three of these items of evidence actuahy yielded results when subjected to RFLP testing eight
        years later , in 1996. Since RFLP testing requires a much larger and higher-quality sample to yield
        results than does ABO testing, we question whether the absence of agglutination recorded for
        these samples is either (a) a product of poor analytical technique on the part of Mr. Bolding or
        (b) an instance of drylabbing where Mr. Bolding may have recorded "no agg." without having
        actuahy performed ABO testing on the evidence.




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apartment. In his Crime Lab report dated March 15, 1989, Mr. Bolding reported that he
detected "type 'A' human blood" in these samples.

        Mr. Bolding's September 20, 1988 worksheet also indicates that he obtained
strong Lattes results indicating ABO type O in a sample taken from the "North
Bedroom Door."143 A separate AE test indicated ABO type B activity in this sample. In
his March 15, 1989 Crime Lab report, Mr. Bolding correctly reported the combined
Lattes and AE results for this sample as "inconclusive." Mr. Bolding's September 23,
1988 worksheet records that he also obtained an AE result indicating ABO type B
activity on a "Swab of N. Bedroom Door." In the March 15, 1989 Crime Lab report,
however, Mr. Bolding failed to report that he had found ABO type B activity in this
swab sample from the north bedroom door in the apartment. Instead, Mr. Bolding
reported that "human blood having inconclusive grouping activity was detected on
samples from . . . bedroom door." The unreported ABO type B activity results that
Mr. Bolding obtained from the swab sample taken from the apartment's north bedroom
door were clearly probative because ABO type B was foreign to both of the victims and
to HPD's initial suspect, Mr. Dome.

        HPD's investigation of the opera singers' killings went cold. A break in the case
came in 1995 when the Harris County Sheriff's Department acquired the capability to
use the Automated Fingerprint Identification System ("AFIS"), which enables law
enforcement agencies to compare unknown latent fingerprints with a database of
known prints. In April 1995, HPD submitted a latent fingerprint taken over six years
earlier from Mr. Henderson and Mr. Wrotenbury's apartment to the Sheriff's Office to
run through AFIS. Using AFIS, the Sheriff's Office obtained a match for the unknown
fingerprint, and Derrick Leon Jackson was identified as a suspect in the killings of
Mr. Henderson and Mr. Wrotenbury.

       On April 26, 1995, HPD investigators submitted a blood sample taken from
Mr. Jackson to the Crime Lab for analysis. Mr. Bolding analyzed the reference sample
and determined that Mr. Jackson was ABO type B. At some point, Mr. Bolding
revisited the ABO typing work he had performed over six years earlier. Without
performing any additional ABO testing on the evidence samples and without dating his
changes to the raw data worksheets, Mr. Bolding wrote the finding of "'B' act" on the
September 20, 1988 and September 23, 1988 worksheets under the columns related to



143     Mr. Bolding's original worksheets from September 1988 do not assign identifying numbers to
        individual items of evidence. Rather, the worksheets identify individual items of evidence only
        by Mr. Bolding's descriptions of where the sample was taken from the apartment.




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the two samples taken from the north bedroom door , 144 Mr. Bolding previously
reported his results with respect to both of these samples as "inconclusive" in the
March 15, 1989 Crime Lab report. On June 28, 1995, Mr. Bolding issued another Crime
Lab report in which he stated: "Derrick Jackson was determined to have type 'B'
blood" and "human blood having type 'B' activity was present on two samples taken
from the north bedroom door."

        In March 1998, Mr. Jackson was tried for capital murder in connection with the
slayings of Mr. Henderson and Mr. Wrotenbury. On March 11, 1998, Mr. Bolding
testified about his serology work. On cross-examination, there was the following
exchange between Mr. Bolding and defense counsel regarding Mr. Bolding's ABO
typing results related to samples from the north bedroom door:

        Q:       But you did specifically say that in direct examination that
                 you found Type B blood on the door, is that correct, on the
                 north bedroom door ?

        A:       Yes, sir.

        Q:       On your original report generated in 1988 -

        A.       Yes, sir.

        Q:       — do you show that anywhere?
        A.       No, sir, I don't.

        Q:                                      —
                 So you took those samples and this report was generated
                 at the time you evaluated those samples; is that correct?

        A:       Yes, sir.

        Q:       And, so, at the time you generated those samples, you were
                 inconclusive about that; is that correct?


144     We have located copies of both the original worksheets prepared in September 1988 and the
        worksheets that were altered to include new conclusions about Mr. Bolding's original ABO
        testing results. The original worksheets were obtained from microfilmed archives of the Crime
        Lab file related to the serology work performed in 1988. The amended worksheets were found in
        the paper file related to the DNA analysis that was performed by the Crime Lab in 1996 after
        Mr. Jackson was identified as a suspect. The DNA analysis in Mr. Jackson's case is discussed in
        the DNA section of this report.




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        A:       Yes, sir.

        Q:       So, now nine years later, you're saying Type B; is that
                 correct?

        A:       The Type B activity is basically what I'm saying.145

       Although Mr. Bolding testified about changing his conclusions with respect to
his ABO typing results of the evidence samples taken from the north bedroom door,
defense counsel did not question Mr. Bolding as to why he reported his original
findings as "inconclusive" or the basis for his amended findings. Although we cannot
draw any firm conclusions about Mr. Bolding's motivations based on the information
currently available to us, the most obvious explanation is that Mr. Bolding decided not
to report his original ABO typing result finding ABO type B activity in the swab sample
from the north bedroom door because that result was not consistent with either the
ABO types of the victims or Mr. Dome, HPD's initial suspect. Rather than report his
serology work suggesting that someone other than the victims or Mr. Dome bled in the
room, Mr. Bolding reported these findings as inconclusive. Over six years later, after
Mr. Jackson was identified as the suspect in the killings and his blood ABO blood type
was determined to be consistent with Mr. Bolding's earlier unreported findings,
Mr. Bolding amended his worksheets and issued a supplemental report to reflect a
consistency between the evidence and HPD's current suspect. This case is a troubling
example of the head of the Crime Lab's Serology Section seemingly tailoring his
reported results to fit with investigators' pre-existing expectations.146 Mr. Bolding has
not made himself available to answer questions about this case.
                                 ••
                                 11.      p30 Testing in the Sexual Assault and Killing of
                                          Maria Estrada

       Maria Estrada's lifeless and partially nude body was discovered behind a
restaurant on April 16, 1992. A thin piece of white rope was tied tightly around her
neck, and it appeared that she had been sexually assaulted. On April 20, 1992,


145
        Jackson Tr., Vol. 23, at 181:15-182:11.
146     On March 12, 1998, Mr. Jackson was convicted of capital murder, and he is currently on death
        row. Our review does not question the reliability of Mr. Bolding's original serology tests that
        determined ABO type B activity to be present on the north bedroom door of the crime scene.
        Rather, the issues illustrated by this case are selective reporting by Mr. Bolding and his failure to
        disclose results that potentially exonerated HPD's initial suspect, Mr. Dome, when Mr. Bolding
        originally obtained them.




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investigators requested that the Crime Lab test swabs and smears taken from the victim
for the presence of semen and to perform DNA testing, if possible.

        Notebooks retained by the Crime Lab reflect that on April 24, 1992, Ms. Kim
performed p30 testing for semen on the vaginal, oral, and anal swabs taken of the
victim. Ms. Kim typically recorded the results of her p30 testing for semen in raw data
notebooks into which she affixed the test cards themselves and handwrote her
interpretation of the results reflected on the cards. In this case, Ms. Kim wrote "neg" as
the result of her testing for all three swabs. The notebook reflects, however, that
Mr. Bolding overruled Ms. Kim's interpretation with respect to the results of p30 testing
of the oral swab. A line was drawn through Ms. Kim's "neg" notation regarding the
oral swab and the words "pos read by JB" are written next to the entry. Our review of
the original p30 test card in this case, which was taped onto the same page of the
notebook on which Ms. Kim recorded her results, confirmed that no precipitin band
formed in the well related to the p30 test on the vaginal swab and that, accordingly,
Ms. Kim's original negative interpretation was the correct interpretation of the test.

        On April 28, 1992, an officer reported that "during the last couple of days"
investigators had been in contact with Ms. Kim about whether she found sperm present
on any of the swabs submitted to the Crime Lab. According to the officer, "Ms. Kim
advised us today that there was no sperm in the anus or vagina; but that it was possible
that there was sperm on the mouth swabs. She said that she would have to do further
tests to be sure and that she would not know anything for another day." Ms. Kim's p30
notebook reflects that the day before this report, on April 27, 1992, she re-ran p30 tests
on the swabs, and again the p30 card for this round of testing showed that no precipitin
band formed for any of the samples and that, therefore, the vaginal, anal, and oral
swabs all should have been interpreted as negative for semen. With respect to the oral
swab, however, Ms. Kim recorded "pos (JB)," indicating that Mr. Bolding had
interpreted the results for the oral swab as positive, perhaps again overruling Ms. Kim .
There is no evidence that a microscopic sperm search ever was conducted on a smear
made of the oral swab. On June 4, 1992, Ms. Kim reported that "semen was detected on
the oral swab" and that "no semen was detected on any of the other items analysed
[sic]."

       Without performing any other testing, such as a microscopic sperm search,
Mr. Bolding was not justified in altering Ms. Kim 's interpretation that p30 testing of the
oral swab was negative for semen. The conclusion that the oral swab in this case was




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positive for the presence of semen cannot be supported by the results of either of
Ms. Kim 's p30 test runs.147
                                 •••
                                 m  .    The Dwight H. Riser Case

        Of the more than 1,000 serology cases we reviewed, one of the most troubling
involves ABO typing work that Mr. Bolding performed in 1988 and about which he
testified in the September 1988 trial of Mr. Riser on charges of aggravated sexual assault
and aggravated kidnapping.148 It appears that Mr. Bolding falsified the results of his
ABO testing in this case and lied about his educational credentials while testifying
during Mr. Riser's trial.

       On July 30, 1987, the victim in this case reported to HPD that earlier in the day
she had been kidnapped at gunpoint, taken to a house, and locked in a closet from
which she managed to escape. The following afternoon, a rape kit examination was
performed. That evening, the victim told an HPD sex crimes investigator that, while
she was held captive, she had been sexually assaulted twice. On December 14, 1987,
Mr. Riser was arrested in Ruston, Louisiana. On August 29, 1988, hair, saliva, and
blood samples were taken from him. The following day, these known samples from
Mr. Riser were submitted to the Crime Lab where they were analyzed, along with a
vaginal swab from the victim's rape kit and known blood and saliva samples from the
victim.149

       Mr. Bolding's report, dated September 14, 1988, states he determined the victim
to be an ABO type A secretor and Mr. Riser to be an ABO type AB secretor.150

147     As discussed above, false negative results for semen are not uncommon with p30 testing. This is
        the reason that one of the significant failings of the Crime Lab in performing serology was the
        failure to perform microscopic sperm searches in cases where p30 or AP presumptive tests
        produced negative results. Indeed, PCR-based DNA testing performed by Mr. Chu on a sample
        from the oral swab produced a sperm fraction result that appears to be foreign to the victim.
        Nevertheless, to the extent that the only documentation in this case supporting the Crime Lab's
        reported conclusion that sperm was detected on the oral swab are the results of Ms. Kim's p30
        tests, Mr. Bolding was not justified in overruling Ms. Kim's interpretation of the results of those
        tests as negative.
148     Texas v. Riser, Cause Nos. 481105, 481106 (248th Dist. Ct. Harris County, Tx).
149     Mr. Bolding analyzed the blood and saliva samples. The hair samples were transferred to the
        Crime Lab's trace evidence examiner for examination.
150     The examination worksheet contained in the case file does not reflect any results of ABO typing
        on the victim's known blood sample. The worksheet reflects that AI testing performed by
        Mr. Bolding indicated type A activity on the known saliva sample taken from the victim.




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According to the August 31, 1988 laboratory examination worksheet, Mr. Bolding used
the AI method to obtain ABO typing results from the vaginal swab taken from the rape
kit. AI is a "reverse" typing method; therefore, agglutination observed in the A, B, or
H151 test solution indicates an absence of that antigenic activity in the sample.
Mr. Bolding initially recorded the results of the AI testing on the vaginal swab as
follows:



                                                   +2                 +3

These results indicate that Mr. Bolding initially observed strong agglutination with
respect to the O factor and relatively intense agglutination in the B factor, which
indicated only type A activity on the vaginal swab. These results are consistent with the
blood activity of the victim, who was determined to be ABO type A secretor. Because
Mr. Bolding's original test results failed to demonstrate the presence of any ABO factors
foreign to the victim, no male semen donor can be eliminated as a possible source of the
semen detected on the vaginal swab. As a result, the pool of potential donors in fact
equals 100 % of male semen donors in the population.152

       Mr. Bolding did not report his initial findings. In a handwritten note on the
worksheet, Mr. Bolding states that the results he had originally obtained "changed after
a 30 minute reading" and that agglutination he had originally observed in the B well
disappeared. Mr. Bolding altered his original results to reflect the following observed
agglutination in each of the ABO test wells:
                                         1                  1
                                           1                  1
                                                                      +3



151     For reasons explained in footnote 8 of Appendix B, the H antigen has become synonymous with
        the O antigen in ABO testing.
152     If there were a detectable level of ABO activity in the semen and vaginal secretion mixture on the
        vaginal swab, then the absence of ABO type B activity on the swab would have to eliminate
        Mr. Riser as a possible donor to the mixture (in light of his status as a type AB secretor).
        However, because the ABO type A activity on the swab could have originated entirely from the
        victim, no male can properly be excluded. Therefore, without further information, Mr. Bolding's
        original ABO typing did not eliminate Mr. Riser, but the results simply were not probative as to
                           —                                             —
        whether Mr. Riser as opposed to any other male semen donor contributed to the sample on
        the vaginal swab.




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        Mr. Bolding's explanation that the agglutination he had originally observed in
the B well disappeared "after a 30 minute reading" is scientifically unsupportable. The
AI process begins with cells that are free in a solution and that begin to agglutinate in
reaction to the presence of known ABO antibodies depending on the ABO antigenic
activity present in the sample. The degree of agglutination present in any of the test
wells can be expected only to either remain constant or increase over time.
Agglutination does not reverse and return to a negative state, which is the change
Mr. Bolding reported observing "after a 30 minute reading."

        This is the first serology case we reviewed where the analytical results appear to
                                                       —
have been altered without a reasonable explanation the problems we observed in
other cases related to analytical errors or misinterpretation of results, but not, as here, to
a clear and unsupported alteration of a result that was inconsistent with the analysts'
recorded testing data. The worksheets in this case reflect that Mr. Bolding appears to
have altered the results of his own ABO typing work in a scientifically unsupportable
manner. The effect was to include the suspect in a very small pool of potential semen
donors -- which Mr. Bolding testified at trial was comprised of only 2.5 % of the male
population. In fact, Mr. Bolding's original test results supported the finding of a pool of
potential donors equaling 100 % of male semen donors in the population.

       The significance of Mr. Bolding's scientifically unsupportable alteration to the AI
results for the vaginal swab is that the changed results now indicate the presence of
                                       —
both type A and type B ABO activity which means that there is now ABO activity
foreign to the victim (the ABO type B activity) which could be attributable to Mr. Riser
(who was type AB). Mr. Bolding reported only his altered results, stating in the Crime
Lab report dated September 14, 1988 that "[t]he vaginal swab contained types 'A' and
'B' secretor activities." Mr. Bolding concluded in the Crime Lab report only that "we
cannot eliminate the suspect Riser," and he provided no statistics regarding the
significance of his conclusion (i.e., the percentage of the population that, like Mr. Riser,
cannot be excluded based on Mr. Bolding's ABO typing results).

       On September 28, 1988, just a week after issuing his Crime Lab report containing
the conclusion that Mr. Riser could not be eliminated, Mr. Bolding testified at the trial of
Mr. Riser. According to the trial transcripts, Mr. Bolding testified under oath to his
qualifications as a forensic scientist in the Crime Lab as follows:




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            I have a BS degree an [sic] MS degree in biology and biochemistry
            from Texas Southern University. I have a Ph.D. in biochemistry
            from the University of Texas.153

Assuming the accuracy of the transcript, Mr. Bolding's testimony as to his educational
background was false. According to the transcripts contained in his personnel file,
Mr. Bolding received a B.S. degree in biology, with a minor in chemistry, from Texas
Southern University in 1969 and an M.S. in biology from Texas Southern University in
1975.154 He does not have a Ph.D. degree. 155

        Mr. Bolding's altered AI results never were discussed at Mr. Riser's trial. He
testified that the Crime Lab found "semen on the vaginal swab and the vaginal smear
from [the victim's] sexual assault kit" and that "[w]e found that the blood group
activity in the semen sample also contained both A and B groupings."156

      The Crime Lab report in this case, consistent with all of the serology Lab reports
we have reviewed so far, did not contain any statistics regarding the significance of
Mr. Bolding's conclusion that, due to the reported finding of both type A and type B
ABO activity on the vaginal swab, "suspect Riser" could not be eliminated. At trial,
however, he provided misleading testimony as to the significance of the inclusion of
Mr. Riser based on his finding of type "A" and type "B" activity on the vaginal swab.

        Mr. Bolding testified correctly that Mr. Riser's ABO type AB is present in only
5 % of the human population,157 but then he overstated the statistical significance of the
inclusion of Mr. Riser as a potential contributor to the semen sample found to be
present on the vaginal swab. Mr. Bolding narrowed the population that could have

153     Riser Tr. at 105:3-5 (Sept. 28, 1988).
154     Mr. Bolding told us that he was enrolled in a Ph.D. program at the University of Texas School for
        Biomedical Sciences for one year. He dropped out of the program in 1977 or 1978 because he was
        having difficulty with the course work.
155     In 2003, the District Attorney's Office investigated allegations that Mr. Bolding falsely testified
        that he had a Ph.D. during trial testimony in another case. According to Mr. Bolding's attorney,
        the District Attorney's Office reviewed transcripts from numerous cases in which Mr. Bolding
        testified before deciding not to charge him with misrepresenting his educational credentials in
        sworn testimony. We do not know whether Mr. Bolding's testimony in the trial of Mr. Riser was
        among the transcripts reviewed by the District Attorney's Office, but it seems unlikely given that
        Mr. Riser's trial happened 15 years before the investigation of Mr. Bolding.
156     Riser Tr. at 119:12-13 (Sept. 28, 1988).
157     Id . at 122:1-4.




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contributed to the semen reportedly present on samples from the rape kit to the male
half of the population having ABO type AB -- or 2.5 % of the overall population -- and
included Mr. Riser within the 2.5 % of the population that could have contributed the
semen present on the vaginal swab:

             Q: Can you then pinpoint what you found in the semen sample
                found in 2.5 percent of the people walking out there in Harris
                County? [sic]

             A: That's correct.

             Q: And it just so happens, does it not, Mr. Bolding, that the
                Defendant falls within that 2.5 percent?

             A: Yes, ma'am, he does.158

        This testimony as to the probability that Mr. Riser contributed to the type A and
type ABO activity Mr. Bolding reported finding on the vaginal swab is misleading for
      B
two reasons. First, there is no support in the testimony or in the Crime Lab report for
                                                                        —
the assumption upon which the 2.5 % statistic is premised namely, that the type A and
type B activity Mr. Bolding reported as present on the vaginal swab is associated with
seminal material present on the swab. Second, Mr. Bolding's 2.5 % statistical figure
assumes, without basis, that the type A and type B activity he found on the swab is
attributable to a single donor with the ABO type AB. The 2.5 % figure fails to account
for the possibility that the ABO activity Mr. Bolding reports having detected on the
vaginal swab was attributable to separate type A and type B donors (the victim, for
example, was determined to be an ABO type A secretor and could have contributed to
the ABO activity present on the vaginal swab). Mr. Bolding conceded on
cross-examination that, for this reason, the population of potential contributors was
greater than the 2.5 % of the population he testified to on direct examination.159

      At the conclusion of the trial, Mr. Riser was convicted of aggravated kidnapping
and aggravated sexual assault. He was sentenced to 75 years in prison.160 The Court of
Appeals of the State of Texas affirmed Mr. Riser's convictions in November 1989.


158     Id . at 123:11-17.
159     Id . at 125:7-11.
160     Our discussion of the Riser case, as with all of the cases we address in this report, is limited only
        to our review of the forensic science work performed by the Crime Lab and, if available, the trial
                                                                                         Footnote continued


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         D.       Conclusions and Recommendations

        During the 1980s and early 1990s, the forensic serology work performed in the
Crime Lab under Mr. Bolding fell far below the principles generally accepted in the
forensic science community at the time. The Serology Section failed the criminal justice
system in Harris County both in the work that it did and did not do.

          The Crime Lab failed to perform genetic marker testing, such as ABO typing and
enzyme testing, on evidence in hundreds of cases submitted to the Lab testing that
could have generated probative information about the culpability of suspects who had
                                                                                      —
been identified by HPD investigators.161 Our review of 850 serology cases submitted to
                                              —
the Crime Lab between 1980 and 1992 each of which relate to a suspect who is
                                                  —
currently incarcerated in a Texas prison found that there may be biological evidence in
                       —
274 -- i.e., one third of these cases that never was typed by the Lab. In another 139
cases, the Crime Lab performed ABO typing on the evidence, but never compared it to
known reference samples from the victim and suspect, so the genetic marker data
developed by the Lab was of no use. These 413 cases all involve evidence that, if
properly analyzed using existing technology and compared to reference samples, could
have been used either to help convict a suspect who was known to HPD or to help
exonerate him . All of these cases relate to currently imprisoned defendants convicted of
very serious crimes, such as murders and sexual assaults.

         For the many reasons discussed in detail above, the serology work that the Crime
 Lab actually performed is generally unreliable. We found major issues calling into
 question the reliability of the serology work performed by the Crime Lab or the
                                                      —   —
 accuracy of the results it reported in 180 21% of the serology cases we reviewed that
 relate to a currently incarcerated defendant. This is an extraordinarily high and
 extremely disturbing proportion of cases in which to find problems of this magnitude.

       Based on the findings of our review of 850 serology cases processed by the Crime
 Lab between 1980 and 1992 and which relate to a defendant who currently is in prison,
 we make the following recommendations:


 Footnote continued from previous page
         testimony of Lab analysts. We have not reviewed and make no assessments with respect to other
         evidence in specific cases.
 161     Our review of the Crime Lab's historical serology cases was limited to those cases from the 1980s
         and early 1990s that could be tied to a currently incarcerated prisoner. The total number of cases
         from this period in which the Crime Lab found biological stains in evidence and could have
         performed serological genetic marker analysis likely is in the thousands.




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    •   HPD must determine whether evidence currently exists and can be located in the
        following categories of cases:

        (1)      Cases (274) in which evidence was screened positively for blood or semen,
                 but no ABO typing was performed;

        (2)      Cases (139) in which the Crime Lab performed ABO typing on evidence
                 samples, but no comparison to known reference samples was made;

        (3)      Cases (6) in which DNA analysis performed contemporaneously by an
                 outside laboratory failed to include the suspect; and

        (4)      All cases (180) we identified as containing a major issue with the reliability
                 of the Crime Lab's work or the accuracy of its reported results.

    •   The District Attorney's Office and HPD should notify every prisoner whose case
        falls into one of the above categories that the independent investigation has
        identified a potential issue with the forensic serology work performed by the
        Crime Lab in his case and that HPD is attempting to locate any biological
        evidence that may relate to the prisoner's case. The District Attorney's Office
        and HPD should keep each prisoner who receives such a notice apprised of the
        status of the Department's efforts to locate biological evidence related to his case.

    •   In cases in which HPD is successful in locating evidence containing potential
        biological samples, the District Attorney's Office should notify the prisoner of the
        existence of this evidence, advise him that it is possible that DNA testing could
        be performed on the evidence, and ask the prisoner whether he wants DNA
        analysis to be performed on the evidence.

              In cases in which the prisoner requests DNA analysis, Harris County and
              HPD should arrange for the analysis to be performed without cost to the
              prisoner.

    •   Harris County and the City should appoint a special master to review the
        complete investigative, prosecutorial, appellate, and post-conviction habeas
        record for all 180 of the major issue serology cases we identified that relate to a
        currently incarcerated prisoner as well as the 6 cases in which DNA testing
        already performed did not include the prisoner as a potential contributor of the
        evidence. The purpose of this review should be to determine (1) what role, if
        any, work performed by the Crime Lab played in the defendant's conviction and
        (2) whether DNA analysis of evidence in the case should be performed in order



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        to substantiate the defendant s conviction, regardless of whether serology
                                           7



        evidence processed by the Lab was used in the prosecution of the defendant.

        o In cases in which the special master determines that DNA analysis should be
          performed to substantiate the conviction, Harris County and the City should
          arrange for the DNA analysis of evidence in the case without cost to the
             prisoner.

II .    DNA (1993 - 2002)

       We reviewed a total of 135 DNA cases analyzed by the Crime Lab between the
early 1990s and December 2002, when the DNA Section of the Crime Lab was closed
following an outside audit. We identified major issues in 43 -- or approximately 32 % --
of these cases.162 We reviewed all 18 of the death penalty cases that involved DNA
analysis performed by the Crime Lab prior to the closure of the DNA Section. We
identified major issues in the DNA analysis performed by the Crime Lab in four death
penalty cases involving death row inmates Franklin Dwayne Alix, Juan Carlos Alvarez,
Gilmar Alex Guevara, and Derrick Jackson.

       Sixty-nine of the 135 DNA cases we reviewed were cases in which there had been
a conviction and (as of December 2005) re-testing performed by outside laboratories
had failed to confirm the original DNA results reported by the Crime Lab.163 We
identified major issues in 25 -- or 36 % -- of these cases.164



162     There are 45 suspects or defendants involved in the 43 major issue DNA cases we identified.
        Each of these individuals is identified in Appendix E, "DNA Major Issue Cases."
163     In early 2003, the District Attorney's Office and HPD began a process designed to re-test all cases
                                     —                                          —
        that resulted in a conviction whether at trial or through a guilty plea in which DNA evidence
        analyzed by the Crime Lab may have played a role. The central purpose of the re-testing
        program has been to identify any cases in which the results of DNA analysis performed by the
        Crime Lab cannot be confirmed. As of December 22, 2005, re-testing had been ordered for 416
        cases.
164     As we discussed above with respect to our review of serology incarceration cases, our reviews of
        the Crime Lab's historical cases, including its DNA cases, focused only on the Lab's original
        technical work, the reporting of the Lab's results, and in certain cases the testimony by Lab
        analysts about their results in criminal proceedings. We did not review or consider other
        evidence, such as eyewitness testimony or confessions, that might have been available or
        introduced in these cases. We also make no assessment as to the likely guilt or innocence of any
        of the suspects or defendants, or the appropriateness of any punishment, discussed in our
        reports.




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       As with the serology work performed by the Crime Lab, we observed pervasive
problems both with the quality of the Lab's historical forensic DNA testing and with the
Lab's past practices with respect to the interpretation of its DNA testing results. It is not
surprising that many of the significant and pervasive problems we have observed in the
                              —
Crime Lab's serology work including failure to report probative results, poor
technical work, lack of controls, absence of technical reviews, and poor
                      —
documentation carried over into the Lab's DNA work after the DNA Section became
operational in the early 1990s. Many of the same personnel who were involved with
serology testing became the Crime Lab's DNA analysts. As discussed above,
Mr. Bolding, the lead serologist in the Crime Lab, was instrumental in establishing the
DNA capabilities of the Lab and was the head of the DNA Section from the time DNA
analysis came online through the closure of the Section. The Crime Lab's history of
poor training and inadequate supervision of its serology personnel continued into the
DNA era. Indeed, the historical DNA Section never had competent technical leadership
and was without a Criminalist III line supervisor from 1996 through 2002 when it was
closed.

       Although we observed a wide variety of serious problems with the Crime Lab's
historical DNA profiling work, the following five problems were the most significant
and pervasive:

     •    Failure to report typing results, including potentially exculpatory results.

     •    Prevalence of low quality analytical results, particularly with respect to
          PCR-based DQ Alpha, Polymarker, and D1S80 testing, likely attributable to a
          combination of poor technique on the part of the Crime Lab's DNA analysts
          and contamination.

     •    Failure to use and show proper regard for scientific controls, particularly
          negative controls in PCR testing, and failure to compare typing results at the
          redundant loci during the period when the DNA Section used the COfiler and
          Profiler Plus STR reagent kits to type the same evidence samples.

     •    Misleading reporting of the statistical significance of the Crime Lab's DNA
          profiling results, particularly in cases involving mixture evidence.

     •    Failure to perform and document meaningful technical and administrative
          reviews of the DNA analysts' work as well as the absence of a system assigning
          a unique identifier to track evidence samples from submission through analysis.




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We discuss each of these serious problems with the Crime Lab's DNA work during the
1993-2002 period in detail below.

        A.       Background Regarding DNA Analysis
        The nucleus of each of the 60 trillion nucleated cells in the human body contains
strands of genetic material called chromosomes, along which a person's genes are
arranged. Genes -- which are composed of molecules carrying the body's genetic
                                                                —
information known as deoxyribonucleic acid (DNA) are the fundamental units of
heredity and contain code for individual traits such as hair or eye color. The term allele
refers to characteristics of a specific gene or a specific location on a DNA strand.

       Most human DNA (99.9 % ) is the same for everyone. Therefore, because forensic
scientists are interested in the individualization of samples containing DNA -- e.g.,
                              —
blood, semen, and saliva they focus only on the relatively few chromosomal
             —
locations loci -- that vary widely among individuals. Moreover, a DNA analyst only
needs to examine enough loci to render negligible the statistical probability that two
people could have the same DNA profile purely by chance in order to generate
powerful results. Under current DNA standards in the United States, a DNA profile for
an individual is generally considered to be one which consists of the alleles present at
13 specified chromosomal loci. Generally speaking, there is less than a 1 in 200 billion
chance that two DNA profiles for unrelated persons consisting of alleles present at all 13
of these locations will be the same -- an extremely remote possibility given that the total
population of the world is only about 6.6 billion persons.

       The uniqueness and durability of DNA make it ideal for use by forensic
scientists, and DNA profiling has many advantages over earlier conventional serology
procedures. In addition to the immensely improved discriminatory power of DNA
profiling, the DNA molecule itself is a particularly robust test target compared to the
less stable genetic markers involved in serology. Another significant advantage of
DNA testing is the ability to use a technique called differential extraction by which the
sperm (male) components of a mixture can be separated from the epithelial (female)
components. Differential extraction is, therefore, extremely useful in typing DNA
evidence in sexual assault cases because it is frequently capable of producing two
separate DNA extracts that can be used to produce profiles that represent the DNA
types of the female and male contributors to a mixed sample.165


165     For ease of reference and to provide helpful background for the discussion of significant issues
        we have identified in the historical DNA work performed by the Crime Lab, we include in this
        section a brief general description of certain forms of DNA testing. For a more detailed
                                                                                      Footnote continued


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       The first step in DNA analysis is to determine whether a body fluid stain,
potentially containing DNA, is present on the evidence items. Forensic scientists
perform screening and confirmatory tests to determine what types of body fluids may
be present. After a stain has been identified as blood or semen, several techniques may
be used to extract DNA from the evidentiary sample. With mixed specimens, such as
those typically found in sexual assault cases, a differential DNA extraction procedure is
used to separate the "male" from the "female" components of the mixture. These
different DNA components are then purified and typed separately from one another.

       Restriction fragment length polymorphism ("RFLP") analysis was used in crime
laboratories until the mid-1990s. The RFLP analysis process, while very discriminating,
is time consuming and requires a relatively large amount of non-degraded, high
molecular weight DNA.

      DNA profiling technology made a major advance in the late 1980s with the
development of a technique based on the polymerase chain reaction ("PCR"), which is
an amplification process designed to copy or multiply specific segments of DNA.
Development of the PCR process gave forensic scientists the ability to analyze much
smaller quantities of DNA and made DNA profiling possible in some cases involving
samples too small or too degraded for effective RFLP analysis. The early PCR-based
DNA testing methods used in the Crime Lab were known as DQ Alpha, Polymarker,
and D1S80.

       The most common form of DNA typing used today is a form of PCR-based
typing based on markers known as STRs ("short tandem repeats"). STRs are regions of
human DNA that contain a series of short repeated units. The forensic science
community in the United States has standardized DNA typing using a set of 13 core
STR loci that have relatively high degrees of variation in the population as a whole.
This set of 13 core STR loci is used for entry into the national DNA profiling database
known as CODIS, which is managed by the FBI.

       DNA profiles obtained from biological evidence samples can inculpate or
exculpate an individual with a high degree of scientific certainty. The statistical
meaning of comparisons between DNA profiles developed from known reference
samples and the DNA profiles developed from evidence items must be properly
calculated and reported in the laboratory reports prepared by DNA analysts. The true


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        discussion of the technical aspects of DNA profiling, please refer to Appendix C of this report,
        "Discussion of DNA Profiling Testing Technology and Techniques Used by the Crime Lab."




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significance of a DNA "match" cannot be properly conveyed without an appropriate
estimate of how rare a specific profile is in the human population. Because the
frequency of occurrence of the DNA profile conveys the probative weight of this
evidence, it must be presented accurately and clearly by the DNA analyst in written
reports as well as in court testimony.
        B.       Review of Historical DNA Cases

       We originally drew our sample of DNA cases to be reviewed from cases
analyzed in the Crime Lab from 1991 through the closure of the DNA Section in 2002.
Similar to our experience when beginning our review of the Crime Lab's historical
serology cases, we found that our original sample of historical DNA cases included a
large number of cases that did not involve the performance of substantive analytical
work and, therefore, would not provide a basis to assess the quality of DNA analysis
performed historically in the Lab. In order to identify cases involving substantive
genetic typing work, we developed a database of cases derived from raw data records
retained by the Crime Lab; then, with the assistance of PwC, we modified our sample
based on that database. Through this process, we identified a total of 1,288 substantive
DNA cases, from which PwC developed a sample of 296 cases.166 In the fall of 2005, we
also began reviewing all 18 death penalty cases that involved DNA analysis and
additional DNA cases that by then had not yet been confirmed through the
post-conviction re-testing program .

       By the time we issued our Fourth Report in January 2006, we had completed
reviews of 67 DNA cases, including all 18 of the DNA death penalty cases except for the
case of Derrick L. Jackson.167 We identified major issues in 27 of these cases, or
approximately 40 % of the DNA cases we had reviewed to that point, including in three
death penalty cases.168


166     As described in the Phase II Plan, the original sample size PwC developed for DNA cases (which
        was derived from a population including both substantive and administrative cases) totaled 358
        DNA cases.
167     We were unable to complete our review of the Derrick Leon Jackson death penalty case prior to
        issuance of our Fourth Report because the original RFLP autorads related to that case were
        missing from the Crime Lab's raw data records. On February 3, 2006, the Crime Lab produced a
        recently-discovered box containing, among other things, case notes, raw data materials such as
        RFLP autorads and DQ Alpha test strips, and tubes of DNA extracts. The missing autorads
        related to the Derrick Leon Jackson case were in the box.
168     The three death penalty cases involving major issues that we discussed in our Fourth Report
        relate to death row inmates Franklin Dewayne Alix, Juan Carlos Alvarez, and Gilmar Alex
        Guevara. In our Fifth Report, we discussed the Crime Lab's work in a fourth major issue DNA
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        In light of the gravity of the major issues identified through our case reviews
during the fall of 2005, we recommended to the Stakeholders Committee and to HPD
that we focus the review of the Crime Lab's historical DNA cases on the 69 DNA re-test
cases which, as of that time, either (a ) had not yet been tested by outside laboratories or
(b) failed to be confirmed through re-testing by outside laboratories. We did so because
it was clear that those cases pose the greatest risk for potential injustice and because our
completed reviews of over 60 cases already found such a high proportion of deeply
flawed cases that continuing with the originally selected sample made little sense we
had already learned that the error rate was unacceptably high. In December 2005, the
                                                                                                   —
Stakeholders Committee and HPD approved our recommendations, and we changed
the focus of our DNA case reviews accordingly.

        By April 2006, we completed our review of all 69 of these DNA conviction cases
in which either the evidence had yet to be re-tested or the Crime Lab's original DNA
results had not been confirmed through re-testing. In total, we reviewed 135 DNA
cases analyzed by the Crime Lab from the entire period before December 2002 in which
the Lab performed DNA analysis. We identified major issues in 43 -- or approximately
32 % -- of these cases.169

        C.       Serious Problems Identified in the DNA Cases

      Virtually every historical DNA case we reviewed reflected technical,
administrative, or reporting deficiencies that would have been unacceptable in a
properly managed forensic DNA laboratory during the 1990s and early 2000s.
Although many of these cases involve technical or interpretive errors by individual
analysts, the most significant and troubling problems in the historical DNA Section
were systemic. The head of the DNA Section, Mr. Bolding, had no experience
performing DNA analysis and, as revealed by the 2002 DPS audit, lacked the
educational and technical credentials to be a DNA technical leader under the FBI's
DNA Advisory Board ("DAB") guidelines. The historical DNA Section never had a
competent Criminalist III line supervisor, and, between 1996 and 2002, that position was
vacant. HPD's DNA analysts were poorly trained, guided by woefully inadequate and


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        death penalty case, that of Derrick Leon Jackson. As discussed above, we also identified major
        issues with the reporting of serology results in the Derrick Leon Jackson case.
169     It is important to note that, because we adjusted our review to focus on cases that had not been
        confirmed through re-testing, our review of DNA cases was not based exclusively on a
        statistically-based sampling methodology. Therefore, this rate of occurrence of major issues
        cannot be extrapolated to the set of all DNA cases analyzed by the Crime Lab.




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disorganized SOPs, and isolated from the better practices of other forensic DNA
laboratories. Until 2002, the DNA Section was never subject to an outside inspection.
In December 2002, the DPS audit highlighted myriad bad practices that had their roots
in the Crime Lab's serology era and resulted in the Section's closure.

        While many cases processed by the historical DNA Section were not "wrong"
in fact, the alleles detected and reported by HPD's analysts were real alleles, as
                                                                                         —
confirmed by re-testing -- the bad practices described below created an environment in
which serious and prejudicial errors in casework were virtually inevitable. Even those
historical cases that do not contain major issues causing us to question the reliability of
the DNA analysis or the accuracy of the reported results were produced in an
atmosphere that was neither rigorously scientific nor scrupulously professional.

       The problems we observed in the historical DNA cases are not attributable to
individual rogue analysts who departed from the Crime Lab's approved practices. On
the contrary, the widespread and serious deficiencies in the historical Crime Lab were
consistent with the Crime Lab's accepted and understood practices. Thus,
responsibility for the serious and pervasive problems with the historical DNA cases
rests squarely with leadership failures that can be traced across the entire management
structure over the Crime Lab, including (1) Mr. Bolding in the DNA / Serology Section,
(2) Mr. Krueger, the director of the Lab, and (3) the Department's command staff
overseeing the Lab.

                 1.   Failure to Report Potentially Exculpatory Results

       During our review of the Crime Lab's historical serology work, we found a
disturbing number of instances where serologists appeared to be unwilling to report
typing results that were inconsistent with the known ABO type of either a victim or a
suspect. This indefensible practice continued into the DNA era since many of the same
criminalists who had been serologists, including Mr. Bolding and Ms. Kim, became the
Crime Lab's senior DNA personnel. With the adoption of DNA typing, the Crime Lab's
practice of failing to report probative -- and in some cases potentially exculpatory
DNA typing results became even more egregious.
                                                                                     —
       As with serology, it appears that this pattern and practice of avoiding the
reporting of DNA typing results that were not consistent with a victim or known
suspect is attributable to the DNA analysts' lack of confidence (perhaps justified ) in
their ability to obtain reliable results. It is apparent that DNA analysts in many cases
tended toward reporting only those results that, from their perspective, were "safe" in
the sense that they were consistent with other evidence in the case or with the
investigators' expectations. Far from being the deviant practice of a few unethical
analysts, however, such selective reporting was an accepted practice in the historical


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DNA Section under Mr. Bolding and appeared to have its roots in the Crime Lab's
serology work.

       DNA analysts' reluctance to report results that did not include the known profile
                                                                 —
of the victim or of a suspect is illustrated by three cases Franklin Dwayne Alix,
                                         —
Garland Davis, and Michael Mingo in which the Crime Lab failed to report
potentially exculpatory RFLP results in favor of reporting less definitive and less
powerful PCR-based typing results that appeared to reflect an association between the
suspect and the evidence in the case.170 In each of these cases, RFLP testing failed to
detect the suspect's profile in some key items of evidence. Based on the RFLP results,
the analysts in these cases failed to exclude these suspects as a source of the DNA.

       Although very powerful and discriminating, Crime Lab analysts understood
RFLP testing to be less "sensitive" than PCR testing and believed that RFLP testing
could be missing alleles present in the sample that might be detected through the PCR
amplification process. Accordingly, the analysts mischaracterized their completely
valid RFLP results as "inconclusive" and performed PCR testing. Because of a
combination of poor technique, failure to exercise appropriate controls, and
contamination, the Crime Lab's PCR testing frequently produced an abundance of
        —
alleles some real, some artifacts from the DNA amplification process from which an —
association with the suspect could be interpreted. In these cases, analysts chose to
report these less reliable, and in some cases highly questionable, PCR results that
included the suspect while burying their RFLP results. When such selective reporting
was coupled with the Crime Lab's systematic exaggeration of the statistical significance
of these less discriminating PCR results, a very significant risk of injustice emerged.

         Franklin Dewayne Alix. On August 26, 1998, Mr. Alix was convicted of capital
murder for the killing of Eric Bridgeford. During the sentencing phase of Mr. Alix's
trial, the State introduced evidence of other crimes attributed to him, including the
murder of Gregorio Ramirez. In February 1998, Ms. Kim performed DNA testing on a
piece of bloodstained "white gauze" after being told by an HPD investigator that he
was "very positive that the blood on the gauze belongs to the suspect [Mr. Alix]." After
performing PCR-based DQ Alpha, Polymarker, and D1S80 tests, Ms. Kim concluded
that "the DNA patterns detected from the gauze are consistent with a mixture of DNA
patterns from Gregorio Ramirez, Frank Alix and one other donor."171


170     We summarize each of these three cases below. More detailed discussions of the Ahx, Davis, and
        Mingo cases appear in our Fourth Report at pages 35-41 and in our Fifth Report at pages 41-43.
171     Although Ms. Kim indicated on her worksheets that she ran both positive and negative controls
        in conjunction with her DQ Alpha, Polymarker, and D1S80 tests, photographs of the assays
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        However, Crime Lab analyst Raynard Cockrell failed to report the DNA typing
results obtained by RFLP testing performed on the same bloodstained gauze, which
failed to show any connection between the evidence sample and Mr. Alix. The report
issued by Ms. Kim states that "no DNA pattern was detected from the gauze" as a
result of Mr. Cockrell's RFLP analysis. Our review of the original RFLP
autoradiographs ("autorads"), contained in binders maintained by the Crime Lab
separately from the paper Lab file, determined that, contrary to this statement in the
Lab report, the RFLP tests Mr. Cockrell completed in March 1998 contained very clear
typing results for the three reference and evidence samples. With the exception of one
or possibly two faint extraneous bands on the autorads, all of the bands on the autorads
pertaining to the gauze sample correspond with the bands associated with the victim's
reference sample.172 In sum, the Crime Lab failed to report (and, in fact,
mischaracterized) the clearly probative, and potentially exculpatory, RFLP typing
results it had obtained in favor of less reliable, but inculpatory, PCR-based results.173

       Garland Davis . In this 1993 case related to a brutal gang rape of a woman, the
Crime Lab performed both RFLP testing and DQ Alpha testing in order to assess
whether Mr. Davis could be associated with semen detected on a rape kit vaginal swab,
a rectal swab, and a stain located on the rear waistband of shorts worn by the victim.


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        related to these tests do not reflect evidence of such negative controls. We reviewed photographs
        taken of the typing strips produced in other cases by Ms. Kim both before and after the testing in
        the Alix case. In all of the other cases, we found the negative control typing strips in the
        photographic record. The absence of photographic evidence that negative controls were in fact
        run calls into question the reliability of Ms. Kim's test results.
172     While it is possible that these faint bands might indicate that Mr. Cockrell's RFLP testing detected
        the presence of one or two alleles consistent with Mr. Alix in the gauze DNA sample, a more
        likely explanation is that the faint bands reflect carryover resulting from poor RFLP technique.
        The RFLP autorads reflect that Mr. Cockrell placed the gauze sample and Mr. Alix's known
        reference sample immediately adjacent to each other in the gel without an empty lane separating
        the samples. This improper technique raises the possibility that DNA from Mr. Alix's reference
        sample carried over into the adjacent lane designated and occupied by the gauze DNA sample.
173     An outside laboratory re-tested the bloodstain found on the gauze. On November 5, 2003, the
        outside laboratory, which used contemporary STR profiling technology, reported only
        Mr. Ramirez's DNA profile in the gauze bloodstain and that "Franklin Alix . . . is excluded as a
        possible source of this DNA." A second re-test by another outside laboratory was performed on
        the unstained portion of the gauze under the theory that, if the suspect used the gauze as a mask
        during the killing of Mr. Ramirez, there might be contact DNA present in the unstained areas of
        the gauze. On December 30, 2004, the second outside laboratory reported that "there was an
        insufficient amount of DNA obtained from . . . scrapings of the gauze . . . to obtain a profile."




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       Similar to the Alix case, the Crime Lab obtained strong RFLP results on three
probes run by Lab analyst Mary Childs-Henry. The first probe detected the same
non-victim DNA profile in both the male fraction of the stain on the waistband of the
victim's shorts and the male fraction of the stain on the vaginal swab, neither of which
originated from Mr. Davis or a second suspect tested in this case. The second and third
probes also excluded Mr. Davis and the second suspect as contributors to the male
fraction on the vaginal swab. Even though the RFLP results from each of the probes
were strong and clear and even though none of the three probes detected Mr. Davis's
profile in the samples, the Crime Lab reported that the RFLP "results in this case are
inconclusive because no conclusive patterns due to male (sperm ) DNA could be
developed."174 Moreover, the Crime Lab failed to report the unknown non-victim
pattern identified through RFLP testing on the male fraction of the vaginal swab and
the sample from the victim's shorts.175

        Also similar to the Alix case, while the Crime Lab failed to report its probative                —
                                  —
and potentially exculpatory RFLP results, it did report the results of DQ Alpha testing
performed by DNA analyst Joseph Chu that found a DNA profile consistent with
Mr. Davis on the male fraction of the vaginal swab. The Crime Lab report stated its
DQ Alpha test conclusions as follows: "The DNA type detected on the vaginal swab
does match the DNA from Garland Davis (based on more than one semen donor)."
Because the victim also has the only DQ Alpha allele (1.2) that could be directly
associated with Mr. Davis (and, therefore, the victim could have been the source of the
1.2 allele in the evidence sample), Mr. Chu's DQ Alpha results should not have been
considered inculpatory.176

       Michael Mingo. Mr. Mingo's case pertains to the investigation of a suspected
sexual assault of a 12-year-old girl that occurred on December 30, 1996. In January 1998,

174     The meaning of the Crime Lab's stated explanation of the supposed inconclusive nature of the
                      —
        RFLP results "because no conclusive patternsdue to male (sperm) DNA could be developed"           —
        is unclear.
175     There is no indication that this unknown DNA profile ever was compared to known reference
        samples obtained from any of the other three men suspected of being involved in the sexual
        assault.
176     Re-testing of DNA evidence in the Davis case by an outside laboratory failed to confirm the
        Crime Lab's reported findings. In a report dated March 4, 2004, the outside laboratory reported
        that it had analyzed cuttings from several forensic evidence items, including a cutting from the
        rear of the victim's shorts near the waistband. Mr. Davis was excluded from all of the samples
        tested by the outside laboratory, including the victim's shorts. In addition, the outside laboratory
        developed a profile of the semen donor that was never compared with a known suspect profile.
        These findings are consistent with the Crime Lab's unreported RFLP results.




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DNA analyst Raynard Cockrell performed RFLP testing on extracts taken from the
vaginal swab included in the victim's sexual assault kit. He initially ran two RFLP
probes. He exposed the first probe for two hours and then extended the exposure
overnight, and he exposed the second probe for one and a half hours. Neither of these
RFLP tests on the vaginal swab included a profile consistent with Mr. Mingo. A
telephone log in the Crime Lab file reflects that, on January 21, 1998, Mr. Cockrell told a
prosecutor in the District Attorney's Office that the "suspect could not be ruled out"
and that "PCR analysis might be able to give a conclusive result." On January 23, 1998,
Mr. Cockrell informed a second prosecutor that "her suspect could not be ruled out"
and that "PCR analysis [is] needed." He also noted that "SUSPECT is in jail" and that
the trial currently was scheduled for the following Monday.

        On February 5, 1998, Mr. Cockrell ran a third RFLP probe on the extract from the
vaginal swab. After relatively short exposure times of only two hours and then four
hours, faint bands consistent with the victim's DNA profile were apparent on the RFLP
autorad. Also visible on the autorad were two very faint bands suggesting the presence
of a DNA profile that was consistent with neither the victim nor Mr. Mingo. In other
words, this third autorad indicated a potential unknown contributor to the sample from
the vaginal swab. In light of these faint results, the appropriate action would have been
for Mr. Cockrell to subject the third probe to a longer exposure time in order to further
develop this DNA profile related to an unknown suspect potentially present on the
vaginal swab. Instead, Mr. Cockrell prematurely terminated the third probe, thus
failing to permit these faint bands to develop.

       On February 19, 1998, Mr. Cockrell and DNA analyst Joseph Chu advised the
prosecutor that "RFLP results are inconclusive" and that Mr. Chu would perform PCR
analysis. The results of Mr. Cockrell's RFLP testing, including the potentially
exculpatory bands detected by the third RFLP probe suggesting the presence of the
victim's and an unknown person's DNA profiles, were never reported.

                                                       —
        Mr. Chu then performed PCR-based tests specifically, D1S80, Polymarker, and
                      —
DQ Alpha tests on the evidence sample. In his February 26, 1998 report, Mr. Chu
reported that "the DNA type detected on the vaginal swab matches the DNA type of
Michael Mingo." Consistent with the DNA Section's flawed and misleading practice of
reporting statistical calculations of the suspect's reference sample rather than the
statistical calculations of the profile detected in the mixture sample, Mr. Chu reported
that "the DNA type of Michael Mingo can be expected to occur in 1 out of 300,000
people among the American Black population."177 We calculated the relevant frequency

177
                                                                                          —
        This statement by Mr. Chu is completely irrelevant to the significance of the association
                             —
        reported as a "match" between Mr. Mingo and the evidence based on Mr. Chu's PCR testing.
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estimate, based on Mr. Chu's PCR-based results, to be 1 in 1,022 in the African
American population, 1 in 157 in the Caucasian population, and 1 in 135 in the Hispanic
population.178

                 2.     Poor Quality PCR Results

       As discussed above, we were alarmed by the frequency with which the Crime
                             —
Lab's PCR-based testing D1S80, Polymarker, and DQ Alpha generated multiple —
DNA profiles that were matched to a suspect and the victim, plus one or more
unknown donors. The analysts' failure to recognize the potential problem of
consistently obtaining multiple DNA profiles from evidence samples where there was
no clear information that these samples were likely to be mixtures of body fluids from
more than one person reflects a lack of critical thinking on the part of the Crime Lab's
DNA staff and a lack of training on the nature of PCR-based analysis and its
susceptibility to contamination.

      It appears that at some point the Crime Lab became concerned about PCR
contamination. In Mr. Bolding's files, we found a memorandum from Mr. Bolding
dated March 2, 2001 and addressed to Mr. Chu, a prolific PCR analyst. In the
memorandum Mr. Bolding wrote:

        ON [sic] February 21, 2001, we spoke about contamination in the PCR
        Process, I requested a [sic] documentation of the contamination and what
        steps you took to alleviate the problem. To date I have not received that
        document.

        The corrections for contamination problems, via formal document are due
        in my hands on Monday Mar. 5, 2001 by 10 a.m. This document should be
        in a form that can be presented to defense experts.




Footnote continued from previous page
        The Crime Lab's consistent practice of including misleading statistical calculations in mixture
        cases is the most pervasive of the major issues we have identified in the Lab's DNA cases. This
        issue is discussed further below.
178     The outside laboratory that re-tested the vaginal swab in Mr. Mingo's case was able to develop a
        partial DNA profile. The outside laboratory calculated a frequency estimate of 1 in 59 for
        unrelated individuals in the African American population. The District Attorney's Office and
        HPD consider this to be a case in which the Crime Lab's original DNA typing results were
        "confirmed" by the outside laboratory.




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Mr. Chu could not recall whether a specific incident or event gave rise to Mr. Bolding's
directive that he document and address contamination problems related to the PCR
process. Mr. Chu told us that he believed Mr. Bolding's memorandum related to
concerns about contamination at the DNA extraction stage, before evidence was
transferred to the DNA analysts for testing. He also could not recall what action, if any,
he took in response to this memorandum. We have found no evidence of any response
to Mr. Bolding's directive that contamination in the PCR process be investigated.

      In addition to the issues with the PCR-based testing in the Alix, Davis, and
Mingo cases discussed above, in this section we describe further the problems we
observed in the PCR-based typing performed by the Crime Lab. We also highlight the
Reginald Jackson case to illustrate the effects that a combination of poor analytical
technique and possible contamination had on the Crime Lab's use of D1S80, a
PCR-based test.

                        a.      Unreliable Allelic Results and Interpretation in PCR Cases

        We reviewed many cases in which PCR-based testing generated multiple DNA
profiles which were matched to a suspect, a victim, and one or more unknown donors.
The frequency with which the Crime Lab's PCR-based work showed an abundance of
alleles implicating multiple donors raises significant concerns about the quality of the
DNA work performed. This situation was exacerbated by the absence of a quality
assurance system to detect and remedy technical problems.179

       Critical features of both DQ Alpha and Polymarker are the inclusion of control
dots appearing on the test strips (the "C" dot in the case of DQ Alpha, and the "S" dot
in the case of Polymarker). A DNA analyst must be very cautious in interpreting any
dots that appear fainter than the control dot on the test strip. Appropriate positive and
negative controls must be run with each test, or the PCR test results may be invalid.
                                                       —
Ms. Kim's PCR-based results in the Alix case which generated a profile consistent
                          —
with multiple donors were not replicated by either the Crime Lab's RFLP testing or
by the re-tests performed by an outside laboratory. Ms. Kim 's typing results in the Alix

179     Although the cases we describe in this section involve the early forms of PCR-based testing  —
                                            —
        DQ Alpha, Polymarker, and D1S80 we also have observed problems with analysts' technical
        proficiency and use of controls in RFLP and STR testing. For example, Dr. Sharma, a former
        Criminalist III supervisor in the DNA Section, had a reputation in the Crime Lab for being unable
        to obtain RFLP results, and we reviewed at least one case that confirmed Dr. Sharma's inability to
        obtain RFLP results even from a sample that contained a relatively large amount of high
        molecular weight DNA. Later in this section of the report, we discuss problems we identified in
        the DNA Section's failure to use the D3/ D7 control in STR testing prior to the 2002 closure of the
        DNA function.




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case are highly questionable due to the absence of evidence that she ran negative
control strips in connection with her PCR-based tests.

       We are concerned that the multitude of alleles that Crime Lab analysts often
identified through their PCR testing might, in some cases, be attributable not only to
poor techniques but also to possible contamination. Generally accepted forensic
sciences principles applicable during this period required forensic laboratories to
maintain a database of profiles of each member of the laboratory for every method
employed by the laboratory in order to help detect contamination by lab analysts. At
our request, the Crime Lab provided us with a list of employee DNA profiles. This list
of profiles does not include typing information related to the Polymarker or D1S80
systems. We also have found no evidence that the Crime Lab staff used this
information when reviewing DNA typing data as a check against possible
contamination.

       Finally, we found that the Crime Lab's DNA analysts rarely conducted re-testing
of samples that produced questionable results. Rather than re-test such samples, the
Crime Lab's analysts tended to ignore some questionable signal bands, dots, and peaks,
while proceeding to interpret other similarly questionable signals as alleles possibly
originating from multiple donors.180 The ambiguity of the DNA analysts' results in
mixture cases was hidden by the Crime Lab's practice of reporting probability statistics
based on known reference samples rather than on mixture results, with the effect that
weak DNA typing results were made to appear more discriminating than they were.
As discussed later in this section, this practice grossly exaggerated the significance of
the DNA profiles reported by the Crime Lab in 23 of the historical DNA cases we
reviewed.

       Below are two cases analyzed by the historical Crime Lab that illustrate the DNA
Section's troubling tendency to detect and report multiple profiles through PCR testing.

       Juan Carlos Alvarez. The DNA testing performed by Ms. Kim in connection
with the capital case of Juan Carlos Alvarez is an example of the Crime Lab reporting
conclusions based on weak results. In the Alvarez case, Ms. Kim performed DQ Alpha,
Polymarker, and D1S80 testing on DNA extracted from separate bloodstains located on
firearms evidence -- on the stock and on the barrel of a rifle and on a shotgun. The only
reference samples that Ms. Kim ran were those of two victims, Jose Varel and Hugo


180     An example is the Davis case, discussed above, in which the Crime Lab reported that Mr. Davis
        matched the DNA type detected on a vaginal swab based solely on the presence of a 1.2
        DQ Alpha allele that Mr. Davis had the misfortune of having in common with the victim.




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Perez. No known suspect DNA reference sample was run. Ms. Kim reported that the
"DNA patterns detected on the rifle and shot gun are consistent with those of [Jose
Varel] and one other donor."181 This mixture finding was based on Ms. Kim 's decision
to call the "C" allele of the GC locus in Polymarker for one evidence sample and the
"24" allele of the D1S80 typing system for three of the evidence samples. Our review
found that these allele calls were weakly supported and that Ms. Kim's decision to
report a mixture containing the profiles of Mr. Varel and an unknown person was
questionable. On April 8, 2003, the outside laboratory that re-tested samples extracted
from the rifle and shotgun determined, through STR testing, that only Mr. Varel's DNA
profile was present in the evidence sample.

       Carlos Segura and Mark Zavala. In a 1998 homicide case involving three
suspects -- Carlos Segura, Mark Zavala, and Francisco Zapata -- we observed Ms. Kim 's
flawed interpretation of PCR-based results in a mixture case. This case involved a
stabbing in which blood was identified on a knife and on several samples from the
crime scene, including a blood trail leading away from the victim's body. Ms. Kim
performed PCR-based testing on the blood trail samples, a sample from the knife,
reference samples from the three suspects, and a sample described as "white
tissue/ blue diaper" that appears to contain the victim's DNA profile.182

        In her July 7, 1999 report, Ms. Kim stated that "[t]he DNA pattern from the blood
trail samples . . . is consistent with that of Francisco Zapata." She also reported finding
"[a] mixture of DNA type [sic] consistent with DNA type [sic] of Francisco Zapata,
Carlos Segura, and Mark Zavala and the donor of the blood trail sample and white
tissue/ blue diaper was detected on the back handle, the bolster and handle of the
                                                                                 —
knife." Ms. Kim reported finding four DNA profiles on the knife all three suspects
and a fourth person whose profile is consistent with the DNA profile obtained from
"white tissue / blue diaper" and who actually is the victim .

       The raw data reflecting the results of Ms. Kim's PCR-based testing, and the
results of her DQ Alpha testing in particular, strongly indicate that her interpretation of

181     Ms. Kim concluded that Mr. Perez's DNA profile was not present in any of the DNA samples
        extracted from stains on the rifle and the shotgun.
182     Ms. Kim's analysis in this case is further confused by the fact that there is no clear profiling data
        related to a reference sample from the victim. It appears that Ms. Kim was not able to obtain
        DNA typing results on the blood obtained from the victim's autopsy. However, the Crime Lab
        obtained results from the "white tissue / blue diaper" sample, which was labeled as "DNA extract
                                        —
        from white tissue / blue diaper Moses Ayala [the victim]" when the sample was sent to an
        outside laboratory for DNA testing in 1999. This indicates that the "white tissue / blue diaper"
        sample contained the victim's DNA profile.




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the DNA testing results to include all three suspects and a fourth profile (the victim ) is
flawed and misleading. Unfortunately, the suspects and victim share several common
DQ Alpha and D1S80 alleles, which made difficult the elimination of a suspect as a
possible contributor to the evidence on the knife sample. However, a reasonable
interpretation of the raw DQ Alpha results would be consistent with a mixture of the
victim and Mr. Zapata only. Such an interpretation certainly would be more reasonable
than Ms. Kim's finding that all three suspects and the victim bled on the knife. At a
minimum, Ms. Kim should have tabulated the allelic findings in her report and
explained that she could not eliminate Mr. Zavala or Mr. Segura as potential
contributors due to the common alleles they shared with either the victim or
Mr. Zapata. Instead, she issued a report that was extremely muddled and confusing.

        In 1999, the evidence in this case was sent to an outside laboratory for STR
testing. In a report dated August 25, 1999, the outside laboratory concluded that "both
[the victim ] and Francisco Zapata are included as potential contributors to the stains on
the knife and sheath. Both Carlos Segura and Mark Zavala are excluded as contributors
to the stains on the knife and sheath."183 These STR results are consistent with the raw
data related to Ms. Kim's PCR-based testing. However, Ms. Kim interpreted and
reported her data to include all three suspects as well as a fourth contributor, whom she
failed to identify as the victim. Her interpretive error was exacerbated when she
presented misleading frequency estimates, calculated based on the suspects' reference
profiles, that suggested strong associations between Mr. Segura (1 in 11,300) and
Mr. Zavala (1 in 758,000) and the DNA evidence from bloodstains on the knife.184

                        b.      Contamination in D1S80 Testing

       The D1S80 locus was attractive to forensic DNA analysts because it exhibits a
very high degree of polymorphism, or variability in the size of the D1S80 fragments,
between individuals. D1S80 typing tests involve electrophoresis of D1S80 products
through a gel to determine the relative size of the D1S80 fragments in the DNA from
evidence or reference samples. After the D1S80 product is loaded and run on the gel,
the D1S80 allelic bands are visualized to produce a gel image similar in appearance to
an RFLP autorad. Sizing ladders are run in the gel along with the evidence and known

183     On May 31, 2005, an outside laboratory involved in the DNA re-testing program similarly
        reported that the only known persons that could be included as contributors to any of the
        evidence in this case are the victim and Mr. Zapata. HPD has acknowledged that re-testing by an
        outside laboratory in this case has reversed the Crime Lab's original DNA typing results as to
        Mr. Segura and Mr. Zavala.
184     We calculated the frequency estimate, based on Ms. Kim's typing results for the bloodstains on
        the knife, to be 1 in 48 in the Hispanic population.




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reference samples in order to permit the DNA analyst to interpret the allelic bands
produced through the electrophoretic process. Each individual has a maximum of two
alleles at the D1S80 locus (homozygous persons have only one type of allele at the
locus). An individual's D1S80 type is expressed as the combination of these alleles. For
example, one person might be typed for D1S80 as a type "18, 24" and another person as
D1S80 type "22, 31."

        In the Reginald Jackson case, the Crime Lab was asked by investigators to
analyze evidence related to a stabbing that occurred in 1997. Investigators submitted
four items of evidence to the Crime Lab: (1) blood from a steak knife, (2) blood taken
from a walkway in a parking lot, (3) blood from a foyer floor, and (4) a bloodstain from
an article of clothing alternately described as "jeans" or "pants" in different Lab
documents. The Crime Lab also received reference samples from the victim and the
suspect, Mr. Jackson. Ms. Kim performed DQ Alpha, Polymarker, and D1S80 testing on
the evidence and reference samples.185

        Below is an image of the original D1S80 gel reflecting a set of results obtained by
Ms. Kim in the Reginald Jackson case. Each sample lane is labeled to reflect the nature
of the sample placed in the gel, such as evidence sample, sizing ladder, or control.




185     Ms. Kim's February 6, 1998 report indicates that "DNA extracted from the . . . evidence except for
        4 microliters was transferred from Criminalist C. Kim to R. Cockrell for DNA (RFLP) analysis."
        Mr. Cockrell never reported any results related to the evidence in this case. A "Post-it" note
        attached to one of Mr. Cockrell's RFLP data sheets indicated: "No results on unknowns."




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       The above gel image reflects that Ms. Kim obtained a strong homozygous D1S80
type 34 allele in the knife sample. This type 34 allele also is present in the foyer floor,
walkway, and victim's reference samples. The walkway and victim's reference
samples, however, also reflect the presence of numerous other alleles. The profile
indicated for Mr. Jackson appears to be D1S80 type 24, 28 -- although several extraneous
bands are apparent in his reference sample as well.186 The unexplained presence of
these extraneous alleles in both the victim's and suspect's reference samples illustrates

186               A 24, 28 profile is consistent with the profile developed for the jeans / pants evidence sample.




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some of the problems we have observed generally with the Crime Lab's PCR-based
DNA testing.

        First, in addition to the type 34 allele, the victim's reference sample contains five
other D1S80 type alleles: 18, 22, 24, 27, and 31. At most, an individual has only two
alleles at a particular locus such as D1S80. The fact that Ms. Kim detected a total of six
alleles in the victim's reference sample, which should be a pristine, single-source
sample, is extremely troubling. This result indicates that the victim's reference sample
was contaminated at some point in the handling of this sample. It is theoretically
possible for a victim's reference sample to have become contaminated at the medical
examiner's or coroner's office. In this case, however, subsequent to the D1S80 testing,
Mr. Cockrell performed RFLP typing on the victim's reference sample and obtained a
single donor profile. Moreover, the outside laboratory that later performed a DNA
re-test was able to obtain a single donor profile for the victim's reference sample using
the original DNA extract prepared in the Crime Lab. This suggests that, if the result
reflected on the D1S80 gel for the victim's reference sample is the product of
contamination, the contamination occurred after extraction, most likely at the PCR
amplification stage.

       It is possible that Ms. Kim added too much DNA from the evidence and
reference samples during the PCR amplification phase of the testing process, which
could have led to overamplification and the presence of multiple extraneous bands in
the reference and evidence samples. When we asked Mr. Chu to discuss what he
believed accounted for the extraneous alleles in several of the evidence and reference
samples reflected on the Reginald Jackson gel, he mentioned overloading and
overamplification. In light of the band pattern observed for the victim's reference
sample, however, overloading or overamplification seem to be unlikely explanations for
the multiple bands seen in the victim's reference sample.

        Extraneous alleles also are visible in Reginald Jackson's reference sample and the
walkway sample and could involve crossover or contamination from the allelic ladder.
If the sizing ladder were overloaded in the gel, it is possible that it could carry over into
an adjacent lane. In this case, however, while the Reginald Jackson reference sample
was adjacent to an allelic ladder lane, the walkway sample was not. The walkway
sample appears to be an example of mixing the allelic ladder with an evidence sample
prior to loading it into the gel. Overloading and overamplification are other theoretical
possibilities that could explain this "laddering" phenomenon when a specimen seems to
exhibit all the bands just as an allelic ladder does.

      Regardless of the cause of the serious problems with the D1S80 testing in this
case Ms. Kim was unable to resolve the issues. Ultimately, Ms. Kim only reported that
    ,
"the DNA type detected from the knife is not consistent with that of Reginald Jackson."



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Although the victim reference sample shared a strong type 34 allele with the knife
sample, it appears Ms. Kim was unwilling to interpret the mixed profile she obtained in the
victim' s reference sample . Ironically, in several cases, including the Carlos Segura case
discussed above, where the Crime Lab obtained questionable multiple profiles in
evidence samples (as opposed to known reference samples), analysts either selectively
reported profiles consistent with a suspect's or victim's known profile or reported out
multiple profiles, including matches with known reference samples from the victim and
suspect(s) as well as one or more "unknown" individuals. It appears that Ms. Kim was
aware that reporting that multiple profiles were found in a reference sample (as could
be the case with an evidence sample) would have been indefensible and extremely
embarrassing, so she avoided reporting any result at all for the victim's reference
sample in this case.

                 3.     Problems With STR Testing

       Errors by Crime Lab DNA analysts in the interpretation of raw data related to
DNA tests were not limited to early PCR-based testing. Similar interpretive errors
continued into the STR testing era. A critical control in the COfiler-Profiler Plus STR
system historically used by the Crime Lab as confirmation that the alleles detected at
the redundant D3 and D7 loci187 in the COfiler and Profiler reagent kits are in
concordance. We found several cases in which DNA analysts reported STR results and
developed profiles despite discordance between the COfiler and Profiler Plus typing
results at these redundant loci.

       The presence of these redundant loci in the COfiler and Profiler reagent kits
historically used by the Crime Lab for STR testing is a built-in quality control feature
designed to detect possible sample mix-ups. This feature also is a tool to ensure that
both kits are working properly. If the alleles detected with the COfiler reagent kit for
D3, D7, and amelogenin markers are not in concordance with those detected using the
Profiler Plus reagent kit, it is a warning that there is a problem, including the possibility
that the sample is of poor quality. If the allele identifications at the redundant loci are
not the same for the same samples, it is imperative that the problem be resolved by
re-analyzing the original samples. The Crime Lab's historical SOPs specifically required
that the D3 and D7 loci for the COfiler and Profiler Plus systems must agree in each
sample run through the STR process.188


187     "D3" is shorthand for the D3S1358 locus, and "D7" is shorthand for the D7S820 locus.
188     The Crime Lab's SOPs, however, provide no guidance as to what procedures the DNA analyst
        should follow with respect to sample tests where the D3 and D7 loci are not in concordance.




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      We have identified several cases in which DNA analysts failed to take
appropriate action to resolve potential problems with the accuracy and reliability of
DNA typing results obtained from STR tests in which the D3 and D7 loci results
generated from the COfiler and Profiler Plus reagent kits were not in concordance. Two
such cases are the death penalty case of Gilmar A. Guevara189 and the case of Ronald
Cantrell.

       Gilmar A. Guevara. The Guevara case relates to the June 2, 2000 murders of two
convenience store clerks during an attempted robbery by suspects wearing masks. On
June 10, 2000, Mr. Guevara was arrested, and police found blue and black ski masks and
a Halloween mask in the trunk of his car. Mr. Chu performed STR testing on all three
masks. In his Crime Lab report dated May 4, 2001, Mr. Chu reported that "a mixture of
DNA consistent with Gilmar Guevara and [co-defendant] Jose Luis Hernandez was
detected on the blue ski mask" and that "a mixture DNA type consistent with Jose Luis
Hernandez and at least one unknown donor was detected on the black ski mask."190

       Our review of the electropherograms contained in the Crime Lab file for this case
found that, with respect to the STR testing on the blue ski mask, the alleles detected
using COfiler and Profiler Plus reagent kits were in discordance at both the D3 and D7
loci. With respect to the black ski mask, the COfiler and Profiler Plus reagents were in
discordance at the D3 locus. In light of these inconsistencies, the typing results obtained
by Mr. Chu with respect to the blue and black ski masks should have been considered
questionable or inconclusive, and the samples should have been re-tested.

        On August 18, 2003, an outside laboratory reported that re-testing of the blue ski
mask did not yield a DNA profile. On October 14, 2003, the same outside laboratory
reported that DNA testing could not be performed on an extract from the black ski
mask because there was an insufficient amount of remaining DNA extract. Thus,
re-testing by an outside laboratory has not confirmed the Crime Lab's findings.

       Ronald Cantrell . The case of Ronald Cantrell is another troubling example of
questionable interpretation and reporting of STR results in the face of COfiler and
Profiler Plus discordance at the redundant D3 and D7 loci. This case involved a
reported sexual assault on an 8-year-old girl. According to the sexual assault
examination form prepared on December 12, 2001, the victim reported that a suspect
named "Ronny" forced her to perform oral sex, resulting in a "semen" stain on her

189     Texas v . Guevara, Cause No. 847121 (Harris County, Tx).
190
                                                                   —               —
        The Crime Lab found that DNA was present on the third mask a Halloween mask but it was
        not able to obtain any DNA typing results for the samples extracted from that mask.




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shirt. On December 17, 2001, the Crime Lab received several articles of clothing from
the victim, including a blouse.

       On February 8, 2002, Crime Lab analyst Audrey Tims reported that "semen was
detected on the blouse." Ms. Tims's identification of semen on the blouse is
questionable. It does not appear that she performed a microscopic examination to
detect the presence of sperm cells on the blouse. Ms. Tims's worksheet, dated
December 17, 2001, reflects that the AP screening tests for semen were negative when
she tested stains on the blouse. She also ran a p30 Abacard test for semen on the blouse,
the results of which she recorded as "POS weak." Based on the limitations of the p30
Abacard test system, the negative AP test for semen, and the failure to perform a
microscopic sperm search, this weak positive result probably was not a sufficient basis
to support a finding that semen was present. Nevertheless, a differential extraction
from the blouse's stain was performed, and the extracts were forwarded to Ms. Kim and
Mr. Cockrell for DNA analysis.

       Mr. Cockrell performed the STR analysis of the DNA extract from the blouse. On
August 30, 2002, Mr. Cockrell reported that "[a] mixture of DNA types was detected on
the blouse." He also reported that "[the victim], Ronald Cantrell, and at least two other
donors are included in this mixture." Mr. Cockrell reported these results despite a clear
discordance between COfiler and Profiler Plus typing results at the D3 and D7 loci. The
following chart reflects alleles Mr. Cockrell obtained at the D3 and D7 loci as shown by
his original STR electropherogram. The alleles in bold are those that appear on the
electropherogram below the 150 rfu threshold necessary under the Crime Lab's SOPs in
order for an allele to be interpreted as present in the sample.

              Locus    Locus and Sample           COfiler              Profiler
                D3     Epithelial Fraction    14, 15, 16, 17, 18   14, 15, 16, 17, 18
                D3      Sperm Fraction             15, 18              15, 16 , 18

                D7     Epithelial Fraction     8, 9, 10, 11, 12         10, 12
                D7      Sperm Fraction              10, 12               9 , 10

       As shown, there is general concordance of the typing results between COfiler
and Profiler Plus at the D3 locus. Profiler Plus, despite being less sensitive than COfiler,
detected a weak 16 allele in the sperm fraction, but it was below the 150 rfu threshold.
There is, however, significant discordance of the typing results at the D7 locus. With
respect to the epithelial fraction, COfiler results show the 9 and 11 alleles above the
150 rfu threshold and an 8 allele below the threshold that was not detected by Profiler
Plus. Although this is a significant discordance, the slightly greater sensitivity of
COfiler might explain the extra alleles detected by that system and does not necessarily



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indicate that the control failed and the test must be disregarded. However, the
discordance in the sperm fraction at the D7 locus cannot be explained by the greater
sensitivity of COfiler. With respect to that sample, Profiler Plus detected weak 9 and 10
alleles, and COfiler (the more sensitive system ) failed to detect the 9 allele at all. This
discordance at the D7 locus cannot be reconciled and should have invalidated the
results and caused Mr. Cockrell to re-perform the analysis.191

        Re-testing by outside laboratories has failed to confirm the original results
reported by Mr. Cockrell. HPD reported that the "raw evidence" stain on the victim's
blouse had been consumed.192 Therefore the re-testing laboratory had to use the DNA
extracts prepared by the Crime Lab. A report issued by an outside laboratory on May 2,
2003 stated that "[a] mixture of male and female DNA profiles was obtained from the
epithelial fraction of the extracted DNA from the blouse" and that "Ronald Cantrell is
excluded as being a potential donor to the mixture." The outside laboratory reported
that "[n]o DNA was obtained from the sperm fraction of the extracted DNA from the
blouse." A review by the same outside laboratory of the Crime Lab's original testing in
this case questioned whether any semen was present in the stain on the victim's blouse.
The outside laboratory concluded that "the evidentiary value of an inclusion [of
Mr. Cantrell is] extremely limited, and makes it impossible to accurately assess the
statistical significance of the conclusion that the suspect could not be excluded from the
mixture." After another round of re-testing, the outside laboratory issued a report
dated March 30, 2006, stating that it had obtained a partial male profile from "the
epithelial cell fraction of the cutting" from the victim's blouse and that "Ronald Cantrell
cannot be excluded as the DNA donor to the epithelial cell fraction" of the blouse
cutting.193




191     Also, there is no evidence that the Crime Lab ran a substrate control with respect to the stain on
        the blouse. A substrate control would have been helpful in determining whether the alleles
        detected by the STR tests pertained to the suspected semen stain or to substrate material on the
        blouse.
192     It is unclear what the size of the purported semen stain might have been because the Crime Lab
        file did not contain a description of the stain. Good laboratory practice calls for the routine
        retention of a portion of an evidence specimen to be properly preserved for possible additional
        testing in the future. Since the STR system is a sensitive test that requires only a small amount of
        DNA, it would be unnecessary and problematic to consume an entire specimen.
193     On August 19, 2002, Mr. Cantrell pleaded guilty to aggravated sexual assault and was sentenced
        to 6 years in prison.




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                 4.     Routine Misreporting of the Statistical Significance of DNA
                        Profiling Results
        The most pervasive major issue we found in our review of the Crime Lab's DNA
cases during the 1993-2002 period was the routine and systemic misreporting of the
statistical significances of "matches" reported by the Lab in cases involving evidence
samples comprised of body fluid mixtures containing more than one DNA profile.
Indeed, 23 of the 43 major issue DNA cases we have identified -- or approximately
53.5 % of the major issue DNA cases -- involve reported statistics that are misleading
because the Crime Lab calculated them based on the suspect's DNA profile obtained
from a known reference sample, rather than on the profiles identified in the evidence
sample.

       The purpose of forensic DNA testing is to develop scientific information
regarding the source of biological evidence recovered from crime scenes or from the
victims of crimes. The role of the forensic DNA analyst is to answer the following
questions: Could the biological evidence have originated from a particular suspect, or
is he or she excluded as the donor of that evidence? If a particular suspect is included
as a possible source of the evidence sample, how strong is the association between the
suspect and the evidence?

        Unlike serology testing, DNA testing is very discriminating and is capable of
providing scientific evidence with a high degree of certainty that a particular individual
is the source of an evidence sample. Forensic DNA analysts express the strength of the
association of an individual with a specific sample of biological evidence through the
calculation of a frequency estimate called a random match probability. That estimate
quantifies the possibility that a person randomly drawn from the population could be
the source of the genetic profile found in the evidence sample. The random match
probability associated with an evidence sample can also be understood as the
probability with which two unrelated people could share a series of DNA alleles.
Probabilities of a random match at a single locus are combined to yield an estimate of
the probability of a random match over an entire DNA profile. This estimate is
interpreted as the probability that a person selected at random could have a DNA
profile that matches the DNA profile obtained from biological evidence related to a
suspected crime. Therefore, such random match probabilities are critical to
understanding the significance of matching a suspect's DNA profile to the DNA profile
of biological evidence.194


194     Because frequency estimates are central to understanding the significance of associations based
        on forensic DNA evidence, the "Quality Assurance Standards for Forensic DNA Testing
                                                                                     Footnote continued


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        DNA profiles developed from biological evidence samples may indicate that
there is a single source for the evidence, that the evidence contains a mixture of DNA
profiles contributed by more than one person, or that the evidence contains only a
                  —
partial profile i.e., not all of the alleles necessary to develop a complete DNA profile
for the evidence sample are present or detectable in it.

        In cases where the evidence stain contains only a single DNA profile, the results
of the DNA testing are somewhat easier to interpret and the calculation of the random
match probability is relatively simple and straightforward. Evidence samples
containing only a single DNA profile provide the most discriminating information
about whether a particular individual could be the source of the biological evidence. In
fact, random match probabilities from single source profiles often become so
                          —                                                  —
astronomically small e.g., only one in billions or even smaller that it becomes
unreasonable to conceive that another person in the world could have this same profile.
In these cases, the DNA testing data provide extremely powerful evidence that
biological evidence at a crime scene could have come from only one person.

       However, when a DNA profile contains DNA from more than one person or
only reflects some of the DNA alleles (e.g., a partial DNA profile), it is much more
difficult to provide compelling statistical evidence that a particular person's DNA was
found in an evidence sample. Random match probabilities related to mixture or partial
DNA profiles may result in frequency estimates that indicate that a relatively large
proportion of the human population could have contributed to the biological evidence.

       Therefore, it is critical that forensic DNA scientists provide an accurate and
relevant frequency estimate when they discuss the interpretation and meaning of DNA
evidence. A frequency estimate based on a DNA profile obtained from a suspect's
known reference sample is completely irrelevant to the strength of the DNA evidence
when the DNA profile is a mixture or a partial profile. If the frequency estimate of the
suspect's known reference sample is presented, in a laboratory report or during
testimony, juxtaposed with DNA typing information from a mixture or partial evidence
profile, it can seriously overstate the strength of the evidence and be extremely
misleading.



Footnote continued from previous page
        Laboratories and Convicted Offender DNA Databasing Laboratories" issued by the FBI
        specifically require that technical leaders and analysts in DNA laboratories have specific
        education and training in statistics.




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       We have found that the Crime Lab virtually always calculated its reported
frequency estimates based on the DNA profile developed from the suspect's known
reference sample rather than from the DNA profile obtained from evidence samples,
even in mixture and partial profile cases. It is clear that DNA analysts in the historical
Crime Lab, including Mr. Bolding, did not fully understand the scientific basis of
calculating frequency estimates from DNA profiles obtained from evidence samples
and that they were not trained in the methods of properly calculating statistics
associated with DNA mixture profiles and partial DNA profiles.

       We prepared the chart below to demonstrate the sometimes exponential
difference between the statistics reported by the Crime Lab and our calculation of the
correct frequency estimates for the interpretable DNA typing results originally obtained
by the Lab.195 In many cases, the disparities are staggering.




195     The Crime Lab's convention, which was inappropriate, was to report only the statistics related to
        the racial group with which the suspect was identified. Properly reported frequency estimates
        include calculations for the three most significant ethnic populations in North America -- African
        American, Caucasian, and Hispanic. It is not appropriate in the calculation and reporting of
        random match probabilities to assume that a contributor to the evidence sample is from the same
        racial demographic as the suspect.




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      Comparison of Statistics Reported by the Crime Lab with Properly Calculated
                                  Frequency Estimates
                                                  IIPI) Reported St ;iis     Recalculated Stills
                      Suspect 's Niime
                                                        Min      )                Min     )
                      Alix, Franklin                      81,000                    11
                  Boudreaux, Raymon                       11,200                     37
                   Carter, Harold196                        9%                     75%
                    Emory , Gregory                       13,000                     23
            Guevara, Luis/Femandez, Sixto197      663 million/61 trillion       5,900/9,100
                     Harris, Erskin                      158,000                  8 and 6
                     House, Dillard                       2,773                     83
                    Johnson, Arthur                    11 million                   113
                     Lawson, David                     1.8 million                   55
                     Lopez, Segundo                    1.7 million                  400
                      Meza, Alfredo                    2.6 million                    9
                     Pineda, Johnny                      110,000                    110
                  Napper, Laurence198               statistical match             232,000
                      Parra, Carlos                       146,00                    119
                    Rayson, Carl Lee                   1.8 million                  145
             Segura, Carlos/Zavala, Mark199          11,300/758,000                  48
                   Southern, Ronnie                    6.3 million                   30
                      Sutton, Josiah                     694,000                     14
                    Valdez, Richard                       15,000                     50
                   Vanzandt, Lonnie                         15                        2
                     Vaughn, Artice                         988                      -
                                                                               42% ( 1 in 2)
                     Ware, Marshall
                 Washington, Dedrick
                                                       2.9 million                   -
                                                                               22% ( 1 in 5)
                                                          1,800                     428




196     In this case, HPD presented its statistics in terms of the percentage of the relevant population that
        that could be expected to have a DNA profile in common with the suspect's reference sample.
        For the sake of comparison with HPD's presentation in this case, we have re-calculated the
        frequency estimate related to the evidence in terms of a percentage of the relevant population
        that could provide a random match.




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       This failure to properly calculate frequency estimates exacerbated the poor
quality of the Crime Lab's technical work in developing DNA profiles from evidence
samples. As discussed above, Crime Lab analysts often developed and reported DNA
profiles reflecting multiple donors, which frequently were reported as including the
victim, suspect, and one or more "unknown donors." As reflected in the above chart,
the Crime Lab then went on to compound the prejudicial effect of these indiscriminate
results by grossly exaggerating the significance of finding the suspect's DNA profile
among the other DNA profiles in the evidence sample by calculating and reporting
frequency estimates based on the suspect's known reference sample.

                 5.     Poor Documentation and Technical Review

        The Crime Lab's historical DNA case files contain no documentation reflecting
that a supervisor in the DNA Section performed a technical review of the DNA
analysts' work. This is a very disturbing and significant departure from the forensic
science principles that were generally accepted during the 1990s and early 2000s. Until
1996 Dr. Sharma, who, based on our review of his casework, appears to have been
technically incompetent, was the Criminalist III supervisor over the DNA Section. In
1996, Dr. Sharma was removed as the line supervisor over the DNA Section due to
conflicts with Mr. Bolding. No one ever replaced Dr. Sharma as the Criminalist III
supervisor for the DNA Section, which remained without a line supervisor through
December 2002 when the DNA Section was closed. Although the then-head of the
Crime Lab, Mr. Krueger, created a QA / QC position into which he moved Dr. Sharma
around the time of the Lynn Jones debacle, Dr. Sharma did very little to fulfill his role as
the quality control manager for the entire Lab.200


Footnote continued from previous page
197     The re-calculated frequency estimate for Sixto Fernandez is based on the results of a re-test
        performed by an outside laboratory, rather than on the original DNA profile developed by the
        Crime Lab.
198     The re-test performed by an outside laboratory of the evidence in the Napper case developed a
        partial suspect profile. The outside laboratory calculated a frequency estimate of 1 in 255 in the
        African American population based on that partial profile.
199     There is only one re-calculated frequency estimate in this case because the properly re-calculated
        frequency estimate is based on the DNA profiles developed in the mixed evidence sample, as
        opposed to HPD's method of calculating statistics based on the DNA profile developed from the
        individual suspect's known reference sample.
200     As discussed previously, Dr. Sharma made almost no meaningful contribution in the QA / QC
        position. By February 2001, Mr. Krueger had assigned Dr. Sharma to assist the Controlled
        Substances Section by analyzing marijuana cases.




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       This transfer left Mr. Bolding as the sole supervisor over both the DNA and
Trace Evidence Sections. Mr. Bolding, who acted as the technical leader for the DNA
Section, had never performed DNA analysis himself and did not possess the
qualifications required under the FBTs DAB guidelines to be the Section's technical
leader. Analysts who worked in the historical DNA Section told us that they would
submit their case files to Mr. Bolding for review, but it was unclear to them whether he
performed a technical review of their work. Mr. Krueger, the former head of the Crime
Lab, told us that it was his understanding that DNA analysts reviewed each other's
work and that Mr. Bolding made no attempt to re-interpret the DNA analysts' test data.
The case files themselves contain no documentation reflecting that Mr. Bolding or any
other supervisor performed such a review, and the DNA analysts with whom we have
spoken did not recall receiving feedback from Mr. Bolding regarding the technical
aspects of their casework. Moreover, in light of the pervasive problems we have
identified related to the quality of the DNA Section's work, if Mr. Bolding did perform
undocumented technical reviews of the cases analyzed by the DNA Section, such
reviews were ineffective.201

                                                     —
       It appears that administrative reviews i.e., reviews focused on the
documentation contained in the case files and the organization of the Crime Lab files --
were performed occasionally in the DNA Section. Again, however, to the extent such
reviews were conducted, they were not effective. For example, as with many serology
cases, we have observed that, in DNA cases analyzed between 1993 and 2002, Crime
Lab analysts failed to assign unique identification numbers to specimens extracted from
items of evidence to establish with clarity the testing procedures that were performed
and the results that were obtained with respect to which specimens. In one typical case,
an evidence sample from a piece of clothing was referred to alternatively as "blue
jacket" and "shirt." In this same case, several pairs of "jeans" were screened for the
presence of DNA, but it was not clearly documented which pair of "jeans" evidence
was actually tested.

       Moreover, the Crime Lab's older DNA files generally do not contain drawings or
descriptions specifying the location of critical biological stains on evidence submitted
for analysis. The lack of information in laboratory notes to adequately describe the
presence and location of important biological evidence is not generally accepted
forensic science principle.

201     There certainly appears to have been an appetite among analysts in the historical DNA Section
        for technical assistance. We have seen documents from as early as August 1994 reflecting
        concerns among members of the DNA Section about the lack of standardized SOPs and training
        in PCR.




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       Finally, DNA analysts in the historical Crime Lab rarely prepared allelic tables
charting the alleles that they identified through their DNA testing. This failure to
prepare allelic tables is particularly problematic in STR cases with many items of
evidence or where the STR electropherograms reflect a number of weak readings near
or below the historical Crime Lab's 150 rfu threshold. Without an allelic chart, it is very
difficult to discern which alleles the DNA analyst might have interpreted as being
present in the sample and on which the analyst's conclusions were based.

        D.       The Post-Conviction DNA Re-Testing Program

       In early 2003, following the closure of the DNA Section, the District Attorney's
Office and HPD launched a re-testing program whose objective was to have an outside
                                                                      —
laboratory re-test all cases that had resulted in a conviction whether at trial or
                         —
through a guilty plea in which DNA evidence analyzed by the historical Crime Lab
may have played a role. The central purpose of the re-testing program has been to
identify any cases in which the results of DNA analysis performed by the Crime Lab
cannot be confirmed.

        As of June 9, 2007, a total of 418 cases have been identified as candidates for
re-testing. The District Attorney's Office withdrew four of these 418 cases from the
re-test list because they ultimately were determined not to qualify for re-testing.
Therefore, a total of 414 DNA cases originally analyzed by the historical Crime Lab
have been identified for re-testing by outside laboratories.

        HPD reports that, to date, the original DNA profiling results obtained by the
historical Crime Lab have been confirmed in 362 of the 414 cases identified for
re-testing. So far, testing by outside laboratories has conclusively contradicted the
Crime Lab's originally reported DNA results in four cases in which no further re-testing
will be performed.202 However -- after more than four years -- the DNA re-testing
process still remains open in 45 of these 414 cases.
                 1.     Status of the DNA Re-Testing Program

       The first step in the post-conviction re-testing process involved the identification
by the Crime Lab of all of the cases in which some DNA testing was conducted by the
Lab. By April 1, 2003, the Crime Lab had identified offense reports related to 1,322 such
cases. The next step in the re-testing project was to match these 1,322 offense reports
with "cause numbers" (i.e., court docket numbers) associated with prosecutions, which

202     The four "reversal" cases are those involving Josiah Sutton, Cory Ware, Michael Samuel, and the
        Segura-Zapata-Zavala case. The re-testing results in these cases are described further below.




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are maintained by the District Attorney's Office. In the end, the 1,322 offense reports
tied to just over 1,000 cause numbers.

        The next step in the process involved prosecutors from the Harris County
District Attorney's Office reviewing each of the cases associated with the over 1,000
cause numbers to determine whether the case was appropriate for re-testing. The
guidelines provided to prosecutors for determining whether the DNA-related evidence
in the case should be re-tested were as follows:

    (1)      Determine whether, if there was a trial, DNA evidence analyzed by the Crime
             Lab was introduced at trial. If it was, then the DNA evidence would be
             re-tested.

    (2)      If there was a trial and the DNA evidence analyzed by HPD was not
             introduced at trial, then the case would not be selected for re-testing.

    (3)      If there was a guilty plea and the case involved any DNA analysis performed
             by the Crime Lab, then the evidence was selected for re-testing.
        HPD has been responsible for locating and sending the DNA evidence related to
the 414 post-conviction re-test cases to one of the following three outside laboratories
for re-testing: Identigene in Houston, ReliaGene Technologies, Inc. in New Orleans,
and Orchid Cellmark in Dallas. HPD reports that, as of June 9, 2007, the re-testing
process has been closed in 369 of the 414 cases. Although almost all of the 45
post-conviction re-test cases that remain open have been subject to at least one round of
analysis, the District Attorney's Office has determined that either additional DNA
testing or a review of the Crime Lab's paper case file should be performed in these
cases.

       For obvious reasons, the optimal evidence for re-testing purposes is raw
evidence, such as stains on clothing or bedding or in sexual assault kits, that has not
been processed by the Crime Lab. In cases where such raw evidence does not exist, the
next best alternative is to test DNA that already had been extracted or otherwise
undergone some form of processing by the Crime Lab. In cases in which there does not
                                                                        —
currently exist any biological evidence susceptible to DNA testing because the
evidence cannot be located, or the biological evidence related to the case is now
                                            —
insufficient or too degraded to be tested the only remaining alternative is to perform a
review of the Crime Lab's original paper case file.

       Finally, the District Attorney's Office retained its own outside laboratory, Bode
Technology Group of Springfield, Virginia, to review the analyses performed by the
three laboratories originally involved in the post-conviction DNA re-testing program.



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The District Attorney's Office advised us that the purpose of Bode's involvement was to
serve as a second check on the cases and to assist the District Attorney's Office in
reviewing the reports generated by the outside laboratories involved in the re-testing
program.
       The below chart reflects the status, as of June 9, 2007, of the 414 cases that the
District Attorney's Office and HPD have identified to be included in the post-conviction
DNA re-testing program 203:

                              Status of the DNA Re-Test Program

                            Confirmed Re-Tests
                Confirmed with raw evidence                                  272
                Confirmed with extracts or processed evidence                 81
                Confirmed through case review                                  1
                Confirmed with significant statistical                         8
                  differences
                              Total Confirmed Re-Test Cases                           362

                              Re-Tests In Progress
                Further DNA testing to be performed                            6
                Case review pending                                           31
                Searching for additional evidence or reports                   5
                First outside laboratory report pending                        3
                                        Total Cases In Progress                        45

                               Not Confirmed
                Original Crime Lab findings contradicted                        4
                Not confirmed due to insufficient or degraded                   2
                   DNA
                Not confirmed; no additional testing ordered                    1
                                  Total Cases Not Confirmed                             7

      The four cases in which re-testing performed by outside laboratories
contradicted the original DNA results obtained by the Crime Lab are (1) the Josiah
Sutton case; (2) the case involving suspects Carlos Segura, Mark Zavala, and Francisco
Zapata; (3) the Cory Ware case; and (4) the Michael Samuel case.

       Mr. Sutton's case in the only one in which faulty DNA analysis performed by the
historical Crime Lab has been conclusively shown to have contributed to a wrongful

203     This chart reflects determinations made by the District Attorney's Office and HPD, not by the
        independent investigation.




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conviction. Mr. Sutton was released from prison in March 2003 and pardoned by
Governor Rick Perry on May 14, 2004.204 As discussed above, testing by outside
laboratories excluded Messrs. Segura and Zavala as possible contributors to the
evidence in that case, although the re-tests confirmed the inclusion of Mr. Zapata as a
possible contributor. The Crime Lab's original DNA work in the cases of Mr. Ware and
Mr. Samuel excluded them as potential contributors to the biological evidence in their
respective cases. However, re-testing performed by the outside laboratories
contradicted the Crime Lab's original results by resulting in the inclusion of each of
these defendants.

                 2.     Review of Major Issue Cases That Have Yet To Be Confirmed
                        Through Re-Testing
        As of June 9, 2007, 45 of the 414 cases designated for re-testing remained
unresolved, more than four years after the re-testing program started. HPD reports that
31 of these 45 cases will have to be evaluated on a paper review basis because,
apparently, no DNA evidence remains to be re-tested. Two cases have been closed
because the biological evidence in those cases either contains insufficient DNA or is too
degraded to support testing.

       As discussed above, in December 2005, with the approval of the Stakeholders
Committee and HPD, we recalibrated our review of the Crime Lab's historical DNA
cases to focus on those cases which, at that time, either had not yet been tested by an
outside laboratory or the re-testing process had yet to confirm the Lab's original DNA
results.205 We completed our reviews of those cases, and, as reported above, we
identified a number that contained major issues.

      Based on our review of the Crime Lab's original DNA testing results in these
"pending" re-test cases, we concluded that, with the exception of 15 cases, the
re-retesting process could be discontinued, even though the outside laboratories had
failed to confirm the Crime Lab's original DNA results, because (1) further re-testing of
available evidence appeared to be unlikely to produce useful information and (2) the
Lab's original DNA testing data appeared to be reliable, although the case may have
involved significant reporting errors such as incorrect and misleading frequency
estimates. In almost all of these cases, the Crime Lab originally performed STR testing,



204     The DNA work performed by the Crime Lab in Mr. Sutton's case is discussed in detail later in
        this report.
205     In December 2005, there were a total of 69 such cases.




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which is more reliable and less susceptible to technical and interpretive errors than
earlier forms of PCR-based DNA testing.

       We performed another round of close technical reviews with respect to each of
these remaining 15 "pending" re-test cases. 206 This round of reviews included review
of the Crime Lab's paper case file, the results of re-testing performed by the outside
laboratories, and HPD's original investigative file in order to assess the significance of
the DNA evidence in each of these cases.

                                              —
        With the exception of two cases involving defendants Ronald Cantrell and
                      —
Lonnie Van Zandt we have concluded that further re-testing is unlikely to produce
information that would confirm or contradict the Crime Lab's DNA testing results and
that, therefore, no further work should be done with respect to the remaining cases that
HPD includes in the category of "re-tests in progress."207 We recommend that the
re-testing program be discontinued with respect to all of the "pending" re-test cases,
except for the Cantrell and Van Zandt cases, both of which remain unresolved and both
of which are very troubling.

        Ronald Cantrell . We have discussed Mr. Cantrell's case in detail above. There is
        no solid information that semen ever was identified on the victim's blouse in this
        case. Several rounds of re-testing by outside laboratories have been unable to
        confirm the Crime Lab's original DNA results in this case, although Mr. Cantrell
        cannot be excluded as a potential contributor to a partial profile obtained from
        the epithelial fraction of a cutting from the victim's blouse. We recommend that
        HPD and the District Attorney's office continue considering DNA testing and
        analytical alternatives in this case. We understand that they are doing so.

206     The 15 "pending" re-test cases for which performed another round of detailed case reviews were
        Franklin Alix (L97-12163), Raymon Boudreaux (L97-00568), Harold Carter (L94-2461), Ronald
        Cantrell (L01-17322), Gilmar Guevara (L00-8053), Louis Guevara / Sixto Fernandez (LOO-13216),
        Erskin Harris (L95-08229), Dillard House (L00-02780), Segundo Lopez (L97-12346), Michael
        Mingo (L97-13990), Ronnie Southern (L95-03891), Richard Valdez (L96-05919), Lonnie Van Zandt
        (L94-12745), Artice Vaughn (L94-11539), and Marshall Ware (L95-05151). In April 2007, after we
        identified these 15 cases as warranting further review, HPD reported that outside testing
        confirmed the Crime Lab's original results in the Harris and Mingo cases.
207     This observation also does not apply to the case of Leroy Lewis (L91-05760), which, although it
        did not involve DNA testing by the Crime Lab, is a major issue DNA case and is included on the
        DNA re-test hst. In 1991, the case of Mr. Lewis and his co-defendant Robert J. Campbell was
        forwarded by the Crime Lab for DNA testing by an outside laboratory, SERI. The Lewis case is
        troubling, and it is described above in Section C.l of our discussion regarding the Crime Lab's
        historical serology work. The Lewis case is among those that we recommend be reviewed by a
        special master to determine whether additional DNA testing would be appropriate.




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        Lonnie Van Zandt. In this 1994 male-on-male sexual assault case, the Crime Lab
        originally concluded that "DNA detected on the [victim's] underwear matches
        the DNA type of Lonnie R. Vanzandt [sic]." This conclusion was based on
        DQ Alpha testing that detected a single allele foreign to the victim in the
        epithelial cell fraction detected in a sample from the victim's underwear. The
        Crime Lab's Polymarker testing on the victim's underwear failed to detect any
        alleles foreign to the victim. We found that the Crime Lab's original DQ Alpha
        result was highly suspect, and the results of re-testing reported by ReliaGene on
        June 27, 2004 found only that "[t]he epithelial cell fraction of the DNA extracts
        from underwear . . . produced a profile consistent with the stain card [of the]
        complainant . . . ." In March 2007, the outside laboratory responsible for
        performing re-testing in this case confirmed that the victim's underwear was
        contaminated by the outside laboratory and, therefore, no DNA results were
        obtainable from the raw evidence. In light of the results obtained from the
        original extract tested by the Crime Lab, which detected only the victim's DNA
        profile, and the outside laboratory's contamination of the raw evidence, it is
        extremely unlikely that the Lab's DNA typing results could ever be confirmed in
        this case. If no further analytical work is possible, HPD and the District
        Attorney's Office should acknowledge that the Crime Lab's original DNA results
        could not be confirmed in this case.

        E.       Conclusion

        As detailed above, the Crime Lab's historical DNA casework reflects a broad
spectrum of serious problems ranging from poor documentation of the work performed
to serious analytical and interpretive errors that resulted in highly questionable results
being reported by the Lab. Indeed, we found major problems in over a third of the
historical DNA cases we reviewed. Although we focus on the Crime Lab's work that
led to problematic results and interpretations which had the potential to have led to a
wrongful conviction, it is also clear that the Lab's failure to competently analyze and
interpret evidence samples resulted unnecessarily in useless "inconclusive" reports that
deprived the criminal justice system in Houston of valuable information which could
have played an important role in the investigation and prosecution of an unknowable
number of criminal cases.

       Mr. Bolding's incompetence as the head of forensic serology in the Crime Lab
carried over into the DNA operation, which he pushed to establish and then led from
the early 1990s through its closure in December 2002. Many of the problems and
                                                                     —
practices that we found reflected in the Crime Lab's serology work including the
absence of a quality assurance program, inadequately trained analysts, poor analytical
technique, incorrect interpretations of data, characterizing results as "inconclusive" if
they were not consistent with types from known reference samples, and lack of


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meaningful and competent technical reviews -- are prevalent in the Crime Lab's DNA
work as well. Furthermore, the potential for the Crime Lab's analysis of biological
evidence to result in a miscarriage of justice was amplified exponentially by the general
perception that associations between individuals and evidence generated by DNA
analysis are nearly unique. The Crime Lab issued conclusions, frequently accompanied
by inaccurate and misleading statistics, that often indicated a strength of association
between a suspect and the evidence that simply was not supported by the analyst's
actual DNA results.

       And yet for a decade the Crime Lab continued to perform DNA work under
conditions that made the risk of an injustice intolerably high. Although, as reflected by
the results of the re-testing program, most of the DNA results reported by the Crime
Lab have been confirmed in some fashion by independent testing, 52 cases have not
been; and, after more than four years of re-testing, many of them probably cannot and
will not be. While the number of proven wrongful convictions attributable to the Crime
Lab's DNA work is small -- only one such case, that of Josiah Sutton, has been
established at this point -- the possibility of other wrongful convictions resulting from
DNA analysis during this era cannot be dispelled.

III.    The Controlled Substances Section

       In the context of a forensic laboratory, controlled substances are examined and
analyzed in a number of different forms, including powder, cigarette, chunk, residue,
liquid, and vegetative. Drug analysts also identify licit and illicit pharmaceutical
products in tablet, capsule, and liquid form . In addition, controlled substances analysis
may be conducted on pieces of evidence that may bear traces of controlled substances,
including instruments and tools used in the drug trade and pieces of evidence on which
traces of controlled substances may be found. Depending on the laws of a jurisdiction
and the type of substance, analysts may also be called upon to determine the quantity
and purity of a controlled substance, which can ultimately affect a defendant's sentence.

       Drug analysts use a wide range of techniques and instruments to identify
controlled substances, including color tests, microcrystalline tests, gas chromatography
("GC"), mass spectrometry ("MS"), infrared and ultraviolet spectrophotometry, and
both microscopic and macroscopic examinations. A few of the many controlled
substances that can be identified by such analyses include marijuana, Phencyclidine
("PCP"), heroin, codeine, methamphetamine, cocaine, and Gamma Hydroxybutyrate
("GHB").

      Some tests used by drug analysts are simply screening tests that indicate the
general type of drug being analyzed. For example, analysts use color tests to
presumptively identify a drug by looking at a color change, which is the result of a


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chemical reaction between the substance and an added reagent. Another presumptive
identification testing method, chromatography, separates active ingredients within a
drug mixture and provides a tentative identification of a drug. If an analyst uses a
screening test to narrow the field of possible drugs and presumptively identify a
substance, more testing is necessary to definitively determine the identity of the
substance. For instance, an analyst can definitively identify marijuana by conducting a
color test and then looking at the botanical features, such as cystolithic hairs, under a
microscope.

        On the other hand, certain tests can definitively identify the substance.208 Mass
spectrometry uses high-energy electrons to break an unknown substance into fragments
and then measures and plots the masses of the small fragments. Mass spectrometry can
provide a virtually definitive identification of a drug because the fragmentation pattern
that is produced is unique for a vast majority of substances.209 A second definitive drug
identification technique is infrared spectrophotometry. An infrared spectrophotometer
measures the wavelengths of infrared light that a particular substance absorbs and
produces a spectrum that is unique for many substances.210

       No matter which test or combination of tests is used, the governing principle
behind controlled substances analysis is to compare the analytical results obtained from
analyzing an unknown substance with the results obtained from known substances.
For example, an infrared spectrum can be compared with the unique peaks on a
spectrum of a known substance. Some laboratory instruments provide a library of

208     Under generally accepted forensic science principles, however, analysts use at least two
        techniques, based on different principles and two independent samplings, to determine the
        identity of a drug in a sample.
209     Another instrument commonly used in forensic labs is a gas chromatograph / mass spectrometer.
        In gas chromatography, the sample being analyzed is injected into a heated chamber and then
        carried by a constant stream of a carrier gas (usually nitrogen or helium). The carrier gas moves
        the sample into a column containing a thin film of liquid. In this column, the components of the
        sample move at different speeds and thus are separated and carried to a detector, which
        generates an electrical signal that is recorded as a series of peaks in graph format. The time it
        takes for a substance to travel from the injection point through the column is referred to as the
        substance's retention time. Analysts can identify the nature and quantity of substances in a
        sample by comparing retention times and column peaks on the chromatogram to those of known
        substances. Although gas chromatography alone is not a definitive test, a drug identification
        made by GC / MS testing can be definitive.
210     An analyst usually must purify the sample before infrared spectrophotometry analysis can be
        completed. One of the benefits of the combined GC/ MS analysis is that a pure sample is not
        needed because gas chromatography separates the components of the mixture and mass
        spectrometry is then used to identify each component.




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standards, which are analytical results of known substances. An analyst compares the
results of the unknown sample with the standards in the reference library and decides
whether there is sufficient similarity to determine that the unknown substance matches
the known controlled substance.211

        A.       Reports of Drylabbing

       In some of our early work interviewing Crime Lab employees in April and May
2005, we learned that two Controlled Substances Section analysts, Vipul Patel and
James Price, had been accused of "drylabbing" several years before. 212 Supervisors in
the Controlled Substances Section identified the suspect test results through their
quality control efforts. For reasons that differed in each case, the alleged drylabbing
incidents did not affect the outcome of any case or result in any improper convictions.

       Each of the drylabbing incidents was detected by a Criminalist III supervisor in
the Controlled Substances Section, and each resulted in an investigation by IAD. We
selected statistical samples specifically targeting cases analyzed by Mr. Price and
Mr. Patel. In fact, these episodes were common knowledge within the Crime Lab,
although not well known outside the Lab. These incidents, in ways perhaps not
obvious on the surface, highlight a number of important issues, including: the
importance of line supervisors in performing quality assurance and quality control, the
failure to adequately discipline Crime Lab analysts found to have been involved in
misconduct, and the lack of support for imposing appropriate discipline on Lab
personnel from the HPD command staff in place at the time.

                 1.     Mr. Patel's Drylabbing Incidents

       On December 20, 1999, while performing a routine case review, a Criminalist III
supervisor determined that, on October 14, 1999, Mr. Patel had misidentified three
tablets as Diazepam . The supervisor recognized that tablets with the same markings
had been analyzed in the past and determined to be Clonazepam. The supervisor
retrieved the evidence and, in the presence of a second Criminalist III, re-analyzed the
tablets and confirmed that they were, in fact, Clonazepam and that Mr. Patel's

211     Some laboratory instruments conduct a library search and provide a list of results for the
        standard that most closely matches that of the unknown substance.
212     "Drylabbing" is the most egregious form of scientific misconduct that can occur in a forensic
        science laboratory   —it means the fabrication of scientific results. In the Crime Lab, the instances
        of drylabbing took the form of controlled substances analysts creating false documentation
        intended to reflect analytical procedures that were never performed. As one of the members of
        the Stakeholders Committee put it, drylabbing is a "hanging offense" in the scientific community.




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identification of the tablets as Diazepam was false. The supervisors observed that the
tablets had been scraped, as if they had been analyzed, but, because the analytical data
supporting Mr. Patel's identification of the tablets as Diazepam could not have been
generated through testing those tablets, they concluded that the test results obtained by
Mr. Patel must have been falsified. After being confronted by all three of the Controlled
Substances Section supervisors about the misidentification, Mr. Patel charged each of
the supervisors with harassment.213 Despite the supervisors' conviction that the
incident involved deliberate falsification of test results, the only discipline Mr. Patel
received as a result of this incident was a written reprimand, which was the same
discipline issued to one of the supervisors based on the harassment charge.214

       An IAD investigator contacted the Assistant District Attorney responsible for
prosecuting the underlying criminal case. The Assistant District Attorney reported that
Mr. Patel's erroneous identification did not meaningfully affect the case because the
defendant was likely to accept a misdemeanor plea.215 The misidentification was
disclosed at the time of the plea, and the court pleadings were corrected appropriately.

       The second incident involving Mr. Patel occurred on December 17, 1999 and was
detected by the same Criminalist III supervisor in the Controlled Substances Section on
January 10, 2000. During a routine review of Mr. Patel's case files, the supervisor
discovered that a file contained identical Fourier Transform Infrared ("FTIR") spectra
for two separate tablets.216 The supervisor's suspicions were aroused because it is
virtually impossible for tablets analyzed separately to produce identical spectra due to
variances in drug concentration, the presence of excipient materials217 in the sample,
and minor instrument variability. The supervisor consulted with another Criminalist III
supervisor and the Criminalist IV over the Controlled Substances Section, and they
conducted an experiment demonstrating the extreme improbability of the FTIRs
producing identical spectra, even from the same sample. At least one of the supervisors

213     During the meeting, a third Criminalist III supervisor commented that a person off of the street
        "with a brain the size of a peanut" would not make this mistake. The other supervisors
        reportedly chuckled at the comment. This formed the basis of Mr. Patel's harassment charges
        against the supervisors.
214     Mr. Patel told an internal investigator that, although he could not recall how he erroneously
        identified the tablets as Diazepam, the misidentification was the result of "human error" and was
        not intentional.
215     Both Diazepam and Clonazepam are Schedule IV drugs.
216     FTIR spectroscopy is a technique used to identify an unknown substance based on the absorption
        of a spectrum of infrared wavelengths by the substance.
217     An excipient is an inert or inactive substance used as a vehicle for a drug's active ingredients.




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concluded that Mr. Patel tested one tablet and re-printed or copied that spectrum for
the second tablet. Mr. Patel denied intentionally copying the printout and claimed that
the FTIR instrument may have malfunctioned and printed the spectrum twice. A
supervisor disputed Mr. Patel's hypothesis and told investigators that no one else in the
Controlled Substances Section had ever reported such a problem with the FTIR
instrument. Although the supervisor was convinced that this was a second incident of
intentional scientific fraud on the part of Mr. Patel, he charged Mr. Patel only with poor
judgment.218 When we interviewed Mr. Patel about the two drylabbing incidents, we
found his explanations utterly unconvincing.

       Mr. PateFs punishment for this second drylabbing incident was a three-day
suspension. Mr. Krueger also removed Mr. Patel from drug analysis and assigned him
to CER. After some period of time in CER, Mr. Patel took advantage of Chief
Bradford's open door policy to complain that he was overqualified for his assignment to
CER and asked the Chief to take action to have him reinstated as a drug analyst. While
neither Chief Bradford nor Mr. Krueger claims to recall any conversation about
returning Mr. Patel to an analyst's role,219 Mr. Patel was reinstated to the controlled
substances bench a short time after his visit with the Chief . For his part, Mr. Patel had
no doubt that Chief Bradford's intervention was the reason he was transferred back to
the Controlled Substances Section. Neither HPD nor the Crime Lab performed a review
of other cases handled by Mr. Patel to determine whether any of those cases were
affected by similar misconduct.220

       At the time of our Second Report, Mr. Patel remained an analyst in the
Controlled Substances Section. The Crime Lab responded to our discussion of
Mr. Patel's drylabbing incidents by once again taking him off the bench and reassigning
him to CER. On June 13, 2005, the Public Safety and Homeland Security Committee of
the Houston City Council passed a resolution calling for Mr. Patel's termination. That
same day, Mr. Patel resigned from the Crime Lab.


218     The file maintained by the District Attorney's Office related to the underlying prosecution
        associated with this incident does not reflect that Mr. Patel's misidentification impacted the case.
        Apparently, the defendant never contested the charges against him and quickly entered into a
        cooperation agreement with the District Attorney's Office.
219     Although Chief Bradford said he does not recall speaking to Mr. Krueger about returning
        Mr. Patel to an analyst's role, he acknowledged that communicating with Mr. Krueger would
        "not be inconsistent" with actions he took in the wake of complaints brought to him.
220     In its statement issued in response to our Second Report, HPD acknowledged that, although the
        review of cases handled by Mr. Price had been performed, "for reasons unknown, the same was
        not done relative to Patel." HPD Press Statement, June 1, 2005.




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                 2.   Mr. Price's Drylabbing Incidents

       The first of Mr. Price's drylabbing incidents was discovered by a Criminalist III
Controlled Substances Section supervisor on May 12, 1998 during a routine review of
Mr. Price's cases. The supervisor observed that Mr. Price had identified four tablets as
the tranquilizer Flunitrazepam, a date rape drug the possession of which is a felony
under Texas law. The supervisor recognized that tablets with similar markings had
been identified by the Crime Lab in the past as Clonazepam, the possession of which
was only a misdemeanor. A re-analysis of the tablets performed by the supervisor,
confirmed that the tablets, in fact, were Clonazepam . The supervisor brought the issue
to the attention of Mr. Krueger. The supervisor believed that the only way Mr. Price
could have obtained the results he did was by analyzing a known sample of
Flunitrazepam and representing the results as related to the substances in the case.
Although Mr. Price denied intentionally testing a standard sample of Flunitrazepam, he
had no explanation for the results he obtained. Mr. Price's error was caught relatively
early in the underlying criminal proceedings, and the charge against the defendant was
reduced to a misdemeanor.

       Administrative charges of criminal activity / tampering with a government
record, disobedience to laws, and lack of truthfulness against Mr. Price were sustained.
On July 24, 1998, Mr. Krueger recommended that Mr. Price be suspended for ten days.
The matter was referred to the District Attorney's Office as a potential criminal matter.
By letter dated September 30, 1998, the District Attorney's Office declined to prosecute
Mr. Price. On October 5, 1998, Chief Bradford suspended Mr. Price for only four days.
Mr. Price's supervisor felt strongly that Mr. Price acted intentionally and that it was a
"no-brainer" that he should have been terminated.

       The second drylabbing incident involving Mr. Price was detected by the same
Criminalist III supervisor two years later, on August 29, 2000. In this case, Mr. Price
misreported the presence of a steroid, stanozolol, in a sample. During a routine check
of one of the Crime Lab's GC/ MS instruments, a Criminalist III supervisor discovered
that Mr. Price had printed the test results obtained by another analyst, who had in fact
detected stanozolol in a different sample, and then had inserted those results in his case
file. The substance that Mr. Price had been assigned to test was re-analyzed and found
to contain no controlled substance.

       This incident also was referred to the District Attorney's Office, which on
November 29, 2000 declined to bring charges against Mr. Price. Nevertheless, the
Assistant District Attorney wrote that "[w]e hope that the declination of criminal
charges will not serve as an endorsement of this chemist's behavior, which we find very
disturbing." Because no stanozolol was present, the charges against the defendant had
to be changed.


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        In a memorandum dated January 11, 2001, Mr. Krueger advised Chief Bradford
that, at the request of the District Attorney's Office, the Crime Lab had reviewed all 574
cases Mr. Price had analyzed since June 2000. According to the memorandum,
discrepancies were found in six cases, none of which affected charges against a
defendant or the outcome of a criminal case. Mr. Krueger closed the memorandum by
recommending that Mr. Price be terminated.

       On February 21, 2001, Chief Bradford forwarded a memorandum to the City
Attorney's Office indicating that he was considering an "indefinite suspension" of
Mr. Price. On March 6, 2001, before any further action was taken, Mr. Price resigned
from the Crime Lab.

       In each of the drylabbing incidents involving Mr. Price and Mr. Patel, diligent
Criminalist III line supervisors identified the problems and took swift and appropriate
action. At least one of the supervisors believed strongly that both analysts should have
been terminated immediately once the frauds were identified. As discussed in our
Second Report, this supervisor was extremely frustrated when the system for
investigating and disciplining personnel in the Crime Lab failed to produce those
results.

       Because of our reports regarding the alleged drylabbing incidents, HPD and the
City asked us to expand the controlled substances historical case review to include a
review of the work performed by Mr. Price and Mr. Patel. Those results are described
below.

        B.       Controlled Substances Case Reviews

        To assess the Section's historical work, we reviewed four separate sets of cases
selected from the 1998-2004 period. Our first sample was comprised of 513 general
Controlled Substances Section cases. Because of our reports regarding the alleged
drylabbing incidents, HPD and the City requested separate reviews of the work
performed by Mr. Price and Mr. Patel. We also reviewed a fourth set of cases,
comprised of 50 files used to evaluate how the Crime Lab handled and analyzed cases
involving large quantities of evidence (known as "bulk" or "bulky" cases). The case
review plan took into consideration a number of factors, including the large number of
cases, substances, and analysts involved in the Controlled Substances Section between
1998 and 2004. The sample of historical cases was adjusted at one point to include cases
involving analyses that were more complex and challenging than the large number of
basic marijuana and cocaine identifications typically completed by the Section.

      Based on our review of the Controlled Substances Section's historical operations,
we concluded that the analytical work performed on substances that are frequently


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encountered in the Section, such as cocaine and marijuana, was generally of high
quality. We also noted that the Section's work improved over time. However, we
found that more analytical deficiencies were revealed when analysts examined more
complex or less familiar substances. We also found a few pervasive and problematic
practices that led to the identification of issues, mostly minor, in many cases. These
issues were due to a combination of analyst errors and what was apparently a poor
implementation of the review process and quality assurance program .

                 1.   Major Issues Identified in the Crime Lab's Historical Controlled
                      Substances Cases

       In the four sets of historical cases described above, we identified a number of
cases with major issues. We found major issues in 116 out of 513 controlled substances
cases we reviewed, 18 of the 366 Patel cases reviewed, 11 of the 342 Price cases
reviewed, and 2 of the 50 bulky cases reviewed. Over 110 major issue cases involved
common, widespread problems that were directly related to poorly conceived and
implemented laboratory practices. Relatively few of the major issue cases appeared to
be the result of an individual analyst's mistake. In fact, two problematic Section-wide
practices were behind the vast majority of cases we identified as containing major
issues.

                      a.    Problematic Section-Wide Practices

        The first problematic historical practice was that the Crime Lab allowed analysts
to report a finding based on a visual / physical identification when a definitive
identification of the substance was not made through analytical testing. In over 70 cases
that we reviewed, the Crime Lab allowed analysts to identify unknown tablets by
physical comparison to a pharmaceutical reference source, such as the Physicians' Desk
Reference, and report the result as if the identity had been confirmed through actual
analytical testing. This practice would have been marginally acceptable if the wording
in the reports noted that the items were identified only through physical comparison to
a reference source, rather than through analytical testing. However, the scientifically
accepted and best practice is to identify a substance through analytical testing because
the surface physical appearance of a capsule or tablet can be deceiving, especially
because such drugs are sometimes counterfeited.

       The second widespread historical practice that we saw reflected in numerous
cases was that analysts were permitted to report quantitative results even though
quantitative analyses were not performed. For example, it apparently was customary
practice in the Controlled Substances Section to presume that liquid codeine cough
syrup would not have a concentration greater than 200 mg of codeine per 100 mL of
liquid. Similarly, analysts also reported quantitative results for tablets based on the


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quantitation given in a reference source after completing only a physical, and not an
analytical, identification of the tablet. Again, at the very least, the analysts should have
noted in their reports that the quantitative results were based on presumptions or
reference sources, not analytical testing. Moreover, under generally accepted forensic
science principles, the analysts should have done even more than merely clarify their
reports; they should have instead performed analytical testing.
                        b.      Mistakes by Individual Analysts and Inadequate
                                Technical and Administrative Reviews

       Unlike the issues described above, which could be attributed to analysts relying
on and following deficient Crime Lab practices and policies, a smaller number of the
cases we reviewed from the 1998-2004 period that we concluded had major issues
appeared to be isolated incidents resulting from mistakes made by individual analysts
when they failed to adhere to Lab policies and generally accepted forensic science
principles. While the analysts themselves should be held responsible for the quality of
their own work, the Section supervisors in place at the time were also responsible for
ensuring the quality of the work completed by the Section. Examples include situations
where analysts failed to report probative findings, reported a substance without a
definitive identification, and identified a substance through the use of an inadequate
standard.

                        c.      Major Issues Identified in the Patel and Price Case
                                Reviews

       With the assistance of PwC, 366 cases handled by Mr. Patel and 342 cases
handled by Mr. Price during the period of our historical review were selected for a
targeted review because of the alleged drylabbing incidents. In the Patel sample, 18
major issues were identified, and, in the Price sample, 11 major issues were identified.
For the most part, these were the same categories of major issues identified as
Section-wide problems. However, we did identify another potential instance of
drylabbing by Mr. Patel. In that 1999 case, Mr. Patel's report indicates that he
conducted infrared testing on a tablet, but test printouts in the case file were so similar
to one another that they can almost be superimposed on one another. This may indicate
that the tablet was never tested and that a library standard, which can be generated by
the testing equipment, was simply printed twice and inserted in the case file.221




221     This case is Lab No. 99-10884.




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                 2.     Minor Issues Identified in the Crime Lab's Historical Controlled
                        Substances Cases

       In addition to the major issues described above, our historical review of
controlled substances cases worked between 1998 and 2004 identified hundreds of cases
that involved minor issues. Most of those issues should have been detected through
administrative or technical reviews. For example, in the past, controlled substances
analysts frequently failed to follow the Crime Lab SOPs.222 Most notably, analysts did
not maintain case files that contained the required information, including the initials of
analysts and reviewers.

       One important SOP requirement that was not always followed relates to
documenting modifications of reports. Under a well-established Crime Lab SOP, an
analyst must retain three items in the case file if a report is modified after it has been
approved: the original report, the modification notice, and the amended report. This
SOP requirement must be satisfied because the computer program used by HPD and
the Crime Lab, the On-line Offense ("OLO") reporting system, overwrites the original
report whenever it is amended, making it impossible for one reading an amended
report to know what, if any, changes were made.223
        We also identified many historical cases with minor issues related to the failure
to follow basic principles of laboratory documentation. The documentation in a case
file should enable an independent reviewer to determine the processes analysts used
when analyzing cases and reporting results. That was not the case in the vast majority
of the over 200 cases we identified as containing minor issues. We found that Crime
Lab analysts often incorrectly recorded case numbers and dates and failed to include
documentation of the physical descriptions of evidence, instrument runs, sample
preparation, and copies of the reference material pages used to make determinations.

       Other minor problems we found in over half of the cases we classified as
containing minor issues involved analysts not complying with generally accepted
forensic science principles. For example, in some instances, analysts identified

222     However, we have noted that analysts often had to refer to other documents in the Crime Lab or
        rely on oral instructions and informal advice because, during the 1998-2004 period, the SOPs
        were not a well-organized central repository for the Controlled Substances Section's policies and
        procedures.
223     The use of the OLO system as the official Crime Lab reporting system is problematic for a
        number of reasons, including the above-mentioned overwriting of original reports and the fact
        that an analyst cannot change the date of a report, with the result that the amended report bears
        the same date as the original report.




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controlled substances but ignored indications of the presence of other substances in the
sample. At time, analysts also failed to conduct additional testing that was warranted
and relied on inadequate instrument runs, poor instrument standards, and poor
matches between the standard and the sample when reporting their results.

      In our review of the controlled substances cases, we also saw numerous instances
where analysts modified the submitting officer's description of evidence on the
property record by making additions, deletions, or alterations to that description.
Although we identified this as a minor issue, it is nonetheless a deviation from
generally accepted forensic science principles.

       Finally, our review of the Section's historical work identified another problematic
practice relating to prolonged custody of evidence. In a number of cases, analysts
retained custody of evidence for long periods, sometimes even months, after
completing their analyses.224 Under good forensic science principles, an analyst should
return evidence promptly after testing is complete.

        C.       Conclusion

       Our review of the Controlled Substances Section's historical work found a large
number of cases with various major and minor issues. As discussed above, many of the
major issues encountered in the Crime Lab's controlled substances cases were due to a
few common, widespread problems related to poor laboratory practices. Most of the
minor issues we identified are attributable to a combination of analyst errors, poor
documentation practices, and an informal review process and quality assurance
program that was not sufficiently rigorous. In spite of these issues, however, we found
that the bulk of the actual analytical work performed in the historical Controlled
Substances Section's -- which predominantly were cocaine and marijuana identification
cases -- was reliable and of high quality.




224     We also have concerns regarding the Crime Lab's handling and labeling of controlled substances
        evidence. In particular, we noted difficulty tracking evidence in controlled substances cases
        involving more than one item of evidence. This difficulty stemmed from the fact that items were
                                                       —
        identified differently at each stage of the process on the officer's report, on the Crime Lab's
        worksheet, and on the Lab's supplemental report. We also noted concerns about HPD's general
        procedures for submitting evidence to the Crime Lab. These concerns and other issues and
        recommendations relating to CER, the Property Room, and evidence handling are addressed later
        in this report.




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IV.     The Firearms Section

      The forensic examination of firearms evidence involves, among other things,
microscopic bullet, fired cartridge casing, and shot shell comparisons. The Crime Lab's
Firearms Section also currently performs test firings, trigger pull determinations,
general rifling characteristics ("GRCs") searches, and muzzle-to-target distance
determinations.225
       The examinations required in firearms cases vary greatly depending on the types
of evidence involved. Fired bullets, fired cartridge casings, and shot shells are
examined with a comparison microscope, which enables the examiner to view side-by-
side images of the ammunition components. Proper use of the comparison microscope
requires a great deal of time, patience, and experience.

       Markings on fired cartridge casings and shot shells may include firing pin and
breech face impressions, as well as chamber, ejector, and extractor markings. Bullets are
engraved with markings produced by the interior surfaces of the gun barrel. Markings
on a bullet include GRCs, which are a pattern of "land" and "groove" impressions that
can identify the possible make and model of the gun from which a bullet was fired.
Other markings on a bullet are microscopic striations unique to the gun that fired it.
Markings on cartridge casings, shot shells, and bullets can be extremely faint and
require a careful, trained eye to locate and identify them.
       The examinations described above can be used to make identifications (which
involves matching ammunition components, such as fired bullets and cartridge casings,
to the weapon that fired them ), link different crimes committed with the same weapon,
and provide other investigative leads.
        A.       Review of Historical Firearms Cases

       We reviewed a total of 330 historical firearms cases covering the 1998-2004
period during Phase II of our investigation. With the cooperation of the Crime Lab and
the Harris County District Attorney's Office, we obtained and re-examined evidence
from several firearms cases in which the evidence was previously released to courts for
use at trial.
      Where documentation in the Crime Lab's historical case files was not sufficient to
permit us to evaluate the reported conclusions, we re-examined the actual evidence

225     The Firearms Section also performed restorations of obliterated serial numbers until December
        2006, when these examinations were transferred to the Trace Evidence Section to ease the
        caseload in the Firearms Section.




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items to assess the original work performed. This was particularly necessary in
comparison and identification cases because, before 2004, the Section's SOPs did not
require examiners to adequately document (e.g., with photographs) the observations
that formed the basis for their conclusions. Some of the historical cases we re-examined
contained multiple bullets or cartridge casings and, thus, took considerable time to
review. Other cases -- such as trigger pull examinations, serial number restorations,
                 —
and test fires generally were reviewed based on the documentation contained in the
Crime Lab file and, therefore, were less time consuming.
       Most of the cases we reviewed were properly examined, adequately
documented, and, with a few exceptions, reported in a timely manner by the Firearms
Section. Overall, Firearms Section examiners demonstrated a high level of skill and
diligence in performing their examinations and correctly making identifications. Their
work was very good and, in some cases, truly impressive.226
       We classified only one Firearms Section case from the 1998-2004 period as having
a major issue. However, we identified minor issues in 146 of the 330 cases in our
sample. Most of the minor issues were administrative in nature and involved slight
deficiencies in documentation, deviations from Crime Lab policies, or deviations from
what are now generally accepted forensic science principles.

        B.       Issues Identified in the Crime Lab's Historical Firearms Cases

      We believe that many of the issues described below could have been discovered
and rectified during thorough administrative and technical reviews.
                 1.     Incorrect Case Report

       The one case from the 1998-2004 period with a major issue was a 2002 case in
which the Crime Lab issued a report that was not consistent with the examiner's work
notes.227 The examiner's notes indicated that, although the class characteristics of two
bullets were the same, there were insufficient individual characteristics to conclude that
the bullets had been fired from the same weapon. The report issued by the Crime Lab,
however, stated that the two bullets had been fired from the same weapon. When we
pointed out this inconsistency to the examiners involved, they readily agreed with our
conclusion, issued a corrected report, and prepared an explanatory memorandum to the

226     One case examined by the Firearms Section that has been publicly questioned is the Crime Lab's
        work in the Nanon Williams matter. This case is the subject of one of our detailed case reviews
        later in this report.
227     This lone major issue case is Firearms Section case number 409-02.




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Crime Lab's QA / QC Manager. All of this activity has been documented in the case file.
There is also a note in the file indicating that the defendant in this case pleaded guilty;
therefore, there was no testimony by the firearms examiner.
                  2.      Documentation of Examinations

        In 100 of the 330 historical cases we reviewed, the firearms examiners did not
adequately document their work. These 100 cases included 61 in which the examiners
did not adequately document in their work notes all aspects of the work performed
during their examinations.228 Adequate documentation includes both written notes and
any images the examiner creates. The other 39 of the 100 cases of inadequate
documentation involved issues observed in the final report prepared by the examiner.
For example, although examiners generally summarized their work notes appropriately
in the final report, we reviewed a number of cases in which this was not done.

       Among the cases in which we found that the information that was documented
in an examiner's notes was not included in the final report for the case were the
following:

      •   In one case, the examination involved cross-comparisons with evidence from
          other cases. While the examiner's notes show an elimination (meaning that the
          evidence from a second case did not match that of the first), the elimination was
          not reflected in the lab report of the first case.

      •   In a second case, an identification was reflected in the examiner's notes but not
          included in the lab report.

      •   In a third case, an examiner identified two bullets to each other (meaning that
          the bullets could have been fired from the same weapon) but only listed a
          correspondence in GRCs in the lab report. This failure to include examination
          results in final reports may have caused the case investigators to use their time
          inefficiently.
       In another case, we found that the final report contained different results from
what the work notes would suggest. Even though the notes stated that the firearm's
"feeding is difficult," the report stated that the firearm "functioned as designed." While



228       In one case we reviewed, the examiner was able to predict the type of weapon used based on
          GRCs but failed to include notes in the case file regarding the land and groove measurements.
          We confirmed that the reported results were correct, but we were concerned that we did not to
          find more detail in the examiner's notes




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it is possible that initial difficulties with the firearm were resolved, there is nothing in
the notes to document this.
       Documentation errors can also appear in images generated by the examiner. In
one case, we were unable to confirm a fired cartridge casing identification from the
image contained in the file. We conferred with the examiner involved, who concurred
that the images were of insufficient quality to allow a confirmation of the reported
identification. Images must be adequate to demonstrate the basis of an identification,
and this inadequacy should have been noted by the reviewer during the file review
process.
       In the 330 historical cases we reviewed, we found 38 instances in which
examiners did not properly correct errors in their work notes. The generally accepted
forensic science principle is now to mark through errors in work notes with the single
stroke of a pen, write the correct information to the side, and initial the correction. In
the historical cases we examined, we found instances in which an examiner used
correction fluid or tape on the work notes, wrote on top of the error instead of to the
side, or made a correction without initialing it. Without initials, one cannot determine
whether the original examiner or a subsequent reviewer made the correction.
        We found a handful of cases in which an examiner did not sign a copy of the
final report.229 We also noted instances in which an examiner did not include the case
number or date of submission on the final report. In a few cases, the examiner listed the
results of a search for weapon possibilities in his notes (also known as a "Criminalistics
Laboratory Information System, or "CLIS" file search) but failed to include a listing of
the search results in the final report.
                 3.      Failure to Examine Components in the Chambers of Submitted
                         Weapons

       The Firearms Section's long-standing practice of not examining ammunition
components that are contained in the chambers of submitted firearms also constitutes a
departure from generally accepted forensic science principles. The practice apparently
is based on the assumption that a fired cartridge casing or shot shell found in a
submitted weapon must have been fired from that weapon. While typically this
assumption is correct, failing to examine ammunition components in such instances
prevents the Crime Lab from detecting staged events in which, for example,

229     In several historical cases, an examiner initialed only the worksheets in the case file that he or she
        generated, unlike other examiners who initialed every sheet in the case file. This administrative
        issue should be addressed by setting an agreed protocol as to which case file documents require
        an examiner's initials.




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ammunition from another weapon is placed in a weapon at a crime scene. This
possibility may appear remote, but most laboratories examine these cartridge casings
and shot shells for markings that might help identify bullets fired from the same
firearm. Although examining more fired cartridge casings and shot shells obviously
requires the examiner to spend additional time on a case, doing so may lead to useful
evidence and is consistent with sound generally accepted laboratory forensic science
principles.
                 4.   Delays in Reporting Results
       We identified 13 cases that involved significant delays in reporting results of
firearms examinations. We deemed delays significant where a considerable period of
time passed between the submission of evidence and its examination, or between the
examination of evidence and the issuance of a report, and there was no explanation or
apparent reason for the delay. The Firearms Section's SOPs required that requests for
analysis be performed in a "timely fashion," but these 13 case files had unexplained
delays in reporting ranging from one month to over a year. In one case, fourteen
months passed between the submission of the evidence and its examination and sixty
more days passed before a report was issued. In another case, fourteen months passed
from the completion of the examination until a report was issued. In a third case, eight
months passed from the time the case was received until the issuance of the report.
None of these case files documented a reason for the delay.
                 5.   Technical and Administrative Reviews

       Some firearms cases for the 1998-2004 period did not contain "date reviewed" or
"reviewed by" entries, meaning that examiners may have reviewed their own
examinations. While there is no evidence to suggest that a review was not performed
by a second examiner, the lack of "date reviewed" or "reviewed by" documentation is a
departure from generally accepted forensic science laboratory principles.
        We also found many instances of minor oversights and typographical errors.
Some oversights are understandable where repetitious phrases are used and where
minor changes in wording may not seem important at first glance. For example, a
sentence in one report discussed a "fired 9 mm Luger" instead of a "fired 9 mm Luger
cartridge case." In another historical case, an examiner's notes stated that rifling was
"consistent with polygonal rifling," while the report stated that it "exhibits polygonal
rifling." It can be difficult to catch such omissions or distinctions during an
administrative review, as experienced examiners may have a tendency to mentally "fill
in the blanks," so we reiterate the importance of performing administrative reviews
consistently and conscientiously.




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                 6.     Examination and Reporting Practices

        Firearms Section examiners did not perform muzzle-to-target distance
determinations in any of the cases that we reviewed. We understand that the Firearms
Section receives few requests from investigators for distance determinations, despite the
fact that such examinations can be useful in many types of cases, particularly those
involving claims of self -defense and some suspected suicides.230
       In our case reviews, we noted a tendency in the work of the Firearms Section
examiners to avoid reporting results as inconclusive, even when this would have been
the most appropriate conclusion. Though none of these historical cases involved
identifications or eliminations, we were troubled by the examiners' apparent reluctance
to report less than definitive results.
        c.       Conclusion

       We found that the vast majority of the Firearms Section 's historical analytical
work was consistently good and sometimes excellent and that the cases were properly
performed, adequately documented, and, with only a few exceptions, reported in a
timely manner. Our review of the Firearms Section's historical work identified only one
case with a major issue -- the Firearms Section has acknowledged the error in this case
and took remedial action through the Crime Lab's current QA / QC program . The
various minor issues we encountered in the historical firearms cases were mostly
administrative in nature, involving slight documentation deficiencies and deviations
from Crime Lab policies or what are now generally accepted forensic science principles.
These minor issues can be attributed to a combination of analyst errors and
shortcomings in the Section's past review process and quality assurance program .
V.      The Trace Evidence Section

       Trace evidence can consist of many different types of evidence found at a crime
scene, on the victim of a crime, on a suspect, or in places visited by a victim or suspect.
It can play an important role in generating investigative leads, identifying potential
suspects, determining how crimes were committed, and corroborating other evidence

230     We previously expressed concern that the Firearms Section's practice of performing trigger pull
        determinations on every firearm submitted to the Crime Lab might not be an efficient use of time.
        We have since discussed this concern with firearms examiners and now agree that, because the
        time spent is minimal and means avoiding the need to re-examine the evidence if a trigger pull
        examination is later requested, the benefits of performing trigger pull examinations on every
        firearm submitted to the Crime Lab outweigh the shght risk that the time involved could be
        better spent on other examinations.




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developed during an investigation. For example, trace evidence might be used to
identify the year, make, and model of a car involved in a hit-and-run accident, based on
paint particles recovered from the victim's clothing.

       Fibers, hairs, paint, glass, fire debris, and many other materials are among the
types of trace evidence examined in forensic labs. Forensic scientists examine trace
evidence for three primary reasons:

      •   to identify the material(s);

      •   to compare the evidence being analyzed with known samples in order to
          determine whether they could share a common origin; and

      •   to provide investigative leads when suspects are unknown.

        If comparisons of suspect evidence and a known sample suggest a possible
common origin, the forensic scientist can help determine the likelihood that the
evidence came from the same source. The cumulative effect of physical evidence,
including trace evidence, can be quite powerful. When numerous pieces of evidence
link a suspect to a crime scene, the probability of the suspect's involvement with the
crime increases significantly. Conversely, the lack of a "match" in trace evidence can
serve the critical function of excluding or exonerating an individual suspect.

          A.     Review of Historical Trace Evidence Cases

       During the 1998-2003 period, Mr. Bolding was the Criminalist IV Supervisor
responsible for the Serology / DNA and Trace Evidence Sections. Until October 2003,
the Trace Evidence Section generally operated with a staff of two analysts and a
Criminalist III supervisor, Reidun Hilleman. However, the Crime Lab stopped
performing in-house trace evidence examinations after Ms. Hilleman was appointed the
QA / QC Manager for the entire Lab in the fall of 2003.

        Since then, most of the trace evidence collected by HPD that requires
examination has been sent to the Texas DPS laboratory. The Crime Lab's Trace
Evidence Section recently resumed some hair and paint trace evidence examinations
after it received a provisional accreditation in November 2006.231



231       The trace evidence examinations performed since November 2006 are not within the scope of our
          review, which covered examinations performed between 1998 and 2003.




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       We identified 223 cases232 that were logged by the Trace Evidence Section during
1998-2003, the period covered by our review.233 Statisticians from PwC originally
selected a sample size of 141 trace evidence files for review, but we found that many of
the cases selected involved no substantive trace evidence examination. This was true
for several reasons:

      •   Some cases involved material that was merely documented and transferred,
          rather than examined, by a trace evidence examiner. Criminalists in the Trace
          Evidence Section often received crime scene materials (e.g., latent fingerprints)
          that were then transferred to other sections of the Crime Lab or elsewhere in
          HPD for examination.

      •   Some trace evidence (for example, hair) was forwarded to outside laboratories,
          including Identigene, ReliaGene, Orchid Cellmark, and the Texas DPS
          laboratory.

      •   Finally, some case files involved trace evidence (particularly hair) that was
          merely inventoried and stored and never underwent in-depth forensic
          examination by the Crime Lab or any other laboratory. This category of cases is
          discussed in additional detail below.

      Because the total number of trace evidence cases was relatively small, and
because many did not involve substantive work, we reviewed all of the 223 Trace
Evidence Section cases. We found that only 129 involved the type of substantive
examination that was within the scope of our review.

          Forty serology / DNA cases were also selected to determine (a ) whether any trace
evidence was examined in connection with those cases and (b) if so, whether there were




232       This number excludes cases involving fire debris evidence for several reasons. The Trace
          Evidence Section has not been evaluating such evidence since the fall of 2003 and has no plans to
          resume this area of trace evidence analysis. The state Fire Marshal currently investigates
          suspected arson cases for the City of Houston. Furthermore, analysis of arson evidence was not
          identified as an area of significant concern in connection with the events leading up to this
          investigation. It, therefore, was not included in the RFP issued by HPD to commission this
          review.

233       The period established in the RFP for trace evidence review covered 1998 to 2004, but did not
          reflect the fact that the Trace Evidence Section stopped performing analyses in 2003.




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any issues associated with that work.234 We selected these 40 cases because they
involved either death penalty or other high profile convictions.235

       Finally, we reviewed a total of 18 trace evidence proficiency tests, which were
used to evaluate the examiners' performance between 1987 and 2002. We found the
performance on the proficiency tests to be generally satisfactory.236

        B.       Issues Identified in the Crime Lab's Historical Trace Evidence Cases

       We found that the quality of examinations actually performed in the Trace
Evidence Section between 1998 and 2003 was generally good. However, in many cases
we reviewed, nothing of evidentiary significance was developed because of a lack of
adequate comparison samples or adequate information from investigators about the
circumstances surrounding a case to provide context for the examinations. There is no
indication that the Crime Lab vigorously pursued with investigators the need for
comparison samples. As a result, HPD did not take full advantage of the potential
value of trace evidence.

        We identified a number of areas of concern relating to the performance of the
Trace Evidence Section between 1998 and 2003. In particular, we found that 5 cases (4 %
of the substantive sample) had major issues, and 44 cases (34 % of the substantive
sample) had minor issues. Most of these historical cases were examined by
Ms. Hilleman, who was the Criminalist III supervisor for the Trace Evidence Section
when the examinations were performed.

                 1.     Lengthy Delays and Lack of Follow-up
      As the examples below indicate, excessively lengthy and unexplained delays
sometimes occurred at several points in the Crime Lab's trace evidence examination


234     It is not uncommon for serology and DNA cases to contain trace evidence components. Cases
        such as homicides and sexual assaults in which there may be biological evidence (for example,
        blood or semen) may also involve evidence, such as hairs, fibers, soil, glass, etc., that could be
        subjected to trace evidence examination and comparison.
235     The Trace Evidence Section analyzed hair evidence relating to the 1987 case of George Rodriguez.
        On October 8, 2004, Mr. Rodriguez was released from prison after serological evidence used at
        trial was found unrehable and questions were raised regarding the reliability of the trace
        evidence analysis in the case. The Rodriguez case is the subject of a detailed case study later in
        this report.
236     We found that an examiner's performance on one 1989 proficiency test was unsatisfactory, but
        Crime Lab records indicated that this test was taken by an unidentified trainee.




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process. In some historical cases, weeks, months, or even years elapsed before any
examination was performed or a report was issued.

        For example, in a hit-and-run case that occurred on December 28, 2002, hairs
from the suspect vehicle were submitted to the Crime Lab on January 9, 2003 and
examined that same day. Some of the hairs were described in the examiner's notes as
human head hairs, and several were described as suitable for DNA analysis. These
hairs were retained in a freezer in the Crime Lab. However, no report was issued until
more than two years later, on April 15, 2005. The report states: "If further analysis is
required in this case, please make an additional request." A request for more
information was made on April 18, 2005, when the investigator asked if the hairs were
human or animal. This information was already available in the examiner's notes, but
there is no record in the file indicating that this finding was ever communicated to the
investigator.

       In another historical hit-and-run case, skin tissue from the bumper of a suspect
vehicle was submitted to the Crime Lab on November 15, 2002. On December 4, 2002,
the Crime Lab was asked to compare the victim's blood and hair to evidence collected
from the suspect vehicle. The trace evidence examiner did not begin examining the
evidence until January 4, 2004, and "possible skin tissue" was then transferred to an
outside DNA laboratory (Identigene) for analysis. The prolonged delay in processing
this evidence was not consistent with generally accepted forensic laboratory principles.
We note, though, that this case occurred during a tumultuous time in the Crime Lab
when the DNA Section was being shut down and alternative arrangements for the
analysis of biological evidence were just being developed.

        Delay and inadequate documentation issues are also evident in trace evidence
files relating to a 2001 homicide case. The offense occurred on September 28, 2001, and
evidence was submitted to the Crime Lab on November 26 and December 17, 2002.
Although the evidence was initially examined on December 12, 2002 and on January 16,
2003, the only report in the case file is dated July 19, 2004. The report states that "[a]
supplement will follow that will document the examinations performed on the above
items." However, there is no such supplement in the file and no explanation for its
absence. Generally accepted forensic science principles require that a report always be
prepared to summarize the examinations performed and results obtained, even if, for
well-documented reasons, the report need not be issued.

       Significant delays in the examination of evidence, such as in the cases described
above, lead to "cold" information that is, for obvious reasons, not as valuable to
investigators as more timely reports would be. The lack of follow-up we observed in
some Trace Evidence Section cases may be attributable in part to a lack of
communication with investigators or the District Attorney's Office. The consequences


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of poor communication between investigators, prosecutors, and crime laboratory staff
include an increased likelihood that an examiner may fail to recognize the significance
of a particular piece of evidence or otherwise be unable to express the significance of a
finding.

                 2.   Minimal Attempts to Generate Investigative Leads

       The potential value of trace evidence examinations was not being fully utilized
during the 1998-2003 period. In some cases, either minimal or no attempts were made
to examine evidence that could have generated important investigative leads. For
example, fibrous insulation material collected from a crime scene and from two suspects
was submitted to the Crime Lab on October 28, 1998. The items were not examined
until more than eight months later, on June 30, 1999. The examination notes describe
each of the three items as consisting of "various fibers (cotton, wool and some synthetic,
various colors) dust particles."

       Because this evidence involved a number of different fiber types and colors, it
could have provided very strong associative evidence if a more detailed examination
had been conducted and reported. Although the file notes that were recorded are
informative, the actual Crime Lab report states only that the three items "consist of
assorted compressed fibers and other dust particles." As a result, the report in this case
does not communicate to the investigators the true potential value of this evidence.
Moreover, the report is dated August 2, 1999, which was more than nine months after
the evidence was submitted to the Crime Lab and likely too late to be of much use to the
investigators.

                 3.   Adherence to Generally Accepted Forensic Science Laboratory
                      Principles

        Generally accepted forensic science principles require that controls be used and
recorded in laboratory notes to ensure the reliability of results in trace evidence testing.
For example, "reagent blanks" are used to ensure that test results are not influenced by
variations or inconsistencies in the reagents themselves. The use of these and other
controls is especially important in connection with chemical tests for the presence of
saliva, blood, and semen. However, there is often no reflection in a number of case files
that appropriate controls were used or recorded by the Trace Evidence Section.

                 4.   Documentation

       Documentation is sparse in many of the historical trace evidence files. The files
rarely contain the notes or telephone logs that are commonly used in forensic
laboratories to document communications with investigators and prosecutors.



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Similarly, there is often no documentation in the files explaining the reasons certain
evidence was not examined. Some of the historical case files could have been greatly
enhanced by the use of sketches or photomicrography, which would aid the analyst or
reviewer in reconstructing the case (e.g., when called upon to testify at trial or in
connection with legal appeals).

      Additionally, a few case files lacked documentation of any technical or
administrative review in cases in which the notes indicate that no trace evidence
examinations were performed. The Crime Lab's SOPs require such reviews in all cases,
whether or not an examination was actually performed.237

        C.       Review of Historical Trace Evidence Examinations in Selected Serology
                 and DNA Cases

        We did not identify any major issues relating to trace evidence examinations in
the 40 serology / DNA historical cases selected for review. Minor issues were identified
in 5 (12.5 % ) of these cases, and they primarily involved documentation issues similar to
those described above.

       Two death penalty case files had trace evidence issues that we determined were
minor. In the first case, the work notes contained insufficient documentation of the hair
comparison that was performed. In the second historical case, hair samples were
collected, but the case file contained no Trace Evidence Section report.

        Minor issues were identified in a third, non-death penalty case because of
significant differences in the level of detail in the work notes relating to the known and
questioned samples. This case involved hair comparisons, and the work notes
contained appropriately detailed observations of the microscopic characteristics of the
known hairs. However, there was no detailed description of the questioned hairs other
than that they were "microscopically consistent" with the known hairs. We reviewed
the transcript of the examiner's trial testimony in this case, and it appropriately
reflected the limits of the observations that were made and their interpretation.238

       Similar issues were identified in a fourth case, in which numerous hair
associations were made linking questioned hairs to the victim. The victim's hair
characteristics were well described, but the questioned hairs were not described in
sufficient detail to document the association.

237     This is an SOP that applies to all sections of the Crime Lab.
238     This was the highly publicized case involving George Rodriguez, which is the subject of one of
        our case studies discussed later in this report.




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        In the fifth minor issue case, we found that the file contained no information
regarding the source of some items of evidence. Additionally, some descriptions in the
notes and report are too vague to be informative. As a result, it is not possible to
interpret the significance of the findings that are documented in this file. Finally, the
work notes indicate that several items were examined, but those items are not referred
to in the report.

        D.       Conclusion

       During the period of our historical review, most of the work performed by the
Trace Evidence Section was good. Much of the potential value of trace evidence was
not realized during this period, however, because HPD investigators and the Crime Lab
did not pursue potentially significant findings and evidence. The follow-up that did
occur often took place only after lengthy delays that reduced the likelihood of a
successful outcome for the investigation. Sparsely documented files also diminished
the usefulness of the reviews that were performed.

VI.     The Toxicology Section

       Forensic toxicology involves the use of screening tests and confirmatory tests to
detect, quantitate, and identify potential toxins, including drugs and alcohol, in body
fluids and tissues. During the screening step of this process, samples are tested for the
presence of a wide range of drugs or other toxins. Screening tests are not necessarily
specific for a particular toxin, so, until initial results are confirmed, they are viewed as
tentative, at best. Confirmatory tests are important because they reduce the risk of false
positive test results, which can occasionally occur when a substance's chemical
structure is similar to that of another substance or when a contaminant has been
introduced.

        A.       Testing Procedures Used by the Toxicology Section
       At the Crime Lab, screening tests were commonly performed using fluorescence
polarization immunoassay ("FPIA") techniques and thin layer chromatography
("TLC"). The Toxicology Section used an FDA-approved FPIA technique as a screening
test. FPIA involves the use of a drug antigen that is created with a fluorescent "label."
When these antibodies are added to a blood or urine specimen containing the drug
antigens, the antigens in the sample move to attach themselves to the antibodies. When
the sample is exposed to light, this movement creates measurable changes in the light's
intensity. The changes are proportional to the quantity of drug antigen present in the
sample.




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       Like many other forensic and clinical laboratories, the Crime Lab used a
commercially available TLC system to test urine samples for drugs. TLC is used to
separate components of a mixture and to tentatively identify those components. The
varying colors, shapes, and Rf values239 observed on the resulting chromatogram are
compared with patterns produced by known compounds to make a tentative
identification of substances present in the sample.

      Gas chromatography/ mass spectrometry ("GC/ MS") was normally used by the
Toxicology Section as a confirmatory test. The scientific principles and techniques
involved with GC / MS testing are described in the discussion of the Controlled
Substances Section, above.

       Gas chromatography with flame ionization detection was used by the Toxicology
Section for blood and urine alcohol testing. Components exiting from the GC column
pass through a flame and are burned. The ions produced in this process generate a
measurable electric current that correlates to the quantity of alcohol burned.

        B.       Review of Historical Toxicology Cases

       Toxicology case files were selected with the assistance of PwC from a total
universe of 1,555 toxicology cases handled by the Crime Lab between 1998 and 2004.
We recalibrated our original toxicology sample of 101 cases after discovering that a
significant number of cases in the sample actually involved analysis by other sections in
the Crime Lab, particularly the Controlled Substances Section.240 Search criteria were
adjusted, and the recalibrated toxicology sample included 308 cases. The total sample
of 409 historical cases (101 from the original sample and 308 from the recalibrated
sample) was reduced to 396 after duplicates (cases that appeared in both the first and
second samples) were eliminated. Despite these adjustments to our search criteria and




239
        Rfvalue is expressed in terms of a ratio, in which the distance traveled by the substance being
        tested is compared with the distance traveled by the transporting solvent.
240     As discussed in detail in our global recommendations for the Crime Lab, the Crime Lab tracks
        cases based on the uniform crime reporting ("UCR") code assigned to the underlying
        investigation by the HPD investigator. Thus, the Crime Lab's case management system tracks
        Lab files based on the underlying offense rather than the type of analysis performed by the Lab.
        As a result, we found that a number of cases that were initially identified, based on their UCR
        code, as potential toxicology cases actually were analyzed in the Controlled Substances Section.




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sample size, only 213 of the cases in the final sample actually involved toxicology
casework.241

       With only a few exceptions, the work performed by the Toxicology Section
between 1998 and 2004 was satisfactory. During that time, there was an obvious and
demonstrable improvement in the analytical procedures and processes used by the
Section. Toxicology case files in the historical sample were well organized; the reviews
were, for the most part, properly documented; and an appropriate range of analytical
procedures was performed in most of the cases reviewed.

      There were no significant issues identified in the historical blood and urine
alcohol cases reviewed. Moreover, there was continual improvement in procedures and
documentation in this area during the period covered by our review. As of 2004, the
procedures used by the Crime Lab were state-of -the-art.

                 1.     Major Issues in the Crime Lab's Historical Toxicology Cases
       We identified only one historical toxicology case that involved a major issue
relating to the reliability of the work performed. In that case, the analyst concluded
on the basis of GC/ MS analysis alone -- that a blood sample was positive for heroin,
                                                                                                     —
cocaine, and PCP. However, no morphine was identified by the analyst. We believe
that the GC / MS data were interpreted correctly, but, because heroin is almost
immediately metabolized into morphine when it enters the human body, a positive
heroin test without the presence of morphine is an unlikely pharmacological result and
may indicate possible sample contamination. In light of the pharmacologically
questionable result and the absence of a second test, we consider the work in this case to
be inconsistent with generally accepted forensic science principles; additional work
should have been done.

                 2.     Minor Issues in the Crime Lab's Historical Toxicology Cases

       Of the 213 historical toxicology files that we reviewed, 86 (40 % ) had minor
issues. We divide those minor issues into the following categories.




241     We consulted PwC to determine whether the toxicology case file sample was sufficient under
        statistical standards to estabhsh confidence in the results of our review. PwC confirmed that the
        results maintained a high level of statistical precision because of the very conservative
        parameters that were used to estabhsh the sample.




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                       a.    Test Administration and Interpretation Issues

       A number of historical case files involved drug identifications that were based on
a single test, usually GC/ MS. Analysts may have treated the GC retention time in a
GC / MS run as a second, confirmatory test, but this is not an independent test.

      The analytical data were not interpreted as rigorously as they might have been in
some of the minor issue cases. For example, we did not consider some of the MS
"matches" identified by analysts to be strong matches.

       We also observed deficiencies in the identification of some drugs and metabolites
in some toxicology cases. However, in each of these cases, other drugs and metabolites
were properly identified and correctly reported. As a result, because other controlled
substances were detected in the samples, we concluded that the failure to identify the
additional drugs or metabolites in the samples probably did not have any effect on the
outcome of the cases.

                       b.    Documentation

        Many historical case files did not contain adequate documentation of all the
work that may have been performed. In some cases, the analyst's summary sheet in the
file shows that TLC was run, but there is no documentation (e.g., a copy or photocopy
of the chromatogram ) of the results of such analyses. In a few historical cases, there
were suggestions of cocaine contamination, but cocaine was not reported.

                       c.    Technical and Administrative Reviews

       Many historical cases lacked technical review by a qualified person other than
the analyst who had performed the work. This typically occurred during the period
when the Section supervisor was the only person qualified to perform toxicological
analysis at the Crime Lab.
       In one historical case file, some of the gas chromatograms were labelled with the
wrong date and case file number. This was an administrative issue, but the fact that it
apparently was not picked up during the original technical review raised some concern
about the thoroughness of that review.

        C.       Review of Historical Proficiency Tests Performed by Toxicology Section
                 Analysts
       Drug proficiency tests were usually administered to analysts in the Toxicology
Section five to six times per year. However, Ms. Louie acknowledged that no tests were
administered for several years during her tenure as the Section supervisor. Our


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investigation revealed that proficiency testing stopped between late 1995 and early
1998, and the Crime Lab's subscription to a bi-annual Department of Transportation
blood alcohol proficiency testing program also lapsed at some point during this time.
We ultimately identified and reviewed 33 proficiency tests administered to Toxicology
Section analysts between 1998 and 2003.

       Most of the proficiency test results were good, and some were excellent. Tests
were typically examined by more than one analyst and reviewed by the Section
supervisor. However, three tests performed during the review period yielded false
                       —
positive results the Crime Lab analysts incorrectly reported drugs that were not
actually present in the test sample.

                  1.       False Positives

      •   In one test, three analysts noted "indications" of methamphetamine in their work
          notes, but none of the analysts attempted to confirm the identification. Although
          methamphetamine was not present in the sample, it did contain a drug with a
          chemical structure similar to methamphetamine.

      •   In another test, two analysts incorrectly reported the presence of methorphan (a
          codeine-based cough suppressant), but failed to identify cimetidine that was
          present in the sample.242

      •   A third false positive involved the identification of a narcotic metabolite by the
          Section supervisor. To her credit, when she learned of the correct answer to the
          test, she rated her own performance on this proficiency test as unsatisfactory.243

                  2.       Substances Present But Not Detected

       In a number of other proficiency tests, Toxicology Section analysts failed to
identify substances that actually were present in the sample. One was a cannabinoid
commonly encountered in forensic toxicology. For no apparent reason, the analysts

242       Cimetidine is commonly prescribed for the treatment of gastric reflux disease. It is not a drug of
          abuse and, therefore, is not the type of drug typically tested for in DUI cases.
243       Additionally, a fourth false positive test result occurred in a proficiency test administered in 1997
          (outside the 1998-2004 period of our formal review). Toxicology Section analysts identified the
          presence of cocaine in the sample. The sample did contain a cocaine metabolite, but the test
          provider firmly denied that the sample contained any cocaine, and most labs participating in the
          test did not report it. The Crime Lab's analytical data clearly shows cocaine, and the most
          reasonable explanation for this is sample contamination at some stage in the examination process.




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simply did not perform tests that would have identified the cannabinoid. In another
proficiency test, the analysts correctly identified cannabinoids, but did so based only on
a positive FPIA and inadequate GC/ MS test results.244

        D.       Conclusion

       Most of the work performed by the Toxicology Section during the period of our
historical review was good. We identified several cases that involved potential sample
contamination, and false positives occurred in a few of the historical proficiency tests
that we reviewed. Documentation deficiencies, a lack of rigor in the interpretation of
analytical data, and the absence of thorough administrative and technical reviews led us
to identify minor issues in a significant number of the historical cases. However, we
found that by 2004 the Toxicology Section was using state-of -the-art procedures and
that documentation was much improved.

VII .   Questioned Documents

       Forensic document examination can play a significant role in developing
investigative leads and resolving criminal cases. In addition to many types of
documents in fraud cases, notes presented during bank robberies, written bomb threats,
drug tally sheets, suicide notes, threatening letters, and gambling tip sheets can all
provide critical information to investigators. Even documents that appear to be blank
may contain indented impressions of handwriting, which can be compared to known
samples and used to include or exclude potential suspects. Document examination can
be used to establish potentially crucial facts, including the date, source, history,
preparation, authenticity, and relationship of documents.

       Signature and handwriting examinations involve the comparison of writing
samples from a suspected writer with a sample of unknown origin. The examiner
evaluates specific characteristics such as the formation and proportions of letters,
fluency of pen strokes, pen lifts, and pen pressure variations to identify similarities or
differences in the two writings. In some cases, this analysis can result in the positive
identification or definitive exclusion of a suspected writer.

       Handwriting analysis is one of the more commonly performed types of
document examination, but forensic document examination can also involve many
other tasks, including the identification or comparison of papers, watermarks, inks,


244     In that same test, the analysts failed to identify the presence of erythromycin, an antibiotic that,
        like cimetidine, is not typically tested for in DUI cases.




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typewriters, printers, checkwriters, photocopies, and facsimiles. It can also involve the
restoration of altered, damaged, obliterated, or erased text.

        A.       History of Questioned Documents Examination and HPD
       Until 2004, the Questioned Documents Section was a component of the
Identification Division. In its early years it employed several document examiners, but
it was closed in the mid-1980s during a period of examiner attrition and waning
requests for document examinations. For approximately fifteen years (from the
mid-1980s until 1999), document examination requests generated by HPD investigators
were referred to the Texas DPS laboratory.

        In 1995, HPD began recruiting questioned documents examiners. Randy
Carodine, who is currently HPD's sole document examiner, was hired as a classified
officer assigned to the Identification Division. After completing police academy
training, Mr. Carodine began a three-year training program provided by members of
the Southwestern Association of Forensic Document Examiners ("SWAFDE"). Because
the Questioned Documents Section had not been in operation for approximately ten
years by that time, Mr. Carodine had to look to outside sources for training, technical
review services, advice on equipment purchases, and mentoring.

        The Questioned Documents Section ultimately re-opened in 1999, after SWAFDE
trainers determined that Mr. Carodine was proficient in document examination. To
promote the re-opening of the Questioned Documents Section, Mr. Carodine circulated
an internal HPD notice. He also visited each HPD division to distribute pamphlets that
described available services, as well as the process for submitting documents for
examination. Because of limited resources and a lack of equipment, Mr. Carodine was
able to perform only handwriting examinations when the Section first opened. HPD
later acquired an infrared viewing instrument and other equipment which permitted
enhancement of the range of document examinations performed.

       A change in Texas state law prompted the transfer of the Questioned Documents
Section from the Identification Division to the Crime Lab in 2004. The legislation, which
went into effect in 2005, permits the admission of forensic science evidence in court
proceedings only if the evidence comes from an accredited laboratory. This change
produced some positive results for the Section, including the development of
formalized SOPs, and the allocation of additional funds for the Crime Lab.

        B.       Review of Historical Questioned Documents Cases

      When the Phase II Plan was developed, it was anticipated that our forensic
experts would review all of the questioned documents cases worked between 1999


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(when the Section re-opened) and 2004. Approximately 200 cases were logged in by the
Questioned Documents Section during that period, but we found that fewer than half
resulted in the generation of written reports.

       Mr. Carodine's practice was to record telephone and other inquiries in the
Questioned Documents Section case log and to establish a case number for those
inquiries, even when no report relating to the matter was ever prepared. As a result,
only 91 cases were actually available for review, all of which have been reviewed and
were discussed in our Fourth Report, which was released on January 4, 2006.

       Our experts were impressed with Mr. Carodine's knowledge, the quality of his
work, the level of effort he commits to maintaining the integrity of the Section, and the
excellent documentation supporting his reported conclusions. Mr. Carodine's work has
been outstanding in most of the cases he has completed. He has also successfully
completed external proficiency tests that are administered on a bi-annual basis.

        No major issues were identified in connection with the 91 questioned documents
files reviewed. Most of the minor issues identified and described below occurred before
the Crime Lab implemented more detailed, specific SOPs in 2004.

                 1.   Quality of the Questioned Documents SOPs
       Before the Questioned Documents Section transferred to the Crime Lab, it relied
on a four-page SOP. Since then, much more detailed SOPs have been established to
meet the requirements for ASCLD / LAB accreditation. We reviewed these detailed
SOPs and found them to be well written. The SOPs are current and reflect generally
accepted forensic science principles. However, they include procedures for
examinations that are not currently performed in the Crime Lab, such as typewriter
examinations and pH pen examinations. We believe that it would be better to exclude
these procedures from the SOPs until such examinations are actually being performed
at the Crime Lab.

                 2.   Written Reports

       As is noted above, the case log maintained by the Questioned Documents Section
indicated that more than 200 cases had been worked between 1998 and 2004. We
learned, however, that Mr. Carodine's practice was to record case numbers in the log to
document that he gave advice or other information to an investigator, even though a
written report documenting that advice was not generated. We believe that, in every
case that is opened, a written report -- brief though it may be -- should be prepared to
document how the case was resolved.




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                 3.   Technical Review

       Technical review is a process intended to ensure that conclusions expressed in a
written report are appropriate and supported by documentation in the file. We noted
that some of the work performed by the Questioned Documents Section had not
received a technical review. This is partly because supervisors did not require such
reviews when the Section was a component of the Identification Division.

       Nevertheless, Mr. Carodine recognized the importance of such reviews and
established an informal network of outside examiners who were willing to assist with
this process. Mr. Carodine informed us that he typically sought independent technical
review only when he reached definitive conclusions. Cases that generated equivocal or
inconclusive results were usually not submitted for outside review, but, in some
instances, they were. In some cases, technical review was obtained but not documented
because the reviewer did not want to risk the possibility of being subpoenaed in
connection with the case. These historical practices with respect to the technical review
were a weakness in Mr. Carodine's otherwise high quality casework.

        C.       Conclusion

       We were consistently impressed with the quality of the work performed by
HPD's questioned documents examiner.       Only minor issues were identified in our
review of historical cases, and the minor issues that we did note were ah administrative
issues, rather than issues involving the technical proficiency of the questioned
documents examiner. Moreover, most of the minor issues that we identified were
addressed by improved SOPs that the Crime Lab implemented in 2004.

VIII. Conclusions Regarding the Crime Lab's Historical Operations

       Our review of over 3,500 cases analyzed by the Crime Lab prior to its
accreditation by ASCLD / LAB has produced a detailed and complex portrait of the
quality of forensic science work performed in the Lab during a period that extended, in
some of our reviews, for a period of close to 25 years. We observed high quality work
performed in the Crime Lab's Toxicology, Firearms, and Questioned Documents
Sections and found very few major issues in the cases we reviewed in these disciplines.
Although the Crime Lab generally performed reliable examinations of trace evidence,
we found that poor communication between the Lab and HPD investigators may have
diminished the value of this work to HPD's investigations. Although the Controlled
Substances Section's analysis of marijuana and cocaine samples -- which comprised the
vast majority of its workload -- was sound, we found a number of serious problems
with the Section's analysis of other types of evidence, including liquids and tablets.




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        The body of the Crime Lab's historical serology and DNA analysis work,
however, is extremely troubling. We found significant and pervasive problems with
the analysis and reporting of results in a large proportion of these cases. The Crime
Lab's substandard, unreliable serology and DNA work is all the more alarming in light
of the fact that it is typically performed in the most serious cases, such as homicides and
sexual assaults.

        Several of the root causes for the severe problems that afflicted the historical
Crime Lab were apparent early in our investigation when we began reviewing HPD's
files related to funding and support for the Lab; interviewing Lab managers and
employees and other HPD personnel; and reviewing the Lab's SOPs, administrative
files, and casework. These central themes, which were borne out by our review of the
Crime Lab's historical cases, lie at the heart of the crisis that consumed the Lab over
four years ago. Each of these issues had an impact on the Crime Lab's casework and the
quality of forensic science services that the Lab was able to provide to the Harris
County criminal justice system.
        A.       Lack of Support and Resources for the Crime Lab

        It is clear that, over the 15 years preceding the DNA / Serology Section's closure
in December 2002, HPD and the City failed to provide the Crime Lab with adequate
resources to meet growing demands for its services. During these years, Houston grew
to become the fourth largest metropolitan area in the United States, and the level of
criminal activity increased as the City grew. Yet, as its caseload swelled, the Crime Lab
struggled to keep pace. As a support function populated by civilian employees, the
Crime Lab was marginalized within HPD. Salaries for Crime Lab personnel were
significantly lower than the salaries offered in other laboratories, including other public
laboratories in the Houston area. As a result, the Crime Lab experienced difficulty
attracting and retaining well-qualified forensic scientists. Although the number of
forensic scientists authorized for the Crime Lab grew modestly between 1994 and 2002,
turnover or inadequate funding meant there were always positions that remained
vacant, sometimes for extended periods of time. The calcified organization of the Crime
Lab afforded analysts very little opportunity for promotions or pay increases.

        With some notable exceptions, the technical errors we identified in the Crime
Lab's historical cases were not attributable to misconduct on the part of an individual
analyst. Rather, the major issues that we identified in the Crime Lab's historical
casework are attributable in large part to poor training and lack of competent technical
guidance. We found documents reflecting DNA analysts' frustrations and concerns
over the lack of training as early as 1994, soon after the Crime Lab began performing
DNA analysis. Training was one of the first areas of the Crime Lab's budget that was
cut as funding for the Lab became tight. This lack of training was reflected in the Crime


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Lab's DNA casework where HPD analysts demonstrated fundamental failures to
understand and apply generally accepted forensic science principles.

       Finally, under HPD's and the Crime Lab's former management, accreditation
never was a realistic possibility. Because of the roof leaks that allowed water to leak
into the Crime Lab for more than six years245 and because of the lack of sufficient
funding, by the early 2000s the former head of the Crime Lab, Donald Krueger, knew
that the Crime Lab would not be able to obtain ASCLD / LAB accreditation without
significant improvements. Mr. Krueger was uncomfortable with the prospect of
inviting outside inspectors to review the Crime Lab. Without additional funding and
support from HPD and the City, the Crime Lab had no realistic prospect of becoming
accredited and integrated into the national forensic science community.

        B.       Ineffective Management Within the Crime Lab

        Although HPD and the City must be faulted for failing to provide the Crime Lab
with the resources it needed, there also was a lack of strong and effective leadership
within the Lab. Mr. Krueger, who was head of the Crime Lab from 1995 to early 2003,
was an isolated and detached manager of the Lab. Mr. Krueger rarely met with Crime
Lab analysts as a group, and he relied heavily on James R. Bolding, the head of the
DNA / Serology Section, and the other managers, to run their Sections while providing
little oversight. Mr. Krueger told us that he was surprised and shocked when, in
December 2002, outside auditors advised him that the DNA Section was in shambles.
Given the state of affairs described by the auditors and reflected in the Section's
casework, this could only have been the reaction of a manager extremely far removed
from the work performed and reported out by the DNA Section.

       For his part, Mr. Bolding probably lacked the competence to recognize the
                                                    —
problems with the Crime Lab's DNA work he was never trained in PCR techniques
and clearly had no better understanding of the proper interpretation and presentation
of DNA typing results than his subordinates. Mr. Krueger failed to make a forceful case
with HPD command staff for addressing critical needs, such as the severity of the roof
problem and the desperate need for a direct supervisor over the DNA / Serology
Section. Although requests for funding were made regularly over the years,

245     The City and HPD were aware of problems with the roof at the 1200 Travis Street HPD
        headquarters building before the Crime Lab moved into the facility in 1997. In 2001, Tropical
        Storm Allison flooded the Crime Lab, and boxes containing biological evidence became soaked
        and the evidence likely contaminated. Yet, the roof leaks continued unabated in a scientific
        laboratory responsible for processing sensitive biological evidence for use in criminal matters.
        The roof problem was not addressed until 2003, after the crisis enveloped the Crime Lab.




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Mr. Krueger failed almost surely because he did not fully appreciate the problem
himself -- to explain the disastrous potential of the lack of supervision in the
DNA / Serology Section.

       We also found that there was inadequate management of the strong and difficult
personalities within the Crime Lab. Morale was consistently low among Crime Lab
analysts, and discontent was widespread. After Dr. Baldev Sharma was made the line
supervisor over the DNA / Serology Section in 1993, open and prolonged feuding
developed between Dr. Sharma and his supervisor, Mr. Bolding. Grievances and IAD
complaints between and among analysts and supervisors, some of which were quite
petty, were commonplace. Finally, as demonstrated by the drylabbing incidents
involving two Controlled Substances Section analysts, described in our previous reports
and again in this report,246 Crime Lab managers found it difficult to discipline or
remove incompetent personnel. These personnel problems fostered a highly
dysfunctional, and, in some respects, unprofessional, laboratory environment.
        C.       Lack of Adequate Quality Control and Quality Assurance

       Managers and supervisors within the Crime Lab failed to ensure that the
analytical and quality control procedures employed by the Lab were current, properly
designed, and complete. SOPs for most of the sections in the Crime Lab, including the
DNA / Serology Section, consisted of procedures and reference materials cobbled
together over time without periodic re-evaluation and reorganization. There were few
technical reviews of analysts' work, including review of their test results, interpretation
of data, and reporting.

       Even though Dr. Sharma was appointed the QA / QC Manager for the Crime Lab
in 1996, he was unproductive in this position and the Lab failed to develop a true
quality assurance program. The Crime Lab stopped performing Lab-wide inspections
of casework until approximately 1997, but those inspections were largely administrative
and did not involve review of analysts' results and interpretation.

        D.       Isolation of the DNA/Serology Section

        Major problems beset the DNA / Serology Section of the Crime Lab almost from
its inception in the early 1990s. These problems were insufficiently recognized by Lab
management and the HPD command staff for many years. By the time of the 2002 DPS

246     These drylabbing cases were first discussed in our Second Report, which was issued on May 31,
        2005. These incidents are described in detail in our discussion regarding the Crime Lab's
        historical controlled substances cases.




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audit, the DNA Section was in shambles plagued by a leaky roof, operating for years
without a line supervisor, overseen by a technical leader who had no personal
experience performing DNA analysis and who lacked the qualifications required under
applicable FBI standards, staffed by underpaid and undertrained analysts, and
generating mistake-ridden and poorly documented casework. A critical component of
the FBI standards, to which the Crime Lab agreed to abide when it registered to
participate in the CODIS database in 1998, is a requirement for bi-annual reviews by
outside agencies. Such a review never occurred until the fateful DPS audit in December
2002. The internal reviews of the Section, performed by Mr. Bolding in 2000 and 2001,
made findings regarding the condition of the DNA Section that were largely
contradicted by the 2002 DPS audit, which used the same standards supposedly used
by Mr. Bolding. Despite the Crime Lab management's recognition as early as 1996 that
accreditation was becoming a necessity, the Lab's efforts toward achieving accreditation
never gathered any momentum of any kind; no outside inspection of the DNA Section
related to accreditation was ever performed.

       The purpose of outside scrutiny is to shed light on a laboratory's practices, to
focus attention on existing deficiencies and potential problems, and to broaden the
perspective of laboratory analysts by bringing them in contact with personnel who
work in other forensic laboratories. By insulating itself from outside scrutiny, the Crime
Lab never received these benefits. Flawed practices and embedded
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misunderstandings for example about the proper calculation and use of frequency
estimates in DNA cases -- became accepted by analysts within the DNA/ Serology
Section as the correct way to do things. These misunderstandings infected the work of
the Section's analysts from the analysis through trial testimony. Indeed, we observed
the same types of major issues across all the Crime Lab's DNA work, regardless of the
analyst or the DNA typing system (RFLP, PCR, or STR) used.




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Detailed Case Studies
       In addition to reviewing hundreds of cases included in our samples of the Crime
Lab's cases, our plan for the review of the Lab's historical operations included detailed
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studies of the role forensic science played in the cases related to four defendants
Lawrence Napper, George Rodriguez, Josiah Sutton, and Nanon Williams. Each of
these cases has a relatively high profile, each has been subject to media coverage, and
each involves work by the Crime Lab that has been called into question. We selected
these cases in order to provide a detailed account of the Crime Lab's role in the
investigation and prosecution of these defendants and to provide our assessment of the
impact that forensic science, performed by the Crime Lab and by other laboratories, has
had on the defendants and the victims in these cases.

       These cases also provide illustrative examples of the Crime Lab's work across a
number of forensic science disciplines. The Rodriguez case involved serology and trace
evidence, the Williams case involved firearms evidence, and the Napper and Sutton
cases involved DNA evidence.

I.      Lawrence Napper

       On February 11, 2001, sometime just before 3:00 p.m., the victim, a 6-year-old
boy, was abducted by a "skinny black male" wearing a blue hat and driving a late
model black car. The boy had walked to a convenience store with his older sister.
While the sister was inside the store, the male in the late model black car, which was
parked in front of the store, offered the boy money if he would get into his car. When
the boy refused, the man got out of the car, picked the boy up, and shoved him into the
vehicle. As the boy cried, the kidnapper drove him to a small house, which the man
told the boy, as the boy subsequently reported to an HPD officer, was "his friend's
house."

       Once inside the house, the kidnapper tied the boy boy's limbs to each corner of a
small bed. While the boy was tied to the bed, the man slapped him repeatedly and told
him to be quiet. The boy recalled that the man stripped down to his underwear and
applied an "orange grease" to his body and face. Several weeks after the kidnapping,
on March 15, 2001, the boy told police that, while he was tied to the bed, the man "stuck
his thing in my mouth and then peed in my mouth." The boy also told police that, after
the assault, the man made him take a bath.

       The day after the abduction, on February 12, 2001, at approximately 6:00 a.m., the
assailant drove the boy back to the same convenience store where the abduction




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occurred and released him. The boy's mother immediately took him to Texas
Children's Hospital to be examined.

        A.       The Investigation

        HPD investigators arrived at the hospital to interview the boy and collect
evidence. An officer observed that the boy had "bright red marks across both sides of
his face which were clearly visible." The boy described the kidnapper to police, as well
as the house to which he was taken by his assailant. An attending physician told
investigators that he saw no evidence of a sexual assault, and at that time the boy did
not tell police about the sexual assault. A Crime Scene Unit ("CSU") investigator
collected the boy's clothing and called the Crime Lab from the hospital and spoke with
Reidun Hilleman. Ms. Hilleman told the CSU investigator that he could bring the
evidence directly to the Crime Lab. Ms. Hilleman suggested that the CSU investigator
take swabs of the victim's face to attempt to obtain contact DNA that may have
transferred from the assailant when he slapped the boy. The CSU investigator took two
swabs of the outside of the boy's cheeks, which, along with the boy's clothing, two
rectal swabs, and an oral swab, were hand-delivered to the Crime Lab.

       On February 14, 2001, the boy's aunt told the police that the boy had revealed
more details about what had happened while he was tied to a bed at the assailant's
house. The aunt told police that the boy had told her that the assailant forced the boy to
perform oral sex on him, threatened to stab the boy if he refused do it, and hit him .
Investigators interviewed witnesses who had observed the kidnapping and developed a
composite sketch of the suspect, which was released to the public.

        On February 23, 2001, HPD received a "crime stoppers" tip from a woman who
"had information that Lawrence James Napper fit the composite drawing of the suspect
in this case, drove a car that was similar to the one described in this case and liked to tie
people up to the bed and beat them during sex. " The caller also told police that
Mr. Napper was a registered sex offender. Police found that Mr. Napper was indeed a
registered sex offender and that he had been paroled from prison on April 21, 2000.247
Investigators also discovered that there was an outstanding warrant for Mr. Napper's
arrest, which had been issued on February 18, 2001 for a parole violation.

247     After he was released on parole, Mr. Napper originally was required to wear an anklet equipped
        with a global positioning system ("GPS") device. On December 12, 2000, the GPS device was
        removed, and, from that time until his arrest on February 23, 2001, Mr. Napper was monitored
        with a radio frequency / electronic monitoring device that was not capable of tracking his precise
        whereabouts at all times. The radio monitoring device was only capable of recording when
        Mr. Napper left and arrived at his home.




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        Upon learning of the outstanding warrant, police immediately went to
Mr. Napper's residence. After speaking with Mr. Napper's brother, who lived nearby,
the officers learned that Mr. Napper was at home. The officers then arrested
Mr. Napper inside his house. The officers' report notes that they observed in the house
a "brown couch," small bed, and "bottle of orange lotion," all of which were consistent
with details the boy had provided about the house where he was assaulted.

        B.       The Crime Lab's Work

       On February 12, 2001, the same day that the CSU investigator delivered the
evidence collected from the victim to the Crime Lab, Lab analysts Joseph Chu and Mary
Childs-Henry screened each of the evidence items for indications of semen. Ms. Childs-
Henry's lab notes reflect that p30 tests performed on both of the "face-cheek" swabs
were positive, indicating the presence of semen.248 The Crime Lab's report entered into
OLO by Mr. Chu and Ms. Child's Henry, dated March 26, 2001, stated that "semen was
detected on the face/ cheek swabs" and that "no semen was detected on any other
items" that the Crime Lab tested, including clothing and bedding seized from
Mr. Napper's residence.

        Ms. Childs-Henry's documentation reflecting the serological screening she
performed on the "face/ cheek" swabs is poor, but typical of the Crime Lab's
documentation practices generally during that period. Although it is not completely
clear, it appears that Ms. Childs-Henry's positive test for p30 was based on an Abacard
test because there is no documentation in the Crime Lab's ledgers or notebooks
indicating that any other testing for the presence of semen was performed. The
Abacard test, although widely used and generally accepted as a presumptive test for
semen, is not definitive for the presence of semen, and false positives are not
uncommon. Also, the result, whether positive or negative, was not recorded
photographically for independent verification. Ms. Childs-Henry did not perform a
microscopic examination to attempt to confirm the presence of any sperm cells on either
of the "face-cheek" swabs.249


248     That same day, Ms. Hilleman notified investigators that the swabs from the victim's face
        contained semen.
249     Ms. Childs-Henry's testimony during Mr. Napper's trial is not illuminating as to the work she
        did to support her reported conclusion that semen was detected on the "face / cheek" swabs.
        Regarding her serological work on the swabs, she stated only that "[f ]rom examining those swabs
        that were brought into the crime laboratory and transferred to me, I did an analysis because I was
        looking for the presence of semen on the swabs. From doing that analysis, I determined that the
        face swabs contained semen." State v . Napper , Cause Nos. 886345 & 886346, Tr. Vol. 8, at
        200:16-21 (Nov. 7, 2001).




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        Ms. Childs-Henry performed a differential extraction to obtain DNA from both
of the "face-cheek" swabs. In an affidavit prepared by Ms. Childs-Henry in June 2005,
she stated that she prepared "four vials containing DNA from the swabs collected from
the complainant s face and check."250 These four vials contained epithelial and sperm
                      7



fractions from each of the swabs. On February 15, 2001, Ms. Childs-Henry transferred
the vials containing DNA extracted from the "face-cheek" swabs to Mr. Chu for DNA
analysis.

       On February 20, 2001, Mr. Chu performed STR testing on all four samples
provided to him by Ms. Childs-Henry. The STR electropherograms related to testing on
the four "face-cheek" swab samples reflect a mixture of DNA profiles. On February 27,
2001, after Mr. Chu already had completed testing on the evidence samples, he
performed STR testing on a reference sample obtained from Mr. Napper. Mr. Chu did
not prepare an allelic table reflecting his DNA results from the evidence and the
reference standards obtained from Mr. Napper and the victim, which was consistent
with the general practice in the DNA Section at the time. Based on our review of the
electropherograms in this case, we prepared the following allelic table reflecting the
DNA results that Mr. Chu obtained.

                                    STR Results Obtained by Mr. Chu

       Sample         D3S1358      VWA        FGA      AMEL   D8S1179    D21S11    D18S51   D5S818   D13S317   D7S820
Napper                     16       17      18.2, 21   XY     14, 15    29, 32.2   16, 20   10, 13   11, 12    8, 10
Swab #1 epithelial                                                                          12, 13
                          15, 16   17, 19   19, 22     XY       14      28, 31.2   12, 18            11, 14    8, 10
fraction (EF)                                                                                 10
Swab #1 sperm                               18.2, 21                    18, 32.2            12, 13   11, 14
                          15, 16   17, 19              XY     14, 15               16, 20                      8, 10
fraction (SF)                                19, 22                        29                 10       12
Swab #2 EF                15, 16   17, 19              XY       14      28, 31.2            12, 13   11, 14
                                            18.2, 21                    28, 31.2   12, 18   12, 13   11, 14
Swab #2 SF                15, 16   17, 19              XY     14, 15                                           8, 10
                                             19, 22                     29, 32.2   16, 20     10       12
Victim                    15, 16   17, 19    19, 22    XY       14      28, 31.2   12, 18   12, 13   11, 14    8, 10

        The alleles that Mr. Chu found in the evidence samples that are foreign to the
victim are in boldface. As reflected in the above chart, all of the alleles found in the four
"face-cheek" swab samples that are foreign to the victim are consistent with
Mr. Napper's DNA profile. Our overall assessment of Mr. Chu's DNA testing in this
case is that he developed clean, interpretable profiles from the four evidence samples
that he tested.



250      This affidavit was prepared in connection with Mr. Napper's post-conviction habeas proceedings.




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        However, there is a major problem with how Mr. Chu reported his DNA results
in this case. In his report dated March 30, 2001, Mr. Chu stated that "[a] mixture DNA
type consistent with [the victim] and Lawrence Napper was detected on the face/ cheek
swab." Mr. Chu went on to state that, "[g]iven the population on the face of the earth
and eliminating the probability of identical twins, the DNA profile statistically matches
only Lawrence Napper."251 Mr. Chu did not provide any frequency estimate in support
of this conclusion.

        These two statements in the report are contradictory, and Mr. Chu's statistical
statement is incorrect and misleading. Because, as reflected in the above allelic table,
Mr. Chu found a mixture DNA profile (primarily in the sperm fractions of both of the
"face / cheek" swabs), Mr. Chu's statement indicating that there was a sole source match
to Mr. Napper's DNA profile is completely inappropriate. Moreover, although Mr. Chu
provided no statistics in his report, the Popstats data contained in the file shows that
Mr. Chu calculated the frequency estimate in this case based on Mr. Napper's known
                                                             —
profile, which was the usual -- and extremely flawed practice in the Crime Lab, even
in mixture cases such as this. Our calculation of the random match probabilities in this
case, based on Mr. Chu's STR data, is 1 in 232,000 in the African American population, 1
in 1,920,000 in the Caucasian population, and 1 in 7,430,000 in the Hispanic population.
While these are relatively strong results given the nature of the sample in this case, they
are a far cry from the sole source, unique match that Mr. Chu reported.

       The other major problem with the Crime Lab's work in this case is Mr. Chu's
consumption of the sample through testing. In an affidavit prepared in June 2005,
Mr. Chu acknowledged that the DNA quantitative analysis he performed indicated that
there was "only a very low concentration of human DNA present in the samples,"
which is not surprising given that the samples were swabs taken from the victim's face
after he had bathed. Mr. Chu stated that, in fact, "because the concentration was so
low, I did not expect to be able to develop a profile from the sample."

       Despite the low concentration of DNA present on the swabs and having two
swabs with which to work, Mr. Chu typed the extracts from both swabs and his tests
consumed all of the liquid extract for all four samples (the epithelial and sperm fraction
samples from both swabs). Mr. Chu acknowledged in his affidavit that "[t]here was no
liquid DNA extract left in the tubes after I performed these analyses." As discussed
below, outside laboratories have tried, with mixed results, to re-test the DNA evidence

251     A draft of the Crime Lab report found in the file shows that Christy Kim and Raynard Cockrell
        both reviewed Mr. Chu's draft report and provided handwritten comments regarding its
        wording. One handwritten suggestion that the reviewers provided was the insertion of the word
        "only" to the match statement.




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from the two "face-cheek" swabs by performing re-suspensions in order to capture
DNA that may be in residue inside the four tubes that contained the DNA extracts
originally analyzed by Mr. Chu. While the outside laboratories have been able to obtain
some results, they do not approach the strength of the Mr. Chu's original results. Given
the nature of these samples, it was unnecessary and inappropriate for Mr. Chu to have
tested the extracts from both swabs, thereby consuming the available sample in this
case. This misstep was compounded by the fact that, as she acknowledged during her
trial testimony, Ms. Childs-Henry discarded the tubes containing the raw evidence (the
swabs) after she performed the DNA extractions on the two swabs.252

        C.       Mr. Napper's Trial

        In advance of trial, Mr. Nap per's counsel, Steven Greenlee, filed a Motion to
Preserve and for an Independent Analysis of Semen and Fibers.253 On May 14, 2001, the
court granted the motion to allow for independent testing of the DNA evidence in
Mr. Napper's case. That day, the prosecutor, Di Glaeser, contacted Ms. Hilleman at the
Crime Lab and advised her that Mr. Nap per's counsel wanted the DNA evidence
subjected to an independent analysis. According to an affidavit prepared by
Ms. Glaeser, "[ Ijater that day, Joseph Chu, also with the Houston Police Department
Crime Lab, called me back and told me that there was no DNA evidence left to test
because it had been used up in the analysis."254 As discussed above, Mr. Chu's affidavit
states that he believed that there was no DNA left to be tested because all four extract
tubes related to the swab samples were empty of liquid after he completed his testing.
Accordingly, no independent testing of the DNA evidence in this case was performed
in advance of Mr. Napper's trial.

        In November 2001, Mr. Napper was tried on charges of aggravated sexual
assault and aggravated kidnapping. On November 7, 2001, both Ms. Childs-Henry and
Mr. Chu testified about their DNA work in the case. In his trial testimony, Mr. Chu
testified about his DNA results and extended the incorrect and misleading conclusion

252     Napper, Tr. Vol. 8 at 206:11-17.
253     In August 2001, the Crime Lab requested that the Texas DPS crime laboratory in Austin compare
        the color of fibers obtained from the victim's clothing with the color of the comforter seized from
        the suspect's house. On September 10, 2001, the DPS laboratory issued a report concluding that
        "[a] green cotton fiber . . . recovered from the victim's clothing is similar in color to the green
        cotton fibers of the suspect's comforter. It is our opinion that this green cotton fiber recovered
        from the victim's clothing could have come from the suspect's comforter."
254     Ms. Glaeser's affidavit is consistent with the telephone log in the Crime Lab's case file. An entry
        on the log dated May 14, 2001 states: "Di Glaeser says Napper's att. wants DNA + fibers
        subjected to independent analysis. No DNA left."




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stated in his report that a unique DNA profile matching Mr. Nap per's DNA profile was
found in the "face-cheek" samples. Specifically, Mr. Chu testified as follows:

        Q:       And can you tell us what the results were of the comparison of the
                 known DNA from the defendant to the semen that you recovered
                 from the swab and extracted DNA from ?

        A:       Actually, the DNA final, evidence, [sic] the other half of the DNA is
                 consistent with Mr. Nap per's DNA.

        Q:       Okay. So we know that part of it is the victim's . . . and the other
                 part, the unknown part remaining belongs to the defendant; is that
                 correct?

        A:       That's correct.



        Q:       Can you tell us what the results of your finding was? How do you
                 go about calculating the DNA results?
        A:       The final steps, after all [sic] everything we have to do statistic [sic]
                 to see how frequent that DNA type occurs in the general
                 population based on different races.

        Q:       Okay.

        A:       And I conducted that after March 1st.

        Q:       And based on this statistical analysis of the DNA in this case, what
                 is your determination statistically?

        A:                           —
                 Statistically, it's DNA found on the evidence is matched with
                 Mr. Napper. The number is about human population on the earth
                 [sic].255

      In light of this testimony, it would seem that the jury had little choice but to
convict Mr. Napper, and they did. On November 9, 2001, the court adopted the jury's
recommendation and sentenced Mr. Napper to life in prison on both counts against
him. Mr. Napper currently is challenging his convictions in habeas proceedings.

255     Napper, Tr. Vol. 8 at 243:3-244:7.




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        D.       Re-Testing by Outside Laboratories

        Two outside laboratories, ReliaGene Technologies in New Orleans and Orchid
Cellmark in Dallas, have attempted re-testing of the DNA evidence in Mr. Napper's
case, with mixed results. Although the re-tests have developed some information that
is consistent with Mr. Napper's DNA profile, the results are much weaker than those
developed by Mr. Chu. Because the testing conducted by Ms. Childs-Henry and
Mr. Chu effectively consumed the DNA samples from the "face-check swabs" in this
case, the outside laboratories were forced to attempt re-testing based on re-suspensions
in solution of residual DNA that may be present inside the four "face-cheek" swab
extract tubes. Neither laboratory has been able to confirm the alleles consistent with
Mr. Napper's DNA profile that Mr. Chu detected in the sperm fractions of each of the
swabs, which captured most of the consistency between evidence profiles and
Mr. Napper's DNA profiles.

        On May 18, 2004, ReliaGene reported that its testing of the sperm fraction
samples for each of the swabs "produced no result due to insufficient or excessively
degraded DNA." Although ReliaGene detected "[t]wo weak alleles . . . consistent with
the DNA extracts from the suspect Laurence [sic] Napper" in the epithelial fraction of
the first swab, the laboratory concluded that, "due to the limited amount of
information, no further conclusion can be drawn" based on its testing of this sample.

        On August 31, 2005, Orchid Cellmark reported its results obtained from
re-testing the "face-cheek" swabs: The "DNA profile obtained from the epithelial
fraction of the tubes of DNA extract" for the first "face-cheek" swab "is a mixture."
Orchid Cellmark found that the major profile in the mixture "matches the victim" and
that "[t]he suspect cannot be excluded as a possible donor of the minor alleles in this
mixture." Orchid Cellmark's frequency estimate for the partial profile found in this
sample that was consistent with Mr. Napper's DNA profile was 1 in 255 in the African
American population, 1 in 3,427 in the Caucasian population, and 1 in 585 in the
Hispanic population. Probably due to the substantially diminished quality of the
sample available for re-testing, these results are much less powerful than Mr. Chu's
original STR results.
        E.       Conclusions

        Although Mr. Chu's STR testing appears to have generated good quality and
clear results from potentially very difficult forensic evidence samples, the Napper case
illustrates two significant problems with the Crime Lab's historical DNA work.

       First, Ms. Childs-Henry's and Mr. Chu's consumption of all of the readily
testable sample in this case was unnecessary and was the product of very poor



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laboratory practice. Although Mr. Chu averred that he did not "consume all of the
extract in this case out of carelessness or out of a desire to prevent additional testing/'
there was no need, and it was a mistake, for him to consume both of the redundant
"face-cheek" swabs.

       Second, Mr. Chu's written conclusion and testimony that the mixture profile he
found in the "face-cheek" swabs "statistically matches" Mr. Napper is internally
contradictory and completely inappropriate. Mr. Chu's report and testimony almost
assuredly created the impression with jurors that Mr. Napper was the only person on
earth who could have contributed the DNA taken from the victim's face, which is a
conclusion not supported by the actual DNA results.

II .    George Rodriguez
        On February 24, 1987, a 14-year-old girl was approached by two men in a car and
abducted. The kidnapping was witnessed by a 16-year-old male friend of the victim
who was with her at the time. The two men took the girl to a house where she was
repeatedly raped. The victim was then blindfolded, driven away from the house, and
left by the side of a road. She walked to a nearby gas station, and the police were called.
The victim was transported to a hospital where she gave a statement to the police
describing the abduction, both of her assailants, and the exterior of the house where the
rape occurred.
        A.       The Investigation

        From the victim's description of the location of the house and her description of
the physical characteristics of the assailants, HPD officers quickly identified Manuel
Beltran and George Rodriguez as potential suspects. Investigators believed Mr. Beltran
met the victim's description of a "skinny" attacker and that Mr. Rodriguez, with whom
HPD officers had dealings on prior occasions, matched the victim's physical description
of the "fat" assailant.

       On February 25, 1987, officers had both the victim and the male witness review
two photograph spreads. One spread included a picture of Mr. Rodriguez, and the
other included a picture of Mr. Beltran. The victim identified Mr. Rodriguez and
Mr. Beltran as her attackers. The male witness identified Mr. Rodriguez, but he was
unable to make any identification based on the photo array that included Mr. Beltran.

      The next day, on February 26, 1987, HPD officers secured arrest warrants for
Mr Rodriguez and Mr. Beltran, as well as a search warrant for Mr. Beltran's residence.
   .
When officers arrived at Mr. Beltran's residence, they found Mr. Beltran and his
brother, Uvaldo Beltran. The police separated the brothers and questioned them about



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the assault. Manuel Beltran told officers that he had not seen Mr. Rodriguez in a while
and that a man named "Isi," who looked similar to Mr. Rodriguez, had forced
Mr. Beltran to abduct the victim. In another room, Uvaldo Beltran told police that his
brother and Isi had brought the victim into Manuel Beltran's house. The Beltran
brothers subsequently identified Isidro Yanez as "Isi," and they provided written
statements to the police.

       In the same police report discussing Mr. Beltran's confession and both brothers'
identification of Mr. Yanez as the second assailant, investigators noted that they "also
pursued information regarding the co-defendant of Manuel Beltran, Mr. Rodriguez, and
obtained information leading officers to believe Mr. Rodriguez may not have been
responsible for these offenses. The most important evidence indicating nonculpability
was Mr. Rodriguez's work record indicating he was in fact at work during the entire
time span of this incident. Thus, officers did not execute the arrest warrant for
Mr. Rodriguez, but they noted that, since there were two positive photo identifications
of Mr. Rodriguez (by the victim and by the male witness), they would contact
Mr. Rodriguez and ask him to participate in a line-up.

       On March 10, 1987, Mr. Rodriguez voluntarily appeared in a line-up with five
inmates from the City Jail. The victim, for the second time, identified Mr. Rodriguez as
one of her assailants. Mr. Rodriguez provided HPD with samples of hair and saliva
that were then submitted to the Crime Lab. The next day, investigators contacted
Crime Lab trace evidence examiner Reidun Hilleman to check on the results of her
comparison of hairs found on the victim and at the crime scene with those provided by
Mr. Rodriguez. Ms. Hilleman told the officers that she had not completed her
examination, but that at that point she had not found that any hairs collected from the
crime scene appeared to have come from Mr. Rodriguez.

       On April 8, 1987, a prosecutor informed investigators that Mr. Yanez had been
implicated in the separate abduction and rape of two adult women. In those cases, the
victims were kidnapped and taken to a residence where they were raped. After
receiving information about the similarities between these crimes, investigators advised
the prosecutor that they "considered Yanez a viable suspect in the rape of this
complainant. Even though there has [sic] been positive identifications of George
Rodriguez there is enough doubt of his culpability to not rush into an indictment
situation. The doubt stems from similar appearance and reputation in the
community . . . there was sufficient doubt that officers have kept an open mind and
have tried to assemble more tangible evidence."

       Approximately two weeks later, investigators noted that the time limit for
comparing known hair reference samples to the evidence samples from the victim and
the crime scene was approaching because human hair is fully replaced in the hair


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growth process every three to four months. Therefore, officers redoubled their efforts
to locate Mr. Yanez. Although Mr. Yanez misled officers by claiming to be his brother,
investigators confirmed his identity through fingerprints. Mr. Yanez denied being
involved in the kidnapping and sexual assault of the victim, although he provided
information indicating that he was familiar with the crime. After his interview with
investigators, Mr. Yanez was taken to the Crime Lab where hair, saliva, and blood
samples were taken. Mr. Yanez was held based on two outstanding traffic warrants.

       HPD investigators re-interviewed the victim hoping to resolve whether
Mr. Rodriguez or Mr. Yanez likely was the second assailant. After reviewing a photo
spread of approximately 100 Hispanic males, the victim focused on the photographs of
Mr. Rodriguez and Mr. Yanez. After noting that Mr. Rodriguez and Mr. Yanez had
similar physical appearances, the victim identified Mr. Rodriguez as one of her
assailants for a third time. On May 1, 1987, HPD officers arrested Mr. Rodriguez.

        B.        The Crime Lab's Work

        Investigators submitted two types of evidence to the Crime Lab. First, they
submitted a large number of hairs collected from the victim's clothing and the crime
scene, including hairs from the victim's "panties," as well as known reference samples
from the victim and from Messrs. Beltran, Rodriguez, and Yanez. Second, investigators
requested that the Crime Lab perform serology testing on vaginal and rectal swabs and
smears from the victim's sexual assault kit as well various items of clothing, including a
pair of "white panties" and "pantyhose," and reference samples from the victim and
suspects. Ms. Hilleman performed the hair comparisons, and Christy Kim performed
the serology testing.

                 1.    Hair Comparisons

       On May 11, 1987, Ms. Hilleman issued a written report reflecting the results of
the hair examinations and comparisons that she performed in the Rodriguez case.
Ms. Hilleman found that "the hairs from the complainant's panties are two pubic hairs
microscopically consistent with the known pubic hairs of the complainant and one
pubic hair microscopically consistent with known pubic hair of G. Rodriguez." She also
reported finding "several head hairs microscopically consistent with the known head
hairs of M. Beltran." Ms. Hilleman determined that the remaining hairs collected from
the crime scene and the victim's clothing were "unsuitable for comparison purposes."

       Forensic hair comparisons involve an examiner looking at hairs under a
microscope to evaluate the similar and varying characteristics between hairs. Because
this type of examination is less definitive than other types of forensic examinations,
trace evidence examiners must be careful to report their findings appropriately so that


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any association between a suspect reference sample and an evidentiary hair sample is
not overstated. For example, it generally would be inappropriate for a trace evidence
examiner to report that an unknown hair and the suspect's hair "matched" because hair
comparisons usually cannot support such individualized associations and definitive
findings.
        In this case, it does not appear that Ms. Hilleman's report overstated the
significance of the association she made between the hair collected from the victim's
panties and the reference sample obtained from Mr. Rodriguez. In her written report,
Ms. Hilleman used the appropriate phrase "microscopically consistent" to describe the
comparison of Mr. Rodriguez's hair to the unknown hair. While the absence of charts
and illustrations such as sketches or photomicrographs detailing the actual comparison
made it impossible for us to recreate her observations, Ms. Hilleman's notes described
the hair characteristics she found in a manner typically used by hair examiners and
consistent with generally accepted forensic science principles followed during that
period.256 As discussed below, Ms. Hilleman appropriately described the limits of her
observations and interpretation in her trial testimony.

       Ms. Hilleman's assessment and testimony that a pubic hair found in the
underwear of the rape victim was microscopically consistent with the known pubic hair
of Mr. Rodriguez was later undermined by DNA testing. In 2004, an outside laboratory
performed mitochondrial DNA testing on this hair and found that it could not have
come from Mr. Rodriguez. This contradiction likely is more a reflection of the
limitations of microscopic hair comparison as practiced in the late 1980s than of errors
in Ms. Hilleman's examination.

                 2.     Serology
      In her report dated September 24, 1987, which was marked as State's Exhibit 69
during Mr. Rodriguez's trial, Ms. Kim reported that "semen was detected on the rectal
smear, rectal swab, white panties, and pantyhose" samples submitted to the Crime Lab.
She reported that ABO type A activity was detected on the swab, panties and



256     We found some disparity between the thoroughness of Ms. Hilleman's notes relating to the
        known samples as compared to the questioned samples. While the work notes contained
        detailed observations of microscopic characteristics of the known hairs from the suspects and
        victim, she did not record her observations with respect to the questioned hairs with the same
        level of detail. Instead, Ms. Hilleman only noted whether the questioned hairs were
        microscopically consistent with the known hairs. There also appear to be a few discrepancies in
        the dating of Ms. Hilleman's work notes.




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pantyhose. She also reported the following ABO types and secretor status for the victim
and each of the suspects in this case:

                 Victim                           ABO type O non-secretor
                 Isirdo [sic] Yanez               ABO type O secretor
                 Manuel Beltran                   ABO type A secretor
                 George Rodriguez                 ABO type O non-secretor

       Based on these ABO types and secretor status findings, Ms. Kim concluded that
"suspects Beltran and  Rodriguez could have contributed the semen on the rectal swab,
panties, and the pantyhose." Although her report does not include an explicit
conclusion with respect to Mr. Yanez, she omitted him as a potential contributor and
thus, by inference, excluded him as a potential semen donor.

       Ms. Kim 's exclusion of Mr. Yanez as a potential contributor to the semen
evidence in this case was incorrect and was based on a fundamental misinterpretation
of the ABO typing and Lewis secretor testing results that Ms. Kim reported obtaining.
Based on her serology results, Messrs. Beltran, Rodriguez, and Yanez all should have
been included as possible donors.

       Ms. Kim may have reasoned that Mr. Yanez, as a type O secretor, could be
excluded as a semen contributor from the two-assailant sexual assault scenario because
                                              —
she detected only ABO type A activity and no ABO type O activity in the semen
evidence. Such reasoning reflects a fundamental misunderstanding of basic serology
                                                                                  —
principles. Because ABO type O antigens are a precursor to ABO type A and B
antigens, some level of ABO type O activity is present in every sample that includes
ABO antigenic activity. In light of this basic scientific fact, a serologist could never
eliminate an ABO type O secretor, such as Mr. Yanez, as a possible contributor in a
scenario involving more than one contributor to an evidence sample.257 Indeed, most of
the male population could not be eliminated as a potential contributor to the semen
evidence in this case based merely on ABO typing.258

       Mr. Yanez, as an ABO type O secretor, could not be eliminated as a potential
contributor to the semen evidence in this case, nor could Mr. Rodriguez be eliminated
as a potential donor in light of his non-secretor status. Non-secretors do not express

257     If there were only one potential contributor to an evidence sample that demonstrated, for
        example, ABO type A activity, then an ABO type O secretor could be eliminated as a possible
        contributor because he could not have been the source of the ABO type A activity in the evidence.
258     Only ABO type B secretors or ABO type AB secretors could be excluded as potential contributors
        to the evidence in this case, which constitute a relatively small percentage of the population.




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their ABO type in body fluid secretions such as semen. Because he was found to be a
non-secretor, Mr. Rodriguez could never be eliminated as a potential contributor to a
semen positive sample in a multiple donor scenario. While Ms. Kim was correct to
include Mr. Rodriguez based on his non-secretor status, she provided absolutely no
information in her report about the relative insignificance of this inclusion.259

        While the analytical flaws we identified in this case are disturbing, they are
typical of what we found -- and have described at length in this report in the Crime —
Lab's serology work going back to the early 1980s. By the time the Rodriguez case went
to trial, Mr. Bolding had been with the Crime Lab for nine years and was the supervisor
of the Serology Section. He was responsible for training and supervising Ms. Kim, who
had been with the Crime Lab for more than three years. This case and many others that
we reviewed demonstrate that serologists in the Crime Lab during the 1980s --
                                              —
including Mr. Bolding and Ms. Kim simply did not grasp basic technical and
interpretive principles of forensic serology.

        C.       Mr. Rodriguez's Trial

        Mr. Rodriguez's trial began on October 26, 1987. In his opening statement, the
prosecutor told the jury that the Crime Lab's work would play a central role in the trial
because the serology evidence contradicted Mr. Rodriguez's defense that Mr. Yanez
actually was the second assailant.260 The prosecutor told the jury: "You will hear
scientific evidence which shows that beyond a doubt Isidro Yanez could not have
committed the offense, and you will hear scientific evidence that there is physical
evidence that is consistent with the defendant committing the offense."261




259     On October 1, 1987, Ms. Kim entered a version of her lab report into the OLO system. There are a
        number of discrepancies between the report entered into OLO and Ms. Kim's original
        typewritten report dated September 24, 1987. The most significant of these discrepancies is that,
        in the October 1 report, Ms. Kim identifies Mr. Rodriguez to be a "type ' O' Lewis secretor."
        While this may have been a typographical error made while entering the report into OLO, the
        irony is that, if Ms. Kim actually had concluded that Mr. Rodriguez was an ABO type O secretor,
        she probably would have eliminated him (incorrectly) just as she eliminated Mr. Yanez. Based on
        the test data that Ms. Kim recorded in her notes, it is not possible to state with confidence
        whether Mr. Rodriguez actually is a secretor or not.
260     Texas v . Rodriguez, Cause Nos. 474772, 474773 (230th Dist. Ct. Harris County, TX). Mr. Beltran
        was tried separately.
261     Rodriguez Tr. at 6:15-20 (Oct. 26, 1987).




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                  1.          Testimony Regarding the Hair Comparison
       Ms. Hilleman testified that one hair from the victim's panties was consistent with
the known pubic hairs of Mr. Rodriguez. She testified that all of the characteristics
present in the hair found in the victim's panties were also present in the sample
acquired from Mr. Rodriguez.262 Ms. Hilleman, however, appropriately acknowledged
that hair examination is not like fingerprint examination because "hairs are not
personally identified."263 On cross-examination, when asked by counsel for
Mr. Rodriguez whether she could state that the hair found in the victim's panties
definitely came from Mr. Rodriguez, Ms. Hilleman again acknowledged that she could
not do so:

        Q         And it again is not conclusive?

        A         No, it is not a personal identification of George Rodriguez. That's
                  correct.264

                  2.          Testimony Regarding the Serology Results
       At the time of Mr. Rodriguez's trial, Ms. Kim was on maternity leave. Therefore,
Mr. Bolding testified at trial about the serology work performed and reported by
Ms. Kim . In addition, the prosecution introduced Ms. Kim 's September 24, 1987 report
into evidence. As discussed above, this report included Messrs. Beltran and Rodriguez
as potential contributors to the semen evidence found on the victim's rectal swab and
clothing, but incorrectly excluded Mr. Yanez as a potential donor to the evidence.265

       Mr. Bolding's testimony perpetuated Ms. Kim's fundamental error in excluding
Mr. Yanez. Mr. Bolding testified that neither the victim nor Mr. Rodriguez could be
eliminated as possible contributors of the body fluid found on the victim's pantyhose
and panties as well as on the swab.266 Mr. Bolding also testified that Mr. Beltran could
not be eliminated as a possible contributor of the semen found on the victim's clothing




262     Rodriguez Tr. at 544:14-16 (Oct. 28, 1987) .
263     Id . at 540:14-16 .
264     Id . at 543:22-24.
265     Id . at 383:11-23.
266     Id . at 386:9-25 .




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and swab.267 However, with regard to whether Mr. Yanez could have been one of the
donors to the semen, Mr. Bolding had this exchange with the prosecutor:

        Q         Okay, and is he a possible donor of that semen?

        A         No, sir, he is not.

        Q         And would you tell the jury why, please?

        A         Again, because he is a secreter [sic] and the grouping would be O,
                  one would predict his genetics would show up as a donor in a
                  sexual assault or intercourse. None of those O secretions did show
                  up by the testing by Ms. Kim .268

In response to a question from Mr. Rodriguez's attorney on cross-examination,
Mr. Bolding reiterated that Mr. Yanez was not a donor to the evidence found on
the victim's clothing and the swab.269

       The jury did not accept Mr. Rodriguez's defense that he was at work during the
time of the kidnapping and assault of the victim and that Mr. Yanez was the real second
assailant. On October 29, 1987, the jury found Mr. Rodriguez guilty of aggravated
kidnapping and aggravated sexual assault. Mr. Rodriguez was sentenced to 60 years in
prison for the aggravated kidnapping and aggravated sexual assault charges and 10
years in prison for a previous burglary offense for which he had been on probation at
the time of the offense.

        D.        Post-Conviction Testing and Exoneration

        None of Mr. Rodriguez appeals were successful. In 2002, the Innocence Project
began representing Mr. Rodriguez in the habeas proceedings challenging his conviction.
Most of the evidence in this case was destroyed in 1995. However, the pubic hair found
in the victim's underwear that Ms. Hilleman reported to be consistent with
Mr. Rodriguez's hair had been preserved. Therefore, when Mr. Rodriguez successfully
petitioned for post-conviction DNA testing, an independent lab, through mitochondrial
DNA analysis, was able to compare the DNA of that hair to Mr. Rodriguez's DNA.



267     Id . at 387:9-10.
268     Id . at 388:5-13.
269     Id . at 393:15-21 .




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       In May 2004, an independent lab reported that Mr. Rodriguez was not a possible
contributor to the hair retrieved from the victim's underwear. Furthermore, in July
2004, that same independent lab reported that through DNA testing it was found that
Mr. Yanez could not be excluded as a contributor to the hair recovered from the victim's
underwear.

       In addition to the DNA tests establishing that Mr. Rodriguez's hair was not
found in the victim's underwear and that the hair could have come from Mr. Yanez, an
outside review of the Crime Lab's serological analysis of semen found on the victim's
swab and clothing showed that the Lab was wrong to have excluded Mr. Yanez as a
possible contributor of the semen. On August 5, 2004, Mr. Rodriguez's counsel filed an
affidavit prepared by a panel of six serological experts.270 In their affidavit, the panel of
experts stated that Mr. Bolding's testimony contained "egregious misstatements of
conventional serology" revealing that "either the witness lacked a fundamental
understanding of the most basic principles of blood typing analysis or he knowingly
gave false testimony to support the State's case against Mr. Rodriguez." The panel
found that there was no scientific basis for Ms. Kim's findings and Mr. Bolding's
testimony excluding Mr. Yanez as a possible contributor to the semen.

       In October 2004, after Mr. Rodriguez had served 17 years of his sentence, he was
released from prison on the grounds that he had been denied due process during his
1987 trial. The Texas Court of Criminal Appeals subsequently vacated Mr. Rodriguez's
convictions and remanded the case for a new trial. On September 29, 2005, the district
attorney dismissed the charges against Mr. Rodriguez.
       This case remains the subject of litigation. On August 14, 2006, Mr. Rodriguez's
attorneys filed a complaint in federal court in Houston. The complaint names as
defendants the City of Houston, Harris County, the current District Attorney for Harris
County, Mr. Bolding, Ms. Kim, Ms. Hilleman, and a number of other individuals.
Mr. Rodriguez seeks unspecified damages as a result of his wrongful conviction.

        E.       Conclusion

       Flawed serology work and testimony were central to Mr. Rodriguez's conviction.
Based on seriously problematic serology analysis that reflected a failure to grasp
fundamental serologic principles, Ms. Kim incorrectly excluded Mr. Yanez, whom
investigative leads and Mr. Rodriguez's defense pointed to as the likely real

270     The panel was made up of the following six experts: Dr. Edward Blake, Pamela Newall,
        Dr. George Sensabaugh, Dr. Robert Shaler, Ronald Singer, and Mark Stolorow. Mr. Stolorow is
        also a member of our investigative team of experts.




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perpetrator. While the Crime Lab was not incorrect in finding that its serology analysis
could not eliminate Mr. Rodriguez as a potential contributor to the biological evidence,
it provided no information regarding the significance of Mr. Rodriguez's inclusion --
which was minimal because most of the male population could not be eliminated as a
potential contributor to the evidence in this case based merely on ABO typing.

III.    Josiah Sutton
       At approximately 11:00 p.m. on October 25, 1998, a 41-year-old female hospital
worker pulled her Ford Expedition into the parking lot in front of her apartment
complex as she returned home from work. After gathering her things, she opened the
driver's side door of her truck and was confronted by a man with a gun. The man
ordered her to move over to the passenger seat, and he climbed into the driver's seat. A
second assailant then entered the truck through the passenger side rear door and got
into the middle row of seats. The attackers then drove the truck out of the parking lot,
abducting the woman and demanding cash with a gun pointed at her head.

       Eventually the assailants stopped the truck on a side street, and a second car
carrying two men pulled alongside. The female hospital worker told investigators that
the men referred to the first assailant, who was wielding a gun, as "Deke." "Deke"
forced the victim into the truck's middle row of seats where he raped her. The victim
reported that she believed that he ejaculated during the sexual assault. "Deke" then
returned to the driver's seat, and the second assailant got into the middle row of seats
with the victim. As they began driving again, the second attacker also sexually
assaulted the victim, although she reported that she was unsure whether he ejaculated.
The victim told investigators that they drove "for a long time," and then her attackers
forced her out of the truck on a back road and drove away in her truck. The victim
made her way to a main road and attempted to flag down a passing car. Police arrived,
and she was transported by ambulance to a hospital.

        A.       The Investigation

       HPD officers arrived at the hospital to meet with the victim in the early morning
hours of October 26, 1998. The victim that morning provided officers with an initial
description of the kidnapping and sexual assault, and a sexual assault kit was collected.
An HPD officer retrieved the sexual assault kit, as well as articles of the victim's
clothing, from the hospital early that morning and checked the evidence into HPD's
Property Room.
      On October 28, 1998, the victim submitted a sworn statement to an HPD sex
crimes investigator. She recounted the brutal assault and described her two assailants.
She described the first attacker, who was called "Deke," as a black male, approximately



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20 years old, 5 foot 7 inches tall, and 135 pounds. She told investigators that he wore a
baseball cap. The victim described the second attacker as a black male, also about 20
years old, approximately 5 feet 8 inches tall, and "real thin." Among other things, she
told investigators that the second attacker wore a "wool cap."

        Two days later, on October 30, 1998, the victim flagged down a passing HPD
patrol car. She reported to the HPD patrol officer that, as she was driving near her
residence, she spotted three males walking by, two of whom she believed were the men
who had kidnapped, robbed, and sexually assaulted her days before. She told the
officer that she recognized two of the men as her attackers because both of these men
were black and one was wearing a baseball cap while the other was wearing a "skull
cap" -- which was similar to her description of the assailants on the night of the attack.
The three men included Josiah Sutton, who was a 16-year-old juvenile at the time, and
Gregory Adams. The victim told the officer that she was 100 % sure that Mr. Sutton and
Mr. Adams were the men who had attacked her. Based on the victim's positive
identification, both Mr. Sutton and Mr. Adams were arrested. The next day, the victim
told an investigator that she recognized Mr. Sutton because of his "baby face" and he
was wearing a cap. She told the investigator that Mr. Sutton was the suspect who drove
her truck and was called "Deke." She identified Mr. Adams because he was wearing a
wool skull cap and was tall and skinny, and she told the investigator that she was "very
sure" that Mr. Adams was the suspect who rode in the back of the truck during the
assault.

       HPD recovered the victim's truck, and it was examined for evidence by an officer
from CSU. The CSU investigator found an unknown stain, which he identified as a
possible semen stain, on the truck's middle row bench seat, which is where the victim
had been sexually assaulted. The CSU investigator took a sample of the stain using a
cotton swab moistened with saline solution and also took a control sample from the
seat. He also performed tape lifts of the middle row bench seat to collect possible hair
and fiber evidence.

        B.       The Crime Lab's Work

       On November 17, 1998, the Crime Lab received various items of evidence
relating to the case, including the victim's sexual assault kit, the swabs collected from
the middle seat of the victim's truck which were identified as "control swabs" and
"sample #1 swabs," and articles of clothing including the jeans that the victim wore on
the night of the kidnapping and assault. In January 1999, investigators also submitted
to the Crime Lab reference samples from the victim, Mr. Sutton, and Mr. Adams.

       On February 8, 1999, Crime Lab serologist Shae Quiroz reported that she had
detected semen on the vaginal smear and swabs and pubic hair combings from the


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victim's rape kit as well as on the "sample #1 swabs" from the middle seat of the truck
and on the victim's jeans. According to Ms. Quiroz's worksheets, these findings were
based on positive p30 test results she obtained on each of these items. She also
performed a microscopic examination of the victim's vaginal smear and recorded
finding "numerous intact sperm." Finally, Ms. Quiroz reported that the vaginal smear
and swabs, pubic hair combings, "sample #1" swabs, cutting from the victim's jeans,
and reference samples from the victim, Mr. Adams, and Mr. Sutton were retained by
the Crime Lab for further analysis. On February 18, 1999, she transferred these items to
Christy Kim for DNA analysis.

       Ms. Kim analyzed the evidence in the Sutton case prior to the introduction of
STR testing in the Crime Lab. Accordingly, the PCR-based DNA analysis systems used
by the Crime Lab were DQ Alpha, Polymarker, and D1S80. As discussed above in our
                                                         —
review of the Crime Lab's historical DNA work, the Lab and Ms. Kim in particular
had significant problems obtaining reliable and interpretable DNA results using these
                                                                                       —
systems. The Sutton case illustrates several of the technical and interpretive problems
that the Crime Lab commonly experienced with PCR-based testing.

                 1.   Ms. Kim's DNA Results

       In February 1999, Ms. Kim performed DNA testing on the evidence and
reference samples in the Sutton case. Ms. Kim used the DQ Alpha and Polymarker
systems to perform DNA typing on the reference samples from the victim, Mr. Sutton,
and Mr. Adams as well as on the vaginal swab and pubic hair combings from the sexual
assault kit, the "sample #1" swabs from the truck, and the cutting from the victim's
jeans. Ms. Kim performed D1S80 testing only on the vaginal swab and pubic hair
combing samples from the sexual assault kit.

                                                 —
       Ms. Kim found complex mixture profiles meaning DNA profiles reflecting
multiple contributors -- in all of the evidence samples, including in the epithelial and
sperm fractions of the vaginal swab and pubic hair combings samples even though she
performed a differential extraction procedure on these samples. Because Ms. Kim 's lab
notes do not indicate that she performed testing on separate epithelial and sperm
fraction samples obtained from the stain on the victim's jeans and from "sample #1," it
does not appear that Ms. Kim attempted any differential extraction on those samples.
The victim's profile appears to be present in all of the evidence profiles, including the
sperm fractions from the vaginal swab and pubic hair combings samples.

        On June 6, 1999, Ms. Kim reported that "a mixture of DNA types consistent with
J. Sutton, [the victim] and at least one other donor was detected on the vaginal swabs,



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unknown sample #1, debris from the pubic hair combings, and the jeans based on PM,
DQA1, D1S80 typing results."271 As was typical for the Crime Lab, Ms. Kim 's report
did not include an allelic table illustrating the exact results she obtained for each item of
evidence and reference sample she tested. Ms. Kim concluded her report with the
statement: "The DNA type of J. Sutton can be expected to occur in 1 out of 694,000
people among the black population."272

                  2.      Problems with Ms. Kim's DNA Analysis

       Ms. Kim 's DNA analysis in the Sutton case reflects a number of very serious
technical, interpretation, and reporting errors, all of which contributed to faulty and
misleading DNA evidence being used against Mr. Sutton at his July 1999 trial for
aggravated sexual assault. Specifically, the following are the most significant problems
that we identified with the work in this case:

      •   Ms. Kim failed to perform successful differential extractions (which are capable
          of separating sperm DNA from non-sperm or epithelial DNA) on evidence
          samples. As a result, Ms. Kim 's DNA testing produced mixed DNA profiles that
          were more complicated to interpret than they would have been had the samples
          been properly extracted. Not only was the victim's profile present in almost all
          of the evidence profiles Ms. Kim obtained, but it also appeared to be the major
          profile even in the "sperm fraction" profiles from the vaginal swab and pubic
          hair combings. In addition, it appears that Ms. Kim failed to attempt a
          differential extraction at all on the jeans sample and "#1 sample."

      •   Ms. Kim obtained no DNA typing information that could be associated with
          Mr. Adams. While Ms. Kim 's report does not state that Mr. Adams is included
          as a potential contributor to the mixture profiles, as it does with respect to
          Mr. Sutton, she does refer ambiguously to there being "at least one other donor"
          in addition to the victim and Mr. Sutton. Ms. Kim should have clearly and
          expressly excluded Mr. Adams based on her Polymarker, DQ Alpha, and D1S80
          test results.

      •   Photographs of Ms. Kim 's DQ Alpha test strips show that the control dot for the
          jeans sample and the positive control is not visible. Therefore, Ms. Kim should

271       Although Ms. Kim's DNA worksheets reflect that she analyzed the evidence in this case in
          February 1999, she did not enter her lab report into the OLO system until June 1999.
272       In a draft of her report that appears in the Crime Lab case file, Ms. Kim calculated a frequency
          estimate for Mr. Sutton's DNA type of "1 out of 6,940,000 people among the black population." It
          appears that this error was caught during a review of the case draft report.




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          have re-amplified the sample with more DNA and re-run the test. Even though
          Ms. Kim did not re-test the jeans sample, her report relies on these results to
          include Mr. Sutton as a potential contributor to the jeans sample.

      •   The DQ Alpha types detected in the "#1 sample" and the jeans sample show a
          slightly different profile than the DQ Alpha types that Ms. Kim found in the
          vaginal swab and pubic hair combings. In light of these differences, Ms. Kim
                                                         —
          should have performed D1S80 testing which is relatively more polymorphic
          and therefore more discriminating than Polymarker and DQ Alpha testing on
          the #1 sample and the jeans sample, but she did not. Instead, Ms. Kim
                                                                                                      —
          performed D1S80 testing only on the samples that showed DQ Alpha types
                                                                 —
          consistent with Mr. Sutton's DQ Alpha type the vaginal swab and the pubic
          hair combings. As discussed below, in 2003 an outside laboratory's re-testing of
          the #1 sample and a cutting from the jeans using STR technology excluded
          Mr. Sutton as the source of the DNA in those samples.

      •   Ms. Kim performed DQ Alpha typing on the victim's reference sample more
          than once and interpreted two different profiles -- DQA 3,3 and DQA 3,4.2/ 4.3.273
          Ultimately, it appears that Ms. Kim decided to use the DQ Alpha type 3,4.2/ 4.3
          for the victim, which probably was the correct type. Ms. Kim likely obtained
          only a weak type 4.2/ 4.3 signal in one of the tests due to poor temperature
          control during the hybridization or wash step of the DQ Alpha typing assay.
          Poor temperature control has a more severe impact on the detection of the
          4.2/ 4.3 allele than on some of the other alleles because this particular type has a
          "mismatch" to the target probes used in the DQ Alpha test strip.

      •   Ms. Kim's frequency estimate that the "DNA type of J. Sutton can be expected to
          occur in 1 out of 694,000 people among the Black population," if understood to
          reflect the strength of the association between Mr. Sutton's DNA profile and the
          DNA profiles that Ms. Kim detected on the evidence samples, is a grossly
          misleading overstatement. A more accurate frequency estimate, based on
          Ms. Kim's typing results for these mixture profiles, would be approximately 1 in
          14 in the African American population.274



273       As discussed below, this issue of two DQ Alpha profiles for the victim was highlighted in a
          review of this case performed by an outside laboratory in January 2003.
274       As discussed above in the section regarding the Crime Lab's historical practices with respect to
          the calculation of random match probabilities, properly presented frequency estimates include
          statistics for all significant population groups without regard to the race of the suspect. Here, we
                                                                                          Footnote continued


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       There was no technical review of Ms. Kim's work in the Sutton case. In
connection with HPD's internal investigation of the Sutton matter, Mr. Bolding stated
that, even though he was the head of the DNA Section and its only supervisor, the job
of reviewing the technical results of casework fell to analysts who, unlike himself, had
been trained in PCR analysis. DNA analysts Joseph Chu and Raynard Cockrell both
acknowledged reviewing the Sutton case, but stated that they performed only
administrative-type reviews for issues such as spelling and grammar. Mr. Bolding
acknowledged that at the time the Crime Lab did not have a written policy regarding
technical reviews.

       As discussed below, in early 2003, Professor William Thompson of the University
of California at Irvine was asked to review the Crime Lab's work in the Sutton case.275
He made many of the observations regarding Ms. Kim 's work that we describe above,
including Ms. Kim's failure to prepare an allelic table reflecting the exact typing results
obtained from each of the PCR testing systems she used for each of the evidence and
reference samples she tested, Ms. Kim's inconsistent DQ Alpha typing results for the
victim's profile, and Ms. Kim's extremely misleading presentation of the significance of
her DNA typing results.

         Professor Thompson also suggests that the DQ Alpha results Ms. Kim obtained
for the "#1 sample," if compared to the DQ Alpha profile she found in the vaginal swab
and pubic hair combings evidence and for Mr. Sutton, should have resulted in the
exclusion of Mr. Sutton as a potential contributor to that sample and therefore exclusion
as one of the rapists. Professor Thompson illustrated this point using the following
allelic table reflecting Ms. Kim 's DQ Alpha results for these samples.




Footnote continued from previous page
        include only the frequency estimate for African Americans to remain consistent with Ms. Kim's
        reported results.
275     Professor Thompson prepared a paper entitled "Review of DNA Evidence in State of Texas v.
        losiah Sutton," dated February 6, 2003. In addition to speaking with us on two occasions,
        Professor Thompson provided us with a copy of this paper and other materials related to the
        Sutton case.




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                          Sample                              Kim's DQ Alpha Results
Sperm fraction of the vaginal swab ("VSF")                       1.1, 2, 3, 41 (1 2)
                                                                                ,


Pubic hair combings                                              1.1, 2, 3, 41 (1 2)
                                                                                ,


#1 Sample                                                                2, 3
Obligatory genotype of the second contributor to the VSF
(assuming the donor of the #1 sample is one of the two male          1.1, 4.1
contributors)
Josiah Sutton                                                         1.1, 2

       Professor Thompson opined that if the "#1 sample" is from one of the two men
who sexually assaulted the victim and if the only potential male contributors to the
sperm fraction of the vaginal swab were the assailants, then Mr. Sutton could be ruled
out as one of the rapists based on Ms. Kim 's DQ Alpha results reflected above.
Professor Thompson subtracted the alleles found in the #1 sample (2, 3) from the
mixture profiles in the vaginal swab and pubic hair combings to arrive at an "obligatory
genotype" for the second male contributor -- 1.1, 4.1. Professor Thompson concluded
that, because Mr. Sutton's DQ Alpha type is 1.1, 2 and not 1.1, 4.1, Mr. Sutton should be
excluded as the second rapist.

        For purposes of his analysis, Professor Thompson assumed that Ms. Kim 's
                                 —
DQ Alpha results were reliable i.e., his analysis was based on conclusions the Crime
Lab could have drawn from the DQ Alpha results reflected on Ms. Kim's test strips and
in her DQ Alpha notes. We agree that, based on the DQ Alpha typing notes generated
by HPD with respect to this single sample, Mr. Sutton is excluded as a potential
contributor of the "#1 sample" because there is no indication of the 1.1 (or the 1) allele
in Ms. Kim 's typing strip for the "#1 sample", and Mr. Sutton has the 1.1 allele.
However, Ms. Kim's DQ Alpha results for the "#1 sample" were very weak as reflected
by the trace control dot signal on the test strip and fairly weak for the 2 allele. These
weak results may be the result of the same poor temperature control during the
hybridization or wash step in the DQ Alpha testing process, which, as discussed above,
may have been the reason Ms. Kim obtained two different DQ Alpha profiles from the
victim's reference sample in this case. The bottom line is that we would consider
Ms. Kim 's typing results for the "#1 sample" inconclusive, which is an example of
Ms. Kim performing poor DNA testing on a potentially probative sample.

       Finally, even if Mr. Sutton is eliminated as a source for the "#1 sample" based on
Ms. Kim 's DQ Alpha typing results, we would not go so far as to conclude that
Mr. Sutton, therefore, should be eliminated as a possible source for the sperm fraction of
the vaginal swab (considering only the Crime Lab's original PCR results). In cases of
multiple assailants, such as this one, it is not uncommon for the PCR testing systems to
detect different profiles in different evidence stains. Generally, it is necessary for a
DNA analyst using the PCR testing systems to consider all of the profiles obtained from


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all of the relevant stains to reach a comprehensive conclusion about the inclusion or
exclusion of a potential donor. The nature of the PCR testing systems used by the
Crime Lab in the 1990s required highly skilled analysts who were proficient in the
testing techniques and experienced in interpreting the typing results in order to arrive
at reliable conclusions. Ms. Kim was not such an analyst, nor was anyone else in the
Crime Lab at the time.276

        C.       Mr. Sutton's Trial

       In December 1998, Mr. Sutton was certified to stand trial as an adult for the
aggravated sexual assault of the victim. After firing his first lawyer, Mr. Sutton's
mother, Carol Batie, retained Charles A. Herbert, a local Houston attorney, to represent
her son.277 On April 23, 1999, the court entered an agreed order to permit independent
DNA testing to be performed on the evidence in this case. The court directed the Crime
Lab to release "any remaining DNA samples" to the private laboratory GeneScreen in
Dallas, Texas so that GeneScreen "may complete an independent analysis of the DNA
evidence . . . and make a final report to the attorney representing Josiah Sutton, the
defendant herein." On May 13, 1999, the Crime Lab sent GeneScreen reference samples
for the victim, Mr. Sutton, and Mr. Adams; the cutting from the victim's jeans; DNA
extracts from the vaginal swab; "debris from pubic hair"; and "unknown sample #1."
However, GeneScreen did not analyze the evidence. It appears that, even though
Mr. Sutton's family gave Mr. Herbert at least $600 for the independent analysis and



276     In his report, Professor Thompson is suspicious of whether the prosecutor, Joseph Owemby, who
        tried Mr. Sutton knew that the "#1 sample" potentially exonerated Mr. Sutton and, therefore,
        purposely prevented Ms. Kim from discussing the sample during the trial. As discussed above,
        Ms. Kim did not prepare an allelic table in this case, and there is no evidence that Mr. Owemby
        prepared such a table himself or that he would have known how to do so. Therefore, it is
        unlikely that Mr. Owemby would have concluded, as Professor Thompson did, that the "#1
        sample" may have excluded Mr. Sutton as one of the victim's attackers. Mr. Owemby has stated,
        and it is likely true, that he focused on the sexual assault kit evidence because that evidence
        appeared more persuasive of Mr. Sutton's guilt in light of Ms. Kim's results. In short, it appears
        that Mr. Owemby was uninterested in the "#1 sample" because it did not include Mr. Sutton, but
        is unlikely that he believed the DNA evidence from the "#1 sample" eliminated Mr. Sutton.
277     One the eve of trial, Mr. Herbert was joined by another attorney, Ronald G. Mock, in the
        representation of Mr. Sutton. Mr. Herbert told the Houston Chronicle that he believed Mr. Mock
        was good with juries, and so, when Mr. Mock offered to help with the trial, Mr. Herbert accepted.
        Mary Arm Fergus, Josiah Sutton : One Year Late Waiting for Justice, HOUSTON CHRONICLE (Mar. 6,
        2004). Mr. Mock is well known in the Houston bar for his defective representation of defendants
        in capital cases. He currently is serving a three-year suspension from the practice of law for
        violation of various Texas State Bar ethics rules.




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even though the Crime Lab forwarded the evidence to GeneScreen, Mr. Herbert never
directed GeneScreen to go forward with the testing.278

        Because Ms. Kim's DNA testing found no evidence connecting Mr. Adams to the
sexual assault of the victim, the charges against Mr. Adams were dropped. Even
though the man who allegedly participated in the attack with Mr. Sutton and who
was identified with utter certainty by the victim when she saw him and Mr. Sutton
                                                                                       —
together, one wearing a cap and the other wearing a skull cap, just as her attackers had
been -- was cleared by Ms. Kim's DNA test results, the charges against Mr. Sutton went
forward based on the same set of DNA results.279 The Assistant District Attorney,
Joseph Owemby, decided to continue with the prosecution of Mr. Sutton, even though
the complaining witness already was shown to have mis-identified one of her attackers
and the theory that Mr. Sutton and Mr. Adams participated in the attack together had
fallen apart.

       Mr. Sutton's trial lasted three days in July 1999. On July 7, 1999, Ms. Kim was
called by the State to testify about her DNA results. In response to questions asked by
Mr. Owemby, Ms. Kim told the jury, without elaboration or specificity, that the Crime
Lab "matches" a "staff of standards [sic]" in connection with its DNA testing.280 She
also told the jury that "[t]here is an agency or association that we are trying to get
[accredited] by" and that the Crime Lab was working on accreditation "right now."281
Ms. Kim then explained that for this case she "examined the vaginal swab, cutting from

278     Following his conviction, Mr. Sutton moved for a new trial on the grounds that Mr. Herbert
        provided ineffective assistance of counsel by failing to obtain independent DNA testing. During
        the hearing on this motion, Mr. Herbert testified that, although he collected between $600 and
        $650 for the independent DNA testing, he told the family that they would need to raise a total of
        $1,200 to $1,500 for the testing. Mr. Herbert also claimed that he did not believe there were any
        unadulterated samples available for re-testing. Mr. Sutton's family members testified that
        Mr. Herbert took their money to have the test performed but never told them that they would
        need to pay more. Moreover, as reflected by the re-testing that eventually was performed in this
                                                             —
        case -- and which led to Mr. Sutton's exoneration there was, in fact, probative DNA evidence to
        be analyzed.
279     There is no indication in HPD's investigative record that HPD conducted any further
        investigation, once Mr. Adams was exonerated, to identify the unknown third donor whose
        profile Ms. Kim reported finding through her DNA testing.
280     State v . Sutton, Cause No. 800450, Tr. Vol. 4, at 173:7-10 0uly 7, 1999).
281     Id . at 173:11-17. Of course, the Crime Lab's DNA Section would be shut down at the end of 2002
        when an outside inspection found that it failed to meet the FBI's DAB guidelines for forensic
        DNA laboratories. The Crime Lab's DNA operation was first accredited by ASCLD/ LAB in June
        2006, almost seven years after Ms. Kim's testimony in the Sutton case.




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the jeans, debris from the pubic hair combings, . . . number one unknown sample, and
also three known blood samples from three different individuals. Josiah Sutton is one.
Gregory Adams and [the victim]."282
       Ms. Kim presented the results of her DNA testing to the jury as follows. She told
                                                     —
them that "Josiah Sutton's DNA pattern was was detected from the DNA patterns
that were detected from the vaginal swab of the male -- male pattern."283 When
Mr. Owemby asked about the "pubic hair debris," Ms. Kim testified, "[a]gain, Josiah
Sutton's pattern was detected." When asked about the "cutting from the jeans,"
Ms. Kim replied, "[a]gain, Josiah Sutton's pattern was detected."284 Ms. Kim never was
asked to explain -- nor did she on her own -- the significance of her repeated statement
that she detected "Josiah Sutton's pattern" in the evidence she tested. In light of the fact
that the properly calculated random match probability for Ms. Kim's PCR results in this
case was only approximately 1 in 14 in the African American population, the
association between Mr. Sutton and the evidence in this case -- even accepting
                                     —
Ms. Kim's DNA typing results was weak. Nevertheless, the jury was given the highly
prejudicial and misleading impression that Mr. Sutton's individual and unique DNA
pattern was found in multiple evidence samples taken from the victim's sexual assault
kit and clothing.

        Mr. Herbert's cross-examination of Ms. Kim was brief and completely ineffective.
Mr. Herbert raised only, in general terms, suggestions about the possibility of
laboratory error and potential complications caused by the number of people involved
in the chain of custody of the evidence. He made no attempt to challenge the technical
work Ms. Kim performed in this case, her interpretation of the PCR results, or whether
Ms. Kim's stated conclusions in her report and testimony actually were supported by
the DNA typing results she obtained. Mr. Herbert did not hire a DNA expert who
could have assisted with challenging Ms. Kim 's DNA analysis in this case, and, as
previously noted, he failed to have GeneScreen re-test the evidence.



282     Id . at 174:15-20.
283     Id . at 200:5-8.
284     Ms. Kim did not testify about the typing results she obtained from the "#1 sample." Earlier
        during her testimony, Mr. Owemby told her that "I don't want to talk about the unknown
        sample," referring to the "#1 sample." As discussed below, Dr. Thompson, who reviewed
        Ms. Kim's DNA work and trial testimony in this case, has opined that the "#1 sample" was
        potentially exculpatory of Mr. Sutton and that, for this reason, Mr. Owemby may have
        intentionally steered Ms. Kim away from discussing it.




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      The day after Ms. Kim testified, on July 8, 1999, Mr. Sutton was convicted of
aggravated sexual assault and sentenced to 25 years in prison. He was 17 years old.
        D.       The Long Road to Mr. Sutton's Exoneration

       Mr. Sutton was released from incarceration on March 12, 2003, after serving four
and a half years of his 25-year prison sentence. As discussed below, he owes his
freedom to the persistence of his mother and to the DNA re-testing that ultimately
excluded him as a potential contributor to any of the biological evidence taken from the
victim's rape kit, clothing, and vehicle.

                 1.      Failed Appeal

       Following his conviction, Mr. Sutton filed a motion for a new trial with the trial
court asserting that Mr. Herbert provided ineffective assistance of counsel by failing to
follow through on the independent DNA analysis to be performed by GeneScreen,
which he had suggested be performed. During a hearing on the motion for a new trial,
Mr. Herbert testified that, even though Mr. Sutton's family had given him between $600
and $650 for the re-testing and the evidence had been sent by HPD to GeneScreen in
May 1999 (nearly two months before the trial), he did not obtain the DNA test results
from the independent laboratory because (1) additional money was needed for the
testing, which the family did not provide him, and (2) he did not believe there were any
unadulterated samples remaining for testing. Even though two of Mr. Sutton's family
members testified that Mr. Herbert never told the family that additional money for
DNA testing was necessary and there in fact were samples forwarded by the Crime Lab
that could have been tested, the trial court denied Mr. Sutton's motion for a new trial.285

        Mr. Sutton then appealed his conviction on the grounds that Mr. Herbert
provided ineffective assistance of counsel for failing to secure the independent DNA
tests. The Court of Appeals referred back to the trial court's rejection of Mr. Sutton's
ineffective assistance of counsel claim made in connection with a motion for a new trial
as an implicit finding that the trial court accepted Mr. Herbert's justifications for failing
to follow up on the independent DNA tests and that, therefore, his representation of
Mr. Sutton was not deficient.286 The Court of Appeals also found that there was no
evidence that an "independent DNA analysis . . . would vindicate [Mr. Sutton] or raise
questions about his innocence" and that "the State[']s DNA evidence which implicated


285     Sutton v . State, No. 14-99-00951-CR (Tx. 14th Ct. App. Jan. 18, 2001) (unpub. op.).
286     The Court of Appeals did suggest, however, that Mr. Sutton's family might consider lodging a
        bar grievance against Mr. Herbert regarding his handling of the funds provided for the re-testing.




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[Mr. Sutton] and led to the dismissal of charges against others accused, is not seriously
challenged."287 On January 18, 2001, the Court of Appeals affirmed Mr. Sutton's
conviction.

                 2.     DNA Re-Tests and Mr. Sutton's Exoneration

        After viewing the November 2002 KHOU news reports that questioned DNA
and serology work performed by the Crime Lab and led to the closure of the
DNA / Serology Section the following month, Mr. Sutton's mother contacted KHOU and
asked the reporters to look into her son's case. The reporters, Anna Werner and David
Raziq, contacted Professor Thompson to request that he review Ms. Kim's DNA
analysis in the Sutton case. Professor Thompson reviewed the transcripts from
Mr. Sutton's trials, his motion for a new trial and appellate brief, and the Crime Lab file
related to Ms. Kim's DNA work in the case. During a report that aired on KHOU in
January 2003, Professor Thompson described the Sutton case as a clear miscarriage of
justice.

       In response to KHOU's report and in light of the numerous media reports about
profound problems in the Crime Lab's DNA operation, including its recent closure,
HPD requested that an outside laboratory review the Crime Lab's case file for the
Sutton matter. On January 31, 2003, the outside laboratory, Identigene, Inc. issued a
report, finding that Ms. Kim's reported "results are incorrect and that the statistics were
calculated incorrectly." Specifically, Identigene found that (1) the DNA analysis results
for the jeans sample were inconclusive and should not have been reported as consistent
with the reference samples; (2) Mr. Sutton's and Mr. Adams's profiles are excluded as
possible contributors to the "#1 sample," and Ms. Kim 's report was incorrect with
respect to that sample; and (3) Ms. Kim 's reported profile frequency is "incorrect" and
"significantly overstates the possible association of the DNA profile of Josiah Sutton
with mixture profiles found in the vaginal swab and the pubic hair combing's debris."
The Identigene report concluded that "[w]e strongly recommend that this case be
re-analyzed using more powerful STR DNA analysis methods." On February 3, 2003,
Mr. Krueger, the Crime Lab director, forwarded the Identigene report up the chain of
command with a cover memorandum stating that "[s]amples from the case will be sent
out for reanalysis using the new STR procedures."

       HPD forwarded reference samples for Mr. Sutton, Mr. Adams, and the victim, as
well as the sexual assault kit vaginal smear, to Identigene for re-testing. On March 10,
2003, Identigene issued a report concluding that the "DNA profile[ ] of the reference


287     Sutton, No. 14-99-00951-CR (Tx. 14th Ct. App. Jan. 18, 2001) (unpub. op.), at 4




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sample from Josiah Sutton . . . can be excluded" from being a contributor to the mixture
of DNA profiles found in the sperm and epithelial fractions vaginal smear. Mr. Sutton
was released from the Harris County jail two days later.

       Even though Mr. Sutton had been released, the re-testing of DNA evidence in
this case continued. HPD asked a second outside laboratory, Orchid Cellmark, to
analyze the stain on the victim's jeans and the "#1 sample" taken from the middle seat
of the victim's truck. On June 30, 2003, Orchid Cellmark issued a report stating that
"Josiah Sutton . . . can be excluded as a donor" of the jeans sample and "#1 sample."
Mr. Sutton was now cleared of being a contributor to DNA samples obtained from the
victim's sexual assault kit (specifically, the vaginal smears), clothing, and vehicle.

       Although the re-testing of DNA evidence in his case was complete and clearly
established his actual innocence of the sexual assault on the victim, Mr. Sutton's legal
exoneration would take more time. Texas Governor Rick Perry pardoned Mr. Sutton,
based on innocence, on May 14, 2004. A year later, on May 25, 2005, the Texas Court of
Criminal Appeals hearing Mr. Sutton's application for a writ of habeas corpus formally
vacated the judgment of conviction entered after Mr. Sutton's trial. The Court of
Appeals stated that: "The DNA used to convict [Mr. Sutton], originally tested by the
Houston Crime Lab, was retested by an independent laboratory at the request of the
State. The results exclude [Mr. Sutton] as a possible assailant."288 In August 2005,
Harris County District Attorney Charles A. Rosenthal, Jr. issued a letter stating that he
did not oppose the payment of reparations to Mr. Sutton based on his wrongful
conviction and incarceration. The following month, the State agreed to pay Mr. Sutton
more than $118,000 to compensate him for the years he spent wrongfully imprisoned.

        E.       DNA Evidence Leads to the Conviction of the Actual Perpetrator

        In addition to providing powerful evidence about the potential guilt or
innocence of known suspects, DNA profiling technology is a powerful law enforcement
tool to assist in the identification of suspects in "cold cases" where there is no known
suspect, particularly in sexual assaults. DNA profiles obtained from evidence can be
compared to the hundreds of thousands of known profiles stored in the CODIS
database in order to develop investigative leads and identify potential suspects. In this
case, use of the CODIS database led to the arrest of Donnie Lamon Young in 2006 for
the sexual assault of the victim nearly eight years earlier.

       After it was clear that Mr. Sutton was excluded as the donor of the male DNA
profiles found in the stains associated with the rape, HPD worked with the Texas DPS

288     Ex Parte Josiah Sutton, No. AP-75,181 (Tx. Ct. Cr. App. May 25, 2005) (unpub. op.).




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CODIS administrator, Dennis Loockerman, to have the unknown profiles that were
developed by Identigene searched against the CODIS database. In July 2003, the two
unknown male profiles detected by Identigene were compared against the CODIS
database with no results.

        In addition to having the Identigene profiles entered into CODIS, HPD also
submitted a male profile that Orchid Cellmark had developed from the semen stain on
the victim's jeans to the Harris County ME's Office for entry into the database. In May
2006, DPS notified HPD that it had obtained a CODIS "hit" matching the profile from
the jeans sample to the DNA profile of a convicted offender. On May 9, 2006, the Crime
Lab's current director, Ms. Rios, emailed an HPD sex crimes investigator to report that
"[t] he DPS reported a DNA match from the victim's jeans to a convicted offender,
Donnie Young. Once a sample is obtained from Young a direct comparison to the DNA
profile on the jeans can be made."

       On May 12, 2006, HPD obtained a buccal swab reference sample from
Mr. Young, which was tested by Orchid Cellmark and compared to the DNA evidence
related to the sexual assault of the victim. On June 9, 2006, Ms. Rios contacted the sex
crimes investigator to inform him that Orchid Cellmark had confirmed that
Mr. Young's DNA profile matched DNA evidence from the victim's sexual assault kit.
Two days later, HPD officers arrested Mr. Young, and he was charged with aggravated
sexual assault.

       In January 2007, Mr. Young pleaded guilty to aggravated sexual assault in
connection with the 1998 attack on the victim. In connection with his plea, Mr. Young
told prosecutors that Damon Batiste was with him during the crime. Prosecutors
determined that Mr. Batiste had died in prison. Mr. Young was sentenced to 10 years in
prison.

        F.       Conclusions

        The Sutton case in many respects is a microcosm of the range of problems we
observed during this investigation related to the use of forensic DNA evidence in the
Harris County criminal justice system. The system failed at multiple points, with the
result that Mr. Sutton was wrongfully convicted and spent more than 4 years in prison
based largely on flawed and misleading DNA work by the Crime Lab. The problems
illustrated by the Sutton case include:

     • Serious problems with the Crime Lab's DNA analysis . As we observed across
        a number of cases, Crime Lab DNA analysts, including Ms. Kim and others,
        demonstrated very poor technique in performing PCR-based testing during the
        1990s. As a result of their poor technique and lack of training, HPD analysts


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        using PCR testing often produced ambiguous results reflecting complex
        mixtures, the interpretation of which was very difficult. The problem was
        exacerbated by the lack of any meaningful or competent technical review of the
        analysts' work -- the Crime Lab's equally poorly trained staff simply performed
        administrative reviews of each other's work and their supervisor, Mr. Bolding,
        was not competent to perform or to review PCR testing and denied being
        responsible for technical reviews. The Sutton case also illustrates the Crime
        Lab's practice of failing to accurately convey the significance of the associations
        they found between suspects and evidence through DNA testing, particularly in
        mixture cases.

      • Prosecutors' reliance on flawed forensic science work . In the Sutton case,
        Harris County prosecutors relied on the Crime Lab's flawed forensic DNA work
        with disastrous results. Our review of this case is not meant as a criticism of the
        victim. She endured a horrifying attack that doubtless left her deeply
        traumatized. Indeed, as discussed above, a 1995 FBI study found that, between
        1989 and 1995, suspects positively identified by sexual assault victims were
        excluded by DNA testing in nearly a quarter of cases.289 Here, the prosecutor
        went forward with the charges against Mr. Sutton even though the victim's
        positive identification of the co-defendant in this case was contradicted by the
        Crime Lab's original DNA results and the charges against him were dismissed.
        The prosecutor appears to have pressed forward in the case against Mr. Sutton in
        large part because the Crime Lab advised him that Mr. Sutton's DNA profile was
        found in the evidence. The prosecutor, however, did not appear to have a
        sufficient understanding of DNA evidence to recognize the weakness of
        Ms. Kim 's inclusion of Mr. Sutton.

      • Poor representation by defense counsel. Mr. Herbert was not prepared to
        defend a case based largely on DNA evidence. He failed to follow through on
        the DNA re-testing that he suggested be performed. He failed to retain an expert
        to educate him about DNA analysis and to assist him in identifying weaknesses
        in the Crime Lab's analysis, of which there were many in the Sutton case.
        Mr. Herbert failed to mount any semblance of an effective cross-examination of
        Ms. Kim, failing to challenge her results in this case or to probe the statistical
        significance of her inclusion of Mr. Sutton.


289     See Convicted by Juries, Exonerated by Science: Case Studies in the Use of DNA Evidence to Establish
        Innocence After Trial , United States Department of Justice, Office of Justice Programs, National
        Institute of Justice (June 1996), at 20.




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      •   CODIS. One of the tragedies of the historical Crime Lab, which came to light in
          the early 2000s, was its failure to process sexual assault kits in cases in which
          there was no known suspect so that DNA profiles developed from evidence in
          those kits could be entered into the CODIS database. As illustrated by HPD's
                                      —
          apprehension of Mr. Young nearly eight years after he raped the victim    —
          CODIS can be an extremely powerful law enforcement tool. However, it is only
          as useful as the data that is entered into it.

IV.       Nanon Williams

       In the early morning hours of May 14, 1992, four young men gathered in a
Houston park for a drug deal. Moments later, 19-year-old Adonius Collier was shot
twice in the head, once with a small caliber pistol and once with a shotgun. Nanon
Williams, a juvenile at the time of Mr. Collier's death, was later charged with
Mr. Collier's killing and convicted of capital murder. Mr. Williams remains in prison
today, although his death sentence was recently commuted to a life sentence.

       The Williams case was selected for more detailed review by our investigative
team because three HPD firearms examiners misidentified potentially significant fired
bullet evidence. One of the HPD examiners provided incorrect testimony at trial based
on the misidentification. Critics have also asserted that HPD investigators contributed
to the misidentification because they failed to submit a weapon associated with the
crime to the Firearms Section for examination and test-firing before Mr. Williams's trial.

        To assess the conduct of the Crime Lab in connection with the Williams case we
reviewed information gathered during the HPD investigation, evidence presented at the
trial, and evidence developed during post-conviction proceedings. Our forensic experts
conducted an independent examination of the fired bullet evidence that was examined
by the Crime Lab for the Williams case. We also evaluated the significance of the Crime
Lab's conclusions and testimony relating to the misidentified evidence.

          A.     Background
       Several days before the Collier murder, according to evidence presented at trial,
Mr. Williams approached his neighbor, Elaine Winn, and asked about buying crack
cocaine from Mr. Collier. Ms. Winn was 20 years old at the time and had an "off and
on" dating relationship with Mr. Collier. She told HPD investigators that she helped
arrange several meetings between Mr. Collier and Mr. Williams over the next several
days. Just before midnight on May 13, 1992, Ms. Winn, Mr. Williams, Vaal Guevara,
and a fourth individual (who was positively identified as Patrick Smith in 1998) drove
to Mr. Collier's apartment to purchase cocaine. Arrangements were made to meet
elsewhere, and the parties drove in separate vehicles to Hermann Park. Mr. Collier was


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accompanied by Emmade Rasul and Stephanie Anderson, Mr. Rasul's 14-year-old
girlfriend.

       According to several witnesses, the group met in a well-lit parking lot at
Hermann Park. Mr. Collier, Mr. Rasul, Mr. Williams, and Mr. Guevara left the vehicles
and walked to a dark, heavily wooded area nearby. Ms. Anderson remained in
Mr. Rasul's car, and Ms. Winn testified that she waited in the other vehicle with the
man later identified as Patrick Smith. Soon after the men entered the woods, between 3
and 5 gunshots were heard. Mr. Rasul ran from the woods, and he and Ms. Anderson
then fled on foot. Mr. Guevara and Mr. Williams reportedly re-joined Ms. Winn and
Mr. Smith in the parking lot and drove away from the scene.

        Mr. Rasul was able to get to the nearby Ben Taub Hospital, where he was treated
for gunshot wounds to the face and right foot. He was released later the same day.
Anderson flagged down an HPD officer near the hospital at around 1:15 a.m. and took
the officer to the crime scene. Mr. Collier was dead when the officer arrived.

       Mr. Rasul was interviewed by HPD investigators 15 days after the shooting.
Mr. Rasul told HPD investigators that he and Mr. Collier were not armed during the
meeting with the suspects, whom he met for the first time on the night of the murder.
He reported that one of the suspects suddenly pulled a pistol from the front of his pants
and shot Mr. Rasul in the face. Mr. Rasul ran from his attacker and was shot in the right
foot as he fled. Mr. Rasul said that the suspect who shot him in the face was taller,
heavier, and more muscular than the second suspect. Mr. Rasul subsequently identified
Mr. Guevara in an HPD line-up as one of the two suspects involved in the crime but
said Mr. Guevara was not the suspect who had shot him in the face. Mr. Guevara was
approximately 5 inches shorter and 25 pounds lighter than Mr. Williams, according to
HPD records.

       On May 30, 1992, HPD investigators visited an apartment believed to be
occupied by both suspects and reported that they were invited in by an occupant. An
HPD reports states that, while the officers were in the apartment, they noted in plain
view some .25 caliber bullets, a .22 caliber derringer long rifle, and a spent shotgun
shell. An HPD police officer "later took custody of these items and tagged them in the
firearms lock box."290 Probable cause arrest warrants were issued for Mr. Williams and
Mr. Guevara on the morning of May 30, 1992.


290     As discussed in greater detail below, a 2003 investigation by IAD concluded that the statement
        regarding placement of the firearms evidence in the firearms lock box was incorrect and that the
        derringer was actually submitted to the Property Room. The IAD investigation also concluded
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      Mr. Williams was arrested in California on August 23, 1992 and extradited to
Texas. Mr. Guevara and Mr. Williams were each charged with capital murder in
connection with the shooting death of Mr. Collier.

        B.       Evidence Implicating Nanon Williams in the Death of Adonius Collier

       One of the central disputed issues in the Williams case has been the identity of
the shooter who delivered the fatal gunshot wound to Mr. Collier. During the trial, the
State's theory was that Mr. Williams murdered Mr. Collier by firing two shots at
Mr. Collier's head, the first with a .25 caliber weapon and the second with a 12 gauge
shotgun. According to the State, Mr. Guevara shot Mr. Rasul with the .22 caliber
derringer.

       The defense argued that it was Mr. Guevara -- not Mr. Williams who shot
Mr. Collier first. According to the defense, the shot fired by Mr. Guevara killed
                                                                                         —
Mr. Collier, and the subsequent shotgun blast therefore did not cause Mr. Collier's
death.291 Mr. Guevara agreed to cooperate with prosecutors and testify against
Mr. Williams. He pleaded guilty to the offense of attempting to make an "illegal
investment" and was sentenced to 10 years in prison after testifying at Mr. Williams's
trial.

                 1.      Witness Testimony Regarding Firearms Used at the Crime Scene

       Mr. Guevara testified that he carried a .22 caliber derringer with him to the
meeting with Messrs. Collier and Rasul. He testified that he pointed and fired the
derringer in Mr. Rasul's direction, but only after two shots were fired by somebody else
in the group. Mr. Guevara later admitted on cross-examination that he previously told
police in a taped interview that he actually fired the .22 caliber derringer at Mr. Collier,
not Mr. Rasul, and that Mr. Collier had not yet been shot when Mr. Guevara did so.

       None of the individuals who were waiting in the parking lot witnessed the
shooting. However, Ms. Winn told police that Mr. Williams was carrying a concealed
shotgun when he left the car and returned with the shotgun after the shootings.
Ms. Winn also told HPD investigators that, after Mr. Rasul ran through the parking lot,
she heard a gunshot that was louder than the previously fired shots.

Footnote continued from previous page
        that the failure to submit the derringer to the Firearms Section for test-firing was attributable in
        part to this mistake.
291     Mr. Williams has denied responsibility for Mr. Collier's death and did not admit to firing the
        shotgun at Mr. Collier.




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                 2.      The Crime Lab's Pre-Trial Analysis of Firearms Evidence

       A fragment of an extensively deformed and fragmented small caliber bullet
(identified as EB-1) was collected from Mr. Collier's head at autopsy, along with 68 lead
shotgun pellets. HPD officers also recovered an unfired .25 caliber cartridge at the
scene. The bullet fragment, lead pellets, and a fired plastic shot carrier recovered at the
crime scene were submitted to the Crime Lab on May 19, 1992. An HPD firearms
examiner, Robert Baldwin, received the evidence on May 19 and logged it in on May 20,
1992.

       Donald Davis, an HPD Crime Lab firearms examiner, issued a report dated
June 16, 1992 in which he concluded, based solely on a visual examination, that EB-1
was a .25 caliber bullet. Mr. Davis also reported that the plastic shot carrier was
consistent with a 12 gauge shotgun but contained insufficient definite characteristics for
identifying the firearm. The 68 fired shotgun pellets were found to be #6 birdshot.292

       On March 25, 1994, a bullet that was removed from Mr. Rasul's foot when he was
treated at Ben Taub Hospital was retrieved from the hospital by an HPD investigator.
This bullet is identified as EB-2.293

       HPD firearms examiner C. E. Anderson examined items labeled EB-1 and EB-2
on June 23, 1995. He reported that the two fired, jacketed lead bullets were partially
mutilated but that land and groove measurements on both bullets indicated "that they
could have been fired in a firearm of the same manufacture." The caliber of EB-1 and
EB-2 is not explicitly identified, but the report implies that Mr. Anderson concluded the
bullets were .25 caliber because it states that "we are in concurrence with [Mr. Davis's]
findings," which concluded that EB-1 was a .25 caliber bullet. Mr. Anderson and
Mr. Baldwin are identified as the firearms examiners responsible for this report.




292     A few days later, an HPD officer tagged Mr. Guevara's derringer into the Property Room, where
        it remained until shortly before Mr. Williams's trial began. The .22 cahber derringer was
        submitted to HPD's Latent Prints lab, which reported on June 20, 1995 that there were no suitable
        latent prints on the weapon. The derringer was returned to the Property Room the same day and
        was not submitted to the Firearms Section for examination until 1998, nearly three years after
        Mr. Williams's trial.
293     The bullet that struck Mr. Rasul in the face entered his left cheek and exited near the back of his
        head; it was never recovered by HPD.




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                 3.      Trial Testimony Regarding the Crime Lab's Evaluation of
                         Firearms Evidence

       During the prosecution's direct examination, Mr. Baldwin was asked specific
questions regarding the dates on which he examined State's Exhibit No. 21, which
included EB-1.

        Q        Sir, what day did you actually examine State's Exhibit No. 21?

        A        Well, actually there were two occasions that I had -- there were two
                 different occasions I had to examine this evidence. At the time that
                 Officer Horowitz initially submitted this evidence to the Firearms
                 Laboratory I was responsible at that time for logging in evidence
                 that had been submitted to the laboratory. That was the first
                 occasion that I had to examine any of these items. And that was on
                 May the 20th of 1992, 1 believe.

        Q        Did you also examine it on a second date?

        A        At a later time, based on a request from your office, there was a
                 re-examination of the evidence made by Mr. Anderson, Mr. C.E.
                 Anderson, who is a senior firearms examiner, and myself; yes.

        Q        On what date?

        A        That was on June 23rd of 1995.294

       Responding to an IAD investigation that occurred eight years after
Mr. Williams's trial, Mr. Baldwin acknowledged that the examination he performed
when logging in evidence on May 19, 1992 was cursory. Mr. Baldwin reported that his
June 23, 1995 examination was more detailed and included a microscopic comparison of
EB-1 and EB-2 to verify Mr. Anderson's identifications. During that comparison,
Mr. Baldwin examined the individual characteristics of each bullet and evaluated the
widths of each bullet's lands and grooves.295



294     Williams v . Texas , Cause No. 63442, Tr. at 17:20-25, 18:1-20 (July 18, 1995).
295     Mr. Baldwin did not conduct a GRC analysis at that time, as that examination was performed by
        the "primary examiners," Mr. Davis and Mr. Anderson. During cross-examination, Mr. Baldwin
        acknowledged that his testimony regarding possible manufacturers of EB-1 came from
        Mr. Davis's report.




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       Based on the examination that he actually did conduct, Mr. Baldwin concluded
that there were insufficient individual characteristics to relate EB-1 and EB-2 to each
other, meaning that he was unable to conclude that the bullets were fired from the same
weapon. Because both bullets exhibited rifling with a left twist and land and groove
impressions of a similar width without any misalignment, Mr. Baldwin found no reason
to disagree with the conclusions of Mr. Anderson (who was then head of the Firearms
Section and an examiner with 20 years' experience) and Mr. Davis (also an experienced
examiner). IAD nevertheless concluded that Mr. Baldwin violated HPD Internal
Directives by testifying at Mr. Williams's trial without conducting his own independent
examination of the evidence.

       As noted above, Mr. Guevara admitted on cross-examination that he told HPD
investigators that he fired the .22 caliber derringer in the direction of Mr. Collier during
the aborted drug deal. The State moved the derringer into evidence and elicited the
following testimony from Mr. Baldwin to support its theory that it was not
Mr. Guevara's gun that produced the bullet in Mr. Collier's head:

        Q        Is there any way in the world, based on your training, your
                 expertise and the examinations that you made, that the bullet
                 [EB-1], which was part of the submission in State's Exhibit No. 21,
                 was shot out of that Derringer, State's Exhibit No. 17?

        A        No, sir. It's the wrong caliber, plus the type of cartridge used in
                 State's 17 is a rim fire cartridge and the .22 automatics are center
                 fire cartridges. 296

       Mr. Baldwin then testified that EB-1 and EB-2 were both .25 caliber bullets and
that neither could have been fired from the derringer:

        Q        Before I go any further, show these to the jury, what type of bullet
                 is the bullet that was submitted in State's Exhibit No. 22 [EB-2]?

        A        That's a .25 automatic full metal jacketed bullet.

        Q        How can you [be] so certain that both of these are .25 caliber
                 bullets?

        A        Comparison. We compared both bullets to each other. The base
                 diameters were consistent. We also compared the land and groove

296     Williams , Tr . at 24:5-15 (July 18, 1995) .




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                 widths and the number of lands and grooves, and they were also
                 consistent with each other.

        Q        Now, these bullets don' t look at all like each other. What makes
                 you say they are the same type of bullet?
        A        The reason they don' t look the same is the fact that the one bullet
                 which was recovered from the morgue is extremely mutilated. A
                 very large portion of its mass is missing.

        Q        In fact, sir, in addition to being the same diameter, are they the
                 same make of ammunition?

        A        Yes, sir.

        Q        Is there any way the bullet in State's Exhibit No. 22 could have been
                 fired out of that Derringer, which is State's Exhibit No. 17, any way
                 in this world ?

        A        No, sir. As indicated, State's Exhibit No. 22 is a .25 automatic, and
                 the cartridge for a .25 automatic is larger in diameter than this
                 weapon would be chambered to handled. Also, the .22 is a rim fire
                                   —             —
                 cartridge and the excuse me the .25 automatic is a center fired
                 cartridge.297

When the prosecutor asked Mr. Baldwin to examine examples of .22 caliber cartridges,
Mr. Baldwin confirmed that he had not previously examined the derringer:

        Q        Could a cartridge like that have been fired from that Derringer we
                 have been speaking about or could it be used in that Derringer . . . ?

        A        Yes, it could, but I don' t know what the functional condition of that
                 Derringer is. I have never checked it.298

       Neither Mr. Baldwin nor the investigators handling Mr. Williams's case made
arrangements to have the derringer examined by the Firearms Section after the trial.



297     Id . at 25:7-26:19.
298     Id . at 33:15-22.




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        C.       Post-Conviction Proceedings

                 1.    The Misidentification of EB-1 is Discovered and Reported

       Lawyers handling Mr. Williams's appeal sought and eventually obtained an
order that the firearms evidence be turned over to a defense expert. The Harris County
District Attorney's office asked Mr. Baldwin to test-fire the derringer before it was
provided to the defense "in order to preserve the integrity of the evidence."

       On January 15, 1998, the Crime Lab test-fired the derringer for the first time.
Based on a microscopic comparison of EB-1 to the bullet obtained from the test-firing,
Mr. Baldwin concluded that EB-1 was actually a .22 Magnum caliber bullet that had
been fired from the bottom barrel of the double-barreled derringer carried by
Mr. Guevara.

       Mr. Baldwin's results were verified by Michael Lyons, another HPD firearms
examiner. Mr. Baldwin promptly issued a report with the new conclusions, and
Mr. Williams's lawyers were notified of the results. The revised findings undermined a
central aspect of the prosecution's case, which was based on the premise that Mr.
Guevara's .22 caliber derringer could not have fired the bullet that was removed from
Mr. Collier's head.

                 2.    State Court Proceedings

        Lawyers for Mr. Williams have asserted in subsequent appeals that
Mr. Baldwin's revised conclusions demonstrate that the State's evidence was false and
prove that Mr. Guevara fired the fatal gunshot. The revised conclusions regarding EB-1
led to two evidentiary hearings in state district court. Several jurors from the 1995 trial
provided affidavits stating that evidence that EB-1 had come from the derringer "would
have changed the trial." Mr. Williams's independent forensic pathologist provided an
affidavit in which he opined "that the shotgun wound is obviously a lethal wound, but
it is not clearly or convincingly the only cause of death of Adonius Collier."

      Ronald Singer, of the Tarrant County ME's Office, reviewed the firearms
evidence for the defense. In an affidavit dated April 15, 1998, he stated that:

        Even in their "damaged" state, the .22 Magnum caliber bullet, State's
        Exhibit EB-1 and the .25 Auto caliber bullet, State's Exhibit EB-2 are easily
        distinguishable from one another, particularly if examined with the aid of
        a comparison microscope, and should have presented no problem to a
        competent firearms examiner. Mr. Baldwin's testimony at trial that EB-1
        was a .25 caliber projectile that could have been fired from the same gun
        as the bullet EB-2, recovered from another victim's foot, at best


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        demonstrates extreme carelessness on his part, and at worst calls in to
        question his expertise. 299 If the bullet had been correctly identified during
        one of the at least three times it was examined by the Houston Police
        Department, the bullet could have been compared to the Davis derringer
        prior to trial; this might have materially affected the outcome of the trial.

Mr. Singer was also quoted in the press, stating that "[t]here is enough of a difference
between a .25 caliber bullet and a .22 Magnum that even a non-expert could look at
them and tell the difference."

        Lawyers for Mr. Williams filed a brief with the Texas Court of Criminal Appeals,
asserting that Mr. Williams was convicted and sentenced to death because of
Mr. Baldwin's incorrect testimony. They also argued that Mr. Williams did not have
effective assistance of counsel because his trial counsel did not request independent
testing of the firearms evidence. The defense team admitted that Mr. Collier was shot
with both a shotgun and a handgun but argued that there were reasonable doubts as to
whether EB-1 or the shotgun blast caused Mr. Collier's death. They suggested that
another person who accompanied Mr. Williams to Hermann Park fired the shotgun.
They also maintained that testimony and arguments during the trial were misleading,
and likely affected the jury's verdict.

        The district judge presiding over the habeas corpus hearing recommended that
Mr. Williams's death sentence and conviction be reversed and a new trial granted.
Lawyers for Mr. Williams asked the Court of Criminal Appeals to defer to the trial
court's determination. On April 24, 2002, Mr. Williams's petition was denied; in its
written opinion, the Court of Criminal Appeals stated that the new evidence provided
at the evidentiary hearing did not support the trial court's key findings and
recommendations in Mr. Williams's favor. Mr. Williams's request for a new trial was
also denied.


299     In 2003, HPD's IAD investigated and sustained allegations relating to the misidentification of
        bullet evidence in the Williams case and concluded that there was no intentional misconduct or
        malfeasance in the misidentification of EB-1 as a .25 cahber bullet. IAD also investigated the
        failure to submit the derringer to the Firearms Section for test-firing before Mr. Williams's 1995
        trial. Investigators found that an HPD heutenant involved in the homicide investigation
        inadvertently indicated in a June 1, 1992 report that his partner tagged the weapon into the
        firearms lockbox, when, in fact, it was submitted to the Property Room. Investigators concluded
        that the error was inadvertent and that the decision not to submit the derringer immediately to
        the firearms lab for examination was understandable because officers investigating
        Mr. Williams's case were informed that the fired bullet available for comparison was a .25 caliber
        bullet.




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                 3.      Federal Court Proceedings

        Mr. Williams's attorneys continue to pursue habeas corpus relief in the federal
courts. In March 2005, the United States Supreme Court held that executing prisoners
for a crime committed when they were under the age of 18 violates the Eighth
Amendment's prohibition against cruel and unusual punishment.300 As a result, the
U.S. District Court for the Southern District of Texas issued an order directing that
Williams be released from prison unless the State of Texas commuted his sentence to
life imprisonment within 180 days.301 The State subsequently reduced Mr. Williams's
sentence to life in prison.

       In the same May 2005 ruling, the U.S. District Court rejected all of Mr. Williams's
                                                                          —
claims associated with the guilt and innocence phase of his trial including claims
regarding the misidentification of EB-1. Mr. Williams's appeal is currently pending
before the U.S. Court of Appeals for the Fifth Circuit.

        D.       The Investigative Team's Analysis of Work Performed by the HPD
                 Crime Lab in the Williams Case

                 1.      The Fired Bullet Evidence

       We conducted an independent evaluation of the fired bullet evidence presented
by the Crime Lab. One of the examinations performed in connection with our review
was a comparison of class characteristics, including the base diameter of the bullets.

       Bullet base diameters vary slightly by manufacturer. For example, EB-1 was
ultimately determined to be a .22 Magnum rimfire caliber copper jacketed lead bullet.
When it is intact and undamaged, this bullet has a base diameter of approximately 0.225
inches. EB-2 was determined to be a .25 caliber copper jacketed lead bullet, and, when
this bullet is undamaged and intact, it has a base diameter of approximately 0.250
inches. The difference in diameter for intact, undamaged .22 Magnum rimfire caliber
bullets and .25 auto caliber bullets is therefore approximately 0.025 inch. Though this
difference in base diameters is small, it is visually discernible, as illustrated in the
following image:




300     Roper v . Simmons, 543 U.S. 541 (2005).
301     Williams v . Dretke, No. 4:03-cv-01508 (S.D. Tex. May 5, 2005).




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                   IMAGE 1: Base of unfired .22 Magnum caliber (left)
               compared to base of .25 auto caliber bullet (right) [scale is mm]
The side-by-side comparison contained in Image 2 also shows visually discernible
differences in the size of the two types of bullets.




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                  IMAGE 2: Unfired .22 Magnum rimfire caliber bullet (top)
                      compared to a .25 auto caliber bullet (bottom)


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       As Images 1 and 2 indicate, Mr. Singer's assertion that a non-expert can perceive
the difference between a .25 caliber bullet and a .22 Magnum caliber bullet is true if the
bullets being compared are in good condition. However, when a bullet hits a hard
surface, distortion and / or fragmentation typically occur. Distortion can alter the
apparent base diameter of a bullet. It can also cause apparent rifling orientations to be
different than actual (right twist can appear as left twist and vice versa ). Identification
of EB-1 was not simple because only a bullet fragment was retrieved, and that fragment
was extensively deformed, as Images 3 and 4 demonstrate.




            IMAGE 3: Remaining base fragment (side view) identified as EB-1

        Caliber determinations are based on the assumption that bullets fired from the
same weapon show comparable base diameters. When a bullet has been fired, the
diameter of the barrel bore is approximated by measuring the bullet's base diameter. In
this case, the distortion of EB-1 caused its bullet base diameter to be variable, as is
illustrated in Image 4, and some of its measurements were similar to those of a .25
caliber bullet. The parallel solid white lines contained in Image 4 indicate the apparent
similarities in gross diameters of the two bullet bases. The dashed white lines



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approximate the true diameter of EB-1, which has a base diameter between 0.2225 to
0.2545 inches; the base diameter of EB-2 is 0.2500 inches.




                      IMAGE 4: Comparison of base portions of EB-1 and EB-2

       The distortion of EB-1 seems obvious in the side-by-side comparison of EB-1 and
EB-2 that is provided in Image 4. However, this distortion -- and its effect on the
determination of the bullet's caliber -- would not have been as obvious based on an
examination of EB-1 alone. (Mr. Davis did not have EB-2 when he made his
examination in June 1992; EB-2, which was removed from Mr. Rasul's foot, was not
provided to the Crime Lab until more than a year later.) This is especially true because
Mr. Davis did not perform a microscopic examination. A firearms examiner should
consider the possibility that the distortion of a bullet would affect its base diameter.

       Other factors may have contributed to the failure of the various HPD firearms
examiners involved in this case to recognize the distinction between EB-1 and EB-2. As
seen in Image 2, distinctions in the design and construction of an unfired .25 Magnum
caliber bullet and an unfired .22 caliber bullet are obvious. When the side views of EB-1
and EB-2 are compared, however, these distinctions are not discernible because of the
extensive damage to and fragmentation of EB-1. The only information regarding design




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and construction that can be derived from EB-1 is that it appears to be a full metal jacket
design with a slightly concave base.

        To compare GRCs, a firearms examiner determines the number of lands and
grooves on the bullets being compared and the direction of their twist. The width of the
lands and the grooves can also be measured, and the sum of those measurements
should permit a calculation of the diameter and indicate the caliber. However, this step
is not possible for distorted bullets or fragments like EB-1. HPD examiners could only
compare limited information from the fragment of EB-1 to measurements from EB-2.

      EB-2 has six lands and grooves with a left twist, and, as evidenced in Image 5
below, EB-1 appears to have similar GRCs.




                  IMAGE 5: Bullet groove width comparison of EB-1 to EB-2

        The similarities in the rifling dimensions as well as in the gross features of the
rifling impressions themselves are readily apparent in Image 5, which further illustrates
how an examiner could mistakenly conclude that EB-1 and EB-2 had similar class
characteristics. The June 23, 1995 report issued by Mr. Anderson and co-signed by
Mr. Baldwin states that the bullets "could have been fired in a firearm of the same
manufacture." Such a conclusion is appropriate when class characteristics are similar.




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       We searched the FBI Crime Laboratory Information System for a list of .22
Magnum caliber weapons and .25 auto caliber weapons with six lands and grooves and
with a left twist. Those with the closest similarities in dimensions were the .22 WMR
Davis Industries DM-22, which has a land width of 0.54-0.56 inches and a groove width
of 0.60-0.62 inches. The 25 auto Astra Cub has a land width of 0.58-0.64 inches and a
groove width of 0.63-0.66 inches.
      These dimensions are provided to demonstrate that similar dimensions can be
found in bullets of two different calibers. We do not mean to suggest that EB-2 was
necessarily fired from an Astra Cub (no .25 caliber weapon was recovered in the
Williams case), but note that the weapon used to fire EB-1 was, consistent with the
above dimensions, ultimately determined to be a Davis Industries DM-22 derringer.

                 2.     Mr. Baldwin's Trial Testimony

        The fact that Mr. Davis's error was repeated when Mr. Baldwin testified in 1995
from the record of another examiner's notes is unfortunate. This practice, though
ill-advised, is not illegitimate and was common in some crime laboratories for many
years. This was especially true in laboratories that, like the Crime Lab, lacked sufficient
staff . However, we also believe that Mr. Baldwin's testimony regarding his role in the
May 1992 examination of EB-1 might have given jurors the misleading impression that
his review involved a more substantive examination than the cursory inspection he
described during the 2003 IAD investigation.

        E.       Conclusions

        We believe that EB-1 was misidentified as a .25 caliber bullet because distortions
caused the bullet fragment to exhibit apparent similarities in class characteristics to
those of a .25 caliber bullet. That error was exacerbated by the subsequent submission
of EB-2, which, as we demonstrate above, had similar class characteristics. The failure
of HPD investigators to submit the .22 Magnum derringer to the Firearms Section with
a request to compare the bullet evidence to the firearm itself also contributed to the
misidentification.302 The misidentification was perpetuated because the Crime Lab
lacked appropriate quality assurance protocols at the time and during the years that
preceded ASCLD/ LAB accreditation of the Lab. This case underlines the need to
strictly adhere to the revised protocol that was adopted in the period leading up to the
ASCLD / LAB accreditation.

302     We recognize, however, the unfortunate situation that existed where, based on the initial
        misidentification, the investigators were operating on the assumption that a .25 auto cahber
        weapon was involved in the homicide, not a .22 cahber firearm.




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        We disagree with Mr. Singer's assertion that the recognition of EB-1 as a .22
Magnum caliber bullet should have been possible "even for a non-expert." We note
that, absent the submission of the .22 derringer or any other suggestion that a .22 caliber
weapon may have been associated with EB-1 or EB-2, it would be possible to assume
that EB-1, a distorted bullet fragment, was similar to EB-2, a .25 caliber bullet. This is
especially true in this case because the recovery of a live round of .25 auto ammunition
at the scene of Mr. Collier's murder reinforced that conclusion.

       We believe that Mr. Davis reached the wrong conclusion partly because he had
only EB-1 available at the time of his examination. Additionally, Mr. Davis conducted
only a visual examination of EB-1; he did not perform a careful microscopic
examination. It is not uncommon for firearms examiners to determine class
characteristics with a cursory visual examination. However, deformation can change
the apparent class characteristics of a bullet or fragment, and a firearms examiner
should therefore conduct a careful microscopic examination.

       We also agree with the results of Mr. Baldwin's 1998 examination. The fact that
the Firearms Section did not reach these correct conclusions until several years after the
discovery of the evidence was not, in our view, caused by technical incompetence on
the part of Mr. Baldwin, who consistently demonstrated his competence in other cases
we reviewed. Rather, inadequacies in the Firearms Section's policies were to blame for
the fact that the original error went undetected for so long.

       In sum, we believe that the original error committed by Mr. Davis in 1992, which
was verified by Mr. Anderson in his 1995 report and further confirmed by Mr. Baldwin,
was perpetuated by the lack of adequate quality assurance practices in the Firearms
Section. HPD firearms examiners were apparently allowed to co-sign reports of other
examiners without personally reviewing the evidence that was the subject of the report.
That practice was contrary to generally accepted forensic science principles and
obviated the purpose of secondary signatures on each report.

       While the failure to correct Mr. Davis's error before trial was unfortunate,
Mr. Baldwin's revised findings and many other defense arguments have been presented
in great detail to three reviewing courts. Two of the three courts have concluded that
errors committed by examiners in the Crime Lab do not justify reversal of
Mr. Williams's conviction, and the Williams case remains subject to ongoing review in
the federal courts. Additionally, Firearms Section polices and procedures have been
revised by the Crime Lab since the events described in this review. We believe that -- if
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closely followed by HPD firearms examiners the updated policies and procedures
minimize the risk of mistakes like those that occurred in Mr. Williams's case.




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Review of the Crime Lab's Current
Operations and Recommendations
       From the outset, the City Council, Stakeholders Committee, and HPD have
emphasized the importance of our formulating recommendations for the Crime Lab.
These recommendations are designed to serve two complementary purposes: (1) to
assist HPD in establishing the Crime Lab as one of the preeminent law enforcement
forensic laboratories in the nation and (2) to provide a means for holding HPD and the
Lab accountable for the quality of forensic science services provided to the people of
Houston.303 In order to adequately support relevant and useful recommendations, we
performed a comprehensive review of ah of the current functions of the Crime Lab.

       Our review of the Crime Lab's current operations included a review of the
following: SOPs for each of the forensic science disciplines now being applied in the
Lab, Lab-wide manuals and protocols, training and proficiency testing materials for the
Lab's current analytical staff, data regarding the Lab's budget and caseload, information
about the existing salary structure for Lab personnel, and incident logs and records. We
also interviewed members of the Crime Lab staff to get their views about the current
organization, management, and needs of the Lab.

       In consultation with PwC, we selected statistical samples of cases analyzed in
each of the forensic science disciplines during the period following ASCLD / LAB
accreditation in May 2005. For the types of analysis accredited by ASCLD/ LAB --
controlled substances, firearms, blood alcohol testing, and questioned documents -- we
selected samples of cases completed and reported by the Crime Lab between June 2005
and the end of October 2006.

       The general sampling methodology we developed in consultation with PwC was
to select samples of 30 cases in each of these areas. Similar to the methodology relating
to our review of historical controlled substances cases, we selected two samples from
the current drug cases. The first sample was a general sample drawn from the entire
population of controlled substances cases processed by the Crime Lab during the
relevant period. We also selected a separate sample that targeted cases involving

303     HPD now has received some form of accreditation for each of the forensic science disciplines
        currently practiced in the Crime Lab. All of our recommendations should be implemented in a
        manner consistent with applicable accreditation criteria and quahty assurance standards,
        including the ASCLD / LAB accreditation criteria and the FBI quahty assurance guidelines for
        forensic DNA laboratories.




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particular types of evidence such as liquids, capsules, and tablets -- that are more
challenging to analyze than the routine marijuana and cocaine cases that constitute the
overwhelming majority of cases submitted to the Controlled Substances Section.
Finally, because of the small number of questioned documents cases, we reviewed all of
the cases completed by the Crime Lab's questioned documents examiner during the
relevant time period.

      We reviewed 36 DNA cases completed by the current Biology Section after
ASCLD / LAB accredited the Crime Lab's DNA operation in June 2006. The DNA cases
we reviewed included a sample of 30 cases completed between July and October 2006
(which represented approximately half of the DNA cases completed by the Crime Lab
during that period ) as well as two cases analyzed by each of the three DNA analysts
who completed training and began performing casework after October 2006. We also
reviewed several "mock" DNA cases analyzed by DNA staff prior to the Section's
accreditation.

      Finally, we also reviewed the Trace Evidence Section's SOPs, training materials,
and equipment and interviewed both of the Crime Lab's current trace evidence
examiners. However, because the Trace Evidence Section has not yet been accredited
by ASCLD / LAB, we did not review a sample of current trace evidence cases.
I.      Management of the Current Crime Lab
        In addition to our review of the technical work performed by each of the Crime
Lab's forensic science sections, we also assessed issues related more broadly to the
management and administration of the entire Lab. As described in detail in this
report's discussion of the root causes of the Crime Lab's past failures, we focused on
decisions and judgments made over the course of many years by the former senior
management of HPD and the Lab. In the past, the Crime Lab was starved for resources,
its analytical staff was inadequately trained and suffered from chronically low morale,
its managers and staff were not sufficiently integrated into the national forensic science
community, there was no formal or effective Lab-wide QA / QC program, and the
managers were timid about obtaining resources for the Lab and lacked the vision and
will to ensure that the Lab provided high quality forensic science services.

       The senior management of the Crime Lab, both in the HPD chain of command
above the Lab as well as within the Lab, has undergone a total transformation since the
problems infecting the Crime Lab came to light beginning in November 2002. As
reflected by, among other things, the commissioning of this investigation, the City and
Chief Harold L. Hurtt have made the rebuilding of the Crime Lab a top priority for
HPD. Under Irma Rios's leadership, the Crime Lab has been re-organized, has hired
and trained a number of new supervisors and analysts in all of its sections, has


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re-written all of its SOPs, and has obtained ASCLD / LAB accreditation in almost all of
                                                —
the areas in which it currently performs or plans in the near future to perform
forensic science work.304
                                                                                               —
        One of the most encouraging changes that we have observed since our
investigation began in April 2005 is in the attitude and morale of the Crime Lab staff .
Although many of the analysts are relatively young or new to their fields, we found
them to be bright, professional, and enthusiastic about their careers as forensic scientists
and about working in the Crime Lab. We were impressed by the high level of respect
the Crime Las has for Ms. Rios. We also found that the analysts have confidence in
their section supervisors and that, while there are various issues, as there are in any
institution, the analysts believe they are supported by their managers and treated fairly.
These are extremely important baseline facts about the current Crime Lab that give
hope for the future.

        Our observations regarding areas of concern for the entire Crime Lab are
grouped into the following categories, each of which is discussed below: (1) resources,
including the Lab's budget and analysts' salaries; (2) the Lab's QA / QC program;
(3) information technology; (4) the Lab's relationships with the users of its services;
(5) analyst training and professional development; and (6) strategic planning for the
Lab's future.

        A.       Personnel and Resources

       Ms. Rios told us that one of her immediate priorities upon assuming the
leadership of the Crime Lab was improving the salaries and career opportunities for
Lab staff . Ms. Rios understood from the outset that the only way in which HPD would
be able to recover from its past and establish itself as a quality operation was by
recruiting and continuously training competent staff who believed, among other things,
that the Crime Lab offers realistic opportunities for training and professional growth.305
As stated in the Houston Police Department Crime Laboratory Career Ladder circulated
to Crime Lab staff on August 19, 2005, "[personnel are recognized as the most critical
component of any laboratory system."



304     The sole exception is trace evidence examination, for which the Crime Lab received provisional
        DPS accreditation in November 2006 and underwent an ASCLD/ LAB inspection in March 2007.
305     One of the primary recommendations of the NFSTC's Needs Analysis prepared in July 2003 was
        that an analysis should be performed of the Crime Lab's job descriptions and salary schedules for
        criminalists.




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        The Career Ladder states that, in light of the "35 % turnover rate for Criminalists
[that] occurred in years 2000-2002," HPD and the Crime Lab developed a "career ladder
to aid retention." The Career Ladder significantly reorganized the Crime Lab's
personnel structure based on the model used by the Texas DPS crime laboratory
system . The Career Ladder flattened the structure of the Crime Lab by reducing the
number of criminalist positions from four to three -- Criminalist, Criminalist Specialist,
and Criminalist Manager. The Career Ladder included revised job descriptions for each
of these positions and, in a significant improvement over the Crime Lab's historical
salary structure, provided for "[m]erit pay increases . . . based on documented
employee performance, ability to fulfill the Houston PD strategic goals, and upon
recommendation of the immediate supervisor." The Career Ladder proposed that "at
least 30 % of employees be given a merit raise on a yearly basis" based on established
merit criteria.

       On December 14, 2005, HPD's Human Resources Director approved pay grade
enhancements for each of the criminalist positions under the revised Career Ladder
structure. As reflected in the chart below, the pay grade adjustments resulted in
significant increases in the salary ranges for Crime Lab forensic scientists.

 1 nrmer [oh            Pay                              New fob            Pay
                               Salary Range111:                                         Salary Range
Classification        tirade                           Classification     tirade
 Criminalist I         16      $24,596 - $48,464        Criminalist         20        $29,926 - $59,956
Criminalist II         19      $28,444 - $56,732        Criminalist         25        $39,026 - $79,872
                                                         Specialist
Criminalist III        23      $35,022 - $71,084        Criminalist         29        $49,010 - $101,894
                                                          Manager
Criminalist IV         25      $39,026 - $79,872

       As of March 1, 2007, the Crime Lab organization chart provided for 4 Criminalist
Managers, 7 Criminalist Specialists, and 31 Criminalists.307 With the exceptions of one
Criminalist Specialist and one Criminalist position in the Controlled Substances Section,
one Criminalist Specialist position in the Biology Section, and two Criminalist positions
in the Firearms Section, the Crime Lab has been able to staff its funded positions. The

306     The salary ranges reflected on this chart for both the former and new job classifications are based
        on the City's posted civilian pay structure, effective March 24, 2007.
307     This organization chart also references one grant-funded Criminalist position in the Biology
        Section, which was occupied by a serologist who screened evidence in sexual assault kits.




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Crime Lab recently hired an experienced forensic DNA analyst from the Harris County
ME's office into a Criminalist Specialist position in the Biology Section. Not only does
this reverse the historical pattern of the Crime Lab losing qualified personnel to
surrounding labs, but it may also reflect the positive effect the Career Ladder is having
by improving the Lab's ability to recruit qualified forensic scientists.

        It also appears that the Crime Lab's budget has increased substantially compared
to its funding levels during the 1990s and early 2000s. As reflected in the chart on
page 29 of this report, funding for the Crime Lab from HPD's general budget remained
                                            —
relatively flat during the early 2000s $2.93 million in 2000, $3.02 million in 2001,
$3.27 million in 2002, and $3.22 million in 2003.308 The Crime Lab's total budget from
HPD's general fund in fiscal year 2006 was $7.66 million -- more than double the funds
that had been allocated to it earlier this decade.309

       Significantly, the Crime Lab's 2006 budget includes line items reflecting that
HPD has devoted funds for the training of analysts, including funds to attend training
outside of the Lab. The Crime Lab's 2006 budget allocated $19,000 to "education and
training," $10,000 to "membership and professional fees," and $14,000 for "travel --
training related." Staff in the Biology Section in particular told us that they are satisfied
with the training opportunities afforded them, which has included travel for off -site
training, as well as with the resources that have been devoted to rebuilding and
maintaining that Section generally.

        Two areas of the Crime Lab still in need of additional resources, including
additional staff, are the Firearms Section and CER. Two of the Crime Lab's six positions
for line firearms examiners currently are vacant, and the Firearms Section is
experiencing a significant backlog of more than 600 cases. In order to relieve the
Firearms Section of certain demands, the Crime Lab has reassigned types of

308     Although the Crime Lab's funding from HPD's general budget dechned in 2003 as compared to
        2002, the Lab received almost $1.4 million in grant funding that year, including $600,000 allocated
        by the City Council to analyze the enormous backlog of unprocessed sexual assault kits that had
        accumulated.
309     The Crime Lab's 2006 budget includes $100,000 in asset forfeiture funds for equipment. This
        budget includes nearly $2.7 million for management consulting services, a significant portion of
        which relates to funding for this investigation. Although our investigation has now been
        concluded and all of the sections of the Crime Lab have received some form of accreditation,
        funding for outside consultants should not be eliminated from the Lab's budget. As discussed in
        detail in our recommendations, we beheve that the Crime Lab still has a significant need for
                                     —
        outside technical consultants particularly in the areas of serology, DNA analysis, and trace
                              —
        evidence examination to assist the managers and staff of those sections with technical reviews
        and other quahty assurance measures.




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examinations traditionally performed by firearms examiners -- namely, serial number
                                          —
restorations and distance determinations to the Trace Evidence Section, which, while
perhaps necessary in the short term, is not an optimal solution for these examinations.
Moreover, because of their current workloads, firearms examiners are not able to
participate in professional associations and outside training programs to the extent that
they should be. This, too, must be considered to be only a short-term practice.

       CER, which is the Crime Lab's central location for receiving, logging, and storing
drug evidence, currently is significantly understaffed. CER is staffed by one criminalist,
one evidence management clerk, and one contractor. Two additional evidence
management clerk positions are vacant. For a number of reasons -- including workload,
                                                                          —
the volume of evidence that is stored in CER, and environmental issues CER is a
challenging operation to keep properly staffed. However, even though CER does not
perform forensic analysis, it carries out the critical function of processing all of the
controlled substances evidence submitted to the Crime Lab for analysis. Therefore, it
must be provided with sufficient personnel to manage the large volume of drug
evidence submitted to the Crime Lab on a daily basis.

        Finally, the Crime Lab has prepared a detailed equipment replacement schedule
that plans for the periodic servicing and replacement of instruments and equipment
vital to each of the sections of the Lab through fiscal year 2009. Assets included on the
replacement schedule are two GC/ MS instruments, DNA amplification and analysis
instruments, the Biology Section's refrigerator, and equipment related to firearms and
trace evidence examination. Such long-term equipment servicing and replacement
planning that is embedded into the Crime Lab's future budgets is critical to ensuring
that the Lab is properly equipped to maintain appropriate levels of service for the
foreseeable future.

        B.       Quality Assurance and Quality Control
        The importance of a robust QA / QC program in a forensic science laboratory
cannot be overemphasized. A crime laboratory's quality assurance program must be
effective in identifying, documenting, and remedying issues with the technical work
performed by the laboratory. Quality assurance also includes ensuring that all of the
laboratory's scientists maintain a high level of proficiency in their work, receive proper
training and continuing education, and work in a safe and secure environment. A
QA / QC manager also is responsible for ensuring that all necessary and appropriate
documentation is included in the laboratory's case files, that the files are maintained
properly, that the presentation of the laboratory's analytical results are in both its
reports and in testimony, and that the laboratory's SOPs and manuals are current and
complete.



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       In October 2003, Reidun Hilleman was appointed the QA / QC Manager for the
                      —
entire Crime Lab a function that had never before truly existed in the Lab.310 Since
then, Ms. Hilleman has been central to HPD's and the Crime Lab's progress in the
rehabilitation of the Lab. For example, she has coordinated the revision of each of the
sections' SOPs as well as its Quality and Operations Manual, taken the lead role in
designing the Lab's QA / QC program, developed systems for administering and
tracking proficiency testing for the Lab's forensic scientists, coordinated the Lab's
preparations for ASCLD/ LAB accreditation inspections, and performed internal quality
assurance audits of the Lab's casework. She is a member of the Association of Forensic
Quality Assurance Managers ("AFQAM"), an organization whose stated mission is to
promote "standardized practices and professionalism in quality assurance management
for the forensic community."311

                 1.       QA/QC Audits and Inspections

        The Crime Lab's current Quality and Operations Manual requires the QA/ QC
Manager to perform annual laboratory inspections using the ASCLD / LAB accreditation
criteria as the reference standards for the inspection.312 This requirement is consistent
with the Crime Lab's general orientation toward, and emphasis on, maintaining
compliance with "objective standards," as embodied by the ASCLD / LAB accreditation
criteria. While ensuring that the Crime Lab continues to satisfy the ASCLD / LAB
accreditation criteria is critical to ensuring that it meets certain fundamental standards
relating to quality assurance and maintains its accreditation, this focus on accreditation
criteria may be too narrow. Furthermore, ASCLD/ LAB inspectors do not issue
recommendations. There are a range of best practices over and above the ASCLD / LAB
accreditation criteria that sophisticated forensic science laboratories develop over time
and incorporate into their SOPs to address specific quality assurance and technical
issues that are identified in the laboratory. The Crime Lab's Director and QA / QC
Manager must play active roles in assisting the technical leaders and staff of the sections
in identifying areas in which the Lab's current practices should be improved and in



310     As discussed in the historical narrative section of this report, Mr. Krueger created a QA / QC
        position in the Crime Lab in 1996 in order to remove Dr. Sharma from the supervision of the
        DNA / Serology Section. Dr. Sharma never took the position seriously and did little to advance
        quahty assurance in the Crime Lab. In February 2001, Mr. Krueger abandoned the QA/ QC
        position altogether and assigned Dr. Sharma to assist with the analysis of the large volume of
        marijuana cases submitted to the Crime Lab.
311     The organization's Web site is www.afqam.org.
312     Quahty and Operations Manual, Section 300/1.01.




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performing any necessary validation studies to support changes in the Lab's
practices.313

        The QA / QC Manager also performs spot reviews of cases analyzed in each of
the Crime Lab's sections. Ms. Hilleman estimates that these reviews of randomly
selected cases should occupy approximately 50 % of her time. However, because of the
prodigious amount of work involved in revising the Crime Lab's SOPs and preparing
for ASCLD / LAB accreditation inspections, the QA / QC Manager has not yet been able
to devote a significant proportion of her time to these reviews. As many other labs have
found, additional staffing for the QA / QC function will become necessary. Indeed, the
2003 NFSTC report specifically recommended that the HPD Crime Lab should have two
full-time positions dedicated to QA / QC.

       Ms. Hilleman's ability to perform spot reviews of randomly-selected cases also is
hampered by HPD's current system for tracking cases submitted to the Crime Lab for
analysis. With the exceptions of the Firearms and Questioned Documents Sections, the
Crime Lab's cases are tracked in an Access database into which cases are entered based
on the uniform crime reporting ("UCR") code that a police officer assigned to the
investigation to which the evidence relates has specified. In other words, the Crime
Lab's current database is not designed to track cases according to the type of evidence
submitted to the Lab or the section to which the case is assigned. Rather, cases in the
database are coded based on the underlying offense under investigation such as
homicide, sexual assault, robbery, theft, DWI, etc. For example, suspected drugs
                                                                                    —
recovered at a homicide crime scene may be submitted to the Crime Lab for controlled
substances analysis and often are assigned a 01 UCR code for "homicide" rather than
the 18 UCR code for "controlled substances." This system makes it difficult for the
Crime Lab to maintain accurate statistics regarding the number of cases submitted to
and processed by each section of the Lab.314 A more reliable case tracking system
oriented around the work performed in the Crime Lab would enable the QA / QC


313     For example, in our discussion below regarding the Biology Section's current operations, we
        recommend that the Crime Lab perform validation work to calibrate its DNA analysis software to
        help DNA analysts address certain interpretive issues that we observed in their DNA casework.
        The QA / QC manager should have a role in overseeing and participating in the recommended
        validation work.
314     Because of the UCR coding system, we encountered these same complications and difficulties in
        establishing the sample frames from which PwC selected the case samples for our review of the
        Crime Lab's historical and current operations. The data in our sample populations required a
        significant amount of refinement in order to ensure that they captured work performed by the
        section whose cases we were targeting for review.




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Manager to establish a more efficient and systematic inspection system than currently
exists.

                 2.       Peer Technical Reviews

       Thorough and competent technical reviews of the scientific analyses performed
in each case are among the most important elements of any forensic laboratory's
QA / QC program . The Crime Lab has adopted a technical review system that permits
any analyst who has completed training and passed the required proficiency testing to
perform technical reviews of other analysts' work in that area, regardless of the
analysts' level of experience. This system also is reflected in the current organization of
the Crime Lab, which has essentially abolished the historical Criminalist III line
supervisor position in favor of a flattened structure that includes only three levels of
criminalist positions: (1) entry level Criminalists, (2) more experienced forensic
scientists at the Criminalist Specialist level, and (3) Criminalist Managers (who are the
administrative and technical heads of the Controlled Substances / Toxicology Sections,
the Biology / Trace Evidence Sections, and the Firearms Section, as well as the QA / QC
Manager).
       While such peer review systems for technical reviews are permitted under
ASCLD / LAB's accreditation guidelines and are used in other forensic science
laboratories across the United States, this system may not be appropriate for the Crime
Lab at this stage in its recovery and development. Many of the Crime Lab's current
                      —
forensic scientists particularly in the fields of DNA analysis and trace evidence
examination315 -- either are currently undergoing training or have only recently
completed training and have limited forensic science casework experience.316 These
analysts still are in the process of mastering the total review of case requirements and
interpretive issues that their casework presents on a daily basis and, therefore, require

315     Because the Crime Lab currently has only one qualified trace evidence examiner, technical
        reviews of the Lab's trace evidence cases are performed by an outside expert. However, once the
        Crime Lab's second trace evidence examiner completes her training and is qualified, the Lab
        intends that these two newly trained examiners will perform peer technical reviews of each
        other's work.
316     As discussed below, we also are concerned about the current shortage of experienced supervisory
        support in the Controlled Substances Section, even though much (but by no means all) of the
        analysis and interpretation performed by drug chemists is more straightforward and less
        complex than other forms of forensic science analysis. Because the Firearms Section includes a
        number of experienced firearms examiners, even at the Criminalist level, we are less concerned at
        the present time about the appropriateness of peer technical reviews in that Section. The lone
        questioned documents examiner has an arrangement with outside experts for technical reviews
        of his cases.




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close supervision, guidance, and mentoring by more experienced forensic scientists.
We are concerned about the expectations this technical review system imposes on
analysts and examiners with slender experience of their own in a crime laboratory
whose work is likely to be under close scrutiny for some time as a result of the events of
the past several years. High quality technical reviews require, in our judgment,
seasoned judgment and substantial experience, ingredients not possessed by even the
most talented young analysts.317

                 3.     Incident Reporting and Response

       The Crime Lab's current quality assurance protocols require that, however they
may be discovered, technical problems, deficiencies, or departures from accepted
quality assurance standards shall be immediately brought to the attention of the
QA / QC Manager.318 The QA / QC Manager then is required to perform a preliminary
review of the incident and recommend to the Laboratory Director whether a formal
review is necessary or whether corrective action at the section level is appropriate. If
the matter is addressed at the section level, the QA / QC Manager must prepare a
memorandum with a summary of the incident and its resolution and include it on an
incident log. If a formal review is necessary, the involved analyst is suspended from
performing technical work in the relevant analytical area and the analyst's prior
casework may be subject to review and corrective action, including re-analysis if
appropriate. Serious technical deficiencies must be documented in a corrective action
report.
       We reviewed the incident log and files maintained by the QA / QC Manager for
the period 2006 through early March 2007. We found that the Crime Lab program for
reporting and documenting incidents affecting the quality of work performed is vastly
superior to the virtually non-existent quality assurance function of the Lab as it existed
under the tenure of Mr. Krueger, which ended in early 2003. The incident files included
memoranda documenting incidents of various degrees of seriousness, from the failure
to perform a monthly check of an instrument, to resolution of routine contamination
issues, to technical issues with an analyst's work. The incident memoranda contained
in the QA / QC Manager's files were thorough and complete. All of the incidents,
including those related to technical errors by a forensic scientist, were resolved through

317     As discussed in detail below, we identified specific technical issues, especially in the Biology
        Section, in several DNA cases that were not identified by the Crime Lab's current technical
        review and quality control regime. In our view, this is concrete evidence of the potential pitfalls
        of a system built largely on peer technical reviews.
318     Quality and Operations Manual, Section 500/ 3.01.




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coordination between the QA / QC Manager and section leaders without the
involvement of IAD, whose role in addressing the Crime Lab's issues in the past had a
devastating effect on analysts' morale.319

       The current QA / QC regime relies heavily on section supervisors and analysts to
identify and report technical and other quality assurance problems. Moreover, the
Crime Lab only has one staff member devoted full time to its quality assurance
program, the QA / QC Manager. Although communication between the QA / QC
Manager and the section leaders appears to be good, this system has potential
               —
weaknesses particularly in the disciplines of DNA analysis and trace evidence
                —
examination relating to the identification and remediation of technical problems in
analysts' work. As discussed above, because the Crime Lab permits peer technical
reviews rather than requiring that technical reviews be performed by experienced
supervisors, there is the potential that technical issues will not be recognized and that
the Lab's relatively inexperienced analysts will not receive the necessary level of
technical guidance.

        C.       Information Systems

        When she assumed the leadership of the Crime Lab, Ms. Rios recognized that, in
addition to salary and budget issues, one of the most significant challenges facing the
Lab related to its information and technology systems. As discussed above, HPD has
provided the Crime Lab analysts with personal computers, and the forensic science
instrumentation used by the analysts is modern and in good condition. However, the
evidence tracking, case management, and laboratory reporting systems currently in use
by the Crime Lab are archaic and very poorly suited to the information systems needs
of a forensic laboratory. These are all problems of which HPD is aware, and plans are
currently underway to provide the Crime Lab with a modern laboratory information
management system ("LIMS"), which will be integrated with a Department-wide
records management system ("RMS") that is in the relatively early stages of
development.320

319     Although it is both appropriate and preferable for technical problems identified in an analyst's
        work to be addressed by the Crime Lab's internal quabty control procedures, under certain
        circumstances the involvement of I AD investigators may be appropriate. Such circumstances
        should be limited to cases involving allegations of serious misconduct (as opposed to technical or
        analytical errors), including, for example, potential scientific fraud, knowingly making false
        statements during testimony, or theft of evidence.
320     HPD intends for the RMS system to replace OLO as the central investigative file system. HPD's
        vision for the RMS is an electronic filing system that can store information in a variety of formats,
        including .pdf documents, digital photographs, and video and sound files. HPD envisions the
                                                                                        Footnote continued


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       A LIMS is a computer software application that forensic laboratories use to
manage work flow from the receipt of evidence, assign unique identifiers to samples,
record test data and results, and generate statistics about the laboratory's caseload and
performance. Such systems are absolutely critical to the proper management of modern
forensic laboratories.

       The Crime Lab does not currently have an electronic system for tracking
evidence that has been submitted to the Lab and for tracking samples that have been
tested. It relies on a paper-based system for tracking the chain of custody. Crime Lab
analysts use paper forms to record evidence sample identification information, as well
as the results obtained by tests performed on each sample. The analytical files also are
maintained entirely in paper form.

       The other significant technological impediment facing the Crime Lab is the use of
HPD's archaic OLO reporting system, which was first implemented as HPD's central
investigative records system in the mid-1980s. It operates on a UNISYS mainframe and
consolidates all incident-based information, including the Crime Lab's final reports, into
a central database repository. The Crime Lab's "lab reports" are actually supplemental
reports entered into an OLO investigative file, along with other supplemental reports
entered by officers (such as reports regarding crime scenes and witness interviews) as
the investigation progresses.

        OLO is poorly suited to be the reporting system for the Crime Lab. In addition
to the fact that the Crime Lab's laboratory reports are not clearly identified as such,
OLO does not permit forensic scientists to enter important charts or tables             —
                                                            —
particularly important in the area of DNA analysis into the entirely text-based system,
which is a very significant limitation. Specifically, OLO does not permit DNA analysts
to include with their reports a table identifying the alleles detected at each locus for
each sample tested, which is the standard reporting practice of most forensic DNA
laboratories. As a result of the limitations inherent in OLO as a reporting system
(HPD's implementation of which pre-dates forensic DNA analysis), the Biology Section
has been forced to adopt extremely cumbersome reporting conventions in order to
convey the allelic results it obtains through DNA testing of evidence and reference
samples. Without the ability to include an allelic table with their lab reports, the DNA
analysts are deprived of using a reporting tool that would allow them to easily and
clearly present their DNA profiling results in a way that would permit the reader to

Footnote continued from previous page
        RMS being integrated into an electronic evidence tracking system for the Property Room, as well
        as into the Crime Lab's planned LIMS.




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easily understand consistencies (and matches) between the DNA profiles they
obtained.321

       Finally, the OLO system causes complications when it comes to correcting or
amending a Crime Lab report. Once a report is entered into OLO and designated as
"complete," it is locked into the system and can be amended only by an authorized
records management process pursuant to a rigid protocol. In order to protect the
integrity of OLO as the Department's central investigative records system, HPD's
general policy is that amendments to supplements (including Crime Lab reports)
entered into the system should be made by creating a new supplemental report that is
designated as superseding the earlier supplement. However, the earlier, superseded
supplemental report remains unaltered in the OLO file. This creates confusion where,
as discussed below, we observed in many DNA cases in all sections that analysts
entered reports into OLO before the cases had undergone technical or administrative
review.

        D.       Relationships with Users of the Crime Lab's Services

       The Crime Lab needs to continue building its reputation with investigators as a
provider of reliable and valuable forensic services that can help them clear cases and
identify perpetrators. To address this need, the Crime Lab has begun promoting its
current forensic capabilities within HPD by holding meetings with HPD commanders
and groups of investigators. However, as discussed below, certain types of analytical
                                          —
work performed by the Crime Lab including questioned documents examination and
toolmark examination -- are vastly underutilized by HPD investigators.322

       There is room for increased coordination between Crime Lab analysts and
investigators. As discussed below, there is a need for better communication between
investigators and Crime Lab analysts, particularly in the areas of DNA, trace evidence,
and controlled substances analysis, regarding setting priorities for and triaging
evidence samples to be analyzed. Also, in too many DNA cases, the Crime Lab is not

321     Because of the importance and usefulness of allelic tables to the reporting of DNA test results, the
        practice of Crime Lab DNA analysts is to distribute an allelic table (sometimes typed, sometimes
        handwritten) to investigators along with a hard copy of the report entered into OLO. It is unclear
        whether these allelic tables are always, in turn, provided to prosecutors and to the
        representatives of defendants.
322     We do not suggest that the burden of ensuring that investigators take advantage of the full range
        of forensic science services offered by the Crime Lab rests solely with the Lab. HPD command
        staff must ensure that investigators are aware of the Crime Lab's capabilities and that those
        capabilities are used as fully as possible in investigations.




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provided with reference samples from victims, suspects, or consensual partners in
sexual assault cases for comparison to the DNA profiles obtained from evidence
samples, despite requests from analysts for such reference samples. In cases in which
there is a suspect or a known potential contributor to a sample, but reference samples
are not provided to the Crime Lab for comparison, the potential for highly probative
DNA analysis may be wasted. HPD command staff should emphasize to investigators
the importance of obtaining and submitting reference samples as a critical step in
obtaining the maximum benefit of the investigative potential offered by the Crime Lab's
DNA operation.

        The standing of the Crime Lab within HPD can be improved by increasing the
Lab's responsiveness to investigators. The Crime Lab has made some significant strides
in this area, but there is room for further enhancement. The Crime Lab should actively
consider methods to keep investigators apprised of the status of cases submitted,
explaining the reasons for any delays, providing realistic estimates as to when results
are likely to be ready, and notifying investigators when a report has been issued and
entered into OLO.

        Finally, among the responsibilities of the Crime Lab is the education of
investigators and prosecutors about forensic science work. Particularly, but not
exclusively, in the area of DNA analysis, the Crime Lab should be proactive in training
investigators and prosecutors in understanding the science and technology underlying
the Lab's analyses and results. For example, DNA analysts have a role in training
homicide and sexual crimes investigators, as well as prosecutors, to understand the
reports issued by the Biology Section so that law enforcement officials have a firm grasp
of the significance of the results obtained and reported by the Crime Lab.

        E.       Strategic Planning for the Crime Lab
        For the past several years, the Crime Lab and HPD command staff responsible
for support operations have been focused primarily on revising the Lab's SOPs, hiring
qualified analysts, and preparing the Lab to obtain and maintain accreditation. For
example, the only specific goal for the Crime Lab included in a document entitled
"Support Operations Short & Longterm Goals for FY 07 Through Second Quarter (July
                           —
2006 -- December 2006)" the most recent strategic planning document relevant to the
Lab -- was to "maintain Crime Lab accreditation standards by satisfactorily passing an
independent inspection." Now that all of the current sections of the Crime Lab have
received some form of accreditation and are able to issue reports, HPD command staff
and Lab managers must turn their attention to developing a strategic plan for a
full-service forensic science laboratory.




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        F.       Recommendations

      Based on the above observations, we have the following global recommendations
regarding the current management and operations of the Crime Lab.
                 1.   Funding and Staffing
        Funding levels for the Crime Lab must be maintained at least at current levels as
adjusted for inflation and the addition of new personnel. As discussed below, the
Crime Lab must fill currently vacant forensic science staff positions. As these positions
are filled, the Crime Lab's overall budget must be adjusted proportionately upward so
that equipment and other resources available to all of the analysts and sections in the
Lab are not adversely affected by the addition of new staff . Moreover, the Crime Lab
must maintain at least its current ratio of funding per criminalist, adjusted annually for
inflation and growth in the number of analysts in the Lab, devoted to training and
professional development activities.

       The Crime Lab's current budget includes significant allocations for outside
consultants, which the City and HPD may be tempted to eliminate or substantially
reduce in light of the Lab's accreditation and the conclusion of this investigation.
However, as discussed below, because of the relative inexperience of many of the staff,
the need for further technical improvements in some areas, and the heightened scrutiny
to which the Crime Lab will continue to be subjected, the Lab still has a significant need
for outside technical assistance, including technical reviews, particularly in the areas of
DNA analysis and trace evidence examination.

       It also is critical that the Crime Lab rapidly fill all vacancies in forensic science
staff positions and:

    •   Hire (or promote internally) at least one additional experienced controlled
        substances analyst who can assist with the supervision of the Controlled
        Substances Section, and hire at least one additional controlled substances line
        analyst.

    •   Hire (or train) two qualified and experienced firearms examiners.

    •   Hire at least two additional inventory management clerks to work in CER. HPD
        and the Crime Lab also should consider whether salary adjustments for CER
        staff would be appropriate in light of the difficulty staffing these positions due to
        the nature of the work -- handling significant volumes of drug evidence and
        the associated environmental issues.
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       Finally, one consequence of the "flattened" organizational structure
implemented in connection with the Crime Lab's career ladder is that the delineation
between supervisors and bench analysts is less clear than it was under the Lab's former
organization. The Crime Lab must ensure that an appropriate "span of control" -- or
ratio between supervisors and subordinates -- is maintained in each of the sections. The
appropriate span of control varies by section -- for example, a higher ratio of analysts to
supervisors is more appropriate for the Controlled Substances Section than for the
Biology Section. However, each section must be adequately staffed by supervisors
whose daily job duties include providing technical guidance and job performance
feedback to bench analysts.323

                 2.      Quality Assurance
       The Needs Analysis Report prepared by the NFSTC for the Crime Lab in July
2003 recommended that HPD establish two positions dedicated to quality assurance.
We support this recommendation. The current QA/ QC Manager should be provided
with a qualified staff person, preferably with a background in or familiarity with the
technical aspects of forensic serology and DNA analysis.

      We recommend that the QA / QC Manager and Crime Lab supervisors and staff
implement the following measures to formalize and refine the Lab's current QA/ QC
program.

      •   Develop a defined methodology for the selection of cases from each of the
          sections of the Crime Lab to be periodically reviewed by the QA/ QC staff . The
          methodology should be designed to include samples of the work performed by
          every analyst and examiner in the Crime Lab. The QA / QC Manager, in
          consultation with section leaders, should develop a checklist of issues to be
          covered in each case review and complete the checklist for each case reviewed.
          The QA/ QC staff should prepare a report for section leaders and the Crime Lab
          Director summarizing the results of each review, identifying specific technical
          and administrative issues that should be addressed, and identifying any trends
          or Lab-wide issues that are apparent as a result of the reviews.

      •   In addition to reviews of paper files, the random case inspection process should
          include the periodic selection of a small number of cases from each section to be
          re-analyzed or re-examined by a forensic scientist other than the original staff
          member who worked on the case.

323       Where appropriate below, we make specific observations and recommendations with respect to
          the current supervisory and technical review structure of the individual sections.




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    •   The QA / QC Manager should prepare a monthly written report for the Crime
        Lab Director that summarizes all QA / QC activity for the previous month,
        identifies any quality assurance-related incidents, discusses any observed
        declining or improving trends in performance, and contains recommendations
        regarding areas for improvement or issues that the Lab should address.

    •   In addition to the incident log and files currently maintained by the QA / QC
        Manager, the QA / QC Section should develop a spreadsheet database that tracks
        each quality-related incident that occurs in the Crime Lab (including the date of
        the incident, its nature, and involved personnel) the staff members assigned to
        address the incident; the remediation efforts, if any, that were taken; and the date
        on which the incident is deemed resolved. The QA / QC Manager should include
        the current incident tracking spreadsheet with the monthly reports provided to
        the Lab Director.

        Crime Lab staff who attend outside training and professional development
activities should be required to report during section- or Lab-wide meetings on issues
covered during the programs that relate in some way to QA / QC. Crime Lab staff also
should be encouraged to provide their section leaders and the QA / QC Manager with
any recommendations for improving the Lab's procedures or practices stemming from
the programs.

       The Crime Lab should reconsider its system of peer technical reviews,
particularly in the areas of DNA analysis and trace evidence examination, where the
vast majority of staff members are newly trained and newly qualified in their
disciplines. We recommend that the Crime Lab retain highly qualified and experienced
forensic science consultants to perform technical reviews of the Lab's work in these
areas, as well as to train and mentor the supervisors and staff in those sections
specifically on performing technical and administrative reviews of forensic casework.
                 3.   Information Systems

      HPD and the Crime Lab have long understood the urgent need for the
Department to improve its information systems related to case management and
evidence tracking. We are advised that HPD is in the process of retaining vendors to
design a LIMS for the Crime Lab as well as a Department-wide RMS and that the City
and HPD have hired consultants to assist HPD in defining the requirements of these




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systems and to help oversee their development. With respect to the information system
needs of the Crime Lab, the new systems should include the following capabilities:324

      •   The LIMS should apply to all sections and be integrated into the
          Department-wide RMS to provide a unified system for tracking the location and
          status of evidence on which forensic analysis may be performed. This
          integration must not compromise the effectiveness of the system for the Crime
          Lab.

      •   The LIMS should manage and track evidence items, as well as monitor work
          flow in each of the sections and Lab-wide.

      •   The LIMS should provide the Crime Lab with the ability to track cases based on
          the type of analysis performed on the evidence, as opposed to the current system
          that is based on UCR codes assigned by investigators based on the underlying
          offense. The LIMS should support the QA/ QC program in efficiently selecting
          cases for random inspection.

      •   The LIMS, in combination with the Crime Lab's other information systems,
          should provide Lab managers with reports and information necessary to
          evaluate the Lab's performance, including case turn-around times by section, the
          number and types of tests conducted by Lab analysts, court appearances,
          subpoenas and court orders received by the Crime Lab, time spent by Crime Lab
          staff on activities other than casework, and analysts' training and performance.325

      In the meantime, while the LIMS is in development, we recommend that the
Crime Lab take the following measures to contend with the limitations of the OLO
system:

      •   Reports issued by the DNA Section should include a statement that an allelic
          table has been prepared and is incorporated as part of the Crime Lab report.
          This allelic table should be provided to all users of the Crime Lab report,
          including investigators, prosecutors, representatives of a suspect or defendant,
          and the court.


324       Our discussion regarding the Property Room includes additional recommendations regarding
          functionality that should be included in the RMS and electronic evidence tracking systems that
          HPD also is in the process of developing.
325       HPD reports that each of these recommendations regarding LIMS functionality is addressed in its
          RFP for the new LIMS.




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    •   Crime Lab staff should stay in regular contact with investigators via telephone
        and email communications to apprise them of the status of cases submitted for
        analysis. Notice via telephone or email should be provided to investigators
        when a report has been entered into OLO.

    •   The Crime Lab should have analysts prepare printed draft reports on their
        desktop computers prior to entering the report into OLO. These draft reports
        should be administratively and technically reviewed, and any resultant changes
        to a report should be made, before the report is entered into OLO.

                 4.   Relationships with Users of the Crime Lab's Services

       The Crime Lab already has begun meeting with investigators to disseminate
information about the range of services offered by the Lab and to educate officers about
forensic science. We recommend that the Crime Lab continue to enhance those efforts
and:

    •   Provide training to new police recruits at the HPD training academy about the
        Crime Lab, forensic science, and understanding the Lab's reports.

    •   Provide similar training periodically to officers and investigators through HPD's
        in-service training program.

    •   Hold meetings with executive command staff and senior officers in the
        investigative and patrol commands to promote the services offered by the Crime
        Lab and to obtain feedback regarding the Lab's performance.

    •   Although it is generally not necessary for Crime Lab personnel to be regularly
        involved in processing crime scenes, analysts should, as part of their continuing
        training, periodically observe crime scenes so that they understand the methods
        used by HPD investigators to collect evidence that may be submitted for forensic
        analysis.

    •   Trace evidence examiners should regularly consult with investigators about
        potential trace evidence to be recovered from crime scenes.

    •   Crime Lab analysts should be involved in training programs for prosecutors
        regarding forensic science and understanding the results generated by the Lab,
        particularly, but not exclusively, in the area of DNA analysis. HPD and the
        Crime Lab should consider offering to provide similar training to members of the
        criminal defense bar.




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                   5.      Strategic Vision for the Crime Lab
       Now that each section of the Crime Lab has received some form of accreditation
and is reporting casework, Lab managers should focus on what comes next. The Crime
Lab, based on input from all supervisors and staff, should develop a strategic plan
which is updated annually that includes goals and objectives, as well as action plans to
achieve them. Crime Lab personnel should be assigned specific responsibilities for
advancing the articulated goals and objectives. Some areas that the Crime Lab should
consider addressing in its strategic plan include:

       •   Recruiting analysts and examiners.

       •   Increasing its profile in national and regional forensic science and professional
           organizations.

       •   Promoting and expanding the existing services it provides.

       •   Evaluating new technology, equipment, and forensic science analytical
           techniques.

       •   Making improvements in the areas of security, health and safety, biohazards,
           and contamination.

       •   Identifying improvements the Crime Lab can make to manage caseload, process
           evidence, and transfer evidence (particularly drug evidence) not needed for
           analysis out of the Crime Lab.

       •   Integrating the Firearms and Questioned Documents Sections into the Crime
           Lab.326

II .       The Biology Section

       The Crime Lab's Biology Section, which includes serology and DNA analysis,
has undergone a substantial transformation over the four and a half years sincethe
DNA Section was closed in December 2002. Among other things, the Biology Section is

326        HPD reports that the Crime Lab has taken steps relevant to each of the areas hsted above, and, to
           varying degrees, it has. Our recommendation that the Crime Lab periodically prepare a strategic
           vision document, however, is meant to encourage the Lab to develop a formal system for
           defining its goals and measuring its success in achieving them. We expect that the Crime Lab's
           strategic vision will change over time, and the areas hsted above for the Lab to consider in setting
           its current objectives are by no means exhaustive.




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under new leadership, has substantially improved SOPs (based primarily on the SOPs
used in the Texas DPS crime laboratory system ), and has trained a promising group of
new DNA analysts. The Section resumed performing casework again last year after
receiving provisional accreditation from ASCLD / LAB in June 2006, an important and
necessary step for the Biology Section of the Lab. We closely reviewed the DNA
Section's current operations, including 36 DNA cases completed by the Section since
accreditation.

       We note that the current DNA Section bears no resemblance to the entity that
produced the shoddy, flawed, and unprofessional work during the period before its
operations were closed in December 2002 and whose work we have described at length
above. With that being said, our overall assessment is that the current operations of the
Biology Section reflect a mixed picture of substantial strengths and significant
weaknesses when it comes to evidence examination, body fluid identification, and DNA
typing. The Section performs very good work with respect to evidence documentation,
the mechanics of DNA extraction, and DNA typing. However, there is significant room
for improvement with respect to certain aspects of the Section's approach to analyzing
forensic cases, result interpretation, and report writing.

       While the DNA Section has made very significant strides in a relatively short
period of time, we observed a number of areas in which the Crime Lab's technical work
and administrative processes can be further improved so that, with focused attention
and continuing commitment from leadership in HPD and in the Crime Lab, the DNA
Section can become more technically sophisticated and contribute more significantly to
the criminal justice system in Harris County. We have formulated a number of
recommendations, all of which are intended to assist the Crime Lab in generating and
presenting DNA profiling results that would be less vulnerable to criticism by attorneys
and outside experts and would provide even greater value to investigators and the
criminal justice system.

        A.       The Current Operations of the Biology Section

        The Crime Lab did not perform DNA analysis in active investigations or report
DNA typing results between December 2002 when the DNA Section was closed
following its first outside inspection and June 2006 when ASCLD / LAB granted
provisional accreditation to the rebuilt and reorganized DNA Section. During this
41-month moratorium on in-house DNA testing by the Crime Lab, HPD outsourced
DNA testing to various public and private laboratories at significant expense. During
this time, the Crime Lab has almost completely replaced its serology and DNA staff
through recruitment of new personnel and transfer of personnel previously assigned to
the DNA Section. Only one of the current DNA analysts was employed by the Crime
Lab prior to 2003, and she was not in the DNA Section then. The need to rebuild


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                           —
virtually from scratch including hiring a new management team and recruiting
                                  —
entirely new DNA analysts is the reason why it took more than three years for the
Crime Lab to bring its DNA operation back on line. Analysts in the Crime Lab's
Biology Section during this period were occupied primarily with inventorying and
screening biological evidence, training in serology and DNA testing, validating the
Lab's equipment, and working with Lab managers to revise the Section's SOPs.327

       In the more than three years since HPD discontinued performing DNA analysis,
the Crime Lab has revamped the way in which it processes, analyzes, and reports
analytical results related to forensic biological evidence. The time it has taken for HPD
and the Crime Lab to bring in-house DNA analysis back on-line reflects both the
shockingly poor condition of the DNA Section in the early 2000s and the time and care
necessary to rebuild the Section in accordance with the most basic principles for DNA
analysis generally accepted in the forensic science community.

       The most significant changes that we have observed in the Crime Lab's DNA
operation are described below:

      • Support of the Department. HPD has shown a commitment to restoring and
         improving the Crime Lab's DNA analysis capability. The independent
         investigation is itself a reflection of HPD's resolve to identify fully the problems
         with the Crime Lab's historical DNA operations and to ensure both that those
         issues have been identified and addressed and that the Department has a set of
         recommendations for the Section's further development and future success. In
         stark contrast to the state of the DNA Section prior to its closure, the morale of
         the analysts who comprise the current Biology Section appears to be very high.

      • Leadership in the Biology Section. The management and supervision of the
         Biology Section has been reorganized and staffed with entirely new personnel.
         The Criminalist Manager and Technical Leader of the Biology Section, Vanessa
         Nelson, holds a doctorate in medical sciences and was a DNA analyst in the
         Texas DPS crime laboratory system.328 The Biology Section is supervised also by
         a Criminalist Specialist, Karen Lewis-Holmes, who is designated as a case
         manager for the Section. Finally, the Crime Lab recently hired a second


327      The current Biology Section includes serology   — i.e., the screening of biological evidence and
         DNA extractions -- and DNA analysis.
328      The position of Criminalist Manager is the equivalent of the Criminalist IV position in the
         historical Crime Lab.




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         Criminalist Specialist to assist with the supervision of the Section's line DNA
         analysts and to perform casework.

      • Line DNA Analysts. The Biology Section currently is staffed with eleven DNA
         Criminalists and one Criminalist Specialist who will be performing DNA
         casework. Almost all of these bench analysts have been trained in-house by the
         Biology Section's management staff following the Crime Lab's DNA Training
         Manual, and they have undergone proficiency testing. While almost all of the
         Biology Section's line analysts are young and relatively inexperienced in forensic
         DNA testing, they are a promising, eager, and cohesive unit with high morale
         and pride in the Section and in the Crime Lab.

      • Revised Standard Operating Procedures. The Crime Lab's current "Standard
         Operating Procedures: DNA" are a vast improvement over the historical SOPs
         for the DNA Section. Unlike the DNA Section's historical SOPs, the Biology
         Section's current SOPs are not merely a cookbook of techniques cobbled together
         from various sources.329 The current DNA SOPs are well organized, detailed,
         and in a form consistent with the SOPs of modern forensic DNA laboratories.
         The current DNA SOPs describe various analytical procedures in detail and
         provide guidance to analysts in addressing circumstances that may arise during
         the course of forensic casework.

      • Facilities . The roof over the HPD headquarters building has been repaired, and
         the Biology Section's work no longer is exposed to leaking water. The layout of
         the Crime Lab has been reorganized to provide additional space for the Biology
         Section, including a separate room dedicated to evidence examination. The
         Biology Section also now has its own walk-in freezer for the storage of sexual
         assault kits and other evidence.

      • Instrumentation. The Biology Section's DNA profiling platform is comprised of
         ABI Prism 310 and 3100 Genetic Analyzer instruments, which operate in
         conjunction with the Identifiler PCR amplification reagent kit. This is a modern
         and sensitive forensic DNA profiling system . Each analyst has been issued a
         personal computer, and the Section is equipped with a digital imaging system to
         capture the appearance of evidence submitted to the Crime Lab for analysis.


329      The current DNA SOPs are derived substantially from the SOPs used in the Texas DPS crime
         laboratory system, which is not surprising since the head of the Crime Lab and the Technical
         Leader over the Biology Section both are former DNA analysts in the Texas DPS system.
         However, the DNA SOPs have been customized and tailored somewhat by the Crime Lab.




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    • Consultation with outside experts. In March 2006, HPD retained Dr. Robin
        Cotton as a consultant to provide "DNA training and oversight services" to the
        Biology Section. Dr. Cotton is a well-known leader in the field of forensic DNA
        analysis with over 17 years of experience in forensic DNA testing and laboratory
        supervision. During the period of her consultancy with the Crime Lab, between
        March 2006 and the end of February 2007, Dr. Cotton reviewed and commented
        on the Biology Section's SOPs, met frequently with DNA analysts, and provided
        numerous training sessions covering a range of topics, including applicable
        standards and guidelines, technical and analytical issues, and court testimony.

    • Accreditation. The Biology Section received provisional ASCLD / LAB
      accreditation in June 2006. This accreditation was a significant accomplishment
        for the Biology Section, the Crime Lab, and HPD, and it reflects acceptance of the
        Crime Lab's DNA operation back into the forensic science community. The
        Biology Section began performing and reporting DNA casework soon after being
        accredited, and the Crime Lab achieved another significant milestone in
        February 2007 when the Lab was approved to enter DNA profiles into CODIS.
        B.       Review of the Biology Section's Current Operations

       While ASCLD/ LAB accreditation is an important and necessary step for the
Biology Section of the Crime Lab, it reflects only that the Section meets the baseline
requirements necessary to perform credible DNA testing. The City and HPD requested
that we review the current operations of the Biology Section to identify areas in which
the Crime Lab's forensic DNA unit could be further improved. The goals of our review,
and the purpose of our recommendations, are to help position the Biology Section to
provide superior, high quality forensic DNA testing; to identify practices that might be
vulnerable to attack or criticism by attorneys and outside experts; to suggest areas in
which the Biology Section could contribute further to HPD investigations; and to reduce
the likelihood of a significant error that might nullify the substantial efforts the City and
HPD have made to restore the Crime Lab's credibility.

       Our observations and recommendations regarding the Crime Lab's current
forensic DNA profiling work are based on a thorough and comprehensive review of the
Biology Section's operations that involved: (1) review of the Lab's Quality and
Operations Manual, (2) review of past NFSTC and ASCLD / LAB inspection reports,
(3) review of the Lab's Biology Section and DNA SOPs, (4) review of instrument and
software validation studies performed by the Biology Section, (5) review of the
instrument maintenance manuals and logs maintained by the Lab, (6) review of the
Biology Section's Training Manual and the training binders maintained by the first
group of DNA analysts to be approved for casework, (7) review of DNA analysts' work
on mock and adjudicated cases completed prior to accreditation, (8) review of


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proficiency test results, (9) review of personnel files, (10) interviews and meetings with
Biology Section supervisors and staff, (11) observation of DNA analysts as they
processed mock cases from evidence screening through reporting, and (12) review of 36
forensic DNA cases completed and reported by the Lab after the Biology Section
received provisional ASCLD / LAB accreditation in June 2006.330

        c.       Assessment of the Biology Section's Current Operations

        The forensic DNA work currently performed in the Biology Section is vastly
superior to that performed by the DNA Section during the 1993-2002 period both in
terms of the quality of the Biology Section's analytical work and the accuracy and
reliability of its reported results. The Crime Lab's current staff of DNA analysts, who as
a whole are relatively inexperienced, received thorough training in forensic DNA
analysis before being approved to conduct casework. Our review found no evidence of
the selective reporting that was endemic to the historical DNA Section. We also found
no evidence that the cases we reviewed were affected by contamination, and we further
found that the Biology Section's current quality assurance procedures for preventing
and addressing contamination are sound. We observed that Biology Section analysts
use proper controls during their STR testing and take appropriate precautions during
their analysis to minimize the possibility of contamination. Although, as discussed
below, we have recommendations intended to refine and improve the power and
relevance of the Biology Section's statistical calculations related to its forensic DNA
profiling results, we note that DNA analysts now properly calculate and report random
match probabilities based on the alleles detected in evidence and have abandoned the
DNA Section's indefensible historical practice of preparing statistical calculations based
on known reference samples. Finally, while we also have recommendations for
improving the Biology Section's current process for technical reviews, such reviews
now are consistently performed and documented in each of the Biology Section's cases.

       Even though the Biology Section today bears little resemblance to the historical
DNA Section and is now accredited by ASCLD / LAB, we identified a number of areas
in which the work of the Crime Lab's DNA analysts is vulnerable to criticism or in
which the Section's procedures and practices could be further improved and refined.
We recognize that re-establishing the Crime Lab's forensic DNA analysis capability has
been a complicated process that has required HPD's and the Crime Lab's leadership to
make judgments about what is appropriate for the Biology Section in terms of its

330     Thirty of the DNA cases we reviewed were completed by the Biology Section during the period
        July 2006 (after the Biology Section was accredited) through October 2006. We reviewed an
        additional six cases completed by DNA analysts who completed their training and were
        approved for casework after October 2006.




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organization and revised procedures. The observations and recommendations that
follow are intended to build upon the Crime Lab's and Biology Section's impressive
progress to enable the Section to produce the highest quality, most reliable, and most
sophisticated forensic DNA work possible.

        Our observations regarding the Biology Section's current operations focus on the
following five areas: (1) forensic evidence recognition; (2) identification of semen stains;
(3) interpretation of DNA results, particularly with respect to alleles that appear to be in
a "stutter" position; (4) the reporting conventions used by the Biology Section to
describe its DNA typing results; (5) the calculation of frequency estimates; and (6) the
technical and administrative review processes.

                 1.      Forensic Evidence Recognition

       Case assessment -- meaning the continuous, overall consideration of the
significance of evidence and the test results obtained from the evidence -- is a critical
aspect of the forensic analysis of biological evidence. The ability to sort through a case
in order to recognize potentially significant and probative items of evidence is one of
the fundamental challenges facing forensic scientists. Evidence recognition requires
experience, an appreciation for the range of analytical techniques available in a crime
laboratory, and an understanding of investigative theories regarding relationships
between suspects, victims, and specific items of evidence. Rather than blindly
processing potentially irrelevant or insignificant evidence that may be submitted to a
crime laboratory by investigators, efficient and probative forensic science work requires
the analyst to understand the circumstances under investigation and the pertinent
questions to be answered through the analysis of forensic evidence. By appreciating the
context for and relationships surrounding an item of evidence, the forensic DNA
analyst is equipped to perform meaningful scientific testing that has the potential to
contribute to the investigative process by either supporting or challenging investigative
information about the underlying incident and the crime scene.331

       During our evaluation of the Biology Section's current casework, we reviewed
three sexual assault cases in which DNA analysts performed DNA typing on evidence
that the Crime Lab should have recognized, given the statements of the victims and
information provided by investigators, would be unlikely to yield probative

331     Needless to say, the forensic scientists must be guided solely by the results of forensic testing, not
        by outcomes dictated or suggested by investigators, prosecutors, or suspects. However,
        famiharity with how particular items of evidence fit into investigators' theories about a case
        equips the forensic scientist with the information necessary to test investigators' theories in tight
        of data obtainable from physical evidence.




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information about the assaults. Furthermore, the analysts overlooked other pieces of
evidence in these cases which, if tested, might have generated valuable information.
Each of these cases would have benefited significantly from a better coordinated and
more thoughtful approach to the selection of evidence to be tested and the assessment
of the significance of the results obtained.

       For example, in one of these cases, the victim reported that her assailant digitally
penetrated her and made oral contact with her breasts. In addition to the standard
samples collected during sexual assault examinations, including a vaginal swab, the
sexual assault nurse examiner ("SANE") collected a breast swab from the victim .
Information included with the sexual assault examination forms also indicated that the
victim had consensual sex shortly before the sexual assault. In light of these facts,
which were available to the DNA analyst, it should have been apparent that DNA
typing of sperm on the vaginal swab included in the sexual assault kit was unlikely to
be associated with the assault. Nevertheless, the DNA analyst in this case extracted
DNA from spermatozoa on the vaginal swab, compared the DNA profile obtained to
the suspect's known reference sample, and eliminated the suspect as a potential
contributor to the vaginal swab evidence. The analyst did not examine or attempt to
type the victim's breast swab, which actually had potential to yield a profile from the
suspect in light of the allegation that he made oral contact with the victim's breast. The
analyst in this case also failed to type a swab made of the victim's fingernail, although
this swab was, rather inexplicably, screened for semen. Finally, the analyst prepared a
CODIS entry form containing the profile developed from the sperm on the vaginal
swab, which is highly likely to have originated from the recent consensual partner
reported by the victim .332

        This case, and the two others similar to it among the 36 cases we reviewed,
reflect a somewhat mechanical and uncritical approach to working a forensic DNA case.
This lack of critical thinking may be attributable to the relative inexperience of many of
the Biology Section's DNA analysts.333 The guidance given to the DNA analysts in the
Biology Section is that, in sexual assault cases, analysts generally should begin testing
with the most intimate samples, such as vaginal swabs. In many sexual assault cases,

332     It seems obvious, based on the facts reported by the victim, that the profile detected on the
        vaginal swab likely was associated with the consensual partner. However, if the analyst
        harbored any doubt, it would have been appropriate to attempt to obtain a reference sample from
        the consensual partner to compare to the profile prior to its entry into the CODIS database.
333     We were advised that, after we brought our observations regarding these cases to the attention of
        the Biology Section's supervisors, the Crime Lab revisited the cases to assess whether further
        analysis would be appropriate. Crime Lab managers advised us that they have encouraged
        Biology Section analysts to review the SANE report before processing sexual assault kit evidence.




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this approach may well make sense because the identification of a suspect s DNA              7



profile in evidence obtained from the victim's vaginal swab is potentially powerful
evidence of penetration, which is a statutory element in certain serious sex crimes.334
However, if this blanket approach is mechanically applied by the analyst in every
sexual assault case, without consideration of the specific facts and circumstances of each
case, always focusing on the most intimate samples may lead an analyst to waste time
and resources on the analysis of irrelevant samples at the expense of potentially
probative evidence.

        In addition, as reflected in the above-referenced sexual assault cases in which
breast swabs potentially containing a suspect's saliva were not analyzed, the Biology
Section could take better advantage of the investigative power of forensic DNA analysis
by screening for and testing possible saliva stains in appropriate cases. The Biology
Section's SOPs do not provide for testing procedures to characterize possible saliva
stains.335 Presumptive testing for amylase, an enzyme present in saliva, typically
requires the consumption of a minimal quantity of a sample and aids analysts in
determining whether potential typeable saliva is present in certain evidence samples.336
Because the current SOPs do not provide guidance about screening for potential saliva
stains, Crime Lab analysts may be overlooking a widely-recognized source of




334     There are disadvantages to samples extracted from vaginal swabs, however. Even after the
        application of differential extraction techniques, profiles obtained from vaginal swabs often are
        mixtures including a substantial amount of DNA from the victim relative to the amount of DNA
        attributable to semen that may be present. Thus, a profile obtained from semen on a vaginal
        swab often is a mixed profile that is less informative than, for example, a more concentrated
        semen sample extracted from the victim's undergarments. Although the semen stain on the
        victim's clothing may be less intimate than a sample from a vaginal swab, the male profile
        obtained from such evidence frequently is much cleaner and, therefore, generates a more
        powerful random match probability.
335     In certain cases, characterization of a stain as indicating the presence of saliva has the potential to
        answer forensically relevant questions. For example, if amylase testing indicates the presence of
        saliva in a mixed saliva-semen stain found on a sexual assault victim's clothing, this information
        can corroborate the victim's statement that forced oral copulation took place. Also, as in the
        alleged oral contact cases discussed above, amylase testing indicating the presence of saliva on a
        breast swab can provide a framework to explain why a DNA profile found on that swab is
        consistent with coming from the suspect. We do not suggest that routine amylase screening is
        appropriate in every case, but it is a forensic tool that should be in the Crime Lab's repertoire
336     There is no direct test for saliva. Rather, an amylase test, similar to the p30 and AP presumptive
        tests for semen, merely provides an indication that saliva may be present in a stain.




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potentially valuable evidence, particularly in sexual assault and homicide
investigations.337

                 2.    Issues Associated With Semen Identification

        With the exception of lacking tests to characterize possible saliva stains, the
Biology Section staff uses standard methodology to identify biological evidence such as
blood or semen. This is a critical step in the analysis of biological evidence because the
identification of a stain as blood or semen can provide important information as to what
may have happened during a crime. For example, under the right circumstances,
identifying semen on a victim's vaginal swab from a sexual assault evidence kit
provides important information to substantiate the charge of sexual assault. Because
the presence of semen is crucial information in the prosecution of a sexual assault case,
this testing must be done accurately. Based on our review of the Crime Lab's current
DNA cases, we developed some concerns that (1) in certain cases, Biology Section staff
did not detect spermatozoa that may in fact have been present in semen stains and (2) in
other cases, there might not have been a sufficient basis for an analyst's positive
identification of semen. There are two reasons for our concerns regarding the Crime
Lab's work on this issue.

        First, we observed an unexpectedly high number of cases (8 of the 30 cases in our
original sample) where an analyst identified "semen" in stain evidence based on a
positive p30 test, and yet the analyst's microscopic examination of the sample did not
result in the detection of any spermatozoa. Although finding a semen stain that does
not contain spermatozoa is certainly possible (such as in the cases where the donor of
the semen stain is a vasectomized male), the number of samples that we encountered
that had been characterized in this manner appeared to us to be unusually high.

       Second, we reviewed 5 cases in which an analyst recorded the finding of semen
in a sample, and yet the analyst was unable to detect a male or foreign DNA profile
when the sample was typed. Ordinarily, the use of a differential extraction, in
combination with the sensitivity of the modern PCR-based typing used by the Crime
Lab, means that it is highly unusual not to detect some male DNA in a semen mixture.
The positive identification of "semen" in these cases usually was based on the results of
a p30 "card" test. Although the p30 card presumptive test for semen is widely used by
forensic laboratories, there are concerns in the forensic science community about the
test's specificity. Indeed, for this reason, some laboratories, unlike the Crime Lab, do


337     The DNA SOPs describe techniques for the extraction of DNA from sahva samples on evidence
        items such as swabs, gauze, cigarette butts, envelope flaps, and stamps.




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not permit their analysts to base an identification of semen solely on a positive p30 card
test.

                 3.      DNA Results and Interpretation

       We found that the DNA analysts in the Biology Section produce usable and
reliable typing results from forensic evidence, including items from difficult cases
involving extractions from marginal samples such as hairs or a swab from a bite mark.
Importantly, we found no significant issues with contamination at any stage in the
DNA analysis process.338 The Biology Section staff carefully follows the current SOPs,
and they maintain well-organized and well-documented case files.339 We also found
that, with very few exceptions, the Biology Section processed evidence submitted to the
Crime Lab for DNA analysis in a reasonable amount of time. These are significant and
important accomplishments.

        However, we identified one significant issue with the Biology Section's
interpretation of DNA typing results in certain cases. We reviewed three cases in which
DNA analysts had difficulty under the Biology Section's current SOPs in properly
interpreting STR signals that appeared to be in a "stutter" position and that, therefore,
likely do not reflect actual alleles present in the sample. The misinterpretation of stutter
had a dramatic affect on the results reported by the Crime Lab in these cases.

        "Stutter" is an issue commonly encountered by forensic DNA laboratories in
connection with modern STR testing. Stutter refers to artifacts resulting from the PCR

338     The incident files maintained by the Crime Lab's QA / QC Manager recorded three discrete
        contamination incidents in the Biology Section between June 2006 and March 2007. Each of these
        incidents was reported to the QA / QC Manager and the incidents, as well as the remedial
        measures taken to resolve the contamination issues, were properly documented.
339     We found that DNA analysts typically do not include in their paper case files all of the
        electropherograms reflecting the results of each of the test runs performed in a case. The DNA
        case files usually include a hst of all of the injections run by the analyst, but only those
        electropherograms that support the results and conclusions that ultimately are reported by the
        Crime Lab are actually contained in the case file. Biology Section managers told us that the
        Crime Lab retains all electropherograms for each test performed electronically and that technical
        reviewers are supposed to review even the electropherograms that are not included in the paper
        case file in order to evaluate fully the testing and interpretation in each case. Because all of the
        electropherograms associated with a case are not included in the case file, it would be difficult for
        an outside reviewer to assess whether the most appropriate electropherograms were, in fact,
        being used for final data interpretation and reporting based solely on the contents of the paper
        case file. It is unclear whether technical reviewers actually review all of the electropherograms
        related to each case and whether the electronically-stored electropherograms are routinely made
        available to prosecutors and to counsel and experts for defendants.




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amplification process of STR loci. These stutter artifacts cause signal peaks on
electropherograms that appear to be, and may be difficult to distinguish from, actual
alleles.340 Because stutter artifacts are a relatively common phenomenon and stutter is
reproducible for each STR locus, modern DNA analysis software is designed to filter
out peaks that fall below an established stutter threshold so that the software does not
label stutter peaks as actual alleles. However, if the stutter filters are not appropriately
defined in the DNA analysis software, the filters will not be as effective in screening out
stutter artifacts. As a result, the DNA analysis software may label stutter artifacts as
actual alleles, causing interpretive complications for the DNA analyst.

       We reviewed three cases in which a single allele at a stutter position, usually
with a low rfu value, was identified as an allele by the Biology Section's DNA analysis
software. In each of these cases, the analyst relied on the allele calls generated by the
software and interpreted a likely stutter peak as an actual allele. The interpretation of
stutter artifacts caused the DNA analyst to report either a false mixture or a false partial
profile that unnecessarily complicated the Crime Lab's conclusions in each of these
cases. Moreover, each of these cases underwent a technical review that concurred with
the reported DNA profiling results.

       For example, in one case relating to an alleged sexual assault, tests run on the
epithelial fraction extracted from the victim's vaginal swab detected a full DNA profile
matching the victim as well as a single extraneous allele at the D5 locus that was not
consistent with either the victim's or the suspect's known profile at that locus.341 Based
on our review of the electropherogram on which the analyst's findings in this case are
based, this extraneous allele at the D5 locus appeared to be in a position indicating that
                           —
it was a stutter artifact in other words, that it was illusory rather than real. This
extraneous allele, detected at the D5 locus in the epithelial fraction of the vaginal swab,
caused the DNA analyst to interpret the presence of a mixed profile with an unknown
contributor. The analyst reported:

        The DNA profile from the epithelial cell fraction of Item L (vaginal swab)
        is consistent with a mixture. [The victim ] cannot be excluded as the
        source of the major component in this DNA mixture. No conclusion will
        be made for the allele at D5S818. [The suspect] is excluded as a


340     Stutter peaks on electropherograms result when DNA repeats that are being copied through the
        PCR amplification process shp out of register so that the DNA fragment that is produced is one
        repeat shorter than the actual target DNA fragment.
341     "D5" is shorthand for the D5S818 locus, which is one of the thirteen standard CODIS STR loci
        commonly used in forensic DNA analysis.




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        contributor to the DNA profile from the epithelial cell fraction of Item L
        (vaginal swab).

        In other words, based on the interpretation of a single extraneous allele at the D5
locus the analyst indicated, without expressly concluding, that a third person other
      ,
than the victim or the suspect might have contributed to the sample taken from the rape
kit vaginal swab in this case.342 The much more likely explanation for the single
extraneous allele in this case is stutter.

        As a result of the interpretation of the extraneous D5 allele as an actual allele and
the conclusion that, therefore, there is a mixed profile in the epithelial fraction of the
vaginal swab, the analyst's DNA testing results in this case are unnecessarily vulnerable
to the characterization that there is an unknown contributor to the DNA evidence who
is neither the victim nor the suspect. If questioned about these results while on the
witness stand, the analyst would have to either (1) acknowledge the possibility of a
third, unknown contributor who is neither the victim nor the suspect who in all   —
                                        —
likelihood does not actually exist or (2) attempt to explain why the reported
"mixture" actually probably resulted from an artifact of the amplification process and,
therefore, there likely was no unknown contributor to the sample. Either path would be
fraught with potential embarrassment for the analyst and the serious possibility that the
forensic DNA evidence in this case could be mischaracterized and misunderstood, to
the detriment of the underlying criminal prosecution.

       We found that the Crime Lab's current DNA SOPs do not adequately equip
Biology Section analysts to address stutter. The DNA SOPs explain the cause of stutter
peaks and provides stutter peak height ratios for each of the 15 loci targeted by the
Identifiler reagent kit. Although the DNA SOPs provide that, "[i]f a stutter peak
exceeds the published percent stutter associated with each locus and there is no other
indication of a mixture, the analyst may call that locus inconclusive," this guidance was
not effective in allowing Biology Section DNA analysts to avoid interpreting
non-existent mixtures or partial profiles in three of the cases we reviewed. 343

342     As discussed in more detail below, this case also is an example of the awkward and unnecessarily
        convoluted way in which, based on the guidance provided in the DNA SOPs, Crime Lab analysts
        sometimes state their conclusions. For example, it is rather absurd to state that the victim
        "cannot be excluded" as the source of the "major component" of the epithelial fraction of the
        vaginal swab when, except for the extraneous D5 allele that probably is a stutter artifact, the
        victim clearly was the sole source of the full profile detected in the epithelial faction, as one
        would expect her to be.
343     DNA SOPs at section 11.3.3.3. The "published percent stutter" referenced in the DNA SOPs
        appears to refer to default stutter filter settings provided for in the Identifiler kit.




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        In light of the history of the Crime Lab, the relative inexperience of most of the
Biology Section's current staff, and a commitment to being "conservative" in the
interpretation of DNA results, the managers of the Biology Section are extremely
reluctant to provide DNA analysts with the discretion to disregard certain alleles
labeled by the analytical software even where a signal on the electropherogram appears
to reflect stutter rather than actual genetic data. This desire to be "conservative" by
limiting analysts' discretion in the interpretation of DNA typing results generated by
the Section's instruments and software is understandable and not necessarily incorrect.
However, in three of the cases we reviewed, the particular approach taken -- namely,
interpretation of all alleles that exceed the published stutter percent associated with
each locus -- resulted in the reporting of inaccurate DNA profiling results.344 This
outcome is not "conservative" and may have the opposite of its intended effect the
approach may make the Crime Lab's DNA results in some cases unnecessarily weak,
                                                                                                   —
confusing, or vulnerable to challenge.
        An approach that many top-flight forensic DNA laboratories take to minimize
the effect that stutter may have on the interpretation of DNA typing results is to
perform rigorous, well-documented validation studies designed to support adjustments
to the default stutter filter settings included with their DNA analysis software.345
Through well-designed and thoughtfully executed validation of the DNA analysis
instrumentation and software, the Crime Lab could generate reliable statistical data that
reflects the Biology Section's actual experience with stutter. It would be appropriate for
the Biology Section to adjust and customize the "published" stutter filter settings
applied by its DNA analysis software based on such rigorous and reliable validation

344     HPD has commented that, in the cases we reviewed, it is not possible to differentiate a "stutter"
        signal from a true allele due to the contributors in the cases. While it is not possible based on the
        electropherograms to distinguish between stutter and a real allele, as detailed above, in the cases
        giving rise to our concern (1) the potential stutter peak appeared at a locus (e.g., D5) in other
        Crime Lab cases and (2) the potential stutter peak was the only signal indicating the presence of
        another contributor. Further, it is clear that at least some of the Biology Section staff were aware
        that stutter was a potential issue in these cases because an analyst in two of these cases made the
        notation "stutter called as an allele."
345     The Biology Section has performed vahdation studies for its instruments and software. However,
        while these vahdation studies are sufficient to allow the Crime Lab to proceed with the analysis
        of evidence, we found that the Crime Lab typically uses vahdation work as a training device and
        that very httle statistical analysis has been performed on the data obtained from these studies.
        Rigorous vahdation studies, including focused statistical analysis of vahdation data, likely will
        yield useful information that the Biology Section can use to fine tune its instrumentation and
        refine its procedures. Two areas in particular in which the Crime Lab likely would obtain useful
        information relevant to its DNA testing through additional vahdation experiments are (1) DNA
        extraction methods and (2) peak height ratios and stutter filter settings.




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studies. This approach would significantly minimize the frequency with which stutter
artifacts are labeled as actual alleles, thereby minimizing interpretive problems, without
granting individual analysts the discretion to pick and choose the alleles to be
interpreted, which we agree should be avoided.

                 4.       Reporting Language
       Laboratory reports are the final work product of a forensic crime laboratory, and
they are extremely important documents for investigators, prosecutors, suspects and
defendants, defense attorneys and experts, judges, and juries. Parties reviewing these
reports will make critical decisions based upon their understanding of the information
contained therein. Accordingly, the laboratory report must, to the maximum extent
possible, stand on its own without the need for clarification or further explanation.
Moreover, the information in the report must clearly and concisely convey to a lay
audience: (1) the samples that were tested, (2) the results of tests performed on the
samples tested, and (3) the significance of those findings. One of the most important
responsibilities of the Crime Lab is to condense a large amount of complex and
sometimes highly technical data into accurate, meaningful, and understandable
conclusions.

       We found that Biology Section DNA analysts are extremely faithful in
conforming to the DNA SOPs' guidance regarding the organization of, and the
language to be used in, the Crime Lab's DNA reports. The issues we identified relate to
the reporting conventions and language prescribed by the DNA SOPs themselves. We
found that the analysts' strict conformity to the reporting guidance provided in the
DNA SOPs often resulted in a presentation of the analysts' results that was convoluted,
imprecise, and, in certain cases, inadvertently inaccurate. The awkwardly-stated
conclusions appearing in many of the Crime Lab's DNA reports are difficult to
understand.

       For example, the DNA SOPs' reporting conventions even for single source
                      —
inclusion results i.e., DNA profiling results that reflect a single contributor and that
match a known individual's DNA reference profile -- are cumbersome and confusing:346

        For evidentiary profiles that meet the single source criteria, an inclusion
        shall be reported using this wording:



346     The following language is quoted from the DNA SOPs, section 13.1.2.2, "Inclusion - Single
        source."




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        "The DNA profile from Item 1, stain 3, is consistent with the DNA profile
        of Person A. Person A cannot be excluded as the contributor of the
        stain [. . .] at loci D 3 S 1358, vWA, PGA, Amelogenin, D8 S 1179, D 21 S 11,
        D 18 S 51, D 13 S 317, D7 S 820, D 16 S 539, THOl , TPOX , and CSF 1 PO . At these
        loci, . . . ] the probability of selecting an unrelated person at random who
        could be the source of this DNA profile is approximately 1 in for
        Caucasians, 1 in for Blacks, and 1 in for Hispanics."

        AND

        "To a reasonable degree of scientific certainty, Person A is the source of
        Item 1, stain 3 (excluding identical twins)"

                                                     OR

        "The approximate world population is 6,300,000,000."

        A more concise statement of DNA results reflecting a single source inclusion that
is similar to the language used by many DNA laboratories in such cases would be:

        The DNA profile from Item # 1 matches the DNA profile of Person A. The
        probability of selecting an unrelated person at random who could be the
        source of the DNA profile obtained from Item # 1 is approximately 1 in
        for Caucasians, 1 in for African Americans, and 1 in for Hispanics.

       The unnecessary and convoluted verbiage contained in the DNA SOPs model
reporting language is the product of two factors. First, the Crime Lab has decided not
to use the term "match" in single source inclusion cases. Instead, the Crime Lab uses an
awkward convention involving an initial use of the term "consistent with" followed
later by either a source statement or a statement of the world population.347 This is an
unnecessarily indirect approach to describing very powerful DNA test results that
establish an individualized association between a person and the evidence.348 Even

347     Although the DNA SOPs do not permit the use of the word "match," they do provide that a
        source statement will be included when the calculated random match probabilities for the
        evidence sample exceed a frequency threshold of 1 in 273 billion. The DNA SOP provides that,
        "[f ]or significance estimates that are 1 in at least 273 billion for every population group
        calculated, the significance statement will identify the source. If the source is not identified, the
        report will state the population of the world at least once."
348     The Crime Lab is not alone among forensic DNA laboratories in avoiding the use of the term
        "match," even though use of the term in single source inclusion cases is accurate, generally
        accepted in the forensic science community, and more easily understood by lay people.




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without using the term "match," however, the Biology Section could make its reports
significantly clearer by, in single source inclusion cases, discarding the initial
"consistent with" statement and using only the source statement already provided in
                      —
the DNA SOPs i.e., "To a reasonable degree of scientific certainty, Person A is the
source of Item 1, stain 3 (excluding identical twins)."

       Second, due to the technical limitations of HPD's archaic OLO reporting system,
the Crime Lab's DNA reports do not include an allelic table summarizing the DNA test
results obtained at each locus. To compensate for the Crime Lab's inability to
accompany a simply stated conclusion with an allelic table, the DNA SOPs require
analysts to embed in their written conclusions a list of up to 15 particular loci at which
the DNA profile obtained from an evidence sample "is consistent with" the reference
profile. As reflected by the model language quoted above, the result is a virtually
unreadable conclusion that is not easily understood by investigators, attorneys, and
other lay people.

       While the model reporting language provided under the DNA SOPs is confusing
even in a simple single source inclusion case, the Biology Section's reporting
conventions can become virtually incomprehensible in complex cases involving
multiple samples and mixture profiles. Below is an extreme example, from a report
issued by the Crime Lab in a homicide case:

        Item 10 (swabs from red plastic cup) was submitted as a possible reference
        sample. The DNA profile from Item 10 is consistent with a mixture. The
        DNA profile of the major component of this mixture is consistent with an
        unknown male individual and no conclusion will be drawn as to the
        source of the minor component of this mixture.

        The DNA profiles from Item 5A (swabs labeled 'A'), Item 5B (swabs
        labeled '#1'), and Item 8 (2 swabs labeled 'serology sample') are consistent
        with the DNA profile of the unknown male individual who contributed to
        the major component of the DNA profile on Item 10 (swabs from plastic
        cup). The unknown male individual who contributed to the major
        component of the DNA profile on Item 10 (swabs from red plastic cup)
        cannot be excluded as the contributor to the DNA profile on Item 5A, Item
        5B, and Item 8. [Complainant] is excluded as a contributor to the DNA
        profiles on Item 5A, Item 5B, and Item 8. The DNA profiles for Item 5A
        will be entered into CODIS.

        The partial DNA profile from Item 3 (Rt. Foot slipper cutting) is consistent
        with a mixture. The unknown male individual who contributed to the
        major component of the DNA profile on Item 10 (swabs from red plastic


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        cup) cannot be excluded as the contributor to the DNA profile of the major
        component in the partial DNA profile at loci D8, D3, Tho, D13, D16, D19,
        vWA, Amel., D5, and FGA. No conclusions will be drawn as to the source
        of the minor component of this mixture. [Complainant] is excluded as a
        contributor to the DNA profile on Item 3.

        The DNA profile from Item 4 (swabs from pliers) is consistent with the
        DNA profile of [Complainant]. [Complainant] cannot be excluded as the
        contributor to the DNA profile on Item 4 at all loci except D21 and D2. At
        all loci except D21 and D2, the probability of selecting an unrelated person
        at random who could be the source of the DNA profile is approximately 1
        in 519.2 quadrillion for Caucasians, 1 in 28.51 quadrillion for African
        Americans, and 1 in 4.137 quintillion for Hispanics * (* = D2 and D19
        excluded for frequency estimates). To a reasonable degree of scientific
        certainty, the [Complainant] is the source of Item 4 (excluding identical
        twins). The male individual who contributed to the major component of
        the DNA profile on Item 10 (swabs from red plastic cup) is excluded as a
        contributor to the DNA profile on Item 4.

        The DNA profile for Item 5C is consistent with the DNA profile of
        [Complainant]. [Complainant] cannot be excluded as the
        contributor          the probability.. .122.3 quintillion for Caucasians, 1 in
        733 quintillion for African Americans and 1 in 1.256 sextillion for
        Hispanics. To a reasonable degree of scientific certainty [Complainant] is
        the source o f . . .

        No conclusive or interpretable DNA profiles were obtained for Item 1
        (swabs from glasses).. .

       A more concise and understandable way to express the Crime Lab's DNA
profiling results in the same case would be:

        The Crime Lab received following items for DNA analysis:

        #1: glasses                         #5C: 2 swabs
        #2: L. slipper                      #6: Envelope "glass"
        #3: R. slipper                      #7: Envelope "hairs"
        #4: pliers                          #8: 2 swabs "serology samples"
        #5A: 2 swabs - "A"                  #9: blood card - [Complainant]
        #5B: 2 swabs -"#1"                  #10: "red plastic cup" - [Suspect]




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        Swabs from a red plastic cup (Item 10) were submitted as a possible
        reference sample for [Suspect]. The DNA profile obtained from Item 10 is
        a mixture. The major component of this mixture is consistent with having
        originated from a male. Hereafter in this report, swabs from the red
        plastic cup (Item 10) will be referred to as "Possible Suspect Reference."

        The DNA profiles obtained from Items #5A, #5B, and #8 are consistent
        with the DNA profile obtained from the "Possible Suspect Reference."
        [Complainant] is excluded as a contributor to the DNA profiles from
        Items #5A, #5B, and #8.

        The partial DNA profile obtained from Item #3 is a mixture. The major
        component of the mixture is consistent with the DNA profile obtained
        from the "Possible Suspect Reference". [Complainant] is excluded as a
        contributor to the DNA profile from Item #3.

        The partial DNA profile obtained from Item #4 is consistent with the
        DNA profile of [Complainant].

        The DNA profile obtained from Item #5C matches the DNA profile of
        [Complainant],349

        No meaningful conclusion can be drawn from the DNA profile obtained
        from Item #1 due to the limited quantity and / or poor quality of DNA
        obtained.

        The DNA profile from Item #5A will be entered into CODIS.

In a more clearly presented laboratory report, the above conclusions would be
accompanied by an allelic table showing the alleles detected at each locus for each item
of evidence tested.

                 5.     Frequency Estimates
      DNA testing is extremely discriminating and is capable of providing very strong
evidence that a specific individual is the source of a particular blood or semen evidence

349     Although the Crime Lab in its report provided frequency estimates for the DNA profile obtained
        from Items #4 and #5C, doing so probably was unnecessary. As discussed in the following
        section, although there might be exceptions in particular cases, including frequency estimates for
        DNA profiles matching the victim, particularly in evidence such as swabs taken from the victim,
        generally is not probative and is potentially confusing.




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sample. As described in our discussion of the historical operations of the Crime Lab's
DNA / Serology Section, forensic DNA analysts express the strength of the association of
an individual with a specific sample of biological evidence through the calculation of a
frequency estimate known as a random match probability. The random match
probability can be understood as the probability with which two unrelated people
could share the same DNA alleles at a particular locus or across a series of DNA loci.
DNA analysts calculate the probability of a random match for the alleles identified at
each locus and then combine the results for all the loci to calculate a random match
probability over the entire DNA profile.

       As discussed above, one of the most common and most critical errors we
observed in the DNA cases worked in the Crime Lab during the 1993-2002 period was
the calculation of frequency estimates based on a suspect's known reference sample --
                                                             —
rather than the DNA profile found in the evidence even in cases where the evidence
contained a mixture of two or more DNA profiles. Not only is such a calculation
completely irrelevant to the DNA profiles found in the evidence samples, in many
       —                               —
cases especially mixture cases the statistics reported by the historical Crime Lab
greatly exaggerated the strength of the association between the biological evidence and
the suspect in nearly two dozen of the past cases we reviewed.

       The current Biology Section does not calculate random match probabilities based
on known reference samples, which is a correction of one of the most serious errors
routinely committed during the 1993-2002 period. However, based on our review of
cases analyzed and reported by the current Biology Section, the Crime Lab's relatively
inexperienced staff should continue training in this area in order to become more
sophisticated in their understanding and use of frequency estimates in their DNA
casework and reports. We identified two specific issues concerning the Biology
Section's current calculation and use of frequency estimates.

       First, we found that current DNA analysts routinely calculate frequency
estimates to demonstrate the inclusion of a victim to the epithelial (i.e., female) cell
fraction of her own sexual assault evidence, such as the vaginal swab.350 A random
match probability, calculated to demonstrate the inclusion of a victim's DNA profile to
an identical profile obtained from the epithelial cell fraction of her own vaginal swab, is
completely irrelevant to the question of who may have committed the reported sexual
assault. In other words, calculating the strength of the association between a sexual


350     We reviewed eight sexual cases in which the Crime Lab calculated and reported a frequency
        estimate for the epithelial cell fraction of evidence, such as a vaginal swab included in the
        victim's sexual assault kit.




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assault victim and her own secretions on the vaginal swab does not address the
questions that investigators turn to the Crime Lab to help answer. These questions
include: Is there DNA foreign to the victim present in the sexual assault kit? And, if so,
can the foreign DNA profile be associated with a suspect? A skilled defense attorney or
expert witness could use the inclusion of such irrelevant information in the DNA
reports to portray the DNA analyst as unsophisticated or to attack the Crime Lab's
reported results as either meaningless or an attempt to distract the fact finder with
astronomical statistics that bear no relationship as to who may have committed the
alleged crime.351

       Second, although the Identifiler kit used by the Biology Section's DNA analysts
obtains very discriminating information for the D2 and D19 loci, the Crime Lab does
not include the D2 and D19 loci in its calculation of frequency estimates.352 Analysts
typically include an asterisk in their written reports indicating that the alleles detected
at D2 and D19 were not used in the calculation of the reported random match
probability. The reason D2 and D19 are not included in the Biology Section staff's
frequency estimates is that the version of the PopStats software that the Biology Section
uses to calculate frequency estimates does not include information from these loci in its
calculations. However, frequency data for D2 and D19 are readily available, and
frequency estimates for these informative loci could be included in the frequency
calculations used to generate frequency estimates for probative evidence samples.
Inclusion of statistical information based on these two loci would be particularly
valuable in cases involving mixtures or partial profiles. The failure to perform
calculations for D2 and D19 in such cases means that the Crime Lab essentially is
disregarding potentially valuable DNA profile information obtained from evidence.353


351     Biology Section managers told us that frequency estimates based on the epithelial fraction of
        sexual assault evidence are included in the Crime Lab's DNA reports because prosecutors on
        occasion have requested this information. Rather than include these meaningless statistics in the
        Crime Lab's file, and thereby potentially expose the analyst to unnecessary criticism, we would
        suggest that the DNA staff attempt to educate prosecutors about the irrelevancy of the requested
        information and the advantages of limiting the Lab's reports to material and potentially
        probative information.
352     D2 and D19 are shorthand for the D2S1338 and D19S433 loci, respectively.
353     Biology Section managers told us that the DNA staff is uncomfortable performing manual
        calculations because of the risk of a mathematical or computational error. Of course, any
        calculations reported by the Crime Lab must be correct. However, it would be preferable for the
        Biology Section analysts to receive training in statistics and frequency estimates so that they are
        comfortable performing manual calculations rather than routinely disregarding potentially
        valuable DNA profile data.




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                 6.     Administrative and Technical Reviews of Casework

       As discussed above, a significant failing of the Crime Lab's historical
DNA / Serology Section was the lack of meaningful and documented technical reviews
of bench analysts' work. Indeed, for a period of over six years prior to the closure of the
DNA / Serology Section in December 2002, there was no line supervisor devoted to
reviewing the technical work performed by the Crime Lab's DNA analysts. Although
Mr. Bolding purported to be the technical leader of the Section during this period, the
DPS audit in December 2002 revealed that he was not qualified to be a DNA technical
leader under the DAB guidelines. Regardless of his lack of qualifications, there is no
evidence that Mr. Bolding actually performed regular technical reviews of the work
performed in the historical DNA/ Serology Section. The rampant and fundamental
problems we found with the quality of the forensic DNA analysis performed at HPD
during the 1993-2002 period make clear that, even if Mr. Bolding occasionally did
perform technical reviews, those reviews were completely ineffective due to
Mr. Bolding's incompetence as a DNA supervisor.

       The current Biology Section's DNA SOPs require that "[a]11 case files and reports
will be administratively and technically reviewed prior to release from the
laboratory."354 We found that administrative and technical reviews in fact are
performed and documented in each of the Crime Lab's current DNA cases.355 The
current practice of performing administrative and technical reviews in each DNA case
processed by the Crime Lab is consistent with generally accepted forensic science
principles and is a significant improvement over the historical DNA / Serology Section's
case review and quality assurance regime.

        However, the area of greatest risk for the Biology Section currently is in the
technical review process for its DNA casework. We found that there is room for
significant improvement in this critical aspect of the Crime Lab's QA / QC processes.
Specifically, we found that (1) the Biology Section's forms do not sufficiently distinguish
between administrative and technical reviews, which have very different purposes;
(2) the Crime Lab's practice allows analysts' reports to be entered into HPD's OLO
reporting system prior to completion of both of these reviews; and (3) the Biology
Section does not require that technical reviews be performed by sufficiently experienced
personnel.

354     DNA SOPs, section 2.6.
355     Although, as discussed below, the Biology Section's current practice is to permit administrative
        reviews to be performed after the analyst's report is entered into the OLO system and released
        from the Crime Lab.




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       First, administrative and technical reviews typically consider very different
aspects of a DNA case. An administrative review evaluates the laboratory report and
supporting documentation for completeness and editorial correctness. A technical
review should focus on whether the scientific interpretations and conclusions made by
the analyst are adequately supported and correct. Moreover, these reviews should
evaluate every aspect of the analytical work performed in a case to ensure that forensic
DNA evidence is fully exploited to assist investigations of very serious crimes. The
current case review checklist does not identify this critical aspect of case management as
an area to be covered by either the technical or the administrative review. Properly
performed technical reviews require both a high level of technical acumen and an
abundance of forensic case experience.

       Despite the differences between the two types of reviews, the Biology Section
currently uses a single form as a reference checklist for the performance of both
administrative and technical reviews. With the exception of two items reserved only for
the technical review, the checklist of items to be covered by the administrative and
technical reviews is identical.356 However, as discussed above, administrative and
technical reviews are quite different, and they should not be treated as equivalents in
the forms used by the Biology Section or in the minds of the Section's analysts and
supervisors. The substantial overlap between these two reviews, reflected on the form,
risks diluting the significance of each review process as well as the staffs ownership
and accountability over these important tasks.357

       Moreover, five of the 36 DNA cases we reviewed involved the issuance of
supplemental reports to correct mistakes that appeared in the original report entered
into OLO, and thereby published within HPD and to the District Attorney's Office.
These mistakes included an incorrect frequency estimate, a CODIS entry issue, spelling
mistakes, and mislabeled evidence. In some of these cases, multiple amended reports
had to be issued. The DNA SOPs require that reports be technically and
administratively reviewed before they are released from the Crime Lab. Whether this

356     The only two areas that are included as items to be covered by the technical review and not by
        the administrative review are "New project made for raw data & plots match" and "Primer peaks
        present in neg control and all [reagent blanks]."
357     Biology Section managers told us that, in light of the relative inexperience of the staff currently
        performing both the analytical work and the technical reviews, the administrative review
        currently is intended to be virtually a second technical review. We agree that a thorough
        technical review of the Biology Section's work is necessary. However, a practice that essentially
        makes administrative and technical reviews redundant risks diminishing the quahty of both
        reviews, as well as the accountability of reviewers, who might be less vigilant in light of an
        overlapping review performed by someone else.




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requirement was not followed in these cases or whether the reviews that were
performed prior to entry of the original report into OLO failed to detect the errors, these
cases created a situation in which corrections or edits had to be made through an
amended supplemental report entered separately into the OLO system.358 Issuance of
amended reports to correct issues identified in administrative reviews creates
unnecessary and preventable opportunities for the Crime Lab's work to be criticized by
attorneys and outside experts.
       Finally, and most importantly, technical reviews of the Biology Section's
casework are not currently being performed by sufficiently seasoned and experienced
forensic DNA scientists. Indeed, many of the 36 cases we reviewed had been
technically reviewed by a peer analyst. The DNA SOPs section entitled "Technical
Reviewer Qualifications" require only that:

        Technical reviews should be conducted by a second analyst qualified (or
        previously qualified ) in the DNA platform currently in use in the
        laboratory. Reviewing analysts should have 6 months of Genetic
        Analyzer experience or have attended ABI 310 Genetic Analyzer school
        prior to assuming technical reviewer duties.359

In other words, under the Crime Lab's current regime, any analyst in the Biology
Section who is qualified to perform DNA analysis is also qualified to perform technical
reviews. This is an extremely low threshold of qualification for technical reviewers,
which, in our view, is not appropriate, in light of the inexperience of the current Biology
Section staff .360

       Newly qualified analysts, including most of the current Biology Section staff, are
too inexperienced in forensic DNA casework to be expected to identify and evaluate

358     Once the Crime Lab enters a report into the OLO system and the report is accepted by the system,
        it cannot be modified. Therefore, an amendment or correction to the report must be entered into
        the OLO system as a separate supplemental report.
359     DNA SOPs, section 2.6.1.
360     Crime Lab managers explained to us that they permit even the most inexperienced "qualified"
        Biology Section staff to perform technical reviews so that the staff gains experience reviewing the
        technical work of other analysts. While it is certainly important that DNA analysts benefit from
        reviewing the work of other analysts, it is our view that the more appropriate means by which
        analysts acquire the skills necessary to perform high quality technical review are by (1) analyzing
        a large and diverse body of forensic DNA cases over a period of years, (2) paying close attention
        to the technical reviews of their own work performed by more experienced DNA analysts, and
        (3) receiving mentoring and training specifically directed toward technical reviews.




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reliably the myriad technical issues involved in DNA analysis, as well as to assess
whether available DNA evidence has been fully obtained and exploited. As stated
above, we found the current Biology Section staff to be bright, eager, and appropriately
trained to begin forensic casework. However, as a whole, they are not prepared to
assume the critical role of technical reviewer. We fear that permitting these
inexperienced analysts to perform this important function substantially defeats the
purpose of this review.

       In apparent recognition of the relative inexperience of the Biology Section staff
members who currently are performing both DNA casework and technical reviews, the
Biology Section's practice has been that either the Criminalist Manager of the Biology
Section or the DNA case manager perform an "administrative" review of each DNA
case that actually includes a full, second technical review of the analytical work
performed in the case. Although the purpose of this informal system of secondary
                      —
technical reviews to have a more experienced forensic DNA analyst review the work
                                     —
of newly trained staff members is respectable, this approach to technical reviews is
problematic. This system contributes to a blurring of the distinct roles of administrative
and technical reviews and diminishes the accountability of technical reviewers.

       Moreover, and more importantly, we have concerns as to whether the
Criminalist Manager and DNA case manager are able, in light of their other
responsibilities and the Biology Section's growing caseload, to perform the exacting and
detailed technical reviews that the Section's casework requires. For example, the
Criminalist Manager, who is by far the best qualified and most experienced DNA
analyst currently in the Biology Section, is responsible for, among other things, the daily
administrative management of both the Biology and Trace Evidence Sections and
overseeing the training of all DNA personnel.

       The DNA case manager should be actively coordinating the review and analysis
of DNA cases with analysts and investigators, as well as assisting with the daily
management of the Biology Section. Both of the Biology Section senior supervisors are
extremely competent, devoted to the success of the Section, and very well respected by
the Section's staff . However, as discussed above, we have observed certain analytical
and interpretive issues in the Crime Lab's DNA profiling work, and we are concerned
that the current supervisory structure of the Biology Section is not sufficient to provide
the close technical oversight necessary for the Section during these critical early years as
the Crime Lab re-establishes the credibility of its DNA profiling work.361


361     As discussed above, in March 2006, HPD retained the services of Dr. Robin Cotton to provide
        training and oversight for the Crime Lab's DNA staff pursuant to a consulting agreement that
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          D.      Recommendations

       Based on our review of the Biology Section's current operations, we have
developed the following recommendations for HPD and the Crime Lab, which are
designed to address the issues we identified with respect to certain aspects of the
Section's approach to case analysis, body fluid identification, result interpretation, and
report writing.
                  1.      Technical Reviews

       We recommend that HPD retain an outside consultant to assist the Crime Lab in
performing technical reviews of the DNA work performed by analysts in the Biology
Section.362 The outside consultant should have the following qualifications and
responsibilities:

      •   The consultant should have a minimum of 10 years' experience as the technical
          leader of an accredited forensic DNA laboratory and in the performance of
          technical reviews of forensic DNA casework.

      •   The consultant, who should be retained by HPD for a period of at least two
          years, should report directly to the Biology Section's Criminalist Manager.

      •   The consultant should perform the technical reviews of all of the cases reported
          by the Crime Lab that involve forensic DNA analysis.

      •   The consultant should mentor the Biology Section's supervisors in the technical
          review process.


Footnote continued from previous page
          expired at the end of February 2007. The original intention of the consulting agreement, as
          reflected in the related RFP issued during the summer of 2005, was that Dr. Cotton would
          function as "an external DNA Technical Leader" for the Biology Section and, among other things,
          "conduct a technical review of a maximum of 20 DNA cases per month." In September 2005,
          however, the Crime Lab hired a full-time technical leader for the Biology Section. Accordingly,
          although Dr. Cotton provided extensive technical consulting and training services to the Biology
          Section, she never functioned as the Section's technical leader and she did not perform technical
          reviews of any of the Section's DNA cases.
362       As stated in the introduction to our discussion of the Crime Lab's current operations, all of our
          recommendations should be construed consistently with apphcable accreditation criteria and
          quahty assurance standards for forensic laboratories. All of our forensic experts are veterans of
                                         —
          the forensic laboratory process collectively, they have participated in hundreds of accreditation
          reviews. None of our recommendations is in any way inconsistent with ASCLD / LAB standards.




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      •   The consultant should assist the Biology Section's supervisors in mentoring staff
          on technical issues related to DNA analysis and in performing technical and
          administrative reviews.

      •    The consultant should assist the Biology Section in performing and analyzing
          the validation studies recommended below.

      •   The consultant should work with Biology Section managers to improve the
          clarity and precision of the DNA reports issued by the Crime Lab. A significant
          step in improving the comprehensibility of the Crime Lab's DNA reports would
          be to include a typewritten allelic table with all reports.363

      •   The consultant should review the Biology Section's training program, the Crime
          Lab's QA / QC program as it relates to the Biology Section, and the Biology
          Section's SOPs.

      •   The consultant should ensure that DNA reports are not entered into the OLO
          system until after both the technical and administrative reviews of the case have
          been completed.

                 2.      Forensic Case Management

       The Biology Section currently has a Criminalist Specialist who is designated as
the Section's case manager. We recommend that the Biology Section case manager
focus on performing the following functions:

      •   Establishing the priority of cases and managing case assignments.

      •   Tracking the status of each case submitted to the Biology Section.

      •   Reviewing all information, including submissions forms and investigative
          reports, related to cases submitted to the Crime Lab with the assigned analysts in
          order to develop a forensic case strategy to ensure that all forensic evidence
          (including reference standards) is obtained by the Lab and fully exploited.



363       Due to the technical limitations of the OLO reporting system currently used by HPD and the
          Crime Lab, DNA analysts are not able to include an allelic table with the report entered into
          OLO. However, we are advised that an allelic table (sometimes handwritten) is included with a
          hard copy of the DNA reports distributed to investigators. The Crime Lab and HPD must assure
          that these allelic tables are provided to all users of the Crime Lab's DNA reports.




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    •   Coordinating interactions among Biology Section analysts, investigators, and
        prosecutors.

    •   Assisting analysts in obtaining information and reference standards from
        investigators.

    •   Reviewing the results obtained by DNA analysts to determine whether
        additional testing of available evidence samples should be performed in order to
        develop potentially probative information.

                 3.   Validation Studies

       We have the following recommendations for the Crime Lab regarding further
validation work that the Biology Section should perform in order to support
refinements to the Section's instrumentation and procedures:

    •   Staff members performing validation studies should prepare an experiment plan
        and a final analytical report, both of which should be reviewed and approved by
        the Biology Section's technical leader, the outside consultant that we recommend
        be retained, and the Crime Lab's QA / QC Manager.

    •   The Biology Section should perform an extensive validation study to assess
        whether any changes to the DNA analysis software's current stutter filter
        settings would be appropriate at each locus tested.

    •   Additional validation experiments should be conducted on the various DNA
        extraction methods used by the Biology Section to ascertain the optimal
        extraction method for common sample types submitted to the Crime Lab for
        analysis.
                 4.   Training
       Personnel in the Biology Section enjoy a great deal more training, both in-house
and through external programs, than analysts in the historical DNA Section ever
received. We recommend that the Biology Section's training program include focused
training in statistics, including the principles underlying random match probabilities,
the calculation of frequency estimates, and the presentation of statistical data in
laboratory reports and during testimony. We also recommend that the Biology Section




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staff receive focused training on forensic serology techniques, including screening for
semen and identification of spermatozoa.364

                     5.    Refinement of the Biology Section's SOPs

       The Crime Lab has devoted significant attention to revising the Biology Section
and DNA SOPs, and they are dramatically improved over the SOPs used by the
historical DNA / Serology Section. However, we observed several technical issues with
regard to the SOPs used by the Biology Section. We have the following
recommendations to improve and refine these SOPs:

       •   The SOPs should include separate forms for administrative and technical
           reviews.

       •   The SOPs should include testing procedures to characterize possible saliva
           stains.

       •   The SOPs should specify an exact target amount of input DNA for the
           amplification reaction (e.g., 1 ng of DNA), as opposed to allowing for a broad
           range of input DNA, which may result in unnecessarily low rfu values or
           missing loci.365 Also, the SOPs should include an automated method to calculate
           the appropriate dilutions used to obtain the exact amount of target DNA needed
           for amplification.

       •   The SOPs should be expanded to contain more detailed information and
           guidance regarding the use and calculation of frequency estimates.
III.       The Trace Evidence Section

       During our investigation, the Crime Lab gradually rebuilt its Trace Evidence
Section operations. The Trace Evidence Section is overseen by the same Criminalist
Manager who is the technical leader and head of the Biology Section. Two Criminalists
are now assigned to the Trace Evidence Section. The first examiner began training in

364        In 2003, the Crime Lab invited a renowned serology expert to provide training to the Crime Lab's
           serology staff . There has been a great deal of turnover and new hiring within the Biology Section
           since then. We recommend that this same expert be invited to provide serology training to the
           Biology Section's current staff .
365        In some cases, it is not possible to obtain the target amount of input DNA due to degradation or
           sample quahty. However, a standard target concentration of input DNA would help ensure that
           each analyst consistently uses an amount of DNA that is likely to produce clear and interpretable
           DNA profile results.




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trace evidence examination at HPD in August 2005, and she passed competency tests
for hair and paint examinations in the spring of 2006. She successfully completed paint
and fracture match proficiency tests in early 2006. The Crime Lab's second trace
evidence examiner transferred from CER in February 2006 to begin training in trace
evidence analysis. The second examiner will not begin performing casework until she
has completed her training and passed the required competency tests.

       Because the Crime Lab did not perform trace evidence examinations between
2003 and late 2006, it faced a difficult dilemma similar to that experienced by the
reformed Biology Section: The Trace Evidence Section had to be accredited in order to
resume casework that would be admissible in state criminal proceedings,366 but it could
not obtain ASCLD / LAB accreditation without a body of cases for review by inspectors.

       To resolve this dilemma, in November 2006 the Crime Lab obtained provisional
accreditation for trace evidence examinations from the Texas DPS. 367 The one-year
accreditation, granted in November 2006, permits the Trace Evidence Section to move
forward with efforts to obtain ASCLD / LAB accreditation.368 ASCLD / LAB inspectors
audited the Crime Lab's current trace evidence operation in March 2007g.

        A.       Technical Reviews of Trace Evidence Cases

       Because there currently is only one qualified trace evidence examiner in the
Section, technical reviews of trace evidence casework currently are performed by an
outside examiner, Skip Palenik of Microtrace LLC, who is located in Illinois. Crime Lab
managers estimate that it will take between six months and a year for the second trace
evidence examiner to complete the training necessary to qualify to perform casework.
Because the SOPs permit any qualified examiner to perform technical reviews, once the
second examiner is qualified, it is the Crime Lab's intention that the two examiners will
perform technical reviews of each other's cases. Although, upon completion of training
and qualification, both examiners will have met the basic qualifications for such
examinations as hair comparisons, they are both new and inexperienced examiners.

366     Article 38.35 of the Texas Code of Criminal Procedure states that, with limited exceptions, a
        forensic analysis of physical evidence and expert testimony relating to the evidence are not
        admissible in a criminal action if, at the time of the analysis, the crime laboratory conducting the
        analysis was not accredited by DPS. A provisional accreditation issued by DPS and in effect at
        the time of the analysis serves as prima facie evidence that the laboratory was accredited.
367     The DPS provisional accreditation was granted under authority conferred on the DPS Director in
        the Texas Administrative Code. See 37 Tex. Admin. Code § 28.139 (2005).
368     The term of the Trace Evidence Section's DPS accreditation is from October 30, 2006 to
        October 30, 2007.




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        B.       The Trace Evidence Section's SOPs

       The Section's training manual and SOPs are very brief and do not contain
detailed procedures for the types of examinations described therein. Some of the SOPs
require the reader to cross-reference the training manual to determine which specific
procedures should be performed. The SOPs should function as a stand-alone resource,
and not require constant cross-reference to the training manual.

        We observed several items in the SOPs that merit revision. The current SOPs
permit the collection of known hair samples for up to five years after the shedding of
questioned hair (s). Because the characteristics of hair can change dramatically after
approximately six to nine months, the SOPs should be revised to reflect a six-to-nine-
month outer limit on the collection of known samples. Additionally, only equipment
that is actually available and used in the Crime Lab should be referenced in the SOPs.

        C.       The Current Trace Evidence Work Load

       Most of the forensic examinations performed by the lone qualified trace evidence
examiner to date have involved hair examinations and firearm serial number
restorations. Serial number restorations traditionally were performed by the Firearms
Section of the Crime Lab, but these cases recently were assigned to the Trace Evidence
Section to help reduce the backlog in the Firearms Section and to attempt to balance the
distribution of work in the Crime Lab. It appears that the backlog of restoration cases
has been resolved, and the Trace Evidence Section currently performs only a few
restorations during any given three-month period. We understand that the Crime Lab
is also considering moving some gunshot residue analysis (muzzle-to-target distance)
from the Firearms Section to the Trace Evidence Section.

       The qualified trace examiner began working on paint cases during the second
quarter of 2006, but she has had few opportunities to perform such examinations since
then. Indeed, she has only examined three such cases. As of April 2007, she had not yet
been asked to perform any fracture match analyses.

      Crime Lab personnel acknowledge that the Trace Evidence Section is not yet
operating at full capacity. They attribute this, in part, to a lack of investigator
awareness of currently available services. The Crime Lab reports that efforts are
underway to instruct investigators about identifying trace evidence that can be collected
and submitted for examination. For example, Ms. Rios reports that she has been
meeting with investigators in the Accidents Division for this purpose.

      However, the findings of our case review and our review of current operations
suggest a persistent lack of communication and follow-up with investigators. Trace


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Evidence Section personnel report that most of the 50 hair samples submitted for
examination since the Section re-opened have not included a reference standard to be
used to perform comparisons with hair evidence samples. We saw no evidence that
examiners make any effort to contact individual investigators to request that they
obtain known hair standards to compare with the crime scene hairs in these situations.
Instead, investigators are merely encouraged during training sessions to obtain known
standards whenever possible.

        D.       Plans for Future Trace Evidence Operations

       There are no current plans to expand the types of examinations performed by the
Trace Evidence Section to include, for example, fiber or glass examinations. Most of the
work currently done in the Trace Evidence Section involves physical examination and
microscopic comparison of hair samples, a technique viewed by some forensic experts
as becoming obsolete, except as a screening method to determine if DNA analysis
should be attempted.

       Crime Lab personnel readily acknowledge that this type of hair examination is
less definitive than nuclear or mitochondrial DNA analysis and report that DNA
analysis will be attempted in cases with any significant hair matches. However, they do
not believe (and we concur) that the current level of demand justifies the training,
resources, and expense that would be required to implement in-house mitochondrial
DNA analysis capability in the Crime Lab.

        E.       Recommendations

        The key finding in our historical case review of the Trace Evidence Section was
that, for reasons enumerated above, HPD was not receiving the full potential benefit of
trace evidence examinations. Our review of current operations indicates that this is still
true. Because of the relatively low utilization of the Trace Evidence Section, the limited
range of examinations currently performed, and the lack of results from the hair
examinations performed to date, we believe that much more can and should be done by
the Section and by investigators to make better use of the existing trace evidence
resources. As is discussed in greater detail below, we also believe that expanding the
range of examinations performed could yield more information of evidentiary
significance.
                 1.    Follow-Up With Investigators

      Affirmative steps should be taken by examiners to contact investigators to
request known or elimination samples whenever possible. For example, if no known or
elimination hair samples were provided by an officer submitting hair evidence, an



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examiner should promptly contact the officer to see if collection is feasible. If the
examiner receives no response from the officer, a tickler system should be created to
follow up with the officer in approximately one month. If there is still no response or
the officer indicates that no known or elimination samples are available, the examiner
should then document the steps taken and close the file, with the understanding that
the samples already collected remain available in the event future examination is
required.

        By increasing the likelihood of meaningful review and productive results, such
steps can lead to more scrupulous evidence collection by investigators and increased
utilization of the trace evidence resources being developed by the Crime Lab.

                 2.   Expand Available Services

       Disagreement exists in the forensic community regarding the utility of
microscopic hair comparisons in light of existing DNA technologies. Although some
forensic experts continue to find significant value in microscopic hair comparisons, we
believe the Crime Lab should begin focusing some of its efforts on other types of trace
evidence examinations.

       For example, an increased emphasis on the collection and examination of fibers
could yield valuable evidence in a wide range of cases. Many forensic laboratories
perform fiber examinations in the same unit that performs hair comparisons (sometimes
referred to as the "Microscopy Unit"). Much of the equipment required and some of the
methods used are similar, and, with additional training, inclusion of fiber examinations
would be very beneficial to the Crime Lab and to HPD.

      Shifting some of the focus from hair examinations to paint and glass analyses
would enable the Section to provide valuable services in burglaries and in motor vehicle
accidents, including hit-and-run cases. We recognize that the equipment for
performing certain types of examinations (e.g., soil examinations) and the training
required can be expensive and may not, at least initially, provide an appropriate return
on investment. Another concern is that the lack of past demand for certain types of
examinations means that analysts will have difficulty maintaining proficiency to
perform examinations that are in low demand. For such cases, an SOP should be
developed to describe the procedure for outsourcing the examinations.

                 3.   Reconsider Technical Review Plans

        For the foreseeable future, the Trace Evidence Section should continue to
outsource the technical reviews of its cases to a highly qualified outside expert, even
after the second examiner is qualified. Both of the Crime Lab's current trace examiners



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are newly trained and inexperienced as fully qualified trace evidence examiners.369
These examiners cannot be expected to perform high level technical reviews at this
stage, and they would not be able to provide each other with the technical guidance and
mentoring that they should each receive as they continue to develop as trace evidence
experts.
                 4.     Revisions to the Trace Evidence SOPs

       Trace evidence SOPs should be revised and expanded so that they function as a
stand-alone resource and do not require reference to other manuals. The SOPs should
be revised to include specific examples of good reporting language. Such model
language would help examiners identify descriptive terms that better communicate to
investigators and prosecutors the significance of a particular finding. The Crime Lab
should also ensure that equipment required to perform specific examinations
referenced in the SOPs is actually available in the Lab.

        Because the characteristics of hair can change dramatically after approximately
six to nine months, SOPs should be revised to reflect a six-to-nine-month (if possible)
outer limit for the collection of known samples, rather than the current five-year
standard.

                 5.     Restore Firearms-Related Services to the Firearms Section

       Serial number restorations and gunshot residue (muzzle-to-target distance)
testing should be performed by Firearms Section examiners, as was traditionally done
in the Crime Lab. Performing serial number restorations in the Firearms Section
reduces unnecessary handoffs and transportation of firearms between sections. If
equipment, space, and personnel in the Firearms Section are inadequate for this task,
the Crime Lab should make the necessary physical improvements and additions to that
Section's facility and staff as soon as possible. The expertise required for trace evidence
and firearms examinations differs, and the two sections are better served if examiners
focus on maintaining proficiency in their own areas of expertise. Although chemicals
are used for both serial number restorations and gunshot residue examinations, it is not
necessary to have a chemistry background to perform these examinations.




369     One of the current trace evidence examiners has prior experience as a laboratory assistant with
        the Georgia Bureau of Investigation, where she assisted with the examination of trace evidence.




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IV.       The Controlled Substances Section

       After completing our review of cases worked by the Controlled Substances
Section from 1998 to 2004, we turned our attention to the Section's current operations to
assess the quality of work being performed by the Section and to determine whether
issues noted in our previous reports have been addressed.

       Our review of current case files from 2005 and 2006 revealed that the Controlled
Substances Section has made significant progress in correcting issues identified in our
historical review. Overall, we found that the work being performed by this Section is of
high quality. Moreover, the Section now has SOPs that are clear and organized, in
contrast to the multiple documents, manuals, and oral instructions analysts previously
relied on to determine the operating procedures in place. Additionally, we found that
analysts are adhering to the established requirements of the SOPs.

        Analysts are also maintaining well-documented case files. For example, in
current case files, analysts had worksheets and instrument printouts that were
completed accurately and in accordance with the SOPs. Other previously identified
documentation issues, such as the absence of records regarding sample preparations,
reagents, and blank runs, as well as the lack of initials reflecting who made changes in a
case hie, were no longer common in the recent cases we reviewed. Analysts are also
ensuring that both the amended report and the original report are maintained in the
case files when amendments are made.370 These improvements address many of the
problems identified as minor issues in our review of cases horn 1998-2004.

        Additionally, the Section has rectified the two problems that led us to identify
major issues in over 100 of the cases in our historical review. First, analysts now take
the following steps when identifying most pharmaceuticals:

      •   a pharmaceutical identification (i.e., an identification based on labels or
          markings, not on chemical analysis) is performed for most liquids, tablets, and
          capsules;

      •   analytical screening tests are performed if necessary; and

      •   one confirmatory test, either a GC/ MS or an FTIR, must be performed.



370       This practice of maintaining reports in the lab file is necessary, but does not change the fact that
          HPD's OLO system hinders the Crime Lab's reporting process.




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By taking these steps, an analyst will have made a definitive identification of the
substance based on confirmatory analytical testing. If for some reason a pharmaceutical
is not analytically tested and only pharmaceutically identified, the SOPs requires
analysts to indicate that with the following wording: "Pharmaceutical identification
only. No chemical analysis performed."371

       The revised SOPs also address the second type of pervasive major issue
identified in our historical review: the Section's practice of reporting quantitative
results for liquids and tablets when quantitative analyses were not performed. The
current SOPs state that, when the quantity of the controlled substance determines
which penalty group applies under the Texas Controlled Substances Act, an analyst
may determine the quantity of a controlled substance either by accepted analytical
quantitative procedures or by available pharmaceutical information. However,
Controlled Substances Section SOPs now require that the wording of the report must
clearly indicate when an item's quantitation was determined from pharmaceutical
information rather than analytical quantitative testing.

        A.       Methodology of the Review of the Controlled Substances Section's
                 Current Operations

       To assess the Section's current operations, we reviewed a total of 81 cases
completed during 2005 and 2006. One of our case samples, totaling 52 cases, was made
up of the basic marijuana and cocaine identification cases that represent the majority of
cases handled by the Section. The second sample of 29 case files focused on tablet,
capsule, and liquid cases.

        B.       Assessment of the Controlled Substances Section's Casework

      Overall, we found that the work currently being performed by the analysts is of
high quality. The analytical testing procedures were well documented in the case files,
which made our review easier to complete, and those procedures were also performed
in adherence with the Crime Lab's updated SOPs.

       However, in a case in which the identification of codeine was reported correctly,
we have concerns regarding the manner in which the analyst interpreted the other
testing results. In the GC/ MS printout located in the case file, the total ion
chromatogram showed three principal peaks. The analyst seemingly correctly


371     We note, however, that we did not review any cases where an analyst used this statement
        because, in all of the reported cases we reviewed, analysts had fully analyzed the substances.




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identified the first peak as promethazine and the second peak as codeine, but then
identified the third peak as also being promethazine.

       It is difficult to understand how a single injection of evidence sample analyzed
by the GC/ MS could have resulted in two different peaks being identified as the same
compound, especially because:

     •   the reference standard produced only one peak;

     •   two other Controlled Substances Section case samples involving a mixture of
         promethazine and codeine showed no secondary promethazine peak; and

     •   one of those case samples involving a mixture of promethazine and codeine was
         analyzed using the same instrument used in the case we reviewed.

Therefore, the result reported by the analyst is an unlikely one, and we would have
                                                                             —
expected that, prior to issuing a report, the analyst would have conducted and the
                                  —
supervisor would have required repeat testing using a new sample from the
submitted liquid to see if the same results were obtained.

       It is our understanding from speaking with the Section's supervisor that analysts
have produced these rather odd results on occasion in the recent past and that the
Section believes these results can be attributed to the fact that the codeine syrup was not
pure but, rather, was mixed with soda or juice. The Section believes that somehow the
soda or juice mixed with the codeine syrup caused the abnormal results on the TIC.

       While this theory may be correct, the Section should determine why analysts are
returning odd results. For example, it should conduct validation testing or discuss the
issue with other laboratories that may have encountered the same types of
abnormalities. The Section should do this in a way such that results can be properly
verified. Analysts must provide solid and scientific explanations for all of their results,
which they can then use if they are called to testify about their testing, results, and
interpretation of such results. We discussed these suggestions with the Controlled
Substances Section leader, and he was welcoming of them.

       The second questionable test result we identified involved a substance that we
understand is rarely encountered in the Controlled Substances Section. In the case we
reviewed, an analyst reported an identification of dextropropoxyphene using a
combination of the results of a GC/ MS analysis and the results of a pharmaceutical
reference identification. However, GC / MS can only confirm the presence of
propoxyphene, a non-controlled substance, and not its isomers including
dextropropoxyphene, which is a controlled substance.



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       Furthermore, the analyst's second source of information, the pharmaceutical
reference material, was also insufficient to support the conclusion that the substance
was the "dextro" isomer. As the case file stands, the analyst reported a finding
unsupported by chemical analysis.372 Further testing, such as a microcrystalline test,
should have been performed to substantiate the identification of
dextropropoxyphene.373
                 1.     Drug Standard Retention Times
       We developed some concerns about the retention times of drug standards, which
are recorded by analysts and used as the basis of comparison when interpreting the GC
portion of the GC / MS runs. In general, GC is used to separate mixtures of substances
into individual substances. Once separated, the substances can be evaluated
individually, and one aspect of evaluation is the amount of time that a substance is
retained in the GC column, which is known as the retention time. Every time the same
substance is analyzed by the same GC, the retention time should be the same, as long as
the experiment conditions, such as the column temperature and gas flow within the
GC / MS instrument, have not changed. The Crime Lab runs a mixture of standards of
the drugs most commonly analyzed, such as a mixture of known samples of cocaine
and heroin, through each GC/ MS instrument daily to verify the retention times for each
drug within each instrument. A master list of those retention times for the standards is
maintained for each GC/ MS instrument in the Crime Lab. The analysts can then
compare the retention times of unknown substances run within the same instrument
that day to the retention times listed on the master list of known substances.

       The Section conducts this verification daily because retention times could change
from one day to the next if the conditions within the GC / MS instrument change even
slightly. The Controlled Substances Section's practice of using this master list is
satisfactory since it is combined with the practice of routinely updating the retention
times for more commonly analyzed drugs.

      However, the Controlled Substances Section verifies the retention times of less
frequently encountered drugs much less regularly. Reference standards should be
analyzed with the same instrument and under the same conditions as the unknown

372     Because this analysis was performed in connection with an active investigation, we were not
        permitted to review the OLO case file. However, HPD representatives informed us that the
        controlled substances analysis is not likely to be material to the investigation because the suspect
        is being investigated for the crimes of robbery, assault, and murder.
373     This is required in the Controlled Substances Section's reference material pertaining to dangerous
        drugs.




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evidence sample. Therefore, when testing for less frequently encountered drugs,
generally accepted forensic science principles require that the Section ensure that
analysts run reference standards within the same timeframe as the unknown evidence
sample of the less commonly encountered drug. The analysts should retain a copy of
the standard run within the case file for documentation purposes.

                 2.     Technical Reviews

        In the recent cases we reviewed, both administrative and technical reviews were
performed on all controlled substances cases. However, while the current SOPs require
that administrative reviews be performed prior to the issuance of reports, the SOPs only
recommend, rather than require, that technical reviews be completed prior to the
report's issuance. During our review of the 2005 and 2006 cases, we identified several
case files in which technical reviews occurred weeks or months after the analyses were
completed and the reports were issued.

       Because a technical review is completed for the purpose of confirming the
accuracy of the analysis, the timeliness of the review is critical. Good forensic practice
dictates that the technical review be completed before dissemination of the report so
that any errors in the analysis or reporting can be corrected. It is crucial that technical
reviews of controlled substances cases be performed promptly because Crime Lab
analysts often process cases when they become high priority after a court date is
established. This makes it more likely that an analyst's report could be used to garner a
guilty plea or a conviction before it is ever technically reviewed.374
                 3.     Documentation

        While there have been vast improvements in documentation, a few issues
discussed in previous reports are still unresolved. The first involves the tracking of
evidence in controlled substances cases with more than one item of evidence. At times,
we found it quite difficult to determine how the items described in the police officer's
submission form correlated with the items examined by the analysts and with the items
in the lab report. Item designations appeared only on the worksheets and analytical
documentation, and the designations varied from analyst to analyst. Generally



374     The following wording found on all reports from the Controlled Substances Section is
        disconcerting: "Laboratory pohcy requires that reports of analytical results undergo a technical
        review by a second qualified analyst." We are concerned that this language gives the impression
        that a technical review has already been performed, even though technical reviews are often
        actually being completed after the report's issuance.




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accepted forensic science principles are to assign a unique identifier to each item of
evidence and then to use that identifier throughout the course of the investigation.

        A second documentation issue involves analysts routinely modifying the
submitting officer's description of evidence in the Property Record by adding to,
deleting from, or completely altering the original description given on the submission
form. All of these practices are inconsistent with generally accepted forensic science
principles. For example, if an officer's submission form has recorded that an envelope
submitted to the Crime Lab holds twenty tablets and the Lab personnel count only 19
tablets, Lab personnel make corrections on the officer's submission form. This practice
is inconsistent with generally accepted forensic science principles and problematic for
two reasons. First, it does not explain why the description was changed. Second, it
could allow security concerns about misplaced or missing controlled substances to go
unnoticed.

                 4.   Retention of Evidence

       An issue first identified in our historical review that still persists under current
operations is that analysts continue to retain evidence for long periods of time after
their work is completed. We noted that this practice occurs less frequently than it did
during our historical case review, but it continues to have potential security
implications and increases the risk of theft or loss of evidence.

                 5.   Case Turnaround Time and Backlogs

        Most of the cases we reviewed, historical and current, had lengthy turnaround
times. In our review of current operations, the period between submission of evidence
to the Crime Lab and the issuance of a report was approximately eight weeks in 2005
and approximately three and a half weeks in 2006. It is possible that the turnaround
time improved in 2006 because additional analysts joined the Section and the Section
began to limit its work to cases with assigned court dates. However, the Section still
has a large backlog of older cases that the Crime Lab needs to address.

       Our understanding is that, even if an analyst is able to complete the allotted
number of cases by noon on any given day, that analyst is not assigned more cases to
work until the next day. With controlled substances analysis, the time it takes to
complete cases varies, depending on the number of exhibits associated with a case and
the analyses that have to be performed to make a definitive identification of a
substance. Because some cases can be analyzed rather quickly, it is often possible to
complete eight cases within a period of a few hours.




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                 6.    Supervision

        There currently is only one supervisor in the Controlled Substances Section, who
is the Criminalist Manager over both the Controlled Substances and Toxicology
Sections. While there is a Criminalist Specialist position designated for the Controlled
Substances Section, that position currently is vacant. The lone supervisor in the
Controlled Substances Section does not have enough time to properly supervise all the
analysts in the Section, review technical issues related to the Section's casework, and
perform his other administrative duties. Also, because several of the Controlled
Substances analysts are new to the Crime Lab, they require significant individualized
supervision and mentoring, which is difficult for a single supervisor to provide.

        C.       Recommendations

       The Controlled Substances Section is to be commended for generally performing
high quality work and for making many changes that have addressed a number of the
issues we identified in previous reports. We strongly recommend that the Section
implement the following recommendations and that the Section continually evaluate its
own procedures, practices, and work product to ensure that the quality of its work is
maintained and improved as the Crime Lab grows.

                 1.    Technical Reviews

       The Controlled Substances Section has considered instituting a system in which
two analysts spend one day per week performing technical reviews; however, we
believe the Crime Lab would benefit from a more rigorous standard for accomplishing
technical reviews. Therefore, we recommend that the Crime Lab change its policy and
practices so that technical reviews occur no later than two days after the analysis is
completed and prior to the issuance of an oral or written report.

        We understand that the Controlled Substances Section is instituting an additional
review system whereby randomly selected cases will receive a secondary review, above
and beyond the already required administrative and technical reviews.375 A secondary
review can benefit the quality assurance system of the Lab, but it would lose much of
that beneficial effect if not performed in a timely manner (e.g., if it occurs well after a
case's legal disposition is likely to have been determined ). Therefore, we recommend
that any secondary reviews done in the Section be conducted in a timely fashion.


375     The secondary review is not currently part of the Crime Laboratory Division Quahty and
        Operations Manual or SOPs.




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       Timing is important for the technical review process, but who performs the
reviews is also significant. We recommend that the Controlled Substances Section
allow all analysts to perform administrative reviews of other analysts' reports.
However, the technical review process and any secondary review process should be
limited to the most experienced analysts and supervisors in the Section.

                 2.     Supervision
       In order to assure that analysts receive the proper amount of supervision, the
Crime Lab managers should evaluate the duties assigned to section supervisors. It
appears that the one supervisor currently in the Controlled Substances Section does not
have enough time to properly supervise all the analysts in the Section and also perform
his other duties. We recommend that no single supervisor in this Section be responsible
for overseeing the work of more than ten analysts. The Crime Lab should take the
necessary steps to fill the vacant Criminalist Specialist position and hire at least one
additional experienced supervisor for the Controlled Substances Section.376 If these new
hires are made, we recommend that one new supervisor be hired from outside of the
Crime Lab in order to bring a fresh perspective to the Section.

        We also recommend that the Controlled Substances Section establish another tier
in its hierarchy of analysts in order to distinguish less experienced analysts from more
experienced analysts who are capable of handling certain supervisory tasks, such as
training and conducting technical reviews. Adding this additional tier of more
experienced analysts should also help to free up time for the highest level of
supervisors, who could then focus on developing and reviewing policies and
procedures as well as ensuring that the Section is maintaining the quality of its work.

                 3.     Documentation

        To reduce the difficulty that currently exists when correlating items listed on an
officer's submission form with the items examined by analysts and listed on the lab
report, we recommend that a consistent item designation system be developed and that
the unique item identifiers be documented on the Section's submission forms,
worksheets, analytical testing documents, and supplemental reports. We believe this
will assist not only analysts and technical reviewers but also investigators, prosecutors,
and defense attorneys.

376     As discussed in the historical section of this report, the Controlled Substances Section
        traditionally was staffed with three Criminalist III supervisors. This level of supervision
        contributed to the Crime Lab's ability to detect the drylabbing incidents involving Mr. Price and
        Mr. Patel.




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       Additionally, we recommend that the Section's SOPs be modified so that
descriptions of any discrepancies between information on the evidence submission
form and the evidence actually submitted are documented on the analysts' worksheets
rather than on the submission forms. In addition, we also suggest that any
discrepancies be brought to the attention of both a Controlled Substances Section
supervisor and an HPD Narcotics supervisor, each of whom would also document the
discrepancies. The supervisors would then have the information needed to identify any
problematic patterns indicating that evidence is being lost or stolen instead of just being
accidentally miscounted or inaccurately recorded.377
                  4.      Security
        Any lab dealing with large amounts of controlled substances has to take
precautions to ensure that those substances are not being misappropriated. Therefore,
the Crime Lab needs to evaluate how best to prevent security problems, and it should
consider taking some or all of the following measures to help deter the improper use or
theft of controlled substances:

      •   implementing a procedure where random sampling tests are used to determine
          whether a stored controlled substance has been replaced or diluted, indicating
          that a portion has been stolen and replaced with a filler substance;378

      •   installing electronic devices to track those entering and exiting rooms holding
          controlled substances;

      •   putting in place a random urine testing program for employees; and

      •   implementing a blind testing program in which known, non-evidentiary samples
          are submitted to CER for analysis by the Controlled Substances Section as if they
          were evidence related to an investigation in order to evaluate the Crime Lab's



377       By instituting a policy where the submitting officer's supervisor receives notification of a
          discrepancy and then documents the issue, the officer will be able to use that information if called
          to testify. Additionally, the notification of HPD supervisors may encourage officers to more
          carefully document future submissions.
378       In implementing this procedure, a small sample would be taken before the analyst begins testing
          the substance; then, at a later date, testing of the stored controlled substance could be compared
          to testing of that small sample. This security procedure has the added benefit of serving as a
          quahty assurance tool because the re-testing of the substance could be used to verify the analyst's
          original testing.




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          processes for handling evidence as well as the proficiency and integrity of the
          Lab's controlled substances staff .379

                  5.      Retention of Evidence

      We recommend that a requirement be established that, absent a
well-documented reason, evidence must be returned within one week after the analyst
has completed testing. Additionally, the time between retrieval of evidence by an
analyst and the analyst's return of the evidence should be less than one month.380
                  6.      Retention Times for Standards

       As discussed above, we learned during our review of current operations that the
standard retention times of less commonly encountered drugs are not regularly
obtained for each GC/ MS instrument in the laboratory. We recommend that the
Section ensure that:

      •   the retention times for drug standards should be verified more frequently and
          updated on the master list; and

      •   for drugs encountered less frequently in the Crime Lab, analysts should run the
          standards within the same timeframe that the evidence sample is tested, and a
          copy of the standard run should be retained in the case file.
                  7.      Case Turnaround Times and Backlog

        We recommend that the Controlled Substances Section change its current
procedure under which analysts are assigned a specific number of cases (usually six to
eight) per day. Analysts should be able and encouraged to work more cases whenever
it is practical to do so. Additionally, to encourage analysts to complete a greater


379       In implementing a blind testing program, we would recommend that the Crime Lab's QA / QC
          Manager work with a designated HPD Narcotics Division supervisor to ensure that each analyst
          receives at least one blind test per year. While the supervisor and members of the Controlled
          Substances Section should be aware of the blind testing program, they should not be advised of
          the tests in advance or even be aware of the number of tests provided during any given time
          period. The tests should include both controlled and non-controlled substances. In addition to
          testing security and integrity in the Controlled Substances Section, these blind tests will also
          serve to test the competency of the analysts and supervisors.
380       To ensure that analysts are not in possession of evidence for longer than a month, we recommend
          that CER conduct a regular inventory of both the evidence it is storing and the evidence currently
          in the possession of analysts.




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number of cases, the Lab could establish a yearly case expectation number. The
quantity of cases that an analyst works per year, along with the quality of the work
done by the analyst, could be considered in an annual performance evaluation.

       While backlogs are a common problem suffered by many forensic laboratories,
we recommend that the Section develop a plan to reduce its turnaround times and
backlog. One suggestion would be for the Crime Lab to eliminate from its backlog
older cases that either have already been adjudicated or will never go to court, such as
found property and no-suspect cases. The Crime Lab should also seek to establish a
policy regarding this issue so that these cases are automatically culled out and do not
become a part of any future backlog.381 Finally, we suggest that the Crime Lab seek
guidance from other drug labs concerning backlog reduction methods.
V.      The Firearms Section

       As discussed above, our review of the Firearms Section cases analyzed during
the 1998-2004 period found that it performed reliable and, in some cases, very high
quality work. In connection with our review of the Crime Lab's current operations, we
reviewed 30 current cases examined by the Firearms Section since it received
accreditation in May 2005. We found that the technical issues identified in our
historical case reviews have been addressed by the Section's current SOPs. However,
we identified several current operational issues that constrain the effectiveness of the
Firearms Section and contribute to the growing backlog of cases that currently exists in
that Section.
        A.       Backlogs and Caseload
       The Firearms Section currently is experiencing a backlog of over 600 cases, and
the increased case submission rate that the Section is experiencing is expected to
continue. The backlog of entries into the IBIS system382 is over 200, although a
grant-funded position recently awarded to the Firearms Section is expected to help
alleviate this smaller backlog in the short term.




381     In addition to eliminating these types of cases from the Section's backlog, the Crime Lab also
        needs to secure authorization to destroy such evidence so that it is not using its space and
        resources to store tons of substances that will never need to be analyzed.
382     "IBIS" is an "Integrated Ballistics Imaging System." As the name suggests, it is a computerized
        system that, among other things, captures, stores, and analyzes images of bullets and cartridge
        casings.




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       The Firearms Section currently is staffed by a Criminalist Manager, two
Criminalist Specialists, and two Criminalists. Four of these examiners are now
available for full-time casework in the Firearms Section. This total may decrease in the
near future, however, because two of the Section's current senior examiners are
approaching retirement age.

        There are currently two vacant firearms examiner positions allocated to the
Section. If these positions are not filled with experienced examiners, the training of the
new examiners could take over a year. In the meantime, training the new hires will put
further pressure on the Firearms Section. HPD has advised us that the use of outside
training for new examiners has been considered, but the cost and limited availability of
such alternatives may leave in-house training as the only option. The training time
required for new hires makes addressing the backlog extremely difficult and, in fact,
will likely further increase the backlog in the near term.

       Difficulty in retaining experienced examiners places another strain on staffing in
the Firearms Section. The former head of the Firearms Section recently left HPD to
work in the Harris County firearms laboratory, where we are told he receives a higher
salary to do the same work. Experienced firearms examiners are in high demand in
crime laboratories across the country and generally are able to command higher salaries
than forensic scientists in other disciplines. This competitive market for experienced
firearms examiners will make it difficult for the Crime Lab to recruit and retain the
number of examiners it needs to address the volume of firearms cases submitted to the
Section and to provide the full array of services that HPD requires.

       Professional development opportunities for the current Firearms Section staff are
limited due to their workload constraints. The Firearms Section should be adequately
staffed to permit its examiners to process cases in a timely manner, to regularly attend
professional meetings, to give presentations, to contribute to articles to forensic science
publications, and to carry out case-related research. Over the long run, these activities
are crucial to the professionalism, reputation, and continued high quality work of the
Firearms Section.

        B.       Inefficient Use of Examiner Time

        Firearms examiners receive some of their evidence directly from submitting
officers, while they receive other evidence via lock boxes that they must clear on a daily
basis. Although direct submissions allow face-to-face contact between examiners and
investigators, these activities interrupt evidence examinations as examiners must stop
what they are doing to retrieve and / or sign-in evidence. The examiners also reported
to us that an inordinate amount of time is currently being spent answering telephones,



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searching for evidence, and searching for case files. This is time that would be better
spent on evidence examination.
        C.       Facilities Issues

       We reviewed the Firearms Section facility and interviewed each of the individual
examiners who work in the Section. While the examiners make good use of the space
they currently have, we noted some shortcomings in the facility design and the
materials and equipment available to the examiners. Some of these shortcomings are
significant, but most can be remedied fairly expeditiously.
                 1.     Inadequate Reference Collection
       The Firearms Section does not have an adequate collection of reference materials,
including reference firearms and ammunition. This is surprising because Houston is
one of the largest cities in the country, and there is no shortage of firearms in the
region.383 In addition to collections of different firearms, this resource should also
include an adequate ammunition reference collection, consisting of disassembled
ammunition components. HPD examiners told us that they sometimes experience
difficulty obtaining weapons for reference purposes, and, even when such weapons are
available, the Section does not have an adequate storage facility for them.384

                 2.     Inefficient Work Space

        The layout of the existing facility does not lend itself to good work flow. Of
particular concern is the large area for comparison microscopy that is situated in the
main traffic flow area of the Firearms Section. The inevitable distractions from the
time-consuming and intense work involved in comparison microscopy caused by its
being located in a high-traffic area of the Section make adequate concentration nearly
impossible. In an effort to screen out distractions, examiners state that they frequently
resort to wearing headphones. The IBIS work area, on the other hand, is maintained in
a separate cubicle away from high traffic and other distractions, even though this type
of work is relatively less intensive.


383     The firearms sections in the laboratories of the Chicago, Los Angeles, and New York City Pohce
        Departments all have substantial firearms reference collections that are essential to examiners for
        training, research, and casework.
384     The Firearms Section's written reference hbrary is also inadequate and disorganized, reflecting
        both budgetary constraints and staffing issues. There is no existing routing mechanism for the
        review of new reference materials as they arrive in the Crime Lab.




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                  3.      Inadequate Cleaning Facilities

         According to examiners, bloody weapons and ammunition components are
frequently submitted to the Firearms Section. Examiners have a single small sink that
was installed after they made numerous complaints regarding the lack of adequate
facilities for cleaning bloody evidence. This current sink, which is inadequate, is a
plastic half -sink rather than the full-size stainless steel version with a countertop that is
needed for the tasks performed in the Firearms Section. We also observed blood
splatter on the walls near the sink that resulted during the washing of evidence.

          D.      Recommendations

        Based on our review of the current operations of the Firearms Section, we have
the following recommendations.

                  1.      Technical and Administrative Reviews

       The Section should develop and use separate checklists for technical and
administrative reviews to ensure that the reviews are uniform and thorough. The
technical and administrative review forms should require the reviewers to confirm that
each step in the review process has been performed.385

                  2.      Caseload and Backlog

      We have the following recommendations to help the Firearms Section address its
current backlog of cases.

      •   The Firearms Section should consider contracting with retired examiners to assist
          with casework.

      •   Retired examiners could also help train the new firearms examiners in-house at
          HPD in order to allow current firearms examiners to concentrate on casework.



385       The Firearms Section's SOPs contain lists of items to be covered during technical and
          administrative reviews. See Firearms Section SOPs at FTM-QA-1. Our recommendation is that
          the Crime Lab create separate forms for administrative and technical reviews that hst each of the
          relevant areas to be covered by the reviews, as described in the SOPs, and that reviewers check
          off each of the items and include the forms in the case file. Such forms for technical and
          administrative reviews are used, for example, by the Crime Lab's Biology Section (although, as
          discussed above, we have recommendations for improvement of the Biology Section's current
          review forms).




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      •   HPD also should explore coordinating the training of new firearms examiners
          through partnerships with Harris County, the DPS, and the Pasadena (Texas)
          Police Department.

      •   The Firearms Section should also continue exploring the possibility of sending
          some cases to the DPS, the FBI, and the Bureau of Alcohol, Tobacco, Firearms
          and Explosives ("ATF") until the backlog is substantially reduced.386

      •   HPD, in coordination with the District Attorney's Office, should develop a
          system to assign priority to cases requiring firearms examination based on those
          cases that are pending in court. The system should be designed to notify the
          Firearms Section as soon as possible when a case requiring examination is
          assigned a court date.

      •   The Firearms Section should consider suspending the entry of information
          regarding revolvers into IBIS, as fired cartridge casings from these firearms have
          only limited information for search purposes.

      •   Where appropriate, the Section should restrict the examination of firearms
          evidence in suicide cases and minimize examinations in cases where no charges
          have been, or are likely to be, filed.

                  3.      Serial Number Restoration

        As is noted in the Trace Evidence Section discussion above, serial number
restoration work is being handled by that Section because its workload is light relative
to that of the Firearms Section. This understandable effort to maximize the efficiency of
the Crime Lab is not an ideal arrangement and should be temporary. Firearms
examiners are much more familiar with the nature and locations, including hidden
locations, of these numbers on firearms and thus better able to perform this work.

       Until the backlog is alleviated, we recommend a temporary transfer of some of
the work involved in muzzle-to-target distance determinations to the Trace Evidence
Section. Firearms examiners could carry out the necessary test firing into cloth test
panels and send the panels to the Trace Evidence Section for subsequent Griess and
sodium rhodizonate testing and other chemical development work. When the caseload


386       HPD reports that it has contacted outside agencies, including DPS, the FB,I and ATF, about
          assisting the Crime Lab with its backlog of firearms cases but that, to date, outsourcing has not
          proven to be a viable alternative in addressing this problem.




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and facility permit, we recommend that all steps of distance determination be returned
the Firearms Section.387

                  4.      Inefficient Use of Examiners

       The responsibilities of the current clerical person in the Section should be
expanded or an additional clerk should be hired in the Firearms Section to reduce the
amount of clerical work handled by examiners. For many reasons, including reasons
described elsewhere in this report, all firearms evidence should be submitted to the
Property Room. An evidence technician should be responsible for receiving and
inventorying evidence from the Property Room and for returning evidence to the
Property Room.
                  5.      Professional Development

       Providing opportunities for professional development will improve the quality
of work, morale, and staff retention in the Firearms Section. Each firearms examiner
should be provided sufficient time, opportunity, and funding to maintain at least one
professional membership and to attend at least one professional meeting or training
seminar annually.

                  6.      Facility Improvements
        We recommend that the following improvements to the Firearms Section's
facility and work space:

      •   Acquire weapons for reference purposes and storage cabinets to contain them,
          although we recognize that space for such storage cabinets is a major concern. If
          the Property Room takes over all firearms evidence receipt and long-term
          evidence storage, as we recommend, adequate space could be made available in
          the firearms vault.

      •   The comparison microscopy equipment should be moved into the larger existing
          cubicles to maximize the use of space. Alternatively, partitions should be placed
          in the current microscopy area to isolate the microscopes.

387       The Firearms Section has only one fume hood, which is located in the front office area. There is
          no water available in this fume hood, and its size is unsuitable for the efficient examination of
          long guns. The primary need for a fume hood is to perform serial number restorations and
          chemical testing of gunshot residues. Once workload distribution permits the recommended
          return of serial number restorations and residue testing to their proper location in the Firearms
          Section, an adequate fume hood should be installed in a more appropriate location in the Section.




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      •   Install a stainless steel sink of an appropriate size in the Firearms Section as soon
          as possible, and provide rubber aprons and gloves for washing evidence.

                 7.         Refinements to the Current SOPs

       The updated SOPs are in keeping with generally accepted forensic science
laboratory principles. However, we suggest a few refinements to existing protocols.

      • Garment and Vehicle Examination Forms. Current procedures call for the use
          of examination sheets with "generic" clothing diagrams ("T-shirt," "trousers,"
          etc.) and vehicle diagrams. Better options include creating digital images of the
          evidence items themselves and using available software that provides more
          realistic choices for garment and vehicle representations. Many crime
          laboratories favor using digital images while also utilizing hand-drawn sketches
          in the notes.

      • Digital Imaging. Photographs are routinely used by the Firearms Section to
          document ammunition component comparisons. Many laboratories also
          document serial number restorations photographically in order to create a record
          of what may be a transitory restoration. We also suggest expanding the use of
          photographic and digital imaging to include all submitted firearms evidence
          items, such as weapons, fired cartridge casings, and bullets; the results of
          gunshot residue tests; and any other appropriate test results and scene
          evaluations.388

      • Documentation of Trace Evidence Identified on Firearms Evidence . We
          recommend that the SOPs include a written protocol addressing the
          documentation of trace evidence found on all items of evidence examined by the
          Firearms Section, including firearms, ammunition components, and tools.
          Additionally, space should be added to the worksheets to ensure that the
          presence of any trace evidence is recorded. This protocol should include taking
          digital photographs of the trace evidence in place on the firearms evidence prior
          to its removal.

388       HPD firearms examiners use various means, including written descriptions, diagrams, and
          sketches, in addition to digital photographs to document evidence. While these traditional
          methods of documenting evidence may be adequate in many cases and are not inconsistent with
          general accepted forensic science principles, there are a number of advantages with digital
                       —
          photography including the resolution, detail, and accuracy of the images and the convenience
                        —
          of digital data that support our recommendation that the Crime Lab make greater use of digital
          imagery .




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      • Physical Examination and Classification of Tools. We recommend developing
         a specific worksheet to guide examiners in toolmark examinations and
         maintaining photographic documentation of toolmark identifications. The SOPS
         should also provide that casts of evidence toolmarks should be retained, as well
         as toolmark tests and distance test patterns.

      • Modified Griess - Direct Application Technique ( DAT) Test. The current
         procedures outline the use of the Modified Griess Test, as opposed to the
         traditional Griess Test, as a method for transferring nitrite residues in muzzle-to-
         target distance tests. While the traditional version was criticized years ago for its
         use of suspected carcinogenic chemicals, it produces superior results to the
         modified version. We recommend that the Section review recent literature
         regarding these tests and consider reverting to the traditional Griess Test. 389
VI.      The Toxicology Section

       When the Crime Lab's Toxicology Section came under public scrutiny in 2003,
most of the tests performed by the Section involved blood and, more commonly, urine
samples collected from individuals suspected of driving under the influence of alcohol
or other drugs. Quantitation was performed only for cases involving alcohol. The
Toxicology Section was also responsible for calibrating and maintaining breath alcohol
testing devices used by HPD officers in the field and for training officers in the use of
this equipment.

      The Crime Lab stopped performing toxicology analyses during the period from
October 2003 to May 2005390 after Pauline Louie, the Criminalist IV supervisor who had
been running the Section since 1992, failed a competency test. At the time, Ms. Louie
had many managerial duties as the supervisor of both the Toxicology and Controlled
Substances Sections and frequently had to appear in court in support of the breath test
program. However, because analyst attrition had left the Section understaffed, she had
no choice but to resume casework analysis, even though she had not been actively

389      Specifically, we recommend two articles that appeared in the AFTE Journal in 2001: An
         Evaluation of Various Griess and Modified Griess Test Protocols , by James Carroll, LAPD, and A
         Simplified Griess and Sodium Rhodizonate Test , by Robert Shem, Alaska DPS.
390      The Toxicology Section continued to be responsible for cahbrating and maintaining breath
         alcohol testing devices and for training officers in the use of this equipment, even after it stopped
         performing toxicology analyses. However, this service was outsourced for approximately four
         months in 2006, when the Section had no certified analyst available for the task. In May 2005, the
         Toxicology Section resumed blood and urine alcohol testing after it was granted a limited
         ASCLD / LAB accreditation.




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doing bench work for some time. Ms. Louie was the only qualified toxicology analyst
on staff at this time, which meant that there was no other person on staff qualified to
provide technical reviews of her work.

        A.       Current Operations in the Toxicology Section

       In May 2005, ASCLD / LAB granted the Toxicology Section accreditation for
blood alcohol testing.391 At the time, the only qualified analyst available to perform this
testing was Joseph Chu, who was subsequently placed on administrative leave in
December 2005 after the issuance of our Fifth Report.392 From December 2005 until
March 2007, blood and urine alcohol testing was performed for HPD by several
different outside laboratories, including the Harris County ME's laboratory, the Texas
DPS laboratory, and the Dallas County laboratory. The Toxicology Section now has an
analyst who completed the necessary training on March 9, 2007 and is qualified to
perform blood alcohol testing.

       Analysts from the Toxicology Section continue to be responsible for calibrating
and maintaining breath alcohol testing equipment used for the approximately 4,000
breath alcohol tests administered each year by HPD officers. They also train HPD
officers in administering breath alcohol tests. For a brief period (between April and
August 2006), the Toxicology Section lacked qualified personnel to maintain and
calibrate HPD's testing equipment. During that time, the breath alcohol testing
program was administered by an outside laboratory. As of April 2007, three
individuals trained as breath test analysts were working in the Toxicology Section, but
only one was a certified technical supervisor under the DPS-administered breath
alcohol testing regulations.393 Crime Lab personnel expect that all three Toxicology
Section analysts will eventually be certified for the breath alcohol testing program.



391     The ASCLD/ LAB accreditation states that the Crime Lab is accredited in toxicology for "blood
        alcohol only." However, "blood alcohol" is a term that is used expansively in the forensic
        toxicology context to include alcohol testing in other body fluids as well. In many labs, urine
        alcohol results are converted to equivalent blood alcohol results and reported as a blood alcohol
        concentration.
392     As discussed above in the historical sections of this report, Mr. Chu was one of the most prolific
        analysts in the Crime Lab's DNA Section during the 1990s and early 2000s. HPD placed Mr. Chu
        on administrative leave and opened IAD investigations into his conduct after cases in which he
        performed DNA analysis were criticized in our prior reports.
393     Breath test analysts maintain the breath test equipment and records, train officers in use of the
        equipment, and assist with pre-trial discovery. In court proceedings, the analyst testifies to the
        significance of the results of the test, while the officer testifies as to its administration. Each
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          B.      Methodology of the Review of the Toxicology Section's Current
                  Operations

       Because of the staffing circumstances described above, there was a limited
universe of cases to review when we evaluated the Toxicology Section's current
operations. PwC selected 30 toxicology case files from the eight-month period in 2005
when Joseph Chu was the only analyst performing blood and urine alcohol testing.
Files were selected based on their assigned uniform crime reporting ("UCR") codes;
UCR 21 was used to identify files involving DWI cases. Sixteen of the files in our
sample involved urine alcohol testing, eight related to blood alcohol tests, and the
remaining six files did not involve blood or urine specimens.394 Drug toxicology
analysis was performed by the ME's Office when needed.

       No major issues were identified in our review of the 2005 blood and urine
alcohol cases, and we made a number of observations that reflected favorably on the
work performed:

      •   The case files were well organized; all of the necessary documentation was
          contained in the files and properly identified.

      •   Chain of custody procedures were followed by the Toxicology Section, were
          complete, and are well conceived.

      •   Four analytical results (two in each of two separate samples) were generated for
          blood and urine alcohol testing, and the lowest of the four results was used for
          the report. Results consistently demonstrated a coefficient of variation that was
          less than 2 % . This means that the results the analyst obtained were all within a
          narrow range, which increases confidence in the accuracy of the results.

      •   Urine alcohol conversions were completed in accordance with Texas State law.


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          instrument is calibrated monthly as required by DPS regulations, and officers must renew their
          breath test administration certification annually.
394       Those six files involved bottles of liquid that were not body fluids. In these cases, the liquids
          were diluted and tested using the same methodology used for blood and urine alcohol testing.
          The six files that were not within the scope of our review reduced the size of our sample by 20 % .
          We consulted PwC to determine whether the sample size was sufficient to provide a meaningful
          review. We were assured that it was, particularly in light of the lack of deviation in the very
          consistent findings summarized above.




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       We also reviewed the Toxicology Section's SOPs for alcohol determination and
found the procedures currently used to be state-of -the-art, and exemplary for forensic
alcohol analysis. The Section uses dual column, head space gas chromatography with
flame ionization detection and performs testing for all samples in duplicate.

        C.       Assessment of the Toxicology Section's Current Operations

                 1.    The Proper Roles of the Analyst and Investigator

        One case that concerned us was a DUI case in which both blood and urine
samples from the driver were submitted. In such cases, blood is the preferred sample
because the alcohol result indicates the blood alcohol concentration at the time the
sample was collected. Urine alcohol concentrations do not reflect the blood alcohol
concentration at the time of collection. Instead, they reflect the average of the alcohol
concentrations over the entire period the urine was collecting in the bladder, i.e.,
between the collection void and the last previous void. The information provided by a
urine alcohol test may supplement information obtained from a blood test but, by itself,
is not as informative as a blood result.

       In this case, Mr. Chu analyzed only the urine sample. A note in the file stated
that the investigator had called and requested that only the urine and not the blood be
analyzed. No further reason is given. Although the analyst should obtain information
about evidence from investigators, the decision as to what samples are best to analyze is
normally a decision that should be made by the forensic scientist, in consultation with a
supervisor if necessary, rather than by the investigator.

                 2.    Technical Reviews

       Technical reviews were performed several days or weeks after the date on the
report. Because there is currently no other analyst in the Crime Lab who is qualified to
perform blood and urine alcohol testing, technical reviews of the Crime Lab's blood
alcohol cases are conducted by the DPS laboratory, a process that, unfortunately, causes
delays.
                 3.    Report-Writing Formalities

       None of the reports we reviewed was signed by the analyst. As is discussed in
our general recommendations for the Crime Lab, we prefer to see a report produced on
laboratory letterhead, signed by the analyst responsible for the report, and forwarded to
the appropriate recipients. This is an important safeguard for both the author and the
recipients of the report and encourages analysts to take ownership of the results that are
reported.



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        D.       Recommendations

       We understand that the Crime Lab is evaluating the Toxicology Section's staffing
needs, and it is currently training an additional analyst to perform blood, breath, and
urine alcohol testing. There are currently no plans to expand the range of toxicology
analyses performed in the Crime Lab unless HPD experiences a large increase in
demand for these services. We agree that expanding the range of toxicology services
provided by the Crime Lab beyond alcohol analysis is not advisable at this time for a
number of reasons:

    •   The current configuration of the Crime Lab, and the Toxicology Section's
        proximity to the Controlled Substances Section work area, would create ongoing
        risks of contamination caused by materials handled in the Controlled Substances
        Section work area. If the range of analyses provided by the Toxicology Section is
        expanded, the tests must be performed in a location as far removed from the
        Controlled Substances Section as possible.

    •   An expanded analysis program should be led by a very experienced forensic
        toxicologist, preferably one who has completed a relevant doctoral program .

      Based on our historical case review and on our review of the Toxicology Section's
current operations, we also make the following recommendations and observations:

    •   We understand that Crime Lab managers are already considering using
        commercially prepared calibration solutions, and we encourage them to do so.

    •   The Crime Lab should resume participation in an external forensic alcohol
        proficiency testing program for Toxicology Section analysts.
VII .   The Questioned Documents Section

       In connection with our review of the current operations of the Questioned
Documents Section, we reviewed the 18 cases that Mr. Carodine, the Crime Lab's sole
questioned documents examiner, completed between May 2005 and December 2006.

       We continue to be concerned about the underutilization of the Questioned
Documents Section. HPD has failed to take advantage of the high quality work
performed by its questioned documents examiner, even after the Section's untapped
potential was highlighted in our Fourth Report, which was released on January 4, 2006.




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        A.       The Appropriate Role of a Technical Review

       Technical reviews are now performed after Mr. Carodine generates a report,
usually within a few days. Although this arrangement is less than ideal and it would
obviously be preferable for the review to be performed before a report is issued, it is
acceptable for accreditation purposes and, under these circumstances, is necessary
because the Section is a one-person operation.

       The one minor issue noted during our most recent evaluation of the Questioned
Documents Section involved a single document submitted in connection with an IAD
case. No known writing was ever submitted for comparison. Mr. Carodine made some
observations in the file regarding indications of left-handedness, but determined that
there was not enough writing on the document to reach any positive conclusions about
the writer.

        When interviewed about the determinations made in this case, Mr. Carodine
stated that he relied, in part, on the opinions of an outside technical reviewer.
Mr. Carodine explained that he deferred to the technical reviewer because the reviewer
had significantly more experience in document examination. However, technical
reviews are to be performed after the examiner's report is written because they serve a
quality assurance function and test the validity of the examiner's findings. As such,
they should be performed only after the document examiner has reached his or her own
conclusions about the case. However, because Mr. Carodine is the only questioned
documents examiner at HPD and, therefore, had no one to consult internally, it is to his
credit that he discussed the technical issues in this case with the outside reviewer.

        B.       Underutilization of the Section

      We continue to be concerned by the relatively small workload of the Questioned
Documents Section in a city as large as Houston, and we believe that there is
tremendous potential for the Section if utilization can be increased. When our Fourth
Report was issued in January 2006, only 91 cases had been worked to the point of
generating a written report during the approximately five-year period from 1999 to
2004. During 2005 and 2006, an additional 20 new document cases were received and
worked by the Section (11 cases in 2005 and 9 in 2006). Intervals between cases
submitted to the Section have ranged from 30 to 74 days.395


395     Mr. Carodine reports that he provides meaningful administrative assistance to the Crime Lab
        during the intervals between cases. He has, for example, been assigned responsibility for the
        Crime Lab's training manual. He also participates in a variety of professional development
        activities in the questioned documents field. From 1998 to 2004, Mr. Carodine was given
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       There are a few possible explanations for the underutilization of the Questioned
Documents Section. One may be that investigators are unaware that the Crime Lab has
an operating Questioned Documents Section. Another possibility may be that they are
not sufficiently aware of how document examination can assist their investigations. Yet
another possibility is that investigators have become discouraged after submitting
evidence to the Section and receiving inconclusive results.396 Whatever the reasons,
HPD is not fully utilizing its highly competent document examiner.

          C.      Recommendations

       A police department in a city the size of Houston should be generating
significantly more work for its document examiner. We therefore recommend the
following:

      •   HPD should adopt a policy requiring that all potential questioned document
          evidence be submitted to the Questioned Documents Section for examination.
          Questioned document evidence should be defined to include all robbery notes,
          suicide notes, drug tally sheets, gambling tip sheets, bomb threats, threatening
          letters, and a wide variety of documents in fraud cases.

      •   The Crime Lab should provide training sessions on recognizing document
          evidence for all crime scene technicians, department units, and training schools.
          These sessions should cover all of the types of evidence described above, as well
          as writings that appear on building surfaces.

      •   Mr. Carodine should contact other forensic document units and examiners in
          other law enforcement agencies to determine how they disseminate information
          about the capabilities of their units throughout their agencies. Attending at least
          one national meeting and one regional meeting of forensic document examiners
          each year would facilitate this process. Such meetings also provide professional
          development and training opportunities that are especially important in a
          one-person, underutilized operation.


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          additional tasks to fill his time when the Questioned Documents Section was a component of the
          Identification Division.
396       This is a common (and misguided) complaint by investigators about document examination.
          Questioned documents examiners will often be unable to make a conclusive determination
          because inadequate specimens are submitted for examination. For example, the examiner cannot
          make a conclusive finding when he is working with a poor photocopy of a document.




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       We believe that raising the profile and increasing the use of the Questioned
Documents Section would assist in maintaining the Section's credibility. As
investigators see that investigative leads and positive results are generated from
document submissions, the value of questioned documents examinations will become
obvious, and demand for these important services will increase.




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Review of the Property Room and
Recommendations
       The methods used for collecting, storing, and tracking evidence can have a
significant impact on the Crime Lab's forensic work. In 2004, HPD disclosed that
evidence from 8,000 criminal cases had been improperly stored and inventoried in the
Property Room. As a result, evidence from at least 33 cases was inadvertently
destroyed. Because of well-founded public concern regarding this disclosure, a review
of the Property Room and Central Evidence Receiving ("CER") was included in the
scope of our investigation.

      The more recent and profoundly troubling disclosure that 19 guns from the
Property Room are missing, and that two additional firearms missing from the Property
Room were found in the possession of suspects arrested by HPD, underscores the
urgency of addressing issues relating to the Property Room . The conditions at the
Property Room are a threat to the public safety and to the safety of Property Room
employees, and they threaten to undermine the ability of Houston law enforcement
agencies to perform their missions.

      To perform the analysis presented below, we evaluated numerous sources of
information:

    •   we toured Property Room facilities and CER;

    •   we reviewed HPD's investigative and research material related to Project 280
        (discussed below);

    •   we met with or conducted telephone interviews with personnel from CER, the
        Property Room, Latent Fingerprint Unit, Homicide Division, Narcotics Division,
        Crime Scene Unit, Major Offenders Unit, and Technology Services Division;

    •   we interviewed representatives of the District Attorney's office, the Harris
        County Courts, and the Harris County Sheriff's Office; and

    •   we reviewed a 1996 Property Room Security Study prepared for then-Chief Sam
        Nuchia (the "Nuchia Report"), audit reports prepared by the Inspections
        Division between 1998 and 2006, and a recent report issued by Joe Latta, a




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        consultant hired by HPD to provide a Review and Assessment of the Property
        Room (the "Latta Report").397

       Our objective in performing this review was to identify technical and
organizational challenges that have the potential to impair the integrity of evidence,
make evidence difficult to locate or retrieve, or otherwise undermine the Crime Lab's
effectiveness. We also provide detailed recommendations for addressing the identified
issues. Perhaps our most important finding, however, is that much of what is reported
and recommended here is not new. Some of the issues described below have been
discussed, evaluated, assessed, and reported for at least ten years. In fact, the 1996
Nuchia Report made the unfortunately prophetic observation that weapons and other
evidence in the Property Room were not secure and that "publicity from the loss of
evidence . . . would be very detrimental to the department."

        News of the missing firearms may ultimately prove to have a positive effect if it
creates sufficient momentum for the change that is necessary and long overdue. The
commissioning of the Latta Report was a very positive step towards improving
Property Room Operations. While our review was focused narrowly on issues that
affect the Crime Lab, Mr. Latta was hired by HPD to perform a comprehensive review
that encompasses all aspects of the intake, disposition, and storage of evidence. It is a
thoughtful, well-conceived, and clearly-presented report. It should be reviewed
carefully by members of the City Council and HPD as they evaluate options for
responding to recent events involving the Property Room .
        In particular, we urge serious consideration of the following observations and
points made in the Latta Report, many of which mirror the observations we have made
during the course of our review of HPD's practices and procedures related to the
collection and storage of evidence:



397     When we first learned that Mr. Latta had prepared a detailed report for HPD on Property Room
        issues, we requested a copy. HPD resisted our request for a copy of the Latta report until after it
        made the recent disclosures regarding the missing firearms. HPD advised us that it originally
        declined to produce the Latta report out of a concern that access to the report would potentially
        diminish the originality or thoroughness of our review of the Property Room. This position
        misapprehends the purpose of our investigation, which is to provide a pubhc report of the status
        of HPD's operations concerning the collection and storage of forensic evidence and of HPD's
        current efforts to improve those operations. Mr. Latta's observations and advice to the
        Department are relevant to our fulfillment of that purpose. HPD deserves credit for
        commissioning Mr. Latta's review, which was thorough and professional, and we encourage the
        City and HPD to implement his recommendations.




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     •   Until construction of the new, centralized Property Room is complete, significant
         changes are needed to improve the security of Property Room employees and the
         evidence stored there.

     •   All evidence submitted to the Property Room and the ancillary facilities used to
         store evidence must be tagged into a centralized evidence tracking system.

     •   The need to acquire a new evidence tracking system that assigns numbers in a
         logical, consecutive order is urgent.

     •   The dysfunctional bar code system currently used is an insurmountable obstacle
         to establishing order in the new Property Room and should be replaced as soon
         as possible to enable HPD to perform a comprehensive audit and reconciliation
         and, where appropriate, dispose of material -- before the move to a new facility.
                                                                                            —
     •   Significant staffing increases are needed in the Property Room.

     •   City, County, and State Codes should be amended to facilitate a more
         streamlined evidence disposal process.

     •   The City should invest in high-density shelving for the new facility because
         doing so will ultimately be far more cost effective in terms of personnel and
         space required to manage the evidence.

     •   Aggressive efforts should be made to dispose of unneeded bicycles. Bicycles are
         occupying nearly 25 % of the existing Property Room space, and there is no
         conceivable evidentiary need to retain the overwhelming majority of the bicycles.

I.       Facilities Used for Crime Lab Evidence

         A.      The Property Room

       The Property Room is operated under the Property and Supply Division of HPD
and is located at 1103 Goliad Street. It is comprised of two main areas. One area houses
central receiving; the evidence tracking system; the administrative area; file storage; a
vault for high value evidence; and property storage areas for firearms, knives, digital
equipment, and small item evidence. Although this area is air-conditioned, it remains
susceptible to high heat and humidity. The second, and much larger, component of the
Property Room consists of a large, single-floor warehouse and an annexed three-story
warehouse, known as the Volker Building.

       The existing Property Room facility has two well-recognized, major deficiencies:
(1) inadequate storage space and (2) lack of humidity and temperature control. In


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addition, the facility has had major ongoing maintenance problems over the last 15
years, which have included roof leaks, faulty electrical wiring and lighting, inoperable
elevators, asbestos concerns, and the need for new windows and doors.

       The deficiencies described above are well recognized. We understand that the
City has allocated funds to improve conditions in the existing Property Room.
Preparations have begun for construction of a new Property Room at 1202 Washington
Avenue, which HPD representatives say will be "state-of -the-art."398 Construction of
the new Property Room is currently scheduled to begin during the summer of 2007 and
to be completed in December 2008.

        B.       Central Evidence Receiving

       CER is located on the 25th floor of HPD headquarters, located at 1200 Travis
Street. It is a section operated by the Crime Lab, and its primary function is to receive
all controlled substance evidence. CER consists of three distinct rooms, which are all
protected by cipher locks to restrict access. The first room is the administrative area,
where evidence is received, administrative files are stored, and evidence awaiting
assignment to a Crime Lab analyst is held. Next to the administrative area is the "bulky
room," which, as the name implies, is where large pieces of evidence that have been
seized are stored pending determinations regarding the type and amount of evidence
that will be analyzed or destroyed. The bulky room is also used by analysts to perform
examinations on these large pieces of evidence.

        CER also contains a room with a long-term storage evidence vault. Numerous
rows of shelving contain very large quantities of controlled substance evidence, and the
floor is sometimes piled high with containers of evidence awaiting destruction or
assignment to a particular storage spot. Much of the evidence in this room is awaiting
destruction, but, because of the cumbersome destruction process established by HPD,
Harris County, and the State of Texas, the room is overloaded and difficult to manage.

       Evidence scheduled for destruction is also stored in another room adjacent to the
bulky room. Access to the bulky room is limited to the CER supervisor, the Crime Lab
director, and the Controlled Substances Section manager. The space allocated to the
important function of transferring and storing evidence lacks adequate ventilation. It
also lacks adequate storage space for bulky evidence and evidence being held for
presentation in court or for destruction.


398     The City's 2007-2011 Capital Improvement Plan states that $12.75 million have been earmarked
        for construction of the new Property Room.




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II .    Past and Current Issues Relating to the Property Room

        A.       Project 280
       Beginning in the early 1980s, the Property Room allowed various divisions of
HPD, including the Crime Lab, to store items on the third floor of the Volker Building.
The items stored on the third floor were considered to be under the control of the
divisions that deposited the items and were not tagged or inventoried by the Property
Room. Crime Lab evidence was stored in envelopes and boxes placed inside larger
boxes, which were stacked against a wall under several windows. Some boxes and
evidence were damaged by rodents or by rainwater that leaked through the windows
and roof .

        In early 2000, the Property Room began to run out of space to store evidence in
its custody, and divisions storing property on the third floor of the Volker Building
were asked to remove their items. Crime Lab personnel placed the contents of the
damaged boxes of evidence in 283 new, large cardboard boxes. Each of the 283 boxes
contained multiple pieces of evidence from multiple cases, and some contained
evidence from as many as 100 cases. The evidence dated from the 1960s to the early
1990s.

        According to an internal review performed by HPD, Crime Lab personnel tagged
the boxes to transfer custody to the Property Room. They identified each box by an
incident number that related to only one of the many items of evidence contained in
each box, which misleadingly suggested that each box contained evidence relating to
only a single case. In fact, each box contained evidence related to many cases. At some
point, two of the 283 boxes were checked out of the Property Room by Crime Lab
personnel. The pieces of evidence contained in those two boxes were tagged as
individual pieces of evidence and checked back into the Property Room. Thus, those
two boxes were no longer part of the original 283-box collection.

       On September 21, 2000, the Property Room received a routine destruction order
to dispose of certain evidence. Coincidentally, the destruction order related to an
incident number that happened to be listed on the outside of one of the 283 boxes.
Because the Property Room personnel believed, based on the box's label, that the box
contained evidence related only to the one incident identified in the destruction order,
they destroyed all of the box's contents. It was later determined that this box contained
evidence from 33 cases in addition to the one case identified on the box label.

       In November 2003, the remaining 280 boxes were moved from the Property
Room to a section of the 24th floor of HPD headquarters to protect the evidence from
further degradation. On August 1, 2004, the Inspections Division began cataloguing



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and tagging the evidence contained in these remaining boxes. Approximately 8,000
individual evidentiary items were identified in the boxes.

        B.       Current Issues

                 1.     HPD Identifies Twenty-One Missing Firearms

        On April 25, 2007, HPD officials announced that a total of 21 weapons had been
identified as missing from the Property Room. Two of those weapons were recovered
from suspects who have since been charged with unlawful weapons possession. The
loss of the weapons from the Property Room is the subject of an ongoing IAD
investigation.

       The first weapon identified as missing from the Property Room was identified
through a 2005 Evidentiary Property Reconciliation audit. (This is identified as an
"annual" audit, but no audit of 2001 inventory was performed and a three-year gap in
the auditing process occurred between 2002 and 2005.399) The most recent audit (which
covered inventory submitted during 2005, but was performed in the fall of 2006)
revealed that a 9 mm semi-automatic pistol was missing from the Property Room; a
follow-up audit identified another missing weapon. HPD officials advised us that the
IAD investigation that ensued resulted in a complete audit of the entire Property Room
firearms inventory and the identification of an additional 19 missing weapons. Two
civilian Property Room supervisors have been relieved of duty while the IAD
investigation continues.

                 2.     Current Evidence Handling Operations

       Our review of current evidence handling operations was designed to identify
issues that affect the ability of the Crime Lab to provide timely, accurate information.
We, therefore, evaluated the flow of evidence from the time of collection to disposition
to identify factors that may affect the Crime Lab's effectiveness, as well as possible
solutions to those issues.

                        a.      Evidence Submission

       All trace, biology, and firearms evidence is sent directly to the Property Room
unless an HPD officer makes a direct submission to the Crime Lab. Controlled
substances and toxicology cases are submitted to CER. Occasionally, buccal and other

399     We received copies of audit reports relating to evidence submitted to the Property Room in 1998,
        1999, 2000, 2002, and 2005. In those reports, the Inspections Division reported that 100 % of the
        items sought by the auditing team were retrieved during the 1998-2000 and 2002 audits.




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swabs are also submitted to CER. Evidence is usually submitted to the Property Room
and CER in one of either two ways: (1) an officer brings evidence directly to the
appropriate facility or (2) evidence is stored in secure lockboxes at several different
HPD locations and later transported to the appropriate facility.

                 3.   The Property Room

       All evidence that is not toxicology or controlled substances evidence is supposed
to be submitted to the Property Room. However, there are no clearly written policies
regarding the submission of certain categories of evidence (like questioned documents
and firearms evidence), and investigators report confusion and uncertainty about
proper evidence submission processes, particularly among patrol officers.

        In practice, questioned documents are submitted directly to the examiner, and, as
a result, the Property Room never has any record of the submission of questioned
documents evidence. The questioned documents examiner accepts property from a
variety of sources and often processes the evidence in the presence of the submitting
officer. The examiner occasionally retains the evidence for a brief period and then
returns it to the submitting officer, who may store the evidence in the case file. We also
learned that individual investigators sometimes store video and audio tapes with their
investigative case files. These items should be submitted, tracked, and stored in the
Property Room consistent with other types of evidence.
                 4.   Central Evidence Receiving

       We observed the evidence submission process at CER and noted the following
deficiencies:

    •   improper seals on evidence envelopes;

    •   evidence envelopes that were not accompanied by submission forms;

    •   evidence envelopes that were blank (but accompanied by completed submission
        forms); and

    •   a lockbox inventory that did not list the entire inventory actually contained in the
        lockbox.

       All of the above deficiencies require the CER technician to make appropriate
changes to paperwork and evidence seals and to document those changes. CER
personnel report that between 20 to 40 % of the evidence it receives is improperly sealed
or accompanied by incomplete paperwork. Because errors are corrected by CER
technicians, officers responsible for the deficiencies do not receive corrective feedback.


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        C.       Evidence Storage and Tracking Issues

                 1.     Storage of Biological Evidence

       Storage of biological evidence has been an ongoing problem for the Property
Room. The primary issue is the lack of sufficient temperature-controlled space for
storing such materials. Before 1998, the Property Room stored sexual assault kits and
other body fluid evidence in a freezer for a period of 18 months. After 18 months, the
evidence was moved to air-conditioned areas in the Property Room for long-term
storage. By 1998, the Property Room was running out of space in the freezers as well as
in the air-conditioned storage area. In March 1998, the former head of the Property
Room, Ron Cobb, asked Mr. Bolding if it was necessary to provide air-conditioned
storage for this evidence after the initial 18-month period of storage in the freezer. In a
March 18, 1998 memorandum to the Captain of HPD's Homicide Division, Mr. Cobb
relayed the response he had received from Mr. Bolding:

        [T]here is NO need to provide air-conditioned storage for any type of
        body fluid evidence after the original freezer period of 18 months.
        [Mr. Bolding] related that he has taken evidence that was stored on the
        third floor of this building (which reaches extremely high temperatures in
        the summer), and has achieved successful DNA testing. [Emphasis in
        original.]

        On April 1, 1998, in reliance on the information received from Mr. Bolding,
Property Room personnel began relocating sexual assault kits and other biological
evidence to general property storage areas, which are not air-conditioned and,
therefore, are subject to high humidity and temperatures. Although it is true that it is
not necessary to freeze biological evidence (for example, bloodstained fabric), such
evidence is much more likely to degrade in a high humidity, high temperature
environment. This practice, therefore, raises serious concerns about HPD's current
practices for storing biological evidence.400 Additionally, CSU personnel report that
instructions received from the Crime Lab and the Property Room regarding the freezing
or refrigeration of biological evidence have caused some confusion; hence, these policies
should be more clearly communicated.




400     For example, in May 2004, water caused damage to 10 to 12 boxes of evidence due to a roof leak.
        Nine of these boxes contained clothing with possible biological evidence. The wet clothing was
        removed and hung to dry before being checked back into the Property Room.




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                 2.     Storage in CER
        Evidence that fits into evidence envelopes is stored in CER based on the order of
its laboratory number. Larger items are stored in other sections of the CER vault on a
space available basis. As is discussed in greater detail below, locating some of these
larger items is frequently difficult and depends largely on the institutional memory of
the searcher. High turnover rates among CER clerks, attributed mostly to low salaries,
contribute to the difficulty of retrieving this type of evidence.

       Bulk evidence that is being analyzed or awaiting analysis remains in the "bulky
room ." Only CER personnel, the Crime Lab director, and the Chemistry Section
supervisor have unrestricted access to the room. If a chemist needs access to bulky
evidence, one of the individuals identified above must be present and remain in the
room until the chemist has completed her work.

       Finally, we found that controlled substance evidence is stored in CER for
extended periods awaiting destruction orders. This results in severely limited storage
space.

                 3.     Storage of Firearms Evidence

        According to the Latta Report, the Property Room had a total firearms inventory
of more than 21,000 weapons at the end of 2006. Evidence, including weapons, from
approximately 3,000 firearms cases is stored in the Crime Lab's firearms vault rather
than in the Property Room. Some of the evidence in the firearms vault dates back to
1998 cases. At the time of this review, there was no position funded for a firearms
evidence technician, so a firearms examiner in training is responsible for moving the
evidence between the Property Room and the Firearms Section of the Crime Lab. As a
result, it has been approximately two years since examined firearms evidence was
transferred to the Property Room.

       At the time of our interviews with Firearms Section personnel, we were told that
the contents of the firearms vault had never been inventoried. HPD advised us that it
conducted a complete inventory and reconciliation of weapons stored in the Property
Room after the October and November 2006 discovery that two guns were missing from
the Property Room.401




401     The missing firearms were stored by the Property Room, not in the Firearms Section's vault.




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        D.       Evidence Tracking and Chain of Custody

                 1.    Records Management Systems

       Under existing protocols, evidence collected by HPD personnel can be found in
the Property Room, the Crime Lab, the District Attorney's Office, the Harris County
District Court clerk's office, or the Sheriff's property room. Investigators reported to us
that locating evidence is a major problem because of poor tracking systems. HPD's
central OLO reporting system, which was implemented in the mid-1980s, does not
contain an evidence-tracking program, and there is no interoperability between OLO
and a bar-coded evidence tracking system (described below) that was adopted by the
Property Room. By comparison, many laboratory information management systems
("LIMS") designed for the forensic laboratory setting also have evidence tracking
functionality.

       We understand that HPD is preparing to upgrade its records management
systems and that the possible acquisition of a LIMS for the Crime Lab is under
consideration. We were previously advised that HPD expected to have an improved
electronic evidence tracking system, known as EMAPS, on line by the fall of 2005. In a
December 2006 follow-up interview, we were told that the EMAPS vendor went out of
business and that, accordingly, this program will not be implemented. A radio
frequency identification ("RFID") evidence tracking system is reportedly now under
consideration.

                 2.    The Property Room

       The Property Room first began using a computerized evidence tracking system
and bar-coded evidence tags in the late 1980s or early 1990s. The bar code system is
used to track the location of evidence inside and outside of the Property Room. This
system is obsolete and requires a significant amount of paperwork. One bar code is
attached to the HPD's Property and Evidence form, and a different bar code is attached
to the corresponding evidence. Therefore, the bar-coded number on the paperwork is
not the same as the bar-coded number on the associated item of evidence. Moreover,
the bar-coding system currently used by the Property Room uses an alpha-numeric
system that does not permit a logical, sequential process for storing evidence. 402



402     For example, a Property Room form could be given a bar code with the alpha-numeric code
        G3P7, while the bar code placed on the corresponding piece of evidence would have an
        alpha-numeric code such as G3P9.




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       The Property Room also uses a number of cumbersome and archaic forms to
track chain of custody. These forms increase the chance of errors and the risk of
misplaced evidence. When evidence is transferred to an analyst, the chain of custody
form travels with it, and no record of the transfer is retained by the Property Room.

       Another chain of custody issue arises when CSU investigators deliver a large
number of items to the Property Room . Because of other time demands, it is sometimes
not possible for the investigators to wait for a Property Room inventory receipt. As a
result, the original HPD submission form remains with the evidence at the Property
Room, which can result in a break in the chain of custody documentation.

        Investigators reported that current Property Room procedures do not allow the
removal of a single piece of evidence when multiple pieces of evidence have been
submitted in one sealed container. We also understand that Property Room clerks
follow different procedures regarding the handling, submission, and retrieval of
evidence. For example, some clerks place bar codes on individual items, while others
only put a bar code the outer container. When the latter occurs, investigators are forced
to retrieve the entire container, rather than an individual item. As a result, investigators
occasionally retain the unneeded evidence in unsecured locations, including desks and
cabinets that are not designed for evidence storage.

                 3.    Central Evidence Receiving

       Only one copy of the evidence submission form is forwarded to CER when
evidence is submitted. When evidence is transferred to an analyst, the evidence
submission form travels with the evidence. (This is also true in the Property Room.) As
a result, the provider of evidence has no record to demonstrate that the transfer
occurred if evidence is missing.

        E.       Evidence Retrieval

                 1.    The Property Room

       Crime Lab personnel have reported delays in the retrieval of various pieces of
evidence from the Property Room. Managers and investigators also report difficulty
locating specific evidence for examination or trial or in response to defense motions to
produce evidence. We have been told that, in some cases, efforts to retrieve evidence
are futile.

       Paper bags, boxes, and a variety of other containers are used to store most pieces
of evidence, which, among other things, make retrieval more difficult because the
evidence is difficult to see without breaking the seal and removing the evidence from
the container. Removing the evidence creates unnecessary risks that can be avoided by


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submitting evidence in transparent plastic evidence bags. For example, evidence can be
lost or stolen, create a hazard, or become contaminated when removed from its
container. Many law enforcement agencies use breathable clear plastic bags or
envelopes to improve the ability to observe and retrieve evidence.
                 2.   Retrieval for Laboratory Analysis

       When material located in the Property Room must be retrieved for analysis by
the Crime Lab, the investigator prepares an OLO supplement requesting analysis and
sends it to one of two designated printers in the Lab. The printers are checked daily by
analysts and the Crime Lab Case Manager. The Case Manager checks to see if a lab
number has been assigned to the case. If not, the Case Manager sends a request to CER
for the assignment of a lab number and preparation of a lab folder. Once this is
completed, CER delivers the new folder (with the newly created lab number) to the
Crime Lab.

        The Crime Lab Case Manager retrieves the prepared folder and delivers it to an
analyst or inventory management clerk. The inventory management clerk prepares a
"Temporary Release of Property Receipt" and "Chain of Custody" form . She faxes a list
of evidence she intends to retrieve to the Property Room, as well as a list of evidence
she expects to return before going to the Property Room . The inventory management
clerk then retrieves the evidence from the Property Room and transfers its custody to a
Crime Lab analyst. Investigators requesting evidence examination do not receive any
acknowledgment that their request has been received, nor are they notified when the
Crime Lab has completed its report.

       To test the evidence retrieval system, we asked property clerks to locate evidence
from 20 homicide and 27 sexual assault cases. Evidence from the 20 homicide cases,
which included many different types of forensic evidence, was all found within five
minutes of our request. Most of the evidence from the sexual assault cases was also
readily located. However, five sexual assault kits took 90 minutes to locate because
they had been transferred to the Crime Lab, had been returned to the Property Room,
and then were stored in a temporary storage area pending transfer to the Travis Street
Property Room location.
                 3.   Central Evidence Receiving

       CER personnel have created a computerized Access database that provides very
limited assistance in locating controlled substances evidence analyzed by the Crime
Lab. The Access database contains case assignment information and is networked
between CER and the Crime Lab on the 26th floor of HPD headquarters. If analysis of
evidence is a priority, a supervisor is notified, and he assigns the case to an analyst.



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Otherwise, CER personnel assign the cases; the case assignment is entered first into a
CER logbook and then into the Access database. When evidence from CER cannot be
located using Access, the alternative methods for hunting down the evidence are
tedious and cumbersome. It must be emphasized that Roger Capan, the CER
supervisor, has done an excellent job managing this process, despite antiquated
programs and lack of personnel.
       We found that storage and retrieval of controlled substances evidence for Crime
Lab analysis is extremely difficult because of understaffing and inadequate storage and
workspace. Large evidence seizures and evidence awaiting destruction or filing are
stored in the aisles and work areas in the CER complex. The clutter and crowding of
the workspace make retrieval and filing of evidence more difficult.

        F.       Audits of Inventory and Destruction of Property

                 1.    The Property Room
        HPD performed annual audits of samples of evidence inventoried in the
Property Room during 1998, 1999, 2000, and 2002, and all selected evidence was
reportedly located in those audits. For reasons that have not been adequately explained
to us, a more than three-year gap in Property Room auditing occurred between the
audit of 2002 inventory (the audit was completed and reported in January 2004) and the
most recent audit (which was reported in March 2007). Shortly before HPD disclosed
that 21 weapons were known to have been missing from the Property Room, we were
told by the now-suspended Property Room manager that theft and misplaced evidence
were not serious problems in the Property Room.

        We were told that a full inventory of evidence in the Property Room has never
been performed, partly because of limited staffing and partly because there is simply
insufficient space for the enormous amount of evidence-shuffling and sorting required
to perform such an audit. Limited staffing also has prevented the Property Room from
developing an efficient evidence disposal program. Timely destruction of property is a
critical element of efficient property room management, as is the proper management of
records.

                 2.    Central Evidence Receiving

       As is true in the Property Room, a complete inventory and reconciliation of
evidence in CER has never been conducted. There is currently no routine accounting of
controlled substances evidence through annual auditing. Because a review and




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assessment of CER physical security was conducted by Evidence Control Systems,403
our investigative team did not evaluate this issue. However, a substantial quantity of
controlled substance evidence is stored in the CER area, and additional physical
security measures merit serious consideration.

        G.       Standard Operating Procedures

       The Property Room lacks a comprehensive, updated set of SOPs. Instead,
procedures governing Property Room operations are contained in various memoranda
that lack revision dates, and some of the written procedures that do exist do not reflect
current practices. Procedures that are in place are not clearly understood by all
employees, and inconsistent practices cause significant confusion and frustration
among law enforcement personnel who are submitting or retrieving evidence.
       Understaffing at the Property Room prevents existing personnel from
developing and updating SOPs, and the implementation of an ideal online SOPs
resource that could be available to all HPD investigators and Property Room personnel
simply is not feasible at the current staffing levels. Moreover, Property Room personnel
require basic and refresher training on proper evidence handling procedures, but there
are currently no funds budgeted for such training or for memberships in professional
organizations.

       We were informed that a "Property and Evidence Committee" has been in place
for a number of years and was expected to complete revisions to the Property / Evidence
Control Regulations in December 2006. Committee members include most of the
stakeholders involved in evidence and property issues.

        H.       Recommendations

      The primary purpose of our review of CER and the Property Room was to
understand evidence handling issues that have the potential to affect the integrity of
evidence or otherwise undermine the effectiveness of the Crime Lab. Many of the
recommendations provided below have global application and are, therefore, equally
relevant to other uses of evidence.




403     Evidence Control Systems, Inc. is the consulting firm retained by HPD to evaluate the Property
        Room. Joseph Latta is the President of Evidence Control Systems and the author of the Latta
        Report.




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       Additionally, we reiterate our strong recommendation that HPD and the City
give careful consideration to the advice contained in the Latta Report, particularly the
points summarized above.

                 1.   Global Evidence-Related Recommendations

      We have the following global recommendations regarding HPD's collection,
packaging, and storage of evidence.

    •   HPD should develop standard evidence procedures specifically for all types of
        forensic evidence and require that evidence be submitted to one central location,
        rather than to the several units that are currently used (including the Property
        Room, CER, the Firearms Section, and the Questioned Document Section).

    •   All long-term storage of forensic evidence should occur in one location, rather
        than the multiple locations currently used in the Harris County criminal justice
        system.

    •   A new evidence tracking system must be implemented that includes complete
        seamless integration with all of the existing evidence tracking systems. The
        software vendor (s) and HPD management should be held accountable for the
        creation and implementation of a new evidence tracking system that integrates
        all evidence in the Property Room and CER into a user-friendly, numerically
        sequential program.

    •   Until improved evidence tracking software is installed, a multi-part chain of
        custody form or a photocopy receipt should be used so that chain of custody
        documentation of the evidence transfer remains with the section or unit that
        transferred the evidence, as well as with the entity to which it has been
        transferred.

    •   Many law enforcement agencies currently use transparent, breathable evidence
        bags. We recommend that these should be provided to all HPD personnel that
        collect, submit, examine, or handle evidentiary items. A variety of bag sizes and
        types are available, and they can accommodate large and small items, as well as
        long firearms and biological evidence. Bags can be purchased without labels or
        with evidence labels permanently affixed.

    •   HPD should emphasize the proper collection, packaging, and submission of all
                                  —
        types of forensic evidence including biological evidence and suspected
                                       —
        controlled substances evidence during in-service training. Investigative and
        patrol supervisors should ensure that officers in their command follow proper
        procedures and practices related to the collection and handling of evidence.


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    •   In order to reduce the unnecessary retention of evidence in resolved cases,
        investigative supervisors should be required to provide a detailed justification in
        response to requests from the Property Room seeking authorization to destroy
        evidence if the determination is that the evidence should be retained.

    •   We understand that the limitations of OLO are well recognized and that efforts
        to implement a new records management system ("RMS") are under
        consideration at HPD. We strongly suggest that the following features be
        included in any RMS adopted by HPD:

        o The RMS should work effectively with any evidence-tracking and LIMS
             adopted by the Property Room and the Crime Lab.

        o The RMS should accommodate identification numbering systems used by
          other agencies in the Harris County criminal justice system . For example,
          case information should be retrievable using any one of the various
             identification numbers assigned by different agencies or HPD divisions to the
             same matter.

        o An acknowledgement of receipt should be generated whenever an
          investigator's request for examination of evidence is sent to the Crime Lab.

        o Investigators who have requested examination of evidence by the Crime Lab
             should be notified automatically when results of the analysis are available.

                 2.    Central Evidence Receiving

        We have the following recommendations intended specifically for CER.

    •   Because 20 to 40 % of the cases submitted to CER are reportedly improperly
        sealed or marked, officers who make direct submissions should be provided a
        work area with supplies where they can remedy the deficiencies. When evidence
        deposited in lockboxes has been handled or submitted improperly, the
        submitting officers' supervisor should be notified of the deficiencies so that the
        errors can be corrected and the responsible officers provided remedial training
        regarding the proper collection and submission of evidence. Finally, CER should
        review current departmental guidelines for relevance and provide training to
        officers on evidence submission procedures.

    •   HPD should create a career ladder for CER by implementing senior inventory
        clerk or evidence technician positions to address the high turnover in this unit,
        which contributes to the inefficiency of the transfer, storage, and disposal of



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        evidence. Current pay levels are inadequate for personnel who are given a great
        deal of responsibility for handling and accounting for evidence.

    •   Staffing in CER is inadequate, and all vacant positions (one supervisor and four
        clerk positions) should be filled immediately.

    •   CER and HPD should review existing evidence destruction procedures to
        identify ways to reduce the time evidence is stored at CER after adjudication.

    •   A complete inventory and reconciliation should be conducted immediately in
        CER, and periodic audits should occur on a regular basis in the future.

    •   We strongly recommend improved physical security measures in CER.
                 3.     The Property Room
       We have the following recommendations related to evidence tracking and
storage by the Property Room.

    •   The Property Room should conduct an inventory and reconciliation
        immediately. Permanent staff should be hired to coordinate a complete annual
        inventory and reconciliation, as well as ongoing periodic audits.

    •   To develop an efficient evidence disposal program, HPD should increase
        Property Room staffing to include one supervisor and two clerks whose sole
        responsibility is evidence destruction. Timely destruction of property is a critical
        element of efficient property room management, as is the proper management of
        records.

    •   Because Property Room procedures are inconsistent and not clearly understood,
        managers must develop written policies and procedures for all property room
        operations. These policies and procedures must be understood by all employees
        and implemented in a uniform and consistent manner. HPD should authorize
        the hiring of one administrative manager to develop and update Property Room
        SOPs describing property room operations and proper procedures for submitting
        evidence to the Property Room. These SOPs should be available online so that
        all officers, investigators, and other HPD employees responsible for handling
        evidence can have easy access to the SOPs.

    •   HPD should allocate funding to provide Property Room personnel with basic
        and refresher training on proper evidence handling procedures. HPD should
        also provide funding for membership in appropriate property room trade
        associations.


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    •   The Property Room storage facility is sorely in need of replacement with a
        modern, secure, climate-controlled warehouse large enough to accommodate all
        HPD evidence, to include forensic evidence, with room for expansion. HPD
        should vigorously pursue its plans to design and build an appropriate storage
        facility that can accommodate all property and evidence currently in HPD
        custody. The new facility should be large enough to accommodate all forensic
        evidence (controlled substance, biological, firearms, questioned documents,
        fingerprint) and non-forensic evidence and property. The design should include
        enough expansion space to satisfy HPD needs until 2027.

    •   Video and audio tapes that are currently stored in case files should be stored
        (under appropriate temperature and humidity conditions) as evidence in the
        Property Room.
                 4.   Recommendations for the Crime Lab

      The following recommendations are for the Crime Lab regarding forensic
evidence collection, handling, and storage:

    •   The Crime Lab should be interacting more with investigators and patrol officers
        regarding evidence collection techniques, as well as successes or failures relating
        to evidence handling issues. Crime Lab personnel should be directly involved in
        the training of CSU investigators.

    •   The Firearms Section should develop policies and procedures governing the
        submission of all types of firearms evidence.

    •   HPD should hire an inventory management clerk to transport all firearms
        evidence between the Property Room and the Firearms Section, and the large
        amount of firearms evidence that is currently held in the Section vault should be
        moved to the Property Room. The current practice of using an examiner to
        transport evidence is an inefficient use of resources and has resulted in the
        accumulation of a large amount of evidence in the Firearms Section.

    •   The Crime Lab should consider having all questioned document evidence
        submitted to the Property Room in a manner consistent with other property
        submission requirements for laboratory evidence.

The Crime Lab and Property Room should work together to communicate (and
develop, if necessary) consistent policies and procedures regarding the storage of
biological evidence.




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Conclusion
        More than four years ago, HPD was shaken by a series of devastating disclosures
focusing primarily, but not exclusively, on the Crime Lab's DNA work. After re-testing
by outside laboratories confirmed in March 2003 that DNA analysis performed by the
Crime Lab played a central role in the wrongful conviction of Josiah Sutton, the
potential implications of the Crime Lab's problems became real. The people of Houston
and many of the City's public officials quite appropriately questioned how many
wrongful convictions may have been obtained based on flawed forensic evidence and
its presentation to Harris County juries. The City and HPD commissioned this
independent investigation, in part, to answer the profound and important questions
about the depth and breadth of the problems infecting the Crime Lab and to identify the
scientific and management failures that contributed to the state in which the Lab found
itself by late 2002.

       This report reflects an exhaustive effort to examine the full range of issues
implicated by the Crime Lab's profound problems that began to be exposed in late 2002
and early 2003. We found that the Crime Lab was starved for resources for the better
part of two decades, starting no later than the early 1980s. HPD criminalists were
underpaid, poorly trained, and worked in conditions that included, among other things,
a leaky roof that HPD did not repair for years, thus allowing rainwater to pour into the
Crime Lab. The DNA Section lacked competent supervision and technical guidance,
and analysts who had worked in the Section for years were seemingly oblivious to how
far their analytical procedures and reporting conventions departed from generally
accepted forensic science principles. Under these circumstances, the risk that casework
performed by the Crime Lab, particularly by the DNA Section, would lead to
miscarriages of justice was unacceptably high. We have described the far-reaching
consequences of such failures in the deeply flawed work performed in serology and
DNA and the fact that questions generated by that flawed work continue to exist in
scores of cases years and, in some cases, decades after the work was performed.

       If the initial response was halting and uncertain, the City and HPD have in the
past three years demonstrated a commitment to uncovering the full extent of the Crime
Lab's historical problems and to taking the necessary remedial steps to make the
improvements that the Lab so desperately needed. Over the past several years, the City
                                                              —
and HPD have invested heavily -- in resources and attention in salvaging and
rebuilding the Crime Lab. Funding for the Crime Lab has more than doubled; HPD has
significantly increased analysts' salaries, thus significantly improving the Lab's ability
to recruit and retain analysts; the Lab has recruited new managers who are competent
and take their responsibilities as supervisors and managers seriously; analysts undergo
rigorous formal internal training and attend outside training programs; and the Lab has


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implemented a credible quality assurance program. Finally, the Crime Lab has been
accredited by ASCLD/ LAB, an accomplishment that would have been unthinkable and
unattainable for the old Lab.
        Under its current leadership, foe Crime Lab has steadily moved in foe right
                                              .
direction over foe past three and a half years Our review of its current operations
clearly demonstrates that foe Crime Lab now bears little resemblance to foe
substantially dysfunctional institution that reached its nadir in foe late 1990s and early
2000s. Our detailed recommendations are intended to help foe Crime Lab improve
further. As reflected by our observations and recommendations, there are challenges
ahead for foe Crime Lab and, in some areas, room for continued improvement. We
offer these recommendations in the hope that they will be followed and that they will
have a lasting and positive effect on foe quality of the forensic science practiced at HPD.
       Our most significant concern is that foe increased funding and attention that has
been mitral to foe Crime Lab's recovery so far may be transitory. After the current
spotlight on foe Lab's push toward accreditation and on foe results of this investigation
fades in foe near future, foe City and HPD must sustain foe effort and monitoring that
are necessary to ensure that foe Crime Lab remains able to perform consistently
competent and reliable forensic science analysis. HPD and the City have seen all too
clearly the dire consequences for foe accuracy, integrity, fairness, and reputation of foe
criminal justice system when flawed scientific evidence is produced in foe Crime Lab,
as was foe case in the Serology and DNA Sections for many years. Having seen foe
      -                                  -
costs in money, turmoil, and injustice that a flawed Crime Lab can produce, HPD
and foe City must make sure that the needs of die Lab are never again ignored   .


                                                 Michael R. Bromwich
June 13, 2007                                  Independent Investigator
                                     Fried, Frank, Harris, Shriver & Jacobson LLP




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                      Technical Discussion of Serological Techniques
                            Commonly Used by the Crime Lab
        During the 1980s and early 1990s, forensic serology practiced in the Crime Lab in
connection with investigations and prosecutions primarily involved ABO typing. The
field of forensic serology at the time also included the identification of biochemical
genetic markers in blood such as certain enzymes and proteins, but it appears that the
Crime Lab rarely used enzyme testing results to associate or disassociate stains with
particular individuals.1 Although we found logbooks recording the results of
electrophoretic runs associated with enzyme testing and have seen Lab notes and
worksheets in case files reflecting that enzyme testing was performed in certain cases,
Crime Lab serologists rarely reported results obtained through enzyme testing. Thus
far, we have identified almost no cases in which the Crime Lab reported the results of
enzyme testing for use in an investigation or prosecution. Accordingly, this discussion
provides an overview only of certain techniques related to ABO testing commonly used
by serologists in the Crime Lab.
        A.         ABO and Lewis Testing of Known Reference Standards

         Known reference standards are samples of blood and saliva collected from
persons suspected of being associated with evidence stains deposited during criminal
activity. Known reference standards are most commonly collected from suspects in the
form of a tube of blood drawn from the arm and saliva collected by a cotton swabbing
of the lining of the cheek. For example, known reference samples are used to compare a
suspect's genetic characteristics, such as blood type, with the genetic characteristics of
blood or secretion stains recovered from a crime scene in order to develop evidence
                                               —                —
indicating that the suspect is included or excluded as a possible source of the
biological material found at the crime scene.

       Crime laboratories typically subject known blood reference standards to both
ABO testing, in order to determine the suspect's blood type, and "Lewis" testing, which
is helpful to predict or confirm whether the suspect can be expected to be a secretor


        An enzyme is a type of protein that acts as a catalyst for certain specific biochemical reactions.
        Forensic scientists were particularly interested in certain enzymes and other proteins found in
               —
        blood such as PGM (phosphoglucomutase), EAP (erythrocyte acid phosphatase), EsD (esterase
                                           —
        D 1), Hp (haptoglobin), and others because those enzymes and proteins are "polymorphic,"
        meaning they exist in different forms and, therefore, are useful in distinguishing between
        individuals. The various inherited forms of these polymorphic enzymes and proteins are called
        "alleles." The analysis of such enzymes and proteins involves the separation of the alleles
        through a process known as electrophoresis.




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whose ABO type can be detected in body fluid secretions such as semen. ABO and
Lewis testing of the known reference blood samples are normally conducted by testing
the antigens on the red blood cells in the reference samples with commercially-available
"antisera."2 This is commonly referred to as "direct" testing because the subject's red
blood cells are tested directly by combining known antibodies to the red blood cells in a
test well and measuring the test result. A positive test result is manifested by
agglutination of the cells caused by the binding of the red blood cell antigens to the
antibodies in the test reagent.3 Such agglutination is clearly observable under low
magnification or with the naked eye, and the absence of clumping indicates the absence
of the antigen being tested. Thus, for example, if agglutination is observed in the test
well containing anti-A antibodies, then the serologist would indicate a positive result
for the presence of type A activity.

       Known reference saliva standards typically are collected from a suspect on sterile
cotton swabs or sterile gauze and allowed to air dry to preserve the sample from mold
or bacterially promoted decomposition. The purpose of the collection of a known
reference saliva standard is to enable the forensic serologist to determine the subject's
ABO secretor status. The method used for testing the dried reference saliva standard is
called ABO absorption inhibition ("AI") and is the same method as that used for testing
ABO factors present in secretion stain evidence found at crime scenes. The AI testing
technique is described briefly below.

        B.       ABO Testing of Bloodstains by Absorption Elution

       Absorption elution (AE) is the generally accepted forensic serology testing
method for determining the ABO factors located in bloodstain evidence recovered from
crime scenes. AE is also considered to be a type of "direct" testing. AE involves testing
the ABO antigens in bloodstains directly by adding commercially-available, known
ABO antibodies to the bloodstained material, permitting the antibodies to bind to the
ABO antigens in the bloodstain, and then eluting those antibodies from the
bloodstains.4 The ABO typing is then performed by adding red blood cells of known
ABO type into test wells containing the eluted ABO antibodies obtained from the


        Anitsera are solutions containing specific antibodies.
        A "reagent" is a substance used in a chemical reaction to examine or produce other substances.
        In the context of ABO testing, for example, it is the solution containing antigens and antibodies
        the reaction of which the scientist is observing in order make a blood type determination.
        The term "elution" refers to the immunological process of freeing (i.e., eluting) bound antibodies
        contained in bloodstain evidence from the bloodstains by applying heat to break the antigen-
        antibody bonds.




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bloodstain and observing the agglutination that signals a positive test result for the
presence of the corresponding ABO antigens.

       Occasionally, blood crusts or evidence items with bloodstains on hard surfaces
are submitted to a crime lab for testing. When that occurs, a serologist transfers the
bloodstain to clean cotton threads by dissolving the bloodstain into a solution and then
allowing the concentrated solution of blood to dry onto the cotton threads. AE can then
be conducted on the cotton threads bearing the transferred bloodstains.5

         C.      ABO Testing of Secretion Stains by Absorption Inhibition

       Absorption inhibition ("AI") is the generally accepted forensic testing method for
determining the ABO factors present in stains related to body fluid secretions such as
semen, saliva, vaginal secretions, perspiration, tears, nasal mucous, or mixtures of these
secretions. The same AI method is also used to test the known reference saliva
standards obtained from a suspect to determine whether he or she is a "secretor" i.e.,
a person whose ABO type is expressed in his or her body fluid secretions. 6
                                                                                                    —
       AI is an "indirect" ABO test method, meaning that the presence of an ABO factor
in a secretion evidence stain is determined by observation of a diminished level or
absence of agglutination in the test solution. 7 Cuttings from secretion stains (such as
from stained underwear, a vaginal swab obtained from a rape kit, or saliva stained
cigarette filter paper) are placed into three separate tubes. A small volume of test

5        Sometimes AE testing of bloodstains was conducted in conjunction with a form of "reverse"
         blood typing called the "Lattes Crust" test, after Leon Lattes who developed this technique.
         Forensic serology laboratories commonly used Lattes testing to obtain ABO typing results from
         scrapings of dried blood crust collected from hard surfaces, such as glass or a weapon (hence the
         term "Lattes Crust" test). The Lattes test, however, is less sensitive than AE. Consequently, more
         bloodstain material must be consumed to conduct a Lattes test than the amount of bloodstain
         material needed for AE. After other genetic marker systems (polymorphic enzymes and
         proteins) became available to forensic serologists in the early- to mid-1970s, the use of Lattes
         testing as an adjunct to AE for ABO typing of bloodstains competed with the other genetic
         markers for the consumption of limited amounts of bloodstain material and generally fell out of
         favor in crime laboratories. AE was sufficiently sensitive and accurate to be relied upon for good
         quality ABO typing of bloodstains without the parallel use of Lattes testing.
6        Bloodstains are not tested by the AI method because, among other things, the concentration of
         ABO factors in bloodstains is significantly less than the concentration of ABO factors found in
         secretion stains. Consequently, the forensic serologists typically use the direct AE method to test
         bloodstains, which is more sensitive than AI.
7        By contrast, presence of a specific ABO factor as a result of a "direct" testing method such as AE
         is indicated by observation of agglutination in a test well.




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reagent containing a pre-determined dilution of the appropriate antibody is added to
each tube to enable the antibody to incubate with the secretion stain. Each tube
contains one of three antibody dilutions -- either anti-A, anti-B, or "anti-O."8

        If the corresponding antigen is present in the questioned stain, the strength of the
antibody remaining in the solution will be diminished as the antibody becomes bound
to the corresponding antigen by forming an antigen-antibody complex. The serologist
then removes the residual antibody solution from each tube and places these residual
solutions on a glass plate or glass slide, which is tested with a freshly prepared
suspension of the corresponding commercially-available, known ABO cells. The three
residual solutions are mixed with known ABO type A cells, type B cells, and type O
cells. Because AI is a form of "reverse" testing, the presence of agglutination in the test
slide for a particular antigen indicates that the corresponding ABO factor is not present
in the secretion stain being tested. For example, the absence of agglutination in the
antibody solution mixed with type A cells indicates the presence of type A activity in
the secretion sample.




        Because there is no common human antibody against ABO type O blood cells, scientists use an
        extract from gorse seeds, Ulex Europeus , to cause type O cells to agglutinate. The seed extract,
        called "lectin," agglutinates the H antigen found on all ABO cells, but the agglutination occurs in
        much higher concentration in the presence of type O cells. Thus, the term "anti-H" seed lectin
        has become synonymous with "anti-O" for purposes of ABO testing.




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           Discussion of DNA Profiling Technology and Techniques
                           Used by the Crime Lab
RFLP Testing

        Testing of restriction fragment length polymorphisms ("RFLPs") involves the
analysis of DNA fragments that are produced by using restriction enzymes, which act
like scissors to cut DNA into fragments at specific locations. These DNA fragments of
different lengths, also known as alleles, are distinguishable from each other in human
populations. Hence, the genetic variation that RFLP identifies is known as "length
polymorphism."1

       Once DNA molecules have been cut into pieces by restriction enzymes, the
resulting fragment lengths are separated through a process known as gel
"electrophoresis."2 During the electrophoretic process, DNA fragments migrate
through gel, with the smaller DNA fragments moving at a faster rate than the larger
DNA fragments. It is the results of this migration process that enable the forensic DNA
analyst to distinguish between fragment sizes of DNA.

       One of the critical steps in the RFLP process that must be performed correctly in
order to generate reliable test results is the loading of DNA samples into the
electrophoretic gel. The DNA analyst must deliver the solution containing DNA
samples into the appropriate hole (or well) located on the gel-coated plate. This is
accomplished by lowering the tip of the pipette containing the DNA sample into the
buffer solution in which the gel is submerged and ejecting the DNA sample above the
well in order to permit the DNA extract to flow into the well. Because each well has a
limited capacity, the DNA analyst must take care not to overfill a well. This precise
process of loading of DNA samples requires training, patience, and skill to avoid
contamination as a result of crossover of the DNA extract into one or more adjacent
wells.

       In order to avoid the potential for such contamination, which might cause a
"false positive" typing result, it is critical that the DNA analyst avoid placing DNA


        Another form of forensic DNA testing that involves the identification of genetic variation
        attributable to length polymorphism is the testing for short tandem repeats ("STRs") of DNA
        markers. By contrast, other types of DNA testing are used to detect differences in individual
        nucleotides or base pairs, rather than DNA fragment length, which is a form of genetic variation
        known as "single-nucleotide polymorphism" or "SNP." PCR-based DQ Alpha and Polymarker
        ("PM") testing, discussed below, are examples of SNPs used in forensic applications.
        Electrophoresis is a technique that separates molecules based on their size and charge.




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extracted from evidence taken from a crime scene in a well immediately adjacent to a
DNA sample extracted from a known reference sample taken from a victim or a
suspect. The generally accepted forensic science practice to reduce the risk of crossover
contamination and the potential for a "false positive" resulting from a mistake in the gel
loading process is for the analyst to leave an empty well between a questioned sample
and a known reference sample. In this way, any adventitious appearance of a DNA
profile in the empty lane (or control lane) between a question sample and the reference
sample will signal that a contamination event has occurred and that the analyst must
take appropriate remedial action.

        Once the electrophoretic process in complete, the DNA analyst then transfers the
separated DNA fragments from the electrophoretic gel to a permeable nylon membrane
through a technique known as "Southern blotting." The DNA fragments are then
chemically bound to the membrane to allow the results of the electrophoretic separation
of the fragments to be visualized through a radioactive or chemiluminescent process.

       To visualize the patterns generated by the electrophoretic process, DNA
fragments bound to the nylon membrane are made radioactive or chemically active
through the use of commercially-available "probes," a process known as
"hybridization."3 The membranes are then placed in close contact with x-ray film ,
which is exposed at very cold temperatures for periods of time ranging from hours to
weeks. The lab analyst then develops the x-ray film in order to reveal the images of the
radioactive or chemically labeled DNA allele fragments. These x-ray film images,
known as "autoradiographs" or "autorads," appear as clear films with dark bands on
them. The DNA analyst determines the size of each band by comparison with known
sizing standards. The size of the evidence fragments is compared to those in the known
reference samples.

       Sometimes the banding patterns can appear too faintly for reliable interpretation
of the RFLP alleles. When that occurs, it is necessary to take steps to try to enhance
those results. Short of retesting the sample again from the beginning and using a larger
volume of sample, a better option is to expose a second film for a longer period of time.
This allows the analyst to call faint bands with higher confidence.4




        These radioactively or chemically labeled probes are fragments of DNA of known molecular
        structure and containing a base sequence complementary to the RFLPs being identified.
        It is important to note that stripping the membrane of probes and re-hybridizing with fresh
        probes eventually will lead to a reduction in the amount of DNA bound to the membrane.




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Early PCR-Based Testing
        The polymerase chain reaction ("PCR") process, developed by Dr. Kerry Mollis
in the mid-1980s, revolutionized molecular biology by providing scientists the means to
replicate (or amplify), very rapidly, incredibly small amounts of DNA up to a
billion-fold. PCR's impact on forensic DNA analysis was particularly significant
because it enabled forensic scientists to perform meaningful testing on evidentiary
samples of DNA that would have been too degraded or too low in quantity. PCR-based
testing also has the advantage of providing much faster turnaround time than RFLP
testing. A forensic DNA laboratory can complete most PCR testing in a matter of
      —
days a significant improvement over the months it could take to complete RFLP
testing.

        One drawback of forensic PCR technology is that it is extremely susceptible to
contamination by extraneous DNA from other sources, including other evidence items,
investigators who collected the evidence, and the forensic DNA analysts themselves.
Although the use of proper standards and controls can most often signal any
contamination events that occur in the laboratory, it still requires proper training,
compliance with strict quality control procedures, and diligence to avoid contamination
during the analysis of forensic DNA testing samples. That is one of the reasons why
strict compliance with proper SOPs, adequate training, close supervision, and
mandatory standards and controls are so critical to achieve accurate and reliable DNA
test results.

        PCR technology is a patented process which is very closely regulated through
licenses from the patent holders. Consequently, virtually all of the test reagent kits used
in crime laboratories are sold by a limited number of vendors who confer the licensing
rights to use PCR for forensic applications with the purchase of the kits. The advantage
is that high quality kits with consistently high performance characteristics are available
to all forensic laboratories throughout the industry. This allows standardization of the
loci, the kits, and the procedures across the entire forensic DNA testing community.

        A.       DQ Alpha

       DQ Alpha (also know as "DQa" and later "DQA1") refers to a gene located in
the human leukocyte antigen ("HLA") complex on the short arm of the sixth
chromosome in humans. In the late 1980s, the AmpliType HLA DQa Forensic DNA
Amplification and Typing Kit was introduced to forensic laboratories. The kit
distinguished six alleles or genetic variants at the DQA1 locus, which defined a total of
21 different genotypes. The kit format was known as "reverse dot blot" that came in the
form of a probe strip containing a series of test dots. The actual DQa typing assay
involves three stages: (1) DNA extraction; (2) DNA amplification through the PCR


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process; and (3) the DNA typing process, which includes de-naturation of the amplified
DQa product, hybridization of the evidentiary and known reference DNA samples to
probe strips, stringent washing of the probe strips in solution, and, finally,
interpretation of the color development appearing in the dots contained on the test
strip.

        Specifically, DNA probes are immobilized onto a nylon typing strip in a pattern
of a series of dots. During the hybridization step of the DQ Alpha typing process,
amplified DQa DNA from the test samples are captured by these probes and retained
on the typing strip. During the stringent washing stage of the process, only those DQa
alleles that are sufficiently well matched to the DNA sequences contained on the probes
will remain attached to the probe strip. The amplified DQa DNA retained on the strip
is then visualized by color development in the dots contained on the DQ Alpha test
strip. The DNA analyst interprets the DQ Alpha test results by reading the pattern of
blue dots on the probe strips in order to determine which DQa alleles are present in the
DNA sample being tested.5

        An important feature of the DQ Alpha typing kit is the control (or " C" ) dot
placed on the probe strip. The C dot serves two functions. First, the C dot indicates
whether adequate amplification and typing of the DQa alleles has been achieved in a
given test. Second, the C dot guides the DNA analyst in the typing of DNA samples
potentially comprised of a mixture of DNA from more than one donor or containing
DQa subtypes not identified by the test strip. The manufacturer of the DQ Alpha
testing kit designed the C dot to be the weakest spot on the strip in terms of
visualization, thereby providing a threshold for the interpretation of the allelic dots on
the DQ Alpha test strip. For example, if, after the washing process, the C dot is not
visible, then no results on the test strip should be interpreted and typed because the
results obtained on the allelic dots are below the threshold for reliable interpretation.
Moreover, the DNA analyst should interpret the dots exhibiting a signal intensity that is
less than the C dot with caution because this might indicate the presence of a mixed
DNA sample, a procedural error such as improper washing, cross-hybridization, or
contamination of the DNA sample.

       In addition, controls such as a reagent blank, a negative DNA control, and a
positive control must be included with each assay of the DQ Alpha test strips. The


        DNA analysts should interpret DQ Alpha results by reading the freshly developed test strip. The
        analyst should also take photographs that are of large enough size and sufficient clarity to be
        examined for subsequent interpretation and maintain such photographs as a permanent part of
        the case file.




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reagent blank is a check for possible contamination of the sample preparation reagents
by other human DNA or by amplified DQa DNA. The reagent blank is performed by
carrying out the DNA extraction in a tube containing no sample or on a sterile substrate
(e.g., a swab or piece of fabric). This reagent blank extract is then amplified and typed
along with the test samples. The negative control is a check for contamination during
the set up of the PCR reaction. If typing signals appear in the negative control, every
effort should be made to locate the possible sources of contamination. Under no
circumstances should the reagent blank control or the negative control show a positive
signal. If these controls happen to show signal, the affected samples must be
interpreted and should be re-tested. Finally, a positive control is provided as part of the
DQ Alpha test kit and should be used with each amplification and hybridization to
demonstrate that the kit is performing properly. If the DQ Alpha type of the positive
control is not correct, the DNA analyst should re-test the affected case samples. The
                                                                           —
DNA analyst should take photographs of all control wet strips i.e., the reagent blank,
                                             —
negative control, and positive control and these photographs should be maintained as
a permanent part of each case file.

        B.       Polymarker
       Following the release of the DQ Alpha typing kit came the development and
release of the AmpliType PM PCR Amplification and Typing Kit, also known as
"Polymarker." The Polymarker test kit allows for the simultaneous amplification of five
specific genetic locations (or "loci"): Low Density Lipoprotein Receptor (LDLR),
Glycophorin A (GYPA), Hemoglobin G Gammaglobin (HBGG ), D7S8, and Group
Specific Component (GC).6 The Polymarker kit contains detection reagents and DNA
probe strips for typing the LDLR, GYPA, HBGG, D7S8, and GC loci by using the same
reverse dot blot format and process as the DQ Alpha test process -- i.e., PCR
amplification, hybridization, washing, visualization, and interpretation.

       Under appropriate hybridization conditions, amplified DNA products
containing the alleles designated on the probe strip will bind specifically to a particular
dot on the Polymarker test strip. The AmpliType PM test system includes a standard
probe dot (the "S" dot) that serves the identical quality control functions as the C dot on
the DQ Alpha typing strips. In reading a Polymarker test strip, a DNA analyst should
not type any of the five loci on the test strip if the S dot is not visible and should
interpret any dots on the test strip that are lighter in color than the S dot with caution.


        These genetic markers, as well DQa, are inherited independently, thus allowing the genotype
        frequencies to be multiphed in order to determine the frequency of occurrence for a particular
        genetic profile in a specific population of humans.




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        C.       D1S80

       The D1S80 locus is found in the non-coding region of the first chromosome.7
Since it was first characterized in 1988, the D1S80 locus has been widely used in forensic
analysis because it shows a very high degree of polymorphism. For example, most
individuals have alleles at the D1S80 locus containing between 14 and 40 tandem
repeats. The observed variability in the combination of alleles ("heterozygosity") at this
locus has been reported to be as high as 87.6 % . Due to the large number of alleles
associated with the D1S80 typing system, it is highly discriminating and is frequently a
more effective system for the analysis of mixed samples than the DQ Alpha or
Polymarker systems.

        A DNA analyst assays the number of tandem repeats possessed by an individual
at the D1S80 locus by running PCR-amplified DNA products through an electrophoretic
process. D1S80 allelic bands are then visualized and photographed. Similar to the
RFLP process, larger fragments of DNA (those containing more tandem repeats) run
slower through the gel and can be observed toward the top of the gel, while smaller
fragments (those containing fewer tandem repeats) run more quickly through the gel.
Sizing ladders are run on the gel to determine the alleles present in each sample. D1S80
alleles are expressed as the number of repeats in each DNA fragment. For example, one
individual might be typed for D1S80 as 18,24 (18 repeats and 24 repeats) and another as
22,31.

STRs

       Today, short tandem repeats ("STRs") are the genetic markers most widely used
by crime laboratories to type biological evidence samples. STR technology is fast,
sensitive, and highly discriminating.

        In principle, STR markers are very similar to the DNA markers used in RFLP and
D1S80 typing: They are DNA fragments composed of a number of DNA units and vary
in size from one person to the next. STR markers are particularly useful in typing
biological samples that are old or degraded because the DNA fragments used in STR
typing are relatively small compared to the DNA fragments analyzed in RFLP or D1S80
testing. STR typing incorporates the use of PCR amplification and, therefore, is very



        More than 30 % of the human genome is largely composed of repeating segments of DNA that
        seem to act as fillers or spacers between the coding regions of DNA on chromosomes. Although
        these repeating segments of DNA do not control any genetic function, they, nevertheless, are an
        inherited component of an individual's genetic makeup.




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sensitive and capable of producing DNA typing results from small amounts of
biological evidence.

       During the PCR amplification process, fluorescent dyes are incorporated into the
DNA fragments. After the PCR process, DNA fragments then are transferred to a gel
matrix and separated by size using electrophoresis. This electrophoretic step can be
conducted on a variety of instruments, such as a DNA sequencer. These instruments
detect the DNA fragments through the use of the fluorescent dyes attached to the DNA
fragments. The advantage of this fluorescent dye detection strategy is that it allows
"multiplexing," which is a technique that simultaneously detects multiple STR loci in a
single analysis. Because multiplexing allows for several STR loci to be analyzed in a
single tube, STR technology is considered a relatively fast method that delivers very
discriminating results.

       As the DNA fragments migrate through the gel matrix and into the instrument's
detection window, the fluorescent tags attached to the fragments give off a signal that is
captured by the instrument as a "peak" detected at a particular point in time in the
analysis process. Through the application of sophisticated software, the instrument is
capable of converting the time the DNA peak was detected into a fragment size and
then into a DNA type. This typing information can be recorded on a printout known as
an "electropherogram." Similar to the results generated by D1S80 testing, allele types
developed through STR analysis typically are expressed as numbers. For example, at
the "D3" STR locus the DNA sample for an individual could be typed as a "16, 18" type.
The analyst then compiles all of the allelic typing information developed at multiple
STR loci to produce a complete STR profile of known reference samples as well as the
evidentiary samples recovered from crime scene.

        Since STR typing is based upon a PCR platform, in order to obtain reliable and
accurate STR results, it is essential that DNA analysts handle all biological samples
appropriately so that the chance of sample mix-up or contamination is minimized . In
part, this means that appropriate positive and negative controls must be used
throughout the STR typing process. DNA analysts must monitor the performance of all
controls to minimize the chance of error and to assess the testing process. In addition to
the positive and negative controls, the analyst should also take advantage of features
that are engineered into the STR reagent kits. For example, when used in conjunction
with each other, the "Profiler Plus" and "COfiler" reagent kits used by the Crime Lab
                                               —
have a built-in redundancy at three loci D3S1358 ("D3"), D7S820 ("D7"), and
amelogenin.8 The presence of these redundant STR loci is a control to detect possible

        The "COfiler" and "Profiler Plus" STR kits are proprietary products of Applied Biosystems.




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sample switches or poor sample quality. If the typing results at the three redundant loci
obtained by both the "Profiler Plus" and "COfiler" kits are not concordant, the analyst
should be alerted to a problem that must be resolved.




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SEROLOGY MATQR ISSUE DEATH PENALTY CASES

Alexander, Guy L89-00956
Anderson, Larry Norman L82-02512 (Executed)
Bunion, Carl L90-06794
Campbell, Robert L91-00532
Crank, Denton Alan L84-00721 (Executed )
Derrick, Mikel James L80-07461 (Executed )
Drinkard, Richard Gerry L85-11525 (Executed)
Goynes, Theodore L90-10660
Jackson, Derrick L88-08130
Mccoy, Stephen L81-00020 & L80-08451 (Executed )
Meanes, James Ronald L81-02975 (Executed )
Motley, Jeffrey Dean L84-08158 (Executed)
Nelson, Marlon L87-08413
Ransom, Kenneth Ray L83-05785 (Executed)
Rhoades, Rick L91-09937
Santana, Carlos L81-02975 (Executed )
Sawyers, John C. L83-01302 (Executed)
Shore, Anthony L92-04687
Simms, Demetrius Lott L91-06681
Smith, Clyde Jr. L92-01604 (Executed )
Smith, James Edward L83-01901 (Executed)
Tennard, Robert James L85-08269
Tucker, Karla Faye L83-05252 (Executed )
Wilkerson, Richard James L83-05785 (Executed )

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Abbs, Kenneth W. L83-01332
Airington, Larry Duane L84-01505 & L84-01904
Aparicio, Jesus L87-06849
Armstrong, Craig Anthony L83-01795
Arnold, Edwin Gene L83-01328
Authorlee, Carlos Miguel L90-06462
Ayarzagoitia, Porfiro L89-04353
Barker, Phillip Newton L85-07735
Barton, Willie L87-02871
Bender, Charles David L83-11411 & L84-01437
Benjamin, Ricky L87-11861
Benthall, Kenneth Neil L82-10620



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Benton, Tommy L90-00855
Berrera, Galvino Perales L88-02504
Bishop, Gregory L90-03002
Block, Gerald Bernard L86-01480
Boyd, David Louis L83-07288
Brashar, Michael Blane L82-05639
Briscoe, Herbert L88-07531
Briscoe, Jamie L88-07531
Brogdon, Ron Lynn L82-10620
Brooks, John Daniel L81-01229
Brooks, Robert Lee Jr. L82-06322
Brooks, Stephen L82-02274 & L82-02606
Brown, James Martin L86-10190
Brown, Kenneth James L81-05350
Brown, Robert L87-02402
Bruno, Howard Joeseph L90-09806
Burdine, Calvin Jerold L83-03407 & L83-03412
Burkett, Harold L89-01678
Burnett, William L89-10654
Camarena, Carlos L88-05490
Campos-Garcia, Jose L91-10133
Carr, Eric L91-04115
Carr, William Marion L82-02863
Carroll, Roosevelt L87-04935
Casey, Charles Lee L83-05986
Casiano, Herman Gomez L85-02149
Castellano, Andy L89-09783
Chatman, Ray L88-00099
Clark, Ira Craig L85-09472
Clark, Tyrandy Dewayne L84-09626
Cloud, Sammy L91-01367 & L91-01586
Coffey, Raymond L86-04475
Coleman, Melvin L81-08410
Coleman, Michael L88-03167, L88-09376, L88-09377, & L88-09378
Coleman, Michael L89-11985 & L89-12260
Collins, Joe C. L84-03065
Cosmi, Traian Daniel L88-05490
Cravey, Michael Gene L85-08909
Culton, Alan Enrique L86-05694 & L86-10642
Davis, Dennis L88-05005
Davis, Ernest Lovell L83-10054



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Davis, Greg Hoppe L84-10080
Delagarza, John Albert L91-06195
Delgado, Anselmo Silva L91-00266
Diaz, Gilbert L83-11490
Doria, Javier L89-02735
Draughon, Martin Allen L86-10824
Dykes, Ricket Lee L84-05919
Eden, Calvin Bernard L83-07211
Eitel, Ronald Dale L82-01958, L82-02037, L82-03681, & L82-03720
Ellis, Eugene (Alias - Thomas, James) L93-00499
Fairlie, Scott L83-00540
Figueroa, Steve Wayne L84-09090
Flores, Frank L82-08263
Francis, Leonard L86-06801
Fuentes, David L90-11823
Gaddy, Kenneth Michael L87-11254
Garcia, Clemente L80-05005
Garcia, Eleazar L80-04725
Garner, Edwin L87-10674
Garrett, Larry Jerome L84-13920
Gelabert, Ana Lucia L84-00100
Gibbs, Marvin Lynn L84-04881
Gillum, William L88-00332
Gilpin, Terry L89-10763
Gilson, Robert Anthony O'shane L81-02737
Gomez, Fermin Diaz L89-09747
Gonzales, Frank L90-09804
Gonzales, Joseph L87-11261
Gonzales, Russell Ray L85-05973 & L85-05308
Goynes, Thedore L89-01224
Grant, John Brandel L84-05838 & L83-09513
Grimes, James L91-10235
Groom, Daniel L85-08269
Guerra, Armand L87-06353
Hairrell, Gordon L86-09235
Hall, Derrick Demieth L83-07514 & L83-07473
Hall, William Arnal L85-11402
Hancock, William L88-02052
Hayward, Victor L90-05973
Helfond, David Scott L83-01796
Hillsman, Larosia Cartez L81-06045



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Hodge, Charles L86-10546
Holmes, Edward L91-03853
Hughes, Preston L85-05420
Ireland, Charles Franklin L88-06846
Jackson, John Henry L85-03232
Jackson, Norman L89-06057
Jackson, Willie Earl Jr L82-01682
Jackson, Willie Gerard L89-05545
Jacobs, Wilbert L84-09119
James, Lonnie L90-01515 & L90-01852
Johnson, Dimitrius L84-09626
Jones, Rory Keith L82-06545, L82-07745, & L82-09034
Kelley, Donald Wayne L92-03494
Knotts, Joseph Alexander L84-11933 & L84-11938
Leblanc, Perry L89-10423
Lewis, Leroy L91-00532
Lewis, Thomas Curtis L84-09330
Luken, Danny Joseph L86-03501
Luna, Jose L90-02094
Luss, Donald L90-03601
Mangis, Troy Wayne L87-02602
Mao, Benjamin L86-06801
Martin, Steve L87-07876
Martinez, Guellermo L90-08288
Matson, John Dee Jr. L85-05301& L85-06750
Maxie, Elaine Ellis L84-10901
Mays, Sammie L89-07713
Mccoy, Stephen L80-08451 & L81-00020
Mcdonald, Rudolph L86-02148
Mcfarland, Terry Lynn L83-08410
Mcgee, Elvis L89-12840
Mckinney, Clifton Andre L81-08897
Medina, Arthur L84-10082
Miller, Eugene L82-06514
Miller, Roy Michael L80-05462
Morales, Manuel L88-01830
More, Don Khan L86-11084
More, Kenneth Bradley L81-02544
Morrison, Bobby L88-00540
Morrison, Charles L89-09453
Morrison, Jamie L91-03853



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Murphy, Christopher L86-04474
Murphy, Donald Lee L84-09330
Napper, Lawrence James L81-02529
Ned, Michael Anthony L86-09236
Norris, Alphonse Jr L85-02557
Nubine, Clyde L84-07757
Offord, Timothy L90-10291
Overstreet, Willie L84-07021
Pacholsky, Charles L89-04795
Paster, James Emery L80-08451 & L81-00020
Patrick, Monte L89-10420
Pena, Armando L84-05198 & L84-05227
Person, Carlton L90-11819
Phillips, Michael L88-02292
Pierce, Danny L L84-03890
Qualls, Roy Anthony L89-07064
Ramirez, Carlos L85-09277, L85-09298, & L85-09229
Randall, James Edward L83-05785
Randall, Paul L80-04956
Reed, Eric Antoine L82-02274 & L82-02606
Richard, Gary Alvin L87-00797
Riser, Dwight L87-07602
Rodriguez, George L87-02120
Rodriquez, Henry L91-06195
Romar, Richard Junior L81-09513 & L81-09566
Ross, Jerry L89-09227
Rylander, Richard L91-12377
Salazar, Roland L90-08015
Salinas, Miguel L90-07636
Samuel, Michael L90-10523
Sanchez, Joe L87-03227
Sanchez, Miguel Angel L84-11057
Segura, Sergio L91-07450
Shultz, Jr. Aubrey Dale L91-01066
Simon, Wendell Earl L85-07162
Simpson, Charles L90-09770
Singleton, Cedric Anthony L84-05758
Smith, Kenyon L91-03853
Sonnier, Earnest Lee L85-12939
Spring, Daniel Livingston L86-00955
Stevenson, Luttrell L80-06114


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Stokes, Forrest L90-05132
Strom, Arling Michael L88-08249
Thibodeaux, Walter Joseph L84-00272
Thomas, Earl L93-04349
Thomas, Richard L89-08983
Thompson, Carlton Eddie L84-11933 & L84-11938
Toliver, August L90-12339
Trevino, Albert L87-11554
Turk, Howard Edward L85-12144
Tyler, Patrick D. L87-00752
Tyler, Patrick Joseph L90-07422
Unknown L88-01139
Unknown L88-04309
Valle, Adam L92-06087
Vargas, Espiridion L89-10583
Vela, Rubin C L82-07400
Walker, Robert L88-02292
Warner, John L89-06435
Warren, Jimmy L91-09146
Washington, Gary Lynn L85-07358
Washington, Janice Faye L85-04673
Weaver, Thomas L91-08957
Williams, Billy L91-06342
Williams, Joanne L90-09703
Williams, Joseph L80-01135
Wilson, Dennis James L85-08795
Wilson, Pete Jr. L91-03245
Wyatt, Clarence L88-00099
Wynn, Barry Lee L85-12152




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Alvarez, Juan Carlos L98-07378
Boudreaux, Raymon L97-00568
Cantrell, Ronald L01-17322
Carter, Harold L94-02461
Davis, Garland L93-10985
Emory, Gregory L96-05918
Garcia, Luis L98-09736
Gonzales, Jose James L93-12489
Guevara, Gilmar L00-08053
Guevara, Luis / Fernandez, Sixto LOO-13216
Harris, Erskin L95-08229
Hayden, Robert L94-01695
House, Dillard L00-02780
Jackson, Derrick L88-08130
Jackson, Reginald L97-12636
James, Leon L94-05670
Johnson, Arthur L97-00479
Lawson, David L96-03366
Lewis, Leroy L91-00532
Lewis, Roger L93-02191
Lopez, Segundo L97-12346
Meza, Alfredo L95-10460
Mingo, Michael L97-13990
Napper, Laurence L01-02205
Nugent, Hermann L93-12224
Parra, Carlos L97-05353
Pineda, Johnny L94-06976
Preston, Terrance L00-01952
Rayson, Carl Lee L96-13604
Samuels, Michael L95-13955
Segura, Carlos / Zavala, Mark L98-11877
Shields, Robert L94-10028
Smith, Charles Leon L84-08387
Southern, Ronnie L95-03891
Sutton, Josiah L98-13476
Valdez, Richard L96-05919
Vanzandt, Lonnie L94-12745
Vaughn, Artice L94-11539


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Ware, Marshall L95-05151
Washington, Dedrick L95-00745
Zelaya, Alberto L95-08103




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                                    ACRONYMS
AE                    absorption elution
AFIS                  Automated Fingerprint Identification System
AFQAM                 Association of Forensic Quality Assurance Managers
AFT                   Bureau of Alcohol, Tobacco, Firearms and Explosives
AI                    absorption inhibition
AP                    acid phosphatase
ASCLD                 American Society of Crime Laboratory Directors
ASCLD / LAB American Society of Crime Laboratory Directors / Laboratory
            Accreditation Board
BAS                   Bloodstain Analysis System
CAP                   College of American Pathologists
CER                   Central Evidence Receiving

City                  The City of Houston, Texas
CODIS                 Combined DNA Index System
CSU                   Crime Scene Unit
DAB                   DNA Advisory Board
DNA                   deoxyribonucleic acid
DPS                   Department of Public Safety
EAP                   erythrocyte acid phosphatase
EsD                   estrase D 1
FBI                   Federal Bureau of Investigation
FPIA                  fluorescence polarization immunoassay
FTIR                  Fourier Transform Infrared



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 Case
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HPD Crime Lab Independent Investigation                                             2

                                                                     Appendix F

GC / MS               gas chromatograph/ mass spectrometer
GHB                   Gamma Hydroxybutyrate
GPS                   global positioning system
GRC                   general rifling characteristic
HLA                   human leukocyte antigen
HP                    haptoglobin
HPD                   Houston Police Department
IAD                   Internal Affairs Division
IBIS                  Integrated Ballistics Imaging System
LIMS                  laboratory information management system
ME's                  Medical Examiner's
MSP                   Michigan State Police
NFSTC                 National Forensic Science Technology Center
OLO                   On-line Offense
PCP                   Phencyclidine
PCR                   polymerase chain reaction
PGM                   phosphoglucomutase
PM                    Polymarker
PwC                   PricewaterhouseCoopers LLP
QA / QC               quality assurance andquality control
RFID                  radio frequency identification
RFLP                  restriction fragment length polymorphism

RFP                   Request for Proposals
rfu                   relative fluorescent units




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HPD Crime Lab Independent Investigation                                              3

                                                                            Appendix F

RMS                   records management system
SANE                  sexual assault nurse examiner
SERI                  Serological Research Institute
SNP                   single-nucleotide polymorphism
SOP                   standard operating procedure
STR                   short tandem repeat
SWAFDE                Southwestern Association of Forensic Document Examiners
TLC                   thin layer chromatography
UCR                   uniform crime reporting




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                 EXHIBIT 62




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                                                   CITY OF HOUSTON                                     Houston Police Department
Annise D. Parker, Mayor                                                         1200 Travis Houston, Texas 77002-6000 713/308-1600
CITY COUNCIL MEMBERS: Helena Brown Jerry Devis EIIBH fl. Cohen Wanda Adapts OavB Martin Al Hoang Oliver Pennington Edward GonzalBz James G. Rodriguez
                                                              .
Mike Lastar Urry V. Green StepbBH C. Costello Andrew C, Burks, Jf M»Ma Noriega C, 0, "Brad" Bradford Jack Christie  CITY CONTROLLER ; Ronald C, Graon




            June 5, 2013                                                               Charles A, McClelland, Jr /§
                                                                                             Chief of Police        LI    K
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            Lester Blizzard , Assistant D.A.
            Harris County District Attorney Office
            Via Fax: (713)755-5915

            Dear Mr, Blizzard:

            Per your request for records related to internal complaints regarding Deetrice Wallace, Joseph
            Chu, and D.R. Sharma, please find enclosed the Employee Complaint History for the subject
                             .
            employees .[i e. 3X5] The documents generally list the complaints which have been lodged
            against the employee and investigated by the department’s Internal Affairs Division. The
            documents also provide the final disposition. Please advise if you need further information or
            documents related to the complaints listed for each employee. Please feel free to contact me
            with any questions you may have regarding this matter.



                                                                                          Sincerely,




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                                                                                          Tuan A. NguyeA /
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             EXHIBIT 62 Page 001
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                                           HOUSTON POLICE DEPARTMENT
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                                            Report Date & Time:    06/06 /2013 8:37:33 AM
       Employee   Name: WALLACE, DEETRICE M                                                   Employee Number ; 94715
       Date of Birth :                                   Race ;     B      $** :   F          Division :       CRIME LAB
       Job Description :   CRIMINALIST l                                                      Command : FORENS1 SVCS CMD

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             Employee Name: CHU. JOSEPH H                                                                                                                                   Employee Number     ;   93070
             Date of Birth :                                                           Race :     P                Sex :                M                                   Division :       CRIME LAB
             Job Description ; CRIMINALIST                                                                                                                                  Command : FORENSl SVCS CMD

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    195722003           IMPROPER POLICE PROCEDURE                 CLASS 11( D ) BY              10 / 02 /03 CHIEF OF POLICE                                             1    CRIME LAB           INFORMATION
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    26897 2006          IMPROPER POLICE PROCEDURE                 CLASS 11( D) BY               (11 /27/06 CHIEF OF POLICE                                              I    CRIME LAB           NOT SUSTAINED
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     Employee                           Name: SHAftMA , BALDEV R                                                             Employee Number : 90993
     Date of Birth :                                                            Race :      F          Sex :   M             Division :       CRIME LAB
     Job Description : CRIMINALIST 3                                                                                         Command : FORENSI SVCS CMD

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                   Case 4:17~ cv-03621 Document 18- 63 Fited on 07/01/19 in TXSD Page 2 of 2


     entered it of record. Having heard the evidence submitted, the Court found Defendant guilty of the offense indicated above. In the
     presence of Defendant, the Court pronounced sentence against Defendant.
              The Court FINDS Defendant committed the above offense and ORDERS* ADJUDGES AND DECREES that Defendant is
    GUILTY of the above offense. The Court FINDS the Presentence Investigation, if so ordered, was done according to the applicable
                                  .
     provisions of TEX. CODE CRIM PROC. art. 42.12 $ 9.
              The Court ORDERS Defendant punished as indicated above. The Court ORDERS Defendant to pay all fines, court costs, and
    restitution as indicated above.
              Punishment Options (select one)
                                                                                  .
         Confinement in State Jail or Institutional Division The Court ORDERS the authorized agent of the State of Texas or the
    Sheriff of this County to take, safely convey, and delivei* Defendant to the Director* State Jail Division* TDCJ The Court                         .
    ORDERS Defendant to be confined for the period and in the manner indicated above. The Court ORDERS Defendant remanded to the
    custody of the Sheriff of this county until the Sheriff can obey the directions of this sentence. The Court ORDERS that upon release
     from confinement, Defendant proceed immediately to the Harris County District Clerk's office. Onc Lthere, the Court ORDERS
    Defendant to pay, or make arrangements to pay, any remaining unpaid fines, court costs, and
    above .
                                                                                                                                    restitution^
                                                                                                                 as ordered by the Court

                       —                                                                              .
    ] | County Jail Confinement / Confinement in Lieu of Payment The Court ORDERS DeC adjiult immediately committed to
    the custody of the Sheriff of Harris County* Texas on the date the sentence is to commence. Defendant shall be confined in the
    Harris County Jail for the period indicated above. The Court ORDERS that upon release fxoni coiifinement Defendant shall
                                                                                                                                         ^         .
    proceed immediately to the Harris County District Clerk’s office. Once there, the Court^OR ERS Defendant to pay, or make
    arrangements to pay, any remaining unpaid fines , court costs , and restitution as ordered by ihe Court above.                   ^
    G Fine Only Payment, The punishment assessed against Defendant is for a FINE ONL>i The Court ORDERS Defendant to proceed
    immediately to the Office of the Harris County District Clerk Once there, the Co              .  RDERS Defendant to pay or make
    arrangements to pay all fines and court costa as ordered by the Court in this cause.
             Execution / Suspension of Sentence (select onel                                 .
    E3 The Court ORDERS Defendant's sentence EXECUTED.
    G The Court ORDERS Defendants sentence of confinement SUSPENDED. The Court ORDERS         <       Defendant placed on community


    judgment by reference,                                            .
                                                                                                             ^
    supervision for the adjudged period (above) so long as Defendant abides by aip oes not violate the terms and conditions of
    community supervision. The order setting forth the terms and conditions bfcommunity supervision is incorporated into this

                                                                                  this sentence for the time spent incarcerated.
             The Court ORDERS that Defendant is given credit noted above

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    APPEAL WAIVED NO PERMISSION TO APPEAL GRANTED.)
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    Signed and entered on October 09, 2009

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Jail Credit:



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                                       M         -         ut4            , Deputy Sheriff of Harris County
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Clerk: J GONZALEZ
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                             HERNANDEZ PHONE CALL WITH DIANA


Diana:                Hello.

Hernandez:            Hey Diana.

Diana:                Aha.

Hernandez:            Okay. Do you, do you all know anybody that works
                      here at the police station?

Diana:                No.

Hernandez:            Are you sure?

Diana:                Positive.

Hernandez:            Well.

[coughing in the background]

Diana:                I don't know nobody that works there.

Hernandez:            Do you know anybody thatTs in jail over here?

Diana:                In jail, que sepa yor no.        [that I'm aware of,
                      no.]

Hernandez:            OK.    Do you know anybody named Arturo Ramirez?

Diana:                Arturo Ramirez?

Hernandez:            Yeah.

Diana:                No.

Hernandez:            You don't?

Diana:                Arturo, do you know a alguien que se llame Arturo
                      Ramirez? [someone named Arturo Ramirez?]

Unidentified   [Unintelligible]
Speaker in the
background:

Diana:                No, no, no, no. Fue el que hablo?        [Was he the
                      one who called?]




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                             HERNANDEZ PHONE CALL WITH DIANA


Hernandez:            Well, one of the calls that you all got came from
                      Arturo Ramirez.

Diana:                from jail?

Hernandez:            No, no, no, no, no, no, no just one of the calls,
                      one of the numbers, one of the calls you all got
                      today. It came from that addr, that phone number
                      it came from uhh. It was a call to you, from
                      that, and the number, the phone number they gave
                      me comes back to Arturo Ramirez.

Diana:                No, no se. Necesito mirar la persona. [No, I
                      don't know. I need to see the person.]

Hernandez:            Oh no, if you don't know the name, shit, you
                      don't know. That's all there's to it.

Diana:                0 sea, tanto que se cambean nombres senor.
                      [Well, it's just that they change names so much,
                      sir.]

Hernandez:            No, no, no, no.

Diana:                No, no conozco.      [No, no I don't know.]

Unidentified   Necesitas verlo.                 [You need to see him.]
speaker in the
background:

Hernandez:            No conoces?      [You don't know?]

Diana:                No, no conoz, no conoz, necesito, como te digo
                      necesito ver la persona. [No, I don't kno, I
                      don't kno, I need, as I was telling you, I need
                      to see the person.]

Hernandez:            Yeah Ok. Este, are you? mira, [Yeah, Ok. Uh,
                          ^                     ^
                      are you?, look, ] that day, when this shit
                      happened, it was dark in your apartment, right?

Diana:                Aha.

Hernandez:            Ok.    Other than the f.       How long did the TV stay
                      on?




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                             HERNANDEZ PHONE CALL WITH DIANA


Diana:                Arturo dice que a el lo sento por 30 minutos.
                      [Arturo says that he had him sitting for 30
                      minutes.]

Hernandez:            Yeah, but I mean aft, when the people went in,
                      how much, how long did it stay on after the
                      people were already in there? That's what I
                      wanna know.

Diana:                By the time que yo me Je, me, de, de, quite la
                      de, la, la mugrero de la, de la cabeza, no me
                      acuerdo haber visto el television puesto. Ya
                      estaba apagado. [By the time that I uh, me, of,
                      of, removed the, the junk from my head, I don't
                      remember seeing the television on. It was turned
                      off.]

Hernandez:            Ok, so as far as you know, it was off when you
                      got up.

Diana:                Yeah, yo tenia does velitas, siempre tenemos.
                      [Yeah, I had two candles, we always have them.]

Hernandez:            When did you get to see this guy's hand?

Diana:                Cuando estaba amarrando a Arturo, [When he was
                      tying up Arturo] and the TV was still on.

Hernandez:            OK. All you could see is that his hands were
                      dark.

Diana:                Yes.

Hernandez:            But you can't tell whether he was black, or a
                      Mexicano [Mexican] with dark hands?

Diana:                No.

Hernandez:            But you're sure about the height?

Diana:                Si, el height estaba grande, estaba grande.
                      [Yes, the height was big, it was big.]

Hernandez:            He was tall.

Diana:                Yes.



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                          HERNANDEZ PHONE CALL WITH DIANA


Hernandez:            Well.

Diana:                Ay Hernandez, si usted supiera como yo me quiebro
                      la cabeza en todo esto. [Oh, Hernandez, if you
                      only knew how I've been racking my brains with
                      all this.]

Hernandez:            It can't be worse than what we're doing , I mean,
                      there's a lot of stuff that you haven't told us
                      yet. You know that?

Diana:                Pues preguntenme, yo les digo [Well, ask me, I
                      will tell you]

Hernandez:            Now, wait, hey look, wait a minute, wait a
                      minute, wait a minute. I don't have to ask you a
                      God damn thing. You're supposed to be telling me
                      everything, and you're not, and that's what's
                      causing problems. You're not, you know you all,
                      you all, you all lie so much, it's pathetic. I
                      mean, you are lying to us, the police. We are
                      trying to help you, and you are still lying to
                      us. Can you imagine? Everybody else tells us
                      things that you all are not even telling us that
                      are important. Why do you all lie so much?

Diana:                I don't know.

Hernandez:            Isn't it, isn't it insulting to you all? You
                      know, you all are embarrassing me. You really
                      are, you are insulting my intelligence. You
                      know, I'm not stupid. You might think I am, and
                      you all think you don't have to tell me
                      everything you all know, but I'll tell you what,
                      I find out more things from other people than I
                      do from you all, you know, and that's pathetic.
                      It is really pitiful. And you know you are

Diana:                Yo quisiera sabe que decirle. Yo quisiera saber
                      que [I would like to know what to tell you. I
                      would like to know what]

Hernandez:            Tell me, you know. What to tell me?         You can
                      tell me the truth, but you haven't

Diana:                Que, que, que, que?    [What, what, what, what?]



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                          HERNANDEZ PHONE CALL WITH DIANA


Hernandez:            No, no, no.

Diana:                por, por, por [ for, for, for]

Hernandez:            you know that's your conscious. You live with
                      it. I know. I know what I know, but I'm not
                      playing your game. And I know what you all have
                      done, and I know what's going on. And I know a
                      whole lot more now than I did before, but you all
                      don't have the nerve. And I don't know what you
                      think you're doing here, but you know you're
                      wasting a lot of dam time. And you know what,
                      the worst part about it is that you're putting
                      your son on the line, you don't give a shit about
                      him. You would've told me the shit that I know
                      right now. You should've told me from the
                      beginning, and I guarantee you, when I tell you
                      what I know, you're gonna wanna know how in the
                      hell did I know all this crap, but I'll tell you
                      what, there's a lot of people that care more
                      about that kid than you do, but like I said to
                      you before, it's too late He did somewhere. I
                      just wanna find him, that's all. I just wanna
                      find him, and you're not helping me a God dam
                      bit, neither is that other Arturo , He's not
                      helping. You all are not helping a dam bit, and
                      that's pathetic. It's really pathetic. You can
                      light as many fucking candles as you want, Diane,
                      and you can do whatever you want. All I wanna do
                      is find your kid, and by now, I'll tell you what,
                      me in my profession, I think he's dead, I just
                      wanna find him. That's all. You can light all
                      of those candles, it ain't gonna help you.
                      That's bullshit. You're being hypocritical.
                      First, you're selling dope and then you're
                      lighting candles. That's a hypocrite. So,
                      you're asking the wrong person for help because
                      you've already done your damage, and I'll tell
                      you right now, the worst part about it, we are
                      over here busting our ass on our days off and
                      everything, and spending long hours, and you just
                      sit there and you tell me that you don't know,
                      you don't know, and you know a lot. A lot more
                      than what you're telling us anyway, so does
                      Arturo. But it's ok. We are. You know, like I
                      said, we are gonna talk to you all again, and the
                      things that I have to say to you, you are gonna


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                          HERNANDEZ PHONE CALL WITH DIANA


                      wonder how in the shit did I find out. Well,
                      that goes to show that you are lying so much.
                      And, and all we're doing, all we care about right
                      now is finding that little boy. I know somewhere
                      he, they throw him somewhere. He's dead somewhere
                      in a ditch, or a reservoir, or somewhere. They
                      have him somewhere, or in a car locked in a trunk
                      somewhere. I just wanna know. That's what I
                      have to find out. Some, somebody put him in
                      there, and it's a long time already. It's going
                      on two weeks. That's, that's pitiful, but I'm
                      telling you, you all haven't told me everything.
                      You, you haven't told me everything that happened
                      that night, and neither has Arturo, you know, but
                      that's fine. You know, it's fine. It's your
                      kid, not mine, you know, I'm doing my job, but
                      you all are not doing yours. And like I said,
                      you all are, you all are really insulting us up
                      here, but you know, I guess when you get tired
                      and you notice that they don't bring back your
                      kid, and you're never gonna get him back, maybe
                      you, you'll decide, I'm going to tell the truth.
                      Tambien [Also] Arturo. Of course, it's not
                      Arturo's boy. He don't give a shit. It doesn't
                      bother him. He didn't have him. It's your boy,
                      not ours.

Diana:                Ay, Dios mio!   [Oh, my God!]

Hernandez:            You know. That's why. That's what I'm saying.
                      Exactly what I'm saying, but you know, we've all
                      sat down, and we talked about it. You know, you
                      all know so much, and you haven't even helped us.
                      You think that you have, but you haven't. You
                      just haven't. Hold on.

Unidentified   [Unintelligible]
Speaker in the
background:

Hernandez:            Ok. Alright. So anyway, I just want you to know
                      that we found a lot of things already, too, and I
                      know that you all haven't told us everything.
                      And you all are just playing a little game with
                      us. You know, and we all know , We sit here
                      everyday, and we look at the pictures, and we
                      look at what you said, and it doesn't make sense.


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                          HERNANDEZ PHONE CALL WITH DIANA


                      It doesn't make sense. Somebody was there at
                      your house that evening, left the cigar there,
                      and it wasn't the guys that came in. It was
                      somebody that was with you all. He left it
                      there. Something went wrong. You know, I know
                      you all were dealing dope. We know it. We know
                      it all, but you all, you all just haven't been
                      truthful, and it's gonna come a point where you,
                      after, you know, it's coming that way. We don't
                      know where to look anymore. We're just, we're
                      just gonna have to wait. Somebody is gonna find
                      this little boy, and then they'll call us, and
                      then we'll start again, but, uh, it's you all,
                      nobody else, you and Arturo, it's you all. I
                      mean we're up here. We got with FBI; everybody
                      came to the same conclusion, hey that's pretty
                      obvious. You all know, you all know exactly what
                      happened, why it happened, and it's somebody that
                      you all know. It's somebody that you all know.
                      I guarantee you that same day that you all were
                      there selling dope, was the same that somebody
                      came and. You all just aren't thinking. That's
                      the same day that came back and hit you all. The
                      same God dam day. But remember, dam, that's your
                      kid, not mine. I can sleep at night, you can't,
                      you can't, neither can his sisters and nobody.
                      They can't sleep , They, they're really upset,
                      but, hey, like I told them, you are a grown
                      woman. That's your kid. It happened to you.
                      You were involved in this shit. Somebody that
                      went there that evening you talked to, they saw
                      you. They saw everything you were doing. They
                      knew when to go get to you. As I said, somebody
                      you know. I guarantee you, but you all haven't
                      helped us much. Everything, everybody else has
                      helped us, but you all. And I don't know if
                      you're just sitting back wondering, hoping that I
                      get the kid back, and, and you know, nobody will
                      find out nothing. But we are not gonna find him.
                      I know we're not, not alive anyway, not alive.

Diana:                [sigh]

Hernandez:            And I'll be very honest with you, he will not be
                      alive when we find him. You know, that's
                      already, you know, that's gonna make the news big
                      time because of what you all have done. And, you


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                          HERNANDEZ PHONE CALL WITH DIANA


                      know, nobody is gonna be sympathetic to you.
                      Nobody is gonna feel sorry for you. You know,
                      everybody is gonna hate you for it. Nobody is
                      gonna feel sorry for you. I can tell you that.
                      I don't feel sorry for you, mam. I don't feel
                      sorry for you, Arturo, because you all brought
                      this on him, but I can tell you that, you know,
                      if we haven't found him now, we're gonna find him
                      dead. It's just a matter of somebody finding
                      him. Somebody is going to find him for us. But
                      like I said, Diane, you lied a lot, and I don't
                      know, you all are good liers. We are not good
                      believers, but we know, you know, we can tell
                      when people are lying. You all have done a good
                      job, but like I tell you, you all, you all can
                      sit down and think, but you all know, you all
                      know exactly what you all did that day. You all
                      just haven't come up with it, pero [but], it
                      doesn't matter to me, you know, I already, I
                      already know. I've got a lot of people lined up
                      that I've talked to that have told me everything
                      you all did that day. Everything. They know
                      everybody that went over there. They know that
                      last person that went to your house. They know
                      everything. But, what I wanna know, why couldn't
                      it have come from you? why do I have to hear it
                      from somebody else? Why? Mhhm? Don't you have
                      respect for the police? For what they're doing
                      for you? Or What?

Diana:                Yes,yes.

Hernandez:            No, apparently, you don't.

Dianna:               Pero yo no me acuerdo de nada senor.        [But I
                      don't remember anything, sir.]

Hernandez:            Yeah, you do, yeah you do. I don't believe you.
                      I don't believe you. Yeah you do.

Diana:                Yo ya dije todo lo que     [I already said
                      everything that]

Hernandez:            No, you haven't, no, you haven't, Diane. I'm
                      telling you, you haven't. You, nor Arturo. You
                      all haven't, you all haven't. Later on, I'm



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                             HERNANDEZ PHONE CALL WITH DIANA


                      gonna go over there, and I'm gonna show you some
                      pictures.

Diana:                Okay.

Hernandez:            But I know that you are not telling me
                      everything. It doesn't matter. Like I said,
                      it's not my kid, it's yours. I can sleep at
                      night. You can't. Arturo, ehh, he probably
                      can't because, you know, he feels guilty just
                      like you, but uhh, I'll be honest, I'm waiting
                      for a call where somebody can tell me that they
                      found him, and it's gonna be late because they're
                      not going to find a whole lot of him. I can tell
                      you that. It's been a long time. That's a dam
                      shame. That is a dam shame, ok? So I'll go over
                      there later on and talk to you all.

Diana:                Okay.

Hernandez:            Bye.




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                 EXHIBIT 65
      A physical copy of this exhibit was
      mailed to the Harris County District
      Clerk ' s Office




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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


 OBEL CRUZ-GARCIA,                             Case No. 4:17 -CV-03621
     Petitioner ,

    v.

 LORIE DAVIS, Director,                        District Judge Vanessa D. Gilmore
 Texas Department of
 Criminal Justice,
 Correctional Institutions Division,                    CAPITAL CASE

         Respondent .

         NOTICE OF MAILING OF EXHIBIT 65 TO OBEL CRUZ-
              GARCIA’S FIRST AMENDED PETITION

         Exhibit 65 is a CD of an audio recording. Because the Exhibit cannot be

electronically filed, copies of the CD have been mailed to the Court and to counsel

for Petitioner.




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Respectfully submitted,




DATE: July 1, 2019                      JASON D. HAWKINS
                                        Federal Public Defender

                                        Jeremy Schepers (TX 24084578)
                                        Supervisor , Capital Habeas Unit

                                        /s/ Nadia Wood
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                                        Northern District of Texas
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                                        Dallas, TX 75202
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                                        214- 767-2886 (fax)
                                        Nadia_Wood@fd.org

                                        Counsel for Petitioner




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                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Motion for

Discovery has been served by CM/ECF upon counsel for Respondent on July 1, 2019:

      Postconviction Litigation Division
      Office of the Attorney General
      P.O. Box 12548
      Capitol Station
      Austin, TX 78711

                              /s/ Nadia Wood
                              Nadia Wood
                              Assistant Federal Defender




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                 EXHIBIT 66




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No-0025

Of          BURGLARY OF RES./AGG. SEXUAL ASSAULT/AGG. ASSAULT / AGG. KIDNA
                ise  -
                              Street location information
Number-        6705 Name-FAIRWAY                    Type-         Suffix-
Apt no-3         Name-GOLFCREST                 Type-BLVD     Suffix-
Date of offense-09/30/92                     Date of supplement-11/09/92
Compl ( s ) Last -GARCIA          First- DIANA      Middle-R
                          Recovered stolen vehicles information
 Recovery location-                                      District-    Beat-                                                                                                                                           00
 Stored-                             b
Officerl-W I STEPHENS             Emp #        Shift-1 Div /Station-HOMICIDE
                                                                                    SUPPLEMENT NARRATIVE
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 THE FOLLOWING SUPPLEMENT WILL CONTAIN VARIOUS INFORMATION THAT HAS BEEN
COMPILED OVER THE PAST MONTH. SOME OF THE INFORMATION IS FOR REPORTING
PURPOSES ONLY. THIS SUPPLEMENT IS GENERATED AFTER THE DISCOVERY OF THE BODY
OF THE COMPL,

DURING THIS INVESTIGATION WE HAVE INTERVIEWED DIANA GARCIA ON NUMEROUS
OCCASIONS. IT IS STILL OUR BELIEF THAT SHE IS NOT BEING COMPLETELY TRUTHFUL
WITH US CONCERNING HER DRUG ACTIVITY AND HER KNOWLEDGE OF A POSSIBLE MOTIVE
FO
    ^-^HE. EVENTS THAT OCCURRED ON SEPTEMBER 30TH, 1992. WE WERE CONTACTED BY
ON *. JF THE LOCAL REPORTERS WHO STATED THAT AS OF OCTOBER 7, 1992, DIANA
GARCIA WOULD NOT MAKE ANY ADDITIONAL PLEAS FOR THE RETURN OF HER SON AND
ARTURO WAS GOING TO THE PAY PHONE TO MAKE CALLS AWAY FROM HIS
RESIDENCE       AND THE RECORDER AND TRAP. WE ALSO LEARNED FROM DIANA GARCIA
THAT HER DOPE SUPPLIER PRIOR TO A MONTH BEFORE THE KIDNAPPING WAS A MALE BY
THE NAME OF CHICO. SHE SAID THAT CHICO WAS MARRIED TO ANGELITA AND THEY WERE
FROM PUERTO RICO OR THE DOMINICAN REPUBLIC. DIANA EVENTUALLY TOLD US THAT
CHICO AND ANGELITA WERE LIVING IN AN APARTMENT IN HUMBLE TEXAS THAT WAS IN
DIANA'S NAME. THIS IS THE LOCATION WHERE CANDIDO WAS LOCATED. CHICO WAS
ALREADY ON THE RUN FOR WHATEVER REASON.
AS NOTED ON ONE OF THE EARLIER SUPPLEMENTS, THERE WAS A PURSE RECOVERED AT
THE COMPL'S APARTMENT THE MORNING FOLLOWING THIS INCIDENT. DIANA GARCIA TOLD
US THE SUSPECTS RUMMAGED THROUGH THIS PURSE AND THREW THE CONTENTS ON THE
FLOOR. THIS PURSE WAS SUBMITTED TO THE LATENT LAB AND THERE WERE SOME
FINGERPRINTS LIFTED FROM THE PAPERS.   OVER THE PAST FEW WEEKS WE HAVE
SUBMITTED SEVERAL NAMES TO BE COMPARED TO THESE LATENT PRINTS. THE FOLLOWING
HAVE BEEN COMPARED BY SALDIVAR AND THEY ARE LISTED BY THE HPD NUMBER AND THE
NAME OF THE SUSPECT.

                 437499                        ROBERTO GARCIA...UNK
                 434485                        FRANCISCO MARRERO...THE WRONG CHINO
                 585695                        RUDY..CARMELO SANTANA...FLUNKY OF CHICO




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WAS SUPPOSED TO FIX THE AIR CONDITIONER. RENDON FURTHER WENT ON TO SAY
THAT HE EXPECTED ANGELINTA TO COME BY AND GET THE CAR AT ANY MINUTE. MR.
RE]>»9N DID NOT KNOW CHICO'S REAL NAME. A CHECK ON THE LICENSE TAGS, HLR 38 Y,
( Oi :HE T-BIRD ) SHOWED IT TO BE REGISTERED TO ANGELITA RODRIGUEZ.

WE DECIDED TO WAIT FOR HER.

AT APPROXIMATELY 1820 HRS A MAN WITH A WOMAN PASSENGER PULLED UP IN AN
OLD CHEVY IMPALA WITH TEXAS LICENSE TAGS     7 OK. MR. RENDON HAD
GIVEN US THIS LICENSE NUMBER AS BELONGING TO HIS CAR DURING OUR INITIAL
INTERVIEW. ( IT WAS WRITTEN ON A PAPER CONCERNING HIS LICENSE SUSPENSION.)
AFTER THE MAN AND WOMAN GOT OUT OF THE IMPALA AND BEGAN WALKING TOWARDS
MR. RENDON, WHO WAS WORKING ON THEIR CAR, I APPROACHED THEM, IDENTIFIED
MYSELF AND ASKED ANGELITA RODRIGUEZ FOR SOME IDENTIFICATION. SHE RESPONDED
THAT SHE WAS ANGELITA RODRIGUEZ AND PRODUCED HER TEXAS DRIVERS LICENSE.
THE MAN WITH HER, WHOM WE LATER IDENTIFIED AS CARMELO SANTANA ( HPD I. D
585695 ), HAD NO IDENTIFICATION AT ALL.
 I EXPLAINED TO MS. RODRIGUEZ THAT WE NEEDED TO INTERVIEW HER IN THE HOMICIDE
CONCERNING THIS INVESTIGATION. SHE AND MR. SANTANA AGREED TO ACCOMPANY US TO
THE OFFICE. IN THE CAR DRIVING IN, MS. RODRIGUEZ . HANDED ME A PIECE OF
PAPER WHICH INDICATED HER LEGAL WARNING. SHE SAID IT WAS GIVEN TO HER
BY HER ATTORNEY. AT THIS POINT I EXPLAINED TO MS. RODRIGUEZ THAT MY
CONVERSATIONS WITH HER ATTORNEY, MR. CASTILLO, DURING THE DAY, HE HAD
AGREED TO ACCOMPANY HER TO OUR OFFICE. SHE HAD NOT REPORTED FOR AN
INTERVIEW. WE WERE WANTING TO INTERVIEW HER ABOUT THIS INVESTIGATION, NOT
ABf***T ANYTHING THAT WAS PENDING AGAINST HER.
IMMEDIATELY UPON ARRIVING AT THE HOMICIDE DIVISION, MS. RODRIGUEZ REQUESTED
AND WAS ALLOWED TO GO TO THE LADIES ROOM. SHE REQUESTED AND WAS GIVEN A
GLASS OF COLD WATER. SHE THEN WANTED TO CALL MR. CASTILLO, WHICH SHE DID.
AFTER HER CONVERSATION WITH MR. CASTILLO, MS. RODRIGUEZ PASSED THE PHONE
ON TO ME.

MR. CASTILLO (ATTORNEY, PH. 655-1515 ), MADE IT CLEAR TO ME THAT HIS CLIENT
WAS NOT GOING TO SAY ANYTHING UNLESS HE WAS PRESENT AND GIVEN A
GUARANTEE THAT NOTHING SHE SAID WOULD BE USED AGAINST HER. HE ASSURED
ME MS. RODRIGUEZ WOULD BE AVAILABLE FOR A GRAND JURY SUBPOENA THE NEXT
MORNING. SHE WOULD WE AT THE 301 SAN JACINTO TO TESTIFY IF NEEDED. WE
AGREED THAT SHE WOULD BE THERE.

MS. RODRIGUEZ WAS NOT INTERVIEWED.

**********
CARMELO MARTINEZ SANTANA WAS INTERVIEWED IN ROOM 362A. CARMELO ( AKA RUDY )
SAID HE KNEW ABOUT WHAT HAPPENED TO          HE AND ANGELITA HAD BEEN OVER
TO ARTURO AND DIANA'S APARTMENT TO PAY THEIR RESPECTS LAST SUNDAY. HE DID
NOT KNOW WHO TOOK THE BOY. AS FOR THE PARENTS HE THOUGHT THEY WERE NICE
PEOPLE. WHEN THEY WERE ALL STILL LIVING ON WINFREE, THEY AT ONE TIME
GA NHIM A PLACE TO STAY. HE DESCRIBED
   ^                                           AS A SMALL KID WHO LOOKED
WE^.v ( SICK).

HE DID NOT KNOW CHICO'S REAL NAME. CHICO IS CURRENTLY IN PUERTO RICO
VISITING. HE LEFT SATURDAY ON A TRIP THAT WAS ALREADY PLANNED. HE CLAIMED
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NOT TO KNOW IF DIANA AND ARTURO WERE DEALING IN DRUGS. HE HAS KNOWN THEM
ALTOGETHER FOR ABOUT A YEAR AND A HALF. ANOTHER PERSON WHO STAYED WITH
DI * AND ARTURO AT ONE TIME WAS A GUY NAMED, FLACO.   HE DID NOT KNOW
      ^^
ANY iING ABOUT HIM.

THAT WAS ALL RUDY KNEW. HE AND ANGELITA, HIS COUSIN, WERE STAYING IN A
MOTEL IN PASADENA. HE DID NOT KNOW THE NAME OF IT.
AFTER RUDY WAS INTERVIEWED, RENDON WAS CALLED TO COME BY AND PICK UP
ANGELITA AND RUDY AT THE STATION.


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OCTOBER 6, 1992
AT THE BEGINNING OF THE SHIFT HERNANDEZ MET WITH ANGELITA AT 301 SAN JACINTO
AND INSTRUCTED HER TO REMAIN THERE WHILE HE WENT TO GET A GRAND JURY
SUBPOENA. ANGELITA SAID SHE WAS INSTRUCTED TO ME MR. CASTILLO THERE.
HERNANDEZ THEN WENT TO THE SPECIAL CRIMES SECTION OF THE DISTRICT ATTORNEY'S
OFFICE AND OBTAINED A GRAND JURY SUBPOENA FROM CASEY OBRIAN. UPON HIS
RETURN TO SERVE ANGELITA RODRIGUEZ WITH THE SUBPOENA, HERNANDEZ WAS UNABLE
TO FIND HER.

I, ALONZO, FROM THE HOMICIDE OFFICE CONTACTED MR. CASTILLO, ATTORNEY
FOR MS. RODRIGUEZ ( PH. 655-1515 ), AND TOLD HIM WE HAD A SUBPOENA FOR MS.
ROF GUEZ AND THAT MR. OBRIAN WAS WAITING TO BRING HER BEFORE THE GRAND
      ^
JUL .. MR. CASTILLO SAID HE WOULD HAVE TO LOCATE HIS CLIENT.
LATER IN THE MORNING, I RECEIVED A CALL FROM MR. CASTILLO LETTING ME KNOW
THAT HIS CLIENT WAS ON THE WAY TO THE COURT HOUSE PREPARED TO TESTIFY.

BY THEN THE GRAND JURY WAS ALREADY NEAR ITS CONCLUSION OF THIS MORNING'S
SESSION. MR. CASTILLO AND MR. OBRIAN AGREED TO MEET AT 201 FANNIN, MR. OBRIAN'S
OFFICE. WE WERE TO BE THERE ALSO.
AT THIS MEETING SINCE IT WAS ALREADY NOON AND THE GRAND JURY WAS ALREADY
DISMISSED UNTIL FRIDAY, MR. OBRIAN AND MR. CASTILLO AGREED UPON AN
INTERVIEW CONDUCTED BY US IN THE HOMICIDE OFFICE. MR. CASTILLO WOULD
      '

BE PRESENT.

OUR INTERVEW WITH ANTELITA SANTANA RODRIGUEZ ( HPD ID. 616109, DL        )
REVEALED VERY LITTLE. CHICO'S REAL NAME IS OBEL JULIAN CRUZ-GARCIA ( HPD
ID 585698 ) - ANGELITA SAID CHICO WAS CURRENTLY IN PUERTO RICO AND WOULD
RETURN BY THURSDAY. HE HAD TO APPEAR IN COURT ON THAT DAY. SHE DID NOT
KNOW ANYTHING ABOUT THE DISAPPEARANCE OF          OTHER THAT WHAT DIANA AND
OTHER PEOPLE HAD TOLD HER. SHE AND DIANA WERE GOOD FRIENDS. THEY MET WHEN
THEY WERE ALL LIVING ON WINFREE. THERE WAS NOTHING UNUSUAL OTHER THAN THAT
ONE TIME DIANA TOLD HER ARTURO HAD A ROUGH WAY (OFFENSIVE ) OF TALKING WITH
PEOPLE. DIANA ALSO TOLD HER WHILE THEY WERE ALL LIVING ON WINFREE, THAT
SOMEONE BROKE INTO THEIR ( DIANA'S AND ARTURO'S ) APARTMENT AND STOLE FOUR
     AND DOLLARS. ANGELITA WAS NOT SURE IF IT WAS ALL MONEY OR IF IT
THf
      ^
ALL INCLUDED VALUABLES. AS FOR THEIR BUSINESS, THEY WERE STRICTLY SMALL
TIME. SHE DID NOT KNOW ANYTHING ELSE.
MS. RODRIGUEZ AND MR. CASTILLO WERE THEN DRIVEN BACK TO THEIR CARS NEAR
THE HARRI§xh#*M3rP£,eW2USE.                                           0001660
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Offense CAPITAL MURDER      -
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Number                   -
             6705 Name-FAIRWAY                  Type          Suffix-                                                                                                          -
Apt no 3                 -
              Name GOLFOREST                Type BLVD     Suffix  -                                                                                              -                                             -
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Officer!A C ALONZO           - Emp# 040892 Shift 1 Div /Station HOMICIDE                                              -                                          -                                           -
Officer2 U P HERNANDEZ       - Emp# 055228 Shift-                                                                     -
                                                                                                             SUPPLEMENT NARRATIVE
PROGRESS REPORT                                                              --
                                                                       11 5 92                               THURSDAY

FOLLOWING UP ON INFORMATION BY SOT. STEPHENS, SEE SUPPLEMENT #25, HERNANDEZ
AND I, ALONZO, WENT TO THE HARRIS COUNTY JAIL AND INTERVIEWED MELO BIENVENIDO,
{HISPANIC MALE DOB             BIENVENIDO WAS AT 5C3010.
BIEwVENIDO SAID HE WAS SANTO DOMINGO, THE SAME NEIGHBORHOOD AS CHICO'S
WIFE, HE MET CHICO THROUGH HER , CHICO IS ALSO FROM SANTO DOMINGO, BUT
ANOTHER PART. ALL MELO COULD REALLY ADD WAS THAT THE WEEK OF THE
KIDNAPPING, HE WAS NOT SURE IF IT WAS THE EXACT NIGHT, HE GOT A CALL
FROM CHICO SOMETIME AROUND THREE IN THE MORNING. CHICO WANTED MELO TO
DELIVER THE CAR TO HIM IN PASADENA , MELO TOLD HIM HE WAS NOT GOING OUT
IN THE MIDDLE OF THE NIGHT. IF HE WANTED THE CAR, CHICO COULD COME OVER
AND PICK IT OP. SOMETIME LATER CHICO AND RUDY SHOWED UP AT HIS DOOR , MELO
DOES NOT KNOW HOW THEY GOT TO HIS APARTMENT. CHICO TOOK THE CAR WHICH WAS
RETURNED BY RUDY THE NEXT DAY. THAT WAS THE LAST TIME HE SAW CHICO.
CHICO APPEARED NORMAL TO MELO THAT NIGHT. RUDY WAS THE ONE THAT LOOKED A
LITTLE NERVOUS.
 THE CAR ACTUALLY BEONGS TO CHICO. CHICO LETS MELO DRIVE CARS WHEN HE IS
NOT USING THEM.
MELO HAD NOTHING MORE TO ADD.
THIS INTERVIEW WAS CONDUCTED IN SPANISH.
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BACK IN THE HOMICIDE OFFICE WE SPOKE WITH "RUDY", CARMELO NINO SANTANA,
HPDJt.D. #585695 ,
RUDx HAD LITTLE TO ADD SINCE THE LAST INTERVIEW. HE LAST SAW CHICO ABOUT
FIVE DAYS BEFORE OUR ORIGINAL INTERVIEW. CHICO IS NOW SUPPOSED TO BE
IN AERO PIEDRA IN PUERTO RICO. LATER RUDY CHANGED THIS TO THE DOMINICAN
REPUBLIC , HE REMEMBERED THE INCIDENT WHERE CHICO AND HE WENT OVER TO
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"CHARLIE * S" APARTMENT {MELO) AND BORROWED HIS CAR. HE AND CHICO WERE OUT
DRINKING AND NEEDED A CAR SO THEY CALLED CHARLIE, THEN WENT OVER AND
BOpS WED CHARLIE’S. ABOUT BEING NERVOUS WHEN THEY WENT OVER THERE, RUDY
        ^
SA. HE GETS REAL NERVOUS WHENEVER HE DRINKS.
CHICO IS NOT CAPABLE OF KILLING ANYONE ACCORDING TO                                                                            RUDY. ONCE CHICO TIED
HIM UP TO PROVE A POINT, IT WAS ALL BECAUSE OF THE                                                                             BUSINESS. THAT TIME
CHICO ONLY HAD HIM TIED UP FOR A COUPLE OF MINUTES.                                                                             CHICO WANTED TO
PROVE HE COULD DO THAT OR ANYTHING ELSE HE WANTED.                                                                             AFTER THAT HE
TURNED HIM LOOSE.
RUDY SAID HE KNEW DIANA AND HER HUSBAND FROM GOING OVER WITH CHICO TO
MAKE THE WEEKLY DELIVERY. IT WAS USUALLY ABOUT FOUR HUNDRED DOLLARS A
WEEK. THE MOST THEY EVER DELIVERED WAS HALF AN OUNCE , AS FOR CHICO LEAVING
THE COUNTRY, THAT WAS PLANNED FOR A WHILE BEFORE HE LEFT.
HE HAS NOT HEARD FROM ANGELINA, CHICO’S WIFE, RECENTLY. THE ONLY PERSON
HE HAS CALLED HAS BEEN HER FRIEND NORMA                                                                                          *

 THAT WAS ALL HE KNEW.
* NOTE
DURING THIS INTERVIEW RUDY WAS EXTREMELY NERVOUS.




INVESTIGATION TO CONTINUE...




Supplement entered by = 40892
Report reviewed by GLASS
Date cleared 09/08/08          -             -                                               Employee number 077290                     -




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                            Street location information
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Apt no-3       Name-GOLFCREST                  Type-BLVD     Suffix-
Date of offense-09/ 30/92                   Date of supplement -03/02 /09
Cop»*Ms ) Last -GARCIA          First - DIANA      Middle-R
                        Recovered stolen vehicles information
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Officerl-R.W. CHAPPELL          Emp #-099650 Shift -1 Div /Station-HOMICIDE

                                    SUPPLEMENT NARRATIVE

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I, INV. CHAPPELL, ASSIGNED TO THE HOMICIDE DIVISION MURDER SQUAD # 14, WAS
REQUESTED BY SGT. MEHL, OF THE COLD CASE SQUAD, TO TRAVEL TO FLORIDA AND
INTERVIEW CARMELO MARTINEZ SANTANA H /M         ( A. K. A. RUDY ). I WAS ABLE TO
TRAVEL ON FEBRUARY 23, 2009 TO ORLANDO, FLORIDA. I LEARNED THAT MARTINEZ WAS
LOCATED IN THE COLEMAN FEDERAL CORRECTIONAL INSTITUTE MEDIUM SECURITY                   UNIT IN
COLEMAN, FL. THIS DESTINATION IS APPROXIMATELY ONE HOUR NORTHWEST OF                    ORLANDO,
FL. I SPOKE TO LT. SKINNER ( 352-689-5000 ) WITH THE FEDERAL BUREAU OF                  PRISONS
WHO SET UP AN INTERVIEW ROOM IN THE FACILITY FOR TUESDAY FEBRUARY 24,                   2009 AT
0900 HRS. I ARRIVED AT THE FACILITY AT APPROXIMATELY 0830 HRS.

                      INTERVIEW WITH CARMELO MARTINEZ SANTANA:
                      * *+****+******** * *** * * ***+ *** * *+*******+
                               •                 •   •   •   •               •



THE INTERVIEW WAS CONDUCTED IN A SMALL INTERVIEW ROOM LOCATED INSIDE THE
PR 7** N . THE ROOM WAS APPROXIMATELY 8'X 10' EQUIPPED WITH A DESK AND THREE
    ^
CHA _ XS. THERE WAS VERY LITTLE SPACE TO MOVE ABOUT IN THE ROOM. THERE WAS ONLY
ONE DOOR WITH A WINDOW. LT. SKINNER ESCORTED MARTINEZ-SANTANA TO THE INTERVIEW
ROOM . THE INTERVIEW BEGAN AT APPROXIMATELY 0905 HRS.
MARTINEZ FIRST TOLD ME THAT HIS DATE OF BIRTH WAS       |               HOWEVER,
HIS CRIMINAL HISTORY INDICATES HIS DATE OF BIRTH IS

I THEN READ MARTINEZ HIS LEGAL MIRANDA WARNING. I EXPLAINED TO HIM THAT                     I WAS
THERE FOLLOWING UP ON A MURDER IN WHICH HE WAS INTERVIEWED SEVERAL YEARS                    AGO.
I FURTHER EXPLAINED THAT I WAS NOT GOING TO TALK ABOUT ANY CASE HE WAS
CURRENTLY INCARCERATED FOR. FURTHER, I EXPLAINED THAT THE ONLY REASON I                     WAS
READING HIM HIS RIGHTS IN THE FIRST PLACE WAS BECAUSE HE WAS IN JAIL. I                     TOLD




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HIM THAT HE WAS NOT ACCUSED OF ANYTHING RELATED TO THE CASE, BUT BECAUSE HE WAS
IN JAIL, I HAD TO READ HIM HIS RIGHTS. HE SAID THAT HE UNDERSTOOD EACH OF HIS
RIp S AND AGREED TO TALK ABOUT THE CASE.
   ^
MARTINEZ TOLD ME THAT HE HAD TWO KIDS   HE SAID THAT BOTH WERE BORN IN THE US           .
AND WERE 14 AND 17 YEARS OLD. HE TOLD ME THAT WHEN HE WAS IN HOUSTON, HE
WORKED IN ROOFING AND ELECTRICAL TYPE JOBS.

MARTINEZ SAID THAT ANGELITA IS HIS COUSIN. HE MET CHICO, WHO IS OBEL GARCIA,
THROUGH ANGELITA. HE HAS NOT SPOKEN TO OBEL IN MANY YEARS. HE HAS HAD CONTACT
WITH ANGELITA SINCE HE WAS LOCKED UP.

I THEN ASKED HIM ABOUT THIS MURDER. HE SAID THAT HE DID NOT REMEMBER WHEN HE
LEARNED ABOUT THE INCIDENT. I THEN SHOWED HIM A PHOTO OF MELO. HE SAID THAT
HE RECOGNIZED HIM AS A GUY HE KNEW AS CHARLIE. I THEN SHOWED HIM A PHOTO OF
AVILES AND HE SAID THAT HE KNEW HIM AS BUDDY. MARTINEZ THEN LOOKED AT ARTURO'S
PHOTO AND SAID THAT HE REMEMBERED HIM ONLY VAGUELY DUE TO HIS MUSTACHE. HE DID
NOT RECOGNIZE GERMAN. HE IMMEDIATELY RECOGNIZED OBEL. WHEN I SHOWED HIM A
PHOTO OF HIM, HE LOOKED AT IT FOR A FEW SECONDS AND THEN ASKED ME IF IT WAS
HIM. I TOLD HIM IT WAS. I THEN SHOWED HIM ANGELITA'S PHOTO AND HE IDENTIFIED
HER AS WELL. HE DID NOT RECOGNIZE LUIS RIOS OR GOMEZ. HE DID RECOGNIZE DIANA.

MARTINEZ THEN TOLD ME THAT ONE OF HIS NICK NAMES WAS RUDY.                                                                                       HE SAID THAT IS HOW
HE WAS KNOWN IN HOUSTON .

I T N ASKED HIM IF HE REMEMBERED TALKING TO THE POLICE ABOUT THIS INCIDENT.
HE ,  ^
    .-iID THAT HE REMEMBERED BEING STOPPED BY THE POLICE AND TAKEN TO HOMICIDE.
      ,


( MARTINEZ UNFOLDED HIS ARMS AND LEANED FORWARD ON THE DESK. THIS INDICATED TO
ME THAT HE WAS TRYING HIS HARDEST TO REMEMBER ACCURATE DETAILS.) HE THEN SAID
THAT HE REMEMBERED TELLING THE POLICE THAT OBEL HAD LEFT THE COUNTRY AND WENT
TO THE DOMINICAN REPUBLIC. ONCE AGAIN, HE WAS LEANING FORWARD ON THE DESK.
( IT SHOULD BE NOTED HERE THAT WE WERE SITTING ACROSS FROM ONE ANOTHER WITH THE
DESK SEPARATING US.)

I THEN ASKED HIM ABOUT THE RELATIONSHIP BETWEEN DIANA, ARTURO AND CHICO. HE
SAID THAT HE BELIEVED THAT THEY HAD A PRETTY GOOD RELATIONSHIP AND THAT ARTURO
SOLD DRUGS FOR CHICO.

I THEN ASKED HIM IF HE REMEMBERED THE CAR THAT HE AND CHICO HAD GOTTEN THE
NIGHT OF THIS INCIDENT. HE SAID THAT HE REMEMBERS GETTING THE CAR FROM
CHARLIE. HE HAD NO IDEA WHY CHARLIE WOULD SAY THAT HE APPEARED NERVOUS AT THAT
TIME. ( MARTINEZ WOULD NOT LOOK AT ME WHILE SAYING THIS. HE LOOKED DOWN AT THE
FLOOR AND KEPT HIS ARMS AND LEGS CROSSED. THIS IS A PHYSICAL INDICATION OF
DECEPTION. ) I ASKED HIM WHAT WOULD CAUSE HIM TO BE NERVOUS AND HE SAID THAT IT
WAS PROBABLY DUE TO DRUG USE.

I THEN ASKED HIM IF HE REMEMBERED BEING INVOLVED IN A CASE WHERE LOTS OF MONEY
HAD BEEN STOLEN AND SEPARATED BETWEEN HE, CHICO AND DIANA. I MENTIONED THAT HE
BOUGHT A TRUCK RIGHT AFTER THAT. HE SAID THAT HE REMEMBERED THAT THEY SOLD
FAJ
    ^DOPE TO SOMEONE AND THAT WAS WHERE THEY GOT THE MONEY. HE DENIED ANY
INVOLVEMENT IN ANY KIND OF BURGLARY OR ROBBERY.

FURTHER, MARTINEZ DENIED ANY INVOLVEMENT IN THIS CASE. HE SAID THAT HE WAS NOT
THERE WHEN THIS9 INCIDENT HAPPENED. HOWEVER, HIS BODY LANGUAGE WAS INCONSISTENT
WITH HIS WbT .
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                     ER APPROXIMATELY 45 MINUTES, I TERMINATED THE INTERVIEW.
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I STOPPED THE TAPE AND PLACED IT IN THE CASE FOLDER I HAD WITH ME AT THE TIME.
MARTINEZ THEN DENIED ANY INVOLVEMENT IN THE CASE AGAIN.
I . JD HIM THAT I KNEW THAT HE HAD SOME KNOWLEDGE ABOUT THIS CASE THAT HE WAS
NOT WILLING TO SHARE WITH ME. HE BEGAN NODDING HIS HEAD UP AND DOWN IN THE
AFFIRMATIVE. I TOLD HIM THAT I DID NOT BELIEVE EVERYTHING HE TOLD ME. HE SAID
THAT HE COULD NOT TALK TO ME ABOUT THE INCIDENT BECAUSE HE SIMPLY DID NOT
REMEMBER. HOWEVER, HE WOULD NOT LOOK AT ME AND KEPT HIS ARMS AND LEGS CROSSED.
 IN COMPARISON TO OTHER RESPONSES HE PROVIDED WHEN HE LEANED FORWARD ON THE
DESK, I BELIEVE HE WAS ONCE AGAIN BEING DECEPTIVE IN HIS RESPONSE. AS I LEFT
THE INTERVIEW ROOM, I TOLD MARTINEZ THAT IF HE HAD ANY OTHER INFORMATION OR
QUESTIONS REGARDING THIS CASE, HE COULD TALK TO LT. SKINNER AND HE KNEW HOW TO
GET IN TOUCH WITH ME. HE SAID HE UNDERSTOOD AND I LEFT.\

LT. SKINNER THEN ESCORTED MARTINEZ BACK TO HIS CELL AND I LEFT THE PRISON.
I CONTACTED SGT. MEHL AND EXPLAINED TO HIM WHAT WE LEARNED ABOUT THIS CASE FROM
CARMELO MARTINEZ. I RETURNED TO HOUSTON AND COMPLETED THIS SUPPLEMENT.


               SYSTEM ADVISORY: REPORT ENTERED USING PERSONAL COMPUTER VER-7.00-B
              *******************************************************************
              * ENTRY DEVICE: DELL GX 270 171955 HMD                             k

              * ENTRY FROM DATE-030209 TIME-1057 TO DATE-030209 TIME-1101        k

              * TRANSFER DEVICE: DELL GX 270 171955 HMD WINXP        VER. 7.00-B *
              * TRANSFER DATE-030209 TIME-1101    LOAD DATE-030209 TIME-1102    *
              * LOCATION OF OFFENSE: POLICE DISTRICT- DISTRICT 13      DIST-13
               k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k k

                 EVIDENCE WAS TAGGED-N                                                         LATENT PRINTS WERE LIFTED AT A SCENE-N




Supplement entered by =                                                 99650
Report reviewed by-TBUI                                                                                   Employee number-112255
Date cleared- 09 /08 /08




                          EXHIBIT 69 Page 003
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Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 753 of 813

                 13847940101C / Court: 337




                 EXHIBIT 70




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  Case4:17-cv-03621
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                                                                                      Chris
                                                                                      DistrictDaniel
                                                                                               Cferk
                                          CAUSE NO. 1384794                           JUN 03 2013
                                                                            Tfftte:

  STATE OF TEXAS                                  §       IN THE DISTRICTiiGOUJRXjQE__        _
                                                                                      Hems CceBij- t«ej»

                                                                                             Ctapujy
                                                  §
  v.                                              §           HARRIS COUNTY, TEXAS
                                                  I
  OREL CRUZ-GARCIA                                §           337   JUDICIAL DISTRICT


                                           BRADY NOTICE

         COMES NOW, THE STATE OF TEXAS, by and through her Assistant District
  Attorney, and hereby files this Brady Notice, and would show the Court the following:

                                                 I.
         The Defendant in the above styled and numbered cause has been charged with the
  offense of CAPITAL MURDER. The Defendant is set for jury trial on JULY 8, 2013.
  The matters disclosed in this motion have been a part of the State’s file, have been
  discussed with defense counsel on prior occasions, and have been made available to
  defense counsel for inspection.

                                                 II.

            Pursuant to Brady , the State discloses the following information to defense
  counsel.

       A.    HPD crime lab- (See the Bromwich Report, a copy of which has been made
            available to defense counsel)

       B. Deetrice Wallace, HPD Crime lab, has the following criminal history:
            Felony convictions in cause numbers 1207041 and 1207042 for tampering with a
            governmental record m Harris County, Texas on October 9, 2009.

       C.    B. Sharma, HPD crime lab
            (See HPD disciplinary record and the Bromwich Report, a copy of which has
            been made available to defense counsel)

       D. Joseph Chu , HPD Crime lab
         (See HPD disciplinary record and the Bromwich Report, a copy of which has
          been made available to defense counsel )

       E.    R. Saldivar, Latent prints




EXHiBiT 70 Page 001
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            ( See HPD disciplinary record and Latent Lab Audit, a copy of which has been
            made available to defense counsel )

       F.    Witness Angelifa Rodriguez has the following criminal history:
                                         ,




            A felony conviction for PCS in Harris County, Texas in cause number 0614257
            on 10/29/93.

            Witness Angelita Rodriguez gave a prior inconsistent statement to federal agents
            investigating this case on 8/20/93, when she told Special Agents Colleen
            Conyingham and Juan Miranda that she had no knowledge about foe
            disappearance of                   and on June 13, 1994, when she told Special
            Agent Erie Johnson that the defendant did not tell her anything about the
            kidnapping and murder of the complainant in this case, and that she did not
            believe that foe Defendant’s departure from the United States had anything
            to do with the kidnapping and abduction of the complainant in this case.

            Witness Angelita Rodriguez gave a prior inconsistent statement to HPD officers
            Roger Chappell and Eric Mehi on October 6, 2008 when she told them that the
            defendant did not answer her questions when she asked him if he had killed the
            complainant.

      G. Witness Carmelo Martinez-Santana has the following criminal history:

            Federal Felony Convictions for Conspiracy to Possess with Intent to Distribute
            Cocaine and for Using and Carrying a Firearm in Relation to a Drug Trafficking
            Offense, 8/21/98

            County Court 12, DW1, Cause Number 9401778, 1/20/94
                         .




            County Court 14, Criminal Mischief, Cause Number 9222073, 10/21/92

            County Court 34, Assault, Cause Number 9222074, 10/21/92

            209* District Court, Injury' to a Child reduced to a misdemeanor,
            Cause Number 0632073, 10/20/92

            County Court 6, Assault, Cause Number 9138776, 9/26/91

            Witness Carmelo Martinez-Santana gave a prior inconsistent statement to HPD
            officers UP Hernandez and AC Alonzo on or about October 5, 1992, when he
            denied knowledge of who kidnapped and murdered foe complainant in this case,
            denied knowledge that the complainant’s mother Diana Garcia and step father,
            Arturo Rodriguez were dealing drugs, and told officers that the defendant had left
            for Puerto Rico on a “ planned ” trip.




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           On or about 1 i /5/92 in an interview with HPD Homicide detective BUI Stephens
           and on 2/23/09 in an interview with HPD Homicide detective Roger Chappell,
           Carmelo Martinez-Santana gave a prior inconsistent statement when he denied
           knowledge of the kidnapping and murder of

                                                                 -
           On or about 5/23/ 11 , Witness Carmelo Martinez Santana told Special. Agent Bill
                                                                       -
           Ebersole that he was present when the defendant, Obel Cruz Gareia, caused the
           death of                      by directing an. individual named Rogelio Aviles -
           Barroso to kill the complainant by stabbing him with a sharp object.

  H. Witness Arturo Rodriguez has the following criminal history:

      Theft/Harris County Court at Law #8 / 0708163/11-12- 83

      On or about Sept , 30, 1992, Witness Arturo Rodriguez made a prior inconsistent
      statement to HPD law enforcement officers when, as indicated in the offense report ,
      he denied that he and his wife were dealing drugs for Obel Cruz Garcia.

      I,    Witness Diana Garcia has the following criminal history:

           Theft/ Harris County Court at Law, 9/22/72

           On or about Sept. 30, 1992 , Witness Diana Garcia made a prior inconsistent
           statement to law enforcement officers, as indicated by the offense report, when
           she denied that she and her husband had been dealing drugs for Obel Cruz Garcia
           prior to the kidnapping and murder of the Complainant in this case.

      J. Witness Alice Linton stated that she did not observe that the door to the
         complainant's apartment had been forced open and she believed Arturo
         Rodriguez let the kidnappers in thinking they were police. (See Alice Limoris
         statement)

      K , Witness Tracy Pressley gave a statement indicating that she believed that her
          boyfriend obtained drugs from Diana Garcia on the night of the kidnapping
          contradicting Diana Garcia’s statement that she and her husband Arturo
          Rodriguez were no longer selling drugs on Sept. 30, 1992. She also stated her
          boyfriend told her he would like to rob Diana Garcia because she had money and
          drugs. (See Tracy Pressley’s statement)

      L.    Witness Johnny Lopez has the following criminal convictions:

                                                            --
           Theft from Person/180th/6 months State Jail/2 4 08
                                  - -
           PCS/337^/2 yrs TDCJ/3 21 06
                -                             --
           Theft 3tli/ 180th/ ISOdays State Jail/6 3 05
                -
           Theft 3 rd/337th /!80 days State Jail/6/18/02
                                                        -
           Theft/CCL#10/ 90 days Harris County JaiI/6 21-01


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EXHIBIT 70 Page 003
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          Theft/CCL#12/80 days Harris County Jail/ 11-27-00
                                                     - -
          Theft/CCL#14/ 30 days Harris County Jail/ 8 28 09
          BMV/179t*V 6 yrs TDC/ 11-5-86
          Theft
          PCS/ Nueces County/2 yrs TDC
          PCS

      M, The following witnesses are deceased:
         Officer Cook, Baytown Police Department
          Isabel Martinez
          David Kerr
          Pedro Ortiz
          Angelo Garcia, Sr.

      N. The physical evidence tagged into the HPD property room in HPD case number
                      -
         58851589 Q, involving the murder of Complainant Saul Flores has been lost.

      O, In the course of his duties as a medical examiner in Travis County, Dr, Vladimir
         Parangao misidentified the charred remains of an elderly woman as a 23 year old
         man.




                                                                                         /

                                                           NATALIE TISE
                                                           Asst District Attorney
                                                           Harris County, Texas




                               CERTIFICATE OF SERVICE

        I, NATALIE TISE, do hereby certify that a copy of the foregoing document was
 served on SKIP CORNELIUS by facsimile on f f
                                                  ?
                                                            V
                                                                ;
                                                               /
                                                           NATALIE TISE
                                                           Assistant District Attorney


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                                                         Harris County, Texas
                                                         1201 Franklin, Suite 600
                                                         Houston, Texas 77002
                                                         713-755-6106 (office)




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                                                              Marilyn Burgess - District Clerk Harris County
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                                                                                   Filed: 4/9/2021 1 :47 PM

                IN THE 337 TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                    AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                            §
Ex parte OBEL CRUZ-GARCIA, §
                            §               Writ No.
                            §               Trial Court Case No:
                            §              1384794
                            §
                Applicant . §               CAPITAL CASE
                            §
                            §
                            §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                EXHIBITS 71 THROUGH 80
                                    Jeremy Schepers (Texas 24084578)
                                    Supervisor , Capital Habeas Unit
                                    David Currie (TX 24084240)
                                    Naomi Fenwick (TX 24107764)
                                    Assistant Federal Public Defender
                                    Office of the Federal Public Defender
                                    Northern District of Texas
                                    525 S. Griffin St ., Ste . 629
                                    Dallas, Texas 75202
                                    jere my _schepers@fd .or g
                                    (214) 767 - 2746
                                    (214) 767 - 2886 (fax)

                                    Counsel for Obel Cruz -Garcia



                                                                                  0001675
Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 761 of 813

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                 EXHIBIT 71




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                                    CAUSE NO. 1384794                       Time:
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                                                                            By

   STATE OF TEXAS                               §          IN THE DISTRICT COURT OF
                                                §
   v.                                           I             HARRIS COUNTY, TEXAS

   OBEL CRUZ-GARCIA                             §            337        JUDICIAL DISTRICT
             \


                          STA TE’S SUPPLEMENTAL BRADY NOTICE

          COMES NOW , THE STATE OF TEXAS, by and through her Assistant District
  Attorney, and hereby files this Supplemental Brady Notice, and would show the Court
  the following:

                                               I.

         The Defendant in the above styled and numbered cause has been charged with the
  offense of CAPITAL MURDER , The Defendant is set for jury trial on JULY 8, 2013.
  The matters disclosed in this motion have been a part of the State’s file , have been
  discussed with defense counsel on prior occasions, and have been made available to
  defense counsel for inspection,

                                               II.

           Pursuant to Brady , the State discloses tire following information to defense
  counsel.

  A.     A presumptive test for blood on the complainant                         s, clothing was
        negative.


                                                                             submitted,
                                                                   Av




                                                                      AaOi
                                                              NATALIE TISE
                                                              Asst District Attorney
                                                              Harris County, Texas




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                            CERTIFICATE OF SERVICE

         I, NATALIE USE, do hereby certify that a copy of the foregoing document was
  served on SKIP CORNELIUS by feesMe on          '      r~                  ^
                                 .                               ,/
                                                                     J      &

                                                         NATALIE TiSE
                                                         Assistant District Attorney
                                                         Harris County, Texas
                                                         1201 Franklin, Suite 600
                                                         Houston, Texas 77002
                                                         713-755-6106 (office)




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EXHIBIT 71 Page 002
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                 EXHIBIT 72




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NOT TO KNOW IF DIANA AND ARTURO WERE DEALING IN DRUGS. HE HAS KNOWN THEM
ALTOGETHER FOR ABOUT A YEAR AND A HALF. ANOTHER PERSON WHO STAYED WITH
       AND ARTURO AT ONE TIME WAS A GUY NAMED, FLACQ. HE DID NOT KNOW
AN * iING ABOUT HIM.
THAT WAS ALL RUDY KNEW. HE AND ANGELITA, HIS COUSIN, WERE STAYING IN A
MOTEL IN PASADENA. HE DID NOT KNOW THE NAME OF IT.
AFTER RUDY WAS INTERVIEWED, RENDON WAS CALLED TO COME BY AND PICK UP
ANGELITA AND RUDY AT THE STATION.


** ********

OCTOBER 6, 1992

AT THE BEGINNING OF THE SHIFT HERNANDEZ MET WITH ANGELITA AT 301 SAN JACINTO
AND INSTRUCTED HER TO REMAIN THERE WHILE HE WENT TO GET A GRAND JURY
SUBPOENA. ANGELITA SAID SHE WAS INSTRUCTED TO ME MR. CASTILLO THERE.
HERNANDEZ THEN WENT TO THE SPECIAL CRIMES SECTION OF THE DISTRICT ATTORNEY ’ S
OFFICE AND OBTAINED A GRAND JURY SUBPOENA FROM CASEY OBRIAN. UPON HIS
RETURN TO SERVE ANGELITA RODRIGUEZ WITH THE SUBPOENA, HERNANDEZ WAS UNABLE
TO FIND HER.

I, ALONZO, FROM THE HOMICIDE OFFICE CONTACTED MR. CASTILLO, ATTORNEY
FOR MS. RODRIGUEZ { PH. 655-1515 ), AND TOLD HIM WE HAD A SUBPOENA FOR MS.
ROP GUEZ AND THAT MR. OBRIAN WAS WAITING TO BRING HER BEFORE THE GRAND
       ^
JOB . MR. CASTILLO SAID HE WOULD HAVE TO LOCATE HIS CLIENT.

LATER IN THE MORNING, I RECEIVED A CALL FROM MR. CASTILLO LETTING ME KNOW
THAT HIS CLIENT WAS ON THE WAY TO THE COURT HOUSE PREPARED TO TESTIFY,
BY THEN THE GRAND JURY WAS ALREADY NEAR ITS CONCLUSION OF THIS MORNING'S
SESSION , MR . CASTILLO AND MR. OBRIAN AGREED TO MEET AT 201 FANNIN, MR. OBRIAN'5
OFFICE. WE WERE TO BE THERE ALSO.
AT THIS MEETING SINCE IT WAS ALREADY NOON AND THE GRAND JURY WAS ALREADY
DISMISSED UNTIL FRIDAY, MR. OBRIAN AND MR. CASTILLO AGREED UPON AN
INTERVIEW CONDUCTED BY US IN THE HOMICIDE OFFICE. MR , CASTILLO WOULD
BE PRESENT.
OUR INTERVEW WITH ANTELITA SANTANA RODRIGUEZ ( HPD ID. 616109, DL
REVEALED VERY LITTLE. CHICO'S REAL NAME IS OBEL JULIAN CRUZ-GARCIA { HPD
ID 585698), ANGELITA SAID CHICO WAS CURRENTLY IN PUERTO RICO AND WOULD
RETURN BY THURSDAY. HE HAD TO APPEAR IN COURT ON THAT DAY. SHE DID NOT
KNOW ANYTHING ABOUT THE DISAPPEARANCE OF         OTHER THAT WHAT DIANA AND
OTHER PEOPLE HAD TOLD HER. SHE AND DIANA        GOOD FRIENDS. THEY MET WHEN
THEY WERE ALL LIVING ON WINFREE. THERE WAS NOTHING UNUSUAL OTHER THAN THAT
ONE TIME DIANA TOLD HER ARTURO HAD A ROUGH WAY { OFFENSIVE ) OF TALKING WITH
PEOPLE. DIANA ALSO TOLD HER WHILE THEY WERE ALL LIVING ON WINFREE, THAT
SOMEONE BROKE INTO THEIR { DIANA'S AND ARTURO'S) APARTMENT AND STOLE FOUR
TH
   ^ AND DOLLARS , ANGELITA WAS NOT SURE IF IT WAS ALL MONEY OR IF IT
ALL INCLUDED VALUABLES. AS FOR THEIR BUSINESS, THEY WERE STRICTLY SMALL
TIME. SHE DID NOT KNOW ANYTHING ELSE.
MS. RODRIGUEZ AND MR. CASTILLO WERE THEN DRIVEN BACK TO THEIR CARS NEAR
THE HARRIS COUNTY HOUSE,                                              0001680
                          EXHIBIT 72 Page 001
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                 EXHIBIT 73




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                                                                       FEDERAL BUREAU OF INVESTIGATION


                                                                                                                                        Dfd of          rs                   8/ 13/33
                                                                                                                                                                             .




                                                                                                                       A




                         Pursuant to an arrest warrant Issued fey 0,8, Magistrate
             Judge Oarcy Peeht , Southern District of Texas for Unlawful Flight
             to Avoid Prosecution (tJPhp), Angelica Santana Rodrigues was
                       .                                                                      .



               —
             ar *rested at the office of the Federal Bureau of InYestigatiori
                   "




             / FBI): San Juan , Puerto Rico ,
                                              .




                                                                                                                                                                                           <
                           Santana RddriaUez voluntarily surrendered to arrest -na                                                                                                        •
                                                                                                                                                                                          \
                                                                                                                                                                                          sk       ,V


             agents. She was advised of her Constitutional Rights ana                                                                                                   A




             indicated she had no /knowledge about the disappearance of
             MMh        'fhat she was socially acquainted with Diana Garda and
             Arturo ROdriyufiZ whom she had Known for approximately one year                                                                                                                   *

             Santana Rodriguez also, indicated that she had no information as
             to 4-- he whereabouts of Ohei Julian Garcia.
                                <                                                                  A                               *

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                                                                                                                               >

                           V'




                       0-n 8 / 19/53 Santana Rodriguez appeared before U ,$ ,
             Magistrate Judge Jesus *  £5. •* astailenos who turned over her custody
             tO: Police of Puerto Rico {POPR} Extraditions Division.




                                                                                                                                                                                                        :
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                 EXHIBIT 74




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                                    Street location information
Number     -  6705 Name FAIRWAY      -              Type-        Suffix                -
Apt no 3   -    Name-GOLFCREST                  Type-BLVD    Suffix-
Date of offense 09/30/92
CajP«a,(s) Last-GARCIA    -                  Date of supplement 10/08/08
                                 First - DXANA      Middle R          -
                                                                             -
           Last       —  Recovered stolen vehicles information
           -                                                                -
                                                  --                                       -
 Stored                             by                      Ph# {000} 000 0000
Officerl-E.S. MEHL                                             -
                                 Emp# 071901 Shift 1 Div/Station-HOMICIDE

                                             SUPPLEMENT NARRATIVE
OCTOBER 6, 2008, MONDAY:
SERGEANT MEHL AND OFFICER CHAPPELL MET WITH ASSISTANT DISTRICT ATTORNEY
DENISE BRADLEY ON THIS DATE. ARRIVING A SHORT TIME LATER WAS ANGELITA
RODRIGUES AND HER ATTORNEY, J.C. CASTILLO. AN INTERVIEW WAS THEN CONDUCTED
WITH ANGELITA WITH REGARD TO THIS CASE. THE FOLLOWING WAS LEARNED:

                                         -
BOTH ANGELITA AND OBEL CROZ GARCIA ARE FROM THE DOMINICAN REPUBLIC BUT MET
IN PUERTO RICO.
THEY WERE MARRIED IN PUERTO RICO IN 1985 OR 1986.
OBEL WAS CONTACTED IN 1989 BY A FRIEND OF HIS SHE KNEW ONLY AS ’'RAMOSE" AND
"RAMOSEM ENCOURAGED OBEL TO MOVE TO HOUSTON.
OBEL ARRIVED IN HOUSTON IN 1989 AND THEN SENT FOR ANGELITA FOUR TO SIX MONTHS
LAT"""*.
OBEL HAD NO LEGITIMATE JOB AND SOLD DRUGS TO MAKE MONEY.
ANGELITA MET DIANA GARCIA AND ARTURO RODRIGUEZ THROUGH OBEL. ANGELITA WOULD
SOCIALIZE WITH THEM SAYING SHE WAS NOT PERMITTED {BY OBEL) TO WORK, MAKE
FRIENDS, ETC.
ANGELITA WAS NOT SURE IF ARTURO WAS SELLING DRUGS FOR OBEL AND NEVER KNEW OF
A CONFLICT BETWEEN THE TWO MEN.
ANGELITA KNEW
AS A "GOOD KID; LOVING CHILD."
                                             B   FROM HER VISITS WITH DIANA. SHE DESCRIBED HIM


THE MARRIAGE BETWEEN ANGELITA AND OBEL WAS STRESSED. SOMETIMES OBEL WOULD
LEAVE THEIR APARTMENT AND NOT RETURN FOR SEVERAL DAYS. SHE WOULD NOT KNOW
WHERE HR WAS OR WHAT HE WAS DOING. SHE SUSPECTED OBEL OF HAVING EXTRA MARITAL
AFFAIRS.




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ANGELITA LEARNED OF THE KIDNAPPING OF                     DURING THE AFTERNOON
HOURS WHILE WATCHING THE NEWS ON CHANNEL 45. SHE THOUGHT IT WAS ABOUT TWO
Q p*KJCK IN THE AFTEROON WHEN SHE LEARNED OF THE KIDNAPPING. SHE RECALLED THE
NEK SHOWING A PHOTOGRAPH OF
ANGELITA CALLED DIANA TO OFFER ASSISTANCE IN LOOKING FOR         DIANA TOLD
ANGELITA THAT SHE DID NOT KNOW THE IDENTITY OF SUSPECTS INVOLVED. ANGELITA
WANTED TO GO TO DIANA'S APARTMENT AND DIANA TOLD HER NOT TO COME OVER AND
THAT THE POLICE WERE SEARCHING FOR ANGELO.
ANGELITA CALLED DIANA A SECOND TIME, AT APPROXIMATELY 7:00 PM, AND DIANA
                                        |
AGAIN TOLD HER THE POLICE WERE LOOKING FOR                                                                                          HI
ANGELITA RECALLED THAT OREL CAME BACK TO THEIR APARTMENT AT APPROXIMATELY
2:00 AM THE FOLLOWING MORNING. SHE STATED OBEL WAS NOT AT THEIR APARTMENT
AT THE TIME        WAS KIDNAPPED. SHE SAID SHE AND OBEL HAD BEEN ARGUING AND
FIGHTING WITH ONE ANOTHER AND THAT OBEL WAS USING A LOT OF DRUGS AT THE TIME.
ANGELITA TOLD OBEL OF THE KIDNAPPING AND THAT SHE WANTED TO GO TO DIANA'S
APARTMENT AND ASSIST IN THE SEARCH FOR         SHE SAID OBEL REFUSED TO GO
TO DIANA'S APARTMENT BECAUSE THERE WOULD BE POLICE THERE. SHE SAID OBEL TOLD
HER SHE COULD GO IF SHE WANTED TO BUT HE WAS NOT GOING.
ANGELITA ASKED OBEL DIRECTLY IF HE HAD KIDNAPPED         SHE SAID OBEL WOULD
NOT ANSWER THE QUESTION. SHE SAID HE JUST LOOKED AT HER AND REMAINED SILENT.
OEP**\TOLD ANGELITA HE WAS LEAVING AND BEGAN PACKING WHATEVER BELONGINGS HE
HAL,, HE TOLD HER SHE COULD STAY IF SHE WANTED TO BUT HE WAS LEAVING. OBEL
TOLD ANGELITA HE WAS GOING TO PUERTO RICO.
ANGELITA SAID SHE HAD NO FURTHER IMMEDIATE CONTACT WITH OBEL. SHE SAID SHE
REMAINED BEHIND TO ATTEND TO HER COURT CASE. SHE SPENT ABOUT ONE WEEK IN
EL PASO WITH A FRIEND AND SOME TIME IN A HOUSTON MOTEL. SHE STATED HER FATHER
THEN SENT HER MONEY AND SHE WENT TO THE DOMINICAN REPUBLIC. SHE STATED THIS
WAS ABOUT TWO WEEKS AFTER OBEL HAD FLED THE COUNTRY.
WHEN SHE ARRIVED IN THE DOMINICAN REPUBLIC, SHE STAYED WITH HER MOTHER AND
LEARNED THAT OBEL WAS ALSO IN THE DOMINICAN REPUBLIC. SHE STATED OBEL WAS
STAYING APPROXIMATELY EIGHT HOURS AWAY FROM WHERE SHE WAS LIVING. ANGELITA
SAID SHE TRAVELED TO WHERE OBEL WAS AND TOLD HIM SHE WANTED A DIVORCE. SHE
SAID OBEL THREATENED TO KILL HER AND TOLD HER THAT HER DEATH WAS THE ONLY
WAY OUT OF THE MARRIAGE. ANGELITA SAID THIS WAS THE LAST TIME SHE EVER SAW
OBEL.
ANGELITA REMAINED IN THE DOMINICAN REPUBLIC FOR APPROXIMATELY SIX MONTHS AND
THEN TRAVELED TO PUERTO RICO. WHILE IN PUERTO RICO, SHE SAID SHE SAW A NEWS
REPORT ON THE DEATH OF                     SHE SAID SHE ALSO SAW A PHOTO OF
OBEL ASSOCIATED WITH THE SAME STORY AND LEARNED THAT THE POLICE WERE SEARCHING
FOR OBEL.
AN'
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STfji-ES •
                 ITA SAID SHE OBTAINED A DIVORCE FROM OBEL AFTER RETURNING TO THE UNITED

ANGELITA STATED OBEL DID HAVE A PISTOL WHEN THEY WERE TOGETHER IN HOUSTON.
                  0( HAT IT WAS A SEMI AUTOMATIC. SHE SAID THAT
SHE COUL                                                        WHILE THEY
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WERE IN HOUSTON, HE DROVE A BLUE THUNDERBIRD AND OBEL DROVE A RED OLDSMOBILE .
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SHE STATED DIANA GARCIA HAD RENTED THE APARTMENT IN WHICH SHE AND OBEL LIVED.
SHE SAID THE APARTMENT WAS LOCATED IN HUMBLE AND THAT DIANA USED HER NAME TO
REJ THE APARTMENT BECAUSE NEITHER SHE ( ANGELITA ) OR OBEL COULD GET CREDIT.
    ^
ANGELITA WAS ASKED ABOUT OBEL'S ASSOCIATES AT THE TIME THEY LIVED IN HOUSTON.
SHE SAID SHE WAS NOT EXPOSED TO ANY EXTENT TO ANYONE OTHER THAN DIANA AND
ARTURO. SHE WAS SHOWN PHOTOGRAPHS OF BIENVENIDO MELO, CANDIDO LEBRON, ARTURO
RODRIGUEZ, LEONARDO GERMAN AND CARMELO MARTINEZ-SANTANA. SHE IDENTIFED THE
PHOTOS OF ARTURO RODRIGUEZ AND MARTINEZ-SANTANA. SHE STATED MARTINEZ-SANTANA
WAS HER COUSIN AND IS CURRENTLY IN FEDERAL CUSTODY. SHE SAID MELO LOOKED
FAMILAR TO HER BUT SHE COULD NOT BE CERTAIN. SHE DID NOT RECOGNIZE PHOTOS OF
THE OTHERS.


TO CONTINUE




Supplement entered by = 71901
Report reviewed by-PAMELA JOHNSON                                                                             Employee number-906689
Date cleared - 09 /08 /08



No -   „J   69

Offense- CAPITAL MURDER / SEXUAL ASSAULT




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                 EXHIBIT 75




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                                            U.S. District Court
                                  SOUTHERN DISTRICT OF TEXAS (Houston)
                                CRIMINAL DOCKET FOR CASE #: 4:93-mj-00764- 1


     Case title: USA v. Rodriguez                                                  Date Filed : 08/06/1993
                                                                                   Date Terminated : 10/15/1993

     Assigned to: Magistrate Judge Nancy K .
     Johnson

     Defendant ( 11
     Angelita Santana Rodriguez
     TERMINATED: 10/15/1993

     Pending Counts                                              Disposition
     None

     Highest     Offense Level (Opening)
     None

     Terminated Counts                                           Disposition
     None

     Highest Offense Level (Terminated)
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     Complaints                                                  Disposition
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     Plaintiff
     USA
     TERMINATED: 10/15/1993
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 I 08/06/1993                 COMPLAINT as to Angelita Santana Rodriguez , filed (fmremp) (Entered : 09/14/1993)
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 j 08/06/1993                 Arrest WARRANT issued as to Angelita Santana Rodriguez (fmremp) (Entered :
                              09/14/1993)
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 5                     t   —rMotion to dismiss complaint and ORDER granting same as to Angelita Santana Rodriguez ( H
 j 09/22/1993                                                                                                                 j
                              Signed by Mag Judge Marcia A. Crone ), entered . Parties ntfd . (cdennie) (Entered :
                              10/15/1993)
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                                                United States of America
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    BY VIRTUE OF the authority vested in me by Title 8, Code of Federal Regulations, Part 103 of the
 Immigration and Nationality Act, and Title IV, Subtitle E, Sec, 451 and See. 456 of the Homeland Security
 Act of 2002,
     I HEREBY CERTIFYthat the annexed documents are originals, or copies thereof, from the records of
 U ,S. Citizenship and immigration Sendees, Department of Homeland Security, which the Secretary is the
 legal custodian by virtue of Section 103 of the Immigration and Nationality Act, These documents relate to:
                        ,




 Subject: Carmelo MARTINEZ



 Also known as (aka):            Camelo MARTINEZ; Carmelo Peguero MARTINEZ; Carmelo PEGUERO MART1NEZ;           -

 File and /or Certificate Number; A091Q72010                                                                                             Pages:   §




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                is subject to removal/deportation from the United States, based upon a final order by:

                                 an immigration judge in exclusion, deportation, or removal proceedings
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                                 a designated official
                                 the Board of Immigration Appeals
                                 a United States District or Magistrate Court Judge

                and pursuant to the following provisions of the Immigration and Nationality Act:
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                I , the undersigned officer of the United States, by virtue of the power and authority vested in the
                Secretary of Homeland Security under the Saws of the United States and by his or her direction,
                command you to take into custody and remove from the United States the above named alien *
                pursant to law, at the expense of:
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                                                                                                        ORDER

         Based upon the allegations set forth in the Notice of intent to issue a FInai Administrative Removal Order and
         evidence contained in the administrative record, lt the undersigned Deciding Officer of the Department of
         Homeland Security, make the following findings of feet and conclusions of law. i Hod that you are not a citizen or
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         national of the United States and that you are not lawfully admitted for permanent rasyenoe. t further find that
         you have a final conviction for an aggravated feiony as defined in section 101(a)(43)pi 4l the immigration and                                                                       >
         Nationality Act (Act) as amended 8 U,S >C. 1101fa)f43}$||  t > and are ineligible for any relief from removal; that the
         Secretary of Homeland/ Security, *may grant In an exercise of discretion I further find that the administrative            .
         record established by clear, convincing, and unequivocal evidence that you are daporlabfe as an alien convicted
         of on aggravated felony pursuant to section 237{a)(2)|AKjii} of the Act, 8 ILS.C. l22?fa}(2KA|{lii), By the power
         and authority vested in the Secretary of Homeland Security, and in me as tba Secretary's delegate under the laws                                                                                                                              -




         of the United States, i find you deportable as -charged and order that you be removed fVonrthe United States to:
             $ommcm RKPCBTXC  .
             or to any alternate country prescribed in section 241 of the Act.

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             I served this FiNAL ADMINISTRATIVE REMOVAL ORDER upon the above named individual.                                                                                                                                   v:
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To be completed by immigration officer executing the warrant:
Name of alien being removed:
CUZ'WMIQ M&mxmz

Port, date, and manner of removal:




                                Photograph of alien                                                                                                              Right index fingerprint
                                     removed                                                                                                                       of alien removed



       (Signature of alien   being fingerprinted)


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       (Signature and tide ofnnrm&radun officer taking print )




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 If actual departure is not witnessed, fully identify source or means of verification of departure:

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 If self removal (self-deportation), pursuant to 8 CFR 241.7, check here.



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     You are advised ifeat tie action noted below has been taken by tie U.S, Department of Homeland Security
     concerning the above-named inmate of your Institutions

      ® lftvssfig$loshss been initiated td determine whether iMs person is subject to removal from the United States
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                 A Notice to Appear or other charging document initiating removal proceedings, a copy of which is attached* was served on
                                   (Date)
      Cl A warrant of arrest in removal proceedings, a copy of which is attached, was served on
                                                                                                                                                                                                                                       (Me)
                 Deportation or removal from the United Slates has been ordered.
     It is requested ffent yom
      Please accept this notice as a detainer. This is for notification purposes only and does not limit your discretion in any decision
      affecting the offender's classification* work, and quarters assignments, or other treatment which he or she would otherwise receive.

       HD Federal regulations (S CFR 287,7) require that you detain the alien for a period not to exceed 48 hours (excluding Saturdays*
                 Sunday's and Federal holidays) to provide adequate time for DHS to assume custody of the alien , You may notify DH5 by calling
                                                _
                  .S;ii).::S.i7 ;:.f> 9 p 3 during business hours or                    after hours in an emergency.
      0          Please complete and sign the bottom block of the duplicate of this form and return it to this office. D A self addressed stamped                                                                                                                       -
                 envelope is enclosed for your convenience. Q Please return a signed copy via facsimile to
                                                                                                                                                                                                                                      (Area code and facsimile number)
                 Return fax to the attention of                                                                                                                                     ....... *   3t
                                                                                                 (Name cf officer handling esse)                                                                                         (Area code and phone number)
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                     Notify this office of the time of release at least 30 days prior to release or as far In advance as possible,
      E              Notify this office in the event of the inmate's death or transfer to another institution,
      0              Please cancel the detainer prevloiisly placed by this Office on
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      Receipt acknowledged;

      Date of last conviction;                                                                                          Latest conviction charge;                                                                                     ..
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      Estimated release date;
      Signature and title of official ;
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Record of Deporfc&bXe/RxcXud&bla Aliens
METHOD OF APPREHENSION ? Reject MARTINET, Carmel© is currently incarcerated by the Federal
Bureau of Frisons > at the Meshannon Valley Correctional Facility, Fhilipsburg, Pennsylvania,
under the bureau of Frisone register number Y9S74 078, Subject was encountered by AXX&ewood
X0E/DRO pursuant to tbe Criminal Alien Program * A detainer was filed with, the institution on
                                                                                                                                               -
or about March 05, 2010,
On August 21, 1008 subject was convicted in the United States District Court, Southern
District of Te as for the offense(e) © fs (count 1) CONSPIRACY TO POSSESS WITH INTENT TO
[                                                         ^
DISTRIBUTE 5 KLO0RAM8 OR HOPE OF COCAINE in violation of Title 2X United States Code
section 846 and (count 3} USING AND CARRYING A FIREARM IN RELATION TO A DRUG TRAFFXCAIHO
OFFENSE in violation of Title 18 section 024(c)(1), Subject received a term of imprisonment
to consist of 151 months on count 1 and 68 months on count 3 to run consecutively < The
subjects projected release date is September 83, 20X3 *
 ALIENAGE AND REMOVABILITYs Subject is not a © itissan or national of the United States,
 Subject is a cltiren and national of the Dominican Republic * Subject is not a Lawful
 Permanent Resident of the United States * Subject entered the United States on an unknown
 date, time and location without permission, parole or inspection by an Immigration Official

 CRIMINAL H I S T O R Y i Subject ha® a criminal history to include the following ;
 09/28/01 ASSAULT, Harris Co, Court at Law #8 TX, sentenced to 20 days jail *
                                     «



                                    -
 18/20/92 1,CRIMINAL MISCHIEF; 2,ASSAULT; 3 ,NEGLIGENT INJURY TO A CHILD, Harris Co * District
 Court TK, sentenced to 28 days jail on counts X and 2; and 8 months jail on count 3.
 01/28/84 DRIFTED WHILE INTOXICATED, Harris Co Court at Law #12 TR, sentenced to 38 days
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 jail *
 1MIURATION HISTORY ? On September    OS, XS88, the subject filed an Application for Temporary 1




 Residence/SpeciaX Agricultural Worker (Form X 7Q0) in San Juan, Puerto Rico * This
 application was approved and. statue was adjusted on September 13, 1888 » On TuXy 30, XSSI,                                    -
 the subject was granted legal permanent residence under Section 218(a)(2)(B) of the INA > On
 November 18, 1833 , the subject 1 ® Lawful Permanent Resident status was rescinded, thessfore
 reverting statu ® back to EWX *
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[ Subject                 claim ® to have immediate family living in the United 8 tabes *
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    A check of FACIA indicates that the subject haa no appeals pending «
    Subject hen                   no immigration petition ® ponding *
    Subject he® no travel documents *
    Subject he ® not served in the United State ® Military *
    Subject claims no fear of persecution or torture if returned to the Dominican Republic *

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    Subject vill be proceeded as an aggravated felon for Administrative Eamoval under section
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                 EXHIBIT 77




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                 Case4:17-cv-03621
                       4;17-cv-03621Document 89-12
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                                                                07/01/19     TXSDPage 786
                                                                                   Page   of 2
                                                                                        1of  813
                                                   HOUSTON POLICE DEPARTMENT   ^
                                                       Homicide Division
 /
     -"
      S                                      W I T N E S S
                                 County of Harris
                                                               S T A T E M E N T
                                                                       State of Texas
                      Date; Thursday, October l, 1992                      Time: 628 Hrs.
          Before me, the undersigned authority, this day, personally appeared DIANA
          GARCIA, believed by me to be a credible person, who after being sworn upon
          his/her oath, did depose and say:
          My name is DIANA GARCIA I am a WHITS FEMALE and I am
          been born
          number xs
                                 .             #

                               My home address is                  an my home telephone
                                        also be reached by caliirng . Mv TEXAS drivers
                                                                                       I
                                                                       years old, having

                                 MM and my Social Security number is
          license numbe i
                            ^^ ^^^^ ^                             .
          have attained 7 year o! formal education I am unemployedl at this time
          LAST NIGHT I WENT TO BID AROUND 10:30, MY SON mmmmm WENT TO BED AROUND 8:30
                                                                                                                           .
          OR 9:00. HHHB AND I WERE ALREADY ASLEEP, THE THING THAT WOKE Ml UP WAS THE
                                     .
          NOISE AT THE DOOR MY HUSBAND JOSE GOT UP, I SAT UP IN THE BED MY HUSBAND                   .
          GOT TO THE DOOR THAT DIVIDES THE BEDROOM AND THE LIVING ROOM AND THIS MAN WAS
          STANDING THERE WITH A GUN IN HIS HAND. HI TOLD MY HUSBAND TO GET BACK AND MY
          HUSBAND WAS WALKING BACKWARDS TOWARDS THE BED. THE MAN TOLD MY HUSBAND TO
          GET INTO THE BED FACE DOWN, HANDS ON THE BACK, POLICE, AND THEN HE TOLD HIM
          TO OPEN HIS HANDS BECAUSE HE WAS TIEING MY HUSBAND'S HANDS WITH THE CORD FROM
          THE ALARM CLOCK. THE MAN THEN PUT A PILLOW CASE OVER MY HUSBANDS HEAD AND
          THEN LATER ON HE TOLD MY HUSBAND TO OPEN HIS MOUTH. I COULD HEAR THE MAN
^          ',IDLING MY HUSBAND TO DO THIS, I DIDN'T SEE HIM DO ALL THIS THE SAME MAN
          THAT WAS TELLING MY HUSBAND TO GIT INTO THE BED FACE DOWN TOLD ME TO GET FACE
                                                                                                 #




                   .                     -
          DOWN TOO THEN A T SHIRT WAS PUT OVER MY FACE AFTER I WAS TOLD TO LAY DOWN
          FACE DOWN, THEN THEY THREW THE BLANKET OVER ME                   .
                                                                  I KEPT ON HEARING HIM
          HITTING ARTURO. THEN THEY UNCOVERED ME AND THEN SOMEONE PUSHED MY GOWN UP
          AND THEY STARTED FEELING MY ASS AND STARTED PULLING MY UNDERWEAR DOWN. THE
          MAN THAT WAS DOING THIS TO ME DID NOT HAVE ROUGH HANDS. THE MAN THEN TURNED
          ME OVER HE HAD ALREADY TAKEN MY UNDERWEAR COMPLETELY OFF THEN HE OPINED MY    .
                                                           .
          LEGS AND STARTED HAVING SEX WITH ME WHEN I WAS LAYING FACE DOWN IN THE BED
                                                           .
          I HAD MY HANDS TIED BEHIND MY BACK THEN BEFORE I WAS TURNED OVER MY HANDS
          WERE UNTIED AND THEN THEY TIED MY HANDS IN FRONT OF ME AND MY HANDS WIRE
          PUSHED UP AGAINST MY CHEST. MY HANDS WERE NOT TIED REAL TIGHT, THEY WERE
          LOOSE. WHILE THE MAN WAS HAVING SEX WITH ME I COULD HEAR THEM HITTING
          ARTURO. ARTURO WAS MOANING AND I WAS SAYING PLEASE, PLEASE, I COULD HEAR MY
          BABY CRYING. I COULDN'T SAY ANYTHING TO HIM. WHEN THE MAN THAT WAS HAVING
          SEX WITH ME WAS THROUGH HE GOT UP. THAT'S WHEN I DIDN'T HEAR MY BABY
                  .
          ANYMORE I DID HEAR THE FRONT DOOR CLOSE. THEN ABOUT A MINUTE LATER I HEARD
          THE FRONT DOOR CLOSE AGAIN. THAT'S WHEN I UNCOVERED MY FACE. I GOT UP AND
          TURNED ON
          The above portion of this, my statement, had been read to me by
l/f?                   a n d I find it to be true and correct to the best of my
          knowledge.

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                                                                          Page   of 813
                                                                               2 of 2
  End of page 1,
  Page 2 of statement of DIANA GARCIA      .
                                                                ^
^ITHE LIGHT. ARTURO WAS LYING ON THE FLOOR WHERE          ms SUPPOSE TO BE.
   STARTED LOOKING FOR BABY         I WALKED OVER TO ARTURO AND TOOK OFF THE

 M.
 PILLOW CASE AND UNTIED HIM. WE BOTH STARTED SCREAMING BABY             BABY
          WHEN WE WALKED INTO THE LIVING ROOM LOOKING FOR ANGELC THST^S WHEN
  BACK INTO
  SCREAMING
           MAN IN THE LIVING ROOM. WE THOUGHT HE WAS COMING BACK
                                                           .
                                                                ^ SO WE WENT
                                MAN WAS STILL MASKED AND HE LEFT. WE STARTED
                                 AND I WENT OUTSIDE I WENT TO MY NEIGHBORS, I
  DON'T KNOI          O        'SIDE WITH ME. MY NEIGHBOR DIALED 911 WHEN SHE
  SAW WHAT WAS HAPPENING. I THINK THAT I RAN TO THE STREET LOOKING FOR MY SON                            .
  THE MAN THAT WALKED IN WITH THE GUN IN HIS HANDS WAS A BLACK MAN      HE WAS             .
  DARK COMPLEXION, I KNOW THIS BECAUSE I SAW HIS HANDS               .
                                                              HE DIDN'T SPEAK
  ENGLISH VERY WELL HE HAD AN ACCENT. HE DIDN'T SPEAK CLEARLY AND HE DIDN'T
  SAY ONE WORD IN SPANISH, HE WAS TALL ABOUT SIX FOOT OR BETTER HEAVY BUILT,
            .                                          .
  MUSCULAR HE HAD BIG EYES ALMOST POPPING OUT ALSO BEFORE THEY LAID ME DOWN
  I SAW THAT THERE WAS A BIG GUN POINTING INT^O THE BEDROOM FROM THE LIVING
  ROOM NOT THE WHOLE GUN WAS SHOWING ONLY THE FRONT OF THE GUN. I THINK THAT
  I CAN RECOGNIZE THIS MAN BY HIS VOICE AND WITH A MASK ON. THE MASK WAS RED
  AND WHITE, IT HAD MORE WHITE THAN RED AND IT WAS A KNIT TYPE MASK THE MASK           .
  COVERED MOST OF HIS FACE EXCEPT THE EYES AND MOUTH PART, I ALSO REMEMBER
  THAT THE MAN HAD BIG LIPS, THEY WERE BLACK. THEY WERE SO BLACK THEY LOOKED
  PURPLE.   ANOTHER THING ABOUT HIS EYES WAS THAT THE WHITE OF HIS EYES WERE
  VERY WHITE    .
  I have been informed that under the PENAL CODE of the STATE OF TEXAS, Section
  37.02: A person commits the offense of PERJURY if, with intent to deceive
      with knowledge of the statement's meaning? he/she makes a false statement
  ,nder oath or swears to the truth of a false statement previously made; and
  the statement is required or authorized by law to be made under oath.


  This, my statement, consisting of 2 page/pages, has been read to me by
                   and I find it to be true and correct to the best of my
  knowledge as typed by OFF, U. P. HERNANDEZ.


                               *          Signature
  Subscribed and sworn to before me, the undersigned authority on Thursday,
  October 1, 1992


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  End of statement of DIANA GARCIA,                                              MX SOM
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       EXHIBIT 77 Page 002
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                 EXHIBIT 78




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                                                         07/01/19     TXSDPage 789
                                                                            Page   of 813
                                                                                 1 of 2
                                 HOUSTON POLICE DEPARTMENT        ^
                                       Homicide Division
                             W I T N E S S      S T A T E M E N T
                        County of Harris                    State of Texas
             Date; Thursday, October 1, 1992                   Time: 426 Hrs.
Before me, the undersigned authority, this day, personally appeared JOSE
ARTURO RODRIGUEZ, believed by me to be a credible person, who after being
sworn upon his/her oath, did depose and say;
My name is JOSE ARTUR< R0DRIGUBZ           .
                                   I am a WHITE            am ® years old,
telephone number             ^
having been born flHHHkMMjjy home address is
TEXAS drivers licenls ramSer is
                                                                ^and my home
                                I can also he reache b calllng N/A. My
                                                                    ^ ^^
                                                                              WT
mmm-                         ^
              I have attained 6 ¥
    tlflXS uXld ® »
                                          and ray Social Security number is
                                         formal education. I am unemployed

LAST NIGHT ME, M¥ WIFE DIANA, AND HER SON           NT TO SLEEP ABOUT 11:00                                   .
M¥ WIFE AND MI SLUR IN THE BED AND HER SON          SLEEPS ON THE FLOOR NEXT
               .
TO THE BED THE TV HAD STAYED ON , IT WAS            MED TO TURN OFF BY IT'S
     .
SELF I WOKE UP AND SAW THE TV ON, I WAS STILL IN BED WHEN I HEARD A NOISE
                                                        .
, THE NOISE WAS COMING FROM THE FRONT DOOR I GOT UP AND STARTED WALKING
TOWARDS THE FRONT DOOR WHEN I WAS MET BY THIS MAN HOLDING A GUN IN HIS HAND
. THE MAN TOLD MB IN ENGLISH , DON'T MOVE , DON'T MOVE, AND THEN HE WALKED ME
TOWARDS THE BED. THE MAN HAD A MASK COVERING HIS FACE , THE MASK IS LIKE THE
 NES YOU USED TO COVER YOUR FACE WHEN IT'S COLD. I THINK THE MASK WAS EITHER
^
,ROWN OR BLACK , I'M NOT TO SURE THE ONLY LIGHTING WAS THE LIGHTING FROM THE
TV. THE MAN WALKED ME TO MY BED AND PUSHED ME DOWN ON THE BED. HE TIED MY
HANDS WITH THE TELEPHONE CORD, THEN HE PUT A PILLOW CASE OVER MY HEAD . HE
THEN TOOK THE PILLOW CASE OFF AND TIED A CLOTH OVER MY MOUTH AND THEN PUT THE
PILLOW CASE BACK OVER HIS HEAD COVERING HIS FACE. THE MAN THEN STARTED
HITTING HIM ON THE HEAD WITH THE GUN ABOUT THREE TIMES AND THEN HE PUSHED ME
                                                                          .
ON THE FLOOR AND HE STARTED KICKING ME ON THE BACK AND RIBS I BEGIN TO PASS
OUT , I WAS GASPING FOR AIR , I COULD BEARLY HEAR WHAT WAS BEING SAID OR
HAPPENING . I COULD HEAR SOME NOISES , I THOUGH THEY WERE HITTING MY WIFE
BECAUSE SHE WAS SCREAMING. THE NEXT THING I REMEMBER IS MY WIFE TAKING THE
                                                      .
PILLOW CASE AND THE CLOTH OVER MY MOUTH OFF I TURNED OVER AND LOOKED AT HER
ASKING HER WHAT HAPPEN. WHEN I DID THIS, I SAW ONE OF THE MAN LOOKING INTO
THE BEDROOM , I GOT BACK DOWN ON THE FLOOR THINKING THAT HE WAS COMING BACK
INTO         mooM. AFTER THAT WE GOT UP AND KY WIFE DIANA STARTED FOR THE
BABY        . WE LOOKED UNDER THE BED THINKING HE WAS HIDING , WE LOOKED
AROUN       :OOM AND SAW THAT HE WAS MISSING, SO WE WALKED OUTSIDE , MY WIFE
WALKED TO THE NEIGHBOR AND KNOCKED ON THE DOOR , THE NEIGHBOR CAME OUTSIDE ,
                                   .
MY WIFE TOLD HER WHAT HAPPEN A ANOTHER NEIGHBOR WHO LIVES UPSTAIRS ALSO CAME
OUTSIDE AND SHE WAS
The above portion            of this, my statement, had been read to me by
                        and I find it to be true and correct to the best of my
knowledge.




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                                                          07 /01/19    TXSDPage 790 of
                                                                             Page   of 2813
    End of page 1.
    Page 2 of statement of ARTURO RODRIGUEZ        .
                                                                    ^
^THE ONE THAT           CALLED THE POLICE. WE STAYED THERE UNTIL THE POLICE CAME.
     THE HAN THAT WALKED INTO THE APARTMENT AND POINTED THE GUN AT ME WAS TALL,
    ABOUT 6'0 TALL, HE WAS STOCKY LIKE YOU THE OFFICER, HE WAS WEARING A BROWN OR
    BLACK MASK LIKE THE ONE YOU USE WHEN IT'S COLD OVER HIS FACE. THE CLOTHES
    WERE ALL THE SAME COLOR DARK, LIKE A BROWN OR BLACK . THE SHIRT WAS ALSO DARK
    COLOR AND LONG SLEEVE. THE GUN WAS A LARGE GUN , AUTOMATIC , IT WAS BLACK.
    THE MAN SOUNDED LIKE A BLACK MAN TALKING , HE WAS SAYING THINGS TO ME IN
    ENGLISH, I KNOW HE WASN'T A MEXICAN , NOR A WHITE MAN AMERICAN , HI SOUNDED
                           .
    LIKE A BLACK MAN THIS IS ALL THAT HAPPEN, EVERYTHING HAPPEN SO FAST                            .
    I have been informed that under the PENAL CODE of the STATE OF TEXAS, section
    37.02; A person commits the offense of PERJURY if, with intent to deceive
    and with knowledge of the statement's meaning; he/she makes a false statement
    under oath or swears to the truth of a false statement previously made; and
    the statement is required or authorized by law to be made under oath                           .

    I have read this, my statement, consisting of 2 page/ pages, and find it to be
    true and correct to the best of my knowledge as typed by U.P. HERNANDEZ                            .
                                   v     h
                                   V         Signature

—
/   Subscribed and sworn to before me, the undersigned authority on Thursday,
     ctober 1, 1992




    End of statement of ARTURO RODRIGUEZ       .                         v         M. L 00YU
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                 EXHIBIT 79




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                                                                                       lot  813

  HCDistrictclerk.com               The State of Texas vs. SANTANA, CARMELO NINO (SPN:                               6/29/2019
                                    01206555)
                                    Cause : 063207301010 CDI : 3     Court: 209

  ACTIVITIES
  Date     Type                                    Description                                                     SNU/CFI
  12/21/1992      ORDER                            ORD GRANT CHRISTMAS RELEASE                                     995

  12/21/1992      RECORDED                         VOLUME 0861 PAGE 0827 APP MINUTES CM
  12/21/1992      OFFENSE                          INJURE CHILD LEVEL MA
  10/23/1992      ORDER                            ATTORNEY FEE VOUCHER                                            996

  10/23/1992      ORDER                            ATTY FEE AMT $142.85                                            996

  10/23/1992      RECORDED                         VOLUME 0821 PAGE 0374 APP MINUTES CM
  10/20/1992      ATTORNEY                         GOODE, KENNETH E.                                               998

  10/20/1992      ATTORNEY                         AAT COURT 209 CFI 209
  10/20/1992      JUDGE                            MCSPADDEN, MICHAEL T. PRESIDING
  10/20/1992      SENTENCED IN                     COURT 209 STARTING 10/08/92                                     999

  10/20/1992      SENTENCE TO                      6 MONTHS CONFINEMENT

  10/20/1992      CREDIT GIVEN                     DEFENDANT RECEIVED 14 DAYS CREDIT

  10/20/1992      ORDER                            ORD APP COUNSEL                                                 997

  10/20/1992      RECORDED                         VOLUME 0818 PAGE 0226 APP MINUTES CM
  10/20/1992      OFFENSE                          INJURE CHILD LEVEL MA
  10/20/1992      JUDGMENT                         CONVICTION                                                      999

  10/20/1992      JUDGMENT                         LESSER OFF. GUILTY PLEA - NO JURY
  10/20/1992      JUDG OFFENSE                     INJURE CHILD LEVEL MA
  10/20/1992      PENALTY                          HCJ AMOUNT 6 MONTHS
  10/20/1992      RECORDED                         VOLUME 0818 PAGE 0715 APP MINUTES CM
  10/09/1992      SERVICE ACTIVITY                 BY PLACING DEF IN JAIL ON 10/08/92
  10/09/1992                                       RECEIPTED BY CLERK
  10/05/1992      ACI/BF                           TIME 1319 AMOUNT $4000                                          998

  10/05/1992                                       ACKNOWLEDGED BY SHERIFF
  06/02/1992      MOTIONS                          MO TO SUB ATT                                                   999

  06/02/1992      MOTIONS                          FILED CFI 209
  06/02/1992      ORDER                            ORD GRNTD MO TO SUB ATT                                         998

  06/02/1992      RECORDED                         VOLUME 0712 PAGE 0226 APP MINUTES CM
  06/02/1992      OFFENSE                          INJURE CHILD LEVEL F2
  05/29/1992      GRAND JURY ACTION                FID 05/29/92 G185                                               999

  05/29/1992      GRAND JURY ACTION                ROTATION CRT 209 OFF FREQ BND $2000
  05/29/1992      GRAND JURY ACTION                OFFENSE INJURE CHILD LEVEL F2
  05/29/1992      ORI                              ******************** OFFENSE NO    '




  05/21/1992      BOND FILED                       CRT 209 TIME 0504 TYPE SURETY
  05/21/1992      BOND MADE                        AMT $2000 DATE 05/20/ 92 RCPT # 132421
  05/21/1992      BONDSMAN                         IFIC-BETNCOURT, MARIJO " JO"
  05/12/1992      SERVICE ACTIVITY                 BY PLACING DEF IN JAIL ON 05/ 11/ 92
  05/12/1992                                       RECEIPTED BY CLERK
  05/11/ 1992     ATTORNEY                         GOODE, KENNETH E.                                               999
              EXHIBIT 79 Page 001
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  05/11/ 1992     ATTORNEY                         AAT COURT 209 CFI 209
  05/11/ 1992     JUDGE                            MCSPADDEN, MICHAEL T. PRESIDING
  05/11/ 1992     ORDER                            ORD APP COUNSEL                                                 999

  05/11/ 1992     RECORDED                         VOLUME 0696 PAGE 0522 APP MINUTES CM
  05/11/ 1992     OFFENSE                          INJURE CHILD LEVEL F2
  05/09/1992      CMIF                             TIME 1159 AMOUNT $2000                                          999

  05/09/1992                                       ACKNOWLEDGED BY SHERIFF
  05/08/1992      COMPLAINT FILED                  0030 209 INJURE CHILD LEVEL F2

  05/08/1992      BOND SET                         $2000                                                           999

  05/08/1992                                       REVIEWED BY
  05/08/1992      ORI                              HOUSTON POLICE DEPAR OFFENSE NO : 4898069
  05/08/1992      COMPLAINANT                      C RAYBOULD




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                The Testimony of said witness                                  is believed to be material to foe State*


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                Sworn to and subscribed before me* this                                       , day of                                            A,D.
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                          GRABBED THE COMPU BY THE HA HU CAUSING PAIN THE SUSPECT THREW THE CGrtPL * TO
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                          THE CONCRETE GROUND WHEN HER MOTHER ATTEMPTED TO PROTECT HflH
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                      EXHIBIT 79 Page 015
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        Case 4;17-CV-03S21 Document 18- / 9 Filed on 07/0.1/ X&jn I
       Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 807 of 813

JUDGEMENT OF FORFEITURE CF THE DISTRICT CRIMINAL COURT                                              .
                                                                                                NO 209

OF HARRIS COUNTY, TEXAS

THE STATE OF TEXAS                                        DATE DEFENDANT FAILED TO
 . .. .
VS S F NO 632073 A            -                           APPEARS 100592

CARMELO NINO SANTANA AKA                  CAEMEQ                 -
                                                    MARTINEZ (i) D G12G6555
                                                                                           111
                                                                                                                   •>. •. •



INTERNATIONAL FIDELITY INSURANCE CO ;                 .
BY SERVING HAROLD KLEIN, ATTORNEY FOR SERVICE                                                                 TO

5419 GOLF DRIVE                HOUSTON, TEXAS 77091                                  AGENT; JO
                                                                                                        ''
                                                                                                         •7




     This day came the State of Texas by her attorney; and the naffie of the Defendant,
CARMELO NINO SANTANA AKA CAKMEQ MARTINEZ (l)D 01206555
INDICTMENT being duly and distinctly called    at the door of
                                                                 -
                                                             ,,WhO stands charge
                                                               the   Courthouse to
                                                                                  !by
                                                                                   come
into Court to answer the State of  Texas  on the charge of A  / FELONY     according to
the tenor and effect of his bond on file in   this Court, but  after  a reasonable time
and the said Defendant be and the same is, declared forfeited, and that the Stats of
Texas have and recover of the said Defendant,
                                                                            .V V\%
                                                                                 '




                                                                  -         1 75                                   , as principal
CARMEL0 NINO SANTANA AKA
the said {sureties if any);
INTERNATIONAL FIDELITY INSURANCE CO ;
                                          CARMSQ MARTINEZ (1) D 01206


                                                      .
                                                                            ^^
                                                                            •V




                                                                  :N>   *
                                                                        '



                                                                 .
the sureties on said bond the sum of $ 2W& 00 dollars Plus prejudgment interest        .
at the rate of 6 percent on the face araountlof the bond, plus post judgment interest
                                                          .
at the highest rate allowable by law This judgment will be final unless good cause
be shown why the defendant did not appear.
     It is further ordered that citation issue to said sureties commanding them to
                                                |
be and appear before this Court/ tiling written answer with the District Clerk's

                                                      ^
Office, Room 1Q1A, 301 San Jacinto, Houston., Texas 77002 at or before 10 o'clock a.m.
                                                      '


of the Monday next after the expiration of the twenty days after the date of service
of this citation and show cause* Why judgment of forfeiture should not be made final.
                         |
     It is further ordered  hafc notice to the Defendant,
CARMELO NINO SANTANA AKA CARMHO MARTINEZ (1)                         as principal, be
deposited in the United/States mall directed    tothe Defendant at the address shewn
on the bond.           :
                     ;V iX:


     It is furtherJbpdered that an alias capias issue for the arrest of the Defendant
                                 '    '
                                                                                                                                 .
                                7:
                        .... N-A- y
                 '
     Judgment Nidi Granted on'
                                                      OCT 0 6 1392
              V.'

                    -
                                                       /|        J u d g e Presiding

                         ANNEXED IN THE JUDGMENT MINUTES AT
                                            .
                                          Vol   7P~Page /05
                                                "                 *




      EXHiBiT 79 Page 016
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                                                                                      :         A       mm"T «
  Case 4:17- ev-G3821 Document 18- 79 Filed on 07/01/19 in TXSD Page 17 of 28
 Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 808 of 813

                                                                                                                                      r~R l£22S^ -.ao
AJ/1 surety
                                                   NO. 632073-A
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                                                                                                                            Annex’

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THE STATE OF TEXAS                                        § IN THE 209TH                                                 DlSTlQ£ £c£GURT
V.                                                        S OF
                               § HARRIS COUNTY, TEXAS
CARMELO NINO SANTANA AKA CARMEO MARTINEZ, et al
                                               AGREED FINAL JUDGMENT

        ON THIS, the 16TH day of OCTOBER, 1992, came <*m for trial the
above-entitled and numbered cause wherein the           of Texas is
plaintiff and CARMELO NINO SANTANA AKA CARMEO MARTINEZ is
Defendant-Principal and INTERNATIONAL FIDELITY/fpISURANCE COMPANY;
AGENT: JO BETNCOURT is Defendant-Surety; /Whereupon Defendant
Principal having been duly notified failed toXanswer or appear and
                                                                                                                                                             -
Defendant-Surety answered and appeared by counsel; after
considering the pleadings and evidence          the Court finds that
no sufficient cause is shown for the Defenuant-Principal's failure
                                                                                    herein                ^
to appear on OCTOBER 05, 1992, and that|   B® judgment of forfeiture
heretofore rendered against the Def§pg
however, pursuant to Article 22.16,
                                      |  u ts should be made final;
                                        A.C.C.P., the Court hereby
discharges the Defendants from liability on the bond upon the
                                                                                    ^
payment by the Defendant-Surety      court costs, and prejudgment
interest.
     It is therefore ORDERED, ADJUDGED, and DECREED that the State
of Texas do have and recover fjrora CARMELO NINO SANTANA AKA CARMEO
INSURANCE COMPANY; AGENT: J                           ^
MARTINEZ as Defendant-Prii pal and INTERNATIONAL FIDELITY
                              ETNCOURT as Defendant Surety, jointly
and severally, the costs f court, and prejudgment interest
                                                                                                                                      -
accruing from the date       the heretofore entered judgment of
forfeiture to the date   jfinal judgment at the rate of six percent
per annum on the   bo    mount, $2,000.00, for all of which let
execution issue.
                                                     day of                                                                               A    , 19 ,

                                                                       £ 4PRESIDING
                                                                           JUDGE

ASSXSTA                                  TTORNEY

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                                                        JUDGMENT- -                      r 'T’V’r*             TT   Tf                        < 00
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       Aten' s County, Texas              i             DE .
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            Case 4:17-cv-03821 Document 18-79 Filed on 07/01/19 in IXSD Page 18 of 28
           Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 809 of 813

                                                                  HOUSTON, TEXAS                                          19

                                    REMIT TO KATHERINE TYRA DISTRICT CLERK
                                                             HARRIS COUNTY, TEXAS

                       .
                    NO 632073 A     -                              DISTRICT CRIMINAL COURT                                NO  . 209
                    'CHE STATE OF TEXAS VS                    .
                          CARMEL3 NINO SANTANA AKA CARMEO MARTINEZ (1)
                          INTERNATIONAL FIDELITY INSURANCE CO ;                                 .
                          AGE2SIT: JO BETNCOURT
                                                                                                                          xv :?u :
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                    SHERIFF ’S COST:                         JURY FEE .-fixy                               $ 10.00
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                    GUT OF COUNTY SHERIFF FEE

                    JURY FES
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                    LAW LIBi ABY
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                    APPELLATE JUDICIAL
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                   CASH APPLIED                                                                           5
                        PLEASE MAKE PAYABLE TO KATHERINE TYRA, DISTRICT CLERK
                                   CASHIER 'S CHECK OR MONEY ORDER


                   PAID                                    RECEIPT I® .                             INITIALS

          EXHIBIT 79 Page 018
                                                      VOLUME               PAGE                                                                         0001724
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                 Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 810 of 813




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                   Case 4:1i - cv-03821 Document 18- 79 Filed on G7/01/19 in TXS|) j)Page 19 of 28

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                                                       KATHERINE TYRA DISTRICT CLER                                                                                                        . <Lri
               COUNTY AUDITOR 'S FORM / 1 I23- A
               HARRIS COUNTY TEXAS REV 89
               STATE OF TEXAS
               COUNTY OF HARRIS                                                                                                                   ^                                                  2 5 375 CR
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     ACTION:                                                                          CDf:                                                                                                                   COURT:

                  AGREED JUDC                   J- INAt                                                                                                                                                                                         20 ’7
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          STYLE PLTF:                                                                                                                                                            DATE:

                           THE STATE OF                 r                                                                                                                                                i 0 / 2 \3 / 9 2
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  Case 4:17- cv-03621 Document 18- 79 Filed on 07/01/m in TXSD Page 20 of 28
 Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 811 of 813




                                              S.F. NO.   4i
                                                          1
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   THE STATE OF TEXAS                                     ()                   IN THE 2 1_
                                                                                             *                  Pftfztc.r
   VS         ,                                           (9                   Qt*> u 7
SlA fftAt &o
    '                   t   lAstT' /MA ET AL              O                    OF HARRIS COUNTY, TEXAS
                                                  DEFENDANT'S ANSWER

   CONES NOW THE Defendant -surety and files this                  r and would
   respectfully show this Honorable Court as follows:
                        I.                                      pleadings and
                                                         |
                                                   Plainti
   Defendant generally denies the allegations of contain    i
   demands strict proof of any allegation therein
   At the time the bond was forfeited or attempted ^        e forfeited, the
   principal on said bond was not required to appear 'before this Court or any   ^
                                                                                 /^
                                                                                  ^
   other Court.
   Defendant has not consented or given permissioig)to transfer          the bond i.a
            from one court to another court or frd*) one case to another case.
   question

   At the time the bond was made, no val
                                           iv          (      .       fW
                                                          jmplaint, information or
   indictment existed     charging the  principal    «    a violation of the laws of
   Texas nor has one existed since said tilse'fhich pleading would require posting a
                                                                    .
   bond. There exists a fundamentalL defect in such
                                            V.
   The name of the principal was not duU nd distinctly called defendant   at the doer
   of the courthouse before the bond w&spfeclared forfeited; Ifthe
   mistaken,  then the    Court did  not |
                                         va  £ ^ a reasonabl
   to appear prior to declaring the bond to be forfeited.
                                                             e    ^
                                                               time for
                                                                                   be
                                                                            principal

   There has been a total lack ofConsideration between the principal, the
   surety and Plaintiff and between the principal and surety at the time and
   after the bond was made          (nr   .
                                      ^ VII.
   Plaintiff has been guilty a laches in asserting. the claim represented by
                                          VIII.  ^^
   this case and in apprisingrD fendant of the same
   There are no allegatiq 'fn any pleading of Plaintiff which would support
   a final judgment in th\ case.
                                            IX.
   Defendant is absolv        f liability as provided by Article 17.16,T.C.C.P.
                          O                 X.
   Defendant is enyC          to be exonerated under the provisions of Article
   22.13, T.C.t.P.(( •) )
                                            XI.
   Defendant is     itled to be absolved of liability under the provisions of
   Article 2372p j Sec. 13, V.A.C.S.
                    -                      XII.
   Defendant     id show that the bail was discharged under the provisions of
   Article 2     -3, Sec. 12, V. A.C.S.XIII.
   Defendaif Yis entitled to a remittitur and hereby moves and requests the
                ^
   Court tp remit the amount of the bond as provided by Article 22.16,
        *
            ^
   T • C C7P.
            -

    Defendant vould showpthat
    of all or a portion.
                                                    XIV.
                                        , the equities in this case require a remittitur
                             ' of anyvjudgment which may be rendered
                                  '                                              by this Court.
    Defendant prays that     1
                              !; the Court      enter; a take  nothing  judgment .
                          I * - i vL.1 ft ft'
                                    '
                              w   j
                                      l i
                                          w          XV.
    Defendant would '‘ show that tftaAobligations              stated in the bond are more
    onerous than is     required      by    law  and  will not  support a forfeiture.
    WHEREFORE,      iSSfiS                           Defendant prays that Plaintiff take
    nothing by this action or in the alternative that the Court                       remit the
    amount of the bond     .and, £ p £PyTY
                                   he „  be  permitted   taroo  hence  witli his  costs.
                    3 Y _ By
                                  ^ffi           "HAROLD KLEIN llbU
                                                  Attorney for Defendant
                                                                                                !



EXHIBIT 79 Page 020                               5419 Golf Dr Houston, TX 77091
                                                                       *   /

                                                                  713 /682-6800
                                                                                     1           iswrs   “ss1         *0001726
                                                                            ,      aiiu Bcvnoii .
we do bind ourselves, and each of us, our heirs* executors ana aummisiraiunt juumr             ^
                    N  OF THIS  BOND IS THAT THE DEFENDAN         T HAS   BEEN  CHARGED    WITH A FELONY
    THE CONDITIO
           Case 4:17-cv-03621 Document 89-12 Filed on 01/05/23 in TXSD Page 812                                                                                                                                              of 813
                                                                                binding him to appear before
offense and to secure his release from custody is entering into this obligation
                                                                                                                        209th. DISTRICT
                                                                                                          Court of Harris County, Texas.
                                                                WELL   AND   TRULY     MAKE   HIS   PERSONAL       APPEARANC E BEFORE                   1



     NOW THEREFOR E, IF THE SAID PRINCIPAL SHALL
                                                                 to which  the  same  may  be transferred  and   for any and all su bsequent
SAID COURT INSTANTER AS well as before any other court
                                                                                 actions based on  said charge , and  there remain from day
proceedings that may be had relative lo said charge in the course of criminal
to day and term to term of said courts, until discharged by due course of law,  then and there to answer  said accusation   against him Ibis                                                                                                         .
obligation shall become void, otherwise to remain in full force and effect    ,


                                                              SIGNED AND DATED                Mav       20 th .          , 19 92                                                                                            -
                                                                              20th.
         Taken andjappro ed this         \

                                                                                                      . i9 _22                                      A> A .'Wf                 4 C y\ ,                         /                         Principal
         Johnny Klevenh                      r -Sheriff Harris County, Texas.
                                                                                                                                                                                                       A      /
By             LL                                                                                              Deputy
     7
                                                                                                                                                                                     Bd    late)*. 77 ^                                      /       7
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                                                                                                                Surety                 RACE                  SEX   o
                                                                                                                                                                              DOB                HT.                            WT.
 Go Betncourt
 411 Fannin # 306     .                      { Mailing Address)
                                                                                                                                       HAIR                                          DL #                   STATE

 Houston. Texas                                   77002                                      228-2273                                                                                                           .
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( City and Stale)                                                                                                                                                                           2            • " - i?
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Lie #.         74303                                                     Empl  .             JB                                                                                             i
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THE ST/VTE OF TEXAS
COUNTY OF HARRIS                                                             We, each of              Q                                        4            BOND FONFE.iTED    -

                                                                                                                                                            New ojil fixed 7 The
                                                                                                                                                                                 ALiAS C   .WAS TO Id

                                                                                                                                                                                                 sernTof                                 ^                       ^—
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                                                                                                                                                            do swear that we are worth in our own right, mi
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 least the sum of TWICE TH 3 AM
                                                                                !                OF THE BOND                                                                                                                         DOLLARS,
                                                                     -
 after deducting from our prop» rty aU thijt which is exempt by the Constitution and
                                                                                       Laws of the State from forced sale, and after
                                                                                         , and after satisfying all encumbrance s upon
 the payment of all our debts, cf evejy description, whether individua/ or security debts
                                                                                HARRIS

                                                                 ^^
 our properly which are known (Jg us; and that we reside in the County of .
 and have property in the Stst     iable to execution worth:

                                                                                                                           SUM OF                  TWICE THE AMOUNT OF THE BOND                                                          DOLLARS
 THE SAID

                                                                                                                           SUM OF                                                                                                        DOLLARS
 THE SAID
                                                                                                                                       . ILwO
                                                                                                                                       •

                                                                                                                                                      TYRA                                                                          CO-SURETY
                                                                                                                           SURETY      '

                                                                                                                                                                                                                                                                           ^
                                     » « «»                                                                                                        T CLERK         ( Signature)

               /So    "
                          Betncourt < «“ "
                                                                                                                                                       SCRIBED AND SWORN                        to before me tl > i,                                 20 th             .
                                                                                                                                                            04           MAY                                                 .
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                                                                                                                                                                       RY PUBLIC HARRIS COUNTY

     Original Dist, Clerk
     Pink
                                              Blue copy Bondsman
            copySKyJS ^ T 79 PaSft &2cbpy-Defendanl
                                                                 -                                                                                                     Tony Aninao
                                                                                                                                                                       ( Expiration       Date of Notary )
                                                                                                                                                                                                                    4 26-96 -
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